Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 1 of 426 PageID #: 2974




          EXHIBIT A
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 2 of 426 PageID #: 2975
                                                                                    I 1111111111111111 11111 1111111111 111111111111111 1111111111111111 IIII IIII IIII
                                                                                                                  US007541179B2


  c12)   United States Patent                                                                (IO)   Patent No.:                    US 7,541,179 B2
         Sadelain et al.                                                                     (45)   Date of Patent:                             Jun.2,2009

  (54)    VECTOR ENCODING HUMAN GLOBIN                                                                        OTHER PUBLICATIONS
          GENE AND USE THEREOF IN TREATMENT
          OF HEMOGLOBINOPATHIES                                                          Sorrentino et al, Localization and characterization of the DNase
                                                                                         I-hypersensitive site II (HS II) enhancer. A critical regulatory element
  (75)    Inventors: Michel Sadelain, New York, NY (US);                                 within the beta-globin locus-activating region, Ann NY Acad Sci,
                     Stefano Rivella, New York, NY (US);                                 1990;612: 141-51. *
                     Chad May, New York, NY (US); Joseph                                 Collis et al, Definition of the minimal requirements within the human
                     Bertino, New York, NY (US)                                          beta-globin gene and the dominant control region for high level
                                                                                         expression, EMBO J, Jan. 1990;9(1):233-40.*
  (73)    Assignee: Memorial Sloan-Kettering Cancer                                      Molete et al, Sequences flanking hypersensitive sites of the beta-
                    Center, New York, NY (US)                                            globin locus control region are required for synergistic enhancement,
                                                                                         MCB, May 2001;21(9):2969-80.*
  ( *)    Notice:        Subject to any disclaimer, the term ofthis                      Genbank NG-000007, priority date Jun. 19, 2006, downloaded Jul.
                         patent is extended or adjusted under 35                         24, 2006.*
                         U.S.C. 154(b) by 431 days.                                      NG_000007 (GI: 13907843), Homo sapiens genomic beta globin
                                                                                         region on chormosome 11, U.S. National Library of Medicine,
  (21)    Appl. No.: 10/188,221                                                          Bethesda, MD, USA, May 2001, accessed by PTO on Mar. 2, 2007.*
                                                                                         Ryan et al, A single erythroid-specific DNAse I super-hypersensitive
  (22)    Filed:         Jul. 1, 2002                                                    site activates high levels of human b-globin gene expression in
                                                                                         transgenic mice, Genes and Development, vol. 3, pp. 314-323; see
  (65)                      Prior Publication Data                                       entire document).*
                                                                                         Melton et al, Stability of HPRT marker gene expression at different
          US 2003/0022303 Al                Jan. 30, 2003                                gene-targeted loci: observing and overcoming a position effect,
                                                                                         Nucleic Acids Research, 1997, vol. 25, No. 19 3937-3943.*
                     Related U.S. Application Data
                                                                                         Dzierzak et al., Lineage-specific expression of a human 13-globin
  (60)    Provisional application No. 60/301,861, filed on Jun.                          gene in murine bone marrow transplant recipients reconstituted with
          29, 2001, provisional application No. 60/302,852,                              retrovirus-transduced stem cells., 1988, pp. 35-41, vol. 331.
          filed on Jul. 2, 2001.                                                         Kalberer et al., Preselection of retrovirally transduced bone marrow
                                                                                         avoids subsequent stem cell gene silencing and age-dependent
  (51)    Int. Cl.                                                                       extinction of expression ofhuman 13-globin in engraftedmice, PNAS,
          C12N 15100             (2006.01)                                               2000, pp. 5411-5415, vol. 97, No. 10,
          C12N 15110             (2006.01)                                               May et al., Successful treatment of murine 13-thalassemia intermedia
                                                                                         by transfer of the human 13-globin gene, Blood, 2002, pp. 1902-1908,
          C12N 15167             (2006.01)
                                                                                         vol. 99, No. 6.
          C12N 7101              (2006.01)
                                                                                         Raftopoulos et al., Long-Term Transfer and Expression of the Human
  (52)    U.S. Cl. ..................
                                  435/320.1; 435/69.1; 536/24.1;
                                                                                         13-Globin Gene in a Mouse Transplant Model, Blood, 1997, pp.
                                              536/24.2; 424/93.2                         3414-3422, vol. 90, No. 9.
  (58)    Field of Classification Search ............... 435/320.1
          See application file for complete search history.                                                             (Continued)
  (56)                      References Cited                                            Primary Examiner-Maria Marvich
                                                                                        (74) Attorney, Agent, or Firm-Edwards Angell Palmer &
                     U.S. PATENT DOCUMENTS                                              Dodge LLP; Peter C. Lauro, Esq.
         5,126,260    A      6/1992     Tuan et al.
         5,610,053    A      3/1997     Chung et al.                    435/172.3        (57)                          ABSTRACT
         5,631,162    A *    5/1997     LeBoulch et al.                 435/320.1
         5,834,256    A     11/1998     Finer et al.
         5,858,740    A      1/1999     Finer et al.                                     Recombinant lentiviral vectors having a region encoding a
         5,981,276    A     11/1999     Sodroski et al.                                  functional ~-globin gene; and large portions of the ~-globin
         5,994,136    A     11/1999     Naldini et al.                                   locus control regions which include DNase I hypersensitive
         6,013,516    A      1/2000     Verma et al.                                     sites HS2, HS3 and HS4 provides expression of ~-globin
         6,090,608    A      7/2000     Oppenheim et al. ...... 435/235.1                when introduced into a mammal, for example a human, in
         6,110,666    A *    8/2000     Grosveld et al. ............... 435/6            vivo. Optionally, the vector further includes a region encod-
         6,218,187    Bl     4/2001     Finer et al.                                     ing a dihydrofolate reductase. The vector may be used in
         6,294,165    Bl     9/2001     Lever et al.                                     treatment of hemoglobinopathies, including ~-thalessemia
         6,312,682    Bl    11/2001     Kingsmanetal.                                    and sickle-cell disease. For example, hematopoietic progeni-
         6,428,953    Bl     8/2002     Naldini et al.                                   tor or stem cells may be transformed ex vivo and then restored
         6,444,421    Bl*    9/2002     Chung ........................... 435/6          to the patient. Selection processes may be used to increase the
         6,524,851    Bl*    2/2003     Ellis ........................... 435/325        percentage of transformed cells in the returned population.
         6,544,771    Bl     4/2003     Riviere et al.                                   For example, a selection marker which makes transformed
         6,642,043    Bl*   11/2003     Bertino et al. . .......... 435/252.3            cells more drug resistant than un-transformed cells allows
                                                                                         selection by treatment of the cells with the corresponding
                                                                                         drug.
                FOREIGN PATENT DOCUMENTS
  WO            WO 97/33988               9/1997                                                            24 Claims, 4 Drawing Sheets
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 3 of 426 PageID #: 2976


                                                               US 7,541,179 B2
                                                                        Page 2


                      OTHER PUBLICATIONS                                     Tisdale et al. "Towards Gene Therapy of Disorders of Golbin Syn-
                                                                             thesis." Seminars in Hematology 38:4 382-392 (2001).
  Rivella et al., Genetic Treatment of Severe Hemoglobinopathies: The
                                                                             Rivella et al. "Globin Gene Transfer: a Paradigm for Transgenic
  Combat Against Transgene Variegation and Transgene Silencing,
                                                                             Regulation and Vector Safety." Gene Therapy and Regulation 00:0;
  Seminars in Hematology, 1998, pp. 112-125, vol. 35, No. 2.
  Sabatino et al., Long-term expression ofy-globin mRNA in mouse             1-27 (2003).
  erythrocytes from retrovirus vectors containing the human y-globin         Sadelain et al. Issues in the Manufacture and Transplantation of
  gene ... , PNAS, 2000, pp. 13294-13299, vol. 97, No. 24.                   Genetically Modified Hematopoietic Stem Cells. Current Opinion in
  Dull et al. (1998) J. Virol. 72:8463-8471, "A Third-Generation             Hematology 7: 364-377 (2000).
  Lentiviirus Vector with a Conditional Packaging System".                   Huang. et al., "Nonadditivity of Mutational Effects at the Folate
  Naldini et al. (1996) Science 272:263-267, "In Vivo Gene Delivery          Binding Site of Escherichia coli Dihydrofolate Reductase", Bio-
  and Stable Transduction of Nondividing Cells by a Lentiviral Vec-          chemistry, vol. 33, No. 38, pp. 11576-11585, 1994.
  tor".
                                                                             Ercikan et al., "Effect of codon 22 mutations on substrate and inhibi-
  Sadelain et al. (1995) Proc. Natl. Acad. Sci. 92:6728-6732, "Genera-
                                                                             tor binding for human dihydrofolate reductase", Chemistry and Biol-
  tion of a high-titer retroviral vector capable of expressing high levels
                                                                             ogy ofPteridines and Folates, pp. 515-519, 1993.
  of the human 13-globin gene".
  Zufferey et al., "Self-Inactivating Lentivirus Vector for Safe and         May, et al., "Therapeutic haemoglobin synthesis in 13-thalassaemic
  Efficient In Vivo Gene Delivery", Journal ofVirology, Dec. 1998, vol.      mice expressing lentivirus-encoded human 13-globin", Nature, vol.
  72, No. 12, pp. 9873-9880.                                                 406, pp. 82-86, Jul. 6, 2000.
  Gatlin et al. "In Vitro Selection of Lentivirus Vector-Transduced          D. Bodine, "Globin Gene Therapy: One (Seemingly) Small Vector
  Human CD34+ Cells." Human Gene Therapy 11: 1949-1957 (2000).               Change, One Giant Leap in Optimism", Molecular Therapy, vol. 2,
  Sadelain "Genetic Treatment of the Haemogloinopathies Recombi-             No. 2, pp. 101-102, Aug. 2000.
  nations and New Combinations." British Journal of Haematology 98:
  247-253 (1997).                                                            * cited by examiner
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 4 of 426 PageID #: 2977


  U.S. Patent             Jun.2,2009       Sheet 1 of 4                  US 7,541,179 B2




                         ~-Globin gene           Locus control region


            RR~      E                         HS2         HS3             HS4          :rLTR
   llllllll!a-,--~                                   liffjfilmR1:¾i ·· ·--,",,,.,,·,,
       SD       SA

                                                                                        1 kb



                                  Fig. 1
           Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 5 of 426 PageID #: 2978




          Clinical Use of Drt1g Resistance                                                                                  00
                                                                                                                            •



                                                                                                                            =
In Vivo Selection of Genetically Modified Stein Cells                                                                       2'
                                                                                                                            ?
                                                                                                                            N
                                                                                                                           "'
                                                                                                                            N
                                                                                                                            0
                                                                                                                            0
                                                                                                                            1,0


                         P-Globin Gene              Locus Control Region        PGK-DHI~R(s/J)

                                                                                                                            =-
                                                                                                                            rJJ
                                                                                                                            ('D

                                                                                                                            .....
                                                                                                                            ('D



                                           P     HS2         HS3        IIS4              p .•                              N
                                                                                                                            ....
                                                                                                                            0

                                         ·;,,2){/,J--                            -.• ·:.::::(\-::'._~~;:·:i~:;t;~~Jl;~~~    .i;...




     SD       SA



                                                                                                                            dr.,;_
   ll(b                                                                                                                     -....l
                                                                                                                           tit
                                                                                                                           "'""'"'
                                                                                                                            ""'"'
                                                                                                                            -....l

                                                                                                                            =
                                                                                                                            \0
                        Fig. 2                                                                                              N
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 6 of 426 PageID #: 2979


  U.S. Patent                                Jun.2,2009               Sheet 3 of 4                                                  US 7,541,179 B2


                        so~/
       -
       ;.R
                      70- V                                                                                 ~·
                                                                                                            ·:l•~
                                                                                                                  -..-

       C
       ....._,,                                                                                             ~~~f.f
                        60- /
                                                                                                            .,y-,j

       n-                                                                                                        J;~
        :J
                                                                                                                 :;;
                                                                                                                 "',--.;~




       ---
       ---
                        50- I
                                                                                                            .,.
                                                                                                            <.

                                                                                                            - --:-~,.
                                                                                                                      ,. ... _._.



       cc..
        _;

       ..L
                                                                                                            i
                                                                                                            ... /;,;,

       u                40 1/                                                                               ~t
                                                                                                             .
                                                                                                                 s-r!
                                                                                                            ;:,.--... ;,.
        (1)                                                                                                       ..r.i~
                                                                                                            _:.,-.~l
        N                                                                                                    J!_>.~
                        30·1/
                                                                                                              --:"'.
                                                                                                            ;}/~
        co                                                                                                  ~--;~;-
        E                                                                                                    . :?~:
                                                                                                                  '~-
                        20·I
                                                                                                                  . .,.,.,.,.

                                                                       a;
        :..-.
                                                                                                                  -

                                                                                                                 :~{~[
       z
        0
                                                                                                            ,.,"):"i
                                                                                                                !i;

                                                                       ....
                                                                                                                         t1;~

                                                                                                                  .,,:.:
                                                                                                             ..,.~,,. j;...
                                                                        ,,J;:,.,

                         1O·V
                                                                       ~lli'                                 <'" ·(.



                                      -                                                                _.... . -;
                                                                                                            , !-::fi
                                                                         ,
                                                                        ..,,
                                                                               ,~
                                                                          -;,:      •                                                             /
                                                                               ;


                                 /
                                                                                                             .,. r~~,..v..

                                                  7       ,&..y                         A'-..'.Y                        ·'
                                                                                                                                       A\_"
                         0                                        I                                I                                          I


                                             GFP                      RNS1                                  TNS9


                                                      Fig. 3




                  '-      5.0
                  (1)                                                                   - - - RNS1
                  .D
                  E 4.0                       T                                         --+- TNS9
                  :::;
                  C
                  >- 3.0
                  0.
                  0
                  ,._ 2.0
                  <..)

                  0
                  ZS 1.0                                                                               T
                                                                                                                                    Fig. 4
                  <ll
                  >                  (
                             0       I '                                                    I           I
                                 0       4            8                                   20           24
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 7 of 426 PageID #: 2980


  U.S. Patent                           Jun.2,2009           Sheet 4 of 4                         US 7,541,179 B2




                                                                                                        0     RNS1
                                 ,.,                                                        25
                                 t:..                                                                   (I    TNS9
                   .-..

                                                                          Fig. 5 B
                   0

                                                                                            20
    Fig. 5 A
                   -<(           21)
                   z
                   a:                                                                                   T
                   C.
                                                                                            15
                                 15
                   ----::i
                   :r:                                                                      10
                                 10
                   sJ
                    <!)
                   .t:
                   7ii                                                                        5
                                    5
                   E
                   z
                   0

                                                                                              0
                                        0
                                            Day 12                                                  Week 22
                                            CFU--5 12                                       TER-119+ splenccytes




                                                                          Reticulocytes (%)
                        10                                      25
                             8                                  20
                             6                                  15
                             4                                  iO
                             2                                     5
                             0                                     0   ..J.ai~a..C:::JJJJill.l~
                                            Hematocrit {%)                Hemoglobin (g dJ- 1)
                       60                                       20
                       50
                                                                15
                       40
                       30                                       10
                       20
                                                                   5
                        10
                             G                                     0

                                        Donor mice           Bone marrow chimaeras

                                             Hbb+1+            0       Hbb+1+-GFP
                                             Hbbth3/+          mIJl    Hbb th31+-GFP

                                                                       Hbb 1h3'·-TNS9
                                                Fig. 6
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 8 of 426 PageID #: 2981


                                                        US 7,541,179 B2
                                 1                                                                      2
       VECTOR ENCODING HUMAN GLOBIN                                      tant than un-transformed cells allows selection by treatment
      GENE AND USE THEREOF IN TREATMENT                                  of the cells with the corresponding drug. Selection and/or
           OF HEMOGLOBINOPATHIES                                         enrichment may also be carried out in vivo, for example using
                                                                         methotrexate or similar antifolates to select for cells rendered
           STATEMENT CONCERNING RELATED                             5    resistant by the expression from the vector of a dihydrofolate
                   APPLICATIONS                                          reductase (DHFR).

    This application claims the benefit of U.S. Provisional                    BRIEF DESCRIPTION OF THE DRAWINGS
  Application No. 60/301,861 filed Jun. 29, 2001 and U.S.
  Provisional Application No. 60/302,852 filed Jul. 2, 2001,        10   FIG.1 shows the genomic structure of a recombinant onco-
  both of which are incorporated herein by reference.                 retroviral vector in accordance with the invention.
                                                                         FIG. 2 shows the genomic structure ofrecombinant onco-
         STATEMENT CONCERNING GOVERNMENT                              retroviral vector within the scope of the invention.
                             FUNDING                                     FIG. 3 shows experimental results demonstrating
                                                                   15 increased mean ~-globinexpressionin transduced MEL cells.
     This application was supported by funds provided under              FIG. 4 shows the average vector copy number in peripheral
  NHLBI grant No. HL57612. The United States government               blood cells, measured periodically for 24 weeks, which con-
  may have certain rights in the invention.                           firms highly efficient gene transfer in cells transduced with
                                                                      the vector of the invention.
             BACKGROUND OF THE INVENTION                           20    FIGS. SA and B show human ~-globin expression per
                                                                      endogenous allele 12 days and 22 weeks after introduction of
     This application relates to a vector comprising a mamma-         cells transduced with the vector of the invention.
  lian, and particularly a human globin gene and to the use              FIG. 6 shows haematocrit level, red blood cell count,
  thereofin treatment ofhemoglobinopathies, including a- and          reticulocyte count and haemoglobin level fifteen weeks after
  ~-thalessemia and sickle-cell disease.                           25 transplantation with unselected TNS9-transduced Hbb
                                                                                                                                   th31
                                                                                                                                        +
     Current treatment modalities for ~-thalassemias consist of       bone marrow.
  either red blood cell transfusion plus iron chelation (which
  extends survival but is cumbersome, expensive and an imper-              DETAILED DESCRIPTION OF THE INVENTION
  fect therapy), or allogeneic bone marrow transplant (which
  carries a lethal risk and is not available to the majority of 30       In a first aspect of the present invention, a recombinant
  patients). Thus, there is a substantial need for improved thera-    lentirviral vector is provided comprising:
  peutic approaches. The present invention provides a genetic            (a) a region comprising a functional globin gene; and
  correction in autologous hematopoietic stem cells, thus using          (b) large portions of the ~-globin locus control regions,
  gene therapy to provide a less-risky and more effective long-             which include DNase I hypersensitive sites HS2, HS3
  term treatment.                                                  35       and HS4.
     While gene therapy has been proposed for many years, a              As used in the specification and claims hereof, the term
  significant challenge facing efforts to develop gene therapy        "recombinant lentiviral vector" refers to an artificially created
  vectors is the ability to produce therapeutically useful levels     polynucleotide vector assembled from a lentiviral-vector and
  of a desired protein or peptide. The present invention provides     a plurality of additional segments as a result of human inter-
  a vector which is capable of providing therapeutically mean- 40 vention and manipulation.
  ingful levels of human globin for sustained periods of time.           The term "functional globin gene" refers to a nucleotide
  This ability arises from the ability to transmit large genomic      sequence the expression of which leads to a globin that does
  regulatory sequences that control expression of the therapeu-       not produce a hemoglobinopathy phenotype, and which is
  tic gene.                                                           effective to provide therapeutic benefits to an individual with
                                                                   45 a defective globin gene. The functional globin gene may
               SUMMARY OF THE INVENTION                               encode a wild-type glo bin appropriate for a mammalian indi-
                                                                      vidual to be treated, or it may be a mutant form of globin,
     In accordance with the invention, a recombinant lentiviral       preferably one which provides for superior properties, for
  vector is provided comprising:                                      example superior oxygen transport properties. The functional
     (a) a region comprising a functional globin gene; and         50 globin gene includes both exons and intrans, as well as globin
     (b) large portions of the ~-globin locus control regions         promoters and splice <loners/acceptors. Suitably, the globin
        which include large portions ofDNase I hypersensitive         gene may encode a-globin, ~-globin, or y-globin. ~-globin
        sites HS2, HS3 and HS4. The regions may be the com-           promoters may be sued with each of the globin genes.
        plete site or some lesser site which provides the same           The recombinant vectors of the invention also include large
        functionality as the specific sequences set forth below. 55 portions of the locus control region (LCR) which include
        This vector provides expression of ~-globin when intro-       DNase I hypersensitive sites HS2, HS3 and HS4. In prior
        duced into a mammal, for example a human, in vivo.            studies, smaller nucleotide fragments spanning the core por-
        Optionally, the vector further comprises a region encod-      tions ofHS2, HS3 and HS4 have been utilized. Sadelain et al.
        ing a dihydrofolate reductase.                                Proc. Nat'lAcad. Sci. (USA)92: 6728-6732 (1995); Lebouich
     By incorporation of different globin genes, the vectorof the 60 et al., EMBO J. 13: 3065-3076 (1994). The term "large por-
  invention may be used in treatment of hemoglobinopathies,           tions" refers to portions of the locus control region which
  including a- and ~-thalessemia and sickle-cell disease. For         encompass larger portions of the hypersensitive sites as
  example, hematopoietic progenitor or stem cells may be              opposed to previously tested fragments including only the
  transformed ex vivo and then restored to the patient. Selection     core elements. The regions may be the complete site or some
  processes may be used to increase the percentage of trans- 65 lesser site which provides the same functionality as the spe-
  formed cells in the returned population. For example, a selec-      cific sequences set forth below. In preferred embodiments of
  tion marker which makes transformed cells more drug resis-          the invention, the large portions of the locus control regions
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 9 of 426 PageID #: 2982


                                                         US 7,541,179 B2
                                  3                                                                        4
  are assembled from multiple fragments, each spanning one of               in commonly assigned PCT Publication No. WO 97/33988,
  the DNase I hypersensitive sites. In addition, the locus control          which is incorporated herein by reference, may be advanta-
  region has two introduced GATA-I binding sites at the junc-               geously utilized.
  tion between HS3 and HS4. While not intending to be bound                    FIG. 2 shows the genomic structure of specific vector
  by any specific mechanism, it is believed that the incorpora-        5    within the scope of the invention. The vector includes a
  tion of these transcription factor binding sites enhances the             deleted LTR, from -456 to -9 of HIV LTR and the PGK
  effectiveness of the vector.                                              promoter ( 530 bp) from the murine phosphoglycerate kinase
                                                                            1 gene. It also includes a DHFR-encoding region encoding
     The genomic structure of one embodiment of the vector of
                                                                            human DHFR with s/fmutation at amino acid 22. The locus
  the invention (TNS9) is shown in FIG. 1. TNS9 incorporates           10   control region and the ~-globin region are the same as in
  human ~-globin gene (from position -618 to +2484) that                    TSN9. This vector is designated dTNS9-PD. This incorpora-
  includes an extended promoter sequence and a 3'-enhancer                  tion ofDHFR into this vector provides transformed cells with
  element. Optionally, a portion of3'U3 region of the lentiviral            a methotrexate-resistant phenotype. As a result, methotrex-
  backbone can be deleted for increased safety. In FIG. 1, the              ate, and other antifolates can be used, both in vitro and in vivo
  exons and intrans of the human ~-globin gene are represented         15   as a selection tool to enhance levels of the functional hemo-
  by filled and open boxes, The locations are indicated for the             globin. When hematopoietic stem cells were transformed
  splice donor (SD), splice acceptor (SA), packaging region                 using dTNS9-PD and reintroduced to mice that were then
  (W), rev-response element (RRE), human ~-globin promoter                  treated with NMBPR-P (0.5 mg/dose) and TMTX (0.5 mg
  (P) and 3'-~-globin enhancer (E). Thus, in the vector TNS9, a             dose) for five days, observed levels of expressed human
  functional ~-globin gene, which includes both the exons and          20   ~-globin were much higher in mice transduced with dTNS9-
  intrans of the gene and the relevant control sequences from               PD vectors after treatment with TMTX and NMBPR-P for
  the human ~-globin locus. These are combined with the large               selection oftransduced cells.
  fragments of the locus control region. The 3.2 kb LCR                        The vectors of the invention are used in therapy for treat-
  assembled into dTNS9 consists of an 840 bp HS2 fragment                   ment of individuals suffering from hemoglobinopathies. In
  (SnaBI-BstXI), a 1308 bp HS3 fragment (HindIII-BamHI)                25   one embodiment of the invention, hematopoietic progenitor
  and a 1069 bp HS4 fragment (BamHI-BanII).                                 or stem cells are transformed ex vivo and then restored to the
                                                                            patient. As used in the specification and claims hereof, the
     In a further aspect of the invention, the ~-globin gene                term "hematopoietic progenitor sand stem cells" encom-
  coding sequence can be exchanged and replaced with either                 passes hematopoietic cells andnon-hematopoietic stem cells,
  the gamma globin gene (for sickle cell disease) or the alpha         30   e.g., embryonic stem cells, hematopoietic stem cell precur-
  globin gene (for alpha-thalassemias). In one strategy, a NcoI-            sors, or any of the latter generated by nuclear transfer from a
  PstI fragment of the ~-globin gene is replaced with the cor-              somatic cell. It is know in the art that efficient gene transfer
  responding NcoI-HindIII fragment of the gamma globin gene                 into human embryonic stem cells can be achieved using len-
  or the NcoI-PstI fragment of the human alpha globin gene.                 tiviral vectors.
  These fragments start at the translational start of each globin      35      Selection processes may be used to increase the percentage
  gene (spanning the Neal site) and end past their respective               of transformed cells in the returned population. For example,
  polyadenylation signals. In the second strategy, chimeric                 a selection marker which makes transformed cells more drug
  genes can be generated by only swapping the coding                        resistant than un-transformed cells allows selection by treat-
  sequence of each one of the three exons of these genes. Thus,             ment of the cells with the corresponding drug. WhenDHFR is
  for the gamma globin gene, the result is a vector that com-          40   used as a selection marker, it can be used for enrichment of
  prises the beta globin promoter, the beta globin 5' untrans-              transduced cells in vitro, or for in vivo selection to maintain
  lated region, the gamma exon 1 coding region, the gamma                   the effectiveness of the vector.
  intron 1 the ganmia exon 2, the beta intron 2, the gamma exon                The invention will now be further described with reference
  3, and the beta 3' untranslated region. Thus all the elements of          to the following non-limiting examples.
  the TNS9 vector remain in place (promoter, enhancers, 5' and         45
  3' untranslated regions, the LCR elements, the 2 additional                                        EXAMPLE 1
  GATA-I binding sites and the intrans of the beta globin gene
  (at least intron 2, which is most important). In a third strategy,           To produce vector TNS9, the human ~-globin gene was
  the codon usage within exon 3 of the ganmia globin gene can               subcloned from M~6L (Sadelain et al. Proc. Nat'! Acad. Sci.
  be modified so that its sequence will resemble as much as            50   (USA)92: 6728-6732 (1995)) into lentiviral vectorpHR'LacZ
  possible that of the beta globin gene. The reason for testing             (Zuffery et al., Nature 15: 871-875 (1997)) replacing the
  this is that the beta globin gene is always the best expressed.           CMV-LacZ sequence. pHR' eGFP was constructed by replac-
     Additional elements may be included in the vectors of the              ing Lacz with the eGFP sequence (Clontech). Viral stocks
  invention to facilitate utilization of the vector in therapy. For         were generated by triple transfection of the recombinant vec-
  example, the vector may include selectable markers, to con-          55   tors pCMV llR8.9 (Zuffrey et al.) and pMD.G in 293T cells as
  firm the expression of the vector or to provide a basis for               previously described in Dull, et al., J. Viral. 72: 8463-8471
  selection of transformed cells over untransformed cells, or               (1998). The pseudotyped virions were concentrated by ultra-
  control markers which allow targeted disruption of trans-                 centrifugation resuspended and titrated as described in Gal-
  formed cells, and thus the selective removal of such cells                lardo etal.,Blood90: 952-957 (1997). For comparison, RSNl
  should termination of therapy become necessary.                      60   was used which has a similar structure, except that the LCR
     In a further specific embodiment, the vector of the inven-             contains only the core portion ofHS2, HS3 and HS4. North-
  tion includes the mouse PGK promotor and human dihydro-                   ern blot analysis showed full length RNA transcripts, indicat-
  folate reductase (DHFR) cDNA as a transcriptional unit.                   ing that the recombinant lentiviral genomoes are stable.
  Mutant forms of DHFR which increase the capacity of the                   Southern blot analysis on genomic DNA from transduced
  DHFR to confer resistance to drugs such as methotrexate are          65   cells, digested once in each long terminal repeat (LTR) results
  suitably used. For example, single and double mutants of                  in a single band corresponding to the expected size for the
  DHFR with mutations at amino acids 22 and 31 as described                 vector, indicating that the proviral structure is not rearranged.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 10 of 426 PageID #: 2983


                                                       US 7,541,179 B2
                                5                                                                        6
                          EXAMPLE2                                       rived human ~-globin (5'-CAGTAACGGCAGACTTCTC-
                                                                         CTC-3', Seq ID No.: 3) and mouse ~-globin (5'-TGATGTCT-
     To investigate the tissue specificity, stage specificity and        GTTTCTGGGGTT GTG-3', Seq ID No.: 4), with predicted
  expression level of the vector-encoded human B-globin gene,            extension products of 90 bp and 53 bp, respectively. The
  we transduced RNSl and TNS9 into MEL cells, lymphoid              5    probes yield products ofidentical length for ~maJ, ~min, Wand
  Jurkat cells and myeloid HL-6O cells. Cell-free viral super-           ~'- Primers were annealed to 4 µg of RNA and reactions were
  natant was used to infect C88 MEL cells in the presence of             run according to manufacturer's protocols. Radioactive
  polybrene (8 µg ml- 1 ). Transduced MEL cells were sub-                bands were quantitated by phosphorimager analysis (Bio-
  cloned by limiting dilution, and screened by PCR for trans-            Rad). RNA isolated fromA85.68 mice20 was used as positive
  duction30 using primers that anneal in the human ~-globin         10
                                                                         control. After correction for primer labelling, the human to
  promoter sequence (~PS, 5'-GTCTAAGTGATGACAGC-
                                                                         mouse RNA signal was 29±1 % per gene copy in repeated
  CGTACCTG-3', Seq ID No.: 1) and in HS2 (C2A,
                                                                         experiments (n>8), in agreement with previous findings
  5'-TCAGCCTAGAGT GATGACTCC TATCTG-3', Seq ID
                                                                         based on RT-PCR20 . Values measured in bone marrow chi-
  No.: 2). Vector copy number and integration site analysis was
                                                                         maeras that were obtained in separate runs were standardized
  determined by Southern blot analysis 9 • Transduced MEL           15
                                                                         to the value obtained in theA85.68 RNA sample. In FIGS. 2
  cells were induced to maturation by 5-day culture in 5 mM
                                                                         and 3c, d, human ~-globin expression is expressed per vector
  N,N'-hexamethylene bisacetamide (HMBA, Sigma).
                                                                         copy and normalized to the endogenous transcripts (account-
     To induce ~-globin transcription, transduced MEL cell
                                                                         ing for two endogenous alleles). In FIG. 3b, human tran-
  pools were differentiated using hexamethylene bisacetamide
                                                                         scripts are reported as the fraction of total ~-globin RNA
  HMBA). Human ~-globin (~A) and mouse ~-globin tran-               20
                                                                         (Hu~/Hu~+Mu~) to reflect absolute contribution of vector-
  scripts were measured by quantitative primer extension. After
                                                                         encoded transcripts.
  normalization to vector copy number and to endogenous
  ~-globin expression per allele, human ~-globin levels were
  14.2±4.7% for RNSl and 71.3±2.3% for TNS9 in pooled                                             EXAMPLE4
  MEL cells (FIG. 2a). MEL, Jurkat and HL-6O cells were             25
  transduced with RNSl, TNS9 or control GFP recombinant                     To investigate the function of the vectors in vivo, we trans-
  lentivirus. Human ~-globin RNA expression in HMBA                      duced and transplanted murine bone marrow cells without
  induced MEL cells (grey bars) was measured by quantitative             any selection in syngeneic, lethally irradiated recipient mice.
  primer extension and normalized to mouse ~-globin RNA                  Donor bone marrow was flushed from the femurs of 8- to
  expression per locus. Expression was then normalized to the       30   16-week-old male C57BL/6 or Hbb th31+mice (Jackson Labo-
  vector copy number determined by Southern blot. No human               ratories) that had been injected intravenously (i.v.) 6 days
    -glo bin RNA expression was detected in non-induced MEL              earlier with 5-flurouracil (5-FU, Pharmacia; 150 mg kg- 1
  (black bars), Jurkat (white bars) or HL-6O cells (hatched              body weight). Bone marrow cells were resuspended in serum-
  bars), indicating that globin expression was erythroid- and            free medium, and supplemented with IL-la (10 ng ml- 1 ),
  differentiation-specific. No human ~-globin expression was        35   IL-3 (100 U ml- 1 ), IL-6 (150 U ml- 1 ), Kit ligand (10 ng ml- 1 )
  detected in non-induced MEL, Jurkat and HL-6O cells (FIG.              (Genzyme),           ~-mercaptoethanol            (0.5      mM;
  3), indicating that human ~-globin expression was appropri-            Sigma), L -glutamine (200 mM), penicillin (100 IU m1- 1 ) and
  ately regulated in terms of tissue specificity and state of            streptomycin (100 µg m- 1 ), and cultured for 18 h. Recipient
  differentiation. We generated a panel of MEL cell clones that          mice (11- to 14-week-old C57/BL6 or Hbb th31 + mice) were
  carried a single copy of either vector to distinguish whether     40   irradiated with 10.5 Gy (split dose 2x5.25 Gy) on the day of
  the increased expression obtained in HMBA-treated Mel cells            transplantation. Bone marrow cells were pelleted and resus-
  transduced with TNS9 rather than RNS 1 was the result of an            pended in serum-free medium containing concentrated len-
  increase in ~A expression per cell or of an increase in the            tiviral supernatant, and supplemented with polybrene (8 µg
  fraction of cells expressing human ~-globin. Transduced                ml- 1 ), L-glutamine (200 mM), penicillin (100 IU ml- 1 ) and
  MEL cells were subcloned by limiting dilution immediately         45   streptomycin (100 µg m1- 1 ), and cultured for 6 h. Transduced
  after transduction, avoiding any bias towards favourable               bone marrow cells (lxlO 5 or 5xlO5) were then i.v. injected
  chromosomal integration sites as produced by drug selec-               into each of the irradiated female recipients to establish short-
  tion5. The proportion of clones expressing human ~-globin              term and long-term bone marrow chimaeras, respectively.
  varied significantly between the two vectors. One out often               In short-term studies, spleens were removed 12 d after
  RNSl positive clones yielded measurable human ~-globin            50   transplantation to extract total RNA and genomic DNA. To
  transcripts, in contrast to 12 out ofl 2 forTNS9 also expressed        monitor long-term chimaeras, two or three capillary tubes of
  higher levels ofhuman ~-globin than did those bearing RNSl             blood were collected every 4-6 weeks, from which genomic
  (P<O.O1, Fisher's exact test). Cells bearing TNS9 also                 DNA, total RNA and haemoglobin were extracted. To exam-
  expressed higher levels of human ~-globin than did those               ine vector function reliably in long-term animals, erythroid
  bearing RNSl (P<O.O1, Wilcoxon rank sum test). These find-        55   cell populations were purified from spleen. Single-cell sus-
  ings established that both the level and probability of expres-        pensions were incubated with rat anti-mouse TER-119 mono-
  sion at random integration sites was increased with the TNS9           clonal antibody (PharMingen). Sheep anti-Rat IgG dyna-
  vector.                                                                beads (M -450, Dyna! Inc.) Were added to the antibody-coated
                                                                         spleen cells and purified as recommended by the manufac-
                          EXAMPLE3                                  60   turer. Vector copy number, integration pattern and chimae-
                                                                         rism were determined by Southern blot analysis. The fraction
     Quantification of Human ~-globin mRNA                               of donor DNA relative to recipient was determined by strip-
     Total RNA was extracted from MEL, Jurkat and HL-6O                  ping and reprobing the blot with a [32 P] dCTP-labelled probe
  cells, or mouse spleen and blood using TRizol. Quantitative            specific for the Y chromosome and normalizing to an endog-
  primer extension assays were done using the Primer Exten-         65   enous mouse band. Radioactive bands were quantitated by
  sion System-AMY Reverse Transcriptase kit (Promega) with               phosphorimager analysis. Sera from five randomly selected
  [32 P] dATP end-labelled primers specific for retroviral-de-           long-term bone marrow chimaeras (30 weeks after transplan-
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 11 of 426 PageID #: 2984


                                                       US 7,541,179 B2
                                7                                                                        8
  tation) tested negative for HIV-1 gag by RT-PCR using the              of thalassaemic cells using ~0 -thalassaemic heterozygote
  Amplicor HIV-1 monitor kit (Roche).                                    mice that lack a copy of their bl and b2 ~-globin genes
     Vector copy number and human ~-globin RNA transcripts               (Hbb'h31+) 21 . These heterozygotes have a clinical phenotype
  were measured during a 24-week period in mice transplanted             similar to human thalassaemia intermedia and exhibit chronic
  withRNSl (n=8)orTNS9(n=l0)transducedbonemarrow.a,                 5    anaemia (haematocrit 28-30%, haemoglobin 8-9 g dl- 1 ) and
  Vector copy number was assessed by southern blot analysis of           anomalies in red cell size (anisocytosis) and shape (poikilo-
  genomic DNA isolated from peripheral blood at weeks 6, 10,             cytosis). Fifteen weeks after transplantation with unselected
  16 and 24. The average vector copy number in peripheral                TNS9-transduced Hbb th31+ bone marrow, the haematocrit
  blood cells, measured periodically for 24 weeks (FIG. 4),              level, red blood cell count, reticulocyte count and haemoglo-
  showed highly efficient gene transfer with both vectors           10   bin level were markedly improved in five out of five recipient
  (1.8±0.6 and 0.8±0.6 average vector copies per cell for                mice (FIG. 6). Anisocytosis and poikilocytosis were mark-
  ~-globin transcript levels in the 10-20% range during the              edly reduced in the peripheral blood smears of chimaeras
  same time period. To assess transcriptional activity per vector        bearing the TNS9 vector. Control mice transplanted with
  copy, steady-state RNA transcripts and vector copy number              Hbb th31+ bone marrow cells transduced with a vector encod-
  were quantified in pooled CFU-S 12 and in erythroid TER-          15   ing enhanced green fluorescent protein (eGFP) all remained
  119+ spleen cells. Twelve days after transplantation, human            severely anaemic (n=5, FIG. 6) and maintained their abnor-
  ~-globin expression per endogenous allele, (FIG. Sa). Twenty           mal red cell morphology. These results establish that levels of
  weeks later these values were 0.5±0.1 % (significantly lower           circulating haemoglobin obtained with TNS9 were indeed
  than on day 12, P=0.02) and 15.8±0.9% respectively (FIG.               therapeutically relevant.
  Sb). These findings established that the larger LCR fragments     20      The combined effect of the high efficiency of gene transfer
  increased globin expression in vivo and, furthermore, sug-             and the absence of vector rearrangements afforded by the
  gested that TNS9 is more resistant to transcriptional silencing        recombinant lentivirus carrying the ~-globin gene and LCR
  than is RNS 1.                                                         configuration adopted in TNS9 yielded levels of human ~A
     The levels of TNS9-encoded human ~-globin could be                  expression in the therapeutic range. The higher expression
  produced. Haemoglobin tetramers incorporating vector-en-          25   obtained with TNS9 compared with RNSl was associated
  coded human ~A and endogenous murine a-globin (desig-                  with a higher fraction of permissive integration sites in MEL
  nated Hbbhu) were quantitated in peripheral blood red cell             cells and a higher fraction of human ~A -containing red blood
  lysates after cellulose acetate gel fractionation. Hbbhu levels        cells in bone marrow chimaeras. RNSl, which carries a
  accounting for up to 13% of total haemoglobin were found 24            weaker enhancer, silenced over time whereas TNS9 retained
  weeks after transplantation (FIG. 3e, Table 1 in Supplemen-       30   undiminished transcriptional activity over the same time
  tary Information). In the same assays, transgenic mice bear-           period and in secondary transplant recipients.
  ing one copy of a 230-kb yeast artificial chromosome (YAC)                Higher levels of murine a 2 : human ~A 2 tetramers were
  encompassing the entire human ~-globin like gene cluster2°             obtained in peripheral blood samples from recipients of
  showed 14% of their total haemoglobin incorporating human              TNS9-transduced Hbb th3 + bone marrow (21±3% of total hae-
  ~A- No haemoglobin tetramers containing human ~A were             35   moglobin, n=5, than with Hbb+/+ bone marrow (6±4%,
  measurable in any of the mice bearing RNSl (table 1 in                 n+ 10). The two groups showed comparable peripheral blood
  Supplementary Information). The proportion of mature                   vector copy numbers and levels of human ~-globin RNA
  peripheral blood red cells expressing human ~A was elevate in          (0.8±0.2 compared with 0.8±0.6, and 16.8±6% compared
  most TNS9 bone marrow chimaeras, as shown by dual stain-               with 10.8±7%, respectively). This observation is consistent
  ing of human ~A and TER-119. In contrast, chimaeras               40   with a competitive advantage of murine ~-globin over human
  engrafted with RNSl-transduced bone marrow showed                      ~-globin in associating with murine a-globin22 . In thalas-
  highly variable fractions of weakly staining ~A-positive               saemic patients, added human ~-chain synthesis would
  erythrocytes. Normalized to the fraction of circulating ~A-            improve the a:~ chain imbalance and thus increase red cell
  positive mature red cells, the levels of haemoglobin contain-          survival and ameliorate the ineffective erythropiesis in these
  ing lentivirus-encoded ~A were on average 64% of those            45   patients. In patients with sickle cell disease, transduced ~A
  obtained in the YAC transgenic mice.                                   chains are expected to have an advantage over the ~s chains
                                                                         produced by both endogenous genes in competing for the
                          EXAMPLES
                                                                         available a-chains 23 . Given that patients with S/~-thalas-
                                                                         saemia whose HbA represents 10-30% of their total haemo-
     To ascertain that true HSCs were transduced, we carried
                                                                    50   globin are very mildly affected 1124 , the clinical benefit of such
  out secondary transplants using marrow from primary recipi-
                                                                         an intervention would be highly significant.
  ents collected 24 weeks after transplantation. The TNS9 and
  RNSl vectors were readily detected in all secondary recipi-                                     EXAMPLE 7
  ents 13 weeks after transplantation. Human ~-globin expres-
  sion was maintained in all recipients of TNS9-transduced
                                                                    55      To investigate long-term expression of the transduced
  marrow. The successful transduction ofHSCs was confirmed
                                                                         human ~-globin genes and its therapeutic efficacy, we gener-
  by integration site analyses. Southern blot analysis was per-
                                                                         ated bone marrow chimeras engrafted with TNS9-transduced
  formed on genomic DNA isolated from bone marrow, spleen                Hbb th31+ bone marrow cells (n=5) and studied them over a
  and thymus of secondary bone marrow transplant recipients
                                                                         40-week period.
  collected 13 weeks after transplant (one representative RNS 1,
                                                                    60      Donor bone marrow was flushed from the tumors of 8- to
  and two representative TNS9 secondary transplant recipients
                                                                         16-week old male c57/BL6 or Hbb th31+ mice 23 obtain from
  are shown). Two endogenous bands are found in the genomic
                                                                         Jackson Laboratories (Bar Harbor, Me.) that had been
  DNA ofC57BL/6 (B6) mice.
                                                                         injected intravenously (IV) 6 days earlier with 5-flurouracil
                          EXAMPLE6                                       (5-FU) 150 mg/kg body weight obtained from Pharmacia
                                                                    65   (Piscataway, N.J.). Bone marrow cells were resuspended in
     In view of the high levels of expression, we tested the             X-VIVO-15 serum-free medium and supplemented with 10
   extent to which the TNS9 vector could correct the phenotype           ng/mL interleukin-I a (IL-la) 100 U/mL IL-3, 150 U/mL
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 12 of 426 PageID #: 2985


                                                       US 7,541,179 B2
                                9                                                                      10
  IL-6, 10 ng/mL Kit ligand obtained from Genzyme (Cam-                  weight in TNS9 bone marrow chimeras corresponded to a
  bridge, Mass.), 0.5 mM ~-mercaptoethanol obtained from                 concomitant normalization in total hematopoietic progenitor
  Sigma (St. Louis, Mo.), 200-mM rglutamine, 100 IU/mL                   cell content. Spleen CFU-Es, BFUEs, and CPUs-GM were
  penicillin, and 100 µg/mL streptomycin. Bone marrow cells              reduced to levels measured in recipients of eGFP-transduced
  were then pelleted and resuspended in serum-free medium           5    Hbb th +I+ bone marrow, whereas they remained elevated in
  containing concentrated lentiviral supernatant and supple-             control chimeras engrafted with eGFP-trasduced Hbb th31+
  mented with 8 mg/mL polybrene (Sigma), 200                             bone marrow cells and in age-matched Hbb th3 + mice, as pre-
  mM rglutamine, 100 U/mL penicillin, 100 µg/mL strepto-                 viously observed in another murine model of ~-thalasse-
  mycin and cytokines as above, and cultured for 8 hours.                mis.29
  Transduced bone marrow cells (5xl 0 5 ) were then injected IV     10      The regression ofEMH was corroborated by morphologic
  into each of the irradiated female recipients to establish bone        examination of spleen and liver in long-term chimeras and
  marrow chimeras. Recipients mice (11- to 14-week-old C57 /             age-match controls. Histopathology of spleens of mice that
  BL6 or Hbb th31 + mice) were irradiated with 10.5 Gy (Split            received transplants of eGFP-tranducedHbb th31+ marrow was
  dose 2x5.25 Gy) on the day of transplantation.                         virtually identical to that of spleen from control Hbb th31+
     Age-matched chimeras engrafted with eGFP-transduced            15   mice. Specifically, the red pulp was significantly expanded,
  Hbb th31+ (n=5) and Hbb+/+ (n=5) bone marrow cells served as           accounting for 80% to 90% of the cross-sectional area, and
  controls. Vector copy number was monitored in peripheral               densely occupied by nucleated erythroid precursors. The
  blood by quantitive Southern blot analysis, and found to               white pulp, based on cross-sectional area, was relatively
  remain stable, between 0.5 and 1.0 copy/cell on average (data          decreased and the marginal zones were obscured by the large
  not shown). Protein expression was assessed by quantitive         20   number of nucleated RBCs, reflecting major expansion of the
  hemoglobin analysis, to measure the proportion of hemoglo-             red pulp and erythroid precursors. In TNS9-treated chimeras,
  bin tetramers that incorporate human ~A (HbbhU, mu a 2:                the amount of red pulp was considerably decreased, account-
  hu~A 2) or murine ~-globin (Hbbmu, mua2:mu~A2), and                    ing for only about 50% to 60% of the cross-sectional area. In
  immunofluorescence, to determine the fraction of mature                addition, the number of nucleated erythroid precursors in the
  RBCs that contain human ~A protein. Transgenic mice bear-         25   red pulp was decreased. Other immature hematopoietic cells
  ing one copy of a 230-kb yeast artificial chromosome encom-            were present in the red pulp, but much less frequently than in
  passing the entire human ~-globin-like gene cluster28 served           the spleens of control Hbb th31 + thalassemic mice. The livers
  as reference, showing 14% of their total hemoglobin incor-             from TNS9-treated chimeras were similar to those of the
  porating human ~A and 100% ~A+RBCs 19 ·28 Hbbhu                        normal control mice in that no EMH was detected. In contrast,
  accounted for 19% to 22% of the totalhemoglobim in TNS9           30   livers from mice engrafted with eGFP-trasduced Hbb th31+
  chimeras. These levels remained stable up to 40 weeks after            bone marrow cells showed several small foci of intrasinusoi-
  transplantation. Over this same time period, the proportion of         dal EMH.
  mature peripheral RBCs expressing human ~A also remained
  elevated and stable (about 70% to 80%), as shown by dual                                      EXAMPLE 10
  staining of human ~A and TER-119.                                 35
                                                                            Toxic iron accumulation in the organs of thalassemic
                          EXAMPLES                                       patients is a consequence of RBC destruction and increased
                                                                         gastrointestinal iron uptake. To determine whether sustained
     Long-Term Amelioration of Anemia                                    expression from the TNS9 vector reduced iron overload, we
     The stability of TNS9-encoded ~A expression detected in        40   studied tissue sections of liver and heart, stained using
  peripheral blood suggested that long-trem hematologic and              Gomori iron stain. No iron deposition was seen in the livers of
  systemic therapeutic benefits could be obtained. To investi-           normal Hbb+/+ control mice, whereas Hbb th31+ mice showed
  gate whether Hbbhu production would suffice to treat the               variable amounts of iron, including some large aggregates.
  anemia, we closely monitored hemoglobin parameters over                TNS9-trasduced treated chimeras demonstrated low to unde-
  40 weeks. The marked increase in hemoglobin concentration,        45   tectable levels of iron in the livers, whereas iron was readily
  RBC counts, and hematocrit was sustained throughout this               detected in the livers of all mice that received transplants of
  time period. Control mice that received transplants of eGFP-           eGFP-transduced Hbb th31+ bone marrow cells. No iron accu-
  transduced Hbb th31+ bone marrow cells remained severely               mulation was found in the heart of treated or control mice, as
  anemic, indicating that the transplantation procedure itself           previously observed in another murine model of ~-thalas-
  did not alter the anemic state. The reticulocyte counts           50   semia, 30 in contrast to what is found in the human disease. 1-3
  decreased to 5% to 8% in TNS9 treated-chimeras, compared
  to 19% to 21 % in control eGFP-treated Hbb th31+ chimeras and                                 EXAMPLE 11
  age-matched Hbb th31+ mice, suggesting an increase in RBC
  life span and a decrease in erythropoietic activity.                      To assess to efficacy of in vivo selection for cells trans-
                                                                    55   duced with globin and DHFR-encoding vectors in accor-
                          EXAMPLE9                                       dance with the invention, using antifolates the following
                                                                         alternative protocols are used. In protocol 1, the recipient
    To determine the impact of sustained human ~-globin gene             mice are treated daily for 5 days with MTX (25 mg/Kg) and
  expression on hematopoiesis, we studied the degree of sple-            NBMPR-P (20 mg/Kg), starting 6 weeks after administration
  nomegaly (enlargement of the spleen) and EMH in I-year-old        60   oftransduced bone marrow cells. In protocol 2, the recipient
  chimeras and age-matched control mice. Spleen weights                  mice are treated daily for 5 days with TMTX (40 mg/Kg) and
  measured in Tns9-treated Hbb th31+ chimeras were indistin-             NBMPR-P (20 mg/Kg), starting 6 weeks after administration
  guishable from recipients of eGFP-transduced normal bone               oftransduced bone marrow cells. In protocol 3, the recipient
  marrow, as were the total number of cells per spleen. In               mice, conditioned with busulphan rather than with gamma-
  contrast, mice engrafted with eGFP-transduced Hbb th31+           65   irradiation, are treated daily for 5 days with TMTX (40
  bone marrow cells showed spleen weights and total cell num-            mg/Kg) and NBMPR-P (20 mg/Kg), starting 4 weeks after
  bers that were about 3-fold greater. The correction of spleen          administration of transduced bone marrow cells. (TMTX
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 13 of 426 PageID #: 2986


                                                         US 7,541,179 B2
                                11                                                                      12
  (Neutrexin; U.S. Bioscience); >MTX (Methotrexate LPF                       3. The vector of claim 2, further comprising a mouse PGK
  Sodium; Immunex); NBMPR-P (Nitrobenzylthioinosine                        promoter to control the expression of the dihydrofolate reduc-
  5'-monophpsphate disodium salt; Alberta nucleoside thera-                tase.
  peutics). Protocol 3 is in principle the most attractive protocol           4. The vector of claim 3, wherein the dihydrofolate reduc-
  as the recipients are not irradiated and furthermore not treated    5    tase is a human dihydrofolate reductase.
  with a "myeloablative conditioning regimen". They are
  treated with a relatively milder conditioning regimen consist-              5. The vector of claim 4, wherein the human dihydrofolate
  ing of a "non-myeloablative" dose ofbusulphan. It is hoped               reductase is a mutant dihydrofolate reductase having
  that, in combination with "in vivo selection" mediated by                increased resistance to antifolates as compared to wild-type
  DHFR/TMTX, the recipients could be satisfactorily                   10   human dihydrofolate reductase and differing in amino acid
  engrafted without receiving a harsh pre-transplant treatment.            sequence from wild-type human dihydrofolate reductase.
  This would be the way to go for treating subjects with severe               6. The vector of claim 5, wherein the mutant dihydrofolate
  hemoglo binopathies.                                                     reductase comprises a mutation at an amino acid correspond-



                                         SEQUENCE LISTING


   <160> NUMBER OF SEQ ID NOS, 4

   <210>   SEQ ID NO 1
   <211>   LENGTH, 25
   <212>   TYPE, DNA
   <213>   ORGANISM, human

   <400> SEQUENCE, 1

   gtctaagtga tgacagccgt acctg                                                              25


   <210>   SEQ ID NO 2
   <211>   LENGTH, 27
   <212>   TYPE, DNA
   <213>   ORGANISM, human

   <400> SEQUENCE, 2

   tcagcctaga gtgatgactc ctatctg                                                            27


   <210>   SEQ ID NO 3
   <211>   LENGTH, 22
   <212>   TYPE, DNA
   <213>   ORGANISM, human

   <400> SEQUENCE, 3

   cagtaacggc agacttctcc tc                                                                 22


   <210>   SEQ ID NO 4
   <211>   LENGTH, 23
   <212>   TYPE, DNA
   <213>   ORGANISM, mouse

   <400> SEQUENCE, 4

   tgatgtgtgt ttctggggtt gtg                                                                23



     What is claimed is:                                                   ing to amino acid 22 of the wild-type sequence and a mutation
     1. A recombinant vector comprising a nucleic acid encod-         55   at an amino acid corresponding to amino acid 31 of the wild
  ing a functional globin operably linked to a 3.2-kb nucleotide           type sequence.
  fragment which consists essentially of three contiguous                     7. The vector of claim 2, wherein the dihydrofolate reduc-
  nucleotide fragments obtainable from a human ~-globin                    tase is a human dihydrofolate reductase.
  locus control region (LCR), the three fragments being a BstXI
  and SnaBI HS2-spamiing nucleotide fragment of said LCR, a
                                                                      60     8. The vector of claim 7, wherein the human dihydrofolate
  BamHI and HindIII HS3-spamiing nucleotide fragment of                    reductase is a mutant dihydrofolate reductase having
  said LCR and a BamHI and BanII HS4-spanning nucleotide                   increased resistance to antifolates as compared to wild-type
  fragment of said LCR, said vector providing expression of the            human dihydrofolate reductase and differing in amino acid
  globin in a manimal in vivo.                                        65
                                                                           sequence from wild-type human dihydrofolate reductase.
     2. The vector of claim 1, further comprising a nucleic acid             9. The vector of claim 8, wherein the mutant dihydrofolate
  encoding a dihydrofolate reductase.                                      reductase comprises a mutation at an amino acid correspond-
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 14 of 426 PageID #: 2987


                                                      US 7,541,179 B2
                               13                                                                      14
  ing to amino acid 22 of the wild-type sequence and a mutation            18. The vector of claim 17, wherein the mutant dihydro-
  at an amino acid corresponding to amino acid 31 of the wild           folate reductase comprises a mutation at an amino acid cor-
  type sequence.                                                        responding to amino acid 22 of the wild-type sequence and a
     10. The vector of claim 1, wherein the functional globin is        mutation at an amino acid corresponding to amino acid 31 of
  human ~-globin.                                                  5    the wild type sequence.
     11. The vector of claim 10, further comprising a nucleic              19. The vector of claim 1, wherein the functional globin is
  acid encoding a dihydrofolate reductase.                              a ~-globin.
     12. The vector of claim 11, further comprising a mouse                20. The vector of claim 1, wherein the functional globin is
  PGK promoter to control the expression of the dihydrofolate           a y-globin.
  reductase.                                                       10      21. The vector of claim 1, wherein the functional globin is
     13. The vector of claim 12, wherein the dihydrofolate              an a-globin.
  reductase is a human dihydrofolate reductase.                            22. The vector of claim 1, wherein the vector is a lentiviral
     14. The vector of claim 13, wherein the human dihydro-             vector.
                                                                           23. A recombinant vector comprising a nucleic acid encod-
  folate reductase is a mutant dihydrofolate reductase having
  increased resistance to antifolates as compared to wild-type     15   ing a functional globin operably linked to a 3.2-kb nucleotide
  human dihydrofolate reductase and differing in amino acid             fragment which consists essentially of three nucleotide frag-
  sequence from wild-type human dihydrofolate reductase.                ments obtainable from a human ~-globin LCR, the three
                                                                        fragments being a BstXI and SnaBI, HS2-spanning nucle-
     15. The vector of claim 14, wherein the mutant dihydro-
                                                                        otide fragment of said LCR, a BamHI and HindIII, HS3-
  folate reductase comprises a mutation at an amino acid cor-
                                                                   20   spanning nucleotide fragment of said LCR, and a BamHI and
  responding to amino acid 22 of the wild-type sequence and a
                                                                        BanII, HS4-sparming nucleotide fragment of said LCR,
  mutation at an amino acid corresponding to amino acid 31 of
                                                                        wherein the HS3-spanning nucleotide fragment and the HS4-
  the wild type sequence.
                                                                        spanning nucleotide fragment are adjacent to each other and
     16. The vector of claim 11, wherein the dihydrofolate              the vector further comprises 2 GATA-I binding sites at the
  reductase is a human dihydrofolate reductase.                    25   junction between the HS3-spanning and HS4-spanning
     17. The vector of claim 16, wherein the human dihydro-             nucleotide fragments, said vector providing expression of the
  folate reductase is a mutant dihydrofolate reductase having           globin in a mammal in vivo.
  increased resistance to antifolates as compared to wild-type             24. The vector of claim 23, wherein the vector is pTNS9.
  human dihydrofolate reductase and differing in amino acid
  sequence from wild-type human dihydrofolate reductase.                                       *   *   *    *   *
    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 15 of 426 PageID #: 2988

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                    CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,541,179 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 10/188221
DATED                       : June 2, 2009
INVENTOR(S)                 : Sadelain et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page:

         The first or sole Notice should read --

         Subject to any disclaimer, the term of this patent is extended or adjusted under 35 U.S.C. 154(b)
         by 682 days.




                                                                                   Signed and Sealed this
                                                                              Twenty-third Day of August, 2011


                                                                                ~J3:•·t-.~
                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 16 of 426 PageID #: 2989




           EXHIBIT B
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 17 of 426 PageID #: 2990

                                                                                               USOO8058061B2


   (12) United States Patent                                                (10) Patent No.:                   US 8,058,061 B2
          Sadelain et al.                                                   (45) Date of Patent:                       Nov. 15, 2011
   (54) VECTOR ENCODING HUMAN GLOBIN                                                       OTHER PUBLICATIONS
           GENE AND USE THEREOF INTREATMENT
           OF HEMOGLOBINOPATHIES
                                                                        Walsh, C., et al., “Regulated High Level Expression of a Human
                                                                        Upsilon-Globin Gene Introduced into Erythroid Cells by an Adeno
   (75) Inventors: Michel Sadelain, New York, NY (US);                  Associated Virus Vector” Proceedings of the National Academy of
                   Stefano Rivella, New York, NY (US);                  Science (PNAS) 89(15): 7257-7261 (Aug. 1, 1992).
                   Chad May, New York, NY (US); Joseph                  Collis etal, Definition of the minimal requirements within the human
                                                                        beta-globin gene and the dominant control region for high level
                   Bertino, Branford, CT (US)                           expression, EMBO J. Jan. 1990; 9(1): 233-40.
                                                                        D. Bodine, “Globin Gene Therapy: One (Seemingly) Small Vector
   (73) Assignee: Memorial Sloan-Kettering Cancer                       Change, One Giant Leap in Optimism'. Molecular Therapy, vol. 2,
                   Center, New York City, NY (US)                       No. 2, pp. 101-102, Aug. 2000.
                                                                        Dull et al. (1998) J. Virol. 72:8463-8471, “A Third-Generation
   (*) Notice:            Subject to any disclaimer, the term of this   Lentivirus Vector with a Conditional Packaging System”.
                          patent is extended or adjusted under 35       Dzierzak et al., Lineage-specific expression of a human B-globin
                          U.S.C. 154(b) by 147 days.                    gene in murine bone marrow transplant recipients reconstituded with
                                                                        retrovirus-transduced stem cells., 1988, pp. 35-41, vol. 331.
   (21) Appl. No.: 12/433,412                                           Ercikan et al., “Effect of codon 22 mutations on Substrate in inhibitor
                                                                        binding for human dihydrofolate reductase'. Chemistry and Biology
                                                                        of Pteridines and Folates, pp. 515-519, 1993.
   (22) Filed:            Apr. 30, 2009                                 Gatlin et al. “In Vitro Selection of Lentivirus Vector-Transduced
                                                                        Human CD34+ Cells.” Human Gene Therapy 11: 1949-1957 (2000).
   (65)                      Prior Publication Data                     Genbank NG-000007, priority date Jun. 19, 2006, downloaded Jul.
           US 2009/O274671 A1              Nov. 5, 2009                 24, 2006.
                                                                        Huang, et al., “Nonadditivity of Mutational Effects at the Folate
                                                                        Binding Site of Escherichia coli Dihydrofolate Reductase'. Bio
               Related U.S. Application Data                            chemistry, vol. 33, No. 38, pp. 11567-11585, 1994.
   (62) Division of application No. 10/188,221, filed on Jul. 1,        Kalberer et al., Preselection of retrovirally transduced bone marrow
                                                                        avoids Subsequent stem cell gene silencing and age-dependent
           2002, now Pat. No. 7,541,179.                                extinction of expression of human B-globin in engrafted mice,
   (60) Provisional application No. 60/301,861, filed on Jun.           PNAS, 2000, pp. 5411-5415, vol.97, No. 10.
        29, 2001, provisional application No. 60/302,852,               May, et al., “Therapeutic haemoglobin synthesis in B-thalassaemic
           filed on Jul. 2, 2001.                                       micc expressing lentivirus-encoded human b-globin’. Nature, vol.
                                                                        406, pp. 82-86, Jul. 6, 2000.
   (51) Int. Cl.                                                        May et al., Successful treatment of murine B-thalassemia intermedia
                                                                        by transfer of the human B-globin gene, Blood 2002, pp. 1902-1908,
           CI2N5/00                     (2006.01)                       vol. 99, No. 6.
           CI2N IS/00                   (2006.01)                       Melton et al., Stability of HPRT marker gene expression at different
           CI2N 15/67                   (2006.01)                       gene-targeted loci: observing and overcoming a position effect,
           CI2N IS/II                   (2006.01)                       Nucleic Acids Research, 1997, vol. 25, No. 193937-3943.
   (52) U.S. Cl. ..................... 435/325; 435/326; 435/320.1;                             (Continued)
                                        435/69.1:536/24.1:536/24.2
   (58) Field of Classification Search ........................ None    Primary Examiner — Maria Marvich
        See application file for complete search history.               (74) Attorney, Agent, or Firm — Edwards Angell Palmer &
   (56)                      References Cited                           Dodge LLP: Peter C. Lauro, Esq.; Melissa Hunter-Ensor,
                                                                        Esq.
                    U.S. PATENT DOCUMENTS
                                                                        (57)                       ABSTRACT
          5,126.260 A     6, 1992 Tuan et al.
          5,610,053 A         3/1997 Chung et al.                       Recombinant lentiviral vectors having a region encoding a
          5,631,162   A       5, 1997   LeBoulch et al.                 functional 3-globin gene; and large portions of the 3-globin
          5,834,256
          5,858,740
                      A
                      A
                             11/1998
                              1/1999
                                        Finer et al.
                                        Finer et al.
                                                                        locus control regions which include DNase I hypersensitive
          5,981,276   A      11/1999    Sodroski et al.                 sites HS2, HS3 and HS4 provides expression of B-globin
          5,994,136   A      11/1999    Naldini et al.                  when introduced into a mammal, for example a human, in
          6,013,516   A       1/2000    Verma et al.                    vivo. Optionally, the vector further includes a region encod
          6,090,608 A         7/2000 Oppenheim et al.                   ing a dihydrofolate reductase. The vector may be used in
          6,110,666 A
          6,218,187 B1
                             8, 2000 Grosveld et al.
                             4/2001 Finer et al.
                                                                        treatment of hemoglobinopathies, including B-thalessemia
          6,294,165 B1       9, 2001 Lever et al.                       and sickle-cell disease. For example, hematopoietic progeni
          6,312,682 B1       1 1/2001 Kingsman et al.                   tor or stem cells may be transformed ex vivo and then restored
          6,428,953 B1         8, 2002 Naldini et al.                   to the patient. Selection processes may be used to increase the
          6,444,421 B1         9/2002 Chung                             percentage of transformed cells in the returned population.
          6,524,851 B1       2, 2003 Ellis                              For example, a selection marker which makes transformed
          6,544,771 B1       4/2003 Rivere et al.
          6,642,043 B1       1 1/2003 Bertino et al.                    cells more drug resistant than untransformed cells allows
          6,797.494 B1        9/2004 Antoniou et al.                    selection by treatment of the cells with the corresponding
                                                                        drug.
                FOREIGN PATENT DOCUMENTS
  WO            WO-97,33988 A1            9, 1997                                         15 Claims, 6 Drawing Sheets
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 18 of 426 PageID #: 2991


                                                            US 8,058,061 B2
                                                                     Page 2

                     OTHER PUBLICATIONS                                   Sabatino et al., Long-term expression of y-globin mRNA in mouse
  Molete et al. Sequences flanking hyperSensitive sites of the beta       erythrocytes from retrovirus vectors containing the human y-globin
  globin locus control region are required for synergistic enhancement,   gene ..., PNAS, 2000, pp. 13294-13299, vol.97, No. 24.
  MCB, May 2001; 21(9): 2969-80.                                          Sadelain et al. (1995) Proc. Natl. Acad. Sci.92:6728-6732, “Genera
  Naldini et al. (1996) Science 272:263-267. In Vivo Gene Delivery        tion of a high-titer retroviral vector capable of expressing high levels
  and Stable Transduction of Nondividing Cells by a Lentiviral Vector.    of the human B-globin gene”.
  NG 000007 (GI: 13907843), Homo sapiens genomic beta globin              Sadelain “Genetic Treatment of the Haemogloinopathies Recombi
  region on chomosome 11, U.S. National Library of Medicine,
  Bethesda, MD, USA, May 2001, accessed by PTO on Mar. 2, 2007.           nations and New Combinations.” British Journal of Haematology 98:
  Raftopoulos et al., Long-TermTransfer and Expression of the Human       247-253 (1997).
  B-Globin Gene in a Mouse Transplant Model, Blood, 1997, pp.             Sadelain et al. Issues in the Manufacture and TrSnplantation of
  3414-3422, vol. 90, No. 9.                                              Genetically Modified Hematopoietic StemCells. Current Opinion in
  Rivella et al., Genetic Treatment of Severe Hemoglobinopathies: The     Hematology 7:364-377 (2000).
  Combat Against Transgene Variegation and Transgene Silencing,           Sorrentino et al. Localization and characterization of the DNase
  Seminars in Hematology, 1998, pp. 112-125, vol. 35. No. 2.              I-hypersensitive site II (HSII) enhancer. A critical regulatory element
  Rivella et al. “Globin Gene Transter: a Paradigm for Transgenic         within the beta-globin locus-activating region, Ann NY Acad Sci.
  Regulation and Vector Safety.” Gene Therapy and Regulation 00:0;        1990:612:141-51.
  1-27 (2003).                                                            Tisdale et al. “Towards Gene Therapy for Disorders of Golbin Syn
  Ryan etal. A single erythroid-specific DNAse I Super-hyperSensitive     thesis.” Seminars in Hematology 38:4382-392 (2001).
  site activates high levels of human b-globin gene expression in         Zufferey et al., “Self-Inactivating Lentibirus Vector for Safe and
  transgenic mice, Genes and Development, vol. 3, pp. 314-323. (see       Efficient in Vivo Gene Delivery”, Journal of Virology, Dec. 1998, vol.
  entire document), 1989.                                                 72, pp.9873-9880.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 19 of 426 PageID #: 2992


   U.S. Patent                         Sheet 1 of 6         US 8,058,061 B2


                                           O
                                           a
                                          w
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 20 of 426 PageID #: 2993




                                 *-~><!?
   U.S. Patent        Nov. 15, 2011        Sheet 2 of 6     US 8,058,061 B2
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 21 of 426 PageID #: 2994


   U.S. Patent        Nov. 15, 2011    Sheet 3 of 6         US 8,058,061 B2




                O
                       GFP "rns 1 TNsg
                                  Fig. 3
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 22 of 426 PageID #: 2995


   U.S. Patent        Nov. 15, 2011     Sheet 4 of 6        US 8,058,061 B2




                                                        -- RNS1



                   F------
                O 4           8         12         16    20        24

                                      Fig. 4
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 23 of 426 PageID #: 2996


   U.S. Patent                           Nov. 15, 2011   Sheet 5 of 6             US 8,058,061 B2




                                                                                RNS1
                                                                             is TNS9



      gnHp{jnW(/a%z)|\e/uJNOH
                                CDLO
                                       Day 12                           Week 22
                                       CFU-S12           TER-119+ splenocytes
                                  Fig. 5A                               Fig. 5B
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 24 of 426 PageID #: 2997


   U.S. Patent        Nov. 15, 2011       Sheet 6 of 6             US 8,058,061 B2




          RBC (106 per mm3)                              Reticulocytes (%)

                                 8.




        DOnOr mice              BOne marrOW Chimaeras
            Hbbit/+                          Hbb?-GFP
         E. Hbbth3/+                    III. Hbbth.3/+-GFP
                                             Hbbth.3/+-TNS9

                                      Fig. 6
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 25 of 426 PageID #: 2998


                                                        US 8,058,061 B2
                                 1.                                                                      2
        VECTORENCODNG HUMAN GLOBIN                                        formed cells in the returned population. For example, a selec
       GENE AND USE THEREOF INTREATMENT                                   tion marker which makes transformed cells more drug resis
            OF HEMOGLOBINOPATHIES                                         tant than un-transformed cells allows selection by treatment
                                                                          of the cells with the corresponding drug. Selection and/or
           STATEMENT CONCERNING RELATED                              5    enrichment may also be carried out in vivo, for example using
                        APPLICATIONS                                      methotrexate or similar antifolates to select for cells rendered
                                                                          resistant by the expression from the vector of a dihydrofolate
     This application is a divisional application of U.S. Ser. No.        reductase (DHFR).
   10/188,221, filed Jul. 1, 2002, now U.S. Pat. No. 7,541,179,
  which claims the benefit of U.S. Provisional Application No.       10         BRIEF DESCRIPTION OF THE DRAWINGS
  60/301,861 filed Jun. 29, 2001 and U.S. Provisional Applica
  tion No. 60/302,852 filed Jul. 2, 2001, each of which is                  FIG. 1 shows the genomic structure of a recombinant onco
  incorporated herein by reference.                                       retroviral vector in accordance with the invention.
                                                                             FIG. 2 shows the genomic structure of recombinant onco
        STATEMENT CONCERNING GOVERNMENT                              15   retroviral vector within the scope of the invention.
                            FUNDING                                          FIG. 3 shows experimental results demonstrating
                                                                          increased mean (B-globin expression in transduced MEL
    The invention disclosed in this application was made with cells.
  funds provided under NHLBI grant No. HL57612. The                  FIG. 4 shows the average vector copy number in peripheral
  United States government has certain rights in the invention. 20 blood cells, measured periodically for 24 weeks, which con
                                                                   firms highly efficient gene transfer in cells transduced with
            BACKGROUND OF THE INVENTION                                   the vector of the invention.
                                                                        FIGS. 5A and B show human (B-globin expression per
     This application relates to a vector comprising a mamma endogenous allele 12 days and 22 weeks after introduction of
  lian, and particularly a human globin gene and to the use 25 cells transduced with the vector of the invention.
  thereof intreatment of hemoglobinopathies, including C- and           FIG. 6 shows haematocrit level, red blood cell count,
   B-thalessemia and sickle-cell disease.                            reticulocyte count and haemoglobin level fifteen weeks after
     Current treatment modalities for B-thalassemias consist of transplantation with unselected TNS9-transduced Hbb'"
  either red blood cell transfusion plus iron chelation (which bone marrow.
  extends Survival but is cumbersome, expensive and an imper- 30
  fect therapy), or allogeneic bone marrow transplant (which             DETAILED DESCRIPTION OF THE INVENTION
  carries a lethal risk and is not available to the majority of
  patients). Thus, there is a substantial need for improved thera       In a first aspect of the present invention, a recombinant
  peutic approaches. The present invention provides a genetic lentirviral vector is provided comprising:
  correction in autologous hematopoietic stem cells, thus using 35 (a) a region comprising a functional globin gene; and
  gene therapy to provide a less-risky and more effective long          (b) large portions of the (B-globin locus control regions,
  term treatment.                                                          which include DNase I hypersensitive sites HS2, HS3
     While gene therapy has been proposed for many years, a                and HS4.
  significant challenge facing efforts to develop gene therapy          As used in the specification and claims hereof, the term
  vectors is the ability to produce therapeutically useful levels 40 “recombinant lentiviral vector refers to an artificially created
  of a desired protein or peptide. The present invention provides polynucleotide vector assembled from a lentiviral-vector and
  a vector which is capable of providing therapeutically mean a plurality of additional segments as a result of human inter
  ingful levels of human globin for Sustained periods of time. vention and manipulation.
  This ability arises from the ability to transmit large genomic        The term “functional globin gene' refers to a nucleotide
  regulatory sequences that control expression of the therapeu- 45 sequence the expression of which leads to a globin that does
  tic gene.                                                          not produce a hemoglobinopathy phenotype, and which is
                                                                     effective to provide therapeutic benefits to an individual with
               SUMMARY OF THE INVENTION                              a defective globin gene. The functional globin gene may
                                                                     encode a wild-type globin appropriate for a mammalian indi
     In accordance with the invention, a recombinant lentiviral 50 vidual to be treated, or it may be a mutant form of globin,
  vector is provided comprising:                                     preferably one which provides for superior properties, for
     (a) a region comprising a functional globin gene; and           example Superior oxygen transport properties. The functional
     (b) large portions of the 3-globin locus control regions globin gene includes both exons and introns, as well as globin
        which include large portions of DNase 1 hypersensitive promoters and splice doners/acceptors. Suitably, the globin
        sites HS2, HS3 and HS4. The regions may be the com- 55 gene may encode O-globin, B-globin, or Y-globin. 3-globin
        plete site or some lesser site which provides the same promoters may be sued with each of the globin genes.
        functionality as the specific sequences set forth below.        The recombinant vectors of the invention also include large
        This vector provides expression of (B-globin when intro portions of the locus control region (LCR) which include
        duced into a mammal, for example a human, in vivo.           DNase I hypersensitive sites HS2, HS3 and HS4. In prior
        Optionally, the vector further comprises a region encod- 60 studies, Smaller nucleotide fragments spanning the core por
        ing a dihydrofolate reductase.                               tions of HS2, HS3 and HS4 have been utilized. Sadelain et al.
     By incorporation of different globin genes, the vector of the Proc. Nat'l Acad. Sci. (USA)92: 6728-6732 (1995); Lebouich
  invention may be used in treatment of hemoglobinopathies, et al., EMBO.J. 13: 3065-3076 (1994). The term “large por
  including C- and B-thalessemia and sickle-cell disease. For tions’ refers to portions of the locus control region which
  example, hematopoietic progenitor or stem cells may be 65 encompass larger portions of the hyperSensitive sites as
  transformed ex vivo and then restored to the patient. Selection opposed to previously tested fragments including only the
  processes may be used to increase the percentage of trans core elements. The regions may be the complete site or some
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 26 of 426 PageID #: 2999


                                                         US 8,058,061 B2
                                 3                                                                         4
  lesser site which provides the same functionality as the spe              DHFR with mutations at amino acids 22 and 31 as described
  cific sequences set forth below. In preferred embodiments of              in commonly assigned PCT Publication No. WO97/33988,
  the invention, the large portions of the locus control regions            which is incorporated herein by reference, may be advanta
  are assembled from multiple fragments, each spanning one of               geously utilized.
  the DNase I hypersensitive sites. In addition, the locus control     5       FIG. 2 shows the genomic structure of specific vector
  region has two introduced GATA-1 binding sites at the junc                within the scope of the invention. The vector includes a
  tion between HS3 and HS4. While not intending to be bound                 deleted LTR, from -456 to -9 of HIV LTR and the PGK
  by any specific mechanism, it is believed that the incorpora              promoter (530 bp) from the murine phosphoglycerate kinase
  tion of these transcription factor binding sites enhances the             1 gene. It also includes a DHFR-encoding region encoding
  effectiveness of the vector.                                         10
                                                                            human DHFR with S/f mutation at amino acid 22. The locus
     The genomic structure of one embodiment of the vector of               control region and the B-globin region are the same as in
  the invention (TNS9) is shown in FIG.1. TNS9 incorporates                 TSN9. This vector is designated dTNS9-PD. This incorpora
  human B-globin gene (from position -618 to +2484) that
  includes an extended promoter sequence and a 3'-enhancer                  tion of DHFR into this vector provides transformed cells with
  element. Optionally, a portion of 3' U3 region of the lentiviral     15   a methotrexate-resistant phenotype. As a result, methotrex
  backbone can be deleted for increased safety. In FIG. 1, the              ate, and otherantifolates can be used, both in vitro and in vivo
  exons and introns of the human (B-globin gene are repre                   as a selection to tool to enhance levels of the functional
  sented by filled and open boxes. The locations are indicated              hemoglobin. When hematopoietic stem cells were trans
  for the splice donor (SD), splice acceptor (SA), packaging                formed using dTNS9-PD and reintroduced to mice that were
  region (), rev-response element (RRE), human B-globin                     then treated with NMBPR-P (0.5 mg/dose) and TMTX (0.5
  promoter (P) and 3'-B-globin enhancer (E). Thus, in the vector            mg dose) for five days, observed levels of expressed human
  TNS9, a functional B-globin gene, which includes both the                 B-globin were much higher in mice transduced with dTNS9
  exons and introns of the gene and the relevant control                    PD vectors after treatment with TMTX and NMBPR-P for
  sequences from the human B-globin locus. These are com                    selection of transduced cells.
  bined with the large fragments of the locus control region.          25     The vectors of the invention are used in therapy for treat
  The 3.2 kb LCR assembled into dTNS9 consists of an 840 bp                 ment of individuals suffering from hemoglobinopathies. In
  HS2 fragment (SnaBI-BstXI), a 1308 by HS3 fragment (Hin                   one embodiment of the invention, hematopoietic progenitor
  dIII-BamHI) and a 1069 by HS4 fragment (BamHI-BanII).                     or stem cells are transformed ex vivo and then restored to the
     In a further aspect of the invention, the (B-globin gene               patient. As used in the specification and claims hereof, the
  coding sequence can be exchanged and replaced with either            30   term “hematopoietic progenitors and stem cells' encom
  the gamma globin gene (for sickle cell disease) or the alpha              passes hematopoietic cells and non-hematopoietic stem cells,
  globin gene (for alpha-thalassemias). In one strategy, a Nco              e.g., embryonic stem cells, hematopoietic stem cell precur
  Pst I fragment of the (B-globin gene is replaced with the                 sors, or any of the latter generated by nuclear transfer from a
  corresponding Nicol-HindIII fragment of the gamma globin                  Somatic cell. It is known in the art that efficient gene transfer
  gene or the NcoI-PstI fragment of the human alpha globin             35   into human embryonic stem cells can be achieved using len
  gene. These fragments start at the translational start of each            tiviral vectors.
  globin gene (spanning the Nicol site) and end past their                     Selection processes may be used to increase the percentage
  respective polyadenylation signals. In the second strategy,               of transformed cells in the returned population. For example,
  chimeric genes can be generated by only swapping the coding               a selection marker which makes transformed cells more drug
  sequence of each one of the three exons of these genes. Thus,        40   resistant than un-transformed cells allows selection by treat
  for the gamma globin gene, the result is a vector that com                ment of the cells with the corresponding drug. When DHFR is
  prises the beta globin promoter, the beta globin 5' untrans               used as a selection marker, it can be used for enrichment of
  lated region, the gamma exon 1 coding region, the gamma                   transduced cells in vitro, or for in vivo selection to maintain
  intron 1 the gamma exon 2, the beta intron 2, the gamma exon              the effectiveness of the vector.
  3, and the beta 3' untranslated region. Thus all the elements of     45     The invention will now be further described with reference
  the TNS9 vector remain in place (promoter, enhancers, 5' and              to the following non-limiting examples.
  3' untranslated regions, the LCR elements, the 2 additional
  GATA-1 binding sites and the introns of the beta globin gene                                       EXAMPLE 1.
  (at least intron 2, which is most important). In a third strategy,
  the codon usage within exon 3 of the gamma globin gene can           50      To produce vector TNS9, the human B-globin gene was
  be modified so that its sequence will resemble as much as                 subcloned from MP36L (Sadelain et al. Proc. Nat I Acad. Sci.
  possible that of the beta globin gene. The reason for testing             (USA) 92: 6728-6732 (1995)) into lentiviral vector
  this is that the beta globin gene is always the best expressed.           pHRLacZ (Zuffery et al., Nature 15: 871-875 (1997)) replac
     Additional elements may be included in the vectors of the              ing the CMV-Lacz sequence. pHRe(GFP was constructed by
  invention to facilitate utilization of the vector in therapy. For    55   replacing Lacz with the eGFP sequence (Clontech). Viral
  example, the vector may include selectable markers, to con                stocks were generated by triple transfection of the recombi
  firm the expression of the vector or to provide a basis for               nant vectors pCMVAR8.9 (Zuffrey et al.) and pMD.G. in
   selection of transformed cells over untransformed cells, or              293T cells as previously described in Dull, et al., J. Virol. 72:
  control markers which allow targeted disruption of trans                  8463-8471 (1998). The pseudotyped virions were concen
  formed cells, and thus the selective removal of such cells           60   trated by ultracentrifugation resuspended and titrated as
  should termination of therapy become necessary.                           described in Gallardo et al., Blood 90: 952-957 (1997). For
     In a further specific embodiment, the vector of the inven              comparison, RSN1 was used which has a similar structure,
  tion includes the mouse PGK promotor and human dihydro                    except that the LCR contains only the core portion of HS2,
  folate reductase (DHFR) cDNA as a transcriptional unit.                   HS3 and HS.4. Northern blot analysis showed full length RNA
  Mutant forms of DHFR which increase the capacity of the              65   transcripts, indicating that the recombinant lentiviral
  DHFR to confer resistance to drugs such as methotrexate are               genomes are stable. Southern blot analysis on genomic DNA
  Suitably used. For example, single and double mutants of                  from transduced cells, digested once in each long terminal
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 27 of 426 PageID #: 3000


                                                        US 8,058,061 B2
                                 5                                                                    6
  repeat (LTR) results in a single band corresponding to the              primer extension assays were done using the Primer Exten
  expected size for the vector, indicating that the proviral struc        sion System-AMV Reverse Transcriptase kit (Promega) with
  ture is not rearranged.                                                  'p dATP end-labelled primers specific for retroviral-de
                          EXAMPLE 2
                                                                          rived human B-globin (5'-CAGTAACGGCAGACTTCTC
                                                                          CTC-3'; SEQ ID NO:3) and mouse B-globin (5'-TGAT
     To investigate the tissue specificity, stage specificity and         GTCTGTTTCTGGGGTT GTG-3'; SEQ ID NO:4), with
                                                                          predicted extension products of 90 bp and 53 bp, respectively.
  expression level of the vector-encoded human B-globin gene, The probes yield products of identicallength for B"', B", B
  we transduced RNS1 and TNS9 into MEL cells, lymphoid and B. Primers were annealed to 4 ug of RNA and reactions
  Jurkat cells and myeloid HL-60 cells. Cell-free viral super- 1 0 were run according to manufacturer's protocols. Radioactive
  natant was used to infect C88 MEL cells in the presence of
  polybrene (8 g ml). Transduced MEL cells were sub bands were quantitated by phosphorimager analysis (Bio
  cloned by limiting dilution, and screened by PCR for trans Rad). RNA isolated from A85.68 mice' was used as positive
  duction" using primers that anneal in the human f3-globin control. After correction for primer labelling, the human to
  promoter sequence (OPS, 5'-GTCTAAGTGATGACAGC 15 mouse RNA signal was 29tl% per gene copy in repeated
  CGTACCTG-3'; SEQ ID NO: 1) and in HS2 (C2A, experiments (n-8), in agreement with previous findings
  5-TCAGCCTAGAGT GATGACTCC TATCTG-3'; SEQID                          based on RT-PCR''. Values measured in bone marrow chi
  NO:2). Vector copy number and integration site analysis was maeras that were obtained in separate runs were standardized
  determined by Southern blot analysis. Transduced MEL to the value obtained in the A85.68 RNA sample. In FIGS. 2
  cells were induced to maturation by 5-day culture in 5 mM and 3c, d, human B-globin expression is expressed per vector
  N,N'-hexamethylene bisacetamide (HMBA, Sigma).                     copy and normalized to the endogenous transcripts (account
     To induce (B-globin transcription, transduced MEL cell ing for two endogenous alleles). In FIG. 3b, human tran
  pools were differentiated using hexamethylene bisacetamide scripts are reported as the fraction of total B-globin RNA
  HMBA). Human (B-globin (B) and mouse (B-globin tran (Huf/Huf3+Mu?) to reflect absolute contribution of vector
  Scripts were measured by quantitative primer extension. After encoded transcripts.
  normalization to vector copy number and to endogenous 25
   B-globin expression per allele, human (B-globin levels were                                EXAMPLE 4
  14.2+4.7% for RNS1 and 71.3+2.3% for TNS9 in pooled
  MEL cells (FIG. 2a). MEL, Jurkat and HL-60 cells were                 To investigate the function of the vectors in vivo, we trans
  transduced with RNS1, TNS9 or control GFP recombinant              duced   and transplanted murine bone marrow cells without
  lentivirus. Human B-globin RNA expression in HMBA any selection                   in Syngeneic, lethally irradiated recipient mice.
  induced MEL cells (grey bars) was measured by quantitative Donor bone marrow               was flushed from the femurs of 8- to
  primer extension and normalized to mouse B-globin RNA
  expression per locus. Expression was then normalized to the        16-week-old    male  C57BL/6   or Hbb'" (Jackson Labo
  vector copy number determined by Southern blot. No human ratories) that had been injected intravenously (i.v.)
  B-globin RNA expression was detected in non-induced MEL 6 days earlier with 5-flurouracil (5-FU, Pharmacia: 150 mg
  (black bars), Jurkat (white bars) or HL-60 cells (hatched 35 kg body weight). Bone marrow cells were resuspended in
  bars), indicating that globin expression was erythroid- and serum-free medium, and Supplemented with IL-1C. (10 ng
  differentiation-specific. No human B-globin expression was ml), IL-3 (100 U. ml), IL-6 (150 U. ml), Kit ligand
  detected in non-induced MEL, Jurkat and HL-60 cells (FIG.          (10 ng ml (Genzyme), B-mercaptoethanol (0.5 mM;
  3), indicating that human B-globin expression was appropri Sigma), -glutamine (200 mM), penicillin (100 IU ml) and
  ately regulated in terms of tissue specificity and state of 40 streptomycin (100 ugm), and cultured for 18 h. Recipient
  differentiation. We generated a panel of MEL cell clones that mice (11- to 14-week-old C57/BL6 or Hbb't mice) were
  carried a single copy of either vector to distinguish whether irradiated with 10.5Gy (split dose 2x5.25 Gy) on the day of
  the increased expression obtained in HMBA-treated Mel cells transplantation. Bone marrow cells were pelleted and resus
  transduced with TNS9 rather than RNS1 was the result of an         pended in serum-free medium containing concentrated len
  increase in B" expression per cell or of an increase in the 45 tiviral Supernatant, and Supplemented with polybrene (8 Jug
  fraction of cells expressing human B-globin. Transduced ml), -glutamine (200 mM), penicillin (100 IU ml) and
  MEL cells were subcloned by limiting dilution immediately streptomycin (100 ugml), and cultured for 6 h. Transduced
  after transduction, avoiding any bias towards favourable bone marrow cells (1x10 or 5x10) were then i.v. injected
  chromosomal integration sites as produced by drug selection        into each of the irradiated female recipients to establish short
  The proportion of clones expressing human B-globin varied 50 term and long-term bone marrow chimaeras, respectively.
  significantly between the two vectors. One out often RNS1             In short-term studies, spleens were removed 12 d after
  positive clones yielded measurable human B-globin tran transplantation to extract total RNA and genomic DNA. To
  scripts, in contrast to 12 out of 12 for TNS9 also expressed monitor long-term chimaeras, two or three capillary tubes of
  higher levels of human B-globin than did those bearing RNS1        blood were collected every 4-6 weeks, from which genomic
  (P<0.01, Fisher's exact test). Cells bearing TNS9 also 55 DNA, total RNA and haemoglobin were extracted. To exam
  expressed higher levels of human B-globin than did those ine vector function reliably in long-term animals, erythroid
  bearing RNS1 (P<0.01, Wilcoxon rank sum test). These find cell populations were purified from spleen. Single-cell Sus
  ings established that both the level and probability of expres pensions were incubated with ratanti-mouseTER-119 mono
  sion at random integration sites was increased with the TNS9 clonal antibody (PharMingen). Sheep anti-Rat IgG dyna
  Vector.                                                         60 beads (M-450, Dynal Inc.) Were added to the antibody-coated
                                                                     spleen cells and purified as recommended by the manufac
                           EXAMPLE 3                                 turer. Vector copy number, integration pattern and chimae
                                                                     rism were determined by Southern blot analysis. The fraction
            Quantification of Human B-Globin mRNA                    of donor DNA relative to recipient was determined by strip
                                                                     65   ping and reprobing the blot with a PdCTP-labelled probe
    Total RNA was extracted from MEL, Jurkat and HL-60                    specific for the Y chromosome and normalizing to an endog
  cells, or mouse spleen and blood using TRIZol. Quantitative             enous mouse band. Radioactive bands were quantitated by
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 28 of 426 PageID #: 3001


                                                       US 8,058,061 B2
                                 7                                                                     8
  phosphorimager analysis. Sera from five randomly selected              of thalassaemic cells using fB'-thalassaemic heterozygote
  long-term bone marrow chimaeras (30 weeks after transplan              mice that lack a copy of their bl and b2 B-globin genes
  tation) tested negative for HIV-1 gag by RT-PCR using the              (Hbb'*)'. These heterozygotes have a clinical phenotype
  Amplicor HIV-1 monitor kit (Roche).                                    similar to humanthalassaemia intermedia and exhibit chronic
     Vector copy number and human B-globin RNA transcripts               anaemia (haematocrit 28-30%, haemoglobin 8-9 g dl' and
  were measured during a 24-week period in mice transplanted             anomalies in red cell size (anisocytosis) and shape (poikilo
  with RNS1 (n=8) or TNS9 (n=10) transduced bone marrow.a.               cytosis). Fifteen weeks after transplantation with unselected
  Vector copy number was assessed by Southern blot analysis of           TNS9-transduced Hbb'" bone marrow, the haematocrit
  genomic DNA isolated from peripheral blood at weeks 6, 10.             level, red blood cell count, reticulocyte count and haemoglo
  16 and 24. The average vector copy number in peripheral           10   bin level were markedly improved in five out offive recipient
  blood cells, measured periodically for 24 weeks (FIG. 4),              mice (FIG. 6). Anisocytosis and poikilocytosis were mark
  showed highly efficient gene transfer with both vectors
  (1.8+0.6 and 0.8+0.6 average vector copies per cell for                edly reduced in the peripheral blood smears of chimaeras
   B-globin transcript levels in the 10-20% range during the             bearing the TNS9 vector. Control mice transplanted with
  same time period. To assess transcriptional activity per vector        Hbb'" bone marrow cells transduced with a vector encod
  copy, steady-state RNA transcripts and vector copy number         15   ing enhanced green fluorescent protein (eGFP) all remained
  were quantified in pooled CFU-S, and in erythroid TER                  severely anaemic (n=5, FIG. 6) and maintained their abnor
  119-- spleen cells. Twelve days after transplantation, human           mal red cell morphology. These results establish that levels of
   B-globin expression per endogenous allele, (FIG. 5a). Twenty          circulating haemoglobin obtained with TNS9 were indeed
  weeks later these values were 0.5-0.1% (significantly lower            therapeutically relevant.
  than on day 12, P=0.02) and 15.8+0.9% respectively (FIG.                  The combined effect of the high efficiency of gene transfer
  5b). These findings established that the larger LCR fragments          and the absence of vector rearrangements afforded by the
  increased globin expression in Vivo and, furthermore, Sug              recombinant lentivirus carrying the B-globin gene and LCR
  gested that TNS9 is more resistant to transcriptional silencing        configuration adopted in TNS9 yielded levels of human B'
  than is RNS1.                                                          expression in the therapeutic range. The higher expression
    The levels of TNS9-encoded human B-globin could be              25   obtained with TNS9 compared with RNS1 was associated
  produced. Haemoglobin tetramers incorporating vector-en                with a higher fraction of permissive integration sites in MEL
  coded human f3' and endogenous murine c-globin (desig                  cells and a higher fraction of human f3'-containing red blood
  nated Hbb") were quantitated in peripheral blood red cell              cells in bone marrow chimaeras. RNS1, which carries a
  lysates after cellulose acetate gel fractionation. Hbb" levels         weaker enhancer, silenced over time whereas TNS9 retained
  accounting for up to 13% of total haemoglobin were found 24       30   undiminished transcriptional activity over the same time
  weeks after transplantation (FIG. 3e, Table 1 in Supplemen             period and in secondary transplant recipients.
  tary Information). In the same assays, transgenic mice bear
  ing one copy of a 230-kb yeast artificial chromosome (YAC)               Higher levels of murine C.: human B" tetramers were
  encompassing the entire human f-globin like gene cluster"              obtained in peripheral blood samples from recipients of
  showed 14% of their total haemoglobin incorporating human              TNS9-transduced Hbb'"bone marrow (21+3% of totalhae
  B'. No haemoglobin tetramers containing human fB were             35   moglobin, n=5, than with Hbb'bone marrow (6+4%, n+10).
  measurable in any of the mice bearing RNS1 (table 1 in                 The two groups showed comparable peripheral blood vector
  Supplementary Information). The proportion of mature                   copy numbers and levels of human B-globin RNA (0.8+0.2
  peripheral blood redcells expressing human B was elevate in            compared with 0.8+0.6, and 16.8+6% compared with
  most TNS9 bone marrow chimaeras, as shown by dual stain                10.8+7%, respectively). This observation is consistent with a
  ing of human fB and TER-119. In contrast, chimaeras               40   competitive advantage of murine B-globin over human
  engrafted with RNS1-transduced bone marrow showed                      f-globin in associating with murine O-globin’. In thalas
  highly variable fractions of weakly staining ?-positive                saemic patients, added human B-chain synthesis would
  erythrocytes. Normalized to the fraction of circulating B              improve the C.B chain imbalance and thus increase red cell
  positive mature red cells, the levels of haemoglobin contain           survival and ameliorate the ineffective erythropiesis in these
  ing lentivirus-encoded f" were on average 64% of those            45   patients. In patients with sickle cell disease, transduced f'
  obtained in the YAC transgenic mice.                                   chains are expected to have an advantage over the f chains
                          EXAMPLE 5                                      produced by both endogenous genes in competing for the
                                                                         available C-chains’. Given that patients with S/B-thalas
     To ascertain that true HSCs were transduced, we carried             saemia whose HbA represents 10-30% of their total haemo
  out secondary transplants using marrow from primary recipi        50   globin are very mildly affected'', the clinical benefit of such
  ents collected 24 weeks after transplantation. The TNS9 and            an intervention would be highly significant.
  RNS1 vectors were readily detected in all secondary recipi
  ents 13 weeks after transplantation. Human B-globin expres                                     EXAMPLE 7
  sion was maintained in all recipients of TNS9-transduced
   marrow. The successful transduction of HSCs was confirmed        55     To investigate long-term expression of the transduced
  by integration site analyses. Southern blot analysis was per           human B-globin genes and its therapeutic efficacy, we gener
  formed on genomic DNA isolated from bone marrow, spleen                ated bone marrow chimeras engrafted with TNS9-transduced
  and thymus of secondary bone marrow transplant recipients              Hbb'" bone marrow cells (n=5) and studied them over a
  collected 13 weeks after transplant (one representative RNS1,          40-week period.
  and two representative TNS9 secondary transplant recipients       60     Donor bone marrow was flushed from the tumors of 8- to
  are shown). Two endogenous bands are found in the genomic              16-week old male c57/BL6 or Hbb't mice’ obtain from
  DNA of C57BL/6 (B6) mice.                                              Jackson Laboratories (Bar Harbor, Me.) that had been
                                                                         injected intravenously (IV) 6 days earlier with 5-flurouracil
                          EXAMPLE 6                                      (5-FU) 150 mg/kg body weight obtained from Pharmacia
                                                                    65   (Piscataway, N.J.). Bone marrow cells were resuspended in
     In view of the high levels of expression, we tested the             X-VIVO-15 serum-free medium and supplemented with 10
  extent to which the TNS9 vector could correct the phenotype            ng/mL interleukin-1C. (IL-1C.), 100 U/mL, IL-3, 150 U/mL
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 29 of 426 PageID #: 3002


                                                         US 8,058,061 B2
                              9                                                                       10
  IL-6, 10 ng/mL, Kit ligand obtained from Genzyme (Cam                  bers that were about 3-fold greater. The correction of spleen
  bridge, Mass.), 0.5 mM f-mercaptoethanol obtained from                 weight in TNS9 bone marrow chimeras corresponded to a
  Sigma (St. Louis, Mo.), 200-mM L-glutamine, 100 IU/mL                  concomitant normalization in total hematopoietic progenitor
  penicillin, and 100 g/mL Streptomycin. Bone marrow cells               cell content. Spleen CFU-Es, BFUEs, and CFUs-GM were
  were then pelleted and resuspended in serum-free medium                reduced to levels measured in recipients of eGFP-transduced
  containing concentrated lentiviral Supernatant and                     Hbb' bone marrow, whereas they remained elevated in
  Supplemented with 8 mg/mL polybrene (Sigma),                           control chimeras engrafted with eGFPtrasduced Hbb'"
  200 mM -glutamine, 100 U/mL penicillin, 100 ug/mL strep                bone marrow cells and in age-matched Hbb'" mice, as
  tomycin and cytokines as above, and cultured for 8 hours.              previously observed in another murine model of B-thalas
  Transduced bone marrow cells (5x10) were then injected IV         10   semias.’
  into each of the irradiated female recipients to establish bone          The regression of EMH was corroborated by morphologic
  marrow chimeras. Recipients mice (11- to 14-week-old C57/              examination of spleen and liver in long-term chimeras and
  BL6 or Hbb't mice) were irradiated with 10.5 Gy (Split                 age-matched controls. Histopathology of spleens of mice that
  dose 2x5.25 Gy) on the day of transplantation.                         received transplants of eGFP-transduced Hbb'" marrow
    Age-matched chimeras engrafted with eGFP-transduced             15   was virtually identical to that of spleen from control Hbb'"
  Hbb'" (n=5) and Hbb'" (n=5) bone marrow cells served                   mice. Specifically, the red pulp was significantly expanded,
  as controls. Vector copy number was monitored in peripheral            accounting for 80% to 90% of the cross-sectional area, and
  blood by quantitive Southern blot analysis, and found to               densely occupied by nucleated erythroid precursors. The
  remain stable, between 0.5 and 1.0 copy/cell on average (data          white pulp, based on cross-sectional area, was relatively
  not shown). Protein expression was assessed by quantitive              decreased and the marginal Zones were obscured by the large
  hemoglobin analysis, to measure the proportion of hemoglo              number of nucleated RBCs, reflecting major expansion of the
  bin tetramers that incorporate human B" (Hbb", mu C:                   red pulp and erythroid precursors. In TNS9-treated chimeras,
  hu?") or murine B-globin (Hbb", muct:mu?2), and immu                   the amount of red pulp was considerably decreased, account
  nofluorescence, to determine the fraction of mature RBCs               ing for only about 50% to 60% of the cross-sectional area. In
  that contain human?' protein. Transgenic mice bearing one         25   addition, the number of nucleated erythroid precursors in the
  copy of a 230-kb yeast artificial chromosome encompassing              red pulp was decreased. Other immature hematopoietic cells
  the entire human B-globin-like gene clusters served as ref             were present in the red pulp, but much less frequently than in
  erence, showing 14% of their total hemoglobin incorporating            the spleens of control Hbb'" thalassemic mice. The livers
  human B' and 100% B'+RBCs' Hbb' accounted for 19%                      from TNS9-treated chimeras were similar to those of the
  to 22% of the total hemoglobin in TNS9 chimeras. These            30
                                                                         normal control mice in that no EMH was detected. In contrast,
  levels remained stable up to 40 weeks after transplantation.           livers from mice engrafted with eGFP transduced Hbb'"
  Over this same time period, the proportion of mature periph            bone marrow cells showed several small foci of intrasinusoi
  eral RBCs expressing human fB also remained elevated and               dal EMH.
  stable (about 70% to 80%), as shown by dual staining of
  human B and TER-119.                                              35                          EXAMPLE 10

                          EXAMPLE 8                                         Toxic iron accumulation in the organs of thalassemic
                                                                         patients is a consequence of RBC destruction and increased
              Long-Term Amelioration of Anemia                           gastrointestinal iron uptake. To determine whether Sustained
                                                                    40   expression from the TNS9 vector reduced iron overload, we
    The stability of TNS9-encoded 3' expression detected in              studied tissue sections of liver and heart, stained using
  peripheral blood Suggested that long-term hematologic and              Gomori iron stain. No iron deposition was seen in the livers of
  systemic therapeutic benefits could be obtained. To investi            normal Hbb' control mice, whereas Hbb't mice showed
  gate whether Hbb" production would suffice to treat the                variable amounts of iron, including some large aggregates.
  anemia, we closely monitored hemoglobin parameters over           45   TNS9-transduced treated chimeras demonstrated low to
  40 weeks. The marked increase in hemoglobin concentration,             undetectable levels of iron in the livers, whereas iron was
  RBC counts, and hematocrit was Sustained throughout this               readily detected in the livers of all mice that received trans
  time period. Control mice that received transplants of eGFP            plants of eGFP-transduced Hbb'" bone marrow cells. No
  transduced Hbb'" bone marrow cells remained severely                   ironaccumulation was found in the heart of treated or control
  anemic, indicating that the transplantation procedure itself      50   mice, as previously observed in another murine model of
  did not alter the anemic state. The reticulocyte counts                B-thalassemia," in contrast to what is found in the human
  decreased to 5% to 8% in TNS9 treated-chimeras, compared               disease.'
  to 19% to 21% incontroleGFP-treated Hbb'" chimeras and
  age-matched Hbb'" mice, suggesting an increase in RBC                                         EXAMPLE 11
  life span and a decrease in erythropoietic activity.              55
                                                                            To assess to efficacy of in vivo selection for cells trans
                          EXAMPLE 9                                      duced with globin and DHFR-encoding vectors in accor
                                                                         dance with the invention, using antifolates the following
    To determine the impact of Sustained human B-globin gene             alternative protocols are used. In protocol 1, the recipient
  expression on hematopoiesis, we studied the degree of sple        60   mice are treated daily for 5 days with MTX (25 mg/Kg) and
  nomegaly (enlargement of the spleen) and EMH in 1-year-old             NBMPR-P (20 mg/Kg), starting 6 weeks after administration
  chimeras and age-matched control mice. Spleen weights                  of transduced bone marrow cells. In protocol 2, the recipient
  measured in Tns9-treated Hbb'" chimeras were indistin                  mice are treated daily for 5 days with TMTX (40 mg/Kg) and
  guishable from recipients of eGFP-transduced normal bone               NBMPR-P (20 mg/Kg), starting 6 weeks after administration
  marrow, as were the total number of cells per spleen. In          65   of transduced bone marrow cells. In protocol 3, the recipient
  contrast, mice engrafted with eGFP-transduced Hbb'"                    mice, conditioned with buSulphan rather than with gamma
  bone marrow cells showed spleen weights and total cell num             irradiation, are treated daily for 5 days with TMTX (40
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 30 of 426 PageID #: 3003


                                                         US 8,058,061 B2
                                  11                                                                      12
  mg/Kg) and NBMPR-P (20 mg/Kg), starting 4 weeks after                       2. The cell of claim 1, wherein the mammalian hematopoi
  administration of transduced bone marrow cells. (TMTX                    etic progenitor cell or the stem cell is a human cell.
  (Neutrexin; US Bioscience); >MTX (Methotrexate LPF                         3. The cell of claim 2, wherein said vector further com
  Sodium: Immunex); NBMPR-P (Nitrobenzylthioinosine                        prises a nucleic acid encoding a selectable marker.
  5'-monophpsphate disodium salt; Alberta nucleoside thera                   4. The cell of claim 3, wherein the selectable marker is a
  peutics). Protocol 3 is in principle the most attractive protocol        dihydrofolate reductase or a mutant dihydrofolate reductase
  as the recipients are not irradiated and furthermore not treated         having increased resistance to antifolates as compared to a
  with a “myeloablative conditioning regimen’. They are                    wild-type dihydrofolate reductase.
  treated with a relatively milder conditioning regimen consist
  ing of a “non-myeloablative' dose of busulphan. It is hoped         10     5. The cell of claim 1, wherein said functional globin is a
  that, in combination with “in vivo selection' mediated by                mutant globin.
  DHFR/TMTX, the recipients could be satisfactorily                          6. The cell of claim 1, wherein said functional globin is a
  engrafted without receiving a harsh pre-transplant treatment.            wild-type globin.
  This would be the way to go for treating subjects with severe              7. The cells of claim 1, wherein said functional globin is a
  hemoglobinopathies.                                                      B-globin.

                                         SEQUENCE LISTING


   <16O is NUMBER OF SEO ID NOS: 4
   <21Os SEQ ID NO 1
   <211 > LENGTH: 25
   <212> TYPE: DNA
   <213> ORGANISM: human

   <4 OOs, SEQUENCE: 1
  gtctaagtga tigacagcc.gt acctg                                                             25


          SEQ ID NO 2
          LENGTH: 27
          TYPE: DNA
          ORGANISM: human

   <4 OOs, SEQUENCE: 2
   t cagcc taga gtgatgactic citat citg                                                      27


          SEQ ID NO 3
          LENGTH: 22
          TYPE: DNA
          ORGANISM: human

   <4 OOs, SEQUENCE: 3
   cagtaacggc agacittct co to                                                               22


          SEQ ID NO 4
          LENGTH: 23
          TYPE: DNA
          ORGANISM: mouse

   <4 OOs, SEQUENCE: 4
   tgatgtgttgt ttctggggtt                                                                   23




     What is claimed is:                                        55 8. The cell of claim 7, wherein said B-globin is a human
     1. An isolated mammalian hematopoietic progenitor cellor      B-globin.
  an isolated mammalian stem cell comprising a recombinant           9. The cell of claim 1, wherein said functional globin is a
  lentiviral vector which comprises a nucleic acid encoding a y-globin.
  functional globin operably linked to a 3.2-kb nucleotide frag      10. The cell of claim 1, wherein said functional globin is an
  ment which consists essentially of three contiguous nucle 60 C-globin.
  otide fragments obtainable from a human B-globin locus con         11. A method for making a mammalian hematopoietic
  trol region (LCR), the three fragments being a BstXI and progenitor cell or a mammalian stem cell composition which
  SnaBI, HS2-spanning nucleotide fragment of said LCR, a comprises
  BamHI and HindIII, HS3-spanning nucleotide fragment of             (a) preparing a recombinant lentiviral vector comprising a
  said LCR, and a BamHI and BanII, HS4-spanning nucleotide 65           nucleic acid encoding a functional globin operably
  fragment of said LCR, said vector providing expression of the         linked to a 3.2-kb nucleotide fragment which consists
  globin in a mammal in vivo.                                           essentially of three contiguous nucleotide fragments
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 31 of 426 PageID #: 3004


                                                    US 8,058,061 B2
                              13                                                                   14
       obtainable from a human B-globin locus control region            13. The method of claim 12, wherein the selectable marker
       (LCR), the three fragments being a BstXI and SnaBI,            is a dihydrofolate reductase or a mutant dihydrofolate reduc
       HS2-spanning nucleotide fragment of said LCR, a                tase having increased resistance to antifolates as compared to
       BamHI and HindIII, HS3-spanning nucleotide fragment            a wild-type dihydrofolate reductase.
       of said LCR, and a BamHI and BanII, HS4-spanning                  14. The method of claim 13, which further comprises per
       nucleotide fragment of said LCR, said vector providing         forming selection using an antifolate on the transduced cell.
       expression of the globin in a mammal in vivo; and
    (b) obtaining hematopoietic progenitor cells or stem cells           15. The method of claim 11, wherein said functional globin
       from the mammalian individual, and transducing the             is a human B-globin.
      cells with the recombinant vector.                         10
    12. The method of claim 11, wherein said vector further
  comprises a nucleic acid encoding a selectable marker.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 32 of 426 PageID #: 3005




           EXHIBIT C
         Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 33 of 426 PageID #: 3006
                        https://www.nytimes.com/2017/11/27/health/gene-therapy-virus-shortage.html



Gene Therapy Hits a Peculiar Roadblock: A Virus Shortage

By Gina Kolata
Nov. 27, 2017


Eager to speed development of revolutionary treatments, the Food and Drug Administration recently announced that it would
expedite approval of experimental gene therapies. But the regulatory process may not be the biggest obstacle here.

Biotech companies have exciting plans to introduce treatments that may be transformative, sometimes curing genetic diseases with
a single treatment. And the firms are itching to test their products.

But they are struggling to obtain a critical component of the therapy: the disabled viruses used to slip good genes into cells that lack
them.

This delivery system lies at the heart of many forms of gene therapy; without the disabled viruses, there is no treatment. But
manufacturing them is costly and onerous.

The genes intended to fix a defect in the body are carried into each cell by a modified virus, usually a disabled version of an
adenovirus or a lentivirus. These viruses must be custom-made in specialized facilities for each treatment.

Few gene-therapy companies have the factories or expertise to make the viruses for use in clinical trials, where standards are
exacting and comprehensive. The firms that can do it are swamped with orders and requests.

The result is a logjam. Firms exploring new gene therapies may wait for years in line for bespoke viruses, said Dr. Jim Wilson,
director of the gene therapy program at the University of Pennsylvania’s Perelman School of Medicine.

“It’s a real issue,” said Udit Batra chief executive of MilliporeSigma, which makes viruses under contract for drug companies.

MilliporeSigma and other such manufacturers, he added, are “oversubscribed, although companies like ourselves have doubled
capacity to keep up with the demand.”

One of the few big companies producing a gene therapy, Novartis, recently got approval from the F.D.A. to market a treatment for a
rare blood cancer.

But to get the viruses it needed, Novartis signed up years in advance with Oxford BioMedica, agreeing to three contracts starting in
2013 that, with incentives, add up to as much as $195.2 million and that included a provision to pay Oxford a share of the royalties
when the drug was approved.

Only a few hundred patients a year might need Novartis’s treatment, and the company is charging $475,000 for the one-time
therapy.

Other gene therapy companies are not always able to afford the manufacturing costs or find a manufacturer. Some have taken to
buying slots in virus production queues years in advance — like buying a nonrefundable airline ticket long before your vacation and
hoping you can get away when the time comes.

Other firms are hedging their bets. Worried that production at one company will fail — as can happen with the finicky viruses —
they buy places in line at two contract companies.

Still other biotechs have simply been shut out, unable to get their viruses made.

Then there is BioMarin, one of the larger and more successful biotech companies, which decided to spend several hundred million
dollars to build its own virus-manufacturing plant. It does not plan to make viruses for anyone but itself.

“We don’t want to be in a queue, that’s for sure,” said Robert Baffi, head of technical operations at BioMarin. The new facility also
will give the company complete control over manufacturing, he added.

A Difficult Road
The process of developing a gene therapy usually starts with academic researchers who do the preliminary tests. For the viruses
they need, they often turn to a few academic medical centers with expertise in the requirements for early clinical research.
           Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 34 of 426 PageID #: 3007
But there, too, demand far exceeds capacity. At Indiana University, “we are backed up through 2018,” said Dr. Kenneth Cornetta, a
professor of molecular and medical genetics.

After a gene therapy gets through initial tests in an academic setting, researchers may license it to a biotech company or form their
own small company. Then they have to find a manufacturer who will make their viruses according to the exacting standards
required for treating patients.

Delays arise at every step. The contract virus-maker has to translate the small-scale production used for research purposes into a
recipe for commercial production, where standards are extensive and documentation exhaustive. And the maker has to negotiate a
contract to do all this.

Those two steps can easily take a year, said John Dawson, chief executive of Oxford BioMedica. When the contractor finally is ready
to start making the viruses, it can be six months to a year before they are ready — assuming there are no glitches along the way.

Manufacturing custom-made viruses can cost biotech firms a third or more of their development budget, even for diseases so rare
that they expect to treat only a dozen or so patients in their final study, Dr. Wilson said.

The gene therapy companies often have no drugs on the market and need money. But investors have become wary of companies
that do not have a ready source of viruses.

“You’ve got to believe that every time someone gives a pitch to an investor, the investor will say, ‘What are you doing about
manufacturing?’” Dr. Wilson said.

The whole development enterprise has become nerve-racking, researchers said. “You don’t know until the end that you have a
product that is good enough to be used in a treatment,” said Dr. David Williams of Harvard.

Or, as officials at Bluebird Bio can attest, whether you have any product at all.

The company was formed in 2010, hoping to show that gene therapy could work in adrenoleukodystrophy, a rare and fatal
neurodegenerative disease that strike boys. That was before the virus production logjam had begun, and all seemed well. Bluebird
gave a virus manufacturer its recipe for making needed viruses.

Then, said Nick Leschly, the company’s chief executive, he got bad news. Using Bluebird’s recipe, the manufacturing company said
it was going to cost Bluebird a million dollars to create enough viruses to treat one patient.

The company scurried to find ways to improve the efficiency of its recipe. Finally, they were ready to start anew. Manufacturing
began, but months later there was nothing to show for it.

“We got no virus,” Mr. Leschly said.

“It was an Apollo 13 moment,” he added. “We put everyone in a room and said, ‘We have to figure this out. Everything at the
company is now stopped. Nothing can be done without virus.’”

They finally found the source of the problem — the acidity of the solution used to grow the viruses was slightly off, killing them.

While the recipe for making viruses can affect prices, the cost of a new treatment also depends on how many patients will take the
drug and how many cells from each patient must be altered by a virus.

If a company wanted to deliver a gene therapy to the lung or liver, where the organ’s “surface area is huge,” the current price could
be as much as $3 million per patient — “commercially unviable,” said Mr. Dawson of Oxford BioMedica.

Oxford is improving its methods, he said, and should soon be able to cut that cost to approximately $300,000 per patient. Methods
are improving, Mr. Dawson said, and his expectation is that it might cost a mere $30,000 for the viruses in the future.

The costs of testing the drug and marketing it are, of course, out of his hands.
A version of this article appears in print on , Section D, Page 1 of the New York edition with the headline: Gene Therapy’s Strange Roadblock
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 35 of 426 PageID #: 3008




           EXHIBIT D
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 36 of 426 PageID #: 3009




 0ÿ189233ÿÿ192526392ÿ 9
                                                                                                                                             ÿ
         ÿ!ÿ "#$"ÿ%"  ÿ 9$9ÿÿ& 9!'9ÿÿ% ( ÿÿ 
                                      %" (9ÿ)*
 +,-./01234ÿ-677899:.;<0=3<<ÿ>0/3?99@AB8ÿC4ÿCDEF99ÿBGHABIJKÿBIL4ÿ0MN8ÿ:=67K6OP.Q;3?ÿ6ÿNGIMIN6G97R6SAÿNLTU6MVÿNLTTIRRAKÿRLÿKAWAGLUIMS
 ULRAMRI6GGVÿRJ6M7XLJT6RIWAÿSAMAÿRYAJ6UIA7ÿXLJÿ7AWAJAÿSAMARINÿ6MKÿJ6JAÿKI7A67A74ÿRLK6Vÿ6MMLHMNAKÿRY6RÿRYAÿ;8<8ÿ@LLKÿ6MKÿ1JHSÿ,KTIMI7RJ6RILM
 :@1,?ÿY67ÿSJ6MRAKÿ.JA6ZRYJLHSYÿ[YAJ6UVÿKA7ISM6RILMÿRLÿQAMRI2GLBIMÿ      ..\DFÿ1JHSÿ]JLKHNRÿXLJÿRYAÿRJA6RTAMRÿLXÿRJ6M7XH7ILM9KAUAMKAMR
 U6RIAMR7ÿ^IRYÿBAR69RY6G677ATI6ÿT6_LJ8
 QAMRI2GLBIMÿ..\DFÿ1JHSÿ]JLKHNRÿ6IT7ÿRLÿRJA6RÿBAR69RY6G677ATI6ÿT6_LJÿ6MKÿ7AWAJAÿ7INZGAÿNAGGÿKI7A67AÿBVÿIM7AJRIMSÿ6ÿXHMNRILM6GÿYHT6MÿBAR69
 SGLBIMÿSAMAÿIMRLÿRYAÿU6RIAMR7̀ÿL^MÿYAT6RLULIARINÿ7RATÿNAGG7ÿabÿdedfÿ6MKÿRYAMÿJARHJMIMSÿRYL7AÿTLKIgAKÿNAGG7ÿRLÿRYAÿU6RIAMRÿRYJLHSYÿ6M
 6HRLGLSLH7ÿ7RATÿNAGGÿRJ6M7UG6MR6RILM8
 h[YAÿ@1,7̀ÿ.JA6ZRYJLHSYÿKA7ISM6RILMÿLXÿQAMRI2GLBIMÿYISYGISYR7ÿRY6RÿMA^ÿRYAJ6UIA7ÿ6JAÿMAAKAKÿXLJÿRYAÿRJA6RTAMRÿLXÿU6RIAMR7ÿ^IRYÿBAR69
 RY6G677ATI6ÿT6_LJ4ÿA7UANI6GGVÿRJA6RTAMR7ÿ^IRYÿRYAÿULRAMRI6GÿRLÿTA6MIMSXHGGVÿJAKHNAÿLJÿGIBAJ6RAÿU6RIAMR7ÿXJLTÿRJ6M7XH7ILMÿKAUAMKAMNA4hÿ76IK
 16WIKÿ16WIK7LM4ÿ-8184ÿNYIAXÿTAKIN6GÿLiNAJÿLXÿBGHABIJKÿBIL8ÿhjHJÿA6JGVÿNGIMIN6GÿK6R6ÿIMWA7RIS6RIMSÿRYAÿH7AÿLXÿQAMRI2GLBIMÿIMÿU6RIAMR7ÿ^IRY
 THGRIUGAÿSAMLRVUA7ÿLXÿBAR69RY6G677ATI6ÿT6_LJ4ÿIMNGHKIMSÿBAR69DkBAR69D4ÿRYAÿTL7Rÿ7AWAJAÿSAMLRVUA4ÿ6JAÿWAJVÿAMNLHJ6SIMS4ÿ6MKÿ^AÿJAT6IMÿLM
 RJ6NZÿRLÿNLTUGARAÿAMJLGGTAMRÿIMÿRYAÿ=LJRY7R6Jÿ6MKÿl2.9CDFÿ7RHKIA7ÿIMÿCDEF8ÿ0MÿGISYRÿLXÿRYAÿ.JA6ZRYJLHSYÿKA7ISM6RILM4ÿ^AÿGLLZÿXLJ^6JKÿRL
 ^LJZIMSÿAWAMÿTLJAÿNGL7AGVÿ^IRYÿRYAÿ@1,ÿRLÿAmUAKIRAÿRYAÿKAWAGLUTAMRÿLXÿQAMRI2GLBIMÿXLJÿRYAÿRJA6RTAMRÿLXÿBAR69RY6G677ATI6ÿT6_LJ8h
 [YAÿ@1,7̀ÿ.JA6ZRYJLHSYÿ[YAJ6UVÿKA7ISM6RILMÿI7ÿIMRAMKAKÿRLÿAmUAKIRAÿRYAÿKAWAGLUTAMRÿ6MKÿJAWIA^ÿLXÿ6ÿKJHSÿN6MKIK6RAÿRY6RÿI7ÿUG6MMAKÿXLJÿH7A
 RLÿRJA6Rÿ6ÿ7AJILH7ÿLJÿGIXA9RYJA6RAMIMSÿKI7A67AÿLJÿNLMKIRILMÿ^YAMÿUJAGITIM6JVÿNGIMIN6GÿAWIKAMNAÿIMKIN6RA7ÿRY6RÿRYAÿKJHSÿT6VÿKATLM7RJ6RA
 7HB7R6MRI6GÿITUJLWATAMRÿLWAJÿAmI7RIMSÿRYAJ6UIA7ÿLMÿLMAÿLJÿTLJAÿNGIMIN6GGVÿ7ISMIgN6MRÿAMKULIMR78ÿ[YAÿBAMAgR7ÿLXÿ.JA6ZRYJLHSYÿ[YAJ6UV
 KA7ISM6RILMÿIMNGHKAÿRYAÿ76TAÿBAMAgR7ÿ67ÿ@67Rÿ[J6NZÿKA7ISM6RILM4ÿUGH7ÿ6MÿLJS6MIn6RILM6GÿNLTTIRTAMRÿIMWLGWIMSÿ@1,o7ÿ7AMILJÿT6M6SAJ7ÿ^IRY
 TLJAÿIMRAM7IWAÿSHIK6MNAÿXJLTÿRYAÿ@1,8ÿ.JA6ZRYJLHSYÿ[YAJ6UVÿKA7ISM6RILMÿKLA7ÿMLRÿYL^AWAJÿNY6MSAÿRYAÿ7R6MK6JK7ÿXLJÿ6UUJLW6G8
 [YAÿ.JA6ZRYJLHSYÿ[YAJ6UVÿKA7ISM6RILMÿI7ÿ7HUULJRAKÿBVÿK6R6ÿXJLTÿRYAÿLMSLIMSÿ]Y67AÿEkCÿ=LJRY7R6Jÿ:l2.9CDp?ÿ6MKÿl2.9CDFÿ7RHKIA7ÿLX
 QAMRI2GLBIM8ÿ@IMKIMS7ÿIMÿAISYRÿ7HB_ANR7ÿ^IRYÿBAR69RY6G677ATI6ÿT6_LJÿ^AJAÿUJA7AMRAKÿ6RÿRYAÿFqRYÿ,MMH6Gÿ-AARIMSÿLXÿRYAÿ,TAJIN6Mÿ<LNIARVÿLX
 lAT6RLGLSVÿ:,<l?ÿIMÿ1ANATBAJÿCDEp8ÿ0MÿRYAÿgJ7RÿXLHJÿ7HB_ANR74ÿA6NYÿLXÿ^YLTÿY6Kÿ6RÿGA67RÿRYJAAÿTLMRY7ÿLXÿXLGGL^ÿHU4ÿRJA6RTAMRÿJA7HGRAKÿIM
 7HiNIAMRÿYATLSGLBIMÿUJLKHNRILMÿRLÿJAKHNAÿLJÿAGITIM6RAÿRYAÿMAAKÿXLJÿRJ6M7XH7ILMÿ7HUULJRÿ6TLMSÿU6RIAMR7ÿ^IRYÿBAR69RY6G677ATI6ÿT6_LJÿ^YL
 ^LHGKÿLRYAJ^I7AÿJAOHIJAÿNYJLMINÿBGLLKÿRJ6M7XH7ILM78ÿ[YA7AÿK6R6ÿNLM7I7RAKÿLXÿRYAÿgJ7RÿgWAÿ7HB_ANR7ÿRJA6RAKÿIMÿBGHABIJKÿBIL7̀ÿLMSLIMSÿ=LJRY7R6J
 <RHKVÿ6MKÿRYAÿgJ7RÿRYJAAÿ7HB_ANR7ÿXJLTÿIR7ÿl2.9CDFÿ7RHKV8ÿ[YA7AÿIMNGHKAKÿRYAÿgJ7RÿBAR69RY6G677ATI6ÿ7HB_ANR7ÿ^IRYÿRYAÿBAR69DkBAR69D
 SAMLRVUAÿRLÿBAÿRJA6RAKÿ^IRYÿQAMRI2GLBIMÿ..\DFÿKJHSÿUJLKHNR8ÿ[YAÿl2.9CDFÿ7RHKVÿ6G7LÿIMNGHKAKÿRYAÿgJ7Rÿ7HB_ANRÿ^IRYÿ7INZGAÿNAGGÿKI7A67AÿRL
 BAÿRJA6RAKÿ^IRYÿSAMAÿRYAJ6UV8
 rstuvÿsxuysz{|ÿszt}ÿ~
 >IRYÿIR7ÿGAMRIWIJ6G9B67AKÿSAMAÿRYAJ6UVÿ6MKÿSAMAÿAKIRIMSÿN6U6BIGIRIA74ÿBGHABIJKÿBILÿY67ÿBHIGRÿ6MÿIMRASJ6RAKÿUJLKHNRÿUG6RXLJTÿ^IRYÿBJL6K
 ULRAMRI6Gÿ6UUGIN6RILMÿRLÿ7AWAJAÿSAMARINÿKI7A67A7ÿ6MKÿ[ÿNAGG9B67AKÿITTHMLRYAJ6UV8ÿBGHABIJKÿBILo7ÿNGIMIN6GÿUJLSJ6T7ÿIMNGHKAÿQAMRI914ÿNHJJAMRGV
 IMÿ6ÿ]Y67AÿCk\ÿ7RHKV4ÿN6GGAKÿRYAÿ<R6JBA6Tÿ<RHKV4ÿXLJÿRYAÿRJA6RTAMRÿLXÿNYIGKYLLKÿNAJABJ6Gÿ6KJAMLGAHZLKV7RJLUYV4ÿ6MKÿQAMRI2GLBIM4     ÿNHJJAMRGVÿIM
 RYJAAÿNGIMIN6Gÿ7RHKIA7Pÿ6ÿSGLB6Gÿ]Y67AÿEkCÿ7RHKV4ÿN6GGAKÿRYAÿ=LJRY7R6Jÿ<RHKV4ÿXLJÿRYAÿRJA6RTAMRÿLXÿBAR69RY6G677ATI6ÿT6_LJÿ6ÿ7IMSGA9NAMRAJÿ]Y67A
 EkCÿ7RHKVÿIMÿ@J6MNAÿ:l2.9CDF?ÿXLJÿRYAÿRJA6RTAMRÿLXÿBAR69RY6G677ATI6ÿT6_LJÿLJÿ7AWAJAÿ7INZGAÿNAGGÿKI7A67Aÿ6MKÿ6ÿ7AU6J6RAÿ;8<8ÿ]Y67AÿEÿ7RHKVÿXLJ
 RYAÿRJA6RTAMRÿLXÿ7INZGAÿNAGGÿKI7A67Aÿ:l2.9CDq?8ÿBGHABIJKÿBILÿ6G7LÿY67ÿ6ÿUJANGIMIN6Gÿ+,/ÿ[ÿN6MNAJÿITTHMLRYAJ6UVÿUJLSJ6TÿIMÿNLGG6BLJ6RILM
 ^IRYÿ+AGSAMAÿ+LJULJ6RILM4ÿ67ÿ^AGGÿ67ÿKI7NLWAJVÿJA7A6JNYÿUJLSJ6T7ÿHRIGInIMSÿTAS6[,Q7kYLTIMSÿAMKLMHNGA67AÿSAMAÿAKIRIMSÿRANYMLGLSIA78
 BGHABIJKÿBILÿY67ÿLUAJ6RILM7ÿIMÿ+6TBJIKSA4ÿ-6776NYH7ARR74ÿ<A6RRGA4ÿ>67YIMSRLM4ÿ6MKÿ]6JI74ÿ@J6MNA8ÿ@LJÿTLJAÿIMXLJT6RILM4ÿUGA67AÿWI7IR
       '# '9'9(8
 t{ {|ttzÿvvyyv
 [YI7ÿJAGA67AÿNLMR6IM7ÿXLJ^6JK9GLLZIMSÿ7R6RATAMR7ÿ^IRYIMÿRYAÿTA6MIMSÿLXÿRYAÿ]JIW6RAÿ<ANHJIRIA7ÿQIRIS6RILMÿ/AXLJTÿ,NRÿLXÿEF4ÿIMNGHKIMS
 7R6RATAMR7ÿJAS6JKIMSÿRYAÿULRAMRI6GÿAiN6NVÿ6MKÿ76XARVÿLXÿRYAÿ+LTU6MVo7ÿQAMRI2GLBIMÿUJLKHNRÿN6MKIK6RAÿ6MKÿRYAÿJASHG6RLJVÿU6RY^6Vÿ6LJKAK
 BVÿ.JA6ZRYJLHSYÿ1A7ISM6RILMÿBVÿRYAÿ@1,4ÿIMÿU6JRINHG6Jÿ7R6RATAMR7ÿNLMNAJMIMSÿRYAÿJAKHNAKÿLJÿAGITIM6RAKÿMAAKÿXLJÿRJ6M7XH7ILMÿ7HUULJRÿIMÿRYA
 XLHJÿIMIRI6Gÿ7HB_ANR7ÿRJA6RAKÿ^IRYÿQAMRI2GLBIMÿKJHSÿUJLKHNR4ÿ7R6RATAMR7ÿNLMNAJMIMSÿRYAÿ+LTU6MVo7ÿXHRHJAÿUG6M7ÿ^IRYÿJA7UANRÿRLÿQAMRI2GLBIM
 6MKÿIR7ÿLRYAJÿUJLKHNRÿN6MKIK6RA7ÿ6MKÿ7R6RATAMR7ÿNLMNAJMIMSÿ6MRINIU6RAKÿAMJLGGTAMRÿJ6RA7ÿ6MKÿNGIMIN6GÿTIGA7RLMA7ÿIMÿCDEF8ÿ0Rÿ7YLHGKÿBAÿMLRAK
 RY6RÿRYAÿK6R6ÿXLJÿQAMRI2GLBIMÿ6MMLHMNAKÿXJLTÿRYAÿ=LJRY7R6Jÿ6MKÿl2.9CDFÿ7RHKIA7ÿ6RÿRYAÿ,<lÿ,MMH6Gÿ-AARIMSÿ6JAÿUJAGITIM6JVÿIMÿM6RHJAÿ6MK
 RYAÿ=LJRY7R6Jÿ6MKÿl2.9CDFÿ7RHKIA7ÿ6JAÿMLRÿNLTUGARAK8ÿ[YAJAÿI7ÿGITIRAKÿK6R6ÿNLMNAJMIMSÿGLMS9RAJTÿ76XARVÿ6MKÿAiN6NVÿXLGGL^IMSÿRJA6RTAMR
 ^IRYÿQAMRI2GLBIMÿKJHSÿUJLKHNR8ÿ[YA7AÿK6R6ÿT6VÿMLRÿNLMRIMHAÿXLJÿRYA7Aÿ7HB_ANR7ÿLJÿBAÿJAUA6RAKÿLJÿLB7AJWAKÿIMÿLMSLIMSÿLJÿXHRHJAÿ7RHKIA7
 IMWLGWIMSÿLHJÿQAMRI2GLBIMÿUJLKHNRÿN6MKIK6RA4ÿIMNGHKIMSÿRYAÿl2.9CDFÿ<RHKV4ÿRYAÿ=LJRY7R6Jÿ<RHKVÿLJÿRYAÿl2.9CDqÿ7RHKVÿIMÿ7INZGAÿNAGGÿKI7A67A8ÿ0R
 I7ÿUL77IBGAÿRY6Rÿ7HB_ANR7ÿXLJÿ^YLTÿUAJILKINÿRJ6M7XH7ILMÿ7HUULJRÿY67ÿBAAMÿJAKHNAKÿLJÿRATULJ6JIGVÿAGITIM6RAKÿT6VÿJANAIWAÿRJ6M7XH7ILMÿ7HUULJR
 IMÿRYAÿXHRHJA8ÿ0Rÿ7YLHGKÿ6G7LÿBAÿMLRAKÿRY6Rÿ.JA6ZRYJLHSYÿKA7ISM6RILMÿKLA7ÿMLRÿNY6MSAÿRYAÿ7R6MK6JK7ÿXLJÿ6UUJLW6Gÿ6MKÿI7ÿMLRÿ6ÿSH6J6MRAAÿLX
 7HNNA778ÿ,MVÿXLJ^6JK9GLLZIMSÿ7R6RATAMR7ÿ6JAÿB67AKÿLMÿT6M6SATAMRo7ÿNHJJAMRÿAmUANR6RILM7ÿLXÿXHRHJAÿAWAMR7ÿ6MKÿ6JAÿ7HB_ANRÿRLÿ6ÿMHTBAJÿLX
 JI7Z7ÿ6MKÿHMNAJR6IMRIA7ÿRY6RÿNLHGKÿN6H7Aÿ6NRH6GÿJA7HGR7ÿRLÿKIAJÿT6RAJI6GGVÿ6MKÿ6KWAJ7AGVÿXJLTÿRYL7Aÿ7ARÿXLJRYÿIMÿLJÿITUGIAKÿBVÿ7HNYÿXLJ^6JK9
 GLLZIMSÿ7R6RATAMR78ÿ[YA7AÿJI7Z7ÿ6MKÿHMNAJR6IMRIA7ÿIMNGHKA4ÿBHRÿ6JAÿMLRÿGITIRAKÿRL4ÿRYAÿJI7ZÿRY6RÿRYAÿUJAGITIM6JVÿJA7HGR7ÿXJLTÿLHJÿNGIMIN6GÿRJI6G7ÿ^IGG
 MLRÿNLMRIMHAÿLJÿBAÿJAUA6RAKÿIMÿLHJÿLMSLIMSÿNGIMIN6GÿRJI6G74ÿRYAÿJI7ZÿRY6RÿUJAWILH7GVÿNLMKHNRAKÿ7RHKIA7ÿIMWLGWIMSÿ7ITIG6JÿUJLKHNRÿN6MKIK6RA7ÿ^IGG
 MLRÿBAÿJAUA6RAKÿLJÿLB7AJWAKÿIMÿLMSLIMSÿLJÿXHRHJAÿ7RHKIA7ÿIMWLGWIMSÿNHJJAMRÿUJLKHNRÿN6MKIK6RA74ÿRYAÿJI7ZÿLXÿNA776RILMÿLJÿKAG6VÿLXÿ6MVÿLXÿRYA
 LMSLIMSÿLJÿUG6MMAKÿNGIMIN6Gÿ7RHKIA7ÿ6MKkLJÿLHJÿKAWAGLUTAMRÿLXÿLHJÿUJLKHNRÿN6MKIK6RA74ÿRYAÿJI7ZÿLXÿ6ÿKAG6VÿIMÿRYAÿAMJLGGTAMRÿLXÿU6RIAMR7ÿIMÿRYA
 +LTU6MVo7ÿNGIMIN6Gÿ7RHKIA74ÿRYAÿJI7ZÿRY6RÿLHJÿNLGG6BLJ6RILMÿ^IRYÿ+AGSAMAÿ^IGGÿMLRÿNLMRIMHAÿLJÿ^IGGÿMLRÿBAÿ7HNNA77XHG4ÿ6MKÿRYAÿJI7ZÿRY6Rÿ6MVÿLMAÿLJ
 TLJALXLHJUJLKHNRN6MKIK6RA7^IGGMLRBA7HNNA77XHGGVKAWAGLUAK6MKNLTTAJNI6GInAK @LJ6KI7NH77ILMLXLRYAJJI7Z76MKHMNAJR6IMRIA76MK
 0123ÿ151:21-cv-01478-RGA
Case    ÿ162ÿ721869ÿ9 88 3ÿ ÿ1 ÿ3ÿ
                                      699356ÿ8342-1
                                     Document          31738ÿ Filed
                                                               8ÿ910032
                                                                      9 38ÿ12ÿÿPage
                                                                     03/11/22      896137
                                                                                           ÿ15ÿ1of32ÿ2ÿPageID
                                                                                                    426     8ÿ6 932 #:33010
                                                                                                                        ÿ 8
 1 32ÿ0712 ÿ5912ÿ ÿ15ÿ9ÿ9168ÿ9 63ÿ162ÿ96 ÿ236ÿ1ÿ832ÿ5210ÿ13ÿ91 38ÿ ÿ3ÿ512 2811 ÿ 303 ÿ33ÿ3
 39 1 ÿ3 38ÿÿ 912ÿ ÿ162ÿ01ÿ2393 ÿ6 232ÿ23712ÿ1 ÿ120ÿ!"#ÿÿ3ÿÿ8961 ÿ15ÿ71 3 ÿ2ÿ6 932 3ÿ 8
 1 32ÿ0712 ÿ5912ÿ ÿ162ÿ63 63 ÿ$ ÿ ÿ3ÿ%3962 3ÿ 8ÿ&'9 3ÿ(100 1 ÿ)ÿ 5120 1 ÿ ÿÿ723ÿ233 3ÿÿÿ15
  3ÿ8 3ÿ15ÿ3ÿ233 3ÿ 8ÿ6328ÿ1ÿ6 832 3ÿ1ÿ86 ÿ1ÿ678 3ÿÿ 5120 1 ÿ6 3ÿ23 6238ÿÿ
 *+,-.,/-.-01ÿ34ÿ30567ÿ-84379,0-38ÿ,/3:0ÿ/.:6/-7;ÿ/-3
 <=>?@ABC@ÿE=FÿBAG?C@ÿ@GBHIFÿ=BA?ÿAGEAÿJ?ÿKBLLH=MKEA?ÿJMAGÿBHCÿM=>?@ABC@ÿE=FÿAG?ÿNHOIMKÿH@M=PÿBHCÿKBLNE=QÿJ?O@MA?ÿR                        STÿBHC
 M=>?@ABCÿC?IEAMB=@ÿJ?O@MA?ÿR                                                 STÿM=KIHFM=PÿOHAÿ=BAÿIMLMA?FÿABÿM=>?@ABCÿNC?@?=AEAMB=@ÿE=FÿUVW@T
 X?KHCMAM?@ÿE=FÿYZKGE=P?ÿ[BLLM@@MB=ÿ\MIM=P@TÿNC?@@ÿC?I?E@?@TÿNHOIMKÿKB=\?C?=K?ÿKEII@ÿE=FÿJ?OKE@A@]ÿ^BHÿKE=ÿEI@BÿKB==?KAÿJMAGÿH@ÿB=ÿ_JMAA?C
 `OIH?OMCFOMBTÿ         ÿ12ÿ162ÿ        ÿ9 3]ÿ_G?ÿM=\BCLEAMB=ÿAGEAÿJ?ÿNB@AÿB=ÿAG?@?ÿKGE==?I@ÿE=FÿJ?O@MA?@ÿKBHIFÿO?ÿF??L?FÿABÿO?ÿLEA?CMEI
 M=\BCLEAMB=]ÿV@ÿEÿC?@HIATÿJ?ÿ?=KBHCEP?ÿM=>?@ABC@TÿAG?ÿL?FMETÿE=FÿBAG?C@ÿM=A?C?@A?FÿM=ÿOIH?OMCFÿOMBÿABÿC?>M?JÿAG?ÿM=\BCLEAMB=ÿAGEAÿJ?ÿNB@AÿB=
 AG?@?ÿKGE==?I@TÿM=KIHFM=PÿBHCÿM=>?@ABCÿC?IEAMB=@ÿJ?O@MA?TÿB=ÿEÿC?PHIECÿOE@M@]ÿ_GM@ÿIM@AÿB\ÿKGE==?I@ÿLEQÿO?ÿHNFEA?Fÿ\CBLÿAML?ÿABÿAML?ÿB=ÿBHC
 M=>?@ABCÿC?IEAMB=@ÿJ?O@MA?ÿE=FÿLEQÿM=KIHF?ÿBAG?Cÿ@BKMEIÿL?FMEÿKGE==?I@ÿAGE=ÿAG?ÿB=?@ÿF?@KCMO?FÿEOB>?]ÿ_G?ÿKB=A?=A@ÿB\ÿBHCÿJ?O@MA?ÿBCÿAG?@?
 KGE==?I@TÿBCÿE=QÿBAG?CÿJ?O@MA?ÿAGEAÿLEQÿO?ÿEKK?@@?Fÿ\CBLÿBHCÿJ?O@MA?ÿBCÿAG?@?ÿKGE==?I@Tÿ@GEIIÿ=BAÿO?ÿF??L?FÿM=KBCNBCEA?FÿOQÿC?\?C?=K?ÿM=ÿE=Q
 \MIM=PÿH=F?CÿAG?ÿX?KHCMAM?@ÿVKAÿB\ÿabcc]


 %16293dÿ6328ÿ1ÿe9
 f8+6g037ÿh6.,0-38giÿ
 6328ÿ1ÿe9ÿ
 j0ÿk3l123ÿmmnonnnmppÿ
 (35ÿ 9 ÿqr932ÿ
 12ÿ
 s6;-,iÿ
 t623ÿ(1006 9 1 ÿe9ÿ
 k ÿu68 9ÿnvmwv!x"yp
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 38 of 426 PageID #: 3011




          EXHIBIT E
                       Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 39 of 426 PageID #: 3012




press release
   View printer-friendly version

                                                                                                                                         << Back


    bluebird bio Announces FDA Priority Review of Biologics License Application for beti-cel
          Gene Therapy for Patients with β-thalassemia Who Require Regular Red Blood Cell
                                                                  Transfusions

                  If approved, beti-cel will be the first one-time treatment option to address the underlying genetic cause of disease


    Current standard of care relies on regular red blood cell transfusions and iron management that carry the risk of progressive multi-organ
                                                 damage and increased risk of morbidity and mortality


                                                         FDA set PDUFA date of May 20, 2022


CAMBRIDGE, Mass.--(BUSINESS WIRE)--Nov. 22, 2021-- bluebird bio, Inc. (Nasdaq: BLUE) today announced that the U.S. Food and Drug
Administration (FDA) has accepted the Biologics License Application (BLA) for betibeglogene autotemcel (beti-cel) for priority review. Beti-
cel is a potentially transformative gene therapy for adult, adolescent and pediatric patients with β-thalassemia across all genotypes who
require regular red blood cell (RBC) transfusions. If approved, beti-cel will be the first one-time treatment that addresses the underlying
genetic cause of disease for patients living with β-thalassemia in the U.S.—offering an alternative to regular RBC transfusions and iron
chelation therapy. The agency has set a Prescription Drug User Fee Act (PDUFA) goal date of May 20, 2022.

“The FDA’s acceptance of our BLA for beti-cel brings us one step closer to potentially providing a one-time treatment that can address the
underlying cause of β-thalassemia and offer patients freedom from regular transfusions,” said Andrew Obenshain, chief executive officer,
bluebird bio. “It’s also a critical milestone for bluebird bio as an independent severe genetic disease company. We are moving forward with
great discipline and exceptional care to deliver on our commitments to patients and achieve our near-term goal of launching three first-in-
class gene therapies in the U.S.”

The BLA for beti-cel is based on data from bluebird bio’s Phase 3 studies HGB-207 (Northstar-2) and HGB-212 (Northstar-3), the Phase 1/2
HGB-204 (Northstar) and HGB-205 studies, and the long-term follow-up study LTF-303. Together, these studies represent more than 220
patient-years of experience with beti-cel. As of March 9, 2021, the results include a total of 63 pediatric, adolescent and adult patients,
including long-term efficacy and safety results in two patients with more than seven years follow-up. Additional data through August 2021
will be presented at the 63rd American Society of Hematology (ASH) Annual Meeting and Exposition, taking place December 11-14, 2021.

“For too long, people with β-thalassemia who rely on regular transfusions have had to live with extraordinary burdens associated with their
disease. beti-cel works uniquely to help patients produce adult hemoglobin at normal or near-normal levels, which can eliminate their need
for chronic transfusions and chelation that only temporarily relieve the symptoms of anemia and are associated with serious health risks and
reduced quality of life,” said Anne-Virginie Eggimann, chief regulatory officer, bluebird bio. “This BLA acceptance represents the culmination
of contributions from many, including the patients involved in the clinical program, their caregivers, and the study investigators. We look
forward to working closely with the FDA to bring this treatment to patients in need.”

The FDA previously granted beti-cel Orphan Drug status and Breakthrough Therapy designation.

About β-thalassemia

β-thalassemia is a severe genetic disease for those requiring regular red blood cell (RBC) transfusions, caused by mutations in the β-globin
gene, which may cause significantly reduced adult hemoglobin (Hb). This can result in severe anemia and lifelong dependence on RBC
transfusions. Patients who require regular RBC transfusions to maintain adequate Hb levels typically undergo the 4-7-hour process every 3-4
weeks. While transfusions temporarily relieve symptoms associated with severe anemia, including fatigue, weakness, and shortness of breath,
they do not address the underlying genetic cause of β-thalassemia and can lead to unavoidable iron overload and serious complications,
including progressive multi-organ damage and organ failure. Iron overload resulting from β-thalassemia or ongoing RBC transfusions requires
chronic treatment with chelation therapy; even with chelation therapy, some patients remain significantly iron overloaded, and only 63% of
patients are adherent, due in part to tolerability issues. Despite advances in treatment and improved transfusion techniques, people with β-
thalassemia who require regular transfusions have an increased risk for morbidity and mortality.

About betibeglogene autotemcel (beti-cel)

betibeglogene autotemcel (beti-cel) (pronounced BEH tee cell) is a one-time gene therapy custom-designed to treat the underlying cause of
β-thalassemia in patients who require regular red blood cell (RBC) transfusions. Beti-cel adds functional copies of a modified form of the β-
globin gene (βA-T87Q- globin gene) into a patient’s own hematopoietic (blood) stem cells (HSCs) in order to correct the deficiency of adult
hemoglobin that is the hallmark of β-thalassemia. Once a patient has the βA-T87Q- globin gene, they have the potential to produce beti-cel-
derived adult hemoglobin (HbAT87Q) at levels that may eliminate the need for transfusions. In Phase 3 beti-cel studies, 89% (32/36) of
evaluable patients across all ages and genotypes, including pediatric patients as young as four years of age and those with the most severe
(β0/β0) genotypes, achieved transfusion independence, which is defined as no longer needing RBC transfusions for at least 12 months while
maintaining a weighted average Hb of at least 9 g/dL.

beti-cel is manufactured using the BB305 lentiviral vector (LVV), a third-generation, self-inactivating LVV that has been studied for more
than a decade across multiple therapeutic areas.
                           Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 40 of 426 PageID #: 3013




Adverse reactions considered related to beti-cel were uncommon and consisted primarily of non-serious infusion-related reactions that
occurred on the day of infusion (e.g. abdominal pain, hot flush, dyspnea, tachycardia and non-cardiac chest pain) and cytopenias (e.g.
thrombocytopenia, leukopenia and neutropenia). Pain in extremity shortly after treatment was also documented. One of these adverse
events (AE) was a serious adverse event (SAE) of thrombocytopenia considered possibly related to beti-cel and has resolved.

The majority of AEs and SAEs in the beti-cel clinical development program were unrelated to beti-cel and consistent with the known side
effects of HSC collection and busulfan conditioning regimen (including several SAEs of veno-occlusive disease that resolved with treatment).

The Phase 3 Northstar-2 (HGB-207) and Northstar-3 (HGB-212) studies evaluating beti-cel are ongoing; enrollment is complete, and all
patients have been treated. bluebird bio is also conducting a long-term follow-up study, LTF-303, to monitor safety and efficacy for people
who have participated in bluebird bio-sponsored beti-cel clinical studies through 15 years post-treatment.

About bluebird bio, Inc.

bluebird bio is pursuing curative gene therapies to give patients and their families more bluebird days.

With a dedicated focus on severe genetic diseases, bluebird has industry-leading clinical and research programs for sickle cell disease, β-
thalassemia and cerebral adrenoleukodystrophy and is advancing research to apply new technologies to these and other diseases. We
custom design each of our therapies to address the underlying cause of disease and have developed in-depth and effective analytical
methods to understand the safety of our lentiviral vector technologies and drive the field of gene therapy forward.

Founded in 2010, bluebird has the largest and deepest ex-vivo gene therapy data set in the world—setting the standard for industry. Today,
bluebird continues to forge new paths, combining our real-world experience with a deep commitment to patient communities and a people-
centric culture that attracts and grows a diverse flock of dedicated birds. ​

For more information, visit bluebirdbio.com or follow us on social media at @bluebirdbio, LinkedIn, Instagram and YouTube.

bluebird bio is a trademark of bluebird bio, Inc.

bluebird bio Cautionary Statement Regarding Forward-Looking Statements

This press release contains “forward-looking statements” within the meaning of the Private Securities Litigation Reform Act of 1995. All
statements that are not statements of historical facts are, or may be deemed to be, forward-looking statements. Such forward-looking
statements are based on historical performance and current expectations and projections about our future goals, plans and objectives and
involve inherent risks, assumptions and uncertainties, including internal or external factors that could delay, divert or change any of them in
the next several years, that are difficult to predict, may be beyond our control and could cause our future goals, plans and objectives to differ
materially from those expressed in, or implied by, the statements. No forward-looking statement can be guaranteed. Forward-looking
statements in this press release should be evaluated together with the many risks and uncertainties that affect bluebird bio’s business,
particularly those identified in the risk factors discussion in bluebird bio’s Annual Report on Form 10-K, as updated by our subsequent
Quarterly Reports on Form 10-Q, Current Reports on Form 8-K and other filings with the Securities and Exchange Commission. These risks and
uncertainties include, but are not limited to: the risk that the efficacy and safety results from our prior and ongoing clinical trials will not
continue or be repeated in our ongoing or planned clinical trials; the risk that additional insertional oncogenic or other safety events
associated with lentiviral vector, drug product, or myeloablation will be discovered or reported over time; and the risk that any one or more of
our product candidates, will not be successfully developed, approved or commercialized. The forward-looking statements included in this
document are made only as of the date of this document and except as otherwise required by applicable law, bluebird bio undertakes no
obligation to publicly update or revise any forward-looking statement, whether as a result of new information, future events, changed
circumstances or otherwise.




View source version on businesswire.com: https://www.businesswire.com/news/home/20211122005845/en/

Investors:
Courtney O’Leary, 978-621-7347
coleary@bluebirdbio.com

or

Media:
Jess Rowlands, 857-299-6103
jess.rowlands@bluebirdbio.com

Source: bluebird bio, Inc.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 41 of 426 PageID #: 3014




            EXHIBIT F
                        Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 42 of 426 PageID #: 3015




press release
   View printer-friendly version

                                                                                                                                       << Back


 bluebird Provides Update on FDA Review Timelines for Betibeglogene Autotemcel (beti-cel)
                    for Beta-Thalassemia and Elivaldogene Autotemcel (eli-cel) for Cerebral
                                                            Adrenoleukodystrophy (CALD)

                                               FDA PDUFA goal dates for both therapies extended by three months


CAMBRIDGE, Mass.--(BUSINESS WIRE)--Jan. 18, 2022-- bluebird bio, Inc. (NASDAQ: BLUE) today announced that the US Food and Drug
Administration (FDA) has extended the review period for the biologics licensing applications (BLA) for its lentiviral vector gene therapies –
betibeglogene autotemcel (beti-cel) for β-thalassemia and elivaldogene autotemcel (eli-cel) for cerebral adrenoleukodystrophy (CALD). The
revised PDUFA goal dates for beti-cel and eli-cel are August 19, 2022 and September 16, 2022, respectively.

The FDA extended the PDUFA goal dates for beti-cel and eli-cel to allow time to review additional clinical information previously submitted
by the company in response to FDA information requests as part of its ongoing reviews. The information was deemed a major amendment.
The extension of the FDA review timeline does not relate to new safety events for either beti-cel or eli-cel.

bluebird’s BLA submission for beti-cel for adult, adolescent and pediatric patients with β-thalassemia across all genotypes who require
regular red blood cell (RBC) transfusions was accepted by the FDA for priority review in November 2021. The FDA accepted the BLA for eli-
cel for patients with cerebral adrenoleukodystrophy (CALD) under the age of 18 for priority review in December 2021. If approved, beti-cel
and eli-cel would be the first lentiviral vector gene therapies for patients with severe genetic diseases in the United States.

“Gene therapies are complex, potentially transformative treatment options for those living with severe genetic diseases, and we all share a
responsibility to be diligent for patients as we progress this novel field,” said Andrew Obenshain, CEO, bluebird bio. “We look forward to
continuing to work with the FDA on its ongoing reviews of beti-cel and eli-cel, and to bringing these therapies to patients with beta-
thalassemia and cerebral adrenoleukodystrophy in the US later this year.”

The extended PDUFA goal dates are not expected to impact the priority review status of either BLA or the potential for bluebird bio to be
granted priority review vouchers upon approval of beti-cel and eli-cel in 2022. The FDA previously granted both beti-cel and eli-cel Orphan
Drug status, Breakthrough Therapy designation and Rare Pediatric Disease designation.

bluebird also provided an update on the FDA’s partial clinical hold for the lovotibeglogene autotemcel (lovo-cel) gene therapy clinical
program for patients under the age of 18 with sickle cell disease. Consistent with the FDA’s clinical hold process, the company has received
written questions from the FDA and is continuing to evaluate what impact, if any, the partial clinical hold may have on its projected Q1 2023
timing for submitting the BLA. bluebird plans to provide an update with its annual results in February.

About betibeglogene autotemcel (beti-cel)

betibeglogene autotemcel (beti-cel) (pronounced BEH tee cell) is a one-time gene therapy custom-designed to treat the underlying cause of
β-thalassemia in patients who require regular red blood cell (RBC) transfusions. Beti-cel adds functional copies of a modified form of the β-
globin gene (βA-T87Q -globin gene) into a patient’s own hematopoietic (blood) stem cells (HSCs) in order to correct the deficiency of adult
hemoglobin that is the hallmark of β-thalassemia. Once a patient has the modified β-globin gene, they have the potential to produce beti-cel-
derived adult hemoglobin (HbAT87Q) at levels that may eliminate the need for transfusions. In Phase 3 beti-cel studies 89% (31/35) of
evaluable patients across ages and genotypes, including pediatric patients as young as four years of age and those with the most severe β0/
β0 genotypes, achieved transfusion independence, which is defined as no longer needing RBC transfusions for at least 12 months while
maintaining a weighted average Hb of at least 9 g/dL.

beti-cel is manufactured using the BB305 lentiviral vector (LVV), a third-generation, self-inactivating LVV that has been studied for more
than a decade across two therapeutic areas.

Adverse reactions considered related to beti-cel consisted primarily of non-serious infusion-related reactions that occurred on the day of the
infusion and cytopenias. One serious adverse event (SAE) of thrombocytopenia considered possibly related to beti-cel was reported and has
resolved.

The majority of AEs and SAEs in the beti-cel clinical development program were considered to be unrelated to beti-cel by the Investigator
and were consistent with known side effects of HSC collection and the busulfan conditioning regimen.

The Phase 3 Northstar-2 (HGB-207) and Northstar-3 (HGB-212) studies evaluating beti-cel are ongoing; enrollment is complete, and all
patients have been treated. bluebird bio is also conducting a long-term follow-up study, LTF-303, to monitor safety and efficacy for people
who have participated in bluebird bio-sponsored beti-cel clinical studies through 15 years post treatment.

A biologics license application (BLA) for beti-cel is under priority review by the FDA. The agency has set a Prescription Drug User Fee Act
(PDUFA) goal date of August 19, 2022.

About elivaldogene autotemcel (eli-cel, Lenti-D®) gene therapy
                           Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 43 of 426 PageID #: 3016



eli-cel uses ex vivo transduction with the Lenti-D lentiviral vector (LVV) to add functional copies of the        ABCD1   gene into a patient’s own
hematopoietic stem cells (HSCs). The addition of the functional A B C D 1 gene allows patients to produce the ALD protein (ALDP), which is
thought to facilitate the breakdown of very long-chain fatty acids (VLCFAs). The expression of ALDP and effect of eli-cel is expected to be
life-long. The goal of treatment with eli-cel is to stop the progression of CALD and, consequently, preserve as much neurological function as
possible, including the preservation of motor function and communication ability. Importantly, with eli-cel, there is no need for donor HSCs
from another person.

bluebird bio’s clinical development program for eli-‑cel includes the completed pivotal Phase 2/3 Starbeam study (ALD-102) and the ongoing
Phase 3 ALD-104 study, which has completed enrollment. Additionally, bluebird bio is conducting a long-term safety and efficacy follow-up
study (LTF-304) for patients who have received eli-cel for CALD and completed two years of follow-up in ALD-102 or ALD-‑104. Clinical
studies of eli-cel are currently on hold with the FDA. A biologics license application (BLA) for beti-cel is under priority review by the FDA.
The agency has set a Prescription Drug User Fee Act (PDUFA) goal date of September 16, 2022.

About lovotibeglogene autotemcel (lovo-cel; formerly LentiGlobin® for SCD, bb1111)

lovotibeglogene autotemcel (lovo-cel) gene therapy is an investigational one-time treatment being studied for sickle cell disease (SCD), that
is designed to add functional copies of a modified form of the β-globin gene (βA-T87Q -globin gene) into a patient’s own hematopoietic
(blood) stem cells (HSCs). Once patients have the βA-T87Q -globin gene, their red blood cells (RBCs) can produce anti-sickling hemoglobin
(HbAT87Q) that decreases the proportion of HbS, with the goal of reducing sickled RBCs, hemolysis, and other complications. bluebird bio’s
clinical development program for lovo-cel includes the completed Phase 1/2 HGB-205 and ongoing Phase 1/2 HGB-206 and Phase 3 HGB-210
studies. bluebird bio is also conducting a long-term safety and efficacy follow-up study (LTF-307) for people who have participated in
bluebird bio sponsored clinical studies of lovo-cel.

The safety profile of the lovo-cel treatment regimen is predominately reflective of the known risks of autologous stem cell transplantation
and myeloablative single-agent busulfan conditioning, as well as underlying SCD. Adverse drug reactions due to lovo-cel include hot flush,
decreased blood pressure, acute myeloid leukemia (AML), and anemia.

As of February 17, 2021, a total of 49 patients have been treated with lovo-cel, with up to six years of patient follow-up, in the HGB-205 (n=3),
HGB-206 (n=44), and HGB-210 (n=2) clinical studies. The HGB-206 total includes: Group A (n=7), B (n=2), and C (n=35), representing
progressive adaptations to the manufacturing and treatment processes. In the Group C cohort of the Phase 1/2 HGB-206 study, no severe
vaso-occlusive events (VOEs) were reported with up to 24 months of follow-up in patients with a history of at least four severe VOEs and at
least six months of follow-up.

In the initial cohort (Group A) of the HGB-206 study, two patients treated with lovo-cel developed AML. After thorough investigations into
the cases, bluebird bio determined that these were unlikely related to the insertion of bluebird’s lentiviral vector (LVV) gene therapy for SCD.

For more information on lovo-cel studies, visit: https://www.bluebirdbio.com/our-science/clinical-trials or clinicaltrials.gov.

The FDA has granted orphan drug designation, fast track designation, regenerative medicine advanced therapy (RMAT) designation, and rare
pediatric disease designation for lovo-cel.

lovo-cel is investigational and has not been approved in any geography.

About bluebird bio, Inc.

bluebird bio is pursuing curative gene therapies to give patients and their families more bluebird days.

With a dedicated focus on severe genetic diseases, bluebird has industry-leading clinical and research programs for sickle cell disease, β-
thalassemia and cerebral adrenoleukodystrophy and is advancing research to apply new technologies to these and other diseases. We
custom design each of our therapies to address the underlying cause of disease and have developed in-depth and effective analytical
methods to understand the safety of our lentiviral vector technologies and drive the field of gene therapy forward.

Founded in 2010, bluebird has the largest and deepest ex-vivo gene therapy data set in the world—setting the standard for industry. Today,
bluebird continues to forge new paths, combining our real-world experience with a deep commitment to patient communities and a people-
centric culture that attracts and grows a diverse flock of dedicated birds. ​

For more information, visit bluebirdbio.com or follow us on social media at @bluebirdbio, LinkedIn, Instagram and YouTube.

Lenti-D, LentiGlobin® for SCD, and bluebird bio are registered trademarks of bluebird bio, Inc.

bluebird bio Cautionary Statement Regarding Forward-Looking Statements

This press release contains “forward-looking statements” within the meaning of the Private Securities Litigation Reform Act of 1995. All
statements that are not statements of historical facts are, or may be deemed to be, forward-looking statements, including but not limited to
our statements regarding our expectations for our interactions with the FDA and the timing for the regulatory approval and potential
commercial launch for beti-cel and eli-cel, and regarding the partial clinical hold of lovo-cel. Such forward-looking statements are based on
historical performance and current expectations and projections about our future financial results, goals, plans and objectives and involve
inherent risks, assumptions and uncertainties, including internal or external factors that could delay, divert or change any of them in the next
several years, that are difficult to predict, may be beyond our control and could cause our future financial results, goals, plans and objectives
to differ materially from those expressed in, or implied by, the statements. No forward-looking statement can be guaranteed. Forward-looking
statements in this press release should be evaluated together with the many risks and uncertainties that affect bluebird bio’s business,
particularly those identified in the risk factors discussion in bluebird bio’s Annual Report on Form 10-K, as updated by our subsequent
Quarterly Reports on Form 10-Q, Current Reports on Form 8-K and other filings with the Securities and Exchange Commission. These risks
include, but are not limited to: the risk that the FDA’s review of the BLAs for beti-cel and/or eli-cel may require one more additional
extensions; the risk that beti-cel and/or eli-cel may not be approved within the priority review timeframe or at all, and consequently the risk
that we may not be eligible to receive the associated priority review voucher upon the approval of beti-cel and/or eli-cel; the risk that the
extension of BLA review may impact the conduct and timelines of our other programs; the risk that resolving the partial clinical hold of lovo-
cel may require us to collect additional data or information beyond what we currently expect; the risk that we may not be able to address the
FDA’s concerns regarding lovo-cel in the treatment of patients with sickle cell under the age of 18 quickly or at all; the risk that we may not
                   Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 44 of 426 PageID #: 3017



be able to collect the manufacturing comparability data needed to support a BLA submission for lovo-cel on our projected timelines; the risk
that our planned BLA submission for lovo-cel may be delayed or may be for a narrower indication or patient population than we expected; the
risk that the efficacy and safety results from our prior and ongoing clinical trials will not continue or be seen in additional patients treated
with our product candidates; the risk that additional insertional oncogenic or other safety events associated with lentiviral vector, drug
product, or myeloablation will be discovered or reported over time; the risk that any one or more of our product candidates will not be
successfully developed, approved or commercialized; and the risks related to the ongoing COVID-19 pandemic. The forward-looking statements
included in this document are made only as of the date of this document and except as otherwise required by applicable law, bluebird bio
undertakes no obligation to publicly update or revise any forward-looking statement, whether as a result of new information, future events,
changed circumstances or otherwise.




View source version on businesswire.com: https://www.businesswire.com/news/home/20220118005544/en/

Investors:
Courtney O’Leary, 978-621-7347
coleary@bluebirdbio.com

or

Media:
Sarah Alspach, 215-287-6354
sarah.alspach@bluebirdbio.com

Source: bluebird bio, Inc.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 45 of 426 PageID #: 3018




         EXHIBIT G
    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 46 of 426 PageID #: 3019
0123345ÿ7ÿ89 2 3354ÿ0123345

ÿÿÿÿÿÿÿÿÿ ÿÿÿÿÿ
         ÿ
ÿ
                                                                                        ÿ
                                                                                                   ÿ
                               ÿ!ÿ"# ÿ"$%ÿ&!$"'"
                  ("(ÿ)!''%"ÿ*+ÿ,!%ÿ-"#."%#+ÿ/+'#
                                               ÿ
ÿ
)"'+0ÿ-"((0ÿ123/4ÿ"# ÿ-#%0ÿ5'"#60ÿ*%'ÿ70ÿ89:ÿ;ÿ89 8<=>ÿ8<?@ÿABC4ÿDEFG>FHIÿJKL0M@
FÿC9<B<CF92GFNÿC?OFBPÿC?<>ÿ?ÿ>Q9?O<BNÿO?B<F99Pÿ=FBGR?=F<QÿNBÿ=FO<GÿR?=ÿGQ=ÿNB<C
><GFGGÿFB>ÿSÿC9928FG>ÿ< B?=FO<GÿR?=ÿCFBC=ÿFB>ÿFOCÿJ<?OF=FÿT8UÿDVVV4FOC4C?M@ÿ
N9?8F9ÿ<BB?QF?=ÿFB>ÿ9F>=ÿ<Bÿÿ>Q9?O Bÿ?RÿBN<B =>ÿ GBCPF9ÿGÿC99ÿDWXYMÿ=FO <CGÿFB>ÿF
GCCGGR9ÿFB>ÿGF89<G>ÿC?B=FCÿ>Q9?O BÿFB>ÿFBRFC=<BNÿ?=NFB<ZF<?Bÿ<BÿÿR<9>ÿ?RÿC99ÿFB>ÿNB
=FOP@ÿFBB?BC>ÿ?>FPÿFÿPÿFQÿB=>ÿ<B?ÿFÿG=FN<CÿFBRFC=<BNÿFN=  BÿO=?Q<><BNÿR?=ÿ
R=ÿ0 =?OFBÿC? =C<F9ÿO=?>C<?Bÿ?Rÿ89 8<=>ÿ8<?[GÿKB<2\]ÿO=?>CÿCFB><>FÿR?=ÿC=8=F9
F>=B?9 ^?>PG=?OPÿFB>ÿ<GÿKB<T9?8<B]ÿO=?>CÿCFB><>FÿR?=ÿ=FBGRG<?B2>OB>Bÿ_2F9FGG<F4
ÿ
S<GÿFN=  BÿR?99?VGÿFÿGCCGGR9ÿ 9<2PF=ÿFBRFC=<BNÿ=9F<?BG<OÿFB>ÿO=?Q<>Gÿ89 8<=>ÿ8<?ÿV<
0 =?OFBÿC? =C<F9ÿFBRFC=<BNÿCFOF8<9<<G@ÿ<BC9><BNÿ>><CF>ÿO=?>C<?BÿG<GÿV<<BÿFOC
J<?OF=F[GÿGF2?R22F=ÿTW`ÿRFC<9<P4
ÿ
LB>=ÿ<Gÿ 9<2PF=ÿFN=  B@ÿFOCÿJ<?OF=FÿV<99ÿO=R?=ÿC9<B<CF9ÿFBRFC=<BN@ÿO=?CGGÿQF9<>F<?B
FC<Q<<GÿFB>ÿC? =C<F9ÿFBRFC=<BNÿR?=ÿKB<T9?8<BÿFB>ÿKB<2\ÿ>=NÿO=?>Cÿ?ÿGOO?=ÿÿ=F Bÿ?R
0 =?OFBÿOF<BGÿV<ÿ=FBGRG<?B2>OB>Bÿ8FÿF9FGG<FÿFB>ÿC=8=F9ÿF>=B?9 ^?>PG=?OP@ÿ=GOC<Q9P4
ÿ
abÿ89 8<=>@ÿV ÿF=ÿC?<>ÿ?ÿB?ÿ?B9Pÿ>Q9?O<BNÿO?B<F99Pÿ=FBGR?=F<Qÿ=FO<G@ÿ8ÿBG=<BNÿFÿV
CFBÿ>9<Q=ÿÿ?ÿOF<BG4ÿc?=ÿ<Gÿ=FG?B@ÿV ÿF=ÿC?<>ÿ?ÿ<BQG<BNÿ<BÿÿCFOF8<9<<GÿFB>ÿ<BR=FG=C=
BCGGF=Pÿ?ÿGOO?=ÿC? =C<F9<ZF<?Bÿ8?ÿ<BÿÿL4X4ÿFB>ÿ0 =?O@dÿGF<>ÿE<C^ÿKGC9P@ÿC<Rÿ89 8<=>4ÿaJP
OF=B=<BNÿV<ÿ 9<O9ÿ?=NFB<ZF<?BG@ÿ<BC9><BNÿ?=ÿQF9 >ÿOF=B=ÿFOCÿJ<?OF=F@ÿV ÿF=ÿF89ÿ?ÿ>Q9?O
<BN=F>ÿCFOF8<9<<Gÿ<BÿFBRFC=<BNÿFÿCFBÿO?G<<?BÿGÿ?ÿRRC<Q9Pÿ8=<BNÿ?=ÿR=ÿC? =C<F9ÿO=?>CG
?ÿOF<BGÿ<BÿB >4d
ÿ
ef ÿF=ÿQ=PÿO9FG>ÿ?ÿC?B<B ÿ?=ÿGCCGGR9ÿC?B=FCÿFBRFC=<BNÿ=9F<?BG<OÿV<ÿ89 8<=>ÿ8<?ÿFB>ÿO9FB
?ÿ8ÿÿ=<NÿOF=B=ÿ<BÿÿR=ÿ?ÿBF89ÿO=?>CÿGOO9Pÿ?ÿ0 =?OFBÿOF<BGÿR?=ÿC9<B<CF9ÿ>Q9?O BÿFB>
C? =C<F9<ZF<?Be@ÿGF<>ÿY=<G<BÿT B=@ÿFOCÿJ<?OF=FgGÿY0h4ÿeS<Gÿ9?BN2=ÿFN=  BÿC?BR<=G
FÿFOCÿJ<?OF=Fÿ<GÿFÿQF9F89ÿFB>ÿ=9<F89ÿOF=B=ÿR?=ÿ?=ÿC9<BGÿ<BÿÿR<9>ÿ?RÿC9<B<CF9ÿFB>ÿC? =C<F9
C99ÿFB>ÿNBÿ=FOPÿFBRFC=<BN4eÿL9=<^ÿi=ZB<GC@ÿFOCÿJ<?OF=FgGÿYSh@ÿF>>>Iÿef ÿF=ÿQ=PÿO=?>
Fÿ?=ÿCG?<Z>ÿTW`ÿFBRFC=<BNÿG?9<?BGÿFB>ÿ?=ÿ> OÿC?< Bÿ?ÿÿC9<BgGÿB >GÿFB>
   OCF<?BGÿF=ÿ=C?NB<Z>
ÿ
    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 47 of 426 PageID #: 3020




ÿÿÿÿÿÿÿÿÿ ÿÿÿÿÿ
          ÿ
ÿ
12ÿ13451678ÿ169ÿ3586 ÿ9ÿÿ39 57ÿ756ÿ 4476 ÿ753696ÿ1555ÿ947ÿ9 65
ÿ!"#ÿ!$ÿ%&'(
)6ÿ6ÿ356*673158ÿ55ÿ5765ÿ+ÿ533ÿ649572ÿ5,5765ÿ 8ÿ55ÿ5866 ÿ163665ÿ13451678
169ÿÿ1463ÿ ÿ65758ÿ7984ÿ397ÿ6ÿ1798ÿ9563ÿ3669ÿ ÿ9ÿ5*575ÿ556ÿ8655ÿ 8
 57ÿ13451678ÿ169-ÿ55ÿ572ÿ3663ÿ797ÿ63485ÿ6ÿ.56/0 7984ÿ 8685ÿ477532ÿ6ÿ
15ÿ234ÿ482ÿ3358ÿ5ÿ5715ÿ5482ÿ97ÿ5ÿ755ÿ9ÿ575173ÿ87593546982792ÿ 8ÿ6
.56739160ÿ8849:ÿ7984ÿ 8685ÿ477532ÿ6ÿ947ÿ3663ÿ4865ÿ97ÿ5ÿ755ÿ9ÿ7 469
85585ÿ;356ÿ 8ÿ5*575ÿ6635ÿ533ÿ8655ÿ13451678ÿ169-ÿ99392ÿ65365ÿ6ÿ1463ÿ49ÿ5
9 2-ÿ358576ÿ6ÿ356*673ÿ55ÿ8536*572ÿ 8ÿ+ÿ533ÿ5 65576 ÿ6ÿÿ94ÿ9ÿ85*5396 ÿ9*53ÿ+ÿ533
158ÿ6495765ÿ63486 ÿ6576ÿ 65ÿ75597ÿ<=>?ÿ+@ÿ 8ÿ+ÿ533ÿ75597ÿ<+=?@ÿ5765
13451678ÿ169-ÿ358ÿ99392ÿ797ÿ112A2Aÿ6ÿ ÿ 68=B>ÿ=>?ÿ+ÿ797ÿ75758ÿ6ÿ=5355
112A2Aÿ6ÿ477532ÿ156 ÿ48658ÿ6ÿÿ15ÿAÿ763ÿ97ÿ5ÿ755ÿ9ÿ753583757972ÿ43635ÿ2539 
13451678ÿ169ÿ39ÿÿ869*572ÿ7557ÿ797ÿ4636C6 ÿ5 +>.396 ÿ5894355ÿ55ÿ5866
593965ÿ6ÿ5ÿ9563ÿ97ÿ45ÿ79ÿ5ÿ9 2-ÿ65365
13451678ÿ169ÿÿ95769ÿ6ÿ= 17685ÿB 45Dÿ5535ÿ) 6 9Dÿ 8ÿ176ÿE7 5
ÿ
ÿFG'HÿI!GHF"JFÿKJL
  5ÿ8697 ÿ6ÿÿ695576 ÿ1697 5463ÿ9 2ÿ6ÿÿ65365ÿ9ÿ533158ÿ55ÿ57546ÿ97
5ÿ755ÿ9ÿ M97ÿ796ÿ8655ÿ<796ÿ34 ÿ8655ÿ51936ÿ 8ÿ49645ÿ8655@ÿ 8ÿ9368
 57ÿ+5ÿ9 2Nÿ7976572ÿ397ÿ59392ÿ6ÿ158ÿ9ÿ5957ÿ556ÿ5 65576 ÿ9
552 3ÿ5ÿ533ÿ5ÿ8697 ÿ6ÿ39ÿÿ4543ÿ=97ÿ/5*5395ÿ 8ÿB 4476
O7 6C69ÿ97ÿ935,ÿ533ÿ 8ÿ55ÿ572ÿ7984ÿ6ÿÿ6ÿ657 69 3ÿ75469ÿ8 58ÿ6ÿB46
<757 2@ÿ6ÿ5ÿ57ÿ9ÿP4795ÿ5ÿ8697 ÿ79*685ÿ6ÿ79*5ÿ5,5765ÿ 8ÿ5957ÿ7B1
63665ÿ9ÿ5ÿ365ÿ79ÿ7948ÿ5ÿ9738ÿ5ÿ8697 ÿ ÿ94858ÿÿ5ÿ71QÿRÿ=9ÿS7ÿ6
299Tÿ+5ÿ9 2ÿ6ÿ76*532ÿ9 58ÿ12ÿ6ÿ94857ÿ 8ÿ76*5ÿ6*597ÿ<5 9ÿQ9386 ÿ71Qÿ 8ÿE=1
8695ÿQ9386 ÿ71Q@

ÿ
     Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 48 of 426 PageID #: 3021




ÿÿÿÿÿÿÿÿÿ ÿÿÿÿÿ
          ÿ
ÿ
12345647
ÿ
ÿ
89 8 ÿ8ÿ                       BCDEÿFCEBGBÿHG8I
ÿ                                     ÿ
                            ?'ÿ>*""ÿJ!*%ÿ>7K
!"#ÿ"%ÿ&'                     ()L/M&*/+)8ÿ=3
()"*)ÿ+)"%ÿ,-./012/0-3. <-=..ÿ(!"&*
45)"6!"#"'&4                   J4)Nÿÿ
ÿ                                     ÿ
(#")                                +*ÿO1;ÿP3Q<;ÿ.33;,3<ÿ3
!"#ÿ"%ÿ&'                     74)"ÿ&)&6)5&*'&4
7"8)*ÿ+"95):%ÿ,-./;-1/<.=,AAA')5&*'&4
5"95):6!"#"'&4 ÿ

+!ÿ>44!"&)"%ÿ&'
?)ÿ@!#A"&:%ÿ;.=/0.-/,3<2
ÿ
ÿ
ÿ
RSTURVWXÿRV2ÿZ2W[5WX\]22^V3_ÿ̀454UaU34b
ÿ
cdefÿhijikfiÿlmnokenfÿpqmhrkhstjmmuenvÿfokoiwinofxÿreodenÿodiÿwiknenvÿmqÿodiÿyhezkoiÿ{il|heoeifÿ}eoevkoemn
~iqmhwÿloÿmqÿÿenlj|senvÿfokoiwinofÿhivkhsenvÿj|iehsÿemfÿ}inoejmenÿknsÿ}inoetÿhms|loÿlknseskoif
knsÿjknfÿqmhÿodiehÿlmwwihlekjÿwkn|qklo|hiÿenÿ|hmiÿnÿqmhrkhstjmmuenvÿfokoiwinofÿkhiÿkfisÿmn
wknkviwinofÿl|hhinoÿiilokoemnfÿmqÿq|o|hiÿizinofÿknsÿkhiÿf|iloÿomÿkÿn|wihÿmqÿhefufÿknsÿ|nlihokenoeifÿodko
lm|jsÿlk|fiÿklo|kjÿhif|jofÿomÿseqqihÿwkoihekjjÿknsÿkszihfijÿqhmwÿodmfiÿfioÿqmhodÿenÿmhÿewjeisÿÿf|ldÿqmhrkhst
jmmuenvÿfokoiwinofÿcdifiÿhefufÿknsÿ|nlihokenoeifÿenlj|siÿ|oÿkhiÿnmoÿjeweoisÿomÿhefufÿodkoÿodiÿhijewenkhÿhif|jof
qhmwÿm|hÿljenelkjÿohekjfÿrejjÿnmoÿlmnoen|iÿmhÿiÿhiikoisÿenÿm|hÿmnvmenvÿmhÿjknnisÿljenelkjÿohekjfÿodiÿhefuÿmq
liffkoemnÿmhÿsijkÿmqÿknÿmqÿodiÿmnvmenvÿmhÿjknnisÿljenelkjÿfo|seifÿmhÿodiÿsizijmwinoÿmqÿm|hÿhms|lo
lknseskoifÿodiÿhefuÿmqÿkÿsijkÿenÿodiÿinhmjjwinoÿmqÿkoeinofÿenÿm|hÿljenelkjÿfo|seifÿknsÿodiÿhefuÿodkoÿknÿmniÿmh
wmhiÿmqÿm|hÿhms|loÿlknseskoifÿrejjÿnmoÿiÿf|lliffq|jjÿsizijmisÿknsÿlmwwihlekjeisÿmhÿkÿsefl|ffemnÿmqÿmodih
hefufÿknsÿ|nlihokenoeifÿknsÿmodihÿewmhoknoÿqklomhfÿknÿmqÿrdeldÿlm|jsÿlk|fiÿm|hÿklo|kjÿhif|jofÿomÿseqqihÿqhmw
odmfiÿlmnokenisÿenÿodiÿqmhrkhstjmmuenvÿfokoiwinofÿfiiÿodiÿfiloemnÿinoeojisÿp~efuÿklomhfxÿenÿm|hÿwmfoÿhilino
|khoihjÿhimhoÿmnÿmhwÿtÿkfÿrijjÿkfÿsefl|ffemnfÿmqÿmoinoekjÿhefufÿ|nlihokenoeifÿknsÿmodihÿewmhokno
qklomhfÿenÿm|hÿf|fi|inoÿqejenvfÿreodÿodiÿ{il|heoeifÿknsÿldknviÿmwweffemnÿjjÿenqmhwkoemnÿenÿodefÿhiff
hijikfiÿefÿkfÿmqÿodiÿskoiÿmqÿodiÿhijikfiÿknsÿj|iehsÿemÿ|nsihokuifÿnmÿs|oÿomÿ|skoiÿodefÿenqmhwkoemnÿ|njiff
hi|ehisÿÿjkr
ÿ
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 49 of 426 PageID #: 3022




         EXHIBIT H
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 50 of 426 PageID #: 3023


                                                     UNITED STATES
                                         SECURITIES AND EXCHANGE COMMISSION
                                                                             Washington, DC 20549

                                                                                 FORM 10-K
(Mark One)
☒      ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                    For the fiscal year ended December 31, 2018
                                                                                            OR
☐      TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                          For the transition period from to
                                                                        Commission File Number: 001-35966


                                                                      bluebird bio, Inc.
                                                                (Exact Name of Registrant as Specified in Its Charter)
                                      Delaware                                                                                XX-XXXXXXX
                              (State or Other Jurisdiction of                                                                 (IRS Employer
                             Incorporation or Organization)                                                                 Identification No.)
                               60 Binney Street
                            Cambridge, Massachusetts                                                                             02142
                         (Address of Principal Executive Offices)                                                               (Zip Code)

                                                                                      (339) 499-9300
                                                                     (Registrant’s Telephone Number, Including Area Code)

    Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒ No ☐
    Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ☐ No ☒
   Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the
preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90
days. Yes ☒ No ☐
    Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-
T (§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ☐
    Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K (§ 229.405 of this chapter) is not contained herein, and will not be
contained, to the best of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any amendment
to this Form 10-K. ☐
   Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, smaller reporting company, or an emerging growth
company. See the definitions of “large accelerated filer”, “accelerated filer”, “smaller reporting company”, and “emerging growth company” in Rule 12b-2 of the Exchange
Act.
Large accelerated filer                                                      ☒ Accelerated filer                                                                            ☐
Non-accelerated filer                                                             ☐     Smaller reporting company                                                         ☐
                                                                               Emerging growth company                                                                ☐
    If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐
   Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes ☐ No ☒
   The aggregate market value of common stock held by non-affiliates of the registrant based on the closing price of the registrant’s common stock as reported on the
Nasdaq Global Select Market on June 30, 2018, the last business day of the registrant’s most recently completed second quarter, was $7,882,817,517.
    As of February 15, 2019, there were 54,951,177 shares of the registrant’s common stock, par value $0.01 per share, outstanding.
                                                       DOCUMENTS INCORPORATED BY REFERENCE
   Portions of the registrant’s definitive Proxy Statement relating to its 2019 Annual Meeting of Stockholders are incorporated by reference into Part III of this Annual
Report on Form 10-K where indicated. Such Proxy Statement will be filed with the U.S. Securities and Exchange Commission within 120 days after the end of the fiscal
year to which this report relates.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 51 of 426 PageID #: 3024

                                                                 Table of Contents
                                                                                                                            Page
PART I.
Item 1.      Business                                                                                                          1
Item 1A.     Risk Factors                                                                                                     42
Item 1B.     Unresolved Staff Comments                                                                                        72
Item 2.      Properties                                                                                                       72
Item 3.      Legal Proceedings                                                                                                73
Item 4.      Mine Safety Disclosures                                                                                          73
PART II.
Item 5.      Market for Registrant’s Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities     74
Item 6.      Selected Financial Data                                                                                          75
Item 7.      Management’s Discussion and Analysis of Financial Condition and Results of Operations                            77
Item 7A.     Quantitative and Qualitative Disclosures About Market Risks                                                      93
Item 8.      Financial Statements and Supplementary Data                                                                      93
Item 9.      Changes in and Disagreements with Accountants on Accounting and Financial Disclosure                             93
Item 9A.     Controls and Procedures                                                                                          93
Item 9B.     Other Information                                                                                                96
PART III.
Item 10.     Directors, Executive Officers and Corporate Governance                                                           97
Item 11.     Executive Compensation                                                                                           97
Item 12.     Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters                   97
Item 13.     Certain Relationships and Related Transactions and Director Independence                                         97
Item 14.     Principal Accountant Fees and Services                                                                           97
PART IV.
Item 15.     Exhibits and Financial Statement Schedules                                                                       98
Item 16.     Form 10-K Summary                                                                                                98
Signatures
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 52 of 426 PageID #: 3025

                                                           FORWARD-LOOKING STATEMENTS

   This Annual Report on Form 10-K contains forward-looking statements that involve risks and uncertainties, as well as assumptions that, if they never
materialize or prove incorrect, could cause our results to differ materially from those expressed or implied by such forward-looking statements. We make
such forward-looking statements pursuant to the safe harbor provisions of the Private Securities Litigation Reform Act of 1995 and other federal
securities laws. All statements other than statements of historical facts contained in this Annual Report on Form 10-K are forward-looking statements. In
some cases, you can identify forward-looking statements by words such as “anticipate,” “believe,” “contemplate,” “continue,” “could,” “estimate,”
“expect,” “intend,” “may,” “plan,” “potential,” “predict,” “project,” “seek,” “should,” “target,” “would,” or the negative of these words or other
comparable terminology. These forward-looking statements include, but are not limited to, statements about:
   •   the initiation, timing, progress and results of our preclinical and clinical studies, and our research and development programs;
   •   our ability to advance product candidates into, and successfully complete, clinical studies;
   •   our ability to advance our viral vector and drug product manufacturing capabilities;
   •   the timing or likelihood of regulatory filings and approvals for our product candidates;
   •   the timing or success of commercialization of our product candidates, if approved;
   •   the pricing and reimbursement of our product candidates, if approved;
   •   the implementation of our business model, strategic plans for our business, product candidates and technology;
   •   the scope of protection we are able to establish and maintain for intellectual property rights covering our product candidates and technology;
   •   estimates of our expenses, future revenues, capital requirements and our needs for additional financing;
   •   the potential benefits of strategic collaboration agreements and our ability to enter into strategic arrangements;
   •   our ability to maintain and establish collaborations and licenses;
   •   developments relating to our competitors and our industry; and
   •   other risks and uncertainties, including those listed under Part I, Item 1A. Risk Factors.

    Any forward-looking statements in this Annual Report on Form 10-K reflect our current views with respect to future events or to our future financial
performance and involve known and unknown risks, uncertainties and other factors that may cause our actual results, performance or achievements to be
materially different from any future results, performance or achievements expressed or implied by these forward-looking statements. Factors that may
cause actual results to differ materially from current expectations include, among other things, those listed under Part I, Item 1A. Risk Factors and
elsewhere in this Annual Report on Form 10-K. Given these uncertainties, you should not place undue reliance on these forward-looking statements.
Except as required by law, we assume no obligation to update or revise these forward-looking statements for any reason, even if new information
becomes available in the future.

    This Annual Report on Form 10-K also contains estimates, projections and other information concerning our industry, our business, and the markets
for certain diseases, including data regarding the estimated size of those markets, and the incidence and prevalence of certain medical conditions.
Information that is based on estimates, forecasts, projections, market research or similar methodologies is inherently subject to uncertainties and actual
events or circumstances may differ materially from events and circumstances reflected in this information. Unless otherwise expressly stated, we obtained
this industry, business, market and other data from reports, research surveys, studies and similar data prepared by market research firms and other third
parties, industry, medical and general publications, government data and similar sources.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 53 of 426 PageID #: 3026

                                                                           PART I
Item 1. Business
Overview
    We are a clinical-stage biotechnology company committed to developing potentially transformative gene therapies for severe genetic diseases and
cancer. With our lentiviral-based gene therapy and gene editing capabilities, we have built an integrated product platform with broad therapeutic
potential in a variety of indications. We believe that gene therapy for severe genetic diseases has the potential to change the way patients living with
these diseases are treated by addressing the underlying genetic defect that is the cause of their disease, rather than offering treatments that only address
their symptoms. Our clinical programs in severe genetic diseases include our LentiGlobin® product candidate as a treatment for transfusion-dependent β-
thalassemia, or TDT, and sickle cell disease, or SCD, and our Lenti-D™ product candidate as a treatment for cerebral adrenoleukodystrophy, or CALD.
Our programs in oncology are built upon our leadership in lentiviral gene delivery and T cell engineering, with a focus on developing novel T cell-based
immunotherapies, including chimeric antigen receptor (CAR) and T cell receptor (TCR) T cell therapies. bb2121 and bb21217, our clinical-stage product
candidates in oncology, are CAR T cell product candidates for the treatment of multiple myeloma.

    We are developing our LentiGlobin product candidate for different genotypes of TDT and for SCD in the United States and the European Union, or
EU. Both TDT and SCD are rare, hereditary blood disorders that often lead to severe anemia and shortened lifespans. In October 2018, we announced
that the European Medicines Agency, or EMA, has accepted for review our marketing authorization application, or MAA, for our LentiGlobin product
candidate for the treatment of adult and adolescent patients with TDT and non-β0 /β0 genotypes. If we receive conditional approval in 2019, we expect to
launch LentiGlobin in Europe and begin to generate product revenues. We plan to file a biologics license application, or BLA, in the United States in 2019
for the use of LentiGlobin in the treatment of adult and adolescent patients with TDT and non-β0 /β0 genotypes. We are also engaged with the U.S. Food
and Drug Administration, or FDA, and the EMA in discussions regarding our proposed development plans for LentiGlobin in SCD, with a potential first
submission for regulatory approval in 2022.

    We are developing our Lenti-D product candidate for CALD, a rare, hereditary neurological disorder that is often fatal. If our Lenti-D product
candidate shows a sufficiently compelling treatment effect, and pending further discussion with regulatory authorities, the results from the phase 2/3
clinical study of our Lenti-D product candidate, called the Starbeam study, could potentially form the basis of a BLA submission in the United States and
a MAA submission in the European Union. We anticipate a potential first submission for regulatory approval of our Lenti-D product candidate for the
treatment of patients with CALD in 2019.

    In collaboration with Celgene Corporation, or Celgene, we are developing our bb2121 and bb21217 product candidates in multiple myeloma, a
hematologic malignancy that develops in the bone marrow and is fatal if untreated. We are co-developing and co-promoting the bb2121 product
candidate in the United States with Celgene and we have exclusively licensed to Celgene the development and commercialization rights for the bb2121
product candidate outside of the United States. We and Celgene anticipate the first potential approval of the bb2121 product candidate for the treatment
of relapsed and refractory multiple myeloma in the second half of 2020. We have exclusively licensed the development and commercialization rights for
the bb21217 product candidate to Celgene, with an option for us to elect to co-develop and co-promote bb21217 within the United States.


Our Gene Therapy Platform
    Our platform is based on lentiviral vectors which are used to introduce a functional copy of a gene to the patient’s own isolated hematopoietic stem
cells, or HSCs, in the case of our LentiGlobin and Lenti-D product candidates, or the patient’s own isolated white blood cells which include T cells, in the
case of our bb2121 and bb21217 product candidates. Additionally, we have developed a proprietary cell-based vector manufacturing process that is both
reproducible and scalable. We believe our innovations in viral vector design and related manufacturing processes are important steps towards advancing
the field of gene therapy and in realizing its full potential on a commercial scale.

    Utilizing our platform, we are developing product candidates comprising the patient’s own gene-modified HSCs and T cells. Clinical proof-of-concept
already exists for allogeneic hematopoietic stem cell transplant, or HSCT, an approach of treating a patient with HSCs contributed by a donor other than
the patient that contain the properly functioning copy of the gene whose mutation has caused the underlying disease. However, this approach has
significant limitations, including difficulties in finding appropriate genetically-matched donors and carries the risk of transplant-related rejection, graft-
versus-host disease, or GVHD, and mortality. Our approach is intended to address the significant limitations of allogeneic HSCT while utilizing existing
stem cell transplant infrastructure and processes. Also, because our approach has the potential to drive sustained expression of the functional protein
encoded by the gene insert after a single-administration, we believe the value proposition offered by our product candidates for patients, families, health
care providers and payors would be significant.

                                                                              1
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 54 of 426 PageID #: 3027


   Although our initial focus for severe genetic diseases is in TDT, SCD and CALD, and for cancer is in multiple myeloma, we believe our gene therapy
platform has broad therapeutic potential in a variety of indications. We believe that our lentiviral vectors can be used to introduce virtually any gene into
a cell and have the potential to be manufactured on a commercial scale reproducibly and reliably, as each new vector is produced using substantially the
same process.

   We also have discovery research programs utilizing our cell signaling and gene editing technology platform across our pipeline. For instance, we are
exploring applications of our CAR and TCR T cell technologies in combination with novel proteins based on synthetic biology. These technologies may
potentially allow our future T cell-based product candidates to detect the tumor microenvironment or, in the case of future CAR T cell product
candidates, to be regulated by small molecules. In addition, we are focused on utilizing homing endonuclease and megaTAL gene editing technologies in
a variety of potential applications and disease areas, including oncology, hematology and other diseases. Homing endonucleases and megaTALs are
novel enzymes that provide a highly specific and efficient way to modify DNA sequences to edit or insert genetic components to potentially treat a
variety of diseases.


Our Programs in Severe Genetic Diseases
The LentiGlobin product candidate
β-thalassemia
   Overview
   β-thalassemia is a rare genetic disease caused by a mutation in the β-globin gene resulting in the production of defective red blood cells, or RBCs.
Genetic mutations cause the absence or reduced production of the beta chains of hemoglobin, or β-globin, thereby preventing the proper formation of
hemoglobin A, which normally accounts for greater than 95% of the hemoglobin in the blood of adults. Hemoglobin is an iron-containing protein in the
blood that carries oxygen from the respiratory organs to the rest of the body. Hemoglobin A consists of four chains-two chains each of α-globin and β-
globin. Genetic mutations that impair the production of β-globin can lead to a relative excess of α-globin, leading to premature death of RBCs. The clinical
implications of the α-globin/ β-globin imbalance are two-fold: first, patients lack sufficient RBCs and hemoglobin to effectively transport oxygen
throughout the body and can become severely anemic; and second, the ineffective production of RBCs can lead to a range of multi-systemic
complications, including but not limited to splenomegaly, marrow expansion, bone deformities, and iron overload in major organs.

   The clinical course of β-thalassemia correlates with the degree of globin chain imbalance. Nearly 350 different mutations have been described in
patients with β-thalassemia. Mutations can be categorized as those that result in no functional β-globin production (β0 ) and those that result in
decreased functional β-globin production (β+). TDT refers to any mutation pairing that results in the need for chronic transfusions due to severe anemia.
Affected patients produce as little as one to seven g/dL of hemoglobin (in contrast, a normal adult produces 12 to 18 g/dL of hemoglobin).


   Limitations of current treatment options

    In geographies where treatment is available, patients with TDT receive chronic blood transfusions to survive. These regimens consist of regular
infusions with units of packed RBC, or pRBC, usually every two to five weeks, which are intended to maintain hemoglobin levels and control symptoms
of the disease. While chronic blood transfusions can be effective at minimizing the symptoms of TDT, they often lead to unavoidable iron overload,
which over time may lead to significant morbidity and mortality through iron-associated heart and liver toxicity. To help reduce iron overload-associated
risks and resulting complications, patients must adhere to therapeutic iron chelation regimens to reduce the iron overload. Despite improvements in
supportive care with transfusion and chelation, the overall life expectancy for a patient with TDT is significantly reduced compared to the general
population. In addition, patient and caregiver quality of life can be significantly affected by complications associated with TDT and chronic disease
management.

    The only potentially curative therapy for β-thalassemia has been allogeneic HSCT, with best outcomes observed in pediatric patients with a matched
sibling donor. However, allogeneic HSCT is associated with serious risks, some of which can be life threatening and result in death. Potential
complications of allogeneic HSCT include a risk of engraftment failure in unrelated human-leukocyte-antigen, or HLA, matched patients, a risk of life-
threatening infection, and a risk of GVHD, a common complication in which donor immune cells (white blood cells in the graft) recognize the cells of the
recipient (the host) as “foreign” and attack them. As a result of these safety challenges, allogeneic HSCT can lead to significant mortality rates,
particularly for patients treated with cells from a donor who is not a matched sibling, and in patients >11 years old. Consequently, we believe there is a
need for an option that can address the underlying genetic cause of TDT for more patients, and that TDT is a life-shortening disease with a significant
unmet medical need.

                                                                              2
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 55 of 426 PageID #: 3028


Sickle cell disease
   Overview
    Sickle cell disease, or SCD, is a hereditary blood disorder resulting from a mutation in the β-globin gene that causes polymerization of hemoglobin
proteins, resulting in abnormal red blood cell function. The disease is characterized by anemia, vaso-occlusive events (a common complication of SCD in
which there is severe pain due to obstructed blood flow in the small blood vessels of the body), cumulative damage to multiple organs, infections, stroke,
overall poor quality of life and early death in a large subset of patients. Under low-oxygen conditions, which are exacerbated by the RBC abnormalities,
the mutant hemoglobin polymerizes causing the RBCs to take on a sickle shape, which causes them to aggregate and obstruct small blood vessels,
thereby restricting blood flow to organs resulting in pain, cell death and organ damage. If oxygen levels are restored, the hemoglobin can depolymerize
and the RBCs will return to their normal shape, but over time, repeated sickling damages the cell membrane and the cells fail to return to the normal shape
even in high-oxygen conditions.


   Limitations of current treatment options
    Where adequate medical care is available, common treatments for patients with SCD largely revolve around management and prevention of acute
sickling episodes. Chronic management may include hydroxyurea and, in certain cases, chronic RBC transfusions. Hydroxyurea is currently one of two
medications approved for the treatment of SCD and is recommended for patients with recurrent moderate to severe painful crises, to reduce the frequency
of painful crises. However, not all SCD patients respond to hydroxyurea, or are able to tolerate the cytotoxic effect of reduced white blood cell and
platelet counts. A significant number of patients with SCD find it difficult to adhere to hydroxyurea treatment, and for most patients there is no effective
long-term treatment. L-glutamine was approved by the FDA in 2017 as the second medication for the treatment of sickle cell disease and as such, there is
limited long-term data available regarding its safety or efficacy.

    RBC transfusion therapy can be utilized to maintain the level of sickle hemoglobin below 30% to 50%, which decreases sickling of RBCs, reduces the
risk of recurrent stroke, and decreases the incidence of associated co-morbidities. While transfusion therapy can be critical in the management of acute
disease, and can be vital in preventing some of the chronic manifestations of SCD, it does not provide equal benefit to all patients. Furthermore, in
patients with SCD, it is associated with risks such as infection with blood-borne pathogens, alloimmunization, and adverse transfusion reactions that
may lead to fatal outcomes. Additional complications of chronic transfusion include iron overload.

    The only potentially curative therapy currently available for SCD is allogeneic HSCT, but it is limited to patients with severe disease manifestations
and carries significant risk of transplant-related morbidity and mortality. Thus, this option is usually offered primarily to pediatric patients with available
sibling-matched donors. It is particularly difficult to find suitable donors for individuals of African descent, and it is estimated that only a fraction of
eligible patients undergo transplant. In light of these factors, we believe that SCD is a seriously debilitating and life-threatening disease with a significant
unmet medical need.


Development of the LentiGlobin product candidate
    We are developing our LentiGlobin product candidate as a potential one-time treatment for both TDT and SCD. Our approach involves the ex vivo
insertion of the normal β-globin gene with an amino acid substitution using a lentiviral vector into the patient’s own HSCs to enable formation of
normally functioning hemoglobin A and normal RBCs in patients. Importantly, this amino acid substitution, referred to as T87Q, also serves as a distinct
biomarker used to quantify expression levels of the functional β-globin protein in patients with TDT and SCD, while also providing anti-sickling
properties in the context of SCD. We refer to the cells that have undergone our ex vivo manufacturing process resulting in genetically modified HSCs as
the LentiGlobin drug product, or our LentiGlobin product candidate.

    We are conducting, or have conducted, the following clinical studies of our LentiGlobin product candidate to evaluate its safety and efficacy in the
treatment of patients with TDT:
   •   Northstar study (HGB-204), a multi-site, international phase 1/2 study of patients with TDT. In March 2014, we announced that the first patient had
       been treated in this study. This study was completed in February 2018, and patients in this study were enrolled in a long-term follow-up protocol
       to assess safety and efficacy beyond the Northstar study follow-up period.
   •   Northstar-2 study (HGB-207), a multi-site, international phase 3 study of patients with TDT and non-β0 /β0 genotypes. In December 2016, we
       announced that the first patient had been treated in this study.
   •   Northstar-3 study (HGB-212), a multi-site, international phase 3 study of patients with TDT and β0 /β0 genotypes or an IVS-I-110 mutation. In
       November 2017, we announced that the first patient had been treated in this study.

                                                                               3
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 56 of 426 PageID #: 3029


   •   HGB-205, a single-center phase 1/2 study in France of patients with TDT, which also enrolled patients with SCD. In December 2013, we announced
       that the first patient with TDT had been treated in this study.

    We are conducting, or plan to conduct, the following clinical studies of our LentiGlobin product candidate to evaluate its safety and efficacy in the
treatment of patients with SCD:
   •   HGB-206, a multi-site phase 1/2 study in the United States of patients with SCD. In October 2016, we announced amendments in the study
       protocol to incorporate several process changes, including using a refined drug product manufacturing process. In February 2017, we announced
       that the first patient had been treated under this amended study protocol.
   •   HGB-205, a single-center phase 1/2 study in France of patients with SCD which also enrolled patients with TDT. In October 2014, we announced
       that the first patient with SCD had been treated in this study.
   •   HGB-210, our planned multi-site, international phase 3 study of patients with SCD and a history of vaso-occlusive events, or VOEs. We anticipate
       that this study will have a comparable design to our HGB-206 study. We plan to initiate this study in 2019.

    Our LentiGlobin product candidate has been granted Orphan Drug status by the FDA and EMA for both β-thalassemia and SCD. Our LentiGlobin
product candidate was granted Fast-Track designation by the FDA for the treatment of β-thalassemia major and for the treatment of certain patients with
SCD. The FDA has also granted Regenerative Medicine Advanced Therapy (RMAT) designation to our LentiGlobin product candidate for the treatment
of SCD. The FDA has granted to our LentiGlobin product candidate Breakthrough Therapy designation for the treatment of transfusion-dependent
patients with β-thalassemia major, and rare pediatric disease designation for the treatment of TDT. We are participating in the EMA’s Adaptive Pathways
pilot program (formerly referred to as Adaptive Licensing), which is part of the EMA’s effort to improve timely access for patients to new medicines. In
addition, the EMA has granted Priority Medicines (PRIME) eligibility for our LentiGlobin product candidate in the treatment of TDT.

   In October 2018, we announced that the EMA accepted our marketing authorization application, or MAA, for LentiGlobin for the treatment of
adolescents and adults with TDT and non-β0 /β0 genotypes. We anticipate a potential first conditional approval in the EU in 2019. Conversion to full
approval may be subject to the successful completion of our Northstar-2 study and Northstar-3 study, or other studies we may be required to conduct,
supportive long-term follow-up data and “real-world” post-approval monitoring data. Whether or not our clinical data are sufficient to support
conditional, and ultimately full, approval will be a review decision by the EMA and European Commission. We also plan to submit a BLA in the United
States in 2019 on the basis of the Northstar study and the Northstar-2 study of our LentiGlobin product candidate for the treatment of patients with TDT
and non-β0 /β0 genotypes. In addition, if successful, we believe the data from our Northstar-3 study, together with data from our Northstar study and
Northstar-2 study and HGB-205 study could be sufficient to form the basis for a BLA supplement submission in the United States, and a MAA variation
submission in the EU, for our LentiGlobin product candidate for the treatment of patients with TDT and β0 /β0 genotypes.

   We are engaged with the FDA and the EMA in ongoing discussions regarding our proposed development plans for our LentiGlobin product
candidate in SCD. Based on these discussions and clinical data for our LentiGlobin product candidate in SCD, we are exploring efficacy endpoints in our
HGB-206 study and planned HGB-210 study that may allow us to pursue a more accelerated development path in the United States of our LentiGlobin
product candidate for the treatment of patients with SCD who have a history of VOEs. Specifically, we are exploring the use of a primary efficacy
endpoint based on βA-T87Q expression and total hemoglobin, and of a key secondary endpoint of frequency of VOEs. As expanded and modified in
October 2018, the HGB-206 study will increase the overall set of clinical data regarding the relationship between anti-sickling hemoglobin and clinical
outcomes, and has the potential to validate the new primary efficacy endpoint as a surrogate endpoint for other SCD clinical outcomes such as VOEs.
Although we cannot be certain that the HGB-206 study and planned HGB-210 study will be sufficient to form the basis for a BLA submission in the
United States or a MAA in Europe for the treatment of patients with SCD, these studies have been expanded, modified and planned with the goal of
achieving a more accelerated development path for our LentiGlobin product candidate in the United States for the treatment of patients with SCD who
have a history of VOEs, with a potential first submission for regulatory approval in 2022.


Clinical results of the LentiGlobin product candidate
   •    Northstar study (HGB-204) - phase 1/2 study for the treatment of patients with TDT
        Our Northstar study is a single-dose, open-label, non-randomized, multi-site phase 1/2 clinical study in the United States, Australia and Thailand
        to evaluate the safety and efficacy of the LentiGlobin product candidate in increasing hemoglobin production and eliminating or reducing
        transfusion dependence following treatment. In March 2014, we announced that the first patient had been treated in our Northstar study. In
        February 2018, we announced that the last patient in this study had completed the follow-up period under the Northstar study protocol.

                                                                             4
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 57 of 426 PageID #: 3030

     Eighteen adults and adolescents were enrolled in the study. To be eligible for enrollment in this study, patients were between 12 and 35 years of
     age with a diagnosis of TDT and received at least 100 mL/kg/year of pRBCs or at least eight transfusions per year in each of the two years
     preceding enrollment. The patients were also eligible for allogeneic HSCT.
     Efficacy was evaluated primarily by the production of ≥2.0 g/dL of hemoglobin A containing βA-T87Q-globin for the six-month period between
     18 and 24 months post-treatment. Exploratory efficacy endpoints included pRBC transfusion requirements (measured in milliliters per kilogram)
     per month and per year, post-treatment. Safety evaluations performed during the study include success and kinetics of HSC engraftment,
     incidence of transplant-related mortality post-treatment, overall survival, detection of vector-derived replication-competent lentivirus in any
     patient and characterization of events of insertional mutagenesis leading to clonal dominance or leukemia. Subjects were monitored by regular
     screening. Each patient remained on study for approximately 26 months from time of consent and then were enrolled in a long-term follow-up
     protocol that will assess safety and efficacy beyond the study protocol’s follow-up period.
     In December 2018, we presented updated clinical data from our Northstar study at the 60t h Annual Meeting of the American Society of
     Hematology, or ASH Annual Meeting. All data presented at the ASH Annual Meeting and summarized below are as of the data cut-off date of
     September 14, 2018:
           o Ten patients with non-β0 /β0 genotypes and eight patients with β0 /β0 genotypes have undergone infusion with LentiGlobin drug
             product in the study.
           o Of the ten patients with TDT and non-β0 /β0 genotypes, eight patients achieved transfusion independence, meaning they had not
             received a transfusion for at least 12 months and maintained hemoglobin levels of ≥9 g/dL. These eight patients have maintained
             transfusion independence for a median duration of 38 months, with a range of 21 to 44 months. At the last study visit, total
             hemoglobin levels for these eight transfusion-independent patients were stable and ranged from 9.7 to 14.1 g/dL. HbAT87Q levels
             remained stable in these patients over time, for up to four years.
           o Of the eight patients with TDT and a β0 /β0 genotype, three patients achieved transfusion independence. These three patients had
             more than two years of follow up, and two of the three patients had follow-up for more than 3.5 years. All three patients maintained
             transfusion independence through their last study visit, with total hemoglobin levels ranging from 9.1 to 10.9 g/dL.
           o An exploratory assessment was conducted to assess liver iron concentration in the 11 patients who have become transfusion
             independent in the Northstar study. Liver iron concentrations were measured at baseline and then at every 12 months after treatment.
             Over time, iron concentrations began to decrease in these 11 patients, with the largest decrease observed in the three patients who had
             at least 48 months of data available.
           o The safety profile of the LentiGlobin drug product continues to be consistent with myeloblative conditioning with single-agent
             busulfan. No grade 3 or higher drug product-related adverse events have been observed. The median time to platelet engraftment was
             39.5 days, with a range of 19 to 191 days.


 •   Northstar-2 study (HGB-207) - phase 3 study for the treatment of patients with TDT and non-β0 / β0 genotypes
     Our Northstar-2 study is an ongoing single-dose, open-label, non-randomized, international, multi-site phase 3 clinical study to evaluate the
     safety and efficacy of the LentiGlobin product candidate to treat patients with TDT and non-β0 /β0 genotypes. In December 2016, we announced
     that the first patient had been treated in our Northstar-2 study.
     Approximately 23 patients will be enrolled in the study, consisting of at least 15 adolescent and adult patients between 12 and 50 years of age at
     enrollment, and at least eight pediatric patients less than 12 years of age at enrollment. To be enrolled, patients with TDT and non-β0 /β0
     genotypes must have received at least 100 mL/kg/year of pRBCs or at least eight transfusions per year for the past two years. All patients must
     be eligible for allogeneic HSCT, but without a matched family allogeneic HSCT donor. Subjects in our Northstar-2 study will be treated with our
     LentiGlobin product candidate manufactured using our refined drug product manufacturing process with the objective of increasing the vector
     copy number and the percentage of transduced cells, relative to the drug product manufacturing process used in our Northstar study.
     The primary endpoint of this study is the proportion of treated patients who achieve transfusion independence, defined as weighted average
     hemoglobin levels ≥9.0 g/dL without any pRBC transfusions for a continuous period of at least 12 months at any time during the study after
     treatment. The secondary endpoints of this study are to quantify gene transfer efficiency and expression, and to measure the effects of
     treatment with the LentiGlobin drug product on transfusion requirements post-treatment and clinical events. Safety evaluations to be performed
     during the study include success and kinetics of HSC engraftment, incidence of transplant-related mortality post-treatment, overall survival,
     detection of vector-derived replication-competent lentivirus in any patient and characterization of events of insertional mutagenesis leading to
     clonal dominance or leukemia. Each patient will remain on study for approximately 24 months post-treatment and then will be enrolled in a long-
     term follow-up protocol that will assess safety and efficacy beyond the study protocol’s follow-up period.

                                                                         5
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 58 of 426 PageID #: 3031

     In December 2018, we presented updated clinical data from our Northstar-2 study at the ASH Annual Meeting. All data presented at the ASH
     Annual Meeting and summarized below are as of the data cut-off date of September 14, 2018:
           o Sixteen patients with non-β0 /β0 genotypes, ranging from 8 to 34 years of age, have undergone infusion with LentiGlobin drug product
             in the study, including two pediatric patients and 14 adolescents/ adults.
           o Eleven of these patients had at least three months of follow-up available. Ten of the 11 patients had stopped receiving transfusions
             and had hemoglobin levels ranging from 11.1 to 13.3 g/dL at the time of the last study visit (which occurred at 3 to 18 months post-
             treatment). HbAT87Q levels in these 10 patients ranged from 7.7 to 10.6 g/dL, which significantly contributed to total hemoglobin
             (ranging from 67 to 92 percent of total hemoglobin).
           o An exploratory analysis was conducted with bone marrow from six patients with 12 months of follow-up after treatment. The samples
             were evaluated for cellularity and myeloid to erythroid ratio. In five patients, all of whom had stopped chronic transfusions, an
             increase in the myeloid to erythroid ratio was observed, suggesting improvement in red blood cell production. A low myeloid to
             erythroid ratio is a key feature of dyserythropoesis, or abnormal bone marrow red blood cell production, characteristic of patients with
             TDT.
           o The safety profile of LentiGlobin drug product continues to be consistent with myeloablative conditioning with single-agent busulfan,
             including serious adverse events (SAE) of veno-occlusive liver disease. One SAE of grade 3 thrombocytopenia was reported and
             considered possibly drug product-related.


 •   Northstar-3 study (HGB-212) - phase 3 study for the treatment of patients with TDT and β0 /β0 genotypes or IVS-I-110 mutation
     Our Northstar-3 study is an ongoing single-dose, open-label, non-randomized, international, multi-site phase 3 clinical study to evaluate the
     efficacy and safety of the LentiGlobin product candidate to treat patients with TDT and β0 /β0 genotypes or IVS-I-110 mutation. In November
     2017, we announced that the first patient had been treated in our Northstar-3 study.
     Approximately 15 patients who are less than 50 years of age at enrollment will be enrolled in the study. To be eligible, patients with TDT and β0 /
     β 0 genotypes or IVS-I-110 mutation must have received at least 100 mL/kg/year of pRBCs or at least eight transfusions per year for the past two
     years. All patients must be clinically stable and eligible to undergo HSCT, as well as having been treated and followed for at least the last two
     years in a specialized center that maintained detailed medical records, including transfusion history. Patients in our Northstar-3 study will be
     treated with our LentiGlobin product candidate manufactured using our refined drug product manufacturing process with the objective of
     increasing the vector copy number and the percentage of transduced cells, relative to the drug product manufacturing process used in our
     Northstar study.
     The primary endpoint of this study is the proportion of treated patients who meet the definition of “transfusion reduction”, which is defined as
     demonstration of reduction in volume of pRBC transfusion requirements (in mL/kg) in the post-treatment time period of months 12 to 24
     compared to the average annual transfusion requirement in the 24 months prior to enrollment. The secondary endpoints of this study are to
     measure the proportion of patients who meet the definition of “transfusion independence” and also quantify gene transfer efficiency and
     expression, and measure the effects of treatment with the LentiGlobin drug product on transfusion requirements post-treatment and clinical
     events. Each patient will remain on study for approximately 24 months post-treatment and then will be enrolled in a long-term follow-up protocol
     that will assess safety and efficacy beyond the study protocol’s follow-up period.
     In December 2018, we presented updated clinical data from our Northstar-3 study at the ASH Annual Meeting. All data presented at the ASH
     Annual Meeting and summarized below are as of the data cut-off date of September 14, 2018, except as otherwise noted:
           o Three patients with TDT and β0 /β0 genotypes or IVS-I-110 mutation had been treated with LentiGlobin.
           o All three patients, including a pediatric patient, had total hemoglobin of greater than 10 g/dL at their last assessment as of November
             19, 2018. Patient 1 had no transfusions following LentiGlobin treatment and their last assessment at month 12, Patient 2 had their last
             transfusion 1.9 months post-treatment and last assessment at month six, Patient 3 had their last transfusion at 1.4 months post-
             treatment and last assessment at month three.
           o The safety profile of LentiGlobin drug product continues to be consistent with myeloablative conditioning with single-agent busulfan.
             No grade 3 or higher drug product-related adverse events have been observed.

                                                                          6
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 59 of 426 PageID #: 3032



 •   The HGB-206 study - phase 1/2 study for the treatment of patients with SCD
     Our HGB-206 study is a single-dose, open-label, non-randomized, multi-site phase 1/2 clinical study in the United States to evaluate the safety
     and efficacy of the LentiGlobin product candidate to treat SCD.
     Up to 50 adult and adolescent patients will be enrolled in the study. Patients must be ≥18 years of age with a diagnosis of sickle cell disease, with
     either βS/βS or βS/β0 genotype. The sickle cell disease must be severe, as defined by recurrent severe VOEs, acute chest syndrome (ACS),
     history of an overt stroke, or echocardiographic evidence of an elevated tricuspid regurgitation jet velocity, an indicator of pulmonary
     hypertension, and patients must have failed to achieve clinical benefit from treatment with hydroxyurea. The patients must also be eligible for
     HSCT. We refer to the patients enrolled under the original study protocol as patients in “Group A.” In October 2016, we announced amendments
     in the study protocol to incorporate several changes with the goal of increasing production of anti-sickling β-globin, such as increasing the
     percentage of transduced cells through manufacturing improvements, increasing target busulfan area under the curve, introducing a minimum
     period of regular blood transfusions prior to stem cell collection, and collecting HSCs from peripheral blood after mobilization with plerixafor
     rather than via bone marrow harvest. We refer to the patients enrolled under the amended study protocol utilizing HSCs from bone marrow
     harvest as patients in “Group B.” We refer to the patients enrolled under the amended study protocol utilizing HSCs from peripheral blood after
     mobilization with plerixafor as patients in “Group C.” In February 2017, we announced that the first patient had been treated under the amended
     study protocol.
     The primary efficacy endpoint for this study is based on βA-T87Q expression and total hemoglobin, and the secondary efficacy endpoint for this
     study is the frequency of VOEs. Safety endpoints include monitoring for laboratory parameters and frequency and severity of adverse events;
     the success and kinetics of HSC engraftment; the incidence of treatment related mortality and overall survival; the detection of vector-derived
     replication-competent lentivirus in any patient; and the characterization of events of insertional mutagenesis leading to clonal dominance or
     leukemia. Each patient will remain on study for approximately 26 months from time of consent and then will be enrolled in a long-term follow-up
     protocol that will assess safety and efficacy beyond the study protocol’s follow up period.
     In December 2018, we presented updated clinical data from our HGB-206 study at the ASH Annual Meeting. All data presented at the ASH
     Annual Meeting and summarized below are as of the data cut-off date as of September 14, 2018:
           o Group A: A total of seven patients have undergone infusion with LentiGlobin drug product in Group A, with up to 39 months of
             follow-up. Consistent HbAT87Q production was observed ranging from 0.7 to 2.8 g/dL at last visit and patients maintained stable total
             hemoglobin levels ranging from 7.6 to 11.8 g/dL at last visit.
           o Group B: Two patients have undergone infusion with LentiGlobin drug product in Group B, with up to 17 months of follow-up.
             HbAT87Q production was higher in Group B patients, ranging from 3.4 to 6.5 g/dL and total hemoglobin levels were stable at 11.0 to
             12.3 g/dL at last visit.
           o Group C: A total of nine patients have undergone infusion with LentiGlobin drug product in Group C.
                      ▪   In the four patients who were six months post treatment, HbAT87Q product ranged from 4.8 to 8.8 g/dL and were comparable
                          to or exceeded the levels of HbS. These patients did not receive a blood transfusion during this time and had total
                          hemoglobin levels ranging from 9.9 to 13.7 g/dL at their last visit.
                      ▪   No VOEs were reported (up to nine months post treatment with LentiGlobin). In an exploratory analysis, key markers of
                          hemolysis, including reticulocyte counts, lactate dehydrogenase (LDH) and total bilirubin concentration had decreased
                          compared to baseline.
                      ▪   To help assess the distribution of HbAT87Q in the red blood cells, we have developed an antibody that recognizes βS, the
                          protein present in HbS. Using this antibody, the amount of βS was measured in the red blood cells obtained from healthy
                          donors (βA/βA), sickle cell trait donors (βS/βA) and patients with sickle cell disease (βS/βS). Clear and distinct distribution of
                          β S was observed in these control samples, with highest expression in the βS/βS samples, followed by βS/βA and no
                          expression of βS in the healthy donor (βA/βA) samples. Initial results from two patients treated with LentiGlobin gene
                          therapy, who were nine months post treatment, showed that nearly all their red blood cells had lower amounts of βS than the
                          β S/βS and the βS/βA control samples. Given that these patients were no longer receiving any blood transfusions, this
                          suggests βS expression was reduced in these patients due to the production of HbAT87Q following treatment with
                          LentiGlobin.
           o The safety profile of the LentiGlobin drug product continues to be consistent with myeloablative conditioning with single-agent
             busulfan. One SAE of myelodysplasia syndrome was reported in a patient who received LentiGlobin approximately three years ago in
             Group A. Analysis of the patient’s cells showed no evidence of vector-mediated insertional oncogenesis, and the independent data
             monitoring committees, along with the treating physician, agreed the SAE was unlikely related to the drug product.

                                                                           7
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 60 of 426 PageID #: 3033



 •   The HGB-205 study - phase 1/2 for the treatment of patients with TDT or SCD
     Our HGB-205 study is a single-dose, open-label, non-randomized, phase 1/2 clinical study at a single site in France to examine the safety and
     efficacy of our LentiGlobin product candidate in up to seven patients with a diagnosis of TDT or SCD. In December 2013, we announced that the
     first patient with TDT had been treated in our HGB-205 study and in October 2014 we announced that the first patient with SCD had been treated
     in our HGB-205 study.
     Patients must be between five and 35 years of age with a diagnosis of TDT or SCD. To be enrolled, patients with TDT must have received at
     least 100 mL/kg/year of pRBCs per year for the past two years. Those with SCD must have failed to achieve clinical benefit from treatment with
     hydroxyurea and have an additional poor prognostic risk factor (e.g., recurrent VOEs or ACS). All patients must be eligible for allogeneic HSCT,
     but without a matched sibling allogeneic HSCT donor. This study is fully enrolled, with four patients with TDT and three patients with SCD
     enrolled in this study.
     The primary objective of our HGB-205 study is to determine the safety, tolerability and success of engraftment of the LentiGlobin drug product.
     The secondary objectives of the study are to quantify gene transfer efficiency and expression, and to measure the effects of treatment with the
     LentiGlobin drug product on disease-specific biological parameters and clinical events. In the case of patients with TDT and SCD, this means
     the volume of pRBC transfusions, and for patients with SCD, it also means the number of VOEs and ACS in each patient, compared with the two-
     year period prior to treatment. Safety evaluations to be performed during the study include success and kinetics of HSC engraftment, incidence
     of transplant-related mortality post-treatment, overall survival, detection of vector-derived replication-competent lentivirus in any patient and
     characterization of events of insertional mutagenesis leading to clonal dominance or leukemia.
     In December 2017, we presented updated clinical data from our HGB-205 study in patients with SCD or TDT at the 59t h Annual Meeting of the
     American Society of Hematology. All data presented and summarized below are as of the data cut-off date of September 20, 2017:
           o All three patients with SCD showed rising HbAT87Q in the first six months following infusion.

                      ▪ Patient 1204 was 13 years old at study enrollment. At 30 months post-drug product infusion, this patient had a total
                         hemoglobin level of 12.4 g/dL, of which 6.1 g/dL was HbAT87Q and 52 percent was anti-sickling hemoglobin. HbAT87Q
                         concentration in this patient has remained stable since approximately nine months post-infusion. The patient continues to
                         show marked clinical improvement.

                      ▪ Patient 1207 was 16 years old at study enrollment. At 9 months following drug product infusion, this patient had a total
                         hemoglobin of 10.0 g/dL, of which 0.7 g/dL was HbAT87Q and 14 percent was anti-sickling hemoglobin). This patient had a
                         pre-treatment history of frequent episodes of VOEs and ACS despite hydroxyurea prior to beginning regular transfusions.
                         Patient 1207 had episodes of ACS and hospitalization at six and eight months post-treatment, and was treated with exchange
                         transfusions.

                      ▪ Patient 1208 was 21 years old at study enrollment. At last follow-up (6.0 months), this patient had a total hemoglobin of 10.6
                         g/dL, of which 2.7 g/dL was HbAT87Q and 46 percent was anti-sickling hemoglobin). This patient had a pre-treatment
                         history of frequent episodes of VOEs and ACS prior to beginning regular transfusions, and was still symptomatic while
                         receiving regular transfusions. Following LentiGlobin treatment, Patient 1208 has had no episodes of VOEs or ACS (with six
                         months follow-up).
           o All four patients with TDT have remained free of chronic transfusions since shortly after receiving LentiGlobin drug product. Patient
             1201 (β0 /βE genotype) has been free of transfusions for 45.2 months with total hemoglobin of 10.1 g/dL at month 42, of which 6.7 g/dL
             was HbAT87Q. Patient 1202 (β0 /βE genotype) has been free of transfusions for 40.1 months with total hemoglobin of 12.9 g/dLat
             month 42, of which 10.1 g/dL was HbAT87Q. Patient 1206 (β0 /βE genotype) has been free of transfusions for 23.8 months with total
             hemoglobin of 11.1 g/dL at month 21, of which 8.0 g/dL was HbAT87Q. Subject 1203, who is homozygous for the severe β+ mutation
             IVS1-110, has been free of transfusions for 20.9 months with total hemoglobin of 8.7 g/dL at month 24, of which 6.7 g/dL was
             HbAT87Q. Three of four patients (1201, 1202 and 1206) were able to begin therapeutic phlebotomy. Patient 1202 subsequently
             discontinued iron chelation and phlebotomy.
           o The safety profile of LentiGlobin drug product continues to be consistent with myeloablative conditioning with single-agent busulfan.
             No drug-product related adverse events have been observed.

                                                                         8
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 61 of 426 PageID #: 3034


The Lenti-D product candidate
Adrenoleukodystrophy
   Overview
    Adrenoleukodystrophy is a rare X-linked, metabolic disorder caused by mutations in the ABCD1 gene which results in a deficiency in
adrenoleukodystrophy protein, or ALDP, and subsequent accumulation of very long-chain fatty acids, or VLCFA. VLCFA accumulation occurs in plasma
and all tissue types, but primarily affects the adrenal cortex and white matter of the brain and spinal cord, leading to a range of clinical outcomes. The
most severe form of ALD, the inflammatory cerebral phenotype, referred to as CALD, involves a progressive destruction of myelin, the protective sheath
of the nerve cells in the brain that are responsible for thinking and muscle control. Symptoms of CALD usually occur in early childhood and progress
rapidly if untreated, leading to severe loss of neurological function and eventual death in most patients. We estimate that approximately 35% to 40% of
boys with ALD will develop CALD.


   Limitations of current treatment options
    Currently, the only effective treatment option for CALD is allogeneic HSCT. In this procedure, the patient is treated with HSCs containing a
functioning copy of the gene contributed by a donor other than the patient. Allogeneic HSCT is an effective treatment option for patients in the earliest
stages of cerebral disease, particularly if done using cells from an unaffected human leukocyte antigen (HLA)-matched sibling donor, which minimizes the
risk associated with allogeneic HSCT. However, the majority of allogeneic HSCT procedures for CALD are carried out with non-sibling matched donor
cells or partially matched related or unrelated donor cells including umbilical cord blood cells because a matched sibling donor is not available. While
safety risks, including transplant-related morbidity and mortality, graft failure, GVHD, and opportunistic infections are of particular concern when
transplants are performed in the absence of a matched sibling donor, the potential for life-threatening risks exists even when an HLA-matched sibling
donor is available. Donor availability and transplant-related risks limit the broader use of allogeneic HSCT.

   As the outcome of HSCT varies with clinical stage of the disease at the time of transplant, early diagnosis of CALD is important. In the United States,
newborn screening for ALD was added in February 2016 to the Recommended Universal Screening Panel, a list of disorders that are screened at birth and
recommended by the Secretary of the U.S. Department of Health and Human Services for states to screen as part of their state universal newborn
screening program. Disorders are chosen based on evidence that supports the potential net benefit of screening, among other factors. An increasing
number of states are including ALD testing in their state newborn screening programs.


Development of the Lenti-D product candidate
    We are developing our Lenti-D product candidate as an autologous treatment of CALD, with the potential to provide the effectiveness seen with
allogeneic HSCT, but without the immunologic risk. Our approach involves the ex vivo insertion of a functional copy of the ABCD1 gene via a lentiviral
vector into the patient’s own HSCs. Following engraftment, we expect the transduced HSCs to differentiate into other cell types, including macrophages
and cerebral microglia, which produce functional ALDP. We believe that the functional ALDP can then enable the local degradation of VLCFAs in the
brain, which in turn can stabilize the disease by preventing further cerebral inflammation and demyelination that are characteristics of CALD.

    We are conducting the Starbeam study (ALD-102), a multi-site, international phase 2/3 study of our Lenti-D product candidate to evaluate its safety
and efficacy in the treatment of patients with CALD. In early 2019, we intend to initiate our planned ALD-104 study, multi-site phase 3 study of our Lenti-
D product candidate for the treatment of patients with CALD, to enable access following completion of enrollment in the Starbeam study, and to evaluate
the suitability of an additional conditioning regimen for use with the Lenti-D product candidate.

    Based on our discussions with the FDA and EMA, we believe that we may be able to seek approval for our Lenti-D product candidate for the
treatment of patients with CALD on the basis of the clinical data from our ongoing Starbeam study, and the ongoing ALD-103 observational study. For
the assessment of efficacy, we expect that the clinical results of the Starbeam study will be compared to a clinically meaningful benchmark based on the
medical literature and data collected in ALD-101, a retrospective analysis that assessed the natural history of CALD as well as outcomes of patients with
CALD who had received allogeneic HSCT. For the assessment of safety, we expect that the clinical results of the Starbeam study will be compared to data
collected from the ALD-103 study, a multinational, multi-site, prospective and retrospective observational study that is running concurrently with the
Starbeam study and is designed to evaluate outcomes of allogeneic HSCT in patients with CALD. We anticipate a potential first submission for
regulatory approval of our Lenti-D product candidate for the treatment of patients with CALD in 2019. Lenti-D has been granted Orphan Drug status by
the FDA and EMA for adrenoleukodystrophy. The FDA has granted Breakthrough Therapy designation and the EMA has granted PRIME eligibility to
the Lenti-D product candidate for CALD.

                                                                             9
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 62 of 426 PageID #: 3035


Clinical results of the Lenti-D product candidate
   •    Completed non-interventional retrospective study (the ALD-101 Study)
        CALD is a rare disease and as such, data on the natural history of the disease, as well as the efficacy and safety profile of allogeneic HSCT is
        limited in the scientific literature. In order to further characterize the natural history of CALD, describe outcomes after HSCT, and identify
        predictors of positive treatment outcomes, we performed a large, multicenter, retrospective chart review and collected data on 72 untreated
        CALD patients, and 65 CALD patients who received allogeneic HSCT. In the study, we collected survival, functional and neuropsychological
        assessments and neuroimaging data for both treated and untreated patients, as available; however, given the retrospective nature of the study,
        we were not able to collect comprehensive data for all patients. Additional analyses were conducted to gain further insight into ongoing risks
        and determinants of successful outcomes after HSCT, identify appropriate populations for treatment, and define endpoints that could be useful
        for future clinical studies.


   •    Starbeam study (ALD-102) - phase 2/3 study for the treatment of patients with CALD
        Our Starbeam study is a single-dose, open-label, non-randomized, international, multi-site phase 2/3 study to evaluate the safety and efficacy of
        the Lenti-D drug product in males with CALD ≤ 17 years of age. We treated the first patient in the Starbeam study in the United States in
        October 2013. We announced that we achieved our enrollment target in September 2018.
        In the study, patients must be age seventeen years or younger with a confirmed diagnosis of active CALD, including elevated levels of plasma
        VLCFA, a Loes score of 0.5 to ≤ 9, inclusive, evidence of gadolinium enhancement and an NFS ≤ 1. Patients with a willing, unaffected 10/10 HLA-
        matched sibling HSCT donor are excluded from the study.
        The primary efficacy endpoint of the study is the proportion of patients who are alive and free of major functional disabilities (MFD) at 24
        months post-treatment. MFDs, which represent end-stage disease, have been characterized as having the most significant impact on the ability
        of patients with CALD to function independently, representing unambiguous and profound neurologic degeneration. These MFDs are: loss of
        communication, no voluntary movement, cortical blindness, tube feeding, wheelchair dependence, and total incontinence. Secondary and
        exploratory endpoints include the following:
              o Changes in neurologic function score (NFS), a 25-point scale used to evaluate the severity of gross neurologic dysfunction by scoring
                15 neurological abnormalities across multiple domains.
              o Changes in Loes score, a 34-point scale designed to objectively measure the extent of demyelination and atrophy in CALD patients,
                based on brain magnetic resonance imagining, or MRI, studies. Increasing Loes scores indicate worsening disease.
              o Gadolinium enhancement (GdE). CALD can progress rapidly and is associated with severe inflammation and disruption of the blood
                brain barrier which can be detected by gadolinium enhancement on brain MRI. Evidence of gadolinium enhancement, referred to by
                clinicians as a gadolinium positive result, is highly predictive of rapid neurologic decline. However, while pre-transplant gadolinium
                status is clearly correlated with rapid disease progression, the kinetics of gadolinium enhancement after clinically successful HCST are
                not well understood. GdE was assessed by magnetic resonance imaging (MRI) every six months following transplant up to 24-months,
                and every 12 months thereafter.
        The primary safety endpoint is the proportion of patients who experience either ≥ Grade 2 acute GVHD or chronic GVHD by 2 years post-
        treatment. Additional safety evaluations include the following: success and kinetics of HSC engraftment, incidence of transplant-related
        mortality; detection of vector-derived replication-competent lentivirus; and characterization and quantification of events related to the location
        of insertion of the functional gene in target cells. Patients will be followed for 24 months post-treatment under this protocol. In accordance with
        applicable guidance from the FDA and EMA, we will be monitoring patients in a separate long-term follow up protocol to evaluate safety for up
        to 15 years, and will also monitor efficacy endpoints to demonstrate a sustained treatment effect.
        In September 2018, we presented updated clinical data at the Society for the Study of Inborn Errors of Metabolism (SSIEM). All data presented
        and summarized below are as of the data cut-off date of April 25, 2018, except as otherwise indicated below:
              o 31 patients are enrolled in the study. Of these 31 patients, 29 have been treated with Lenti-D and the median follow-up for all treated
                patients was 34 months, with a range of 0.4 to 54 months.
              o 17 patients have completed 24 months of follow-up (median of 41.4 months, ranging from 13.4 to 54.0 months), of which 15 patients are
                alive and MFD-free. One patient withdrew from the study and was referred for allogeneic HSCT, and one died following rapid disease
                progression and development of MFDs beginning early in their participation in the study post-treatment.

                                                                            10
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 63 of 426 PageID #: 3036


               o In the 15 patients who completed 24 months of follow-up, 14 were negative for GdE as of their last MRI. Eleven patients in the study
                 had intermittent hazy re-emergence of GdE-positivity at various follow-up assessments, however, post-treatment GdE positivity was
                 markedly reduced in intensity and does not appear to correlate with clinical outcome.
               o In the 15 patients who met 24 months of follow up by April 25, 2018; 14 had an NFS score ≤1 at their last follow-up visit, and one
                 patient had an increase in NFS from 1 to 2, due to vision impairment and non-febrile seizures.
               o An additional 12 patients have received Lenti-D, but have not reached the primary endpoint of 24-month follow-up, there have been
                 no MFDs reported. The median follow-up for this additional cohort of patients is 4.2 months, with a range of 0.4 to 11.7 months. Since
                 SSIEM and as of the Annual Child Neurology Society Meeting in October 2018, one additional patient withdrew from the study at
                 investigator discretion due to neuroimaging changes with no changes in neurological function noted.
               o No acute or chronic GVHD has been reported post-Lenti-D treatment. The safety profile of Lenti-D is generally consistent with
                 myeloablative conditioning with busulfan and cyclophosphamide. Three adverse events (AE) have been deemed potentially related to
                 treatment with Lenti-D and include BK-mediated viral cystitis (grade 3), tachycardia (grade 1), and vomiting (grade 1).


   •    The ALD-103 study - Observational study
        We are also conducting the ALD-103 study, an observational prospective and retrospective data collection study of 60 patients with CALD ≤17
        years of age who received allogeneic HSCT. This study is ongoing and designed to collect efficacy and safety outcomes data in patients who
        have undergone allogeneic HSCT in a period that is contemporaneous with the Starbeam study. We anticipate that our Lenti-D product
        candidate safety and efficacy will be evaluated by the FDA and EMA in light of the data collected in the Starbeam study in conjunction with our
        retrospective observational ALD-101 study and our retrospective and prospective observational ALD-103 study.
        In September 2018, we presented interim clinical data from the ALD-103 study at SSIEM. All data presented and summarized below are as of the
        data cut-off date of April 25, 2018:
               o 41 pediatric patients were enrolled in the ALD-103 study and had undergone allogeneic HSCT. Thirty-one patients received cells from
                 unrelated donors and 10 received cells from a related donor. The median baseline NFS for the group was 0.0, with a range of 0.0 to 4.0.
                 The median Loes score was 3.0, with a range of 0.0 to 16.0. Twenty-five patients had early cerebral disease, defined as having evidence
                 of cerebral disease established by GdE positivity or Loes score ≥0.5, Loes score ≤9.0, and NFS ≤1.
               o Initial results were in line with safety and efficacy outcomes reported in the literature for allogeneic HSCT in patients with CALD. Two-
                 year Kaplan-Meier estimates of MFD-free survival post-allogeneic HSCT, were 78 percent for patients with early disease (n=25) and 71
                 percent for all patients (n=41).
               o Transplant-related mortality was defined as death due to any transplantation-related cause other than disease progression. There were
                 six transplant-related deaths at one year (14.6 percent); 2 among patients with early disease; none of the six patients had a matched
                 sibling donor. Engraftment failure was reported in five patients (12 percent), all with early disease; none of these patients had a
                 matched sibling donor and all received a second transplant.
               o Of the 41 patients who received allogeneic HSCT, 34 percent (n=14) experienced either grade ≥2 acute GVHD or chronic GVHD.
                 Twenty-five percent of patients who received cells from a matched sibling donor experienced either grade ≥2 acute GVHD or chronic
                 GVHD.


Our collaboration with Boston Children’s Hospital in SCD
    We are collaborating with investigators at Boston Children’s Hospital, or BCH, to advance a product candidate that utilizes a lentiviral vector
delivering a short hairpin RNA, or shRNA, embedded in a microRNA, or miRNA, which is commonly known as a shMIR, to suppress the genetic target
BCL11a to upregulate fetal hemoglobin to treat patients with SCD. We have an exclusive license to this program and the related intellectual property from
BCH.

    In December 2018, BCH presented initial clinical data from the investigator-initiated phase I study at the ASH Annual Meeting. All data presented at
the ASH Annual Meeting and summarized here are as of the data cut-off date of July 28, 2018. One patient had received treatment with BCL11a shMIR. In
the patient’s immature red blood cells, expression of the BCL11A protein was reduced by approximately 90 percent compared to levels prior to gene
therapy. At 76 days following treatment this patient had a sustained total hemoglobin level of >10 g/dL and, compared to what was observed pre-gene
therapy, there was a notable absence of irreversibly sickled cells as assessed by peripheral blood smear, a blood test used to identify abnormalities in the
number or shape of blood cells. The safety profile of the drug product was consistent with myeloablative conditioning, and there have been no product-
related adverse events and no SCD-related complications.

                                                                             11
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 64 of 426 PageID #: 3037


Our preclinical research opportunities in severe genetic diseases
    We believe our current gene therapy platform will enable us to develop and test new vectors based on similar viral vector backbones that carry
different gene sequences for other severe genetic diseases. In this way, we believe that we can advance products efficiently through preclinical into
clinical development. We may consider research and development programs targeting other monogenic, genetic diseases that involve cells derived from
HSCs for use in the ex vivo setting. These programs may involve severe genetic and rare diseases that could be developed and potentially
commercialized on our own.

    In addition, we believe our expertise in gene editing and cell transduction also provides an opportunity to develop new products for use in the in vivo
setting. In this case, homing endonucleases and megaTALs that provide a highly specific and efficient way to modify DNA sequences to edit or insert
genetic components would be delivered directly to the disease site (e.g., to the brain, liver or eye) or into the bloodstream of the patient and, in vivo
deliver the genetic material to or modify those target cells. We believe in vivo gene editing opens up additional rare disease and large market indications
where this approach is more appropriate for the disease and targeted cells.


Our Programs in CAR and TCR T Cell Technologies
    Like our programs for HSCs, our T cell-based immunotherapies use a customized lentiviral vector to alter T cells ex vivo, or outside the body, so that
the T cells can recognize specific proteins or protein fragments on the surface of cancer cells in order to kill these diseased cells. T cells that have been
genetically-engineered to make CAR or TCRs are designed to help a patient’s immune system overcome survival mechanisms employed by cancer cells.
CAR T cell technology directs T cells to recognize cancer cells based on expression of specific cell surface antigens, whereas TCR T cell technology
provides the T cells with a specific T cell receptor that recognizes protein fragments derived from either intracellular or extracellular proteins which are
displayed on the tumor cell surface. For both our CAR and TCR T cell technologies, we harvest a patient’s white blood cells in a process called
leukapheresis, activate certain T cells to grow and then use a lentiviral vector to transfer the gene sequences for the CAR or TCR construct into the T cell
DNA. Once returned to the patient, these genetically engineered cells engage the target protein on the cancer cell, triggering a series of signals that
result in tumor cell killing, the production of anti-cancer cytokines, and multiple rounds of cell division to greatly expand the number of these anti-cancer
T cells in the patient. These engineered T cells have the natural “auto-regulatory” capability of normal T cells and once the tumor cells containing the
target antigen are destroyed, the engineered T cells decrease in number, but with the potential to leave a smaller number of memory T cells in the body as
a form of immune surveillance against potential tumor regrowth. The genetically-engineered T cells are designed to supplement a patient’s immune
system and may be further engineered to overcome immune evasion mechanisms employed by cancer cells.

    Our CAR and TCR T cell technologies also bring genomic engineering tools to the immunotherapy field. For instance, we are exploring applications of
our CAR and TCR T cell technologies in combination with novel proteins based on synthetic biology. These technologies may potentially allow our
future T cell-based product candidates to detect the tumor microenvironment or, in the case of future CAR T cell product candidates, to be regulated by
small molecules. In addition, using our gene editing technology, we potentially have a number of additional options to manipulate the genome of the
cancer patient’s T cells to further increase the specificity of the anti-tumor activity and to potentially make these cells even more potent. Specificity and
potency are essential to the development of T cell therapies that can effectively treat solid tumor cancers such as breast, lung and colon cancer. Our
cancer immunotherapy research group is staffed by scientists drawn from both industry and academic research centers that have pioneered the field of T
cell therapy. This team is focused on the next generation of T cell engineering to discover and develop T cell product candidates to treat a variety of
hematologic and solid tumor malignancies.

    Our collaboration with Celgene focuses on CAR T cell product candidates directed against BCMA, a protein expressed on the surface of multiple
myeloma cells, plasma cells and some mature B cells. We are developing, in collaboration with Celgene, our bb2121 and bb21217 product candidates with
the goal of filing for regulatory approval in multiple myeloma on a global basis. We also have collaborations in the field of cancer with Regeneron
Pharmaceuticals, Inc., or Regeneron, for the discovery, development, and commercialization of novel cell therapies; with Medigene AG, through its
subsidiary Medigene Immunotherapies GmbH, to discover TCR product candidates; with Gritstone Oncology, Inc., to validate targets and discover TCR
product candidates; and with TC Biopharm Limited, in the research and development of gamma delta CAR T cells.


The anti-BCMA CAR T cell product candidates: bb2121 and bb21217
   Overview
   In collaboration with Celgene, we are developing the bb2121 and bb21217 product candidates, with the goal of filing for regulatory approval in
multiple myeloma on a global basis. bb2121 and bb21217 both bind to BCMA, a cell surface protein expressed on cancer cells. Multiple myeloma is a
hematologic malignancy that develops in the bone marrow in which normal antibody-producing plasma cells transform into myeloma. The growth of the
cancer cells in the bone marrow blocks production of normal blood cells and antibodies, and also causes lesions that weaken the bone. BCMA is
expressed on normal plasma cells, some mature B cells, and on malignant multiple myeloma cells, but is believed to be is absent from other normal tissues.

                                                                             12
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 65 of 426 PageID #: 3038


   Collaboration with Celgene
    The bb2121 and bb21217 product candidates arose from our multi-year collaboration with Celgene. Since our collaboration arrangement with Celgene
was announced in March 2013, we have worked collaboratively to discover, develop and commercialize CAR T cell product candidates in oncology. Our
collaboration arrangement with Celgene was amended in June 2015 to focus on CAR T cell product candidates targeting BCMA. In March 2018, we
entered into an agreement with Celgene to co-develop and co-promote bb2121 in the United States, in which both parties will share equally in costs and
profits on terms described more fully below under “Strategic collaborations-Our strategic alliance with Celgene.” In September 2017, Celgene exercised its
option to obtain an exclusive worldwide license to develop and commercialize bb21217, and we retain an option to co-develop and co-commercialize this
product candidate.

    In January 2019, Celgene announced that it has entered into a definitive merger agreement under which Bristol-Myers Squibb Company, or BMS, will
acquire Celgene, and that the transaction is expected to be completed in the third quarter of 2019. The acquisition of Celgene by BMS may result in
organizational and personnel changes, shifts in business focus or other developments that may have a material adverse effect on our collaboration with
Celgene. There is no guarantee that BMS will place the same emphasis on the collaboration or on the development and commercialization of the bb2121
or bb21217 product candidates.


Development of the bb2121 and bb21217 product candidates
    In collaboration with Celgene, we are developing the bb2121 and bb21217 product candidates, with the goal for filing for regulatory approval in
multiple myeloma on a global basis. The FDA and EMA have granted Orphan Drug status to both bb2121 and bb21217 product candidates for the
treatment of patients with relapsed and refractory multiple myeloma. The FDA has granted Breakthrough Therapy designation and the EMA has granted
PRIME eligibility to the bb2121 product candidate for relapsed and refractory multiple myeloma. We and Celgene anticipate a potential approval of the
bb2121 product candidate for the treatment of relapsed and refractory multiple myeloma in the second half of 2020.

  For the development of the bb2121 product candidate, Celgene is conducting, or is planning to conduct, the following clinical studies in multiple
myeloma:
   •   CRB-401, an open label, single-arm, multicenter, phase 1 study of patients with relapsed and refractory multiple myeloma. In February 2016 we
       announced that the first patient had been treated in this study. The final patient in this study was treated in February 2018.
   •   KarMMa (MM-001), an open label, single-arm, multicenter, phase 2 study of patients with relapsed and refractory multiple myeloma. In February
       2018, Celgene announced that the first patient had been treated in this registration-enabling study, and in November 2018, Celgene announced
       that enrollment for this study is complete.
   •   KarMMa-2 (MM-002), the planned multi-cohort, open-label, multicenter phase 2 study of patients with relapsed and refractory multiple myeloma
       and in high-risk multiple myeloma. Celgene has announced that it expects to initiate this study in 2019.
   •   KarMMa-3 (MM-003), the planned multicenter, randomized, open-label phase 3 study comparing the efficacy and safety of bb2121 versus
       standard triplet regimens in patients with relapsed and refractory multiple myeloma. Celgene has announced that it expects to initiate this study in
       2019.
   •   A planned multicenter phase 2 study of patients with newly-diagnosed multiple myeloma. Celgene has announced that it expects to initiate this
       study in the second half of 2019.

    For the development of the bb21217 product candidate, we are conducting the CRB-402 study, an open label, single-arm, multicenter, phase 1 study of
patients with relapsed and refractory multiple myeloma. In September 2017, we announced that the first patient had been treated in this study.


Clinical results of bb2121 and bb21217 product candidates
   •    The CRB-401 study - phase 1 study of bb2121 for the treatment of patients with relapsed and refractory multiple myeloma
        Our CRB-401 study is a single-dose, open-label, non-randomized, multi-site phase 1 dose escalation/ dose expansion clinical study in the United
        States to examine the safety and efficacy of our bb2121 product candidate in up to 50 patients with relapsed and refractory multiple myeloma. In
        order to be eligible for CRB-401, patients must have received three prior regimens, including a proteasome inhibitor (PI; bortezomib or
        carfilzomib) and an immunomodulatory agent (IMiD; lenalidomide or pomalidomide), or be “double-refractory” to both a proteasome inhibitor
        and an immunomodulatory agent. In the expansion cohort, patients must have received at least a PI, an IMiD and daratumumab, and be
        refractory to their last line of therapy. Patients receive one cycle of lymphodepletion with cyclophosphamide and fludarabine prior to infusion of
        the bb2121 drug product. In September 2017, we announced that the expansion cohort of the study had been initiated with first patient treated,
        and the final patient enrolled in this study was treated in February 2018.

                                                                            13
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 66 of 426 PageID #: 3039

    The primary endpoint of the study is the incidence of adverse events and abnormal laboratory test results, including dose-limiting toxicities. The
    study also seeks to assess disease-specific response including: complete response (CR), very good partial response (VGPR), and partial
    response (PR) according to the International Myeloma Working Group Uniform Response Criteria for Multiple Myeloma. The study also seeks
    to determine the maximally tolerated dose and recommended dose for further clinical trials. Each patient is followed for up to 60 months post-
    treatment, and then is enrolled in a long-term follow-up protocol that will assess safety and efficacy beyond the 60-month period.
    In June 2018, we and Celgene presented updated clinical data from the CRB-401 study at the American Society of Clinical Oncology Annual
    Meeting, or ASCO. All data presented at ASCO and summarized below are as of the data cut-off date of March 29, 2018:
          o 43 patients had been enrolled and treated in either the dose-escalation cohort of the study, at four dose levels (50 x 106 , 150 x 106 , 450 x
            106 and 800 x 106 CAR T cells), or in the dose expansion cohort in a dose range between 150 and 450 x 106 CAR T cells. Patients in the
            study were heavily pre-treated, with a median of seven prior myeloma treatment regimens (with a range of 3 to 14) in the dose
            escalation cohort (n=21), and with a median of eight prior regimens (with a range of 3 to 23) in the dose expansion cohort (n=22).
            Approximately 90% of the patients had received prior treatment with two IMiD therapies, two proteasome inhibitors, daratumumab and
            an autologous stem cell transplant.
          o Response outcomes in patients evaluable for efficacy, with at least 2 months of response data or progressive disease/ death within 2
            months were as follows:
            CAR T cell dose level                                  50 x 106                      150 x 106                   > 150 x 106
            N                                                         3                             14                            22
            Median follow up (min, max)                        84 days (59, 94)              87 days (36, 638)           194 days (46, 556)
            Measures:
            Overall response rate (ORR)                             33.3%                         57.1%                         95.5%
            Complete response (CR)                                   0%                           42.9%                          50%
            Very good partial response (VGPR)                        0%                            7.1%                         36.4%
            Median duration of response (mDOR)                   1.9 months                   Not estimable                 10.8 months
          o    Responses were dose-related and observed for both low and high BCMA expression levels. In patients treated with 450 x 106 CAR T
               cells whose myeloma cells expressed low levels of BCMA (0 to 50% of cells BCMA positive), 8 of 8 had a response. In those
               expressing high BCMA (≥50% BCMA positive), 10 of 11 had a response.
          o    The median progression-free survival (PFS) estimate for patients in the dose-escalation phase treated at active doses (≥150 x 106
               CAR T cells) was 11.8 months (95% CI 8.8, NE), while patients receiving 50 x 106 CAR T cells had a median PFS of 2.7 months (95%
               CI 1.0, 2.9).
          o    In the dose-escalation and expansion phase of the study, all patients who responded and were evaluable for minimal residual disease
               (MRD as measured by adaptive next-generation sequencing assay) (n=16) were MRD negative at one or more time points.
               Additionally, two patients who did not have a response and were evaluated for MRD were MRD positive at month one. The median
               PFS estimate in MRD negative responders (n=16) was 17.7 months (95% CI: 5.8, NE).
          o    Among all infused patients (n=43), 63% had cytokine release syndrome (CRS), mostly Grade 1 & 2, with 2 patients experiencing
               Grade 3 CRS (5%). Nine patients (21%) received tocilizumab, including 4 patients (9%) who also received steroids and the median
               duration of CRS was 6 days (1, 32). For patients receiving 150 x 106 CAR T cells (n=18), the rate of CRS was 39% with no grade 3
               cases. For patients receiving ≥150 x 106 CAR T cells (n=22), the rate of CRS was 82% with 9.1% of patients experiencing grade 3
               events. Also among all infused patients, there were 14 patients (33%) who experienced neurotoxicity, with one patient experiencing a
               grade 3 or higher event. Other frequent Grade 3/4 AEs included cytopenias commonly associated with lymphodepleting
               chemotherapy such as neutropenia (79%), thrombocytopenia (51%) and anemia (44%), as well as infection (any grade) with a
               frequency of 61% overall and 23% in the first month. Grade 3 or higher infection occurred with a frequency of 21% overall and 5% in
               the first month.

                                                                        14
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 67 of 426 PageID #: 3040



   •    The CRB-402 study - phase 1 clinical study of bb21217 for the treatment of patients with relapsed and refractory multiple myeloma
        Our CRB-402 study is a single-dose, open-label, non-randomized, multi-site phase 1 dose escalation/ dose expansion clinical study in the United
        States to examine the safety and efficacy of our bb21217 product candidate in up to 50 patients with relapsed and refractory multiple myeloma. In
        order to be eligible for CRB-402, patients must have received three prior regimens, including a proteasome inhibitor (PI: bortezomib or
        carfilzomib) and immunomodulatory agent (IMiD: lenalidomide or pomalidomide), or be “double-refractory” to both a proteasome inhibitor and
        an immunomodulatory agent. In the expansion cohort, patients must have received at least a PI, and IMiD and daratumumab, and be refractory
        to their last line of therapy. Patients receive one cycle of lymphodepletion with cyclophosphamide and fludarabine prior to infusion of the
        bb21217 drug product. In September 2017, we announced the treatment of the first patient with relapsed and refractory multiple myeloma in this
        study.
        The primary endpoint of the study is the incidence of adverse events and abnormal laboratory test results, including dose-limiting toxicities. The
        study also seeks to assess disease-specific response including: complete response (CR), very good partial response (VGPR), and partial
        response (PR) according to the International Myeloma Working Group Uniform Response Criteria for Multiple Myeloma. The study also seeks
        to determine the maximally tolerated dose and recommended dose for further clinical trials. Each patient will be followed for up to 60 months
        post-treatment, and then will be enrolled in a long-term follow-up protocol that will assess safety and efficacy beyond the 60-month period.
        In December 2018, we and Celgene presented clinical data from the CRB-402 study at the ASH Annual Meeting. All data presented at the ASH
        Annual Meeting and summarized below are as of the data cut-off date of October 18, 2018:
               o 12 patients had been enrolled and treated in the dose-escalation cohort of the study, all at the 150 x 106 CAR T cells dose level.
                 Patients had a median age of 63 years (with a range of 44 to 69 years). They had received a median of seven prior lines of therapy
                 (with a range of 4 to 17 lines) and 83 percent of patients received a prior autologous stem cell transplant. Fifty-eight percent (n=7) of
                 patients had high-risk cytogenetics.
               o The median follow-up after treatment was 26 weeks (with a range of 4 to 51 weeks). The primary endpoint is safety measured by
                 frequency of adverse events (AEs), dose limiting toxicity (DLT) and changes in laboratory results. Secondary endpoints include
                 disease specific response criteria based on the International Myeloma Working Group (IMWG) Uniform Response Criteria for
                 Multiple Myeloma.
               o Of the 12 patients who received treatment with bb21217, 83 percent (n=10) achieved an objective clinical response by IMWG criteria.
                 As of the data extract, responses are ongoing in nine of 10 patients, including three with a complete response (CR) or stringent
                 complete response (sCR), two with a very good partial response (VGPR) and four with a partial response (PR).
               o Evidence of myeloma in the bone marrow, known as minimal residual disease (MRD), was undetectable at a minimum of two time
                 points, by next-generation sequencing at a sensitivity level of 10-5 or better in all responders who had evaluable bone marrow
                 samples (n=4) with some as early as day 15.
               o CAR T cell expansion was observed during the first 30 days following treatment in all evaluable patients (n=11) with anti-BCMA CAR
                 T cells showing sustained persistence in all patients (3/3) with six or more months of follow-up.
               o The safety results were manageable and consistent with known toxicities of CAR T therapies. Eight of the 12 patients (67 percent)
                 treated with bb21217 developed cytokine release syndrome (CRS); four Grade 1, three Grade 2, one Grade 3 case and no Grade 4 cases.
                 Additionally, three of the 12 patients (25 percent) experienced neurotoxicity, including one Grade 1, one Grade 2 and one Grade 4 case.
                 All CRS and neurotoxicity events resolved and no deaths occurred on study. Following the Grade 4 neurotoxicity event, patients were
                 divided into two groups based on tumor burden and dosing continued at 150 x 106 CAR T cells for a total of 12 patients treated at this
                 dose level.


Our other preclinical research opportunities in cancer
   We are pursuing multiple programs that leverage the unique properties of lentiviral vectors to target T cells as a therapy for various cancers. This
represents a direct application of our expertise in gene therapy and our capabilities, know-how and patents associated with lentiviral gene therapy and
gene editing for ex vivo applications. We have programs at various stages of research and preclinical development through our collaborations with
Regeneron, Medigene AG, Gritstone Oncology, Inc., and TC Biopharm Limited against a variety of targets relevant to both hematologic and solid tumors.
We also have academic collaborations at various stages or research and preclinical development at the University of North Carolina and the Fred
Hutchinson Cancer Research Center. We are also independently researching and developing other CAR T cell product candidates against a variety of
cancer targets.

                                                                            15
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 68 of 426 PageID #: 3041


Our Gene Editing Capabilities
    In June 2014, we acquired Pregenen, a privately-held biotechnology company headquartered in Seattle, Washington. Through the acquisition, we
obtained rights to Pregenen’s gene editing technology platform and cell signaling technology. Since the acquisition, we have integrated these
technologies and research team and we have expanded the scope of our research efforts in this area. We are focused on utilizing homing endonuclease
and megaTAL gene editing technologies in a variety of potential applications and disease areas, including for oncology and hematology. Homing
endonucleases and megaTALs are novel enzymes that provide a highly specific and efficient way to modify the genome of a target cell to potentially
treat a variety of diseases.

    All of the gene-editing technologies currently being explored by the pharmaceutical industry, including zinc finger nucleases, CRISPR/Cas9, and
TALENs, share common features of a DNA binding domain and a DNA cleavage domain. They all differ in specificity, size, ease of delivery and as
naturally occurring versus engineered nucleases. Homing endonucleases and megaTALs are based on a naturally-occurring class of DNA cleaving
enzymes that function as monomeric proteins able to bind DNA in a sequence-specific manner and cleave their target site. We believe there are multiple
advantages of homing endonucleases and megaTALs compared to other gene editing technologies, most notably: they are highly specific and efficient
in cutting DNA and their compact size simplifies delivery to therapeutically relevant cell types. We are using our gene editing platform, along with
collaborations with multiple academic institutions, to potentially discover and develop next generation versions of our current ex vivo gene therapy
product candidates, and to potentially expand into new disease indications.


Manufacturing
   Our gene therapy platform has two main components: lentiviral vector production and the target cell transduction process, which results in drug
product.


Our lentiviral manufacturing process
    Our lentiviral vectors are assembled using a human cell line called HEK293T. The HEK293T cells are maintained in disposable flasks until sufficient
cell mass has been generated to fill approximately 40 ten tray cell factories, or TTCFs, then transferred and allowed to adhere to the bottom of the trays.
Adherent cells are transfected with multiple plasmids encoding all the genetic material required to assemble the lentiviral vector carrying the functional
gene of interest. The transfected HEK293T cells then assemble our lentiviral vectors packaged with the functional gene of interest, which bud off into the
cell culture media. The media containing the assembled vectors is harvested, purified, concentrated and formulated prior to freezing for storage. These
finished lentiviral vectors are what is ultimately used to transduce the targeted cells isolated from the patient.

   We believe that our lentiviral vectors have broad applicability, since the majority of the viral production system can remain the same, while we change
only the therapeutic gene “cassette” depending on the disease. In other words, the vector “backbone” stays the same, while only the therapeutic gene
and related sequences are changed. If we were to undertake drug development in an additional indication, we believe we could rapidly move forward
using this lentiviral vector backbone and associated assays, simply by switching the therapeutic gene insert and associated control elements.

   Although we intend to continue manufacturing our Lenti-D vectors in TTCFs, we are adapting our LentiGlobin, bb2121 and bb21217 vector
production technology to scalable production systems with the potential to satisfy an increased number of patients per manufacturing cycle, and we
have demonstrated successful production of our LentiGlobin, bb2121 and bb21217 vectors at the scale we believe will support potential commercial
demand. We intend to use a mix of internal and third-party manufacturing capabilities to accommodate future demand for our drug candidates, if
approved, in their current indications as well as those beyond our initial focus.


Our HSC transduction process in severe genetic disease
   In severe genetic disease, the ultimate product of our manufacturing processes is the patient’s own gene-modified HSC cells, which we refer to as our
drug product. The process for producing drug product for our HSC-based product candidates is as follows:
   1. Selection: We extract HSCs from peripheral blood mononuclear cells obtained from the patient’s blood by apheresis following mobilization via a
      colony stimulating factor (or previously in SCD, by bone marrow harvest). The process is carried out using existing hospital infrastructure and
      standard protocols currently in place for stem cell transplant procedures, with enhanced controls for extracting the cells to be used for making our
      drug product.
   2. Pre-stimulation: The isolated HSCs are treated with a mixture of growth factors that help enable an efficient transduction process.

                                                                            16
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 69 of 426 PageID #: 3042


   3. Transduction: The isolated, purified and pre-treated HSCs are exposed to our lentiviral vectors containing the appropriate functional gene and
      additional proprietary elements for a period of time to facilitate transduction and insertion of the therapeutic DNA into the genome of the target
      cells.
   4. Final harvest: Once transduction is complete, the gene-modified HSCs are washed and re-suspended into cell culture media to remove any residual
      impurities. A portion of the harvested cells is removed for quality control release testing, which includes ensuring that transduction was successful
      and the functional gene delivered by the vector is adequately expressed by the target cells.
   5. Formulation and freeze: The remaining cells are appropriately formulated and cryopreserved.

   The final step is to return the gene-modified HSCs to the patient.


Our T cell transduction process in cancer
   In cancer, the ultimate product of our manufacturing processes is the patient’s own gene-modified T cells, which we refer to as our drug product. The
process for producing drug product for our T cell-based product candidates is as follows:
   1. Leukapheresis: We collect white blood cells from the patient’s blood through a process called leukapheresis. The process is carried out using
      existing hospital infrastructure and standard protocols currently in place for blood donation procedures, with enhanced controls for extracting the
      cells to be used for making our drug product.
   2. Activation: The white blood cell mixture, which includes T cells, is treated with proprietary processes to enable an efficient transduction process.
   3. Transduction: The isolated, purified and pre-treated T cells are exposed to our lentiviral vectors containing the appropriate functional gene for a
      period of time to facilitate transduction and insertion of the therapeutic DNA into the genome of the target cells.
   4. Expansion: The transduced T cells are then expanded for a period of approximately one week to increase the number of gene-modified T cells.
   5. Final harvest: The gene-modified T cells are washed and re-suspended into cell culture media to remove any residual impurities. A portion of the
      harvested cells is removed for quality control release testing, which includes ensuring that transduction was successful and the functional gene
      delivered by the vector is adequately expressed by the target cells.
   6. Formulation and freeze: The remaining cells are appropriately formulated and cryopreserved.

   The final step is to return the gene-modified T cells to the patient.


Manufacturing Arrangements
    In November 2017, we purchased a partially completed manufacturing facility located in Durham, North Carolina for $11.5 million. We acquired this
125,000 square foot facility to provide manufacturing capacity for our lentiviral vectors in support of our current and planned gene and cell therapy
product candidates. We currently expect that our facility will begin to produce lentiviral vector in 2021. We have also entered into multi-year agreements
with external manufacturing partners in the United States and Europe (Brammer Bio, Novasep and SAFC Carlsbad, Inc., or SAFC, a subsidiary of
MilliporeSigma), which are partnering with us on production of lentiviral vector across all of our programs. In addition, we have entered into multi-year
agreements with Lonza Houston, Inc. and apceth Biopharma, or apceth, to produce drug product for Lenti-D, LentiGlobin and bb21217. Currently, SAFC
is the sole manufacturer of the lentiviral vector and apceth is the sole manufacturer of the drug product to support our potential commercial launch of
LentiGlobin in Europe for the treatment of TDT. In our manufacturing agreement with SAFC, we are required to provide rolling forecasts for products on a
quarterly basis, a portion of which will be considered a binding, firm order, subject to a purchase commitment. In our manufacturing agreement with
apceth, we reserve production capacity for the manufacture of our drug product. In January 2019, apceth announced that it has entered into an
agreement to be acquired by Hitachi Chemical Co. Ltd., in a transaction expected to close in April 2019. Celgene manufactures drug product for bb2121.
We believe our team of technical personnel has extensive manufacturing, analytical and quality experience as well as strong project management
discipline to effectively oversee these contract manufacturing and testing activities, and to compile manufacturing and quality information for our
regulatory submissions and potential commercial launch. We are engaging in negotiations with apheresis centers that will be the centers for collection of
HSCs from the patient and for infusion of drug product to the patient. For the treatment of patients with our drug product in the commercial setting, we
intend to partner with participating apheresis centers, which we refer to as qualified treatment centers. In anticipation of the potential regulatory approval
of LentiGlobin in Europe, we expect to first engage qualified treatment centers in Germany, Italy, and the United Kingdom in 2019.

                                                                             17
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 70 of 426 PageID #: 3043


Commercial Operations
    Subject to approval from the EMA of our LentiGlobin product candidate for the treatment of adult and adolescent patients with TDT and non-β0 /β0
genotypes, we expect to launch LentiGlobin in various jurisdictions in Europe in 2019. As we plan our potential transition into a commercial-stage
company, we have started to build commercial operations in the United States and Europe with a goal of delivering LentiGlobin to patients through
qualified treatment centers. In the course of preparing for a potential commercial launch in 2019, we have begun a staged build of commercial capabilities
by adding employees with broad experience in quality assurance and compliance, medical education, marketing, supply chain, sales, public policy, patient
services, market access and product reimbursement. We expect to continue expansion of these capabilities throughout 2019 and beyond as we continue
to implement appropriate quality systems, compliance policies, systems and procedures, as well as internal systems and infrastructure in order to support
our complex supply chain, qualify and train treatment centers, establish patient-focused programs, educate healthcare professionals, and secure
reimbursement. The timing and conduct of these commercial activities will be dependent upon regulatory approvals and on agreements we have made or
may make in the future with strategic collaborators. As part of the commercialization process, we are engaged in discussions with stakeholders across the
healthcare system, including public and private payors, patient advocates and organizations, professional societies, and healthcare providers, to explore
new payment models that we hope will enable access to more patients. Ultimately, we intend to utilize the commercial infrastructure that we build to
support the potential for multiple product launches sequentially across multiple geographies. For many territories and countries, we may also elect to
utilize strategic partners, distributors, or contract field-based teams to assist in the commercialization of our products.
Strategic Collaborations
   Our objective is to develop and commercialize products based on the transformative potential of gene therapy to treat patients with severe genetic
diseases and cancer. To access the substantial funding and other resources required to develop and commercialize gene therapy products in these
diseases, we have formed, and intend to seek other opportunities to form, strategic collaborations with third parties who can augment our industry
leading gene therapy, T cell immunotherapy, lentiviral vector and gene-editing expertise. To date, we have focused on forging a limited number of
significant strategic collaborations with leading pharmaceutical companies and academic research centers where both parties contribute expertise to
enable the discovery and development of potential product candidates.

   Our strategic collaborations include relationships with:
   •   Celgene, in the development of the bb2121 and bb21217 product candidates in multiple myeloma;
   •   Regeneron, in the discovery, development, and commercialization of novel cell therapies for cancer;
   •   Medigene AG, to discover TCR product candidates in the field of cancer;
   •   Gritstone Oncology, Inc., to validate targets and discover TCR product candidates in the field of cancer; and
   •   TC BioPharm Limited, in the research and development of gamma delta CAR T cells directed at hematologic and solid tumor targets.


Our collaboration with Celgene
    In March 2013, we announced a strategic collaboration with Celgene to discover, develop and commercialize chimeric antigen receptor-modified T
cells, or CAR T cells, as potentially disease-altering gene therapies in oncology, which was amended and restated in June 2015, and amended again in
February 2016 and in September 2017. The multi-year research and development collaboration focused on applying our expertise in gene therapy
technology to CAR T cell-based therapies, to target and destroy cancer cells. The research collaboration term ended in June 2018, with the bb2121 and
bb21217 product candidates arising from the collaboration.

    In February 2016, Celgene exercised its option with respect to the bb2121 product candidate, and we exclusively licensed to Celgene the worldwide
rights to develop and commercialize the bb2121 product candidate, while retaining an option to co-develop and co-promote the bb2121 product candidate
in the United States. In connection with its exercise of its option to obtain an exclusive license, Celgene paid to us an option fee in the amount of $10.0
million. In March 2018, we exercised our option to co-develop and co-promote the bb2121 product candidate in the United States. Under the terms of the
co-development and co-promotion agreement that we have with Celgene for the development and commercialization of bb2121, we share equally in all
costs relating to developing, commercializing and manufacturing the product candidate within the United States and we would share equally in the
United States profits. We are also entitled to receive up to $10.0 million in clinical milestone payments and outside of the United States, up to $54.0 million
in regulatory milestone payments and up to $36.0 million in commercial milestone payments. In addition, to the extent that bb2121 is commercialized, we
are entitled to receive tiered royalty payments ranging from the mid-single digits to low-teens based on a percentage of net sales generated outside of the
United States. The royalties payable to us are subject to certain reductions, including any royalty payments required to be made by Celgene to acquire
patent rights, with an aggregate minimum floor.

                                                                              18
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 71 of 426 PageID #: 3044


    Effective as of September 2017, Celgene has exercised its option with respect to the bb21217 product candidate, and we have exclusively licensed to
Celgene the worldwide rights to develop and commercialize the bb21217 product candidate, while retaining an option to co-develop and co-promote the
bb21217 product candidate in the United States on terms substantially similar to the co-development and co-promotion arrangement for the bb2121
product candidate. In connection with its exercise of its option to obtain an exclusive license, Celgene paid to us an option fee in the amount of $15.0
million. Under the terms of the license agreement with Celgene for the exclusive rights to the development and commercialization of bb21217, we are and
will be responsible for conducting and funding all research and development activities performed up through completion of the CRB-402 study. Celgene
has agreed to reimburse us a specified amount per patient in the event we and Celgene mutually agree to expand the trial beyond a specified number of
patients per clinical trial. In addition, if we do not exercise our option to co-develop and co-promote the bb21217 product candidate in the United States,
we will also be eligible to receive up to $10.0 million in clinical milestone payments, up to $117.0 million in regulatory milestone payments and up to $78.0
million in commercial milestone payments, as well as a percentage of net sales as a royalty in a range from the mid-single digits to low-teens. The royalties
payable to us are subject to certain reductions, including for any royalty payments required to be made by Celgene to acquire patent rights, with an
aggregate minimum floor. Celgene will assume certain development obligations and must report on their progress in achieving these milestones on a
quarterly basis.

   Our collaboration with Celgene is governed by a joint governance committee, or JGC, formed by representatives from us and Celgene. The JGC,
among other activities, reviews and approves development and commercialization plans and budgets for activities in the United States. The parties share
responsibility for the manufacture and supply of the bb2121 product candidate and, if we exercise our option to co-develop and co-promote, of the
bb21217 product candidate. Prior to the exercise of our option to co-develop and co-promote the bb21217 product candidate, Celgene is solely
responsible for all costs and expenses of manufacturing and supplying the bb21217 product candidate beyond the requirements for conducting the CRB-
402 study. Subject to customary “back-up” supply rights granted to Celgene, we have the sole right to manufacture or have manufactured supplies of
vectors and associated payloads manufactured for incorporation into the optioned product candidates. Celgene will reimburse us for our costs to
manufacture and supply such vectors and associated payloads, plus a mark-up.

   We received an initial up-front payment of $75.0 million from Celgene in connection with the collaboration, plus an additional $25.0 million in
connection with the amendment in June 2015. Either party may terminate the agreements upon written notice to the other party in the event of the other
party’s uncured material breach. Celgene may terminate the agreement for any reason upon prior written notice to us. If the agreements are terminated,
rights to product candidates in development at the time of such termination will be allocated to the parties through a mechanism included in the
agreements. In addition, if Celgene has the right to terminate any co-development and co-promotion agreement or license agreement for our breach,
Celgene may elect to continue such agreement however, any amounts payable by Celgene to us under such agreement will be reduced.

    In January 2019, Celgene announced that it has entered into a definitive merger agreement under which BMS will acquire Celgene, and that the
transaction is expected to be completed in the third quarter of 2019. The acquisition of Celgene by BMS may result in organizational and personnel
changes, shifts in business focus or other developments that may have a material adverse effect on our collaboration with Celgene. There is no
guarantee that BMS will place the same emphasis on the collaboration or on the development and commercialization of the bb2121 or bb21217 product
candidates.


Intellectual property
    We strive to protect and enhance the proprietary technology, inventions, and improvements that are commercially important to the development of
our business, including seeking, maintaining, and defending patent rights, whether developed internally or licensed from third parties. We also rely on
trade secrets relating to our proprietary technology platform and on know-how, continuing technological innovation and in-licensing opportunities to
develop, strengthen and maintain our proprietary position in the field of gene therapy that may be important for the development of our business. We
additionally rely on regulatory protection afforded through orphan drug designations, data exclusivity, market exclusivity, and patent term extensions
where available.

   Our commercial success may depend in part on our ability to obtain and maintain patent and other proprietary protection for commercially important
technology, inventions and know-how related to our business; defend and enforce our patents; preserve the confidentiality of our trade secrets; and
operate without infringing the valid enforceable patents and proprietary rights of third parties. Our ability to stop third parties from making, using, selling,
offering to sell or importing our products may depend on the extent to which we have rights under valid and enforceable patents or trade secrets that
cover these activities. With respect to both licensed and company-owned intellectual property, we cannot be sure that patents will be granted with
respect to any of our pending patent applications or with respect to any patent applications filed by us in the future, nor can we be sure that any of our
existing patents or any patents that may be granted to us in the future will be commercially useful in protecting our commercial products and methods of
manufacturing the same.

                                                                              19
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 72 of 426 PageID #: 3045


    We have developed or in-licensed numerous patents and patent applications and possess substantial know-how and trade secrets relating to the
development and commercialization of gene therapy products. Our proprietary intellectual property, including patent and non-patent intellectual property,
is generally directed to, for example, certain genes, transgenes, methods of transferring genetic material into cells, genetically modified cells, processes to
manufacture our lentivirus-based product candidates and other proprietary technologies and processes related to our lead product development
candidates. As of January 31, 2019, our patent portfolio includes the following:
   •   approximately 235 patents or patent applications that we own or have exclusively in-licensed from third parties related to lentiviral vectors and
       vector systems;
   •   approximately 34 patents or patent applications that we have non-exclusively in-licensed from third parties related to lentiviral vectors and vector
       systems;
   •   approximately 53 patents or patent applications that we own or have exclusively in-licensed from third parties, including eight that are co-owned
       with MIT, related to vector manufacturing or production;
   •   approximately 104 patents or patent applications that we own or have exclusively or co-exclusively in-licensed from third parties related to
       therapeutic cellular product candidates;
   •   approximately 324 patents or patent applications that we own or have exclusively in-licensed or optioned from third parties related to oncology
       product candidates, including CAR T cell vector systems and manufacturing, T cell manufacturing, and therapeutic T cells;
   •   approximately 142 patents or patent applications that we own or have exclusively or co-exclusively in-licensed from third parties related to gene
       editing compositions and methods; and
   •   approximately 44 patent applications that we have non-exclusively in-licensed from third parties related to gene editing compositions and
       methods.

   Our objective is to continue to expand our portfolio of patents and patent applications in order to protect our gene therapy product candidates
manufacturing processes. Examples of the products and technology areas covered by our intellectual property portfolio are described below. See also “-
License agreements.” From time to time, we also evaluate opportunities to sublicense our portfolio of patents and patent applications that we own or
exclusively license, and we may enter into such licenses from time to time.


β-thalassemia/SCD
   The β-thalassemia/SCD program includes the following patent portfolios described below.
   •   Pasteur Institute. The Pasteur patent portfolio contains patent applications directed to FLAP/cPPT elements and lentiviral vectors utilized to
       produce our LentiGlobin product candidate for β-thalassemia and SCD. As of January 31, 2019, we had an exclusive license to ten issued U.S.
       patents and one pending U.S. patent application. Corresponding foreign patents include issued patents in Australia, Canada, China, Europe, Hong
       Kong, Israel, and Japan. We expect the issued composition of matter patents to expire from 2019-2023 in the United States, and from 2019-2020 in
       the rest of the world (excluding possible patent term extensions). Further, we expect composition of matter patents, if issued from the pending
       patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2019-2020 (excluding
       possible patent term extensions). We expect any other patents and patent applications in this portfolio other than composition of matter patents, if
       issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2019-2020 (worldwide, excluding
       possible patent term extensions).
   •   RDF. The in-licensed patent portfolio from Research Development Foundation, or RDF, in part, contains patents and patent applications directed
       to aspects of our lentiviral vectors utilized to produce our LentiGlobin product candidate for β-thalassemia and SCD. As of January 31, 2019, we
       had an exclusive license (from RDF) to eight issued U.S. patents related to our lentiviral vector platform. Corresponding foreign patents and patent
       applications related to our lentiviral vector platform include pending applications or issued patents in Canada, Europe, and Israel. We expect the
       issued composition of matter patents to expire from 2021-2027 (excluding possible patent term extensions). Further, we expect composition of
       matter patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are
       paid, to expire in 2021-2022 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio other
       than composition of matter patents, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in
       2021-2022 (worldwide, excluding possible patent term extensions).

                                                                              20
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 73 of 426 PageID #: 3046


  •   MIT/bluebird bio. This co-owned patent portfolio contains patents and patent applications directed to certain specific compositions of matter for
      lentiviral β-globin expression vectors. As of January 31, 2019, we co-owned three issued U.S. patents and one pending U.S. patent application, as
      well as corresponding foreign patents issued in Europe and Hong Kong. We expect the issued composition of matter patents to expire in 2023
      (excluding possible patent term extensions). Further, we expect composition of matter patents, if issued from the pending patent applications and if
      the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2023 (excluding possible patent term extensions).
      We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
      governmental fees are paid, to expire in 2023 (worldwide, excluding possible patent term extensions). We note that we have an exclusive license to
      MIT’s interest in this co-owned intellectual property.
  •   Children’s Medical Center Corporation (CMCC)/bluebird bio. This co-owned patent portfolio contains patent applications directed to certain
      specific compositions of matter for treating β-thalassemia/SCD. As of January 31, 2019, we co-owned one pending PCT application. We expect any
      composition of matter or methods patents, if issued from a corresponding nonprovisional application or national stage application, or
      corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to
      expire in 2038 (worldwide, excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
      issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2038 (worldwide, excluding possible
      patent term extensions). We note that we have an option to exclusively license CMCC’s interest in this co-owned intellectual property.

  Our β-thalassemia/SCD research program also includes the additional patent portfolio described below.
  •   β-thalassemia/SCD Product Candidate Licenses. We have in-licensed patents and patent applications that are directed to certain specific
      compositions of matter and methods for treating β-thalassemia/SCD. As of January 31, 2019, we had an exclusive license to two pending U.S.
      patent applications and 24 pending corresponding foreign applications. We expect any composition of matter or method patents, if issued from the
      pending patent applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in
      2035 (worldwide, excluding possible patent term extensions). We expect any other patents in this portfolio, if issued, and if the appropriate
      maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2035 (worldwide, excluding possible patent term extensions). In
      addition, as of January 31, 2019, we had a non-exclusive license to three issued U.S. patents, one pending U.S. patent application, and ten pending
      corresponding foreign patent applications and 19 issued foreign patents. We expect the issued composition of matter and method patents to
      expire in 2029 in the United States and in the rest of the world (excluding possible patent term extensions). We expect any composition of matter or
      method patents, if issued from the pending patent applications, if applicable, and if the appropriate maintenance, renewal, annuity or other
      governmental fees are paid, to expire in 2029 (worldwide, excluding possible patent term extensions). We expect any other patents in this portfolio,
      if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2029 (worldwide, excluding
      possible patent term extensions.


Cerebral Adrenoleukodystrophy (CALD)
  The CALD program includes the following patent portfolios described below.
  •   Pasteur Institute. The in-licensed Pasteur patent portfolio contains the patents and patent applications described above directed towards aspects
      of our lentiviral vectors utilized to produce our Lenti-D product candidate for CALD.
  •   RDF. The in-licensed RDF patent portfolio contains the patents and patent applications described above directed towards aspects of our lentiviral
      vectors utilized to produce our Lenti-D product candidate for CALD.
  •   bluebird bio. The bluebird bio patent portfolio contains patent applications directed to compositions of matter for CALD gene therapy vectors and
      compositions and methods of using the vectors and compositions in cell-based gene therapy of adrenoleukodystrophy or
      adrenomyeloneuropathy. As of January 31, 2019, we owned three U.S. patents and five pending corresponding foreign applications and 26 issued
      foreign patents. We expect the issued composition of matter patents for CALD gene therapy vectors to expire in 2032 (excluding possible patent
      term extensions). Further, we expect composition of matter or method patents, if issued from the pending patent applications and if the appropriate
      maintenance, renewal, annuity or other governmental fees are paid, to expire in 2032 (worldwide, excluding possible patent term extensions). We
      expect any other patents in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to
      expire in 2032 (worldwide, excluding possible patent term extensions).

                                                                           21
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 74 of 426 PageID #: 3047


Multiple Myeloma
   The multiple myeloma program includes the following patent portfolios described below.
   •   Pasteur Institute. The in-licensed Pasteur patent portfolio contains patents and patent applications described above that are directed towards
       aspects of our lentiviral vectors utilized to produce our bb2121 product candidate for multiple myleoma.
   •   RDF. The in-licensed RDF patent portfolio contains the patents and patent applications described above directed towards aspects of our lentiviral
       vectors utilized to produce our bb2121 product candidate for multiple myleoma. In addition, the RDF portfolio contains additional patent
       applications directed to aspects of our oncology program. As of January 31, 2019, we had an exclusive license (from RDF) to four issued patents
       and two pending U.S. patent applications related to our oncology platform. We expect the issued patent to expire in 2021-2022 (excluding possible
       patent term extensions). Further, we expect composition of matter or methods patents, if issued from the pending patent applications and if the
       appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2021-2022 (excluding possible patent term extensions).
       We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
       governmental fees are paid, to expire in 2021-2022 (worldwide, excluding possible patent term extensions).
   •   Biogen. The in-licensed patent portfolio from Biogen Inc., formerly Biogen Idec MA Inc. and referred to herein as Biogen, contains patents and
       patent applications directed towards aspects of T cell-based products that target BCMA. As of January 31, 2019, we had a co-exclusive license to
       nine issued U.S. patents and two pending U.S. patent applications and five pending corresponding foreign applications and 113 issued
       corresponding foreign patents related to bb2121. We expect the issued patents to expire from 2020-2032 (excluding possible patent term
       extensions). Further, we expect composition of matter or methods patents, if issued from the pending patent applications and if the appropriate
       maintenance, renewal, annuity or other governmental fees are paid, to expire from 2020-2032 (excluding possible patent term extensions). We
       expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
       governmental fees are paid, to expire in 2020-2032 (worldwide, excluding possible patent term extensions).
   •   NIH. The in-licensed patent portfolio from NIH contains patent applications directed towards aspects of T cell-based products that target BCMA.
       As of January 31, 2019, we had an exclusive license to one issued U.S. Patent, one pending U.S. patent application and 19 corresponding foreign
       patent applications and six issued corresponding foreign patents related to bb2121. We expect the issued composition of matter patents to expire
       in 2033-2034 (excluding possible patent term extensions). We expect any other composition of matter and methods patents, if issued from the
       pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2033 (excluding
       possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
       maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2033 (worldwide, excluding possible patent term extensions).
   •   bluebird bio. The bluebird bio patent portfolio contains patent applications directed to certain specific compositions of matter for generating CAR
       T cells. As of January 31, 2019, we owned six pending U.S. patent applications, 96 corresponding foreign patent applications, 3 foreign patents
       and one pending PCT application. We expect the issued composition of matter and methods patents to expire in 2035 (excluding possible patent
       term extensions). We expect any composition of matter or methods patents, if issued from a corresponding nonprovisional application or national
       stage application, or corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental
       fees are paid, to expire from 2035-2038 (worldwide, excluding possible patent term extensions). We expect any other patents and patent
       applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from
       2035-2038 (worldwide, excluding possible patent term extensions).


Lentiviral platform (e.g., vectors, manufacturing, and cell therapy products)
    The lentiviral platform, which is potentially applicable to the β-thalassemia, SCD, CALD, oncology and other potential programs, includes the
following patent portfolios described below.
   •   Pasteur Institute. The Pasteur patent portfolio contains the patents and patent applications described above.
   •   RDF. The in-licensed RDF patent portfolio contains the patents and patent applications described above.
   •   SIRION. The in-licensed patent portfolio from SIRION Biotech GmbH, or SIRION, contains patents directed to methods of manufacturing ex vivo
       gene therapy products with a lentiviral vector. As of January 31, 2019, we had an exclusive license to one issued U.S. Patent, one pending U.S.
       patent application and two corresponding foreign patent applications and one issued corresponding foreign patent. We expect the issued method
       patents to expire in 2033 (excluding possible patent term extensions). We expect any other composition of matter and methods patents, if issued
       from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2033
       (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
       maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2033 (worldwide, excluding possible patent term extensions).

                                                                             22
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 75 of 426 PageID #: 3048


   •   bluebird bio. Another component of the bluebird bio patent portfolio includes the vector manufacturing platform and is potentially applicable to
       the CALD, β-thalassemia, SCD, oncology, and other programs. This portion of the portfolio contains patents and patent applications directed to
       improved methods for transfection and transduction of therapeutic cells. As of January 31, 2019, we owned one issued U.S. patent, three pending
       U.S. patent applications and 44 corresponding foreign patent applications and 21 issued corresponding foreign patents. We expect the issued
       method patents to expire in 2032 (excluding possible patent term extensions). We expect composition of matter and method patents, if issued from
       the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire from 2032-2037
       (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
       maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2032-2037 (worldwide, excluding possible patent term extensions).


Oncology platform (e.g., vectors, manufacturing, and T cell-based products)
   Our T cell-based oncology platform and oncology research program, which is applicable to our multiple myeloma program and other potential
programs in cancer, includes the following patent portfolios described below.
   •   Pasteur Institute. The Pasteur patent portfolio contains the patents and patent applications described above.
   •   RDF. The in-licensed RDF patent portfolio described above contains patents and patent applications that are also applicable to our oncology
       platform. In addition, the RDF portfolio contains additional patent applications directed to aspects of our oncology program. As of January 31,
       2019, we had an exclusive license (from RDF) to four issued patents and two pending U.S. patent applications related to our oncology platform.
       We expect the issued patents to expire in 2021-2022 (excluding possible patent term extensions). Further, we expect composition of matter or
       methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees
       are paid, to expire in 2021-2022 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
       issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2021-2022 (worldwide, excluding
       possible patent term extensions).
   •   bluebird bio. One aspect of the bluebird bio patent portfolio contains patent applications directed to certain specific compositions of matter for
       generating CAR T cells directed against various cancers and improved CAR T cell compositions. As of January 31, 2019, we owned one issued
       U.S. patent, five pending U.S. patent applications and 29 corresponding foreign patent applications; six families of pending U.S. provisional
       applications; and four pending PCT applications. We expect the issued composition of matter patent to expire in 2034 (excluding possible patent
       term extensions). We expect any composition of matter or methods patents, if issued from a corresponding nonprovisional application or national
       stage application, or corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental
       fees are paid, to expire in 2033-2037 (worldwide, excluding possible patent term extensions). We expect any other patents and patent applications
       in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2033-2037
       (worldwide, excluding possible patent term extensions).
   •   T Cell Manufacturing Methods License. We have in-licensed patents and patent applications that are directed to certain specific methods for
       generating CAR T cells. As of January 31, 2019, we had a nonexclusive license to two issued U.S. patents, one pending U.S. patent application,
       and 30 corresponding issued foreign patents. We expect the issued method patents to expire in 2026 (excluding possible patent term extensions).
       Further, we expect methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other
       governmental fees are paid, to expire in 2026 (excluding possible patent term extensions). We expect any other patents and patent applications in
       this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2026 (worldwide,
       excluding possible patent term extensions).
   •   T Cell Immunotherapy Product Candidate Licenses. We have in-licensed patents and patent applications that are directed to certain specific
       compositions of matter for generating CAR T cells directed against various cancers and related methods of treatment. As of January 31, 2019, we
       have an exclusive license to one issued U.S. patent and ten corresponding foreign patents and co-own a pending US application and seven
       corresponding foreign patent applications to a particular target antigen. We expect the issued composition of matter patent to expire in 2025
       (excluding possible patent term extensions). We expect any composition of matter or methods patents, if issued from a corresponding
       nonprovisional application or foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental fees
       are paid, to expire in 2036 (worldwide, excluding possible patent term extensions). We expect any other patents and patent applications in this
       portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2036 (worldwide,
       excluding possible patent term extensions). In addition, as of January 31, 2019, we have an exclusive license to three issued U.S. patents, three
       corresponding foreign patents, and one corresponding foreign patent application to another particular target antigen. We expect the issued
       method of use patents to expire in 2029 (excluding possible patent term extensions). We expect any composition of matter or methods patents, if
       issued from a corresponding nonprovisional application or corresponding foreign applications, if applicable, and if the appropriate maintenance,
       renewal, annuity or other governmental fees are paid, to expire from 2029 (worldwide, excluding possible patent term extensions). We expect any
       other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees
       are paid, to expire from 2029 (worldwide, excluding possible patent term extensions).

                                                                             23
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 76 of 426 PageID #: 3049


Gene editing platform (e.g., homing endonucleases, chimeric endonucleases, megaTALs, genetically modified cells)
   The gene editing platform includes the following patent portfolios described below.
   •   Pasteur Institute. The Pasteur patent portfolio described above may contain patents and patent applications that are potentially applicable to our
       gene editing platform.
   •   RDF. The in-licensed RDF patent portfolio described above may contain patents and patent applications that are potentially applicable to our
       gene editing platform.
   •   Gene Editing License. We in-licensed patent portfolios that contain patents and patent applications directed to aspects of our gene editing
       platform to produce genome modifying enzymes and genetically modified cells that are potentially applicable to our β-thalassemia, SCD, oncology
       and other programs. As of January 31, 2019, we had an exclusive/co-exclusive license to six issued U.S. patents and one pending U.S. patent
       application and 29 corresponding foreign patents and six corresponding patent applications related to our gene editing platform. We expect the
       issued composition of matter patents to expire in 2030 (excluding possible patent term extensions). Further, we expect composition of matter or
       methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees
       are paid, to expire in 2030 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
       issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2030 (worldwide, excluding possible
       patent term extensions). In addition, as of January 31, 2019, we had an exclusive license to two issued U.S. patents and six corresponding foreign
       patents related to our gene editing platform. We expect the issued composition of matter patent to expire in 2031 in the United States (excluding
       possible patent term extensions) and in 2027 in the rest of the world. Further, we expect composition of matter and methods patents, if issued from
       the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2027
       (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
       maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2027 (worldwide, excluding possible patent term extensions).
   •   Academic Gene Editing Licenses. We in-licensed patent portfolios from multiple academic medical centers, each portfolio containing patents and
       patent applications directed to aspects of our gene editing platform to produce genome modifying enzymes and genetically modified cells that are
       potentially applicable to our β-thalassemia, SCD, oncology and other programs. As of January 31, 2019, we had an exclusive license to one issued
       U.S. patent and eight pending U.S. patent applications and five corresponding foreign patents and three corresponding patent applications related
       to our gene editing platform. We expect the issued patent to expire in 2032 (excluding possible patent term extensions) in the U.S. and 2027-3032 in
       the rest of the world. We expect composition of matter or method patents, if issued from the pending patent applications and if the appropriate
       maintenance, renewal, annuity or other governmental fees are paid, to expire from 2027-2032 (excluding possible patent term extensions). We
       expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
       governmental fees are paid, to expire in 2027-2032 (worldwide, excluding possible patent term extensions). As of January 31, 2019, we also had a
       non-exclusive license to one issued U.S. patent application and two pending U.S. patent application related to our gene editing platform. We
       expect any composition of matter or methods patents, if issued from a corresponding nonprovisional application or national stage application, or
       corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to
       expire in 2035 (worldwide, excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
       issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2035 (worldwide, excluding
       possible patent term extensions). In addition, as of January 31, 2019, we had an exclusive license to two pending U.S. applications and 17
       corresponding issued foreign patents and 18 corresponding foreign patent applications related to our gene editing platform. We expect the issued
       composition of matter patents to expire in 2033 (excluding possible patent term extensions). We expect other composition of matter or method
       patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid,
       to expire from 2031-2033 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
       issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2031-2033 (worldwide, excluding
       possible patent term extensions). As of January 31, 2019, we also had a non-exclusive license to one issued U.S. patent, one pending U.S.
       application, 21 corresponding foreign patent applications, and 18 corresponding foreign patents related to our gene editing platform. We expect
       the issued composition of matter patents to expire in 2033 (excluding possible patent term extensions). Further, we expect composition of matter or
       method patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees
       are paid, to expire from 2033 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
       issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2033 (worldwide, excluding possible
       patent term extensions).

                                                                             24
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 77 of 426 PageID #: 3050


   •   bluebird bio. One aspect of the bluebird bio patent portfolio contains patent applications that are potentially applicable to certain aspects of our
       gene editing platform to produce genome modifying enzymes and genetically modified cells that are potentially applicable to our oncology and
       other programs. As of January 31, 2019, we owned one pending U.S. patent application and five corresponding foreign patent applications related
       to our gene editing platform. We expect any composition of matter or methods patents, if issued from a corresponding nonprovisional application
       or national stage application, or corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other
       governmental fees are paid, to expire in 2037 (worldwide, excluding possible patent term extensions). We expect any other patents and patent
       applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2037
       (worldwide, excluding possible patent term extensions). As of January 31, 2019, we owned 11 families of PCT applications related to our gene
       editing platform. We expect any composition of matter or methods patents, if issued from a corresponding nonprovisional application or national
       stage application, or corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental
       fees are paid, to expire in 2037-2038 (worldwide, excluding possible patent term extensions). We expect any other patents and patent applications
       in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2037-2038
       (worldwide, excluding possible patent term extensions). As of January 31, 2019, we also owned two families of provisional applications related to
       our gene editing platform. We expect any composition of matter or methods patents, if issued from a corresponding nonprovisional application or
       national stage application, or corresponding foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other
       governmental fees are paid, to expire in 2038 (worldwide, excluding possible patent term extensions). We expect any other patents and patent
       applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2038
       (worldwide, excluding possible patent term extensions). As of January 31, 2019, we co-owned (with Cellectis SA) two issued U.S. patents, eight
       corresponding foreign patent applications, and 10 corresponding foreign patents related to our gene editing platform. We expect composition of
       matter or method patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other
       governmental fees are paid, to expire in 2034(excluding possible patent term extensions). We expect the other patents and patent applications in
       this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2034 (worldwide,
       excluding possible patent term extensions).

    The term of individual patents depends upon the legal term of the patents in the countries in which they are obtained. In most countries in which we
file, the patent term is 20 years from the date of filing the non-provisional application. In the United States, a patent’s term may be lengthened by patent
term adjustment, which compensates a patentee for administrative delays by the U.S. Patent and Trademark Office in granting a patent, or may be
shortened if a patent is terminally disclaimed over an earlier-filed patent.

    The term of a patent that covers an FDA-approved drug may also be eligible for patent term extension, which permits patent term restoration of a U.S.
patent as compensation for the patent term lost during the FDA regulatory review process. The Hatch-Waxman Act permits a patent term extension of up
to five years beyond the expiration of the patent. The length of the patent term extension is related to the length of time the drug is under regulatory
review. A patent term extension cannot extend the remaining term of a patent beyond a total of 14 years from the date of product approval and only one
patent applicable to an approved drug may be extended. Moreover, a patent can only be extended once, and thus, if a single patent is applicable to
multiple products, it can only be extended based on one product. Similar provisions are available in Europe and other foreign jurisdictions to extend the
term of a patent that covers an approved drug. When possible, depending upon the length of clinical trials and other factors involved in the filing of a
BLA, we expect to apply for patent term extensions for patents covering our product candidates and their methods of use.

    We may rely, in some circumstances, on trade secrets to protect our technology. However, trade secrets can be difficult to protect. We seek to protect
our proprietary technology and processes, in part, by entering into confidentiality agreements with our employees, consultants, scientific advisors and
third parties. We also seek to preserve the integrity and confidentiality of our data and trade secrets by maintaining physical security of our premises and
physical and electronic security of our information technology systems. While we have confidence in these individuals, organizations and systems,
agreements or security measures may be breached, and we may not have adequate remedies for any breach. In addition, our trade secrets may otherwise
become known or be independently discovered by competitors. To the extent that our consultants or collaborators use intellectual property owned by
others in their work for us, disputes may arise as to the rights in related or resulting know-how and inventions.


License agreements
Inserm-Transfert
    In May 2009, we entered into an exclusive license with Inserm-Transfert, which is a wholly-owned subsidiary of Institut national de la santé et de la
recherche médicale, for use of certain patents and know-how related to the ABCD1 gene and corresponding protein, for use in the field of human ALD
therapy. Inserm-Transfert is referred to herein as Inserm. The last patent in the Inserm licensed patent portfolio expired in February of 2016. Inserm retains
the right to practice the intellectual property licensed under the agreement for educational, clinical and preclinical studies purposes.

                                                                              25
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 78 of 426 PageID #: 3051


   Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include our Lenti-D product
candidate, we will be obligated to pay Inserm a percentage of net sales as a royalty for the longer of the life of any patents covering the product or 10
years from first commercial sale. This royalty is in the low single digits. The royalties payable to Inserm are subject to reduction for any third party
payments required to be made, with a minimum floor in the low single digits.

   We are required to use all commercially reasonable efforts to develop licensed products and introduce them into the commercial market as soon as
practical, consistent with our reasonable business practices and judgment in compliance with an agreed upon development plan. We have assumed
certain development, regulatory and commercial milestone obligations and must report on our progress in achieving these milestones on an annual basis.

    We may unilaterally terminate the license agreement at any time. Either party may terminate the agreement in the event of the other party’s material
breach which remains uncured after 60 days of receiving written notice of such breach or in the event the other party becomes the subject of a voluntary
or involuntary petition in bankruptcy and such petition is not dismissed with prejudice within 120 days after filing. In addition, Inserm may terminate the
license agreement in the event that we cannot prove within 60 days of written notice from Inserm that we have been diligent in developing the licensed
products and introducing them into the commercial market.

   Absent early termination, the agreement will automatically terminate upon the expiration of all issued patents and filed patent applications within the
patent rights covered by the agreement or 10 years from the date of first commercial sale of a licensed product, whichever is later. The license grant
ceases in connection with any such termination. The longest lived patent rights licensed to us under the agreement expired in 2016.


Institut Pasteur
    We have entered into a license with Institut Pasteur for certain patents relating to the use of DNA sequences, lentiviral vectors and recombinant cells
in the field of ex vivo gene therapy and CAR T cell-based therapy in a range of indications, excluding vaccinations. This agreement was amended twice in
2012, again in 2013 and most recently in 2015. The Institut Pasteur licensed patent portfolio includes at least 107 U.S. and foreign patents and patent
applications. Any patents within this portfolio that have issued or may yet issue would have a statutory expiration dates between 2019 and 2023. The
license is exclusive for products containing human and non-human lentiviral vectors. Institut Pasteur retains the right, on behalf of itself, its licensees
and research partners, to conduct research using the licensed intellectual property.

    We have the right to grant sublicenses outright to third parties under the agreement. For the first sublicense including a product targeting β-
hemoglobinopathies (including TDT and SCD) or ALD (including CALD and AMN), we must pay Institut Pasteur an additional payment of €3.0 million.
If we receive any income (cash or non-cash) in connection with sublicenses for products targeting indications other than β-hemoglobinopathies
(including TDT and SCD) or ALD (including CALD and AMN), we must pay Institut Pasteur a percentage of such income varying from low single digits
if the sublicense also includes licenses to intellectual property controlled by us, and a percentage of sublicense income in the mid-range double digits if
the sublicense does not include licenses to intellectual property controlled by us.

    Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include our LentiGlobin, Lenti-D,
bb2121 and bb21217 product candidates, we will be obligated to pay Institut Pasteur a percentage of net sales as a royalty. This royalty varies depending
on the indication of the product but in any event is in the low single digits. In addition, starting in 2016 we must make under this agreement an annual
maintenance payment which is creditable against royalty payments on a year-by-year basis. If the combined royalties we would be required to pay to
Institut Pasteur and third parties is higher than a pre-specified percentage, we may ask Institut Pasteur to re-negotiate our royalty rates under this
relationship.

    We are required to use all reasonable commercial efforts (as compared to a company of similar size and scope) to develop and commercialize one or
more products in the license field and to obtain any necessary governmental approvals in respect of, and market the products in license field, if any.
Additionally, we have assumed certain development and regulatory milestone obligations. We must report on our progress towards achieving these
milestones on an annual basis. We may unilaterally terminate the license agreement at any time by sending Institut Pasteur 90 days prior written notice.
Either party may terminate the license in the event of the other party’s substantial breach which remains uncured after 60 days of receiving written notice
of such breach. Institut Pasteur may also terminate the agreement in the event bankruptcy proceedings are opened against us and not dismissed within
60 days.

    Absent early termination, the agreement will automatically terminate upon the expiration of the last licensed patents or five years after first market
authorization of the first product, whichever occurs later. In the event the agreement is terminated, while the license grant would cease, we would retain
the right to manufacture, import, use and sell licensed products for a certain period of time post-termination. In addition, our ownership stake in certain
jointly made improvements covered by the licensed patents would survive termination of the agreement. The longest lived patent rights licensed to us
under the agreement are currently expected to expire in 2023.

                                                                             26
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 79 of 426 PageID #: 3052


Stanford University
    In July 2002, we entered into a non-exclusive license agreement with the Board of Trustees of the Leland Stanford Junior University, referred to herein
as Stanford, which we amended and restated in April 2012. Under this agreement, we are granted a license to use the HEK293T cell line for any
commercial or non-commercial use for research, nonclinical and clinical development purpose and human and animal gene therapy products.

   We have the right to grant sublicenses outright to third parties under the agreement. For each such sublicense we grant, we must pay Stanford a fee
(unless the sublicense is to a collaborating partner, contract manufacturer or contract research organization).

    Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include our LentiGlobin, Lenti-D,
bb2121 and bb21217 product candidates, we will be obligated to pay Stanford a percentage of net sales as a royalty. This royalty varies with net sales but
in any event is in the low single digits and is reduced for each third-party license that requires payments by us with respect to a licensed product,
provided that the royalty to Stanford is not less than a specified percentage which is less than one percent. Since April 2013, we have been paying
Stanford an annual maintenance fee, which will be creditable against our royalty payments.

   We may unilaterally terminate the agreement by giving Stanford 30 days’ written notice. Stanford may also terminate the license agreement if after 30
days of providing notice we are delinquent on any report or payment, are not using commercially reasonable efforts to develop, manufacture and/or
commercialize one or more licensed products, are in material breach of any provision or provide any false report. Termination of this agreement may
require us to utilize different cell types for vector manufacturing, which could lead to delays.

   Absent early termination, the license will expire in April 2037. We may elect to extend the term for an additional 25 years so long as we have a
commercial product on the market at that time and we are in material compliance with the license agreement.


Massachusetts Institute of Technology
   In December 1996, we entered into an exclusive license with the Massachusetts Institute of Technology, referred to herein as MIT, for use of certain
patents in any field. This license agreement was amended in December 2003, May 2004 and June 2011. The licensed patent portfolio includes at least 18
U.S. and foreign patents and patent applications. Any patents within this portfolio that have issued or may yet issue would have a statutory expiration
date from 2017-2023. This license also has been amended to include a case jointly owned by MIT and us wherein we received the exclusive license to
MIT’s rights in this case. MIT retains the right to practice the intellectual property licensed under the agreement for noncommercial research purposes.

   We have the right to grant sublicenses outright to third parties under the agreement. In the event we sublicense the patent rights, we must pay MIT a
percentage of all payments we receive from by the sublicensee. This percentage varies from mid-single digits to low double digits.

   Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include our LentiGlobin product
candidate, we will be obligated to pay MIT a percentage of net sales by us or our sublicensees as a royalty. This royalty is in the low single digits and is
reduced for royalties payable to third parties, provided that the royalty to MIT is not less than a specified percentage that is less than one-percent. In
addition, we make under this agreement an annual maintenance payment which may be credited against the royalty payments.

   We are required to use diligent efforts to market licensed products and to continue active, diligent development and marketing efforts for licensed
products during the term of the agreement. We have assumed certain milestones with respect to raising capital investment and regulatory progress. We
must report on our progress on achieving these milestones on an annual basis.

    We may unilaterally terminate the license agreement upon six months’ notice to MIT. MIT may terminate the agreement if we cease to carry on our
business, or in the event of our material breach which remains uncured after 90 days of receiving written notice of such breach (30 days in the case of
nonpayment). In the event the agreement is terminated, while the license grant would cease, we would retain a right to complete manufacture of any
licensed products in process and sell then-existing inventory. In addition, MIT would grant our sublicensees a direct license following such termination.
With respect to jointly owned intellectual property, any termination would allow MIT to grant licenses to any third party to such intellectual property,
without our approval, unless a sublicensee was already in place, in which case, MIT would grant our sublicensees a direct license.

                                                                             27
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 80 of 426 PageID #: 3053


Research Development Foundation
    In December 2011, we entered into an exclusive license with RDF to use certain patents that involve lentiviral vectors. The RDF licensed patent
portfolio includes at least 29 U.S. and foreign patents and patent applications. Any patents within this portfolio that have issued or may yet issue would
have an expected statutory expiration date between 2021 and 2027. RDF retains the right, on behalf of itself and other nonprofit academic research
institutions, to practice and use the licensed patents for any academic, non-clinical research and educational purposes. We have the right to grant
sublicenses outright to third parties under the agreement.

    Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include both our Lenti-D,
LentiGlobin, bb2121 and bb21217 product candidates, we are obligated to pay RDF a percentage of net sales as a royalty. This royalty is in the low single
digits and is reduced by half if during the following ten years from the first marketing approval the last valid claim within the licensed patent that covers
the licensed product expires or ends.

    We are required to use commercially reasonable and diligent efforts for a company of our size and resources to develop or commercialize one or more
licensed products, including our first licensed product by 2016 and a second licensed product by 2018. These diligence efforts include minimum annual
royalty payments to RDF, which are creditable against earned royalties otherwise due to RDF, and payments upon regulatory milestones.

   RDF may terminate the agreement in the event of our material breach which remains uncured after 90 days of receiving written notice of such breach
(30 days in the case of nonpayment) or in the event we become bankrupt, our business or assets or property are placed in the hands of a receiver,
assignee or trustee, we institute or suffer to be instituted any procedure in bankruptcy court for reorganization or rearrangement of our financial affairs,
make a general assignment for the benefit of creditors, or if we or an affiliate or a sublicensee institutes any procedure challenging the validity or
patentability of any patent or patent application within the licensed patents, the agreement will immediately terminate.

    Absent early termination, the agreement will continue until its expiration upon the later of there being no more valid claims within the licensed patents
or the expiration of our royalty obligations on licensed products that are subject to an earned royalty, if such earned royalty is based on the minimum 10-
year royalty period described above. In the event the agreement is terminated, while the license grant would cease, RDF will grant our sublicensees a
direct license. The longest lived patent rights licensed to us under the agreement are in one U.S. patent currently expected to expire in 2027.


Biogen
    In August 2014, we entered into a license agreement with Biogen, pursuant to which we co-exclusively licensed certain patents and patent
applications directed towards aspects of T cell-based products that target BCMA. Any patents within this portfolio that have issued or may yet issue
would have an expected statutory expiration date between 2020 and 2032. Biogen retains the right to practice and use the licensed patents in the licensed
field and territory. We have the right to grant sublicenses to third parties, subject to certain conditions. Upon commercialization of our products covered
by the in-licensed intellectual property, which we expect would include our bb2121 and bb21217 product candidates, we will be obligated to pay Biogen a
percentage of net sales as a royalty in the low single digits. We are required to use commercially reasonable efforts to research and develop one or more
licensed products in the license field during the term of the agreement. Additionally, we have assumed certain development and regulatory milestone
obligations and must report on our progress in achieving those milestones on a periodic basis. We may be obligated to pay up to $24.0 million in the
aggregate for each licensed product upon the achievement of these milestones. We may unilaterally terminate the license agreement at any time with prior
written notice to Biogen. Either party may terminate the license in the event of the other party’s material breach upon notice and an opportunity for the
breaching party to cure. Either party may also terminate the agreement in the event bankruptcy proceedings are opened against the other party and are
not dismissed within a specified period of time. Absent early termination, the agreement will automatically terminate upon the expiration of all patent
rights covered by the agreement or ten years from the date of first commercial sale of a licensed product, whichever is later. The longest lived patent
rights licensed to us under the Agreement are in a U.S. patent, currently expected to expire in 2032.


NIH
    In August 2015, we entered into a license agreement with the NIH, pursuant to which we exclusively licensed certain patents and patent applications
directed towards aspects of T cell-based products that target BCMA. Any patents within this portfolio that have issued or may yet issue would have an
expected statutory expiration date in 2033. NIH retains the right to practice the intellectual property licensed under the agreement on behalf of the
government of the United States. We have the right to grant sublicenses to third parties, subject to certain conditions. For each such sublicense we grant
we must pay the NIH a fee. Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include our
bb2121 and bb21217 product candidates, we will be obligated to pay the NIH a percentage of net sales as a royalty in the low single digits. We are
required to use

                                                                              28
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 81 of 426 PageID #: 3054

commercially reasonable efforts to research and develop one or more licensed products in the license field during the term of the agreement. Additionally,
we have assumed certain development and regulatory milestone obligations and must report on our progress in achieving those milestones on a periodic
basis. We may be obligated to pay up to $9.7 million in the aggregate for a licensed product upon the achievement of these milestones. We may
unilaterally terminate the license agreement at any time with prior written notice to the NIH. The NIH may terminate the license in the event of our material
breach upon notice and following an opportunity for us to cure the material breach. The NIH may also terminate the agreement in the event bankruptcy
proceedings are opened against us and are not dismissed within a specified period of time. Absent early termination, the agreement will automatically
terminate upon the expiration of the patent rights covered by the agreement. The longest lived patent rights licensed to us under the Agreement are
currently expected to expire in 2033.


SIRION
    In December 2015, we entered into a license agreement with SIRION, pursuant to which we exclusively licensed certain patents and patent
applications directed towards aspects of manufacturing gene therapy products. Any patents within this portfolio that have issued or may yet issue
would have an expected statutory expiration date in 2033. We have the right to grant sublicenses to third parties, subject to certain conditions. Upon
commercialization of our products covered by the in-licensed intellectual property, which we expect would include our LentiGlobin product candidate, we
will be obligated to pay SIRION a percentage of net sales as a royalty in the low single digits. We are required to use commercially reasonable efforts to
research and develop one or more licensed products in the license field during the term of the agreement, and we must report on our progress in
achieving those milestones on a periodic basis. We may be obligated to pay up to $13.4 million in the aggregate upon the achievement of certain
development and regulatory milestones. We may unilaterally terminate the license agreement at any time with prior written notice to SIRION. SIRION may
terminate the license in the event of our material breach upon notice and following an opportunity for us to cure the material breach. SIRION may also
terminate the agreement in the event bankruptcy proceedings are opened against us and are not dismissed within a specified period of time. Absent early
termination, the agreement will automatically terminate upon the expiration of the patent rights covered by the agreement. The longest lived patent rights
licensed to us under the Agreement are currently expected to expire in 2033.


Orchard Therapeutics Limited
   In April 2017, we entered into a license agreement with GlaxoSmithKline Intellectual Property Development Limited, or GSK, pursuant to which GSK
non-exclusively licensed certain of our patent rights related to lentiviral vector technology to develop and commercialize gene therapies for Wiscott-
Aldrich syndrome and metachromatic leukodystrophy, two rare genetic diseases. Effective April 2018, this license agreement was assigned by GSK to
Orchard Therapeutics Limited, or Orchard. Financial terms of the agreement include an upfront payment to us as well as potential development and
regulatory milestone payments and low single digit royalties on net sales of covered products.


Novartis Pharma AG
    In April 2017, we entered into a license agreement with Novartis Pharma AG, or Novartis, pursuant to which Novartis non-exclusively licensed certain
of our patent rights related to lentiviral vector technology to develop and commercialize chimeric antigen receptor T cell (CAR T) therapies for oncology,
including Novartis’ approved CAR T therapy Kymriah. Financial terms of the agreement include an upfront payment to us as well as potential
development and regulatory milestone payments and low single digit royalties on net sales of covered products.


Competition
   The biotechnology and pharmaceutical industries are characterized by intense and rapidly changing competition to develop new technologies and
proprietary products. We face potential competition from many different sources, including larger and better-funded pharmaceutical and biotechnology
companies. Not only must we compete with other companies that are focused on gene therapy products but any products that we may commercialize will
have to compete with existing therapies and new therapies that may become available in the future.

                                                                             29
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 82 of 426 PageID #: 3055


    There are other organizations working to improve existing therapies or to develop new therapies for our initially selected indications. Depending on
how successful these efforts are, it is possible they may increase the barriers to adoption and success for our product candidates, and our preclinical T
cell-based cancer immunotherapy product candidates. These efforts include the following:
   •   β-thalassemia: The current standard of care for the treatment of β-thalassemia in the developed world is chronic blood transfusions to address the
       patient’s anemia. In addition, such patients often receive iron chelation therapy to help manage the iron overload associated with their chronic blood
       transfusions. Novartis and ApoPharma Inc., who provide the leading iron chelation therapy, are seeking to develop improvements to their product
       profile and accessibility. A number of different approaches are under investigation that seek to improve the current standard of care treatment options,
       including, a protein that aims to improve red blood cell production and fetal hemoglobin regulators. Acceleron Pharma, Inc. (in collaboration with
       Celgene) is investigating luspatercept (ACE-536), a subcutaneously-delivered protein therapeutic that targets molecules in the TGF-β superfamily,
       which is currently in two phase 3 clinical trials in subjects with transfusion dependent β-thalassemia (TDT) and non-transfusion dependent β-
       thalassemia. Acceleron and Celgene are planning regulatory submissions of luspatercept in the United States and Europe in the first half of 2019. In
       addition, some patients with β-thalassemia receive HSCT treatment, particularly if a sufficiently well-matched source of donor cells is identified. In
       addition, there are a number of academic and industry-sponsored research and development programs to improve the outcomes of allogeneic HSCT,
       or the tolerability and safety of haploidentical HSCT, while increasing the availability of suitable donors. These programs include a modified donor T
       cell therapy to be used in conjunction with haploidentical HSCT that is in an ongoing phase 1/2 study supported by Bellicum Pharmaceuticals, Inc.;
       and an adjunctive T cell immunotherapy treatment in conjunction with allogeneic HSCT that is in ongoing phase 2 and 3 studies supported by Kiadis
       Pharma. There are also several different groups developing other approaches for β-thalassemia, including one that uses a similar ex vivo autologous
       gene therapy approach, but uses a different vector and different cell processing techniques and two that use gene editing approaches These include:
       the San Raffaele Telethon Institute for Gene Therapy (in collaboration with Orchard Therapeutics) is currently investigating its gene therapy in a
       phase 2 study of adults and pediatric patients with in transfusion dependent β-thalassemia (TDT); Sangamo BioSciences Inc. (in collaboration with
       Bioverativ Inc., a Sanofi company) is investigating ST-400, using a zinc finger nuclease-mediated gene-editing approach currently in an ongoing
       phase 1/2 study; and CRISPR Therapeutics AG (in collaboration with Vertex Pharmaceuticals Incorporated) is conducting an ongoing phase 1/2 study
       for its CTX-001, which leverages the CRISPR/Cas9 gene editing platform to disrupt the BCL11A erythroid enhancer.
   •   Sickle cell disease: The current standard of care for the treatment of SCD in the developed world is chronic blood transfusions or hydroxyurea (a
       generic drug). In addition, patients treated with chronic blood transfusions often receive iron chelation therapy to help manage the iron overload.
       Emmaus Life Sciences, Inc. recently received FDA approval for and have launched Endari (L-glutamine). We are aware of ongoing studies that
       continue to evaluate the efficacy and safety of hydroxyurea in various populations. In addition, a limited number of patients with SCD receive
       allogeneic HSCT treatment, particularly if a sufficiently well-matched source of donor cells is identified. In addition, there are a number of academic
       and industry-sponsored research and development programs to improve the tolerability and safety of allogeneic HSCT with less well-matched
       sources of donor cells, while increasing the availability of suitable donors. These programs include a modified donor T cell therapy to be used in
       conjunction with haploidentical HSCT that is in an ongoing phase 1/2 study supported by Bellicum Pharmaceuticals, Inc. A number of different
       therapeutic approaches are under investigation targeting the various aspects of SCD pathophysiology, including: antibodies to p-selectin
       including crizanlizumab currently in a phase 3 study supported by Novartis; hemoglobin modifiers to prevent the sickling of RBC, including
       voxelotor (GBT440) in an ongoing phase 3 study supported by Global Blood Therapeutics, Inc.; pan-selectin inhibitors, including rivipansel (GMI-
       1070) in phase 3 studies supported by GlycoMimetics Inc. (in 2011, Pfizer Inc. and GlycoMimetics Inc. entered a global collaboration to advance
       this compound); and also gene editing approaches being supported by Intellia Therapeutics, Inc. (in collaboration with Novartis), Editas
       Medicine, Inc. and CRISPR Therapeutics AG (in collaboration with Vertex Pharmaceuticals Incorporated); and Sangamo BioSciences Inc. (in
       collaboration with Bioverativ). There are also several different groups developing gene therapy approaches for SCD. Some of these groups use a
       similar ex vivo autologous approach, but make use of different vectors and different cell processing techniques. These include: UCLA, which has
       received funding from the California Institute of Regenerative Medicine to pursue a phase 1 gene therapy study for SCD; and Aruvant Sciences,
       Inc.’s RVT-181, currently in a phase 1/2 gene therapy study for SCD.
   •   CALD: The current standard of care for the treatment of CALD is allogeneic HSCT. We understand that various academic centers around the
       world are seeking to develop improvements to allogeneic HSCT, such as Magenta Therapeutic, Inc.’s cord blood expansion technology which is
       currently being investigated in a phase 2 clinical trial for the treatment of inherited metabolic disorders, including adrenoleukodystrophy. Other
       possible treatments being investigated include Viking Therapeutics, Inc.’s VK0214, a selective thyroid receptor-β agonist, and Orpheris, Inc.’s OP-
       101.

                                                                              30
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 83 of 426 PageID #: 3056


   •   Multiple Myeloma: The current standard of care for relapsed and refractory multiple myeloma includes IMIDs (e.g., thalidomide, lenalidomide,
       pomalidomide), proteasome inhibitors (e.g., bortezomib, carfilzomib, ixazomib), monoclonal antibodies (e.g., daratumamab, elotuzumab), cytotoxic
       agents, and HSCT. There are several groups developing autologous T cell therapies for relapsed and refractory multiple myeloma that use a similar
       autologous ex vivo approach, but a different target antigen, BCMA single-chain variable fragment or, we believe, cell processing techniques.
       These programs include: an anti-BCMA CAR T cell therapy that is currently in a single-center phase 1 study by the University of Pennsylvania (in
       collaboration with Novartis AG); an anti-BCMA CAR T cell therapy that is in a phase 1b/2 study in the United States (Nanjing Legend in
       collaboration with Janssen Biotech); a BCMA and TACI-targeted CAR T cell therapy that is currently in a phase 1/2 study (Autolus); an anti-
       BCMA CAR T cell therapy that is in phase 1 study (Poseida Therapeutics, Inc.); and an anti-BCMA CAR T cell therapy in clinical development
       (phase 1/2) sponsored by Celgene following the completion of its acquisition of Juno Therapeutics, Inc. In addition to these autologous T cell-
       based approaches, Allogene Therapeutics, Inc., Poseida, and CRISPR Therapeutics have disclosed preclinical programs for allogeneic BCMA
       CAR T cell therapies. There are also therapies using other modalities being developed by several groups, including two bispecific T cell engagers
       currently in phase 1 studies supported by Amgen Inc., a bispecific antibody therapy currently in a phase 1 study supported by Janssen Research
       and Development, LLC, a specific antibody therapy currently in a phase 1 study supported by Pfizer, Inc., and an antibody drug conjugate therapy
       currently in a phase 2 study supported by GSK, and those being developed in preclinical programs.
   •   T cell-based immunotherapies in oncology: A number of pharmaceutical companies and academic collaborators are researching and developing T
       cell-based immunotherapies in oncology, in addition to the multiple myeloma programs described above. These include: Novartis AG (in
       collaboration with the University of Pennsylvania), Adaptimmune Inc., Celgene following its acquisition of Juno Therapeutics, Inc., Gilead
       Sciences, Inc. (in collaboration with the National Institutes of Health), Pfizer Inc. (through their collaboration with Cellectis SA and Servier),
       Amgen, Inc., among others. Many of the T cell-based immunotherapy programs being developed by these companies are already in phase 1/2
       clinical trials for multiple indications.

    Many of our competitors, either alone or with their strategic partners, have substantially greater financial, technical and human resources than we do
and significantly greater experience in the discovery and development of product candidates, obtaining FDA and other regulatory approvals of
treatments and the commercialization of those treatments. Accordingly, our competitors may be more successful than us in obtaining approval for
treatments and achieving widespread market acceptance. Our competitors’ treatments may be more effective, or more effectively marketed and sold, than
any treatment we may commercialize and may render our treatments obsolete or non-competitive before we can recover the expenses of developing and
commercializing any of our treatments.

    These competitors also compete with us in recruiting and retaining qualified scientific and management personnel and establishing clinical study
sites and patient registration for clinical studies, as well as in acquiring technologies complementary to, or necessary for, our programs. Smaller or early-
stage companies may also prove to be significant competitors, particularly through collaborative arrangements with large and established companies.

   We anticipate that we will face intense and increasing competition as new drugs enter the market and advanced technologies become available. We
expect any treatments that we develop and commercialize to compete on the basis of, among other things, efficacy, safety, convenience of administration
and delivery, price, the level of generic competition and the availability of reimbursement from government and other third-party payors.

    Our commercial opportunity could be reduced or eliminated if our competitors develop and commercialize products that are safer, more effective, have
fewer or less severe side effects, are more convenient or are less expensive than any products that we may develop. Our competitors also may obtain
FDA or other regulatory approval for their products more rapidly than we may obtain approval for ours, which could result in our competitors
establishing a strong market position before we are able to enter the market. In addition, our ability to compete may be affected in many cases by insurers
or other third-party payors seeking to encourage the use of generic products. If our therapeutic product candidates are approved, we expect that they
will be priced at a significant premium over competitive generic products.


Government regulation
    In the United States, biological products, including gene therapy products, are subject to regulation under the Federal Food, Drug, and Cosmetic Act,
or FD&C Act, and the Public Health Service Act, or PHS Act, and other federal, state, local and foreign statutes and regulations. Both the FD&C Act and
the PHS Act and their corresponding regulations govern, among other things, the testing, manufacturing, safety, efficacy, labeling, packaging, storage,
record keeping, distribution, reporting, advertising and other promotional practices involving biological products. FDA approval must be obtained before
clinical testing of biological products, and each clinical study protocol for a gene therapy product is reviewed by the FDA. FDA approval also must be
obtained before marketing of biological products. The process of obtaining regulatory approvals and the subsequent compliance with appropriate
federal, state, local and foreign statutes and regulations require the expenditure of substantial time and financial resources and we may not be able to
obtain the required regulatory approvals.

                                                                              31
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 84 of 426 PageID #: 3057


   Within the FDA, the Center for Biologics Evaluation and Research, or the CBER, regulates gene therapy products. The CBER works closely with the
NIH. The FDA and the NIH have published guidance documents with respect to the development and submission of gene therapy protocols. The FDA
also has published guidance documents related to, among other things, gene therapy products in general, their preclinical assessment, observing
subjects involved in gene therapy studies for delayed adverse events, potency testing, and chemistry, manufacturing and control information in gene
therapy INDs.

   Ethical, social and legal concerns about gene therapy, genetic testing and genetic research could result in additional regulations restricting or
prohibiting the processes we may use. Federal and state agencies, congressional committees and foreign governments have expressed interest in further
regulating biotechnology. More restrictive regulations or claims that our products are unsafe or pose a hazard could prevent us from commercializing any
products. New government requirements may be established that could delay or prevent regulatory approval of our product candidates under
development. It is impossible to predict whether legislative changes will be enacted, regulations, policies or guidance changed, or interpretations by
agencies or courts changed, or what the impact of such changes, if any, may be.


U.S. biological products development process
   The process required by the FDA before a biological product may be marketed in the United States generally involves the following:
   •   completion of nonclinical laboratory tests and animal studies according to good laboratory practices, or GLPs, and applicable requirements for the
       humane use of laboratory animals or other applicable regulations;
   •   submission to the FDA of an application for an IND, which must become effective before human clinical studies may begin;
   •   performance of adequate and well-controlled human clinical studies according to the FDA’s regulations commonly referred to as good clinical
       practices, or GCPs, and any additional requirements for the protection of human research subjects and their health information, to establish the
       safety and efficacy of the proposed biological product for its intended use;
   •   submission to the FDA of a Biologics License Application, or BLA, for marketing approval that includes substantive evidence of safety, purity,
       and potency from results of nonclinical testing and clinical studies;
   •   satisfactory completion of an FDA inspection of the manufacturing facility or facilities where the biological product is produced to assess
       compliance with GMP, to assure that the facilities, methods and controls are adequate to preserve the biological product’s identity, strength,
       quality and purity and, if applicable, the FDA’s current good tissue practices, or GTPs, for the use of human cellular and tissue products;
   •   potential FDA audit of the nonclinical and clinical study sites that generated the data in support of the BLA; and
   •   FDA review and approval, or licensure, of the BLA.

    Before testing any biological product candidate, including a gene therapy product, in humans, the product candidate enters the preclinical testing
stage. Preclinical tests, also referred to as nonclinical studies, include laboratory evaluations of product chemistry, toxicity and formulation, as well as
animal studies to assess the potential safety and activity of the product candidate. The conduct of the preclinical tests must comply with federal
regulations and requirements including GLPs.

    Where a gene therapy study is conducted at, or sponsored by, institutions receiving NIH funding for recombinant DNA research, prior to the
submission of an IND to the FDA, in the past, a protocol and related documentation was submitted to and the study was registered with the NIH Office
of Biotechnology Activities, or OBA, pursuant to the NIH Guidelines for Research Involving Recombinant DNA Molecules, or NIH Guidelines. Pursuant
to the current NIH Guidelines, research involving recombinant or synthetic nucleic acid molecules must be approved by an institutional biosafety
committee, or IBC, a local institutional committee that reviews and oversees basic and clinical research conducted at that institution. The IBC assesses
the safety of the research and identifies any potential risk to public health or the environment. Compliance with the NIH Guidelines is mandatory for
investigators at institutions receiving NIH funds for research involving recombinant DNA, however many companies and other institutions not
otherwise subject to the NIH Guidelines voluntarily follow them. Such trials remain subject to FDA and other clinical trial regulations, and only after FDA,
IBC, and other relevant approvals are in place can these protocols proceed.

                                                                              32
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 85 of 426 PageID #: 3058


    The clinical study sponsor must submit the results of the preclinical tests, together with manufacturing information, analytical data, any available
clinical data or literature and a proposed clinical protocol, to the FDA as part of the IND. Some preclinical testing may continue even after the IND is
submitted. The IND automatically becomes effective 30 days after receipt by the FDA, unless the FDA places the clinical study on a clinical hold within
that 30-day time period. In such a case, the IND sponsor and the FDA must resolve any outstanding concerns before the clinical study can begin. The
FDA may also impose clinical holds on a biological product candidate at any time before or during clinical studies due to safety concerns or non-
compliance. If the FDA imposes a clinical hold, studies may not recommence without FDA authorization and then only under terms authorized by the
FDA. Accordingly, we cannot be sure that submission of an IND will result in the FDA allowing clinical studies to begin, or that, once begun, issues will
not arise that suspend or terminate such studies.

   Clinical studies involve the administration of the biological product candidate to healthy volunteers or patients under the supervision of qualified
investigators, generally physicians not employed by or under the study sponsor’s control. Clinical studies are conducted under protocols detailing,
among other things, the objectives of the clinical study, dosing procedures, subject selection and exclusion criteria, and the parameters to be used to
monitor subject safety, including stopping rules that assure a clinical study will be stopped if certain adverse events should occur. Each protocol and any
amendments to the protocol must be submitted to the FDA as part of the IND. Clinical studies must be conducted and monitored in accordance with the
FDA’s regulations comprising the GCP requirements, including the requirement that all research subjects provide informed consent. Further, each clinical
study must be reviewed and approved by an IRB at or servicing each institution at which the clinical study will be conducted. An IRB is charged with
protecting the welfare and rights of study participants and considers such items as whether the risks to individuals participating in the clinical studies are
minimized and are reasonable in relation to anticipated benefits. The IRB also approves the form and content of the informed consent that must be signed
by each clinical study subject or his or her legal representative and must monitor the clinical study until completed.

   Human clinical studies are typically conducted in three sequential phases that may overlap or be combined:
   •   phase 1. The biological product is initially introduced into healthy human subjects and tested for safety. In the case of some products for severe
       or life-threatening diseases, especially when the product may be too inherently toxic to ethically administer to healthy volunteers, the initial human
       testing is often conducted in patients.
   •   phase 2. The biological product is evaluated in a limited patient population to identify possible adverse effects and safety risks, to preliminarily
       evaluate the efficacy of the product for specific targeted diseases and to determine dosage tolerance, optimal dosage and dosing schedule.
   •   phase 3. Clinical studies are undertaken to further evaluate dosage, clinical efficacy, potency, and safety in an expanded patient population at
       geographically dispersed clinical study sites. These clinical studies are intended to establish the overall risk/benefit ratio of the product and
       provide an adequate basis for product labeling.

    Post-approval clinical studies, sometimes referred to as phase 4 clinical studies, may be conducted after initial marketing approval. These clinical
studies are used to gain additional experience from the treatment of patients in the intended therapeutic indication, particularly for long-term safety
follow-up. The FDA recommends that sponsors observe subjects for potential gene therapy-related delayed adverse events for a 15-year period,
including a minimum of five years of annual examinations followed by ten years of annual queries, either in person or by questionnaire, of study subjects.

    During all phases of clinical development, regulatory agencies require extensive monitoring and auditing of all clinical activities, clinical data, and
clinical study investigators. Annual progress reports detailing the results of the clinical studies must be submitted to the FDA. Written IND safety
reports must be promptly submitted to the FDA, the NIH and the investigators for serious and unexpected adverse events, any findings from other
studies, tests in laboratory animals or in vitro testing that suggest a significant risk for human subjects, or any clinically important increase in the rate of
a serious suspected adverse reaction over that listed in the protocol or investigator brochure. The sponsor must submit an IND safety report within 15
calendar days after the sponsor determines that the information qualifies for reporting. The sponsor also must notify the FDA of any unexpected fatal or
life-threatening suspected adverse reaction within seven calendar days after the sponsor’s initial receipt of the information. Phase 1, phase 2 and phase 3
clinical studies may not be completed successfully within any specified period, if at all. The FDA or the sponsor or its data safety monitoring board may
suspend a clinical study at any time on various grounds, including a finding that the research subjects or patients are being exposed to an unacceptable
health risk. Similarly, an IRB can suspend or terminate approval of a clinical study at its institution if the clinical study is not being conducted in
accordance with the IRB’s requirements or if the biological product has been associated with unexpected serious harm to patients.

                                                                               33
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 86 of 426 PageID #: 3059


    Human gene therapy products are a new category of therapeutics. Because this is a relatively new and expanding area of novel therapeutic
interventions, there can be no assurance as to the length of the study period, the number of patients the FDA will require to be enrolled in the studies in
order to establish the safety, efficacy, purity and potency of human gene therapy products, or that the data generated in these studies will be acceptable
to the FDA to support marketing approval. The NIH has a publicly accessible database, the Genetic Modification Clinical Research Information System
which includes information on gene transfer studies and serves as an electronic tool to facilitate the reporting and analysis of adverse events on these
studies.

    Concurrent with clinical studies, companies usually complete additional animal studies and must also develop additional information about the
physical characteristics of the biological product as well as finalize a process for manufacturing the product in commercial quantities in accordance with
GMP requirements. To help reduce the risk of the introduction of adventitious agents with use of biological products, the PHS Act emphasizes the
importance of manufacturing control for products whose attributes cannot be precisely defined. The manufacturing process must be capable of
consistently producing quality batches of the product candidate and, among other things, the sponsor must develop methods for testing the identity,
strength, quality, potency and purity of the final biological product. Additionally, appropriate packaging must be selected and tested and stability studies
must be conducted to demonstrate that the biological product candidate does not undergo unacceptable deterioration over its shelf life.


U.S. review and approval processes
     After the completion of clinical studies of a biological product, FDA approval of a BLA, must be obtained before commercial marketing of the
biological product. The BLA must include results of product development, laboratory and animal studies, human studies, information on the manufacture
and composition of the product, proposed labeling and other relevant information. In addition, under the Pediatric Research Equity Act, or PREA, as
amended, a BLA or supplement to a BLA must contain data to assess the safety and effectiveness of the biological product for the claimed indications in
all relevant pediatric subpopulations and to support dosing and administration for each pediatric subpopulation for which the product is safe and
effective. The FDA may grant deferrals for submission of data or full or partial waivers. Unless otherwise required by regulation, PREA does not apply to
any biological product for an indication for which orphan designation has been granted. The testing and approval processes require substantial time and
effort and there can be no assurance that the FDA will accept the BLA for filing and, even if filed, that any approval will be granted on a timely basis, if at
all.

    Within 60 days following submission of the application, the FDA reviews a BLA submitted to determine if it is substantially complete before the
agency accepts it for filing. The FDA may refuse to file any BLA that it deems incomplete or not properly reviewable at the time of submission and may
request additional information. In this event, the BLA must be resubmitted with the additional information. The resubmitted application also is subject to
review before the FDA accepts it for filing. Once the submission is accepted for filing, the FDA begins an in-depth substantive review of the BLA. The
FDA reviews the BLA to determine, among other things, whether the proposed product is safe and potent, or effective, for its intended use, and has an
acceptable purity profile, and whether the product is being manufactured in accordance with GMP to assure and preserve the product’s identity, safety,
strength, quality, potency and purity. The FDA may refer applications for novel biological products or biological products that present difficult questions
of safety or efficacy to an advisory committee, typically a panel that includes clinicians and other experts, for review, evaluation and a recommendation as
to whether the application should be approved and under what conditions. The FDA is not bound by the recommendations of an advisory committee,
but it considers such recommendations carefully when making decisions. During the biological product approval process, the FDA also will determine
whether a Risk Evaluation and Mitigation Strategy, or REMS, is necessary to assure the safe use of the biological product. If the FDA concludes a REMS
is needed, the sponsor of the BLA must submit a proposed REMS; the FDA will not approve the BLA without a REMS, if required.

    Before approving a BLA, the FDA will inspect the facilities at which the product is manufactured. The FDA will not approve the product unless it
determines that the manufacturing processes and facilities are in compliance with GMP requirements and adequate to assure consistent production of the
product within required specifications. For a gene therapy product, the FDA also will not approve the product if the manufacturer is not in compliance
with the GTPs. These are FDA regulations that govern the methods used in, and the facilities and controls used for, the manufacture of human cells,
tissues, and cellular and tissue based products, or HCT/Ps, which are human cells or tissue intended for implantation, transplant, infusion, or transfer
into a human recipient. The primary intent of the GTP requirements is to ensure that cell and tissue based products are manufactured in a manner
designed to prevent the introduction, transmission and spread of communicable disease. FDA regulations also require tissue establishments to register
and list their HCT/Ps with the FDA and, when applicable, to evaluate donors through screening and testing. Additionally, before approving a BLA, the
FDA will typically inspect one or more clinical sites to assure that the clinical studies were conducted in compliance with IND study requirements and
GCP requirements. To assure GMP, GTP and GCP compliance, an applicant must incur significant expenditure of time, money and effort in the areas of
training, record keeping, production, and quality control.

                                                                              34
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 87 of 426 PageID #: 3060


    Notwithstanding the submission of relevant data and information, the FDA may ultimately decide that the BLA does not satisfy its regulatory criteria
for approval and deny approval. Data obtained from clinical studies are not always conclusive and the FDA may interpret data differently than we
interpret the same data. If the agency decides not to approve the BLA in its present form, the FDA will issue a complete response letter that usually
describes all of the specific deficiencies in the BLA identified by the FDA. The deficiencies identified may be minor, for example, requiring labeling
changes, or major, for example, requiring additional clinical studies. Additionally, the complete response letter may include recommended actions that the
applicant might take to place the application in a condition for approval. If a complete response letter is issued, the applicant may either resubmit the
BLA, addressing all of the deficiencies identified in the letter, withdraw the application, or request a hearing.

    If a product receives regulatory approval, the approval may be significantly limited to specific diseases and dosages or the indications for use may
otherwise be limited, which could restrict the commercial value of the product. Further, the FDA may require that certain contraindications, warnings or
precautions be included in the product labeling. The FDA may impose restrictions and conditions on product distribution, prescribing, or dispensing in
the form of a risk management plan, or otherwise limit the scope of any approval. In addition, the FDA may require post marketing clinical studies,
sometimes referred to as phase 4 clinical studies, designed to further assess a biological product’s safety and effectiveness, and testing and surveillance
programs to monitor the safety of approved products that have been commercialized.

    One of the performance goals agreed to by the FDA under the PDUFA is to review 90% of standard BLAs in 10 months and 90% of priority BLAs in
six months, whereupon a review decision is to be made. The FDA does not always meet its PDUFA goal dates for standard and priority BLAs and its
review goals are subject to change from time to time. The review process and the PDUFA goal date may be extended by three months if the FDA requests
or the BLA sponsor otherwise provides additional information or clarification regarding information already provided in the submission within the last
three months before the PDUFA goal date.


Orphan drug designation
    Under the Orphan Drug Act, the FDA may grant orphan designation to a drug or biological product intended to treat a rare disease or condition,
which is generally a disease or condition that affects fewer than 200,000 individuals in the United States, or more than 200,000 individuals in the United
States and for which there is no reasonable expectation that the cost of developing and making a drug or biological product available in the United States
for this type of disease or condition will be recovered from sales of the product. Orphan product designation must be requested before submitting an
NDA or BLA. After the FDA grants orphan product designation, the identity of the therapeutic agent and its potential orphan use are disclosed publicly
by the FDA. Orphan product designation does not convey any advantage in or shorten the duration of the regulatory review and approval process.

    If a product that has orphan designation subsequently receives the first FDA approval for the disease or condition for which it has such designation,
the product is entitled to orphan product exclusivity, which means that the FDA may not approve any other applications to market the same drug or
biological product for the same indication for seven years, except in limited circumstances, such as a showing of clinical superiority to the product with
orphan exclusivity. Competitors, however, may receive approval of different products for the indication for which the orphan product has exclusivity or
obtain approval for the same product but for a different indication for which the orphan product has exclusivity. Orphan product exclusivity also could
block the approval of one of our products for seven years if a competitor obtains approval of the same biological product as defined by the FDA or if our
product candidate is determined to be contained within the competitor’s product for the same indication or disease. If a drug or biological product
designated as an orphan product receives marketing approval for an indication broader than what is designated, it may not be entitled to orphan product
exclusivity. Orphan drug status in the European Union has similar, but not identical, benefits.


Expedited development and review programs
    The FDA has a Fast Track program that is intended to expedite or facilitate the process for reviewing new drugs and biological products that meet
certain criteria. Specifically, new drugs and biological products are eligible for Fast Track designation if they are intended to treat a serious or life-
threatening condition and demonstrate the potential to address unmet medical needs for the condition. Fast Track designation applies to the combination
of the product and the specific indication for which it is being studied. The sponsor of a new drug or biologic may request the FDA to designate the drug
or biologic as a Fast Track product at any time during the clinical development of the product. Unique to a Fast Track product, the FDA may consider for
review sections of the marketing application on a rolling basis before the complete application is submitted, if the sponsor provides a schedule for the
submission of the sections of the application, the FDA agrees to accept sections of the application and determines that the schedule is acceptable, and
the sponsor pays any required user fees upon submission of the first section of the application.

                                                                            35
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 88 of 426 PageID #: 3061


    Any product submitted to the FDA for marketing, including under a Fast Track program, may be eligible for other types of FDA programs intended to
expedite development and review, such as priority review and accelerated approval. Under the Breakthrough Therapy program, products intended to treat
a serious or life-threatening disease or condition may be eligible for the benefits of the Fast Track program when preliminary clinical evidence
demonstrates that such product may have substantial improvement on one or more clinically significant endpoints over existing therapies. Additionally,
FDA will seek to ensure the sponsor of a breakthrough therapy product receives timely advice and interactive communications to help the sponsor
design and conduct a development program as efficiently as possible. Any product is eligible for priority review if it has the potential to provide safe and
effective therapy where no satisfactory alternative therapy exists or a significant improvement in the treatment, diagnosis or prevention of a disease
compared to marketed products. The FDA will attempt to direct additional resources to the evaluation of an application for a new drug or biological
product designated for priority review in an effort to facilitate the review. Additionally, a product may be eligible for accelerated approval. Drug or
biological products studied for their safety and effectiveness in treating serious or life-threatening illnesses and that provide meaningful therapeutic
benefit over existing treatments may receive accelerated approval, which means that they may be approved on the basis of adequate and well-controlled
clinical studies establishing that the product has an effect on a surrogate endpoint that is reasonably likely to predict a clinical benefit, or on the basis of
an effect on a clinical endpoint other than survival or irreversible morbidity. As a condition of approval, the FDA may require that a sponsor of a drug or
biological product receiving accelerated approval perform adequate and well-controlled post-marketing clinical studies. In addition, the FDA currently
requires as a condition for accelerated approval pre-approval of promotional materials, which could adversely impact the timing of the commercial launch
of the product. Fast Track designation, Breakthrough Therapy designation, priority review and accelerated approval do not change the standards for
approval but may expedite the development or approval process.


Regenerative medicine advanced therapies (RMAT) designation
    As part of the 21st Century Cures Act, Congress amended the FD&C Act to facilitate an efficient development program for, and expedite review of
regenerative medicine advanced therapies, which include cell and gene therapies, therapeutic tissue engineering products, human cell and tissue
products, and combination products using any such therapies or products. Regenerative medicine advanced therapies do not include those human cells,
tissues, and cellular and tissue based products regulated solely under section 361 of the Public Health Service Act and 21 CFR Part 1271. This program is
intended to facilitate efficient development and expedite review of regenerative medicine therapies, which are intended to treat, modify, reverse, or cure a
serious or life-threatening disease or condition and qualify for RMAT designation. A drug sponsor may request that FDA designate a drug as a RMAT
concurrently with or at any time after submission of an IND. FDA has 60 calendar days to determine whether the drug meets the criteria, including
whether there is preliminary clinical evidence indicating that the drug has the potential to address unmet medical needs for a serious or life-threatening
disease or condition. A BLA for a regenerative medicine therapy that has received RMAT designation may be eligible for priority review or accelerated
approval through use of surrogate or intermediate endpoints reasonably likely to predict long-term clinical benefit, or reliance upon data obtained from a
meaningful number of sites. Benefits of RMAT designation also include early interactions with FDA to discuss any potential surrogate or intermediate
endpoint to be used to support accelerated approval. A regenerative medicine therapy with RMAT designation that is granted accelerated approval and
is subject to post-approval requirements may fulfill such requirements through the submission of clinical evidence from clinical studies, patient registries,
or other sources of real world evidence, such as electronic health records; the collection of larger confirmatory data sets; or post-approval monitoring of
all patients treated with such therapy prior to its approval.


Post-approval requirements
    Maintaining substantial compliance with applicable federal, state, and local statutes and regulations requires the expenditure of substantial time and
financial resources. Rigorous and extensive FDA regulation of biological products continues after approval, particularly with respect to GMP. We will
rely, and expect to continue to rely, on third parties for the production of clinical and commercial quantities of any products that we may commercialize.
Manufacturers of our products are required to comply with applicable requirements in the GMP regulations, including quality control and quality
assurance and maintenance of records and documentation. Other post-approval requirements applicable to biological products, include reporting of GMP
deviations that may affect the identity, potency, purity and overall safety of a distributed product, record-keeping requirements, reporting of adverse
effects, reporting updated safety and efficacy information, and complying with electronic record and signature requirements. After a BLA is approved,
the product also may be subject to official lot release. As part of the manufacturing process, the manufacturer is required to perform certain tests on each
lot of the product before it is released for distribution. If the product is subject to official release by the FDA, the manufacturer submits samples of each
lot of product to the FDA together with a release protocol showing a summary of the history of manufacture of the lot and the results of all of the
manufacturer’s tests performed on the lot. The FDA also may perform certain confirmatory tests on lots of some products, such as viral vaccines, before
releasing the lots for distribution by the manufacturer. In addition, the FDA conducts laboratory research related to the regulatory standards on the
safety, purity, potency, and effectiveness of biological products.

                                                                              36
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 89 of 426 PageID #: 3062


    Biological product manufacturers and other entities involved in the manufacture and distribution of approved biological products are required to
register their establishments with the FDA and certain state agencies, and are subject to periodic unannounced inspections by the FDA and certain state
agencies for compliance with GMPs and other laws. Accordingly, manufacturers must continue to expend time, money, and effort in the area of
production and quality control to maintain GMP compliance. Discovery of problems with a product after approval may result in restrictions on a product,
manufacturer, or holder of an approved BLA, including withdrawal of the product from the market. In addition, changes to the manufacturing process or
facility generally require prior FDA approval before being implemented and other types of changes to the approved product, such as adding new
indications and additional labeling claims, are also subject to further FDA review and approval. In addition, companies that manufacture or distribute
drug or biological products or that hold approved BLAs must comply with other regulatory requirements, including submitting annual reports, reporting
information about adverse drug experiences, and maintaining certain records. Newly discovered or developed safety or effectiveness data may require
changes to a drug’s approved labeling, including the addition of new warnings and contraindications, and also may require the implementation of other
risk management measures, including a REMS or the conduct of post-marketing studies to assess a newly-discovered safety issue.

    We also must comply with the FDA’s and other jursidiction’s advertising and promotion requirements, such as those related to direct-to-consumer
advertising and advertising to healthcare professionals, the prohibition on promoting products for uses or in patient populations that are not described
in the product’s approved labeling (known as “off-label use”), industry-sponsored scientific and educational activities, and promotional activities
involving the internet. Discovery of previously unknown problems or the failure to comply with the applicable regulatory requirements may result in
restrictions on the marketing of a product or withdrawal of the product from the market as well as possible civil or criminal sanctions. Failure to comply
with the applicable U.S. requirements at any time during the product development process, approval process or after approval, may subject an applicant
or manufacturer to administrative or judicial civil or criminal sanctions and adverse publicity. Consequences could include refusal to approve pending
applications, withdrawal of an approval, clinical hold, warning or untitled letters, product recalls, product seizures, total or partial suspension of
production or distribution, injunctions, fines, refusals of government contracts, mandated corrective advertising or communications with healthcare
professionals, debarment, restitution, disgorgement of profits, or civil or criminal penalties. Any agency or judicial enforcement action could have a
material adverse effect on us.


U.S. patent term restoration and marketing exclusivity
    Depending upon the timing, duration and specifics of the FDA approval of the use of our product candidates, some of our U.S. patents may be
eligible for limited patent term extension under the Drug Price Competition and Patent Term Restoration Act of 1984, commonly referred to as the Hatch-
Waxman Amendments. The Hatch-Waxman Amendments permit a patent restoration term of up to five years as compensation for patent term lost during
product development and the FDA regulatory review process. However, patent term restoration cannot extend the remaining term of a patent beyond a
total of 14 years from the product’s approval date. The patent term restoration period is generally one-half the time between the effective date of an IND
and the submission date of a BLA plus the time between the submission date of a BLA and the approval of that application. Only one patent applicable
to an approved biological product is eligible for the extension and the application for the extension must be submitted prior to the expiration of the
patent. The U.S. PTO, in consultation with the FDA, reviews and approves the application for any patent term extension or restoration. In the future, we
may intend to apply for restoration of patent term for one of our currently owned or licensed patents to add patent life beyond its current expiration date,
depending on the expected length of the clinical studies and other factors involved in the filing of the relevant BLA.

   A biological product can obtain pediatric market exclusivity in the United States. Pediatric exclusivity, if granted, adds six months to existing
exclusivity periods and patent terms. This six-month exclusivity, which runs from the end of other exclusivity protection or patent term, may be granted
based on the voluntary completion of a pediatric study in accordance with an FDA-issued “Written Request” for such a study.

    The Patient Protection and Affordable Care Act, or Affordable Care Act, signed into law on March 23, 2010, includes a subtitle called the Biologics
Price Competition and Innovation Act of 2009 which created an abbreviated approval pathway for biological products shown to be similar to, or
interchangeable with, an FDA-licensed reference biological product. This amendment to the PHS Act attempts to minimize duplicative testing.
Biosimilarity, which requires that there be no clinically meaningful differences between the biological product and the reference product in terms of
safety, purity, and potency, can be shown through analytical studies, animal studies, and a clinical study or studies. Interchangeability requires that a
product is biosimilar to the reference product and the product must demonstrate that it can be expected to produce the same clinical results as the
reference product and, for products administered multiple times, the biologic and the reference biologic may be switched after one has been previously
administered without increasing safety risks or risks of diminished efficacy relative to exclusive use of the reference biologic. However, complexities
associated with the larger, and often more complex, structure of biological products, as well as the process by which such products are manufactured,
pose significant hurdles to implementation that are still being worked out by the FDA.

                                                                             37
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 90 of 426 PageID #: 3063


   A reference biologic is granted twelve years of exclusivity from the time of first licensure of the reference product. The first biologic product
submitted under the abbreviated approval pathway that is determined to be interchangeable with the reference product has exclusivity against other
biologics submitting under the abbreviated approval pathway for the lesser of (i) one year after the first commercial marketing, (ii) 18 months after
approval if there is no legal challenge, (iii) 18 months after the resolution in the applicant’s favor of a lawsuit challenging the biologics’ patents if an
application has been submitted, or (iv) 42 months after the application has been approved if a lawsuit is ongoing within the 42-month period.


Fraud and Abuse Laws
    In addition to restrictions on marketing of pharmaceutical products, several other types of state/ federal laws and trade association membership codes
of conduct have been applied to restrict certain marketing practices in the pharmaceutical industry in recent years. These laws include anti-kickback and
false claims statutes. The U.S. federal healthcare program anti-kickback statute prohibits, among other things, knowingly and willfully offering, paying,
soliciting or receiving remuneration, directly or indirectly, in cash or in kind, to induce or in return for purchasing, leasing, ordering or arranging for or
recommending the purchase, lease or order of any healthcare item or service reimbursable, in whole or in part, under Medicare, Medicaid or other
federally financed healthcare programs. This statute has been interpreted to apply to arrangements between pharmaceutical manufacturers on one hand
and prescribers, purchasers, and formulary managers on the other. Although there are a number of statutory exemptions and regulatory safe harbors
protecting certain common activities from prosecution, the exemptions and safe harbors are drawn narrowly and practices that involve remuneration to
those who prescribe, purchase, or recommend pharmaceutical and biological products, including certain discounts, or engaging healthcare professionals
or patients as speakers or consultants, may be subject to scrutiny if they do not fit squarely within the exemption or safe harbor. Our practices may not in
all cases meet all of the criteria for safe harbor protection from anti-kickback liability. Moreover, there are no safe harbors for many common practices,
such as educational and research grants or patient assistance programs.

    The U.S. federal civil False Claims Act prohibits, among other things, any person from knowingly presenting, or causing to be presented, a false or
fraudulent claim for payment of government funds, or knowingly making, using, or causing to be made or used, a false record or statement material to an
obligation to pay money to the government or knowingly concealing or knowingly and improperly avoiding, decreasing, or concealing an obligation to
pay money to the federal government. In recent years, several pharmaceutical and other healthcare companies have faced enforcement actions under the
federal False Claims Act for, among other things, allegedly submitting false or misleading pricing information to government health care programs and
providing free product to customers with the expectation that the customers would bill federal programs for the product. Other companies have faced
enforcement actions for causing false claims to be submitted because of the company’s marketing the product for unapproved, and thus non-
reimbursable, uses. Federal enforcement agencies also have showed increased interest in pharmaceutical companies’ product and patient assistance
programs, including reimbursement and co-pay support services, and a number of investigations into these programs have resulted in significant civil
and criminal settlements. In addition, the Affordable Care Act amended federal law to provide that the government may assert that a claim including items
or services resulting from a violation of the federal anti-kickback statute constitutes a false or fraudulent claim for purposes of the federal civil False
Claims Act. Criminal prosecution is possible for making or presenting a false or fictitious or fraudulent claim to the federal government.

    The Health Insurance Portability and Accountability Act of 1996, or HIPAA, also created several new federal crimes, including healthcare fraud and
false statements relating to healthcare matters. The healthcare fraud statute prohibits knowingly and willfully executing a scheme to defraud any
healthcare benefit program, including private third-party payors. The false statements statute prohibits knowingly and willfully falsifying, concealing or
covering up a material fact or making any materially false, fictitious or fraudulent statement in connection with the delivery of or payment for healthcare
benefits, items or services.

   The majority of states also have statutes or regulations similar to the federal anti-kickback and false claims laws, which apply to items and services
reimbursed under Medicaid and other state programs, or, in several states, apply regardless of the payor. Several states now require pharmaceutical
companies to report expenses relating to the marketing and promotion of pharmaceutical products in those states and to report gifts and payments to
individual health care providers in those states. Some of these states also prohibit certain marketing-related activities including the provision of gifts,
meals, or other items to certain health care providers. In addition, several states require pharmaceutical companies to implement compliance programs or
marketing codes.

    The U.S. federal Physician Payment Sunshine Act, being implemented as the Open Payments Program, requires certain manufacturers of drugs,
devices, biologics and medical supplies to engage in extensive tracking of payments and other transfers of value to prescribers and teaching hospitals,
including physician ownership and investment interests, and public reporting of such data. Pharmaceutical and biological manufacturers with products
for which payment is available under Medicare, Medicaid or the State Children’s Health Insurance Program are required to track such payments, and must
submit a report on or before the 90th day of each calendar year disclosing reportable payments made in the previous calendar year. A number of other
countries, states and municipalities have also implemented additional payment tracking and reporting requirements, which if not done correctly may
result in additional penalties.

                                                                               38
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 91 of 426 PageID #: 3064


    In addition, the U.S. Foreign Corrupt Practices Act, or the FCPA, prohibits corporations and individuals from engaging in certain activities to obtain
or retain business or to influence a person working in an official capacity. It is illegal to pay, offer to pay or authorize the payment of anything of value to
any official of another country, government staff member, political party or political candidate in an attempt to obtain or retain business or to otherwise
influence a person working in that capacity. In many other countries, healthcare professionals who prescribe pharmaceuticals are employed by
government entities, and the purchasers of pharmaceuticals are government entities. Our dealings with these prescribers and purchasers may be subject
to the FCPA.

    Other countries, including a number of EU member states, have laws of similar application, including anti-bribery or anti-corruption laws such as the
UK Bribery Act. The UK Bribery Act prohibits giving, offering, or promising bribes to any person, as well as requesting, agreeing to receive, or accepting
bribes from any person. Under the UK Bribery Act, a company that carries on a business or part of a business in the United Kingdom may be held liable
for bribes given, offered or promised to any person in any country by employees or other persons associated with the company in order to obtain or
retain business or a business advantage for the company. Liability under the UK Bribery Act is strict, but a defense of having in place adequate
procedures designed to prevent bribery is available.

   Because of the breadth of these various fraud and abuse laws, it is possible that some of our business activities could be subject to challenge under
one or more of such laws. Such a challenge could have material adverse effects on our business, financial condition and results of operations. In the
event governmental authorities conclude that our business practices do not comply with current or future statutes, regulations or case law involving
applicable fraud and abuse or other healthcare laws and regulations, they may impose sanctions under these laws, which are potentially significant and
may include civil monetary penalties, damages, exclusion of an entity or individual from participation in government health care programs, criminal fines
and imprisonment, as well as the potential curtailment or restructuring of our operations. Even if we are not determined to have violated these laws,
government investigations into these issues typically require the expenditure of significant resources and generate negative publicity, which could harm
our financial condition and divert the attention of our management from operating our business.


Government regulation outside of the United States
    In addition to regulations in the United States, we will be subject to a variety of regulations in other jurisdictions governing, among other things,
clinical studies and any commercial sales and distribution of our products. Because biologically sourced raw materials are subject to unique
contamination risks, their use may be restricted in some countries.

    Whether or not we obtain FDA approval for a product, we must obtain the requisite approvals from regulatory authorities in foreign countries prior to
the commencement of clinical studies or marketing of the product in those countries. Certain countries outside of the United States have a similar process
that requires the submission of a clinical trial application, or CTA, much like the IND prior to the commencement of human clinical studies. In the
European Union, for example, a CTA must be submitted for each clinical trial to each country’s national health authority and an independent ethics
committee, much like the FDA and the IRB, respectively. Once the CTA is approved in accordance with a country’s requirements, the corresponding
clinical study may proceed.

    The requirements and process governing the conduct of clinical studies, product licensing, pricing and reimbursement vary from country to country.
In all cases, the clinical studies are conducted in accordance with GCP and the applicable regulatory requirements and the ethical principles that have
their origin in the Declaration of Helsinki.

    To obtain regulatory approval of an investigational product under European Union regulatory systems, we must submit a marketing authorization
application. The application used to file the BLA in the United States is similar to that required in the European Union, with the exception of, among other
things, region-specific document requirements. The EMA has established the Adaptive Pathways pilot program intended to expedite or facilitate either
an initial approval of a medicinal product in a well-defined patient subgroup with a high medical need and subsequent iterative expansion of the
indication to a larger patient population, or an early regulatory approval (e.g., conditional approval), which is prospectively planned, and where
uncertainty is reduced through the collection of post-approval data on a medicinal product’s use in patients. The approach builds in regulatory
processes already in place within the existing EU legal framework.

    The European Union also provides opportunities for market exclusivity. For example, in the European Union, upon receiving marketing authorization,
innovative medicinal products generally receive eight years of data exclusivity and an additional two years of market exclusivity. If granted, data
exclusivity prevents regulatory authorities in the European Union from referencing the innovator’s data to assess a generic or biosimilar application.
During the additional two-year period of market exclusivity, a generic or biosimilar marketing authorization can be submitted, and the innovator’s data
may be referenced, but no generic or biosimilar product can be marketed until the expiration of the market exclusivity. However, there is no guarantee that
a product will be considered by the European Union’s regulatory authorities to be an innovative medicinal product, and products may not qualify for
data exclusivity. Products receiving orphan designation in the European Union can receive ten years of market exclusivity, during which time no similar
medicinal product for the same indication may be placed on the market. An orphan product can also obtain an additional two years of market exclusivity
in the European Union for pediatric studies. No extension to any supplementary protection certificate can be granted on the basis of pediatric studies for
orphan indications.

                                                                               39
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 92 of 426 PageID #: 3065


    The criteria for designating an “orphan medicinal product” in the European Union are similar in principle to those in the United States. Under Article 3
of Regulation (EC) 141/2000, a medicinal product may be designated as orphan if (1) it is intended for the diagnosis, prevention or treatment of a life-
threatening or chronically debilitating condition; (2) either (a) such condition affects no more than five in 10,000 persons in the European Union when the
application is made, or (b) the product, without the benefits derived from orphan status, would not generate sufficient return in the European Union to
justify investment; and (3) there exists no satisfactory method of diagnosis, prevention or treatment of such condition authorized for marketing in the
European Union, or if such a method exists, the product will be of significant benefit to those affected by the condition, as defined in Regulation (EC)
847/2000. Orphan medicinal products are eligible for financial incentives such as reduction of fees or fee waivers and are, upon grant of a marketing
authorization, entitled to ten years of market exclusivity for the approved therapeutic indication. The application for orphan drug designation must be
submitted before the application for marketing authorization. The applicant will receive a fee reduction for the marketing authorization application if the
orphan drug designation has been granted, but not if the designation is still pending at the time the marketing authorization is submitted. Orphan drug
designation does not convey any advantage in, or shorten the duration of, the regulatory review and approval process.

    The 10-year market exclusivity may be reduced to six years if, at the end of the fifth year, it is established that the product no longer meets the criteria
for orphan designation, for example, if the product is sufficiently profitable not to justify maintenance of market exclusivity. Additionally, marketing
authorization may be granted to a similar product for the same indication at any time if:
   •   The second applicant can establish that its product, although similar, is safer, more effective or otherwise clinically superior;
   •   The applicant consents to a second orphan medicinal product application; or
   •   The applicant cannot supply enough orphan medicinal product.

    In the EU, the advertising and promotion of our products will also be subject to EU member states’ laws concerning promotion of medicinal products,
interactions with physicians, misleading and comparative advertising and unfair commercial practices, as well as other EU member state legislation that
may apply to the advertising and promotion of medicinal products. These laws require that promotional materials and advertising in relation to medicinal
products comply with the product’s approved labeling. The off-label promotion of medicinal products is prohibited in the EU. The applicable laws at the
EU level and in the individual EU member states also prohibit the direct-to-consumer advertising of prescription-only medicinal products. Violations of
the rules governing the promotion of medicinal products in the EU could be penalized by administrative measures, fines and imprisonment. These laws
may further limit or restrict communications concerning the advertising and promotion of our products to the general public and may also impose
limitations on our promotional activities with healthcare professionals.

    Failure to comply with the EU member state laws implementing the Community Code on medicinal products, and EU rules governing the promotion of
medicinal products, interactions with physicians, misleading and comparative advertising and unfair commercial practices, with the EU member state laws
that apply to the promotion of medicinal products, statutory health insurance, bribery and anti-corruption or with other applicable regulatory
requirements can result in enforcement action by the EU member state authorities, which may include any of the following: fines, imprisonment, orders
forfeiting products or prohibiting or suspending their supply to the market, or requiring the manufacturer to issue public warnings, or to conduct a
product recall.

    The national laws of certain EU member states require payments made to physicians to be publicly disclosed. Moreover, the European Federation of
Pharmaceutical Industries and Associations, or EFPIA, Code on disclosure of transfers of value from pharmaceutical companies to healthcare
professionals and healthcare organizations imposes a general obligation on members of the EFPIA or related national industry bodies to disclose
transfers of value to healthcare professionals. In addition, agreements with physicians must often be the subject of prior notification and approval by the
physician’s employer, his/her competent professional organization, and/or the competent authorities of the individual EU member states. These
requirements are provided in the national laws, industry codes, or professional codes of conduct, applicable in the EU member states.

   For other countries outside of the EU, such as countries in Eastern Europe, Central and South America or Asia, the requirements governing the
conduct of clinical trials, product licensing, pricing and reimbursement vary from country to country. This act could have implications for our interactions
with physicians in and outside the UK. In all cases, again, the clinical trials are conducted in accordance with GCP, applicable regulatory requirements,
and ethical principles that have their origin in the Declaration of Helsinki.

    If we fail to comply with applicable foreign regulatory requirements, we may be subject to, among other things, warning letters or untitled letters,
injunctions, civil, administrative, or criminal penalties, monetary fines or imprisonment, suspension or withdrawal of regulatory approvals, suspension of
ongoing clinical studies, refusal to approve pending applications or supplements to applications filed by us, suspension or the imposition of restrictions
on operations, product recalls, the refusal to permit the import or export of our products or the seizure or detention of products.

                                                                               40
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 93 of 426 PageID #: 3066


Pricing, Coverage and Reimbursement
   Significant uncertainty exists as to the coverage and reimbursement status of any drug products for which we obtain regulatory approval. In the
United States, sales of any products for which we may receive regulatory approval for commercial sale will depend in part on the availability of
reimbursement from third-party payors and/or governments. Third-party payors can include government healthcare systems, managed care providers,
private health insurers and other organizations. The process for determining whether a payor will provide coverage for a drug product may be separate
from the process for setting the price or reimbursement rate that the payor will pay for the drug product. Third-party payors may limit coverage to specific
drug products on an approved list, or formulary, which might not include all of the FDA-approved drugs for a particular indication. Third-party payors
may provide coverage, but place stringent limitations on such coverage, such as requiring alternative treatments to be tried first. These third-party
payors are increasingly challenging the price and examining the medical necessity and cost-effectiveness of medical products and services, in addition to
their safety, efficacy, and overall value. In addition, significant uncertainty exists as to the reimbursement status of newly approved healthcare products.
We may need to conduct expensive pharmacoeconomic studies in order to demonstrate the medical necessity and cost-effectiveness of our products, in
addition to incurring the costs required to obtain FDA approvals. Our product candidates may not be considered medically reasonable or necessary or
cost-effective. Even if a drug product is covered, a payor’s decision to provide coverage for a drug product does not imply that an adequate
reimbursement rate will be approved. Adequate third-party reimbursement may not be available to enable us to maintain price levels sufficient to realize
an appropriate return on our investment in product development.

    Federal, state and local governments in the United States and foreign governments continue to consider legislation to limit the growth of healthcare
costs, including the cost of prescription drugs. Specifically, there have been several recent U.S. Congressional inquiries and proposed federal and state
legislation designed to, among other things, bring more transparency to drug pricing, reduce the cost of prescription drugs under Medicare, review the
relationship between pricing and manufacturer patient programs, and reform government program reimbursement methodologies for drugs. On January 2,
2013, the American Taxpayer Relief Act of 2012 was signed into law, which, among other things, further reduced Medicare payments to several types of
providers. Future legislation could limit payments for pharmaceuticals such as the drug candidates that we are developing.

    Different pricing and reimbursement schemes exist in other countries. In the EU, governments influence the price of drug products through their
pricing and reimbursement rules and control of national health care systems that fund a large part of the cost of those products to consumers. Some
jurisdictions operate systems under which products may be marketed only after a reimbursement price has been agreed. To obtain reimbursement or
pricing approval, some of these countries may require the completion of studies or analyses of clinical trials that compare the cost-effectiveness of a
particular product candidate to currently available therapies. Other member states allow companies to set their own prices for medicines, but exert cost
controls in other ways, including but not limited to, placing revenue caps on product sales, providing reimbursement for only a subset of eligible
patients, mandating price negotiations after a set period of time, or mandating that prices not exceed an average basket of prices in other countries. The
downward pressure on health care costs in general, particularly treatments, has become very intense. As a result, increasingly high barriers are being
erected to the entry of new products. In addition, European governments may periodically review and decrease prices based on factors, including but not
limited to, yeas-on-market, price in other countries, competitive entry, new clinical data, lack of supporting clinical data, or other factors.

    The marketability of any products for which we receive regulatory approval for commercial sale may suffer if the government and third-party payors
fail to provide adequate coverage and reimbursement. In addition, the emphasis on managed care in the United States has increased and we expect will
continue to exert downward pressure on pharmaceutical pricing. Coverage policies, third-party reimbursement rates and pharmaceutical pricing
regulations may change at any time. Even if favorable coverage and reimbursement status is attained for one or more products for which we receive
regulatory approval, less favorable coverage policies and reimbursement rates may be implemented in the future.

    We have proposed novel payment models, including outcomes-based arrangements with payments over time, to assist with realizing the value and
sharing the risk of a potential one-time treatment, such as our LentiGlobin product candidate. While we are engaged in discussions with potential payors,
there is no assurance that any payors will adopt these payment models. Even with these payment models, there may be substantial resistance to the cost
of our products by payors and the public generally. These payment models may not be sufficient for payors to grant coverage, and if we are unable to
obtain adequate coverage for our products, the adoption of our products and access for patients may be limited. In addition, to the extent reimbursement
for our products is subject to outcomes-based arrangements, our future revenues from product sales will be more at risk. These factors could affect our
ability to successfully commercialize our products and adversely impact our business, financial condition, results of operations and prospects.

                                                                            41
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 94 of 426 PageID #: 3067


Employees
  As of January 31, 2019, we had 764 full-time employees, 153 of whom have Ph.D., M.D. or Pharm.D. degrees. Of these full-time employees, 540
employees are engaged in research and development activities and 224 employees are engaged in commercial, finance, legal, business development,
human resources, information technology, facilities and other general administrative functions. We have no collective bargaining agreements with our
employees and we have not experienced any work stoppages. We consider our relations with our employees to be good.


Corporate Information
    We were incorporated in Delaware in April 1992 under the name Genetix Pharmaceuticals, Inc., and subsequently changed our name to bluebird bio,
Inc. in September 2010. Our mailing address and executive offices are located at 60 Binney Street, Cambridge, Massachusetts and our telephone number
at that address is (339) 499-9300. We maintain an Internet website at the following address: www.bluebirdbio.com. The information on our website is not
incorporated by reference in this annual report on Form 10-K or in any other filings we make with the Securities and Exchange Commission, or SEC.

    We make available on or through our website certain reports and amendments to those reports that we file with or furnish to the SEC in accordance
with the Securities Exchange Act of 1934, as amended. These include our annual reports on Form 10-K, our quarterly reports on Form 10-Q, and our
current reports on Form 8-K, and amendments to those reports filed or furnished pursuant to Section 13(a) or 15(d) of the Exchange Act. We make this
information available on or through our website free of charge as soon as reasonably practicable after we electronically file the information with, or
furnish it to, the SEC.
Item 1A. Risk Factors
    An investment in shares of our common stock involves a high degree of risk. You should carefully consider the following information about these
risks, together with the other information appearing elsewhere in this Annual Report on Form 10-K, including our financial statements and related
notes hereto, before deciding to invest in our common stock. The occurrence of any of the following risks could have a material adverse effect on our
business, financial condition, results of operations and future growth prospects. In these circumstances, the market price of our common stock could
decline, and you may lose all or part of your investment.


Risks related to the development of our product candidates
Our gene therapy product candidates are based on a novel technology, which makes it difficult to predict the time and cost of product candidate
development and subsequently obtaining regulatory approval.
    We have concentrated our therapeutic product research and development efforts on our gene therapy platform, and our future success depends on
the successful development of this therapeutic approach. There can be no assurance that any development problems we experience in the future related
to our gene therapy platform will not cause significant delays or unanticipated costs, or that such development problems can be solved. We may also
experience delays in developing a sustainable, reproducible and commercial-scale manufacturing process or transferring that process to commercial
partners, which may prevent us from completing our clinical studies or commercializing our products on a timely or profitable basis, if at all.

   In addition, the clinical study requirements of the U.S. Food and Drug Administration, or FDA, the European Medicines Agency, or EMA, and other
regulatory agencies and the criteria these regulators use to determine the safety and efficacy of a product candidate vary substantially according to the
type, complexity, novelty and intended use and market of the potential products. The regulatory approval process for novel product candidates such as
ours can be more expensive and take longer than for other, better known or more extensively studied pharmaceutical or other product candidates.
Currently, a limited number of gene therapy products, including CAR T therapies, have been approved by the FDA, the EMA and the European
Commission. Given the few precedents of approved gene therapy products, it is difficult to determine how long it will take or how much it will cost to
obtain regulatory approvals for our product candidates in the United States, the EU or other jurisdictions. Approvals by the EMA and the European
Commission may not be indicative of what the FDA may require for approval.

    Regulatory requirements governing the development of gene therapy products have changed frequently and may continue to change in the future.
The FDA has established the Office of Tissues and Advanced Therapies within the CBER, to consolidate the review of gene therapy and related
products, and to advise the CBER on its review. The FDA can put an investigational new drug application, or IND, on clinical hold if the information in an
IND is not sufficient to assess the risks in pediatric patients. Before a clinical study can begin at any institution, that institution’s IRB, and its
Institutional Biosafety Committee will have to review the proposed clinical study to assess the safety of the study. Moreover, serious adverse events or
developments in clinical trials of gene therapy product candidates conducted by others may cause the FDA or other regulatory bodies to initiate a
clinical hold on our clinical trials or otherwise change the requirements for approval of any of our product candidates.

                                                                            42
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 95 of 426 PageID #: 3068


    These regulatory review agencies, committees and advisory groups and the new requirements and guidelines they promulgate may lengthen the
regulatory review process, require us to perform additional or larger studies, increase our development costs, lead to changes in regulatory positions and
interpretations, delay or prevent approval and commercialization of these treatment candidates or lead to significant post-approval studies, limitations or
restrictions. As we advance our product candidates, we will be required to consult with these regulatory and advisory groups and comply with
applicable requirements and guidelines. If we fail to do so, we may be required to delay or discontinue development of our product candidates. Delay or
failure to obtain, or unexpected costs in obtaining, the regulatory approval necessary to bring a potential product to market could decrease our ability to
generate sufficient product revenue to maintain our business.


Success in early clinical studies may not be indicative of results obtained in later studies.
    Results from previous or ongoing studies are not necessarily predictive of our future clinical study results, and initial or interim results may not
continue or be confirmed upon completion of the study. There is limited data concerning long-term safety and efficacy following treatment with our gene
therapy and T cell-based product candidates. These data, or other positive data, may not continue or occur for these patients or for any future patients in
our ongoing or future clinical studies, and may not be repeated or observed in ongoing or future studies involving our product candidates. For instance,
while patients with TDT who have been treated with our LentiGlobin product candidate may experience a reduction or temporary elimination of
transfusion support, there can be no assurance that they will not require transfusion support in the future. Similarly, patients with relapsed and refractory
multiple myeloma who have been treated with the bb2121 or the bb21217 product candidate may experience disease progression. We have experienced
unexpected results in the past, and we may experience unexpected results in the future. For instance, initial results from our clinical studies of LentiGlobin
suggested that patients with TDT and non-β0 /β0 genotypes experienced better outcomes to treatment than patients with TDT and β 0 /β0 genotypes.
Consequently, we are seeking conditional approval in the EU, and we expect to seek FDA approval in the United States, of our LentiGlobin product
candidate initially for the treatment of patients with TDT and non-β0 /β0 genotypes. In order to support an application for FDA approval of our
LentiGlobin product candidate in patients with TDT and β0 /β0 genotypes, we initiated the HGB-212 study, but we do not know if or when our
LentiGlobin product candidate may be commercially available to patients with all genotypes. Furthermore, our product candidates may also fail to show
the desired safety and efficacy in later stages of clinical development despite having successfully advanced through initial clinical studies. There can be
no assurance that any of these studies will ultimately be successful or support further clinical advancement or regulatory approval of our product
candidates.

    There is a high failure rate for drugs and biologics proceeding through clinical studies. A number of companies in the pharmaceutical and
biotechnology industries have suffered significant setbacks in later stage clinical studies even after achieving promising results in earlier stage clinical
studies. Data obtained from preclinical and clinical activities are subject to varying interpretations, which may delay, limit or prevent regulatory approval.
In addition, regulatory delays or rejections may be encountered as a result of many factors, including changes in regulatory policy during the period of
product development.


Even if we complete the necessary preclinical and clinical studies, we cannot predict when or if we will obtain regulatory approval to commercialize
a product candidate or the approval may be for a more narrow indication than we expect.
    We cannot commercialize a product until the appropriate regulatory authorities have reviewed and approved the product candidate. Even if our
product candidates demonstrate safety and efficacy in clinical studies, the regulatory agencies may not complete their review processes in a timely
manner, or we may not be able to obtain regulatory approval. Additional delays may result if an FDA Advisory Committee or other regulatory advisory
group or authority recommends non-approval or restrictions on approval. In addition, we may experience delays or rejections based upon additional
government regulation from future legislation or administrative action, or changes in regulatory agency policy during the period of product development,
clinical studies and the review process. Regulatory agencies also may approve a treatment candidate for fewer or more limited indications than requested
or may grant approval subject to the performance of post-marketing studies. In addition, regulatory agencies may not approve the labeling claims that are
necessary or desirable for the successful commercialization of our treatment candidates. For example, the development of our product candidates for
pediatric use is an important part of our current business strategy, and if we are unable to obtain regulatory approval for the desired age ranges, our
business may suffer.

    In October 2018, we announced that the EMA accepted the submission of our MAA of our LentiGlobin product candidate for the treatment of adult
and adolescent patients with TDT and non-β 0 /β0 genotypes. Whether our LentiGlobin product candidate is eligible for conditional approval will
ultimately be determined at the discretion of the EMA and European Commission, and will be dependent upon the data available, which may not be
sufficiently robust from a safety and/or efficacy perspective to support conditional approval. The EMA may require that we conduct additional or larger
clinical trials before our LentiGlobin product candidate is eligible for approval. Even if conditional approval is obtained, the conditions to be imposed on
us under this program are unknown and will be imposed at the time of any such conditional approval.

                                                                              43
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 96 of 426 PageID #: 3069


    In general, the FDA requires the successful completion of two pivotal trials to support approval of a BLA, but in certain circumstances, will approve a
BLA based on only one pivotal trial. If successful, we believe the results from our ongoing Northstar-2 study, together with data from our Northstar
study and ongoing HGB-205 study, could be sufficient to form the basis for a BLA submission for our LentiGlobin product candidate to treat adult and
adolescent patients with TDT and non-β0 /β0 genotypes. In addition, if successful, we believe the results from our Northstar-3 study, together with data
from our Northstar study and ongoing Northstar-2 study, could be sufficient to form the basis for a BLA supplement submission for our LentiGlobin
product candidate to treat patients with TDT and β0 /β0 genotypes. However, it should be noted that our ability to submit and obtain approval of a BLA
is ultimately an FDA review decision, which will be dependent upon the data available at such time, and the available data may not be sufficiently robust
from a safety and/or efficacy perspective to support the submission or approval of a BLA. Depending on the outcome of these ongoing clinical studies,
the FDA may require that we conduct additional or larger pivotal trials before we can submit or obtain approval for a BLA for our LentiGlobin product
candidate for the treatment of TDT.

    Based on our discussions with the FDA and EMA, we believe that we may be able to seek approval for our Lenti-D product candidate for the
treatment of patients with CALD on the basis of the clinical data from our ongoing Starbeam study, and the ongoing ALD-103 observational study. Our
regulatory submission plans are contingent upon our Lenti-D product candidate demonstrating sufficient efficacy and safety in the Starbeam study.
Whether our Lenti-D product candidate is eligible for approval will ultimately be determined at the discretion of the FDA and EMA, and will be
dependent upon the data available at such time, and the available data may not be sufficiently robust from a safety and/or efficacy perspective to
support approval. Depending on the outcome of our ongoing studies, the FDA in the United States and EMA and European Commission in the EU may
require that we conduct additional or larger clinical trials before our Lenti-D product candidate is eligible for approval.

   In the development of our LentiGlobin product candidate for the treatment of patients with SCD, we are exploring efficacy endpoints based on βA-
T87Q expression and total hemoglobin, and the relationship such endpoints have with clinical outcomes. Our development plans in the United States are
contingent upon our LentiGlobin product candidate demonstrating sufficient efficacy and safety in the ongoing HGB-206 study and planned HGB-210
study. Whether our LentiGlobin product candidate is eligible for approval will ultimately be determined at the discretion of the FDA and will be
dependent upon the data available at such time, and the available data may not be sufficiently robust from a safety and/or efficacy perspective to
support approval. For instance, the FDA may not accept βA-T87Q expression and total hemoglobin as surrogate endpoints for other SCD clinical
outcomes such as frequency of vaso-occlusive events. Depending on the outcome of our ongoing and planned studies, the FDA may require that we
conduct additional or larger clinical trials before our LentiGlobin product candidate is eligible for approval for the treatment of patients with SCD. In
addition, we are engaged with the EMA in discussions regarding our proposed development plans for LentiGlobin in SCD in Europe, and we cannot be
certain that our HGB-206 study and planned HGB-210 study will be sufficient to form the basis for an initial MAA submission in Europe for the treatment
of patients with SCD.


We may encounter substantial delays in our clinical studies or we may fail to demonstrate safety and efficacy to the satisfaction of applicable
regulatory authorities.
    Before obtaining marketing approval from regulatory authorities for the sale of our product candidates, we must conduct extensive clinical studies to
demonstrate the safety, purity and potency, or efficacy, of the product candidates in humans. Clinical testing is expensive, time-consuming and uncertain
as to outcome. We cannot guarantee that any clinical studies will be conducted as planned or completed on schedule, if at all. A failure of one or more
clinical studies can occur at any stage of testing. Events that may prevent successful or timely completion of clinical development include:
   •   delays in reaching a consensus with regulatory agencies on study design;
   •   delays in obtaining required IRB or Institutional Ethics Committee approval at each clinical study site;
   •   imposition of a clinical hold by regulatory agencies, after an inspection of our clinical study operations or study sites or due to unforeseen safety
       issues;
   •   failure by our CROs, other third parties or us to adhere to clinical study requirements;
   •   failure to perform in accordance with the FDA’s good clinical practices, or GCP, or applicable regulatory requirements in other countries;
   •   delays in the testing, validation, manufacturing and delivery of our product candidates to the clinical sites;
   •   failure to obtain sufficient cells from patients to manufacture enough drug product or achieve target cell doses;
   •   delays in having patients complete participation in a study or return for post-treatment follow-up;

                                                                             44
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 97 of 426 PageID #: 3070


   •   clinical study sites or patients dropping out of a study;
   •   occurrence of serious adverse events associated with the product candidate that are viewed to outweigh its potential benefits; or
   •   changes in regulatory requirements and guidance that require amending or submitting new clinical protocols.

    Furthermore, identifying and qualifying patients to participate in clinical studies of our product candidates is critical to our success. The timing of our
clinical studies depends on the speed at which we can recruit eligible patients to participate in testing our product candidates. We may not be able to
identify, recruit and enroll a sufficient number of patients, or those with required or desired characteristics to achieve diversity in a study, to complete our
clinical studies in a timely manner. The conditions for which we plan to evaluate our current product candidates in severe genetic diseases are rare
disorders with limited patient pools from which to draw for clinical studies. The eligibility criteria of our clinical studies will further limit the pool of
available study participants, and the process of finding and diagnosing patients may prove costly. Patients may be unwilling to participate in our studies
because of negative publicity from adverse events in the biotechnology or gene therapy industries or for other reasons, including competitive clinical
studies for similar patient populations. We have experienced delays in some of our clinical studies in the past, and we may experience similar delays in the
future.

   Any inability to successfully complete preclinical and clinical development could result in additional costs to us or impair our ability to generate
revenues from product sales, regulatory and commercialization milestones and royalties. In addition, if we make manufacturing or formulation changes to
our product candidates, we may need to conduct additional studies to demonstrate comparability of our modified product candidates to earlier versions.

   Clinical study delays could also shorten any periods during which we may have the exclusive right to commercialize our product candidates or allow
our competitors to bring products to market before we do, which could impair our ability to successfully commercialize our product candidates and may
harm our business and results of operations.

   If the results of our clinical studies are inconclusive or if there are safety concerns or adverse events associated with our product candidates, we may:
   •   be delayed in obtaining regulatory approval for our product candidates, if at all;
   •   obtain approval for indications or patient populations that are not as broad as intended or desired;
   •   obtain approval with labeling that includes significant use or distribution restrictions or safety warnings;
   •   be required to perform additional clinical studies or clinical studies of longer duration to support approval or be subject to additional post-
       marketing testing requirements;
   •   have regulatory authorities withdraw their approval of the product or impose restrictions on its use;
   •   be subject to the addition of labeling statements, such as warnings or contraindications;
   •   be sued; or
   •   experience damage to our reputation.

   Treatment with our gene therapy product candidates involves chemotherapy and myeloablative treatments, which can cause side effects or adverse
events that are unrelated to our product candidates, but may still impact the perception of the potential benefits of our product candidates and the
success of our clinical studies. Additionally, our product candidates could potentially cause other adverse events that have not yet been predicted. The
inclusion of critically ill patients in our clinical studies may result in deaths or other adverse medical events due to other therapies or medications that
such patients may be using, or the progression of their disease. As described above, any of these events could prevent us from achieving or maintaining
market acceptance of our product candidates and impair our ability to commercialize our products.

                                                                              45
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 98 of 426 PageID #: 3071


In previous clinical studies involving viral vectors for gene therapy, some subjects experienced serious adverse events, including the development of
leukemia due to vector-related insertional oncogenesis. If our vectors demonstrate a similar effect, we may be required to halt or delay further
clinical development of our product candidates.
    A significant risk in any gene therapy product based on viral vectors is that the vector will insert in or near cancer-causing oncogenes leading to
uncontrolled clonal proliferation of mature cancer cells in the patient. In published studies, lentiviral vectors have demonstrated an improved safety
profile over gamma-retroviral vectors used in early gene therapy studies, with no disclosed events of gene therapy-related adverse events, which we
believe is due to a number of factors including the tendency of these vectors to integrate within genes rather than in areas that control gene expression,
as well as their lack of strong viral enhancers. However, it should be noted that in a phase 1/2 study of HPV569, which utilized an earlier generation
lentiviral vector of our LentiGlobin vector, we initially observed in one subject that a disproportionate number of the cells expressing our functional gene
had the same insertion site. Tests showed that this partial clonal dominance contained an insertion of the functional gene in the HMGA2 gene that
persisted for a period of two to three years. Although there was some initial concern that the observed clonal dominance might represent a pre-leukemic
event, there have been no adverse clinical consequences of this event, or any signs of cancer, in over seven years since the observation was made. The
presence of the HMGA2 clone has steadily declined in this subject over time to the point that it is no longer the most common clone observed in this
subject.

   Notwithstanding the historical data regarding the potential safety improvements of lentiviral vectors, the risk of insertional oncogenesis remains a
significant concern for gene therapy and we cannot assure that it will not occur in any of our ongoing or planned clinical studies. There is also the
potential risk of delayed adverse events following exposure to gene therapy products due to persistent biological activity of the genetic material or other
components of products used to carry the genetic material. The FDA has stated that lentiviral vectors possess characteristics that may pose high risks of
delayed adverse events. If any such adverse events occur, further advancement of our clinical studies could be halted or delayed, which would have a
material adverse effect on our business and operations.


Patients receiving T cell-based immunotherapies such as our oncology product candidates bb2121 and bb21217, may experience serious adverse
events, including neurotoxicity and cytokine release syndrome. If our product candidates are revealed to have high and unacceptable severity
and/or prevalence of side effects or unexpected characteristics, their clinical development, regulatory approval, and commercial potential will be
negatively impacted, which will significantly harm our business, financial condition and prospects.
    The bb2121 and bb21217 product candidates are chimeric antigen receptor, or CAR, T cell-based immunotherapies. In previous and ongoing clinical
studies involving CAR T cell products, including those involving the bb2121 and bb21217 product candidates, patients experienced side effects such as
neurotoxicity and cytokine release syndrome. There have been life threatening events related to severe neurotoxicity and cytokine release syndrome,
requiring intense medical intervention such as intubation or pressor support, and in several cases, resulted in death. Severe neurotoxicity is a condition
that is currently defined clinically by cerebral edema, confusion, drowsiness, speech impairment, tremors, seizures, or other central nervous system side
effects, when such side effects are serious enough to lead to intensive care. In some cases, severe neurotoxicity was thought to be associated with the
use of certain lymphodepletion regimens used prior to the administration of the CAR T cell products. Cytokine release syndrome is a condition that is
currently defined clinically by certain symptoms related to the release of cytokines, which can include fever, chills, low blood pressure, when such side
effects are serious enough to lead to intensive care with mechanical ventilation or significant vasopressor support. The exact cause or causes of cytokine
release syndrome and severe neurotoxicity in connection with treatment of CAR T cell products is not fully understood at this time. In addition, patients
have experienced other adverse events in these studies, such as a reduction in the number of blood cells (in the form of neutropenia, thrombocytopenia,
anemia or other cytopenias), febrile neutropenia, chemical laboratory abnormalities (including elevated liver enzymes), and renal failure.

    Undesirable side effects caused by the bb2121 or bb21217 product candidate, other CAR T product candidates targeting BCMA, or our other T cell-
based immunotherapy product candidates, could cause us or regulatory authorities to interrupt, delay or halt clinical studies and could result in a more
restrictive label or the delay or denial of regulatory approval by the FDA or other comparable foreign regulatory authorities. In some cases, side effects
such as neurotoxicity or cytokine release syndrome has resulted in clinical holds of ongoing clinical trials and/or discontinuation of the development of
the product candidate. Results of our studies could reveal a high and unacceptable severity and prevalence of side effects or unexpected characteristics.
Treatment-related side effects could also affect patient recruitment or the ability of enrolled patients to complete the studies or result in potential product
liability claims. In addition, these side effects may not be appropriately recognized or managed by the treating medical staff, as toxicities resulting from T
cell-based immunotherapies are not normally encountered in the general patient population and by medical personnel. Medical personnel may need
additional training regarding T cell-based immunotherapy product candidates to understand their side effects. Inadequate training in recognizing or
failure to effectively manage the potential side effects of T cell-based immunotherapy product candidates could result in patient deaths. Any of these
occurrences may harm our business, financial condition and prospects significantly.

                                                                              46
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 99 of 426 PageID #: 3072


Even if we obtain regulatory approval for a product candidate, our products will remain subject to regulatory scrutiny.
   Even if we obtain regulatory approval in a jurisdiction, the regulatory authority may still impose significant restrictions on the indicated uses or
marketing of our product candidates, or impose ongoing requirements for potentially costly post-approval studies, post-market surveillance or patient or
drug restrictions. For example, the FDA typically advises that patients treated with gene therapy undergo follow-up observations for potential adverse
events for a 15-year period. Additionally, the holder of an approved BLA is obligated to monitor and report adverse events and any failure of a product to
meet the specifications in the BLA. The holder of an approved BLA must also submit new or supplemental applications and obtain FDA approval for
certain changes to the approved product, product labeling or manufacturing process. Advertising and promotional materials must comply with FDA rules
and are subject to FDA review, in addition to other potentially applicable federal and state laws.

    In addition, product manufacturers and their facilities are subject to payment of user fees and continual review and periodic inspections by the FDA
and other regulatory authorities for compliance with good manufacturing practices, or GMP, and adherence to commitments made in the BLA. If we or a
regulatory agency discovers previously unknown problems with a product such as adverse events of unanticipated severity or frequency, or problems
with the facility where the product is manufactured, a regulatory agency may impose restrictions relative to that product or the manufacturing facility,
including requiring recall or withdrawal of the product from the market or suspension of manufacturing.

   If we fail to comply with applicable regulatory requirements following approval of any of our product candidates, a regulatory agency may:
   •   issue a warning letter asserting that we are in violation of the law;
   •   seek an injunction or impose civil or criminal penalties or monetary fines;
   •   suspend or withdraw regulatory approval;
   •   suspend any ongoing clinical studies;
   •   refuse to approve a pending marketing application, such as a BLA or supplements to a BLA submitted by us;
   •   seize product; or
   •   refuse to allow us to enter into supply contracts, including government contracts.

   Any government investigation of alleged violations of law could require us to expend significant time and resources in response and could generate
negative publicity. The occurrence of any event or penalty described above may inhibit our ability to commercialize our product candidates and generate
revenues.


The United Kingdom’s decision to withdraw from the European Union could result in increased regulatory and legal complexity, which may make it
more difficult for us to do business in Europe and impose additional challenges in securing regulatory approval of our product candidates in
Europe.
    Negotiations for the United Kingdom’s exit from the EU, or Brexit, has caused political and economic uncertainty, including in the regulatory
framework applicable to our operations and potential products, and this uncertainty may persist for years. Brexit could, among other outcomes, disrupt
the free movement of goods, services and people between the United Kingdom and the EU, and result in increased legal and regulatory complexities, as
well as potential higher costs of conducting business in Europe. For instance, preparations for Brexit has resulted in the decision to move the EMA from
the United Kingdom to the Netherlands, with operations currently scheduled to begin in the Netherlands by March 2019. This transition may cause
disruption or delays in granting clinical trial authorization or opinions for marketing authorization, disruption of importation and export of active
substance and other components of new drug formulations, and disruption of the supply chain for clinical trial product and final authorized formulations.

    The cumulative effects of the disruption to the regulatory framework may add considerably to the development lead time to marketing authorization
and commercialization of products in the European Union and/or the United Kingdom. It is possible that there will be increased regulatory complexities
which can disrupt the timing of our clinical trials and regulatory approvals. In addition, changes in, and legal uncertainty with regard to, national and
international laws and regulations may present difficulties for our clinical and regulatory strategy. Any delay in obtaining, or an inability to obtain, any
marketing approvals, as a result of Brexit or otherwise, would prevent us from commercializing our product candidates in the United Kingdom and/or the
European Union and restrict our ability to generate revenues and achieve and sustain profitability. In particular, we cannot predict whether, or the extent
to which, Brexit will affect the timing for the potential commercial launch of our LentiGlobin product candidate in Europe in 2019.

                                                                               47
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 100 of 426 PageID #: 3073


   In addition, as a result of Brexit, other European countries may seek to conduct referenda with respect to their continuing membership with the
European Union. Given these possibilities and others we may not anticipate, as well as the absence of comparable precedent, it is unclear what financial,
regulatory and legal implications the withdrawal of the United Kingdom from the European Union would have and how such withdrawal would affect us,
and the full extent to which our business could be adversely affected.


Risks related to our reliance on third parties
We expect to rely on third parties to conduct some or all aspects of our lentiviral vector production, drug product manufacturing, research and
preclinical and clinical testing, and these third parties may not perform satisfactorily.
    We do not expect to independently conduct all aspects of our lentiviral vector production, drug product manufacturing, research and preclinical and
clinical testing. We currently rely, and expect to continue to rely, on third parties with respect to these items. In some cases these third parties are
academic, research or similar institutions that may not apply the same quality control protocols utilized in certain commercial settings.

    Our reliance on these third parties for research and development activities will reduce our control over these activities but will not relieve us of our
responsibility to ensure compliance with all required regulations and study protocols. For example, for product candidates that we develop and
commercialize on our own, we will remain responsible for ensuring that each of our IND-enabling studies and clinical studies are conducted in
accordance with the study plan and protocols, and that our lentiviral vectors and drug products are manufactured in accordance with GMP as applied in
the relevant jurisdictions.

    If these third parties do not successfully carry out their contractual duties, meet expected deadlines, conduct our studies in accordance with
regulatory requirements or our stated study plans and protocols, or manufacture our lentiviral vectors and drug products in accordance with GMP, we
will not be able to complete, or may be delayed in completing, the preclinical and clinical studies and manufacturing process validation activities required
to support future IND, MAA and BLA submissions and approval of our product candidates. Many of our agreements with these third parties contain
termination provisions that allow these third parties to terminate their relationships with us at any time. If we need to enter into alternative arrangements,
our product development and commercialization activities could be delayed.

   Reliance on third-party manufacturers entails risks to which we would not be subject if we manufactured the product candidates ourselves, including:
   •   the inability to negotiate manufacturing agreements with third parties under commercially reasonable terms;
   •   reduced control as a result of using third-party manufacturers for all aspects of manufacturing activities;
   •   the risk that these activities are not conducted in accordance with our study plans and protocols;
   •   termination or nonrenewal of manufacturing agreements with third parties in a manner or at a time that is costly or damaging to us; and
   •   disruptions to the operations of our third-party manufacturers or suppliers caused by conditions unrelated to our business or operations,
       including the bankruptcy of the manufacturer or supplier.

    We may be forced to manufacture lentiviral vector and drug product candidates ourselves, for which we may not have the capabilities or resources, or
enter into an agreement with a different manufacturer, which we may not be able to do on reasonable terms, if at all. In some cases, the technical skills
required to manufacture our lentiviral vector or drug product candidates may be unique or proprietary to the original manufacturer, and we may have
difficulty or there may be contractual restrictions prohibiting us from, transferring such skills to a back-up or alternate supplier, or we may be unable to
transfer such skills at all. Any of these events could lead to clinical study delays or failure to obtain regulatory approval, or impact our ability to
successfully commercialize future products. Some of these events could be the basis for FDA action, including injunction, recall, seizure or total or partial
suspension of production.

                                                                              48
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 101 of 426 PageID #: 3074


We and our contract manufacturers are subject to significant regulation with respect to manufacturing our products. The manufacturing facilities
on which we rely may not continue to meet regulatory requirements and have limited capacity.
    All entities involved in the preparation of therapeutics for clinical studies or commercial sale, including our existing contract manufacturers for our
product candidates, are subject to extensive regulation. Some components of a finished therapeutic product approved for commercial sale or used in late-
stage clinical studies must be manufactured in accordance with GMP. These regulations govern manufacturing processes and procedures (including
record keeping) and the implementation and operation of quality systems to control and assure the quality of investigational products and products
approved for sale. Poor control of production processes can lead to the introduction of adventitious agents or other contaminants, or to inadvertent
changes in the properties or stability of our product candidates that may not be detectable in final product testing. We or our contract manufacturers
must supply all necessary documentation in support of a BLA or MAA on a timely basis and where required, must adhere to the FDA’s or other
regulator’s good laboratory practices, or GLP, and GMP regulations enforced by the FDA or other regulator through facilities inspection programs. Some
of our contract manufacturers have not produced a commercially-approved product and therefore have not obtained the requisite FDA or other
regulatory approvals to do so. Our facilities and quality systems and the facilities and quality systems of some or all of our third-party contractors must
pass a pre-approval inspection for compliance with the applicable regulations as a condition of regulatory approval of our product candidates or any of
our other potential products. In addition, the regulatory authorities may, at any time, audit or inspect a manufacturing facility involved with the
preparation of our product candidates or our other potential products or the associated quality systems for compliance with the regulations applicable to
the activities being conducted. If these facilities do not pass a pre-approval plant inspection, FDA or other regulatory approval of the products will not
be granted.

   The regulatory authorities also may, at any time following approval of a product for sale, audit the manufacturing facilities of our third-party
contractors. If any such inspection or audit identifies a failure to comply with applicable regulations or if a violation of our product specifications or
applicable regulations occurs independent of such an inspection or audit, we or the relevant regulatory authority may require remedial measures that may
be costly and/or time-consuming for us or a third party to implement and that may include the temporary or permanent suspension of a clinical study or
commercial sales or the temporary or permanent closure of a facility. Any such remedial measures imposed upon us or third parties with whom we
contract could materially harm our business.

   If we or any of our third-party manufacturers fail to maintain regulatory compliance, the FDA or other regulators can impose regulatory sanctions
including, among other things, refusal to approve a pending application for a biologic product, or revocation of a pre-existing approval. As a result, our
business, financial condition and results of operations may be materially harmed.

   Additionally, if supply from one approved manufacturer is interrupted, there could be a significant disruption in commercial supply. The number of
manufacturers with the necessary manufacturing capabilities is limited. In addition, an alternative manufacturer would need to be qualified through a BLA
supplement or similar regulatory submission which could result in further delay. The regulatory agencies may also require additional studies if a new
manufacturer is relied upon for commercial production. Switching manufacturers may involve substantial costs and is likely to result in a delay in our
desired clinical and commercial timelines.

   These factors could cause the delay of clinical studies, regulatory submissions, required approvals or commercialization of our product candidates,
cause us to incur higher costs and prevent us from commercializing our products successfully. Furthermore, if our suppliers fail to meet contractual
requirements, and we are unable to secure one or more replacement suppliers capable of production at a substantially equivalent cost, our clinical studies
may be delayed or we could lose potential revenues.


We are dependent on Celgene for the successful development and commercialization of bb2121 and bb21217. If Celgene does not devote sufficient
resources to the development of bb2121 and bb21217, is unsuccessful in its efforts, or chooses to terminate its agreements with us, our business will
be materially harmed.
   We are co-developing and co-promoting the bb2121 product candidate in the United States with Celgene under our amended and restated co-
development and co-promotion agreement with Celgene, or the bb2121 CCPS. Under the bb2121 CCPS, we and Celgene share the obligation to develop
and commercialize the bb2121 product candidate in the United States, and we will be solely dependent on Celgene to develop and commercialize bb2121
outside of the United States.

    In addition, we have exclusively licensed to Celgene the right to develop and commercialize the bb21217 product candidate, and we retain an option
to co-develop and co-promote bb21217 in the United States under our license agreement with Celgene. With respect to bb21217, we are responsible for
completing the ongoing CRB-402 study, but Celgene is responsible for further clinical development and commercialization costs, unless we choose to
exercise our option to co-develop and co-promote bb21217 in the United States. If we exercise our option to co-develop and co-promote bb21217 in the
United States, we and Celgene will share the obligation to develop and commercialize bb21217 in the United States, and we will be solely dependent on
Celgene to develop and commercialize bb21217 outside of the United States.

                                                                             49
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 102 of 426 PageID #: 3075


    In our partnership with Celgene, Celgene is obligated to use commercially reasonable efforts to develop and commercialize bb2121 and bb21217.
Celgene may determine however, that it is commercially reasonable to de-prioritize or discontinue the development of bb2121 and bb21217. These
outcomes may occur for many reasons, including internal business reasons (including due to the existence of other Celgene programs that are potentially
competitive with bb2121 and bb21217), results from clinical trials or because of unfavorable regulatory feedback. Further, on review of the safety and
efficacy data, the FDA may impose requirements on the clinical trial program that render such a program commercially nonviable. In addition, under our
agreements with Celgene, Celgene has certain decision-making rights in determining the development and commercialization plans and activities for that
product candidate. We may disagree with Celgene about the development strategy it employs, but we will have limited rights to impose our development
strategy on Celgene. Similarly, Celgene may decide to seek regulatory approval for, and limit commercialization of, bb2121 or bb21217 to narrower
indications than we would pursue. More broadly, if Celgene elects to discontinue the development of bb2121 or bb21217, we may be unable to advance
the product candidate ourselves. We would also be prevented from developing or commercializing another CAR T cell-based product candidate that
targets BCMA outside of our collaboration with Celgene.

   This partnership may not be scientifically or commercially successful for us due to a number of important factors, including the following:
   •   Celgene has wide discretion in determining the efforts and resources that it will apply to its partnership with us. The timing and amount of any
       development milestones, and downstream commercial profits, milestones and royalties that we may receive under such partnership will depend on,
       among other things, Celgene’s efforts, allocation of resources and successful development and commercialization of bb2121, bb21217 and other
       product candidates that are the subject of its collaboration with us.
   •   Celgene may develop and commercialize, either alone or with others, products that are similar to or competitive with bb2121, bb21217 and other
       product candidates that are the subject of its collaboration with us. For example, Celgene is currently commercializing certain of its existing
       products, including lenalidomide and pomalidomide, for certain patients with relapsed and refractory multiple myeloma and is also developing
       JCAR-H125, another CAR-T product candidate targeting BCMA that it obtained through its acquisition of Juno Therapeutics, Inc. in March 2018.
   •   Celgene may terminate its partnership with us without cause and for circumstances outside of our control, which could make it difficult for us to
       attract new strategic partners or adversely affect how we are perceived in scientific and financial communities.
   •   Celgene may develop or commercialize our product candidates in such a way as to elicit litigation that could jeopardize or invalidate our
       intellectual property rights or expose us to potential liability.
   •   Celgene may not comply with all applicable regulatory requirements, or may fail to report safety data in accordance with all applicable regulatory
       requirements.
   •   If Celgene were to breach its arrangements with us, we may need to enforce our right to terminate the agreement in legal proceedings, which could
       be costly and cause delay in our ability to receive rights back to the relevant product candidates. If we were to terminate an agreement with
       Celgene due to Celgene's breach or Celgene terminated the agreement without cause, the development and commercialization of bb2121 or
       bb21217 product candidates that are the subject of its collaboration with us could be delayed, curtailed or terminated because we may not have
       sufficient financial resources or capabilities to continue development and commercialization of these product candidates on our own if we choose
       not to, or are unable to, enter into a new collaboration for these product candidates.

    Celgene may enter into one or more transactions with third parties, including a merger, consolidation, reorganization, sale of substantial assets, sale of
substantial stock or other change in control, which could divert the attention of its management and adversely affect Celgene's ability to retain and
motivate key personnel who are important to the continued development of the programs under the strategic partnership with us. In addition, the third-
party to any such transaction could determine to reprioritize Celgene's development programs such that Celgene ceases to diligently pursue the
development of our programs and/or cause the respective collaboration with us to terminate. In January 2019, Celgene announced that it has entered into
a definitive merger agreement under which Bristol-Myers Squibb Company, or BMS, will acquire Celgene, and that the transaction is expected to be
completed in the third quarter of 2019. The acquisition of Celgene by BMS may result in organizational and personnel changes, shifts in business focus
or other developments that may have a material adverse effect on our collaboration with Celgene. There is no guarantee that BMS will place the same
emphasis on the collaboration or on the development and commercialization of the bb2121 or bb21217 product candidates.

                                                                             50
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 103 of 426 PageID #: 3076


We expect to rely on third parties to conduct, supervise and monitor our clinical studies, and if these third parties perform in an unsatisfactory
manner, it may harm our business.
   We expect to rely on CROs and clinical study sites to ensure our clinical studies are conducted properly and on time. While we will have agreements
governing their activities, we will have limited influence over their actual performance. We will control only certain aspects of our CROs’ activities.
Nevertheless, we will be responsible for ensuring that each of our clinical studies is conducted in accordance with the applicable protocol, legal,
regulatory and scientific standards, and our reliance on the CROs does not relieve us of our regulatory responsibilities.

    We and our CROs are required to comply with the FDA’s GCPs for conducting, recording and reporting the results of clinical studies to assure that
the data and reported results are credible and accurate and that the rights, integrity and confidentiality of clinical study participants are protected. If we
or our CROs fail to comply with applicable GCPs, the clinical data generated in our future clinical studies may be deemed unreliable and the FDA may
require us to perform additional clinical studies before approving any marketing applications.

    If our CROs do not successfully carry out their contractual duties or obligations, fail to meet expected deadlines, or if the quality or accuracy of the
clinical data they obtain is compromised due to the failure to adhere to our clinical protocols or regulatory requirements, or for any other reasons, our
clinical studies may be extended, delayed or terminated, and we may not be able to obtain regulatory approval for, or successfully commercialize our
product candidates. As a result, our financial results and the commercial prospects for our product candidates would be harmed, our costs could
increase, and our ability to generate revenues could be delayed.


Our reliance on third parties requires us to share our trade secrets, which increases the possibility that a competitor will discover them or that our
trade secrets will be misappropriated or disclosed.
    Because we rely on third parties to manufacture our vectors and our product candidates, and because we collaborate with various organizations and
academic institutions on the advancement of our gene therapy platform, we must, at times, share trade secrets with them. We seek to protect our
proprietary technology in part by entering into confidentiality agreements and, if applicable, material transfer agreements, collaborative research
agreements, consulting agreements or other similar agreements with our collaborators, advisors, employees and consultants prior to beginning research
or disclosing proprietary information. These agreements typically limit the rights of the third parties to use or disclose our confidential information, such
as trade secrets. Despite the contractual provisions employed when working with third parties, the need to share trade secrets and other confidential
information increases the risk that such trade secrets become known by our competitors, are inadvertently incorporated into the technology of others, or
are disclosed or used in violation of these agreements. Given that our proprietary position is based, in part, on our know-how and trade secrets, a
competitor’s discovery of our trade secrets or other unauthorized use or disclosure would impair our competitive position and may have a material
adverse effect on our business.

    In addition, these agreements typically restrict the ability of our collaborators, advisors, employees and consultants to publish data potentially
relating to our trade secrets. Our academic collaborators typically have rights to publish data, provided that we are notified in advance and may delay
publication for a specified time in order to secure our intellectual property rights arising from the collaboration. In other cases, publication rights are
controlled exclusively by us, although in some cases we may share these rights with other parties. We also conduct joint research and development
programs that may require us to share trade secrets under the terms of our research and development partnerships or similar agreements. Despite our
efforts to protect our trade secrets, our competitors may discover our trade secrets, either through breach of these agreements, independent development
or publication of information including our trade secrets in cases where we do not have proprietary or otherwise protected rights at the time of
publication. A competitor’s discovery of our trade secrets would impair our competitive position and have an adverse impact on our business.


Risks related to our financial condition and capital requirements
We have incurred significant losses since our inception and anticipate that we will continue to incur significant losses for the foreseeable future.
   We are a clinical-stage biotechnology company, and we have incurred net losses in each year since our inception in 1992, including net losses of
$555.6 million for the year ended December 31, 2018. As of December 31, 2018, we had an accumulated deficit of $1.5 billion. The amount of our future net
losses will depend, in part, on the rate of our future expenditures and our ability to generate revenues. We have devoted significant financial resources to
research and development, including our clinical and preclinical development activities, which we expect to continue for the foreseeable future. To date,
we have financed our operations primarily through the sale of equity securities and, to a lesser extent, through collaboration agreements and grants from
governmental agencies and charitable foundations. We do not expect to generate any product revenues until the second half of 2019, assuming we
receive marketing approval for LentiGlobin in the EU. Even if we obtain regulatory approval to market a product candidate, our future revenues will
depend upon the size of any markets in which our product candidates have received approval, and our ability to achieve sufficient market acceptance,
reimbursement from third-party payors and adequate market share for our product candidates in those markets. In addition, to the extent payment for our
products is subject to outcomes-based arrangements, our future cash collection and revenues from product sales will be at risk.

                                                                              51
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 104 of 426 PageID #: 3077


   We expect to continue to incur significant expenses and increasing operating losses for the foreseeable future. We anticipate that our expenses will
increase substantially if and as we:
   •   continue our research and preclinical and clinical development of our product candidates, including the bb2121 product candidate that we are co-
       developing with Celgene;
   •   establish capabilities to support our planned commercialization efforts, including establishing a sales, marketing and distribution infrastructure in
       the United States and Europe, and commercialize any products for which we may obtain marketing approval;
   •   obtain, build and expand manufacturing capacity, including capacity at third-party manufacturers and our own manufacturing facility;
   •   initiate additional research, preclinical, clinical or other programs as we seek to identify and validate additional product candidates;
   •   acquire or in-license other product candidates and technologies;
   •   maintain, protect and expand our intellectual property portfolio;
   •   attract and retain skilled personnel; and
   •   experience any delays or encounter issues with any of the above.

   The net losses we incur may fluctuate significantly from quarter to quarter and year to year, such that a period-to-period comparison of our results of
operations may not be a good indication of our future performance. In any particular quarter or quarters, our operating results could be below the
expectations of securities analysts or investors, which could cause our stock price to decline.


We have never generated any revenue from product sales and may never be profitable.
   Our ability to generate revenues and achieve profitability depends on our ability, alone or with strategic collaboration partners, to successfully
complete the development of, and obtain the regulatory, pricing and reimbursement approvals necessary to commercialize our product candidates. Our
ability to generate future revenues from product sales depends heavily on our success in:
   •   completing research and preclinical and clinical development of our product candidates;
   •   seeking and obtaining regulatory and marketing approvals for product candidates for which we complete clinical studies;
   •   developing a sustainable, commercial-scale, reproducible, and transferable manufacturing process for our vectors and product candidates;
   •   establishing and maintaining supply and manufacturing relationships with third parties that can provide adequate (in amount and quality)
       products and services to support clinical development and commercial demand for our product candidates, if approved;
   •   launching and commercializing product candidates for which we obtain regulatory and marketing approval, either by collaborating with a partner
       or, if launched independently, by establishing a field-based team, marketing and distribution infrastructure;
   •   obtaining sufficient pricing and reimbursement for our product candidates from private and governmental payors;
   •   obtaining market acceptance and adoption of our product candidates and gene therapy as a viable treatment option;
   •   addressing any competing technological and market developments;
   •   identifying and validating new product candidates;
   •   negotiating favorable terms in any collaboration, licensing or other arrangements into which we may enter; and
   •   maintaining, protecting and expanding our portfolio of intellectual property rights, including patents, trade secrets and know-how.

    We expect to continue to incur significant expenditures for the foreseeable future, and we expect these expenditures to increase as we prepare for any
potential commercial launch. Our expenses could increase beyond expectations if we are required by the FDA, the EMA, or other regulatory agencies,
domestic or foreign, to perform clinical and other studies in addition to those that we currently anticipate. Even if one or more of the product candidates
that we develop is approved for commercial sale, we anticipate incurring significant costs associated with commercializing any approved product
candidate, which costs may increase with any increased competition. Even if we are able to generate revenues from the sale of any approved products,
we may not become profitable and may need to obtain additional funding to continue operations.

                                                                              52
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 105 of 426 PageID #: 3078


From time to time, we will need to raise additional funding, which may not be available on acceptable terms, or at all. Failure to obtain this
necessary capital when needed may force us to delay, limit or terminate our product development efforts or other operations.
   We are currently advancing the LentiGlobin, Lenti-D, bb2121 and bb21217 product candidates through clinical development and other product
candidates through preclinical development. Developing gene therapy products is expensive, and we expect our research and development expenses to
increase substantially in connection with our ongoing activities, particularly as we advance our product candidates in clinical studies.

    As of December 31, 2018, our cash, cash equivalents and marketable securities were $1.9 billion. We expect that our existing cash, cash equivalents,
and marketable securities will be sufficient to fund our current planned operations into 2022. However, our operating plan may change as a result of many
factors currently unknown to us, and we may need to seek additional funds sooner than planned, through public or private equity or debt financings,
government or other third-party funding, marketing and distribution arrangements and other collaborations, strategic alliances and licensing
arrangements or a combination of these approaches. In any event, we will require additional capital to obtain regulatory approval for, and to
commercialize, our product candidates. Even if we believe we have sufficient funds for our current or future operating plans, we may seek additional
capital if market conditions are favorable or if we have specific strategic objectives.

   Any additional fundraising efforts may divert our management from their day-to-day activities, which may adversely affect our ability to develop and
commercialize our product candidates. In addition, we cannot guarantee that future financing will be available in sufficient amounts or on terms
acceptable to us, if at all. Moreover, the terms of any financing may adversely affect the holdings or the rights of our stockholders and the issuance of
additional securities, whether equity or debt, by us, or the possibility of such issuance, may cause the market price of our shares to decline. The sale of
additional equity or convertible securities would dilute all of our stockholders. The incurrence of indebtedness would result in increased fixed payment
obligations and we may be required to agree to certain restrictive covenants, such as limitations on our ability to incur additional debt, limitations on our
ability to acquire, sell or license intellectual property rights and other operating restrictions that could adversely impact our ability to conduct our
business. We could also be required to seek funds through arrangements with collaborative partners or otherwise at an earlier stage than otherwise
would be desirable and we may be required to relinquish rights to some of our technologies or product candidates or otherwise agree to terms
unfavorable to us, any of which may have a material adverse effect on our business, operating results and prospects.

   If we are unable to obtain funding on a timely basis, we may be required to significantly curtail, delay or discontinue one or more of our research or
development programs or the commercialization of any product candidates or be unable to expand our operations or otherwise capitalize on our business
opportunities, as desired, which could materially affect our business, financial condition and results of operations.


Risks related to commercialization of our product candidates
We rely on a complex supply chain for our product candidates. The manufacture and delivery of our engineered autologous gene therapy product
presents significant challenges for us, and we may not be able to produce our vector and products at the quality, quantities, locations or timing
needed to support commercialization.
    In order to develop our product candidates, apply for regulatory approvals and commercialize our products if approved, we will need to develop, contract
for, or otherwise arrange for the necessary manufacturing capabilities. We currently rely on third parties to manufacture the vector and the drug product
candidate that we require for any clinical trials that we initiate. Although we intend to rely on a mix of internal and third-party manufacturers to support our
planned commercialization efforts, we are still in the process of building out our internal capacity and have not secured commercial-scale manufacturing
capacity in all of the regions where we intend to commercialize our potential products. By building our own internal manufacturing facility, we have incurred
substantial expenditures and expect to incur significant additional expenditures in the future. In addition, there are many risks inherent in the construction of
a new facility that could result in delays and additional costs, including the need to obtain access to necessary equipment and third-party technology, if any.
Also, we have had to, and will continue to, hire and train qualified employees to staff our manufacturing facility. We may not be able to timely or successfully
build out or internal capacity or negotiate binding agreements at commercially reasonable terms with third-party manufacturers.

   The manufacture of our lentiviral vector and drug product candidates is complex and requires significant expertise. Manufacturers of cell therapy
products often encounter difficulties in production, particularly in scaling out and validating initial production, and ensuring that the product meets
required specifications. These problems include difficulties with production costs and yields, quality control, including stability of the product, quality
assurance testing, operator error, shortages of qualified personnel, as well as compliance with strictly enforced federal, state and foreign regulations. We
cannot make any assurances that these problems will not occur in the future, or that we will be able to resolve or address problems that occur in a timely
manner or with available funds. Furthermore, our cost of goods development is at an early stage. The actual cost to manufacture our lentiviral vector and
drug product candidates could be greater than we expect and could materially and adversely affect the commercial viability of our product

                                                                               53
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 106 of 426 PageID #: 3079


candidates. If we or such third-party manufacturers are unable to produce the necessary quantities of lentiviral vector and our product candidates, or in
compliance with GMP or other pertinent regulatory requirements, and within our planned time frame and cost parameters, the development and sales of
our products, if approved, may be materially harmed. Furthermore, if we or our third-party manufacturers are unable to produce the necessary quantities
of viral vectors or our product candidates in quantities, quality requirements, or within the time frames that we need to support our commercialization
activities, it may result in delays in our development plans or increased capital expenditures.

    In addition, any significant disruption in our supplier relationships could harm our business. We source key materials from third parties, either directly
through agreements with suppliers or indirectly through our manufacturers who have agreements with suppliers. There are a small number of suppliers
for certain key materials that are used to manufacture our product candidates. Such suppliers may not sell these key materials to us or to our
manufacturers at the times we need them or on commercially reasonable terms. We do not have any control over the process or timing of the acquisition
of these key materials by our manufacturers. Moreover, we currently do not have any agreements for the commercial production of these key materials.

    Additionally, since the HSCs and T cells have a limited window of stability following procurement from the subject, we must establish transduction
facilities in the regions where we wish to commercialize our product. Currently, we rely on third-party contract manufacturers in the United States and
Europe to produce our product candidates for our clinical studies. Since a portion of our target patient populations will be outside the United States and
Europe, we will need to establish additional transduction facilities that can replicate our transduction process in order to address those patient
populations. Establishment of such facilities may be financially impractical or impeded by technical, quality, or regulatory issues related to these new
sites and we may also run into technical or scientific issues related to transfer of our transduction process or other developmental issues that we may be
unable to resolve in a timely manner or with available funds.

    Our commercial plan is to engage apheresis centers in our key launch regions as qualified treatment centers for the collection of patient HSCs and
infusion of the drug product once manufactured. To ensure that the qualified treatment centers are prepared to collect patient HSCs and to ship them to
our transduction facilities in accordance with our specifications and regulatory requirements, we plan to train and conduct quality certifications of each
center as part of engagement. We intend for these qualified treatment centers to be the first and last points on our complex supply chain to reach patients
in the commercial setting. We may not be able engage qualified treatment centers in all of the regions in our commercial launch strategy, or we may
encounter other challenges or delays in engaging qualified treatment centers. We may fail to manage the logistics of collecting and shipping patient
material to the manufacturing site and shipping the product candidate back to the patient. Logistical and shipment delays and problems caused by us,
our vendors other factors not in our control, such as weather, could prevent or delay the delivery of products to patients. If our qualified treatment
centers fail to perform satisfactorily, we may suffer reputational, operational, and business harm. We anticipate having to maintain a complex chain of
identity and chain of custody with respect to patient material as it moves through the manufacturing process, from the qualified treatment center to the
transduction facility, and back to the patient. Failure to maintain chain of identity and chain of custody could adverse patient outcomes, loss of product
or regulatory action.


Although we are continuing to build out our field team, we have no sales or distribution experience and only early capabilities for marketing and
market access, and expect to invest significant financial and management resources to establish these capabilities. If we are unable to establish
sales and distribution capabilities or enter into agreements with third parties to market and sell our product candidates, we may be unable to
generate any revenues.
    Although we are continuing to build out our field team in anticipation of our potential first commercial launch in Europe in 2019, we have no sales or
distribution experience and only early capabilities for marketing and market access. To successfully commercialize any products that may result from our
development programs, we will need to develop these capabilities in the United States, Europe and other regions, either on our own or with others. We
may enter into collaborations with other entities to utilize their mature marketing and distribution capabilities, but we may be unable to enter into
marketing agreements on favorable terms, if at all. If our future collaborative partners do not commit sufficient resources to commercialize our future
products, if any, and we are unable to develop the necessary marketing capabilities on our own, we will be unable to generate sufficient product revenue
to sustain our business. We will be competing with many companies that currently have extensive and well-funded marketing and sales operations.
Without a significant internal team or the support of a third party to perform marketing and sales functions, we may be unable to compete successfully
against these more established companies.

                                                                             54
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 107 of 426 PageID #: 3080


We face intense competition and rapid technological change and the possibility that our competitors may develop therapies that are more advanced
or effective than ours, which may adversely affect our financial condition and our ability to successfully commercialize our product candidates. If
our competitors obtain orphan drug exclusivity for products that regulatory authorities determine constitute the same drug and treat the same
indications as our product candidates, we may not be able to have competing products approved by the applicable regulatory authority for a
significant period of time.
    We are engaged in gene therapy for severe genetic diseases and cancer, both of which are competitive and rapidly changing fields. We have
competitors both in the United States and internationally, including major multinational pharmaceutical companies, biotechnology companies and
universities and other research institutions. Many of our competitors have substantially greater financial, technical and other resources, such as larger
research and development staff, manufacturing capabilities, experienced marketing and manufacturing organizations. Competition may increase further as
a result of advances in the commercial applicability of technologies and greater availability of capital for investment in these industries. Our competitors
may succeed in developing, acquiring or licensing on an exclusive basis, products that are more effective, safer, or less costly than any product
candidate that we may develop, or achieve earlier patent protection, regulatory approval, product commercialization and market penetration than us.
Additionally, technologies developed by our competitors may render our potential product candidates uneconomical or obsolete, and we may not be
successful in marketing our product candidates against competitors. For additional information regarding our competition, see “Item 1. Business-
Competition” in our Annual Report.

    Even if we are successful in achieving regulatory approval to commercialize a product candidate faster than our competitors, we may face competition
from biosimilars due to the changing regulatory environment. In the United States, the Biologics Price Competition and Innovation Act of 2009 created an
abbreviated approval pathway for biological products that are demonstrated to be “highly similar,” or biosimilar, to or “interchangeable” with an FDA-
approved biological product. This pathway could allow competitors to reference data from biological products already approved after 12 years from the
time of approval. In Europe, the European Commission has granted marketing authorizations for several biosimilars pursuant to a set of general and
product class-specific guidelines for biosimilar approvals issued over the past few years. In Europe, a competitor may reference data from biological
products already approved, but will not be able to get on the market until 10 years after the time of approval. This 10-year period will be extended to 11
years if, during the first eight of those 10 years, the marketing authorization holder obtains an approval for one or more new therapeutic indications that
bring significant clinical benefits compared with existing therapies. In addition, companies may be developing biosimilars in other countries that could
compete with our products. If competitors are able to obtain marketing approval for biosimilars referencing our products, our products may become
subject to competition from such biosimilars, with the attendant competitive pressure and consequences. Expiration or successful challenge of our
applicable patent rights could also trigger competition from other products, assuming any relevant exclusivity period has expired.

    In addition, although our product candidates have been granted orphan drug status by the FDA and EMA, there are limitations to the exclusivity. In
the United States, the exclusivity period for orphan drugs is seven years, while pediatric exclusivity adds six months to any existing patents or exclusivity
periods. In Europe, orphan drugs may be able to obtain 10 years of marketing exclusivity and up to an additional two years on the basis of qualifying
pediatric studies. However, orphan exclusivity may be reduced to six years if the drug no longer satisfies the original designation criteria. Additionally, a
marketing authorization holder may lose its orphan exclusivity if it consents to a second orphan drug application or cannot supply enough drug. Orphan
drug exclusivity also can be lost when a second applicant demonstrates its drug is “clinically superior” to the original orphan drug. Generally, if a product
candidate with an orphan drug designation receives the first marketing approval for the indication for which it has such designation, the product is
entitled to a period marketing exclusivity, which precludes the FDA or the European Commission from approving another marketing application for a
product that constitutes the same drug treating the same indication for that marketing exclusivity period, except in limited circumstances. If another
sponsor receives such approval before we do (regardless of our orphan drug designation), we will be precluded from receiving marketing approval for
our product for the exclusivity period for the applicable indication.

    Finally, as a result of the expiration or successful challenge of our patent rights, we could face more litigation with respect to the validity and/or scope
of patents relating to our competitors’ products. The availability of our competitors’ products could limit the demand, and the price we are able to charge,
for any products that we may develop and commercialize.

                                                                               55
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 108 of 426 PageID #: 3081


The commercial success of any current or future product candidate will depend upon the degree of market acceptance by physicians, patients, third-
party payors and others in the medical community.
    Ethical, social and legal concerns about gene therapy and genetic research could result in additional regulations restricting or prohibiting the
products and processes we may use. Even with the requisite approvals, the commercial success of our product candidates will depend in part on the
medical community, patients, and third-party or governmental payors accepting gene therapy products in general, and our product candidates in
particular, as medically useful, cost-effective, and safe. Any product that we bring to the market may not gain market acceptance by physicians, patients,
third-party payors and others in the medical community. If these products do not achieve an adequate level of acceptance, we may not generate
significant product revenue and may not become profitable. The degree of market acceptance of our product candidates, if approved for commercial sale,
will depend on a number of factors, including:
   •   the potential efficacy and potential advantages over alternative treatments;
   •   the prevalence and severity of any side effects, including any limitations or warnings contained in a product’s approved labeling;
   •   the prevalence and severity of any side effects resulting from the chemotherapy and myeloablative treatments associated with the procedure by
       which our product candidates are administered;
   •   relative convenience and ease of administration;
   •   the willingness of the target patient population to try new therapies and of physicians to prescribe these therapies;
   •   the strength of marketing and distribution support and timing of market introduction of competitive products;
   •   the pricing of our products;
   •   publicity concerning our products or competing products and treatments; and
   •   sufficient third-party insurance coverage or reimbursement.

    Even if a potential product displays a favorable efficacy and safety profile in preclinical and clinical studies, market acceptance of the product will not
be known until after it is launched. Our efforts to educate the medical community and third-party payors on the benefits of the product candidates may
require significant resources and may never be successful. For instance, UniQure encountered challenges in commercializing Glybera, the first approved
gene therapy in Europe, and did not seek renewal of Glybera’s marketing authorization in Europe when it expired in October 2017, due to forecasted
patient demand and limited use since its approval in 2012. Our efforts to educate the marketplace may require more resources than are required by the
conventional technologies marketed by our competitors.


We intend to market our products outside of the United States, and we will be subject to the risks of doing business outside of the United States.
    Because we intend to market our product candidates, if approved, outside of the United States, our business is subject to risks associated with doing
business outside of the United States. Accordingly, our business and financial results in the future could be adversely affected due to a variety of
factors, including:
   •   efforts to develop an international sales, marketing and distribution organization may increase our expenses, divert our management’s attention
       from the acquisition or development of product candidates or cause us to forgo profitable licensing opportunities in these geographies;
   •   changes in a specific country’s or region’s political and cultural climate or economic condition;
   •   unexpected changes in foreign laws and regulatory requirements;
   •   difficulty of effective enforcement of contractual provisions in local jurisdictions;
   •   inadequate intellectual property protection in foreign countries;
   •   trade-protection measures, import or export licensing requirements such as Export Administration Regulations promulgated by the U.S.
       Department of Commerce and fines, penalties or suspension or revocation of export privileges;
   •   the effects of applicable foreign tax structures and potentially adverse tax consequences; and
   •   significant adverse changes in foreign currency exchange rates.

                                                                              56
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 109 of 426 PageID #: 3082

    In addition to FDA and related regulatory requirements in the United States and abroad, we are subject to extensive additional federal, state and
foreign anti-bribery regulation, which include the U.S. Foreign Corrupt Practices Act, the U.K. Bribery Act, and similar laws in other countries outside of
the United States. We have developed and implemented a corporate compliance program based on what we believe are current best practices in the
pharmaceutical industry for companies similar to ours, but we cannot guarantee that we, our employees, our consultants or our third-party contractors
are or will be in compliance with all federal, state and foreign regulations regarding bribery and corruption. Moreover, our partners and third party
contractors located outside the United States may have inadequate compliance programs or may fail to respect the laws and guidance of the territories in
which they operate. Even if we are not determined to have violated these laws, government investigations into these issues typically require the
expenditure of significant resources and generate negative publicity, which could also have an adverse effect on our business, financial condition and
results of operations.


The insurance coverage and reimbursement status of newly-approved products is uncertain. Due to the novel nature of our technology and the
potential for our product candidates to offer therapeutic benefit in a single administration, we face additional uncertainty related to pricing and
reimbursement for our product candidates. Failure to obtain or maintain adequate coverage and reimbursement for new or current products could
limit our ability to market those products and decrease our ability to generate revenue.
    The availability and extent of reimbursement by governmental and private payors is essential for most patients to be able to afford expensive
treatments, such as our gene therapy products. In addition, because our therapies represent new treatment approaches, the estimation of potential
revenues will be complex. Sales of our product candidates will depend substantially, both domestically and abroad, on the extent to which the costs of
our product candidates will be paid by health maintenance, managed care, pharmacy benefit and similar healthcare management organizations, or
reimbursed by government health administration authorities, private health coverage insurers and other third-party payors. If reimbursement is not
available, or is available only to limited levels, we may not be able to successfully commercialize our product candidates. Even if coverage is provided,
the approved reimbursement amount may not be high enough to allow us to establish or maintain pricing sufficient to realize a sufficient return on our
investment.

    There is significant uncertainty related to the insurance coverage and reimbursement of newly approved products, including gene therapies that are
potential one-time treatments. In the United States, the principal decisions about reimbursement for new medicines are typically made by the Centers for
Medicare & Medicaid Services, or CMS, an agency within the U.S. Department of Health and Human Services, or HHS, as CMS decides whether and to
what extent a new medicine will be covered and reimbursed under Medicare. Private payors tend to follow CMS to a substantial degree. It is difficult to
predict what CMS will decide with respect to reimbursement for fundamentally novel products such as ours, as there is no body of established practices
and precedents for these new products. Reimbursement agencies in Europe may be more conservative than CMS. A number of cancer drugs have been
approved for reimbursement in the United States and have not been approved for reimbursement in certain European countries. In addition, costs or
difficulties with the reimbursement experienced by the initial gene therapies to receive marketing authorization may create an adverse environment for
reimbursement of other gene therapies.

    Outside the United States, certain countries, including a number of member states of the European Union, set prices and reimbursement for
pharmaceutical products, or medicinal products, as they are commonly referred to in the European Union, with limited participation from the marketing
authorization holders. We cannot be sure that such prices and reimbursement will be acceptable to us or our collaborators. If the regulatory authorities in
these foreign jurisdictions set prices or reimbursement levels that are not commercially attractive for us or our collaborators, our revenues from sales by
us or our collaborators, and the potential profitability of our drug products, in those countries would be negatively affected. An increasing number of
countries are taking initiatives to attempt to reduce large budget deficits by focusing cost-cutting efforts on pharmaceuticals for their state-run health
care systems. These international price control efforts have impacted all regions of the world, but have been most drastic in the European Union.
Additionally, some countries require approval of the sale price of a product before it can be marketed. In many countries, the pricing review period begins
after marketing or product licensing approval is granted. As a result, we might obtain marketing approval for a product in a particular country, but then
may experience delays in the reimbursement approval of our product or be subject to price regulations that would delay our commercial launch of the
product, possibly for lengthy time periods, which could negatively impact the revenues we are able to generate from the sale of the product in that
particular country.

    Moreover, increasing efforts by governmental and third-party payors, in the United States and abroad, to cap or reduce healthcare costs may cause
such organizations to limit both coverage and level of reimbursement for new products approved and, as a result, they may not cover or provide
adequate payment for our product candidates. We expect to experience pricing pressures in connection with the sale of any of our product candidates,
due to the trend toward managed healthcare, the increasing influence of health maintenance organizations and additional legislative changes. The
downward pressure on healthcare costs in general, particularly prescription drugs and surgical procedures and other treatments, has become very
intense. As a result, increasingly high barriers are being erected to the entry of new products.

                                                                             57
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 110 of 426 PageID #: 3083


    Furthermore, because our target patient populations are relatively small, the pricing and reimbursement of our product candidates, if approved, must
be adequate to support our commercial infrastructure. If we are unable to obtain adequate levels of reimbursement, our ability to successfully market and
sell our product candidates will be adversely affected. We have proposed novel payment models, including outcomes-based arrangements with
payments over time, to assist with realizing the value and sharing the risk of a potential one-time treatment, such as our LentiGlobin product candidate.
While we are engaged in discussions with potential payors, there is no assurance that any payors will adopt these payment models. Even with these
payment models, there may be substantial resistance to the cost of our products by payors and the public generally. These payment models may not be
sufficient for payors to grant coverage, and if we are unable to obtain adequate coverage for our products, the adoption of our products may be limited.
In addition, to the extent reimbursement for our products is subject to outcomes-based arrangements, our future cash collection and revenues from
product sales will be at risk. Moreover, the administration of our products require procedures for the collection of HSCs from the patient, followed by
chemotherapy and myeloablative treatments, before infusion of the engineered cell therapy product. The manner and level at which reimbursement is
provided for these services is also important. Inadequate reimbursement for such services may lead to physician resistance and adversely affect our
ability to market or sell our products. These factors could affect our ability to successfully commercialize our products and generate revenues, which
would adversely impact our business, financial condition, results of operations and prospects.


Healthcare legislative reform measures may have a material adverse effect on our business and results of operations.
    The United States and many foreign jurisdictions have enacted or proposed legislative and regulatory changes affecting the healthcare system that
could prevent or delay marketing approval of our product candidates or any future product candidates, restrict or regulate post-approval activities and
affect our ability to profitably sell any product for which we obtain marketing approval. Changes in regulations, statutes or the interpretation of existing
regulations could impact our business in the future by requiring, for example: (i) changes to our manufacturing arrangements; (ii) additions or
modifications to product labeling; (iii) the recall or discontinuation of our products; or (iv) additional record-keeping requirements. If any such changes
were to be imposed, they could adversely affect the operation of our business.
    In the United States, there have been and continue to be a number of legislative initiatives to contain healthcare costs. For example, in March 2010,
the Patient Protection and Affordable Care Act, as amended by the Health Care and Education Reconciliation Act of 2010, or the Affordable Care Act,
was passed, which substantially changed the way health care is financed by both governmental and private insurers, and significantly impacts the U.S.
pharmaceutical industry. The Affordable Care Act, among other things, addressed a new methodology by which rebates owed by manufacturers under
the Medicaid Drug Rebate Program are calculated for drugs that are inhaled, infused, instilled, implanted or injected, increased the minimum Medicaid
rebates owed by manufacturers under the Medicaid Drug Rebate Program and extended the rebate program to individuals enrolled in Medicaid managed
care organizations, established annual fees and taxes on manufacturers of certain branded prescription drugs, and a new Medicare Part D coverage gap
discount program, in which manufacturers must agree to offer 50% (70% commencing January 1, 2019) point-of-sale discounts off negotiated prices of
applicable brand drugs to eligible beneficiaries during their coverage gap period, as a condition for the manufacturer’s outpatient drugs to be covered
under Medicare Part D.

    Since January 2017, the Trump administration has signed two Executive Orders designed to delay the implementation of certain provisions of the
Affordable Care Act or otherwise circumvent some of the requirements for health insurance mandated by the Affordable Care Act. One Executive Order
directs federal agencies with authorities and responsibilities under the Affordable Care Act to waive, defer, grant exemptions from, or delay the
implementation of any provision of the Affordable Care Act that would impose a fiscal or regulatory burden on states, individuals, healthcare providers,
health insurers, or manufacturers of pharmaceuticals or medical devices. The second Executive Order terminates the cost-sharing subsidies that
reimburse insurers under the Affordable Care Act. Several state Attorneys General filed suit to stop the administration from terminating the subsidies,
but their request for a restraining order was denied by a federal judge in California on October 25, 2017. Further, on June 14, 2018, U.S. Court of Appeals
for the Federal Circuit ruled that the federal government was not required to pay more than $12 billion in Affordable Care Act risk corridor payments to
third-party payors who argued were owed to them. The effects of this gap in reimbursement on third-party payors, the viability of the Affordable Care
Act marketplace, providers, and potentially our business, are not yet known.

    In July 2018, the CMS published a final rule permitting further collections and payments to and from certain Affordable Care Act-qualified health
plans and health insurance issuers under the Affordable Care Act risk adjustment program in response to the outcome of federal district court litigation
regarding the method CMS uses to determine this risk adjustment. In addition, CMS has recently published a final rule that would give states greater
flexibility, starting in 2020, in setting benchmarks for insurers in the individual and small group marketplaces, which may have the effect of relaxing the
essential health benefits required under the Affordable Care Act for plans sold through such marketplaces. On December 14, 2018, a U.S. District Court
Judge in the Northern District of Texas, or the Texas District Court Judge, ruled that the individual mandate is a critical and inseverable feature of the
Affordable Care Act, and therefore, because it was repealed as part of the Tax Cuts and Jobs Act of 2017, the remaining provisions of the Affordable Care
Act are invalid as well. While the Trump Administration and CMS have both stated that the ruling will have no immediate effect, and on December 30,
2018 the Texas District Court Judge issued an order staying the judgment pending appeal, it is unclear how this decision, subsequent appeals and other
efforts to repeal and replace the Affordable Care Act will impact the Affordable Care Act and our business.

                                                                             58
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 111 of 426 PageID #: 3084


    Since its enactment, some of the provisions of the Affordable Care Act have yet to be fully implemented, while certain provisions have been subject
to judicial, congressional, or executive challenges. As a result, there have been delays in the implementation of, and action taken to repeal or replace,
certain aspects of the Affordable Care Act. The U.S. Supreme Court has upheld certain key aspects of the legislation, including a tax-based shared
responsibility payment imposed on certain individuals who fail to maintain qualifying health coverage for all or part of a year or pay a penalty, which is
commonly known as the “individual mandate.” However, as a result of tax reform legislation passed in December 2017, the individual mandate has been
eliminated effective January 1, 2019. On January 22, 2018, President Trump signed a continuing resolution on appropriations for fiscal year 2018 that
delayed the implementation of certain Affordable Care Act-mandated fees, including the so-called “Cadillac” tax on certain high cost employer-
sponsored insurance plans, the annual fee imposed on certain health insurance providers based on market share, and the medical device excise tax on
non-exempt medical devices. The Bipartisan Budget Act of 2018, or the BBA, among other things, amends the Affordable Care Act, effective January 1,
2019, to close the coverage gap in most Medicare drug plans, commonly referred to as the “donut hole.”

    In addition, other legislative changes have been proposed and adopted since the Affordable Care Act was enacted. In August 2011, President Obama
signed into law the Budget Control Act of 2011, which, among other things, created the Joint Select Committee on Deficit Reduction to recommend to
Congress proposals in spending reductions. The Joint Select Committee on Deficit Reduction did not achieve a targeted deficit reduction, which
triggered the legislation’s automatic reduction to several government programs. This includes aggregate reductions to Medicare payments to providers
of, on average, 2% per fiscal year through 2025 unless Congress takes additional action. These reductions were extended through 2027 under the BBA.
In January 2013, the American Taxpayer Relief Act of 2012, among other things, further reduced Medicare payments to several providers, including
hospitals and cancer treatment centers, and increased the statute of limitations period for the government to recover overpayments to providers from
three to five years.

    There has been increasing legislative and enforcement interest in the United States with respect to specialty drug pricing practices. Specifically, there
have been several recent U.S. Congressional inquiries and proposed federal and state legislation designed to, among other things, bring more
transparency to drug pricing, reduce the cost of prescription drugs under Medicare, review the relationship between pricing and manufacturer patient
programs, and reform government program reimbursement methodologies for drugs. At the federal level, the Trump administration’s budget proposal for
fiscal year 2019 contains further drug price control measures that could be enacted during the 2019 budget process or in other future legislation,
including, for example, measures to permit Medicare Part D plans to negotiate the price of certain drugs under Medicare Part B, to allow some states to
negotiate drug prices under Medicaid, and to eliminate cost sharing for generic drugs for low-income patients. Additionally, the Trump administration
released a “Blueprint” to lower drug prices and reduce out of pocket costs of drugs that contains additional proposals to increase manufacturer
competition, increase the negotiating power of certain federal healthcare programs, incentivize manufacturers to lower the list price of their products and
reduce the out of pocket costs of drug products paid by consumers. The U.S. Department of Health and Human Services, or HHS, has already started the
process of soliciting feedback on some of these measures and, at the same time, is immediately implementing others under its existing authority. For
example, in September 2018, CMS announced that it will allow Medicare Advantage Plans the option to use step therapy for Part B drugs beginning
January 1, 2019, and in October 2018, CMS proposed a new rule that would require direct-to-consumer television advertisements of prescription drugs
and biological products, for which payment is available through or under Medicare or Medicaid, to include in the advertisement the Wholesale
Acquisition Cost, or list price, of that drug or biological product. Although a number of these, and other proposed measures will require authorization
through additional legislation to become effective, Congress and the Trump administration have each indicated that it will continue to seek new
legislative and/or administrative measures to control drug costs. At the state level, legislatures have increasingly passed legislation and implemented
regulations designed to control pharmaceutical and biological product pricing, including price or patient reimbursement constraints, discounts,
restrictions on certain product access and marketing cost disclosure and transparency measures, and, in some cases, designed to encourage importation
from other countries and bulk purchasing.

    We expect that the healthcare reform measures that have been adopted and may be adopted in the future, may result in more rigorous coverage
criteria and in additional downward pressure on the price that we receive for any approved product and could seriously harm our future revenues. Any
reduction in reimbursement from Medicare or other government programs may result in a similar reduction in payments from private third-party payors.

   The delivery of healthcare in the European Union, including the establishment and operation of health services and the pricing and reimbursement of
medicines, is almost exclusively a matter for national, rather than EU, law and policy. National governments and health service providers have different
priorities and approaches to the delivery of health care and the pricing and reimbursement of products in that context. In general, however, the healthcare
budgetary constraints in most EU member states have resulted in restrictions on the pricing and reimbursement of medicines by relevant health service
providers. Coupled with ever-increasing EU and national regulatory burdens on those wishing to develop and market products, this could prevent or
delay marketing approval of our product candidates, restrict or regulate post-approval activities and affect our ability to commercialize any products for
which we obtain marketing approval.

                                                                             59
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 112 of 426 PageID #: 3085


   There have been, and likely will continue to be, legislative and regulatory proposals at the foreign, federal and state levels directed at broadening the
availability of healthcare and containing or lowering the cost of healthcare. The implementation of cost containment measures or other healthcare reforms
may prevent us from being able to generate revenue, attain profitability, or commercialize our product. Such reforms could have an adverse effect on
anticipated revenue from product candidates that we may successfully develop and for which we may obtain regulatory approval and may affect our
overall financial condition and ability to develop product candidates.


If the market opportunities for our product candidates are smaller than we believe they are, and if we are not able to successfully identify patients
and achieve significant market share, our revenues may be adversely affected and our business may suffer.
    We focus our research and product development on treatments for severe genetic diseases and cancer. Our projections of both the number of people
who have these diseases, as well as the subset of people with these diseases who have the potential to benefit from treatment with our product
candidates, are based on estimates. These estimates have been derived from a variety of sources, including scientific literature, surveys of clinics, patient
foundations, or market research, and may prove to be incorrect. Further, new studies may change the estimated incidence or prevalence of these
diseases. The number of patients may turn out to be lower or more difficult to identify than expected. For instance, because newborn screening for CALD
is not widely adopted, and it can be difficult to diagnose CALD in the absence of a genetic screen, we may have difficulty finding patients who are would
benefit from treatment from our Lenti-D product candidate. Additionally, the potentially addressable patient population for our product candidates may
be limited or may not be amenable to treatment with our product candidates. For instance, we are initially seeking approval of our LentiGlobin product
candidate for the treatment of patients with TDT and non-β0 /β0 genotypes. We do not have any assurance whether or when the LentiGlobin product
candidate may be commercially available to patients with all genotypes of TDT.

    Even if we obtain significant market share for our product candidates within an approved indication, because the potential target populations for our
product candidates are small, we may never achieve profitability without obtaining regulatory approval for additional indications. For instance, in the
field of cancer, the FDA often approves new therapies initially only for use in patients with relapsed or refractory advanced disease. We expect to initially
seek approval of our T cell-based product candidates in cancer in this context. Subsequently, for those products that prove to be sufficiently beneficial, if
any, we would expect to seek approval in earlier lines of treatment and potentially as a first line therapy, but there is no guarantee that our product
candidates, even if approved, would be approved for earlier lines of therapy, and, prior to any such approvals, we may have to conduct additional clinical
trials.

   Any of these factors may negatively affect our ability to generate revenues from sales of our product and our ability to achieve and maintain
profitability, and as a consequence, our business may suffer.


Risks related to our business operations
If we undertake business combinations, collaborations or similar strategic transactions, they may disrupt our business, divert management’s
attention, dilute stockholder value or be difficult to integrate.
   On a regular basis, we consider various business combination transactions, collaborations, license agreements and strategic transactions with third
parties, including transactions which may result in us acquiring, or being acquired by, a third party. The consummation or performance of any future
business combination, collaboration or strategic transaction may involve risks, such as:
   •   diversion of managerial resources from day-to-day operations;
   •   challenges associated with integrating acquired technologies and operations of acquired companies;
   •   exposure to unforeseen liabilities;
   •   difficulties in the assimilation of different cultures and practices, as well as in the assimilation and retention of broad and geographically dispersed
       personnel and operations;
   •   misjudgment with respect to value, return on investment or strategic fit;
   •   higher than expected transaction costs; and
   •   additional dilution to our existing stockholders if we issue equity securities as consideration for any acquisitions.

    As a result of these risks, we may not be able to achieve the expected benefits of any such transaction. If we are unsuccessful in completing or
integrating any acquisition, we may be required to reevaluate that component of our strategy only after we have incurred substantial expenses and
devoted significant management time and resources in seeking to complete and integrate the acquisition.

                                                                              60
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 113 of 426 PageID #: 3086


   Future business combinations could involve the acquisition of significant intangible assets. We may need to record write-downs from future
impairments of identified intangible assets and goodwill. These accounting charges would increase a reported loss or reduce any future reported
earnings. In addition, we could use substantial portions of our available cash to pay the purchase price for company or product candidate acquisitions.
Subject to the limitations under our existing indebtedness, it is possible that we could incur additional debt or issue additional equity securities as
consideration for these acquisitions, which could cause our stockholders to suffer significant dilution.


Negative public opinion and increased regulatory scrutiny of gene therapy and genetic research may damage public perception of our product
candidates or adversely affect our ability to conduct our business or obtain regulatory approvals for our product candidates.
    Public perception may be influenced by claims that gene therapy, including gene editing technologies, is unsafe or unethical, and research activities
and adverse events in the field, even if not ultimately attributable to us our or our product candidates could result in increased governmental regulation,
unfavorable public perception, potential regulatory delays in the testing or approval of our potential product candidates, stricter labeling requirements
for those product candidates that are approved, and a decrease in demand for any such product candidates. More restrictive government regulations or
negative public opinion would have a negative effect on our business or financial condition and may delay or impair the development and
commercialization of our product candidates or demand for any products we may develop.


Our future success depends on our ability to retain key employees, consultants and advisors and to attract, retain and motivate qualified personnel.
    We are highly dependent on principal members of our executive team and key employees, the loss of whose services may adversely impact the
achievement of our objectives. While we have entered into employment agreements with each of our executive officers, any of them could leave our
employment at any time, as all of our employees are “at will” employees. Recruiting and retaining other qualified employees, consultants and advisors for
our business, including scientific and technical personnel, will also be critical to our success. There is currently a shortage of skilled executives in our
industry, which is likely to continue. As a result, competition for skilled personnel is intense and the turnover rate can be high. We may not be able to
attract and retain personnel on acceptable terms given the competition among numerous pharmaceutical and biotechnology companies for individuals
with similar skill sets. In addition, failure to succeed in preclinical or clinical studies may make it more challenging to recruit and retain qualified personnel.
The inability to recruit or loss of the services of any executive, key employee, consultant or advisor may impede the progress of our research,
development and commercialization objectives.


As we evolve from a U.S.-based company primarily involved in discovery, pre-clinical research and clinical development into a company that
develops and commercializes multiple drugs with an international presence, we will need to expand our organization and we may experience
difficulties in managing this growth, which could disrupt our operations.
    We filed our first application for marketing authorization in 2018 and are preparing for a potential commercial launch in 2019, which we hope will be the
first of a sequence of marketing approvals and commercial launches for multiple products across multiple geographies. As we advance multiple product
candidates through late-stage clinical research and plan submissions for marketing authorizations, we are expanding our operations in the United States
and Europe. We grew our workforce significantly during 2017 and 2018, and as of December 31, 2018, we had 745 full-time employees. As we pursue our
development and commercialization strategy, we expect to expand our full-time employee base and to hire more consultants and contractors in the United
States and Europe. This expected growth may place a strain on our administrative and operational infrastructure. As a result, our management may need
to divert a disproportionate amount of its attention away from our day-to-day activities and devote a substantial amount of time to managing these
growth activities. We may not be able to effectively manage the expansion of our operations, which may result in weaknesses in our infrastructure,
operational mistakes, loss of business opportunities, loss of employees and reduced productivity among remaining employees. Our expected growth
could require significant capital expenditures and may divert financial resources from other projects, such as the development of additional product
candidates. If our management is unable to effectively manage our growth, our expenses may increase more than expected, our ability to generate and/or
grow revenues could be reduced, and we may not be able to implement our business strategy.

                                                                                61
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 114 of 426 PageID #: 3087


We may be subject, directly or indirectly, to federal and state healthcare fraud and abuse laws, false claims laws and health information privacy and
security laws. If we are unable to comply, or have not fully complied, with such laws, we could face substantial penalties, reputational harm, and
diminished profits and future earnings.
   In the United States, the research, manufacturing, distribution, sale, and promotion of drugs and biologic products are subject to regulation by
various federal, state, and local authorities in addition to FDA, including CMS, other divisions of the HHS, (e.g., the Office of Inspector General), the
United States Department of Justice offices of the United States Attorney, the Federal Trade Commission and state and local governments. Our
operations are directly, or indirectly through our prescribers, customers and purchasers, subject to various federal and state fraud and abuse laws and
regulations, including, without limitation, the federal Anti-Kickback Statute, the federal civil and criminal False Claims Act and Physician Payments
Sunshine Act and regulations and equivalent provisions in other countries. These laws apply to, among other things, our proposed sales, marketing and
educational programs. In addition, we may be subject to patient privacy laws by both the federal government and the states in which we conduct our
business.

    State and federal regulatory and enforcement agencies continue actively to investigate violations of health care laws and regulations, and the United
States Congress continues to strengthen the arsenal of enforcement tools. Most recently, the Bipartisan Budget Act of 2018 increased the criminal and
civil penalties that can be imposed for violating certain federal health care laws, including the Anti-Kickback Statute. Enforcement agencies also continue
to pursue novel theories of liability under these laws. In particular, government agencies have recently increased regulatory scrutiny and enforcement
activity with respect to programs supported or sponsored by pharmaceutical companies, including reimbursement and co-pay support, funding of
independent charitable foundations and other programs that offer benefits for patients. Several investigations into these programs have resulted in
significant civil and criminal settlements.

    Because of the breadth of these laws and the narrowness of the statutory exceptions and safe harbors available, it is possible that some of our
business activities could be subject to challenge under one or more of such laws. If our operations are found to be in violation of any of the laws
described above or any other government regulations that apply to us, we may be subject to penalties, including civil and criminal penalties, damages,
fines, exclusion from participation in government health care programs, such as Medicare and Medicaid, imprisonment and the curtailment or
restructuring of our operations, any of which could adversely affect our ability to operate our business and our results of operations. Even if we are not
determined to have violated these laws, government investigations into these issues typically require the expenditure of significant resources and
generate negative publicity, which could harm our financial condition and divert the attention of our management from operating our business.

    In the EU, interactions between pharmaceutical companies, healthcare professionals, and patients are also governed by strict laws, regulations,
industry self-regulation codes of conduct and physicians’ codes of professional conduct in the individual EU member states. The provision of benefits
or advantages to healthcare professionals to induce or encourage the prescription, recommendation, endorsement, purchase, supply, order or use of
medicinal products is prohibited in the EU. Also, direct-to-consumer advertising of prescription-only medicinal products is prohibited at the EU level and
in the individual member states. In addition, the UK Bribery Act applies to any company incorporated in or “carrying on business” in the UK,
irrespective of where in the world the alleged bribery activity occurs, which could have implications for our interactions with physicians both in and
outside of the UK. Infringement of these laws could result in substantial fines and imprisonment.

    Payments made to physicians in certain EU member states must be publicly disclosed. Moreover, agreements with physicians often must be the
subject of prior notification and approval by the physician’s employer, his or her competent professional organization and/or the regulatory authorities of
the individual EU member states. These requirements are provided in the national laws, industry codes or professional codes of conduct, applicable in
the EU member states. Failure to comply with these requirements could result in reputational risk, public reprimands, administrative penalties, fines or
imprisonment.

    EU member states, Switzerland and other countries have also adopted data protection laws and regulations, which impose significant compliance
obligations. In the EU, the collection and use of personal health data is currently governed by the provisions of the General Data Protection Regulation,
or the GDPR. The GDPR, together with the national legislation of the individual EU member states governing the processing of personal data, impose
strict obligations and restrictions on the ability to collect, analyze and transfer personal data, including health data from clinical trials and adverse event
reporting. In particular, these obligations and restrictions concern the consent of the individuals to whom the personal data relates, the information
provided to the individuals for the consent to be considered valid, the transfer of personal data out of the European Economic Area, security breach
notifications, the use of third-party processors in connection with the processing of the personal data, confidentiality of the personal data, as well as
substantial potential fines for breaches of the data protection obligations. Data protection authorities from the different EU member states may interpret
the GDPR and national laws differently and impose additional requirements, which add to the complexity of processing personal data in the EU. The
GDPR also imposes strict rules on the transfer of personal data to countries outside the EU, including the United States, and permits data protection
authorities to impose large penalties for violations of the GDPR, including potential fines of up to €20 million or 4% of annual global revenues, whichever
is greater. The GDPR also confers a private right of action on data subjects and consumer associations to lodge complaints with supervisory authorities,
seek judicial remedies, and obtain compensation for damages resulting from violations of the GDPR. Compliance with the GDPR is a rigorous and time-
intensive process that may increase our cost of doing business or require us to change our business practices, and despite those efforts, there is a risk
that we may be subject to fines and penalties, litigation, and reputational harm in connection with any activities falling within the scope of the GDPR.

                                                                              62
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 115 of 426 PageID #: 3088


We face potential product liability, and, if successful claims are brought against us, we may incur substantial liability and costs. If the use of our
product candidates harms patients, or is perceived to harm patients even when such harm is unrelated to our product candidates, our regulatory
approvals could be revoked or otherwise negatively impacted and we could be subject to costly and damaging product liability claims.
   The use of our product candidates in clinical studies and the sale of any products for which we obtain marketing approval exposes us to the risk of
product liability claims. Product liability claims might be brought against us by patients participating in clinical trials, consumers, healthcare providers,
pharmaceutical companies or others selling or otherwise coming into contact with our products. There is a risk that our product candidates may induce
adverse events. If we cannot successfully defend against product liability claims, we could incur substantial liability and costs. In addition, regardless of
merit or eventual outcome, product liability claims may result in:
   •   impairment of our business reputation;
   •   withdrawal of clinical study participants;
   •   costs due to related litigation;
   •   distraction of management’s attention from our primary business;
   •   substantial monetary awards to patients or other claimants;
   •   the inability to commercialize our product candidates; and
   •   decreased demand for our product candidates, if approved for commercial sale.

    We carry product liability insurance and we believe our product liability insurance coverage is sufficient in light of our current clinical programs;
however, we may not be able to maintain insurance coverage at a reasonable cost or in sufficient amounts to protect us against losses due to liability. If
and when we obtain marketing approval for product candidates, we intend to expand our insurance coverage to include the sale of commercial products;
however, we may be unable to obtain product liability insurance on commercially reasonable terms or in adequate amounts. On occasion, large judgments
have been awarded in class action lawsuits based on drugs or medical treatments that had unanticipated adverse effects. A successful product liability
claim or series of claims brought against us could cause our stock price to decline and, if judgments exceed our insurance coverage, could adversely
affect our results of operations and business.

    Patients with the diseases targeted by our product candidates are often already in severe and advanced stages of disease and have both known and
unknown significant pre-existing and potentially life-threatening health risks. During the course of treatment, patients may suffer adverse events,
including death, for reasons that may be related to our product candidates. Such events could subject us to costly litigation, require us to pay
substantial amounts of money to injured patients, delay, negatively impact or end our opportunity to receive or maintain regulatory approval to market
our products, or require us to suspend or abandon our commercialization efforts. Even in a circumstance in which we do not believe that an adverse
event is related to our products, the investigation into the circumstance may be time-consuming or inconclusive. These investigations may interrupt our
sales efforts, delay our regulatory approval process in other countries, or impact and limit the type of regulatory approvals our product candidates
receive or maintain. As a result of these factors, a product liability claim, even if successfully defended, could have a material adverse effect on our
business, financial condition or results of operations.


We may not be successful in our efforts to identify or discover additional product candidates.
    The success of our business depends primarily upon our ability to identify, develop and commercialize products based on our gene therapy and gene
editing platforms. Our research programs, including our oncology research programs, may fail to identify other potential product candidates for clinical
development for a number of reasons. We may be unsuccessful in identifying potential product candidates or our potential product candidates may be
shown to have harmful side effects or may have other characteristics that may make the products unmarketable or unlikely to receive marketing approval.

    If any of these events occur, we may be forced to abandon our development efforts for a program or programs, which would have a material adverse
effect on our business and could potentially cause us to cease operations. Research programs to identify new product candidates require substantial
technical, financial and human resources. We may focus our efforts and resources on potential programs or product candidates that ultimately prove to
be unsuccessful.

                                                                             63
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 116 of 426 PageID #: 3089


We may use our financial and human resources to pursue a particular research program or product candidate and fail to capitalize on programs or
product candidates that may be more profitable or for which there is a greater likelihood of success.
    Because we have limited resources, we may forego or delay pursuit of opportunities with certain programs or product candidates or for indications
that later prove to have greater commercial potential. Our resource allocation decisions may cause us to fail to capitalize on viable commercial products or
profitable market opportunities. Our spending on current and future research and development programs for product candidates may not yield any
commercially viable products. If we do not accurately evaluate the commercial potential or target market for a particular product candidate, we may
relinquish valuable rights to that product candidate through strategic collaboration, licensing or other royalty arrangements in cases in which it would
have been more advantageous for us to retain sole development and commercialization rights to such product candidate, or we may allocate internal
resources to a product candidate in a therapeutic area in which it would have been more advantageous to enter into a partnering arrangement.


Comprehensive tax reform legislation could adversely affect our business and financial condition.
    On December 22, 2017, the “Tax Cuts and Jobs Act” (TCJA) was enacted. The TCJA significantly reforms the Internal Revenue Code of 1986, as
amended (the “Code”). The TCJA, among other things, includes changes to U.S. federal tax rates, imposes significant additional limitations on the
deductibility of interest and net operating loss carryforwards, allows for the expensing of capital expenditures, and puts into effect the migration from a
“worldwide” system of taxation to a territorial system. Our net deferred tax assets and liabilities have been revalued at the newly enacted U.S. corporate
tax rate, and the impact of the reduction to our deferred tax assets and associated valuation allowance was recognized in 2017. We continue to examine
the impact this tax reform legislation may have on our business. The impact of this tax reform is uncertain and could be adverse.


The increasing use of social media platforms presents new risks and challenges.
    Social media is increasingly being used to communicate about our clinical development programs and the diseases our product candidates are being
developed to treat. We intend to utilize appropriate social media in connection with our commercialization efforts following approval of our product
candidates. Social media practices in the biopharmaceutical industry continue to evolve and regulations relating to such use are not always clear. This
evolution creates uncertainty and risk of noncompliance with regulations applicable to our business. For example, patients may use social media
channels to report an alleged adverse event. When such disclosures occur, there is a risk that we fail to monitor and comply with applicable adverse
event reporting obligations, or we may not be able to defend our business or the public’s legitimate interests in the face of the political and market
pressures generated by social media due to restrictions on what we may say about our investigational products. There is also a risk of inappropriate
disclosure of sensitive information or negative or inaccurate posts or comments about us on any social networking website, or a risk that a post on a
social networking website by any of our employees may be construed as inappropriate promotion. If any of these events were to occur or we otherwise
fail to comply with applicable regulations, we could incur liability, face regulatory actions, or incur other harm to our business.


Our computer systems, or those of our third-party collaborators, service providers, contractors or consultants, may fail or suffer security breaches,
which could result in a material disruption of our product candidates’ development programs and have a material adverse effect on our reputation,
business, financial condition or results of operations.
    Our computer systems and those of our current or future third-party collaborators, service providers, contractors and consultants may fail and are
vulnerable to damage from computer viruses, unauthorized access, natural disasters, terrorism, war and telecommunication and electrical failures. The size
and complexity of our information technology systems, and those of our collaborators, service providers, contractors and consultants, and the large
amounts of information stored on those systems make those systems vulnerable to service interruptions, security breaches, or other failures, resulting
from inadvertent or intentional actions by our employees or those of third-party business partners, or from cyber-attacks by malicious third parties.
Attacks on information technology systems are increasing in their frequency, levels of persistence, sophistication and intensity, and they are being
conducted by increasingly sophisticated and organized groups and individuals with a wide range of motives and expertise. In addition to extracting
sensitive information, such attacks could include the deployment of harmful malware, ransomware, denial-of-service attacks, social engineering and other
means to affect service reliability and threaten the confidentiality, integrity and availability of information. The prevalent use of mobile devices also
increases the risk of data security incidents. If we experience a material system failure, accident or security breach that causes interruptions in our
operations or the operations of third-party collaborators, service providers, contractors and consultants, it could result in significant reputational,
financial, legal, regulatory, business or operational harm. For example, the loss of clinical trial data for our product candidates could result in delays in our
regulatory approval efforts and significantly increase our costs to recover or reproduce the data. To the extent that any disruption or security breach
results in a loss of or damage to our data or applications or other data or applications relating to our technology or product candidates, or inappropriate
disclosure of confidential or proprietary information, we could incur liabilities and the further development of our product candidates could be delayed.
We also rely on third-party service providers for aspects of our internal control over financial reporting and such service providers may experience a
material system failure or fail to carry out their obligations in other respects, which may impact our ability to produce accurate and timely financial
statements, thus harming our operating results, our ability to operate our business, and our investors’ view of us. In addition, our liability insurance may
not be sufficient in type or amount to cover us against claims related to material failures, security breaches, cyberattacks and other related breaches.

                                                                               64
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 117 of 426 PageID #: 3090

    Any failure or perceived failure by us or any third-party collaborators, service providers, contractors or consultants to comply with our privacy,
confidentiality, data security or similar obligations to third parties, or any data security incidents or other security breaches that result in the
unauthorized access, release or transfer of sensitive information, including personally identifiable information, may result in governmental investigations,
enforcement actions, regulatory fines, litigation or public statements against us, could cause third parties to lose trust in us or could result in claims by
third parties asserting that we have breached our privacy, confidentiality, data security or similar obligations, any of which could have a material adverse
effect on our reputation, business, financial condition or results of operations. Moreover, data security incidents and other security breaches can be
difficult to detect, and any delay in identifying them may lead to increased harm. While we have implemented data security measures intended to protect
our information technology systems and infrastructure, there can be no assurance that such measures will successfully prevent service interruptions or
data security incidents.


Risks related to our intellectual property
If we are unable to obtain or protect intellectual property rights related to our product candidates, we may not be able to compete effectively in our
markets.
   We rely upon a combination of patents, trade secret protection and confidentiality agreements to protect the intellectual property related to our
product candidates. The strength of patents in the biotechnology and pharmaceutical field involves complex legal and scientific questions and can be
uncertain. The patent applications that we own or in-license may fail to result in issued patents with claims that cover our product candidates in the
United States or in other foreign countries. There is no assurance that all of the potentially relevant prior art relating to our patents and patent
applications has been found, which can invalidate a patent or prevent a patent from issuing from a pending patent application. Even if patents do
successfully issue and even if such patents cover our product candidates, third parties may challenge their validity, enforceability or scope, which may
result in such patents being narrowed or invalidated. Furthermore, even if they are unchallenged, our patents and patent applications may not adequately
protect our intellectual property, provide exclusivity for our product candidates or prevent others from designing around our claims. Any of these
outcomes could impair our ability to prevent competition from third parties, which may have an adverse impact on our business.

    If the patent applications we hold or have in-licensed with respect to our programs or product candidates fail to issue, if their breadth or strength of
protection is threatened, or if they fail to provide meaningful exclusivity for our product candidates, it could dissuade companies from collaborating with
us to develop product candidates, and threaten our ability to commercialize, future products. Several patent applications covering our product
candidates have been filed recently. We cannot offer any assurances about which, if any, patents will issue, the breadth of any such patent or whether
any issued patents will be found invalid and unenforceable or will be threatened by third parties. Any successful opposition to these patents or any
other patents owned by or licensed to us could deprive us of rights necessary for the successful commercialization of any product candidates that we
may develop. Further, if we encounter delays in regulatory approvals, the period of time during which we could market a product candidate under patent
protection could be reduced. Since patent applications in the United States and most other countries are confidential for a period of time after filing, and
some remain so until issued, we cannot be certain that we were the first to file any patent application related to a product candidate. Furthermore, if third
parties have filed such patent applications, an interference proceeding in the United States can be initiated by a third party to determine who was the first
to invent any of the subject matter covered by the patent claims of our applications. In addition, patents have a limited lifespan. In the United States, the
natural expiration of a patent is generally 20 years after it is filed. Various extensions may be available however the life of a patent, and the protection it
affords, is limited. Even if patents covering our product candidates are obtained, once the patent life has expired for a product, we may be open to
competition from generic medications.

    In addition to the protection afforded by patents, we rely on trade secret protection and confidentiality agreements to protect proprietary know-how
that is not patentable or that we elect not to patent, processes for which patents are difficult to enforce and any other elements of our product candidate
discovery and development processes that involve proprietary know-how, information or technology that is not covered by patents. However, trade
secrets can be difficult to protect. We seek to protect our proprietary technology and processes, in part, by entering into confidentiality agreements with
our employees, consultants, scientific advisors and contractors. We also seek to preserve the integrity and confidentiality of our data and trade secrets
by maintaining physical security of our premises and physical and electronic security of our information technology systems. While we have confidence
in these individuals, organizations and systems, agreements or security measures may be breached, and we may not have adequate remedies for any
breach. In addition, our trade secrets may otherwise become known or be independently discovered by competitors.

                                                                              65
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 118 of 426 PageID #: 3091


    Although we expect all of our employees and consultants to assign their inventions to us, and all of our employees, consultants, advisors and any
third parties who have access to our proprietary know-how, information or technology to enter into confidentiality agreements, we cannot provide any
assurances that all such agreements have been duly executed or that our trade secrets and other confidential proprietary information will not be
disclosed or that competitors will not otherwise gain access to our trade secrets or independently develop substantially equivalent information and
techniques. Misappropriation or unauthorized disclosure of our trade secrets could impair our competitive position and may have a material adverse
effect on our business. Additionally, if the steps taken to maintain our trade secrets are deemed inadequate, we may have insufficient recourse against
third parties for misappropriating the trade secret. In addition, others may independently discover our trade secrets and proprietary information. For
example, the FDA, as part of its Transparency Initiative, is currently considering whether to make additional information publicly available on a routine
basis, including information that we may consider to be trade secrets or other proprietary information, and it is not clear at the present time how the
FDA’s disclosure policies may change in the future, if at all.

   Further, the laws of some foreign countries do not protect proprietary rights to the same extent or in the same manner as the laws of the United States.
As a result, we may encounter significant problems in protecting and defending our intellectual property both in the United States and abroad. If we are
unable to prevent material disclosure of the non-patented intellectual property related to our technologies to third parties, and there is no guarantee that
we will have any such enforceable trade secret protection, we may not be able to establish or maintain a competitive advantage in our market, which
could materially adversely affect our business, results of operations and financial condition.


Third-party claims of intellectual property infringement may prevent or delay our development and commercialization efforts.
    Our commercial success depends in part on our avoiding infringement of the patents and proprietary rights of third parties. There is a substantial
amount of litigation, both within and outside the United States, involving patent and other intellectual property rights in the biotechnology and
pharmaceutical industries, including patent infringement lawsuits, interferences, oppositions, ex parte reexaminations, post-grant review, and inter partes
review proceedings before the U.S. Patent and Trademark Office, or U.S. PTO, and corresponding foreign patent offices. Numerous U.S. and foreign
issued patents and pending patent applications, which are owned by third parties, exist in the fields in which we are pursuing development candidates.
As the biotechnology and pharmaceutical industries expand and more patents are issued, the risk increases that our product candidates may be subject
to claims of infringement of the patent rights of third parties.

    Third parties may assert that we are employing their proprietary technology without authorization. There may be third-party patents or patent
applications with claims to materials, formulations, methods of manufacture or methods for treatment related to the use or manufacture of our product
candidates. Because patent applications can take many years to issue, there may be currently pending patent applications which may later result in
issued patents that our product candidates may infringe. In addition, third parties may obtain patents in the future and claim that use of our technologies
infringes upon these patents. If any third-party patents were held by a court of competent jurisdiction to cover the manufacturing process of any of our
product candidates, any molecules formed during the manufacturing process or any final product itself, the holders of any such patents may be able to
block our ability to commercialize such product candidate unless we obtained a license under the applicable patents, or until such patents expire.
Similarly, if any third-party patents were held by a court of competent jurisdiction to cover aspects of our formulations, processes for manufacture or
methods of use, including combination therapy, the holders of any such patents may be able to block our ability to develop and commercialize the
applicable product candidate unless we obtained a license or until such patent expires. In either case, such a license may not be available on
commercially reasonable terms or at all.

   Parties making claims against us may obtain injunctive or other equitable relief, which could effectively block our ability to further develop and
commercialize one or more of our product candidates. Defense of these claims, regardless of their merit, would involve substantial litigation expense and
would be a substantial diversion of employee resources from our business. In the event of a successful claim of infringement against us, we may have to
pay substantial damages, including treble damages and attorneys’ fees for willful infringement, pay royalties, redesign our infringing products or obtain
one or more licenses from third parties, which may be impossible or require substantial time and monetary expenditure.


We may not be successful in obtaining or maintaining necessary rights to gene therapy product components and processes for our development
pipeline through acquisitions and in-licenses.
    Presently we have rights to the intellectual property, through licenses from third parties and under patents that we own, to develop our product
candidates. Because our programs may involve additional product candidates that may require the use of proprietary rights held by third parties, the
growth of our business will likely depend in part on our ability to acquire, in-license or use these proprietary rights. In addition, our product candidates
may require specific formulations to work effectively and efficiently and these rights may be held by others. We may be unable to acquire or in-license
any compositions, methods of use, processes or other third-party intellectual property rights from third parties that we identify. The licensing and
acquisition of third-party intellectual property rights is a competitive area, and a number of more established companies are also pursuing strategies to
license or acquire third-party intellectual property rights that we may consider attractive. These established companies may have a competitive
advantage over us due to their size, cash resources and greater clinical development and commercialization capabilities.

                                                                              66
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 119 of 426 PageID #: 3092


    For example, we sometimes collaborate with U.S. and foreign academic institutions to accelerate our preclinical research or development under written
agreements with these institutions. Typically, these institutions provide us with an option to negotiate a license to any of the institution’s rights in
technology resulting from the collaboration. Regardless of such right of first negotiation for intellectual property, we may be unable to negotiate a license
within the specified time frame or under terms that are acceptable to us. If we are unable to do so, the institution may offer the intellectual property rights
to other parties, potentially blocking our ability to pursue our program.

   In addition, companies that perceive us to be a competitor may be unwilling to assign or license rights to us. We also may be unable to license or
acquire third-party intellectual property rights on terms that would allow us to make an appropriate return on our investment. If we are unable to
successfully obtain rights to required third-party intellectual property rights, our business, financial condition and prospects for growth could suffer.


If we fail to comply with our obligations in the agreements under which we license intellectual property rights from third parties or otherwise
experience disruptions to our business relationships with our licensors, we could lose license rights that are important to our business.
    We are a party to a number of intellectual property license agreements that are important to our business and expect to enter into additional license
agreements in the future. Our existing license agreements impose, and we expect that future license agreements will impose, various diligence, milestone
payment, royalty and other obligations on us. If we fail to comply with our obligations under these agreements, or we are subject to a bankruptcy, the
licensor may have the right to terminate the license, in which event we would not be able to market products covered by the license.

    We may need to obtain licenses from third parties to advance our research or allow commercialization of our product candidates, and we have done
so from time to time. We may fail to obtain any of these licenses at a reasonable cost or on reasonable terms, if at all. In that event, we may be required to
expend significant time and resources to develop or license replacement technology. If we are unable to do so, we may be unable to develop or
commercialize the affected product candidates, which could harm our business significantly. We cannot provide any assurances that third-party patents
do not exist which might be enforced against our current product candidates or future products, resulting in either an injunction prohibiting our sales, or,
with respect to our sales, an obligation on our part to pay royalties and/or other forms of compensation to third parties.

    In many cases, patent prosecution of our licensed technology is controlled solely by the licensor. If our licensors fail to obtain and maintain patent or
other protection for the proprietary intellectual property we license from them, we could lose our rights to the intellectual property or our exclusivity with
respect to those rights, and our competitors could market competing products using the intellectual property. In certain cases, we control the prosecution
of patents resulting from licensed technology. In the event we breach any of our obligations related to such prosecution, we may incur significant
liability to our licensing partners. Licensing of intellectual property is of critical importance to our business and involves complex legal, business and
scientific issues and is complicated by the rapid pace of scientific discovery in our industry. Disputes may arise regarding intellectual property subject to
a licensing agreement, including:
   •   the scope of rights granted under the license agreement and other interpretation-related issues;
   •   the extent to which our technology and processes infringe on intellectual property of the licensor that is not subject to the licensing agreement;
   •   the sublicensing of patent and other rights under our collaborative development relationships;
   •   our diligence obligations under the license agreement and what activities satisfy those diligence obligations;
   •   the ownership of inventions and know-how resulting from the joint creation or use of intellectual property by our licensors and us and our
       partners; and
   •   the priority of invention of patented technology.

   If disputes over intellectual property that we have licensed prevent or impair our ability to maintain our current licensing arrangements on acceptable
terms, we may be unable to successfully develop and commercialize the affected product candidates.

                                                                              67
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 120 of 426 PageID #: 3093


We may be involved in lawsuits to protect or enforce our patents or the patents of our licensors, which could be expensive, time-consuming and
unsuccessful.
    Competitors may infringe our patents or the patents of our licensors. To counter infringement or unauthorized use, we may be required to file
infringement claims, which can be expensive and time-consuming. In addition, in an infringement proceeding, a court may decide that a patent of ours or
our licensors is not valid, is unenforceable and/or is not infringed, or may refuse to stop the other party from using the technology at issue on the
grounds that our patents do not cover the technology in question. An adverse result in any litigation or defense proceedings could put one or more of
our patents at risk of being invalidated or interpreted narrowly and could put our patent applications at risk of not issuing.

    Interference proceedings provoked by third parties or brought by us may be necessary to determine the priority of inventions with respect to our
patents or patent applications or those of our licensors. An unfavorable outcome could require us to cease using the related technology or to attempt to
license rights to it from the prevailing party. Our business could be harmed if the prevailing party does not offer us a license on commercially reasonable
terms. Our defense of litigation or interference proceedings may fail and, even if successful, may result in substantial costs and distract our management
and other employees. We may not be able to prevent, alone or with our licensors, misappropriation of our intellectual property rights, particularly in
countries where the laws may not protect those rights as fully as in the United States.

    Furthermore, because of the substantial amount of discovery required in connection with intellectual property litigation, there is a risk that some of
our confidential information could be compromised by disclosure during this type of litigation. There could also be public announcements of the results
of hearings, motions or other interim proceedings or developments. If securities analysts or investors perceive these results to be negative, it could have
a material adverse effect on the price of our common stock.


We may be subject to claims that our employees, consultants or independent contractors have wrongfully used or disclosed confidential information
of third parties or that our employees have wrongfully used or disclosed alleged trade secrets of their former employers.
    We employ individuals who were previously employed at universities or other biotechnology or pharmaceutical companies, including our competitors
or potential competitors. Although we try to ensure that our employees, consultants and independent contractors do not use the proprietary information
or know-how of others in their work for us, we may be subject to claims that we or our employees, consultants or independent contractors have
inadvertently or otherwise used or disclosed intellectual property, including trade secrets or other proprietary information, of any of our employee’s
former employer or other third parties. Litigation may be necessary to defend against these claims. If we fail in defending any such claims, in addition to
paying monetary damages, we may lose valuable intellectual property rights or personnel, which could adversely impact our business. Even if we are
successful in defending against such claims, litigation could result in substantial costs and be a distraction to management and other employees.


We may be subject to claims challenging the inventorship or ownership of our patents and other intellectual property.
    We may also be subject to claims that former employees, collaborators or other third parties have an ownership interest in our patents or other
intellectual property. We have had in the past, and we may also have to in the future, ownership disputes arising, for example, from conflicting
obligations of consultants or others who are involved in developing our product candidates. Litigation may be necessary to defend against these and
other claims challenging inventorship or ownership. If we fail in defending any such claims, in addition to paying monetary damages, we may lose
valuable intellectual property rights, such as exclusive ownership of, or right to use, valuable intellectual property. Such an outcome could have a
material adverse effect on our business. Even if we are successful in defending against such claims, litigation could result in substantial costs and be a
distraction to management and other employees.


Obtaining and maintaining our patent protection depends on compliance with various procedural, document submission, fee payment and other
requirements imposed by governmental patent agencies, and our patent protection could be reduced or eliminated for non-compliance with these
requirements.
    Periodic maintenance fees, renewal fees, annuity fees and various other governmental fees on patents and/or applications will be due to be paid to
the U.S. PTO and various governmental patent agencies outside of the United States in several stages over the lifetime of the patents and/or
applications. We have systems in place to remind us to pay these fees, and we employ an outside firm and rely on our outside counsel to pay these fees
due to non-U.S. patent agencies. The U.S. PTO and various non-U.S. governmental patent agencies require compliance with a number of procedural,
documentary, fee payment and other similar provisions during the patent application process. We employ reputable law firms and other professionals to
help us comply, and in many cases, an inadvertent lapse can be cured by payment of a late fee or by other means in accordance with the applicable rules.
However, there are situations in which non-compliance can result in abandonment or lapse of the patent or patent application, resulting in partial or
complete loss of patent rights in the relevant jurisdiction. In such an event, our competitors might be able to enter the market and this circumstance
would have a material adverse effect on our business.

                                                                             68
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 121 of 426 PageID #: 3094


Issued patents covering our product candidates could be found invalid or unenforceable if challenged in court.
    If we or one of our licensing partners initiated legal proceedings against a third party to enforce a patent covering one of our product candidates, the
defendant could counterclaim that the patent covering our product candidate is invalid and/or unenforceable. In patent litigation in the United States,
defendant counterclaims alleging invalidity and/or unenforceability are commonplace. Grounds for a validity challenge could be an alleged failure to meet
any of several statutory requirements, including patent eligible subject matter, lack of novelty, obviousness or non-enablement. Grounds for an
unenforceability assertion could be an allegation that someone connected with prosecution of the patent withheld relevant information from the U.S.
PTO, or made a misleading statement, during prosecution. Third parties may also raise similar claims before administrative bodies in the United States or
abroad, even outside the context of litigation. Such mechanisms include re-examination, post grant review, and equivalent proceedings in foreign
jurisdictions (e.g., opposition proceedings). Such proceedings could result in revocation or amendment to our patents in such a way that they no longer
cover our product candidates. The outcome following legal assertions of invalidity and unenforceability is unpredictable. With respect to the validity
question, for example, we cannot be certain that there is no invalidating prior art, of which we and the patent examiner were unaware during prosecution.
If a defendant were to prevail on a legal assertion of invalidity and/or unenforceability, we would lose at least part, and perhaps all, of the patent
protection on our product candidates. Such a loss of patent protection would have a material adverse impact on our business.


Changes in U.S. patent law could diminish the value of patents in general, thereby impairing our ability to protect our products.
    As is the case with other biotechnology companies, our success is heavily dependent on intellectual property, particularly patents. Obtaining and
enforcing patents in the biotechnology industry involve both technological and legal complexity, and is therefore obtaining and enforcing biotechnology
patents is costly, time-consuming and inherently uncertain. In addition, the United States has recently enacted and is currently implementing wide-
ranging patent reform legislation. Recent U.S. Supreme Court rulings have narrowed the scope of patent protection available in certain circumstances and
weakened the rights of patent owners in certain situations. In addition to increasing uncertainty with regard to our ability to obtain patents in the future,
this combination of events has created uncertainty with respect to the value of patents, once obtained. Depending on decisions by the U.S. Congress,
the federal courts, and the U.S. PTO, the laws and regulations governing patents could change in unpredictable ways that would weaken our ability to
obtain new patents or to enforce our existing patents and patents that we might obtain in the future.


We may not be able to protect our intellectual property rights throughout the world.
    Filing, prosecuting and defending patents on product candidates in all countries throughout the world would be prohibitively expensive, and our
intellectual property rights in some countries outside the United States can be less extensive than those in the United States. In addition, the laws of
some foreign countries do not protect intellectual property rights to the same extent as federal and state laws in the United States. Consequently, we may
not be able to prevent third parties from practicing our inventions in all countries outside the United States, or from selling or importing products made
using our inventions in and into the United States or other jurisdictions. Competitors may use our technologies in jurisdictions where we have not
obtained patent protection to develop their own products and further, may export otherwise infringing products to territories where we have patent
protection, but enforcement is not as strong as that in the United States. These products may compete with our products and our patents or other
intellectual property rights may not be effective or sufficient to prevent them from competing.

    Many companies have encountered significant problems in protecting and defending intellectual property rights in foreign jurisdictions. The legal
systems of certain countries, particularly certain developing countries, do not favor the enforcement of patents, trade secrets and other intellectual
property protection, particularly those relating to biotechnology products, which could make it difficult for us to stop the infringement of our patents or
marketing of competing products in violation of our proprietary rights generally. Proceedings to enforce our patent rights in foreign jurisdictions could
result in substantial costs and divert our efforts and attention from other aspects of our business, could put our patents at risk of being invalidated or
interpreted narrowly and our patent applications at risk of not issuing and could provoke third parties to assert claims against us. We may not prevail in
any lawsuits that we initiate and the damages or other remedies awarded, if any, may not be commercially meaningful. Accordingly, our efforts to enforce
our intellectual property rights around the world may be inadequate to obtain a significant commercial advantage from the intellectual property that we
develop or license.

                                                                             69
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 122 of 426 PageID #: 3095


Risks related to ownership of our common stock
The market price of our common stock may be highly volatile, and you may not be able to resell your shares at or above the price at which you
purchase them.
    Companies trading in the stock market in general, and The NASDAQ Global Select Market in particular, have experienced extreme price and volume
fluctuations that have often been unrelated or disproportionate to the operating performance of these companies. Broad market and biotechnology and
pharmaceutical industry factors may negatively affect the market price of our common stock, regardless of our actual operating performance.

    The market price of our common stock may be volatile. Our stock price could be subject to wide fluctuations in response to a variety of factors,
including the following:
   •   adverse results or delays in preclinical or clinical studies;
   •   reports of adverse events in other gene therapy products or clinical studies of such products;
   •   inability to obtain additional funding;
   •   any delay in filing an IND, MAA or BLA for any of our product candidates and any adverse development or perceived adverse development with
       respect to the FDA’s review of that IND, MAA or BLA;
   •   failure to successfully manage the commercial launch of our product candidates following regulatory approval, including failure to manage our
       supply chain operations in the coordination and delivery of drug product to patients at qualified treatment centers;
   •   failure to obtain sufficient pricing and reimbursement for our product candidates from private and governmental payors;
   •   failure to obtain market acceptance and adoption of our product;
   •   failure to maintain our existing strategic collaborations or enter into new collaborations;
   •   failure by us or our licensors and strategic collaboration partners to prosecute, maintain or enforce our intellectual property rights;
   •   changes in laws or regulations applicable to future products;
   •   inability to obtain adequate product supply for our product candidates or the inability to do so at acceptable prices;
   •   adverse regulatory decisions;
   •   introduction of new products, services or technologies by our competitors;
   •   failure to meet or exceed financial projections we may provide to the public;
   •   failure to meet or exceed the financial projections of the investment community;
   •   the perception of the pharmaceutical industry by the public, legislatures, regulators and the investment community;
   •   announcements of significant acquisitions, strategic partnerships, joint ventures or capital commitments by us, our strategic collaboration partner
       or our competitors;
   •   disputes or other developments relating to proprietary rights, including patents, litigation matters and our ability to obtain patent protection for
       our technologies;
   •   additions or departures of key scientific or management personnel;
   •   significant lawsuits, including patent or stockholder litigation;
   •   changes in the market valuations of similar companies;
   •   sales of our common stock by us or our stockholders in the future; and
   •   trading volume of our common stock.

                                                                              70
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 123 of 426 PageID #: 3096


Actual or potential sales of our common stock by our employees, including our executive officers, pursuant to pre-arranged stock trading plans
could cause our stock price to fall or prevent it from increasing for numerous reasons, and actual or potential sales by such persons could be viewed
negatively by other investors.
    In accordance with the guidelines specified under Rule 10b5-1 of the Securities Exchange Act of 1934, as amended, and our policies regarding stock
transactions, a number of our employees, including executive officers and members of our board of directors, have adopted and may continue to adopt
stock trading plans pursuant to which they have arranged to sell shares of our common stock from time to time in the future. Generally, sales under such
plans by our executive officers and directors require public filings. Actual or potential sales of our common stock by such persons could cause the price
of our common stock to fall or prevent it from increasing for numerous reasons.


Future sales and issuances of our common stock or rights to purchase common stock, including pursuant to our equity incentive plans, could result
in additional dilution of the percentage ownership of our stockholders and could cause our stock price to fall.
   Additional capital will be needed in the future to continue our planned operations. To the extent we raise additional capital by issuing equity
securities, our stockholders may experience substantial dilution. We may sell common stock, convertible securities or other equity securities in one or
more transactions at prices and in a manner we determine from time to time. If we sell common stock, convertible securities or other equity securities in
more than one transaction, investors may be materially diluted by subsequent sales. These sales may also result in material dilution to our existing
stockholders, and new investors could gain rights superior to our existing stockholders.

    Pursuant to our 2013 Stock Option and Incentive Plan, or the 2013 Plan, our management is authorized to grant stock options and other equity-based
awards to our employees, directors and consultants. The number of shares available for future grant under the 2013 Plan automatically increases each
year by up to 4% of all shares of our capital stock outstanding as of December 31 of the prior calendar year, subject to the ability of our board of directors
or compensation committee to take action to reduce the size of the increase in any given year. Currently, we plan to register the increased number of
shares available for issuance under the 2013 Plan each year. If our board of directors or compensation committee elects to increase the number of shares
available for future grant by the maximum amount each year, our stockholders may experience additional dilution, which could cause our stock price to
fall. We also have an Employee Stock Purchase Plan and any shares of common stock purchased pursuant to that plan will also cause dilution.


We could be subject to securities class action litigation.
    In the past, securities class action litigation has often been brought against a company following a decline in the market price of its securities. This
risk is especially relevant for us because biotechnology and pharmaceutical companies have experienced significant stock price volatility in recent years.
If we face such litigation, it could result in substantial costs and a diversion of management’s attention and resources, which could harm our business.


Our ability to use our net operating loss carryforwards and certain other tax attributes may be limited.
    Under Section 382 of the Internal Revenue Code of 1986, as amended, if a corporation undergoes an “ownership change,” generally defined as a
greater than 50% change (by value) in its equity ownership over a three-year period, the corporation’s ability to use its pre-change net operating loss
carryforwards, or NOLs, and other pre-change tax attributes (such as research tax credits) to offset its post-change income may be limited. We have
completed several financings since our inception which we believe have resulted in a change in control as defined by IRC Section 382. We may also
experience ownership changes in the future as a result of subsequent shifts in our stock ownership. As a result, if we earn net taxable income, our ability
to use our pre-change net operating loss carryforwards to offset U.S. federal taxable income may be subject to limitations, which could potentially result
in increased future tax liability to us. The TCJA also reduced the corporate income tax rate to 21%, from a prior rate of 35%. This may cause a reduction in
the economic benefit of our NOLs and other deferred tax assets available to us. In addition, at the state level, there may be periods during which the use
of NOLs is suspended or otherwise limited, which could accelerate or permanently increase state taxes owed.


We do not intend to pay dividends on our common stock so any returns will be limited to the value of our stock.
    We have never declared or paid any cash dividends on our common stock. We currently anticipate that we will retain future earnings for the
development, operation and expansion of our business and do not anticipate declaring or paying any cash dividends for the foreseeable future. Any
return to stockholders will therefore be limited to the appreciation of their stock.

                                                                             71
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 124 of 426 PageID #: 3097


Provisions in our amended and restated certificate of incorporation and by-laws, as well as provisions of Delaware law, could make it more difficult
for a third party to acquire us or increase the cost of acquiring us, even if doing so would benefit our stockholders or remove our current
management.
    Our amended and restated certificate of incorporation, amended and restated by-laws and Delaware law contain provisions that may have the effect
of delaying or preventing a change in control of us or changes in our management. Our amended and restated certificate of incorporation and by-laws,
include provisions that:
   •   authorize “blank check” preferred stock, which could be issued by our board of directors without stockholder approval and may contain voting,
       liquidation, dividend and other rights superior to our common stock;
   •   create a classified board of directors whose members serve staggered three-year terms;
   •   specify that special meetings of our stockholders can be called only by our board of directors, the chairperson of our board of directors, our chief
       executive officer or our president;
   •   prohibit stockholder action by written consent;
   •   establish an advance notice procedure for stockholder approvals to be brought before an annual meeting of our stockholders, including proposed
       nominations of persons for election to our board of directors;
   •   provide that our directors may be removed only for cause;
   •   provide that vacancies on our board of directors may be filled only by a majority of directors then in office, even though less than a quorum;
   •   specify that no stockholder is permitted to cumulate votes at any election of directors;
   •   expressly authorize our board of directors to modify, alter or repeal our amended and restated by-laws; and
   •   require supermajority votes of the holders of our common stock to amend specified provisions of our amended and restated certificate of
       incorporation and amended and restated by-laws.

   These provisions, alone or together, could delay or prevent hostile takeovers and changes in control or changes in our management.

   In addition, because we are incorporated in Delaware, we are governed by the provisions of Section 203 of the Delaware General Corporation Law,
which limits the ability of stockholders owning in excess of 15% of our outstanding voting stock to merge or combine with us.

   Any provision of our amended and restated certificate of incorporation or amended and restated by-laws or Delaware law that has the effect of
delaying or deterring a change in control could limit the opportunity for our stockholders to receive a premium for their shares of our common stock, and
could also affect the price that some investors are willing to pay for our common stock.

Item 1B. Unresolved Staff Comments
   Not applicable.
Item 2. Properties
    Our corporate headquarters are located in Cambridge, Massachusetts. Our current leased facility encompasses approximately 253,108 square feet of
office and laboratory space, located at 60 Binney Street, Cambridge, Massachusetts. The lease commenced on October 1, 2016 and will continue until
March 31, 2027. We have the option to extend the 60 Binney Street lease for two successive five-year terms. We also lease approximately 7,800 square
feet of office and laboratory space in Seattle, Washington. We entered into a new lease agreement for 36,000 square feet of office and laboratory space in
Seattle, Washington in July 2018, with the anticipated move-in date in mid-2019. The new lease will continue for approximately 8 years following the
commencement date of the lease in January 2019. In November 2017, we purchased a 125,000 square foot manufacturing facility located in Durham, North
Carolina to provide manufacturing capacity for lentiviral vector in support of our current and planned gene and cell therapies. We also lease office space
in Zug, Switzerland, the location of our European headquarters, and entered into a new lease agreement in September 2018 for 1,136 square meters of
office space. The new Zug lease will continue for 60 months with the option to renew for 2 successive 60 month terms. We believe that our existing
facilities are adequate for our current needs.

                                                                             72
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 125 of 426 PageID #: 3098


Item 3. Legal Proceedings
    In the ordinary course of business, we are from time to time involved in lawsuits, claims, investigations, proceedings, and threats of litigation relating
to intellectual property, commercial arrangements, employment and other matters. While the outcome of these proceedings and claims cannot be
predicted with certainty, as of December 31, 2018, we were not party to any legal or arbitration proceedings that may have, or have had in the recent past,
significant effects on our financial position or profitability. We believe no governmental proceedings are pending or, to our knowledge, contemplated
against us. We are not a party to any material proceedings in which any director, member of senior management or affiliate of ours is either a party
adverse to us or our subsidiaries or has a material interest adverse to us or our subsidiaries.
Item 4. Mine Safety Disclosures
   Not applicable.


                                                                              73
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 126 of 426 PageID #: 3099

                                                                   PART II
Item 5. Market for Registrant’s Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities
    Our common stock has been traded on the Nasdaq Global Select Market under the symbol “BLUE.” On February 15, 2019, the last reported sale price
for our common stock on the Nasdaq Global Select Market was $137.03 per share.


Stock Performance Graph
    The graph set forth below compares the cumulative total stockholder return on our common stock between June 19, 2013 (the date of our initial public
offering) and December 31, 2018, with the cumulative total return of (a) the Nasdaq Biotechnology Index and (b) the Nasdaq Composite Index, over the
same period. This graph assumes the investment of $100 on June 19, 2013 in our common stock, the Nasdaq Biotechnology Index and the Nasdaq
Composite Index and assumes the reinvestment of dividends, if any. The graph assumes our closing sales price on June 19, 2013 of $26.91 per share as
the initial value of our common stock and not the initial offering price to the public of $17.00 per share.

   The comparisons shown in the graph below are based upon historical data. We caution that the stock price performance shown in the graph below is
not necessarily indicative of, nor is it intended to forecast, the potential future performance of our common stock.




Holders
   As of February 15, 2019, there were approximately 8 holders of record of our common stock. The actual number of stockholders is greater than this
number of record holders, and includes stockholders who are beneficial owners, but whose shares are held in street name by brokers and other nominees.
This number of holders of record also does not include stockholders whose shares may be held in trust by other entities.

                                                                           74
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 127 of 426 PageID #: 3100


Dividends
      We have not paid any cash dividends on our common stock since inception and do not anticipate paying cash dividends in the foreseeable future.


Securities Authorized for Issuance Under Equity Compensation Plans
   Information about our equity compensation plans is incorporated herein by reference to Item 12 of Part III of this Annual Report on Form 10-K.
Item 6. Selected Financial Data
   The following selected consolidated financial data should be read in conjunction with “Management’s Discussion and Analysis of Financial
Condition and Results of Operations”, the consolidated financial statements and related notes, and other financial information included in this Annual
Report on Form 10-K.

    We derived the consolidated financial data for the years ended December 31, 2018, 2017 and 2016 and as of December 31, 2018 and 2017 from our
audited consolidated financial statements, which are included elsewhere in this Annual Report on Form 10-K. We derived the consolidated financial data
for the years ended December 31, 2015 and 2014 and as of December 31, 2016, 2015 and 2014 from our audited consolidated financial statements that are
not included elsewhere in this Annual Report on Form 10-K. Historical results are not necessarily indicative of the results to be expected in future
periods.
                                                                                                        Year ended December 31,
                                                                                    2018 (1)       2017           2016           2015           2014
                                                                                                (in thousands, except per share amounts)
Consolidated statements of operations data:
Revenue:
    Collaboration revenue                                                       $      52,353   $   22,207    $     6,155    $    14,079    $    25,031
    License and royalty revenue                                                         2,226       13,220              -              -            390
       Total revenues                                                                  54,579       35,427          6,155         14,079         25,421
Operating expenses:
    Research and development                                                       448,589      273,040      204,775      134,038                62,574
    General and administrative                                                     174,129       93,550       65,119       46,209                23,227
    Cost of license and royalty revenue                                                885        1,527            -            -                     -
    Change in fair value of contingent consideration                                 2,999         (525 )      4,091        2,869                   246
       Total operating expenses                                                    626,602      367,592      273,985      183,116                86,047
       Loss from operations                                                       (572,023 )   (332,165 )   (267,830 )   (169,037 )             (60,626 )
Interest income (expense), net                                                      14,624       (2,001 )      3,782        1,591                   290
Other income (expense), net                                                          1,961       (1,267 )        (71 )        723                  (170 )
Income tax benefit (expense)                                                          (187 )       (210 )        612          (60 )              11,797
       Net loss                                                                 $ (555,625 ) $ (335,643 ) $ (263,507 ) $ (166,783 ) $           (48,709 )
Net loss per share - basic and diluted                                          $      (10.68 ) $    (7.71 ) $       (7.07 ) $      (4.81 ) $       (1.83 )
Weighted-average number of common shares used in net loss
per share - basic and diluted                                                          52,032       43,535         37,284         34,669         26,546
(1)    Effective January 1, 2018, we adopted Accounting Standards Codification, Topic 606, Revenue from Contracts with Customers (“Topic 606”). For
       further information regarding the adoption of Topic 606 and the impact on our consolidated financial

                                                                           75
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 128 of 426 PageID #: 3101

    statements, refer to Note 2, “Summary of significant accounting policies and basis of presentation”, to the accompanying consolidated financial
    statements appearing elsewhere in this Annual Report on Form 10-K.
                                                                                                           As of December 31,
                                                                                  2018          2017              2016              2015         2014
                                                                                                             (in thousands)
Consolidated balance sheet data:
Cash, cash equivalents and marketable securities                               $ 1,891,427   $ 1,614,302      $   884,830       $  865,763   $   492,003
Total assets                                                                     2,242,844     1,900,567        1,118,122        1,002,337       556,739
Total current liabilities                                                          146,431        95,612           74,533           40,368        42,978
Financing lease obligation, net of current portion                                 153,319       154,749          120,140           61,901             -
Other long-term obligations                                                         58,024        26,774           54,009           49,572        22,504
Total stockholders' equity                                                     $ 1,885,070   $ 1,623,432      $ 869,440         $ 850,496    $   491,257

                                                                          76
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 129 of 426 PageID #: 3102

Item 7. Management’s Discussion and Analysis of Financial Condition and Results of Operations
  The following information should be read in conjunction with the consolidated financial statements and related notes thereto included in this
Annual Report on Form 10-K.

   In addition to historical information, this report contains forward-looking statements that involve risks and uncertainties which may cause our
actual results to differ materially from plans and results discussed in forward-looking statements. We encourage you to review the risks and
uncertainties discussed in the sections entitled Item 1A. “Risk Factors” and “Forward-Looking Statements” included at the beginning of this Annual
Report on Form 10-K. The risks and uncertainties can cause actual results to differ significantly from those forecast in forward-looking statements or
implied in historical results and trends.

   We caution readers not to place undue reliance on any forward-looking statements made by us, which speak only as of the date they are made. We
disclaim any obligation, except as specifically required by law and the rules of the SEC, to publicly update or revise any such statements to reflect any
change in our expectations or in events, conditions or circumstances on which any such statements may be based, or that may affect the likelihood
that actual results will differ from those set forth in the forward-looking statements.


Overview
    We are a clinical-stage biotechnology company committed to developing potentially transformative gene therapies for severe genetic diseases and
cancer. With our lentiviral-based gene therapy and gene editing capabilities, we have built an integrated product platform with broad therapeutic
potential in a variety of indications. We believe that gene therapy for severe genetic diseases has the potential to change the way these patients are
treated by correcting the underlying genetic defect that is the cause of their disease, rather than offering treatments that only address their symptoms.
Our clinical programs in severe genetic diseases include our LentiGlobin® product candidate as a treatment for each of transfusion-dependent β-
thalassemia, or TDT, and severe sickle cell disease, or SCD, and our Lenti-D™ product candidate as a treatment for cerebral adrenoleukodystrophy, or
CALD, a rare hereditary neurological disorder. Our programs in oncology are built upon our leadership in lentiviral gene delivery and T cell engineering,
with a focus on developing novel T cell-based immunotherapies, including chimeric antigen receptor (CAR) and T cell receptor (TCR) T cell therapies.
bb2121 and bb21217, our product candidates in oncology, are CAR T cell product candidates for the treatment of multiple myeloma.

    In October 2018, we announced that the European Medicines Agency, or EMA, has accepted for review our marketing authorization application, or
MAA, of our LentiGlobin product candidate for the treatment of adult and adolescent patients with TDT and non-β0 /β0 genotypes. We expect to launch
LentiGlobin in Europe and begin to generate product revenues, if we receive conditional approval, in 2019. We plan to file a biologics license application,
or BLA, in the United States in 2019 for the use of LentiGlobin in the treatment of adult and adolescent patients with TDT and non-β0 /β0 genotypes. We
are also engaged with the U.S. Food and Drug Administration, or FDA, and the EMA in discussions regarding our proposed development plans for
LentiGlobin in SCD, with a potential first submission for regulatory approval in 2022.

   If our Lenti-D product candidate shows a sufficiently compelling treatment effect, and pending further discussion with regulatory authorities, the
results from our Starbeam study could potentially form the basis of a Biologics License Application, or BLA, and a Marketing Authorization Application,
or MAA, submission in the United States and European Union, respectively. We anticipate a potential first submission for regulatory approval of our
Lenti-D product candidate for the treatment of patients with CALD in 2019.

    In collaboration with Celgene Corporation, or Celgene, we are developing our bb2121 and bb21217 product candidates in multiple myeloma, a
hematologic malignancy that develops in the bone marrow and is fatal if untreated. We are co-developing and co-promoting the bb2121 product
candidate in the United States with Celgene and we have exclusively licensed to Celgene the development and commercialization rights for the bb2121
product candidate outside of the United States. We and Celgene anticipate the first potential approval of the bb2121 product candidate for the treatment
of relapsed and refractory multiple myeloma in 2020. We have exclusively licensed the development and commercialization rights for the bb21217 product
candidate to Celgene, with an option for us to elect to co-develop and co-promote bb21217 within the United States.

   As of December 31, 2018, we had cash, cash equivalents and marketable securities of approximately $1.9 billion. We expect that our existing cash,
cash equivalents and marketable securities will be sufficient to fund our current planned operations into 2022.

    Since our inception in 1992, we have devoted substantially all of our resources to our development efforts relating to our product candidates,
including activities to manufacture product candidates in compliance with good manufacturing practices, or GMP, to conduct clinical studies of our
product candidates, to provide general and administrative support for these operations and to protect our intellectual property. We do not have any
products approved for sale and have not generated any revenue from product sales. We have funded our operations primarily through the sale of
common stock in our public offerings, private placements of preferred stock and warrants and through collaborations.

                                                                            77
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 130 of 426 PageID #: 3103


   We have never been profitable and have incurred net losses in each year since inception. Our net losses were $555.6 million for the year ended
December 31, 2018 and our accumulated deficit was $1.5 billion as of December 31, 2018. Substantially all our net losses resulted from costs incurred in
connection with our research and development programs and from general and administrative costs associated with our operations. We expect to
continue to incur significant expenses and increasing operating losses for at least the next several years. We expect our expenses will increase
substantially in connection with our ongoing and planned activities, as we:
   •   conduct clinical studies for our LentiGlobin and Lenti-D product candidates, as well as to fund our share of the costs of clinical studies for the
       bb2121 and bb21217 product candidates partnered with Celgene;
   •   increase research and development-related activities for the discovery and development of oncology product candidates;
   •   continue our research and development efforts internally and through our collaborations with external partners, such as with Regeneron;
   •   manufacture clinical study materials and establish the infrastructure necessary to support and develop large-scale manufacturing capabilities;
   •   seek regulatory approval for our product candidates;
   •   add personnel to support our product development and commercialization efforts; and
   •   increase activities leading up to the potential commercial launch of our LentiGlobin and Lenti-D product candidates.

    We do not expect to generate any product revenues until the second half of 2019, assuming we receive marketing approval for LentiGlobin. While we
are in the process of building out our internal lentiviral vector manufacturing capacity, currently all of our manufacturing activities are contracted out to
third parties. Additionally, we currently utilize third-party contract research organizations, or CROs, to carry out our clinical development activities. As
we seek to obtain regulatory approval for any of our product candidates, we expect to incur significant commercialization expenses as we prepare for
product sales, marketing, manufacturing, and distribution. Accordingly, we will seek to fund our operations through public or private equity or debt
financings, strategic collaborations, or other sources. However, we may be unable to raise additional funds or enter into such other arrangements when
needed on favorable terms or at all. Our failure to raise capital or enter into such other arrangements as and when needed would have a negative impact
on our financial condition and our ability to develop our products.

   Because of the numerous risks and uncertainties associated with product development, we are unable to predict the timing or amount of increased
expenses or when or if we will be able to achieve or maintain profitability. Even if we are able to generate revenues from the sale of our products, we may
not become profitable. If we fail to become profitable or are unable to sustain profitability on a continuing basis, then we may be unable to continue our
operations at planned levels and be forced to reduce our operations.


Financial operations overview
Revenue
    To date, we have not generated any revenues from the sale of products. Our revenues have been derived from collaboration arrangements, out-
licensing arrangements, research fees, and grant revenues. Effective January 1, 2018, we adopted Accounting Standards Codification (“ASC”), Topic 606,
Revenue from Contracts with Customers (“Topic 606”), using the modified retrospective transition method.

     To date, our collaboration revenue has been primarily generated from our collaboration arrangement with Celgene Corporation (“Celgene”), which
was originally entered into in March 2013 and was subsequently amended in June 2015, as further described in Note 10, “Collaborative arrangements”.
The terms of the arrangement with respect to bb2121 contain multiple promised goods or services, which include: (i) research and development services,
(ii) a license to bb2121, and (iii) manufacture of vectors and associated payload for incorporation into bb2121 under the license. As of September 2017, the
Celgene collaboration also included the following promised goods or services with respect to bb21217: (i) research and development services, (ii) a
license to bb21217, and (iii) manufacture of vectors and associated payload for incorporation into bb21217 under the license. In March 2018, we entered
into an agreement with Celgene to co-develop and co-promote bb2121 in which both parties will share equally in U.S. costs and profits.

   In August 2018, we entered in a collaboration arrangement with Regeneron Pharmaceuticals, Inc (“Regeneron”). We began recognizing collaboration
revenue under this arrangement in the fourth quarter of 2018.

                                                                              78
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 131 of 426 PageID #: 3104


    Nonrefundable license fees are recognized as revenue upon delivery of the license provided there are no unsatisfied performance obligations in the
arrangement. License revenue has historically been generated from our out-license agreements with Novartis Pharma AG, or Novartis, and
GlaxoSmithKline Intellectual Property Development Limited, or GSK. The license agreement with GSK was assigned by GSK to Orchard Therapeutics
Limited, or Orchard, effective as of April 11, 2018. Under our out-licensing agreements we may also recognize revenue from potential future milestone
payments and royalties.

    Please refer to Note 2, “Summary of significant accounting policies and basis of presentation” in the Notes to Consolidated Financial Statements,
for further information for further discussion of our accounting policies.


Research and development expenses
   Research and development expenses consist primarily of costs incurred for the development of our product candidates, which include:
   •   employee-related expenses, including salaries, benefits, travel and stock-based compensation expense;
   •   expenses incurred under agreements with CROs and clinical sites that conduct our clinical studies;
   •   costs of acquiring, developing, and manufacturing clinical study materials;
   •   reimbursable costs to our partners for collaborative activities;
   •   facilities, depreciation, and other expenses, which include direct and allocated expenses for rent and maintenance of facilities, information
       technology, insurance, and other supplies in support of research and development activities;
   •   costs associated with our research platform and preclinical activities;
   •   milestones and upfront license payments;
   •   costs associated with our regulatory, quality assurance and quality control operations; and
   •   amortization of intangible assets.

    Research and development costs are expensed as incurred. Costs for certain development activities are recognized based on an evaluation of the
progress to completion of specific tasks using information and data provided to us by our vendors and our clinical sites. The duration, costs, and timing
of clinical studies and development of our product candidates will depend on a variety of factors, any of which could mean a significant change in the
costs and timing associated with the development of our product candidates including:
   •   the scope, rate of progress, and expense of our ongoing as well as any additional clinical studies and other research and development activities we
       undertake;
   •   future clinical study results;
   •   uncertainties in clinical study enrollment rates;
   •   changing standards for regulatory approval; and
   •   the timing and receipt of any regulatory approvals.

   We plan to increase our research and development expenses for the foreseeable future as we continue to advance the development of our Lenti-D,
LentiGlobin, bb2121, and bb21217 product candidates, conduct research and development activities in oncology, including under our strategic
collaborations with Celgene and Regeneron, and continue the research and development of product candidates using our gene editing technology
platform. Our research and development expenses include expenses associated with the following activities:
   •   Northstar-2 Study (HGB-207) - a multi-site, international phase 3 study to examine the safety and efficacy of our LentiGlobin product candidate in
       the treatment of patients with TDT and a non-β0 /β0 genotype.
   •   Northstar-3 Study (HGB-212) - a multi-site, international phase 3 study to examine the safety and efficacy of our LentiGlobin product candidate in the
       treatment of patients with TDT and a β 0 /β0 genotype or an IVS-I-110 mutation.
   •   HGB-205 study - a single-center phase 1/2 study in France to study the safety and efficacy of our LentiGlobin product candidate in the treatment
       of subjects with TDT and of patients with SCD.

                                                                              79
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 132 of 426 PageID #: 3105


   •   HGB-206 study - a multi-site phase 1/2 study in the United States to study the safety and efficacy of our LentiGlobin product candidate in the
       treatment of patients with SCD.
   •   Our planned HGB-210 study - our planned multi-site, international phase 3 study of patients with SCD and a history of vaso-occlusive events. We
       plan to initiate this study in 2019.
   •   Starbeam Study (ALD-102) - a multi-site, international phase 2/3 study to examine the safety and efficacy of our Lenti-D product candidate in the
       treatment of patients with CALD.
   •   Our planned ALD-104 study - our planned multi-site phase 3 study to examine the safety and efficacy of our Lenti-D product candidate in the
       treatment of patients with CALD.
   •   CRB-401 study - an open label, single-arm, multi-center, phase 1 study to examine the safety and efficacy of the bb2121 product candidate in the
       treatment of patients with relapsed and refractory multiple myeloma.
   •   CRB-402 study - an open label, single-arm, multicenter, phase 1 study to examine the safety and efficacy of the bb21217 product candidate in the
       treatment of patients with relapsed and refractory multiple myeloma.
   •   Additional planned clinical studies for the development of bb2121, including: KarMMa-2 (MM-002), the planned multi-cohort, open-label,
       multicenter phase 2 study to examine the safety and efficacy of the bb2121 product candidate in the treatment of patients with relapsed and
       refractory multiple myeloma and in high-risk multiple myeloma; KarMMa-3 (MM-003), the planned multicenter, randomized, open-label phase 3
       study comparing the efficacy and safety of the bb2121 product candidate versus standard triplet regimens in patients with relapsed and refractory
       multiple myeloma; and a planned multi-center phase 2 study to examine the safety and efficacy of the bb2121 product candidate in the treatment of
       patients with newly-diagnosed multiple myeloma.
   •   We will continue to manufacture clinical study materials in support of our clinical studies.

    From inception through December 31, 2018, we have incurred $1.2 billion in research and development expenses. Our direct research and development
expenses consist principally of external costs, such as fees paid to investigators, consultants, central laboratories and CROs in connection with our
clinical studies, license and milestone fees, and costs related to acquiring and manufacturing clinical study materials. We allocate salary and benefit costs
directly related to specific programs. We do not allocate personnel-related discretionary bonus or stock-based compensation costs, costs associated
with our general discovery platform improvements, depreciation or other indirect costs that are deployed across multiple projects under development
and, as such, the costs are separately classified as other research and development expenses in the table below:
                                                                                                      Year ended December 31,
                                                                                               2018              2017              2016
                                                                                                            (in thousands)
                LentiGlobin                                                               $      125,058   $        85,710    $       67,154
                Lenti-D                                                                           38,244            16,223            18,612
                bb2121                                                                            75,667            32,144            12,690
                bb21217                                                                           15,624             7,402                 -
                Pre-clinical programs                                                             50,115            40,167            32,771
                   Total direct research and development expense                                 304,708           181,646           131,227
                Employee- and contractor-related expenses                                         35,697            23,698            17,047
                Stock-based compensation expense                                                  54,422            26,633            19,690
                Platform-related expenses                                                         18,187            15,414            15,359
                Facility expenses                                                                 32,158            24,700            20,301
                Other expenses                                                                     3,417               949             1,151
                   Total other research and development expenses                                 143,881            91,394            73,548
                Total research and development expense                                    $      448,589   $       273,040    $      204,775
   The costs associated with our bb21217 program were included in pre-clinical programs in the table shown above through June 30, 2017. The costs
associated with our bb21217 program are presented separately in the table above beginning in the third quarter of 2017 as we initiated the first clinical
study for bb21217 in the third quarter of 2017.

                                                                             80
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 133 of 426 PageID #: 3106


General and administrative expenses
    General and administrative expenses consist primarily of salaries and related costs for personnel, including stock-based compensation and travel
expenses for our employees in executive, operational, finance, legal, business development, commercial, information technology, and human resource
functions. Other general and administrative expenses include facility-related costs, professional fees for accounting, tax, legal and consulting services,
directors’ fees and expenses associated with obtaining and maintaining patents.

    We anticipate that our general and administrative expenses will increase in the future as we increase our headcount to support our continued research
and development and the potential commercialization of our product candidates on a global basis. Additionally, we anticipate an increase in payroll and
related expenses as a result of our preparation for commercial operations, especially as it relates to the sales and marketing of our product candidates.


Cost of license and royalty revenue
   Cost of license and royalty revenue represents expense associated with amounts owed to third party licensors as a result of revenue recognized
under our out-license arrangements with Novartis and Orchard.

   We anticipate that our cost of license and royalty revenue will increase in the future contingent upon the achievement of regulatory milestones by
Novartis or Orchard. Additionally, we anticipate that our cost of license and royalty revenue will increase in the future as we expect to continue to
recognize royalty revenue related to Novartis’ commercial sale of Kymriah.


Change in fair value of contingent consideration
   On June 30, 2014, we acquired Precision Genome Engineering, Inc., or Pregenen. The agreement provided for up to $135.0 million in future contingent
cash payments by us upon the achievement of certain preclinical, clinical and commercial milestones related to the Pregenen technology.

   As of December 31, 2018, there are $120.0 million in future contingent cash payments, of which $20.1 million relates to clinical milestones and $99.9
million relates to commercial milestones. We estimate future contingent cash payments have a fair value of $5.2 million as of December 31, 2018, all of
which is classified as a non-current liability on our consolidated balance sheet.


Interest income (expense), net
   Interest income (expense), net consists primarily of interest income earned on investments and interest expense on the financing obligation for our
headquarters at 60 Binney Street in Cambridge, Massachusetts.


Other income (expense), net
   Other income (expense), net consists primarily of unrealized gains on equity securities, gains and losses on the disposal of fixed assets, realized gains
and losses on debt securities, and gains and losses on foreign currency transactions.


Critical accounting policies and significant judgments and estimates
    Our management’s discussion and analysis of our financial condition and results of operations are based on our financial statements, which have
been prepared in accordance with generally accepted accounting principles in the U.S. The preparation of these financial statements requires us to make
estimates and judgments that affect the reported amounts of assets, liabilities, and expenses and the disclosure of contingent assets and liabilities in our
financial statements. On an ongoing basis, we evaluate our estimates and judgments, including expected business and operational changes, sensitivity
and volatility associated with the assumptions used in developing estimates, and whether historical trends are expected to be representative of future
trends. We base our estimates on historical experience, known trends and events and various other factors that are believed to be reasonable under the
circumstances, the results of which form the basis for making judgments about the carrying values of assets and liabilities that are not readily apparent
from other sources. Actual results may differ from these estimates under different assumptions or conditions. In making estimates and judgments,
management employs critical accounting policies.

   While our significant accounting policies are described in more detail in the notes to our financial statements appearing elsewhere in this annual
report, we believe the following accounting policies to be most critical to the judgments and estimates used in the preparation of our financial statements.

                                                                             81
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 134 of 426 PageID #: 3107


Revenue recognition
   Revenue recognition
   Effective January 1, 2018, we adopted Accounting Standards Codification (“ASC”), Topic 606, Revenue from Contracts with Customers (“Topic 606”),
using the modified retrospective transition method. Under this method, we have recognized the cumulative effect of the adoption as an adjustment to the
opening balance of accumulated deficit in the current period consolidated balance sheet. We have not revised our consolidated financial statements for
prior periods. This standard applies to all contracts with customers, except for contracts that are within the scope of other standards, such as
collaboration arrangements and leases.

    Under Topic 606, an entity recognizes revenue when its customer obtains control of promised goods or services, in an amount that reflects the
consideration that the entity expects to receive in exchange for those goods or services. To determine revenue recognition for arrangements that an
entity determines are within the scope of Topic 606, the entity performs the following five steps: (i) identify the contract(s) with a customer; (ii) identify
the performance obligations in the contract; (iii) determine the transaction price, including variable consideration, if any; (iv) allocate the transaction price
to the performance obligations in the contract; and (v) recognize revenue when (or as) the entity satisfies a performance obligation. We only apply the
five-step model to contracts when it is probable that the entity will collect the consideration to which it is entitled in exchange for the goods or services it
transfers to the customer.

    Once a contract is determined to be within the scope of Topic 606, we assess the goods or services promised within each contract and determine
those that are performance obligations. Arrangements that include rights to additional goods or services that are exercisable at a customer’s discretion
are generally considered options. We assess if these options provide a material right to the customer and if so, they are considered performance
obligations. The identification of material rights requires judgments related to the determination of the value of the underlying license relative to the
option exercise price, including assumptions about technical feasibility and the probability of developing a candidate that would be subject to the option
rights. The exercise of a material right is accounted for as a contract modification for accounting purposes.

    We assess whether each promised good or service is distinct for the purpose of identifying the performance obligations in the contract. This
assessment involves subjective determinations and requires management to make judgments about the individual promised goods or services and
whether such are separable from the other aspects of the contractual relationship. Promised goods and services are considered distinct provided that: (i)
the customer can benefit from the good or service either on its own or together with other resources that are readily available to the customer (that is, the
good or service is capable of being distinct) and (ii) the entity’s promise to transfer the good or service to the customer is separately identifiable from
other promises in the contract (that is, the promise to transfer the good or service is distinct within the context of the contract). In assessing whether a
promised good or service is distinct, we consider factors such as the research, manufacturing and commercialization capabilities of the collaboration
partner and the availability of the associated expertise in the general marketplace. We also consider the intended benefit of the contract in assessing
whether a promised good or service is separately identifiable from other promises in the contract. If a promised good or service is not distinct, an entity is
required to combine that good or service with other promised goods or services until it identifies a bundle of goods or services that is distinct.

   The transaction price is then determined and allocated to the identified performance obligations in proportion to their standalone selling prices
(“SSP”) on a relative SSP basis. SSP is determined at contract inception and is not updated to reflect changes between contract inception and when the
performance obligations are satisfied. Determining the SSP for performance obligations requires significant judgment. In developing the SSP for a
performance obligation, we consider applicable market conditions and relevant entity-specific factors, including factors that were contemplated in
negotiating the agreement with the customer and estimated costs. We validate the SSP for performance obligations by evaluating whether changes in the
key assumptions used to determine the SSP will have a significant effect on the allocation of arrangement consideration between multiple performance
obligations.

    If the consideration promised in a contract includes a variable amount, we estimate the amount of consideration to which we will be entitled in
exchange for transferring the promised goods or services to a customer. We determine the amount of variable consideration by using the expected value
method or the most likely amount method. We include the unconstrained amount of estimated variable consideration in the transaction price. The amount
included in the transaction price is constrained to the amount for which it is probable that a significant reversal of cumulative revenue recognized will not
occur. At the end of each subsequent reporting period, we re-evaluate the estimated variable consideration included in the transaction price and any
related constraint, and if necessary, adjust our estimate of the overall transaction price. Any such adjustments are recorded on a cumulative catch-up
basis in the period of adjustment.

    If an arrangement includes development and regulatory milestone payments, we evaluate whether the milestones are considered probable of being
reached and estimate the amount to be included in the transaction price using the most likely amount method. If it is probable that a significant revenue
reversal would not occur, the associated milestone value is included in the transaction price. Milestone payments that are not within our control or the
licensee’s control, such as regulatory approvals, are generally not considered probable of being achieved until those approvals are received.

                                                                               82
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 135 of 426 PageID #: 3108

    For arrangements with licenses of intellectual property that include sales-based royalties, including milestone payments based on the level of sales,
and the license is deemed to be the predominant item to which the royalties relate, we recognize royalty revenue and sales-based milestones at the later
of (i) when the related sales occur, or (ii) when the performance obligation to which the royalty has been allocated has been satisfied.

   In determining the transaction price, we adjust consideration for the effects of the time value of money if the timing of payments provides us with a
significant benefit of financing. We do not assess whether a contract has a significant financing component if the expectation at contract inception is
such that the period between payment by the licensees and the transfer of the promised goods or services to the licensees will be one year or less. We
assessed each of our revenue generating arrangements in order to determine whether a significant financing component exists and concluded that a
significant financing component does not exist in any of our arrangements.

   We then recognize as revenue the amount of the transaction price that is allocated to the respective performance obligation when (or as) each
performance obligation is satisfied, either at a point in time or over time, and if over time recognition is based on the use of an output or input method.


   Collaboration revenue
    To date, collaboration revenue has been primarily generated from our collaboration arrangement with Celgene, which was originally entered into in
March 2013 and was subsequently amended in June 2015, as further described in Note 10, “Collaborative arrangements”. In August 2018, we entered
into a collaboration arrangement with Regeneron, and began recognizing collaboration revenue under this arrangement in the fourth quarter of 2018.

    We analyze our collaboration arrangements to assess whether they are within the scope of ASC 808, Collaborative Arrangements (“ASC 808”) to
determine whether such arrangements involve joint operating activities performed by parties that are both active participants in the activities and
exposed to significant risks and rewards dependent on the commercial success of such activities. This assessment is performed throughout the life of the
arrangement based on changes in the responsibilities of all parties in the arrangement. For collaboration arrangements within the scope of ASC 808 that
contain multiple elements, we first determine which elements of the collaboration are deemed to be within the scope of ASC 808 and those that are more
reflective of a vendor-customer relationship and therefore within the scope of Topic 606. For elements of collaboration arrangements that are accounted
for pursuant to ASC 808, an appropriate recognition method is determined and applied consistently, generally by analogy to Topic 606. Amounts that are
owed to collaboration partners are recognized as an offset to collaboration revenues as such amounts are incurred by the collaboration partner. Where
amounts owed to a collaboration partner exceed our collaboration revenues in each quarterly period, such amounts are classified as research and
development expense. For those elements of the arrangement that are accounted for pursuant to Topic 606, we apply the five-step model described
above.


   Impact of Topic 606 adoption
   As a result of adopting Topic 606, we recorded a $29.4 million adjustment to the opening balance of accumulated deficit in the first quarter of 2018
primarily as a result of the accounting for the up-front consideration received in March 2013 in connection with the collaboration arrangement with
Celgene under ASC 605-25 versus Topic 606. Refer below for a summary of the amount by which each financial statement line item was affected by the
impact of the cumulative adjustment:
                                                                                            Impact of Topic 606 adoption on
                                                                                              consolidated balance sheet
                                                                                                 as of January 1, 2018
                                                                                                                         Balances without
                                                                             As reported under                              adoption of
                (in thousands)                                                   Topic 606            Adjustments            Topic 606
                Deferred revenue, current portion                            $           45,344     $           19,670     $           25,674
                Deferred revenue, net of current portion                     $           31,468     $            9,705     $           21,763
                Accumulated deficit                                          $         (943,183 )   $          (29,375 )   $         (913,808 )

                                                                              83
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 136 of 426 PageID #: 3109

   The amount by which each financial statement line item is affected in the current reporting period by Topic 606 as compared with the guidance that
was in effect prior to adoption is disclosed below.
                                                                                            Impact of Topic 606 adoption on
                                                                                              consolidated balance sheet
                                                                                               as of December 31, 2018
                                                                                                                         Balances without
                                                                             As reported under                              adoption of
                (in thousands)                                                   Topic 606           Adjustments             Topic 606
                Deferred revenue, current portion                            $           18,602       $        7,772     $          10,830
                Deferred revenue, net of current portion                     $           16,338       $        3,094     $          13,244
                Accumulated deficit                                          $       (1,498,808 )     $      (10,866 )   $      (1,487,942 )
                                                                                      Impact of Topic 606 adoption on consolidated
                                                                                    statement of operations and comprehensive loss
                                                                                    for the twelve months ended December 31, 2018
                                                                                                                         Balances without
                                                                             As reported under                               adoption of
                (in thousands, except per share data)                            Topic 606            Adjustments             Topic 606
                Collaboration revenue                                        $           52,353       $       13,917     $          38,436
                Research and development expense                             $          448,589       $       (4,592 )   $         453,181
                Net loss                                                     $         (555,625 )     $       18,509     $        (574,134 )
                Net loss per share - basic and diluted:                      $           (10.68 )     $         0.35     $           (11.03 )
                                                                                             Impact of Topic 606 adoption on
                                                                                          consolidated statement of cash flows
                                                                                    for the twelve months ended December 31, 2018
                                                                                                                          Balances without
                                                                             As reported under                               adoption of
                (in thousands)                                                   Topic 606            Adjustments             Topic 606
                Net loss                                                     $         (555,625 )     $       18,509     $        (574,134 )
                Changes in deferred revenue                                  $          (41,872 )     $      (18,509 )   $         (23,363 )
Financing lease obligation

    Beginning in 2015 through construction completion in 2017, we recorded certain estimated construction costs incurred and reported to us by the
landlord for our corporate headquarters building, located at 60 Binney Street in Cambridge, Massachusetts, as an asset and corresponding construction
financing lease obligation on our consolidated balance sheets because we were deemed to be the owner of the building during the construction period
for accounting purposes. During construction, we periodically met with the landlord and its construction manager to review these estimates and observe
construction progress before recording such amounts. Upon completion of the construction of the building in the first quarter of 2017, we evaluated the
lease and determined that it did not meet the criteria for “sale-leaseback” treatment. Accordingly, we are depreciating the building over 40 years and
incurring interest expense in our consolidated statement of operations and comprehensive loss related to the financing lease obligation recorded on our
consolidated balance sheet. Any costs incurred by us that have been reimbursed by the landlord or that qualify for reimbursement by the landlord are
recorded as an asset and financing lease obligation. Any incremental costs incurred directly by us that do not qualify for reimbursement by the landlord
are also capitalized. We began occupying our corporate headquarters building on March 27, 2017.


Accrued research and development expenses
    As part of the process of preparing our financial statements, we are required to estimate our accrued expenses. This process involves reviewing open
contracts and purchase orders, communicating with our personnel to identify services that have been performed on our behalf and estimating the level of
service performed and the associated cost incurred for the service when we have not yet been invoiced or otherwise notified of the actual cost. The
majority of our service providers invoice us monthly in arrears for services performed or when contractual milestones are met. We make estimates of our
accrued expenses as of each balance sheet date in our financial statements based on facts and circumstances known to us at that time. Examples of
estimated accrued research and development expenses include fees paid to:
   •   CROs in connection with clinical studies;
   •   investigative sites in connection with clinical studies;
   •   vendors in connection with preclinical development activities; and
   •   vendors related to development, manufacturing, and distribution of clinical trial materials.

                                                                             84
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 137 of 426 PageID #: 3110


   We base our expenses related to clinical studies on our estimates of the services received and efforts expended pursuant to contracts with multiple
CROs that conduct and manage clinical studies on our behalf. The financial terms of these agreements are subject to negotiation, vary from contract to
contract and may result in uneven payment flows. There may be instances in which payments made to our vendors will exceed the level of services
provided and result in a prepayment of the clinical expense. Payments under some of these contracts depend on factors such as the successful
enrollment of subjects and the completion of clinical study milestones. In accruing service fees, we estimate the time period over which services will be
performed and the level of effort to be expended in each period and adjust accordingly.


Stock-based compensation
    We issue stock-based awards to employees and non-employees, generally in the form of stock options and restricted stock units. We account for our
stock-based awards in accordance with FASB ASC Topic 718, Compensation-Stock Compensation, or ASC 718. ASC 718 requires all stock-based
payments to employees, including grants of employee stock options and modifications to existing stock options, to be recognized in the consolidated
statements of operations and comprehensive loss based on their fair values. Prior to the adoption of Accounting Standards Update (“ASU”) No. 2018-07,
Compensation - Stock Compensation (Topic 718): Improvements to Nonemployee Share-Based Payment Accounting (“ASU 2018-07”), the
measurement date for non-employee awards was generally the date the services are completed, resulting in financial reporting period adjustments to
stock-based compensation during the vesting terms for changes in the fair value of the awards. After the adoption of ASU 2018-07, the measurement
date for non-employee awards is the date of grant without changes in the fair value of the award. Stock-based compensation costs for non-employees are
recognized as expense over the vesting period on a straight-line basis.

    Our stock-based awards are subject to either service or performance-based vesting conditions. Compensation expense related to awards to
employees, non-employees, and directors, with service-based vesting conditions is recognized on a straight-line basis based on the grant date fair value
over the associated service period of the award, which is generally the vesting term. Compensation expense related to awards to employees and non-
employees with performance-based vesting conditions is recognized based on the grant date fair value over the requisite service period using the
accelerated attribution method to the extent achievement of the performance condition is probable. We estimate the probability that certain performance
criteria will be met and do not recognize compensation expense until it is probable that the performance-based vesting condition will be achieved.

    We estimate the fair value of our stock-based awards to employees, non-employees, and directors, using the Black-Scholes option pricing model,
which requires the input of subjective assumptions, including (i) the expected volatility of our stock, (ii) the expected term of the award, (iii) the risk-free
interest rate, and (iv) expected dividends. Due to the lack of company specific historical and implied volatility data, we based our estimate of expected
volatility on the estimate and expected volatilities of a representative group of publicly traded companies. For these analyses, we select companies with
comparable characteristics to ours including enterprise value, risk profiles, position within the industry, and with historical share price information
sufficient to meet the expected life of the stock-based awards. We compute the historical volatility data using the daily closing prices for the selected
companies’ shares during the equivalent period of the calculated expected term of our stock-based awards. We will continue to apply this process until a
sufficient amount of historical information regarding the volatility of our own stock price becomes available. We estimate the expected life of our
employee stock options using the “simplified” method, whereby, the expected life equals the average of the vesting term and the original contractual term
of the option. The risk-free interest rates for periods within the expected life of the option were based on the U.S. Treasury yield curve in effect during the
period the options were granted.


Recent accounting pronouncements
   See Note 2 to our consolidated financial statements included in Part II, Item 8, “Financial Statements and Supplementary Data,” of this Annual Report
on Form 10-K for a description of recent accounting pronouncements applicable to our business.

                                                                              85
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 138 of 426 PageID #: 3111


Results of Operations
Comparison of the years ended December 31, 2018 and 2017:
                                                                                             Year ended December 31,
                                                                                              2018              2017             Change
                                                                                                           (in thousands)
                Revenue:
                    Collaboration revenue                                                $        52,353     $      22,207   $       30,146
                    License and royalty revenue                                                    2,226            13,220          (10,994 )
                       Total revenues                                                             54,579            35,427           19,152
                Operating expenses:
                    Research and development                                                      448,589          273,040         175,549
                    General and administrative                                                    174,129           93,550          80,579
                    Cost of license and royalty revenue                                               885            1,527            (642 )
                    Change in fair value of contingent consideration                                2,999             (525 )         3,524
                       Total operating expenses                                                   626,602          367,592         259,010
                       Loss from operations                                                      (572,023 )       (332,165 )       239,858
                Interest income (expense), net                                                     14,624           (2,001 )       (16,625 )
                Other income (expense), net                                                         1,961           (1,267 )        (3,228 )
                       Loss before income taxes                                                  (555,438 )       (335,433 )       220,005
                Income tax expense                                                                   (187 )           (210 )           (23 )
                       Net loss                                                          $       (555,625 ) $     (335,643 ) $     219,982
    Revenue. Total revenue was $54.6 million for the year ended December 31, 2018, compared to $35.4 million for the year ended December 31, 2017. The
increase of $19.2 million was primarily attributable to collaboration revenue recognized associated with the bb2121 license and manufacturing services
under our agreement with Celgene, of which $13.9 million is attributable to differences resulting from the application of Topic 606 and ASC 605 to our
arrangement with Celgene during the year ended December 31, 2018 and 2017, respectively, offset by a decrease in license and royalty revenue.

   Research and development expenses. Research and development expenses were $448.6 million for the year ended December 31, 2018, compared to
$273.0 million for the year ended December 31, 2017. The increase of $175.5 million was primarily attributable to the following:
   •   $84.5 million of increased costs incurred for material production, laboratory expenses, and collaboration research;
   •   $61.1 million of increased employee compensation, benefit, and other headcount related expenses, of which $27.8 million is stock based
       compensation expense, primarily due to an increase in headcount to support overall growth;
   •   $17.8 million of increased facility related costs and professional and consulting fees;
   •   $10.5 million of increased clinical trial-related costs to support the advancement of our clinical programs; and
   •   $1.3 million of increased license and milestone fees (exclusive of any costs recorded in cost of license and royalty revenue) and increased grants
       and scholarships.

   General and administrative expenses. General and administrative expenses were $174.1 million for the year ended December 31, 2018, compared to
$93.6 million for the year ended December 31, 2017. The increase of $80.6 million was primarily due to the following:
   •   $47.4 million of increased employee compensation and benefits, inclusive of $29.8 million of increased stock-based compensation expense;
   •   $10.1 million of increased commercial-related costs, primarily attributed to market research costs;
   •   $14.6 million due to increased consultant and professional services expenses;
   •   $5.7 million in other headcount related costs; and
   •   $4.3 million of increased office expenses.

   These increases were offset by decreased facility-related costs of $1.7 million.

                                                                              86
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 139 of 426 PageID #: 3112


   Cost of license and royalty revenue. Cost of license and royalty revenue was $0.9 million for the year ended December 31, 2018, compared to $1.5
million for the year ended December 31, 2017. The decrease is attributable to decreased license and royalty revenue in the same periods.

    Change in fair value of contingent consideration. The change in fair value of contingent consideration is driven by changes in assumptions related
to estimate milestone achievement dates or probabilities of achievement.

   Interest income (expense), net. The change in interest income (expense), net was primarily related to increased interest income earned on investments
due to the increase in investment in marketable securities, partially offset by interest expense on the 60 Binney financing obligation.

    Other income (expense), net. Other income, net was $2.0 million for the year ended December 31, 2018, compared to other expense, net of $1.3 million
for the year ended December 31, 2017. The change is primarily related to an unrealized gain recognized on equity securities as well as fluctuations in
foreign currency exchange rates.


Comparison of the years ended December 31, 2017 and 2016:
                                                                                              Year ended December 31,
                                                                                               2017              2016            Change
                                                                                                            (in thousands)
                 Revenue:
                     Collaboration revenue                                                $       22,207    $        6,155   $      16,052
                     License and royalty revenue                                                  13,220                 -          13,220
                        Total revenues                                                            35,427             6,155          29,272
                 Operating expenses:
                     Research and development                                                     273,040          204,775          68,265
                     General and administrative                                                    93,550           65,119          28,431
                     Cost of license and royalty revenue                                            1,527                -           1,527
                     Change in fair value of contingent consideration                                (525 )          4,091          (4,616 )
                        Total operating expenses                                                  367,592          273,985          93,607
                        Loss from operations                                                     (332,165 )       (267,830 )        64,335
                 Interest (expense) income, net                                                    (2,001 )          3,782           5,783
                 Other expense, net                                                                (1,267 )            (71 )         1,196
                        Loss before income taxes                                                 (335,433 )       (264,119 )        71,314
                 Income tax (expense) benefit                                                        (210 )            612             822
                        Net loss                                                          $      (335,643 ) $     (263,507 ) $      72,136
   Revenue. Total revenue was $35.4 million for the year ended December 31, 2017, compared to $6.2 million for the year ended December 31, 2016. The
increase of $29.3 million was primarily attributable to collaboration revenue recognized associated with the bb2121 license and manufacturing services
which commenced in the first quarter of 2017 and revenue recognized under our out-licensing arrangements with Novartis and GSK.

   Research and development expenses. Research and development expenses were $273.0 million for the year ended December 31, 2017, compared to
$204.8 million for the year ended December 31, 2016. The increase of $68.3 million was primarily attributable to the following:
   •   $22.1 million of employee compensation and benefits, inclusive of $6.9 million increased stock-based compensation expense, as well as $2.2 million
       in other headcount related costs primarily due to an increase in headcount to support overall growth;
   •   $17.7 million of manufacturing costs for our ongoing clinical and pre-clinical studies;
   •   $12.1 million of clinical trial-related costs to support the advancement of our clinical programs;
   •   $4.4 million of facility related costs;
   •   $3.5 million of license and milestone fees; and
   •   $3.0 million related to cost reimbursement to Celgene for costs incurred under our collaboration arrangement

                                                                              87
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 140 of 426 PageID #: 3113


   General and administrative expenses. General and administrative expenses were $93.6 million for the year ended December 31, 2017, compared to
$65.1 million for the year ended December 31, 2016. The increase of approximately $28.4 million was primarily due to an increase of $14.9 million in
employee compensation and benefits, inclusive of $6.6 million increased stock-based compensation expense, $2.3 million in other headcount related
costs, increased commercial-related costs of $8.6 million primarily attributed to market research costs, and increased facility-related costs of $2.1 million.

   Cost of license and royalty revenue. Cost of license and royalty revenue was $1.5 million for the year ended December 31, 2017. The increase
compared to the prior period is attributable to increased license and royalty revenue in the same periods.

    Change in fair value of contingent consideration. The change in fair value of contingent consideration is driven by changes in assumptions related
to estimated milestone achievement dates or probabilities of achievement.

   Interest (expense) income, net. The increase in interest (expense) income, net was primarily related to interest expense on the 60 Binney financing
obligation partially offset by interest income earned on investments.

   Other expense, net. Other expense, net was $1.3 million for the year ended December 31, 2017, compared to $0.1 million for the year ended December
31, 2016. The increase was primarily related to a loss on the disposal of assets.


Liquidity and Capital Resources
   As of December 31, 2018, we had cash, cash equivalents and marketable securities of approximately $1.9 billion. We expect cash, cash equivalents and
marketable securities to fund planned operations into 2022. Cash in excess of immediate requirements is invested in accordance with our investment
policy, primarily with a view to liquidity and capital preservation. As of December 31, 2018, our funds are primarily held in U.S. Treasury securities, U.S.
government agency securities, equity securities, certificates of deposit and money market accounts.

   We have incurred losses and cumulative negative cash flows from operations since our inception in April 1992, and as of December 31, 2018, we had
an accumulated deficit of $1.5 billion. We anticipate that we will continue to incur losses for at least the next several years. We expect that our research
and development and general and administrative expenses will continue to increase and, as a result, we will need additional capital to fund our
operations, which we may raise through public or private equity or debt financings, strategic collaborations, or other sources.

   We have funded our operations principally from the sale of common stock in public offerings as outlined below, preferred stock and through the
Celgene and Regeneron collaborations. Recent sources of equity financing include:
   • In June 2017, we sold 4.4 million shares of common stock (inclusive of 0.6 million shares of common stock sold by us pursuant to the full exercise
      of an overallotment option granted to the underwriters in connection with the offering) through an underwritten public offering at a price of
      $105.00 per share for aggregate net proceeds to us of $436.8 million.
   •   In December 2017, we sold 3.2 million shares of common stock (excluding any shares sold by us pursuant to an overallotment option granted to
       the underwriters in connection with the offering) through an underwritten public offering at a price of $185.00 per share for aggregate net proceeds
       to us of $569.8 million.
   •   In January 2018, we sold 0.3 million shares of common stock pursuant to the partial exercise of an overallotment option granted to the underwriters
       in connection with the December 2017 underwritten public offering at a price of $185.00 per share for aggregate net proceeds of $48.7 million.
   •   In July 2018, we sold 3.9 million shares of common stock through an underwritten public offering at a price of $162.50 per share for aggregate net
       proceeds to us of $600.6 million.
   •   In August 2018, we sold 0.4 million shares of common stock to Regeneron in connection with our collaboration arrangement at a price of $238.10
       per share for aggregate net proceeds to us of $100.0 million, of which $45.5 million was attributed to a prepayment of joint research activities. See
       Note 10, “Collaborative Arrangements” in the Notes to Consolidated Financial Statements for more information.

                                                                              88
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 141 of 426 PageID #: 3114


Sources of Liquidity
   Cash Flows
   The following table summarizes our cash flow activity:
                                                                                                        Year ended December 31,
                                                                                                2018               2017               2016
                                                                                                              (in thousands)
                Net cash used in operating activities                                      $     (413,426 )   $     (280,553 )   $     (189,647 )
                Net cash (used in) provided by investing activities                              (679,435 )         (316,630 )           67,110
                Net cash provided by financing activities                                         737,692          1,076,174            241,534
                   Net (decrease) increase in cash, cash equivalents, and restricted
                   cash                                                                    $     (355,169 )   $      478,991     $      118,997
    Operating Activities. The net cash used in operating activities was $413.4 million for the year ended December 31, 2018 and primarily consisted of a
net loss of $555.6 million adjusted for non-cash items including stock-based compensation of $110.8 million, depreciation and amortization of $17.2
million, offset by a net increase in operating assets and liabilities of $19.2 million. The increase in operating assets and liabilities is driven by an increase
in prepaid expenses and other assets of $24.3 million primarily driven by upfront payments to contract manufacturing organizations and collaboration
partners and a decrease in deferred revenue of $41.9 million, offset by an increase of $41.4 million in accounts payable, accrued expenses and other
liabilities and an increase of $44.0 million in collaboration research advancement.
    The net cash used in operating activities was $280.6 million for the year ended December 31, 2017 and primarily consisted of a net loss of $335.6
million adjusted for non-cash items including stock-based compensation of $53.3 million, depreciation and amortization of $13.5 million, offset by a net
increase in operating assets and liabilities of $12.7 million. The increase in operating assets and liabilities is driven by an increase in prepaid expenses and
other current assets of $20.1 million primarily driven by upfront payments to contract manufacturing organizations offset by an increase of $6.4 million in
accounts payable, accrued expenses and other liabilities and an increase of $1.0 million in deferred revenue.
    The net cash used in operating activities was $189.6 million for the year ended December 31, 2016 and primarily consisted of a net loss of $263.5
million adjusted for non-cash items including stock-based compensation of $39.8 million, depreciation and amortization of $9.6 million, offset by a net
increase in operating assets and liabilities of $19.0 million. The increase in operating assets and liabilities is driven by an increase in prepaid expenses and
other current assets of $14.3 million for upfront payments to contract manufacturing organizations offset by an increase of $28.7 million in accounts
payable, accrued expenses and other liabilities related to an increase in manufacturing and clinical-trial related costs for our ongoing clinical and pre-
clinical studies.

   Investing Activities. Net cash used in investing activities for the year ended December 31, 2018 was $679.4 million and was primarily due to the
purchase of $1,518.0 million of marketable securities and the purchase of $55.7 million of property, plant and equipment offset by proceeds from the
maturities of available-for-sale marketable securities of $894.3 million.

    Net cash used in investing activities for the year ended December 31, 2017 was $316.6 million and was primarily due to the purchase of $686.2 million
of available-for-sale marketable securities and the purchase of $62.2 million of property, plant and equipment offset by proceeds from the maturities of
available-for-sale marketable securities of $431.8 million.

   Net cash provided by investing activities for the year ended December 31, 2016 was $67.1 million and was primarily due to proceeds from the
maturities of available-for-sale marketable securities of $443.4 million offset by the purchase of $348.2 million of available-for-sale marketable securities.

   Financing Activities: Net cash provided by financing activities for the year ended December 31, 2018 was $737.7 million and was primarily due to net
cash proceeds from our January 2018 and July 2018 common stock offerings, as well as our issuance of common stock to Regeneron.

   Net cash provided by financing activities for the year ended December 31, 2017 was $1.1 billion and was primarily due to net cash proceeds from our
June 2017 and December 2017 common stock offerings.

   Net cash provided by financing activities for the year ended December 31, 2016 was $241.5 million and was primarily due to net cash proceeds from
our December 2016 common stock offering.

                                                                               89
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 142 of 426 PageID #: 3115


Contractual Obligations and Commitments
   The following table summarizes our contractual obligations at December 31, 2018, which excludes potential milestone payments.
                                                                                                          2020                2022                 2024
                                                                                                        through             through                and
                                                               Total                2019                  2021                2023                 after
                                                                                                     (in thousands)
 60 Binney Street lease                                  $        166,798    $         18,974   $        38,949     $       40,324      $        68,551
 Operating leases (1)                                             111,045              17,511            37,505             26,716               29,313
 Contract manufacturing                                           233,856              69,827            88,886             49,351               25,792
    Total contractual obligations                        $        511,699    $       106,312    $       165,340     $      116,391      $       123,656
(1) Includes the lease of our lab and office space in Seattle, Washington, office space in Zug, Switzerland and rental payments associated with two
     embedded operating leases at contract manufacturing organizations.
    We are subject to several in-licenses that include annual license maintenance fee payments and minimum royalties. The future obligations related to
maintenance fee payments and minimum royalties in license agreements are not considered material and are not included in the table above.


60 Binney Street Lease
    On September 21, 2015, we entered into a lease agreement for office and laboratory space located at 60 Binney Street, Cambridge, Massachusetts.
Under the terms of the lease, starting on October 1, 2016, we leased approximately 253,108 square feet at $72.50 per square foot per year, or $18.4 million
per year in base rent, which is subject to scheduled annual rent increases of 1.75% plus certain operating expenses and taxes. We also executed a $9.2
million letter of credit upon signing the lease, which was required to be collateralized with a bank account at a financial institution in accordance with the
lease agreement. This letter of credit was increased to $13.8 million during the third quarter of 2016 as required under the terms of the lease. Subject to the
terms of the lease and certain reduction requirements specified therein, including market capitalization requirements, this amount may decrease back to
$9.2 million over time. The lease will continue until March 31, 2027. Pursuant to a work letter entered into in connection with the lease, the landlord will
contribute an aggregate of $42.4 million toward the cost of construction and tenant improvements for the building. The purpose of the lease was to
replace our previously leased premises at 150 Second Street and 215 First Street in Cambridge, Massachusetts, both of which were fully exited during the
first half of 2017. We occupied the building at 60 Binney Street beginning on March 27, 2017.


Operating Leases
    On June 3, 2016, we entered into a manufacturing agreement for the future commercial production of our Lenti-D and LentiGlobin product candidates
with a contract manufacturing organization. Under this 12 year agreement, the contract manufacturing organization will complete the design,
construction, validation and process validation of the leased suites prior to anticipated commercial launch of the product candidates. During
construction, we were required to pay $12.5 million upon the achievement of certain contractual milestones, and may pay up to $8.0 million in additional
contractual milestones if we elect our option to lease additional suites. We paid $5.0 million for the achievement of the first and second contractual
milestones during 2016 and paid $5.5 million for the third and fourth contractual milestones achieved during 2017. In March 2018, $1.5 million of the
possible $2.0 million related to the fifth contractual milestone was achieved and was paid in the second quarter of 2018. Given that construction was
completed in March 2018, beginning in April 2018 we will pay $5.1 million per year in fixed suite fees as well as certain fixed labor, raw materials, testing
and shipping costs for manufacturing services, and may pay additional suite fees if it elects its option to reserve or lease additional suites. We may
terminate this agreement at any time upon payment of a one-time termination fee and up to 24 months of fixed suite and labor fees. We concluded that
this agreement contains an embedded lease as the suites are designated for our exclusive use during the term of the agreement. We concluded that we
are not the deemed owner during construction nor is it a capital lease under ASC 840-10, Leases - Overall. As a result, we account for the agreement as an
operating lease and expense the rental payments on a straight-line basis over the non-cancellable term of the embedded lease.

    On November 18, 2016, we entered into an agreement for future clinical and commercial production of our LentiGlobin and Lenti-D gene therapy drug
products with a contract manufacturing organization at an existing facility. The term of the agreement is five years with a three year renewal at the mutual
option of each party. Under the agreement, we are required to pay an up-front fee of €3.0 million, €2.0 million of which was paid in the fourth quarter of
2016 and €1.0 million of which was paid in the third quarter of 2018, and annual maintenance and production fees of up to €9.8 million, depending on our
production needs. We may terminate this agreement with twelve months’ notice and a one-time termination fee. We concluded that this agreement
contains an embedded lease as the clean rooms are designated for our exclusive use during the term of the agreement and determined that it is not a
capital lease under ASC 840-10, Leases - Overall. As a result, we account for the agreement as an operating lease and expense the rental payments on a
straight-line basis over the non-cancellable term of the embedded lease.

                                                                              90
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 143 of 426 PageID #: 3116


Contingent Consideration Related to Business Combinations

    In connection with the Pregenen acquisition, we agreed to make contingent cash payments to the former equity holders of Pregenen. In accordance
with accounting guidance for business combinations, these contingent cash payments are recorded as contingent consideration liabilities on our
consolidated balance sheets at fair value. During the second quarter of 2017, a $5.0 million preclinical milestone was achieved, which resulted in a $5.0
million payment to the former equityholders of Pregenen during the third quarter of 2017. The aggregate remaining undiscounted amount of contingent
consideration potentially payable is $120.0 million. We have not included these payments in the table above because the achievement and timing of these
milestones is not fixed and determinable. As of December 31, 2018, and 2017, $5.2 million and $2.2 million, respectively, is reflected as a non-current
liability in the consolidated balance sheet, which represents the fair value of our contingent consideration obligations as of this date.


Contingent Milestone and Royalty Payments
   We also have obligations to make future payments to third parties that become due and payable on the achievement of certain development,
regulatory and commercial milestones (such as the start of a clinical trial, filing of a BLA, approval by the FDA or product launch). We have not included
these commitments on our balance sheet or in the table above because the achievement and timing of these milestones is not fixed and determinable.

   Based on our development plans as of December 31, 2018, we may be obligated to make future development, regulatory and commercial milestone
payments and royalty payments on future sales of specified products associated with our collaboration and license agreements. Payments under these
agreements generally become due and payable upon achievement of such milestones or sales. Because the achievement of these milestones or sales had
not occurred as of December 31, 2018, such contingencies have not been recorded in our financial statements. Amounts related to contingent milestone
payments and sales-based royalties are not yet considered contractual obligations as they are contingent upon success.
   •   Under a license agreement with Inserm-Transfert pursuant to which we license certain patents and know-how for use in adrenoleukodystrophy
       therapy, we will be required to make payments based upon development, regulatory and commercial milestones for any products covered by the
       in-licensed intellectual property. The maximum aggregate payments we may be obligated to pay for each of these milestone categories per product
       is €0.3, €0.2 and €1.6 million, respectively. We will also be required to pay a royalty on net sales of products covered by the in-licensed intellectual
       property in the low single digits. The royalty is subject to reduction for any third-party payments required to be made, with a minimum floor in the
       low single digits.
   •   Under a license agreement with Institut Pasteur pursuant to which we license certain patents for use in ex vivo gene therapy, we will be required to
       make payments per product covered by the in-licensed intellectual property upon the achievement of development and regulatory milestones,
       depending on the indication and the method of treatment. The maximum aggregate payments we may be obligated to pay for each of these
       milestone categories per product is €1.5 and €2.0 million, respectively. We will also be required to pay a royalty on net sales of products covered
       by the in-licensed intellectual property in the low single digits, which varies slightly depending on the indication of the product. We have the right
       to sublicense our rights under this agreement, and we will be required to pay a percentage of such license income varying from the low single
       digits to mid-range double digits depending on the nature of the sublicense and stage of development. We are required to make an annual
       maintenance payment, which is creditable against royalty payments on a year-by-year basis. On April 1, 2015, we amended this license agreement
       with Institut Pasteur, which resulted in a payment of €3.0 million that was paid during the second quarter of 2015. During the year ended December
       31, 2018 we paid Institut Pasteur €0.4 million in connection with amounts owed to us by sublicensees.
   •   Under a license agreement with the Board of Trustees of the Leland Stanford Junior University, or Stanford, pursuant to which we license the
       HEK293T cell line for use in gene therapy products, we are required to pay a royalty on net sales of products covered by the in-licensed
       intellectual property in the low single digits that varies with net sales. The royalty is reduced for each third-party license that requires payments
       by us with respect to a licensed product, provided that the royalty to Stanford is not less than a specified percentage that is less than one percent.
       We have been paying Stanford an annual maintenance fee, which will be creditable against our royalty payments.
   •   Under a license agreement with the Massachusetts Institute of Technology, or MIT, pursuant to which we license various patents, we will be
       required to make a payment of $0.1 million based upon a regulatory filing milestone. We will also be required to pay a royalty on net sales of
       products covered by the in-licensed intellectual property by us or our sublicensees. The royalty is in the low single digits and is reduced for
       royalties payable to third parties, provided that the royalty to MIT is not less than a specified percentage that is less than one percent. We have
       the right to sublicense our rights under this agreement, and we will be required to pay a percentage of such license income varying from the mid-
       single digits to low double digits. We are required to pay MIT an annual maintenance fee based on net sales of licensed products, which is
       creditable against our royalty payments.

                                                                              91
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 144 of 426 PageID #: 3117


   •   Under a license agreement with Research Development Foundation pursuant to which we license patents that involve lentiviral vectors, we will be
       required to make payments of $1.0 million based upon a regulatory milestone for each product covered by the in-licensed intellectual property. We
       will also be required to pay a royalty on net sales of products covered by the in-licensed intellectual property in the low single digits, which is
       reduced by half if during the ten years following first marketing approval the last valid claim within the licensed patent that covers the licensed
       product expires or ends. During the year ended December 31, 2018 we paid Research Development Foundation $0.1 million in connection with
       amounts owed to us by sublicensees.
   •   Under a license agreement with Biogen Inc., pursuant to which we license certain patents and patent applications related to our bb2121 and
       bb21217 product candidates, we will be required to make certain payments related to certain development milestone obligations and must report on
       our progress in achieving these milestones on a periodic basis. We may be obligated to pay up to $23.0 million in the aggregate for each licensed
       product upon the achievement of remaining milestones. Upon commercialization of our products covered by the in-licensed intellectual property,
       we will be obligated to pay a percentage of net sales as a royalty in the low single digits. During the year ended December 31, 2018 we paid Biogen
       $5.0 million based upon a clinical development milestone for a product covered by the in-licensed intellectual property.
   •   Under a license agreement with the National Institutes of Health, or NIH, pursuant to which we license certain patent applications related to our
       bb2121 and bb21217 product candidates, we have agreed to certain development and regulatory milestone obligations and must report on our
       progress in achieving these milestones on a periodic basis. We may be obligated to pay up to $9.7 million in the aggregate for a licensed product
       upon the achievement of these milestones. Upon commercialization of our products covered by the in-licensed intellectual property, we will be
       obligated to pay NIH a percentage of net sales as a royalty in the low single digits. The royalties payable under this license agreement are subject
       to reduction for any third party payments required to be made, with a minimum floor in the low single digits.
   •   Under a license agreement with SIRION Biotech GmbH, or Sirion, pursuant to which we license certain patents directed to manufacturing related to
       our LentiGlobin product candidate, we will be required to make certain payments related to certain development milestone obligations and must
       report on our progress in achieving these milestones on a periodic basis. We may be obligated to pay up to $13.4 million in the aggregate for each
       product covered by the in-licensed intellectual property. Upon commercialization of our products covered by the in-licensed intellectual property,
       we will be obligated to pay Sirion a percentage of net sales as a royalty in the low single digits. The royalties payable under this license agreement
       are subject to reduction for any third party payments required to be made, with a minimum floor in the low single digits. During the year ended
       December 31, 2018 we paid Sirion $1.4 million based upon a development milestone for a product covered by the in-licensed intellectual property.


Other Funding Commitments
    We enter into contracts in the normal course of business with CROs for preclinical research studies and clinical trials, research supplies and other
services and products for operating purposes. We have also entered into multi-year agreements with manufacturing partners in the United States and
Europe (Brammer Bio, Novasep and SAFC Carlsbad, Inc., or SAFC, a subsidiary of MilliporeSigma), which are partnering with us on production of
lentiviral vector across all of our programs. In addition, we have entered into multi-year agreements with Lonza Houston, Inc. and apceth Biopharma, or
apceth, to produce drug product for Lenti-D, LentiGlobin and bb21217. Currently, SAFC is the sole manufacturer of the lentiviral vector and apceth is the
sole manufacturer of the drug product to support our potential commercial launch of LentiGlobin in Europe for the treatment of TDT. In our
manufacturing agreement with SAFC, we are required to provide rolling forecasts for products on a quarterly basis, a portion of which will be considered
a binding, firm order, subject to a purchase commitment. In our manufacturing agreement with apceth, we reserve production capacity for the manufacture
of our drug product. Celgene manufactures drug product for bb2121. We believe our team of technical personnel has extensive manufacturing, analytical
and quality experience as well as strong project management discipline to effectively oversee these contract manufacturing and testing activities, and to
compile manufacturing and quality information for our regulatory submissions and potential commercial launch. We are engaging in negotiations with
apheresis centers that will be the centers for collection of HSCs from the patient and for infusion of drug product to the patient. For the treatment of
patients with our drug product in the commercial setting, we intend to partner with participating apheresis centers, which we refer to as qualified
treatment centers. In anticipation of the potential regulatory approval of LentiGlobin in Europe, we expect to first engage qualified treatment centers in
Germany, Italy, and the United Kingdom in 2019. These contracts generally provide for termination on notice. Wherever contracts include stipulated
commitment payments, we have included such payments in the table of contractual obligations and commitments.


Off-Balance Sheet Arrangements
   As of December 31, 2018, we did not have any off-balance sheet arrangements as defined in the rules and regulations of the SEC.

                                                                             92
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 145 of 426 PageID #: 3118


Item 7A. Quantitative and Qualitative Disclosures About Market Risks
   We are exposed to market risk related to changes in interest rates. As of December 31, 2018 and 2017, we had cash, cash equivalents and marketable
securities of $1.9 billion and $1.6 billion, respectively, primarily invested in U.S. treasury securities, U.S. government agency securities, equity securities,
federally insured certificates of deposit and money market accounts. Our primary exposure to market risk is interest rate sensitivity, which is affected by
changes in the general level of U.S. interest rates, particularly because our investments are in short-term securities. Our available for sale securities are
subject to interest rate risk and will fall in value if market interest rates increase. If market interest rates were to increase immediately and uniformly by 100
basis points, or one percentage point, from levels at December 31, 2018, the net fair value of our interest-sensitive marketable securities would have
resulted in a hypothetical decline of $9.6 million.
Item 8. Financial Statements and Supplementary Data
    The financial statements required to be filed pursuant to this Item 8 are appended to this report. An index of those financial statements is found in
Item 15.
Item 9. Changes in and Disagreements with Accountants on Accounting and Financial Disclosure
   None.
Item 9A. Controls and Procedures
Evaluation of Disclosure Controls and Procedures
    Our management, with the participation of our principal executive officer and principal financial officer, has evaluated the effectiveness of our
disclosure controls and procedures (as defined in Rules 13a- 15(e) and 15d- 15(e) under the Securities Exchange Act of 1934, as amended (the “Exchange
Act”)), as of the end of the period covered by this Annual Report on Form 10-K. Based on such evaluation, our principal executive officer and principal
financial officer have concluded that as of such date, our disclosure controls and procedures were effective.


Management’s Annual Report on Internal Control Over Financial Reporting
   Our management is responsible for establishing and maintaining adequate internal control over financial reporting. Internal control over financial
reporting is defined in Rules 13a-15(f) and 15d-15(f) promulgated under the Exchange Act as a process designed by, or under the supervision of, our principal
executive and principal financial officers and effected by our board of directors, management and other personnel, to provide reasonable assurance
regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance with generally accepted
accounting principles and includes those policies and procedures that:
   •   Pertain to the maintenance of records that in reasonable detail accurately and fairly reflect the transactions and dispositions of our assets;
   •   Provide reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in accordance with
       generally accepted accounting principles, and that our receipts and expenditures are being made only in accordance with authorizations of our
       management and directors; and
   •   Provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use or disposition of our assets that could have a
       material effect on the financial statements. Under the supervision and with the participation of management, including our principal executive and
       financial officers, we assessed our internal control over financial reporting as of December 31, 2018, based on criteria for effective internal control over
       financial reporting established in Internal Control - Integrated Framework (2013), issued by the Committee of Sponsoring Organizations of the
       Treadway Commission (COSO). Our management’s assessment of the effectiveness of our internal control over financial reporting included testing
       and evaluating the design and operating effectiveness of our internal controls. In our management’s opinion, we have maintained effective internal
       control over financial reporting as of December 31, 2018, based on criteria established in the COSO 2013 framework.

   The effectiveness of our internal control over financial reporting as of December 31, 2018 has been audited by Ernst & Young LLP, an independent
registered public accounting firm, as stated in their report which is included herein.

                                                                                93
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 146 of 426 PageID #: 3119


Inherent Limitations of Internal Controls
    Our management, including our Chief Executive Officer and Chief Financial Officer, does not expect that our disclosure controls and procedures or our
internal controls will prevent all errors and all fraud. A control system, no matter how well conceived and operated, can provide only reasonable, not
absolute, assurance that the objectives of the control system are met. Because of the inherent limitations in all control systems, no evaluation of controls
can provide absolute assurance that all control issues and instances of fraud, if any, within our company have been detected. These inherent limitations
include the realities that judgments in decision-making can be faulty, and that breakdowns can occur because of a simple error or mistake. Additionally,
controls can be circumvented by the individual acts of some persons, by collusion of two or more people, or by management override of the control. The
design of any system of controls also is based in part upon certain assumptions about the likelihood of future events, and there can be no assurance that
any design will succeed in achieving its stated goals under all potential future conditions. Over time, controls may become inadequate because of
changes in conditions, or the degree of compliance with the policies or procedures may deteriorate. Projections of any evaluation of effectiveness to
future periods are subject to the risk that controls may become inadequate because of changes in conditions, or that the degree of compliance with the
policies or procedures may deteriorate. Because of the inherent limitations in a cost-effective control system, misstatements due to error or fraud may
occur and not be detected.


Changes in Internal Control over Financial Reporting
    We utilize a third-party cloud-based ERP system in our financial reporting. In the fourth quarter of 2018, the ERP service provider made changes to its
internal controls to address deficiencies related to its information technology change management controls.

                                                                             94
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 147 of 426 PageID #: 3120

                                                Report of Independent Registered Public Accounting Firm
To the Stockholders and the Board of Directors of bluebird bio, Inc.
Opinion on Internal Control over Financial Reporting
    We have audited bluebird bio, Inc.’s internal control over financial reporting as of December 31, 2018, based on criteria established in Internal Control-
Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission (2013 framework) (the COSO criteria). In our
opinion, bluebird bio, Inc. (the Company) maintained, in all material respects, effective internal control over financial reporting as of December 31, 2018,
based on the COSO criteria.
    We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB), the
consolidated balance sheets of the Company as of December 31, 2018 and 2017, the related consolidated statements of operations and comprehensive
loss, stockholders’ equity and cash flows for each of the three years in the period ended December 31, 2018, and the related notes and our report dated
February 21, 2019 expressed an unqualified opinion thereon.


Basis for Opinion
    The Company’s management is responsible for maintaining effective internal control over financial reporting and for its assessment of the
effectiveness of internal control over financial reporting included in the accompanying Management’s Annual Report on Internal Control Over Financial
Reporting. Our responsibility is to express an opinion on the Company’s internal control over financial reporting based on our audit. We are a public
accounting firm registered with the PCAOB and are required to be independent with respect to the Company in accordance with the U.S. federal
securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.
    We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to obtain
reasonable assurance about whether effective internal control over financial reporting was maintained in all material respects.
    Our audit included obtaining an understanding of internal control over financial reporting, assessing the risk that a material weakness exists, testing
and evaluating the design and operating effectiveness of internal control based on the assessed risk, and performing such other procedures as we
considered necessary in the circumstances. We believe that our audit provides a reasonable basis for our opinion.


Definition and Limitations of Internal Control Over Financial Reporting
    A company’s internal control over financial reporting is a process designed to provide reasonable assurance regarding the reliability of financial
reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting principles. A company’s
internal control over financial reporting includes those policies and procedures that (1) pertain to the maintenance of records that, in reasonable detail,
accurately and fairly reflect the transactions and dispositions of the assets of the company; (2) provide reasonable assurance that transactions are
recorded as necessary to permit preparation of financial statements in accordance with generally accepted accounting principles, and that receipts and
expenditures of the company are being made only in accordance with authorizations of management and directors of the company; and (3) provide
reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or disposition of the company’s assets that could have a
material effect on the financial statements.
    Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also, projections of any
evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of changes in conditions, or that the
degree of compliance with the policies or procedures may deteriorate.
/s/ Ernst & Young LLP
Boston, Massachusetts
February 21, 2019

                                                                             95
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 148 of 426 PageID #: 3121

Item 9B. Other Information
    Our policy governing transactions in our securities by our directors, officers, and employees permits our officers, directors and certain other persons
to enter into trading plans complying with Rule 10b5-1 under the Securities Exchange Act of 1934, as amended. We have been advised that certain of our
officers (including David Davidson (Chief Medical Officer), Philip Gregory (Chief Scientific Officer), Jason Cole (Chief Operating and Legal Officer),
Jeffrey Walsh (Chief Strategy Officer), Kory Wentworth (Vice President, Finance and Treasurer), and certain of our directors (including James Mandell)
have entered into trading plans covering periods after the date of this annual report on Form 10-K in accordance with Rule 10b5-1 and our policy
governing transactions in our securities. Generally, under these trading plans, the individual relinquishes control over the transactions once the trading
plan is put into place. Accordingly, sales under these plans may occur at any time, including possibly before, simultaneously with, or immediately after
significant events involving our company. We do not undertake to report Rule 10b5-1 trading plans that may be adopted by any officers or directors in
the future, or to report any modifications or termination of any publicly announced trading plan, except to the extent required by law.

                                                                            96
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 149 of 426 PageID #: 3122

                                                                       PART III
Item 10. Directors, Executive Officers and Corporate Governance
   Incorporated by reference from the information in our Proxy Statement for our 2019 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.
Item 11. Executive Compensation
   Incorporated by reference from the information in our Proxy Statement for our 2019 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.
Item 12. Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters
   Incorporated by reference from the information in our Proxy Statement for our 2019 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.
Item 13. Certain Relationships and Related Transactions and Director Independence
   Incorporated by reference from the information in our Proxy Statement for our 2019 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.
Item 14. Principal Accountant Fees and Services
   Incorporated by reference from the information in our Proxy Statement for our 2019 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.

                                                                          97
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 150 of 426 PageID #: 3123

                                                                         PART IV
Item 15. Exhibits and Financial Statement Schedules
(a)(1) Financial Statements.

   The response to this portion of Item 15 is set forth under Item 8 above.
(a)(2) Financial Statement Schedules.

   All schedules have been omitted because they are not required or because the required information is given in the Consolidated Financial Statements
or Notes thereto set forth under Item 8 above.
(a)(3) Exhibits.

   See the Exhibit Index immediately before the signature page of this Annual Report on Form 10-K. The exhibits listed in the Exhibit Index are filed or
incorporated by reference as part of this Annual Report on Form 10-K.
Item 16. Form 10-K Summary
   Not applicable.

                                                                              98
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 151 of 426 PageID #: 3124

                                                               bluebird bio, Inc.

                                                   Index to Consolidated Financial Statements
                                                                                                Pages
Report of Independent Registered Public Accounting Firm                                                 F-2
Consolidated Balance Sheets                                                                             F-3
Consolidated Statements of Operations and Comprehensive Loss                                            F-4
Consolidated Statements of Stockholders’ Equity                                                         F-5
Consolidated Statements of Cash Flows                                                                   F-6
Notes to Consolidated Financial Statements                                                              F-7

                                                                      F-1
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 152 of 426 PageID #: 3125

                                                 Report of Independent Registered Public Accounting Firm
To the Stockholders and the Board of Directors of bluebird bio, Inc.
Opinion on the Financial Statements
           We have audited the accompanying consolidated balance sheets of bluebird bio, Inc. (the Company) as of December 31, 2018 and 2017, the
related consolidated statements of operations and comprehensive loss, stockholders’ equity and cash flows for each of the three years in the period
ended December 31, 2018, and the related notes (collectively referred to as the “consolidated financial statements”). In our opinion, the consolidated
financial statements present fairly, in all material respects, the financial position of the Company at December 31, 2018 and 2017, and the results of its
operations and its cash flows for each of the three years in the period ended December 31, 2018, in conformity with U.S. generally accepted accounting
principles.

           We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB), the
Company's internal control over financial reporting as of December 31, 2018, based on criteria established in Internal Control-Integrated Framework
issued by the Committee of Sponsoring Organizations of the Treadway Commission (2013 framework) and our report dated February 21, 2019 expressed
an unqualified opinion thereon.
Adoption of New Accounting Standard
           As discussed in Note 2 to the consolidated financial statements, the Company changed its method of accounting for revenue in 2018 due to
the adoption of Accounting Standards Update (ASU) No. 2014-09, Revenue from Contracts with Customers (Topic 606), and the related amendments.
Basis for Opinion
           These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion on the Company’s
financial statements based on our audits. We are a public accounting firm registered with the PCAOB and are required to be independent with respect to
the Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange Commission and
the PCAOB.

           We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to
obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud. Our audits included
performing procedures to assess the risks of material misstatement of the financial statements, whether due to error or fraud, and performing procedures
that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and disclosures in the financial
statements. Our audits also included evaluating the accounting principles used and significant estimates made by management, as well as evaluating the
overall presentation of the financial statements. We believe that our audits provide a reasonable basis for our opinion.
/s/ Ernst & Young LLP
We have served as the Company’s auditor since 2012.
Boston, Massachusetts
February 21, 2019

                                                                           F-2
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 153 of 426 PageID #: 3126

                                                                  bluebird bio, Inc.
                                                            Consolidated Balance Sheets
                                                      (in thousands, except per share amounts)
                                                                                                                  As of December 31,
                                                                                                              2018                 2017
Assets
Current Assets:
   Cash and cash equivalents                                                                              $      402,579      $       758,505
   Marketable securities                                                                                         982,725              531,604
   Tenant improvement receivable                                                                                      19                3,112
   Prepaid expenses                                                                                               19,762               21,171
   Receivables and other current assets                                                                           13,912                8,377
       Total current assets                                                                                    1,418,997            1,322,769
Marketable securities                                                                                            506,123              324,193
Property, plant and equipment, net                                                                               246,622              199,606
Intangible assets, net                                                                                            13,169               16,931
Goodwill                                                                                                          13,128               13,128
Restricted cash and other non-current assets                                                                      44,805               23,940
       Total assets                                                                                       $    2,242,844      $     1,900,567
Liabilities and Stockholders' Equity
Current Liabilities:
   Accounts payable                                                                                       $       17,831      $        12,873
   Accrued expenses and other current liabilities                                                                 99,393               57,065
   Deferred revenue, current portion                                                                              18,602               25,674
   Collaboration research advancement, current portion                                                            10,605                    -
       Total current liabilities                                                                                 146,431               95,612
Deferred revenue, net of current portion                                                                          16,338               21,763
Collaboration research advancement, net of current portion                                                        33,349                    -
Contingent consideration                                                                                           5,230                2,231
Financing lease obligation, net of current portion                                                               153,319              154,749
Other non-current liabilities                                                                                      3,107                2,780
       Total liabilities                                                                                         357,774              277,135
Commitments and contingencies (Note 8)
Stockholders' Equity:
   Preferred stock, $0.01 par value, 5,000 shares authorized; 0 shares issued and
   outstanding at December 31, 2018 and December 31, 2017                                                               -                   -
   Common stock, $0.01 par value, 125,000 shares authorized; 54,738 and 49,406 shares
   issued and outstanding at December 31, 2018 and December 31, 2017, respectively                                    547                 494
   Additional paid-in capital                                                                                   3,386,958           2,540,951
   Accumulated other comprehensive loss                                                                            (3,627 )            (4,205 )
   Accumulated deficit                                                                                         (1,498,808 )          (913,808 )
       Total stockholders' equity                                                                               1,885,070           1,623,432
       Total liabilities and stockholders' equity                                                         $     2,242,844     $     1,900,567
                                           See accompanying notes to consolidated financial statements.


                                                                         F-3
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 154 of 426 PageID #: 3127

                                                                    bluebird bio, Inc.
                                           Consolidated Statements of Operations and Comprehensive Loss
                                                      (in thousands, except per share amounts)
                                                                                                           Year ended December 31,
                                                                                             2018                    2017                2016
Revenue:
    Collaboration revenue                                                                $       52,353       $          22,207      $          6,155
    License and royalty revenue                                                                   2,226                  13,220                     -
       Total revenues                                                                            54,579                  35,427                 6,155
Operating expenses:
    Research and development                                                                    448,589                 273,040            204,775
    General and administrative                                                                  174,129                  93,550             65,119
    Cost of license and royalty revenue                                                             885                   1,527                  -
    Change in fair value of contingent consideration                                              2,999                    (525 )            4,091
       Total operating expenses                                                                 626,602                 367,592            273,985
       Loss from operations                                                                    (572,023 )              (332,165 )         (267,830 )
Interest income (expense), net                                                                   14,624                  (2,001 )            3,782
Other income (expense), net                                                                       1,961                  (1,267 )              (71 )
       Loss before income taxes                                                                (555,438 )              (335,433 )         (264,119 )
Income tax (expense) benefit                                                                       (187 )                  (210 )              612
       Net loss                                                                          $     (555,625 )     $        (335,643 )    $    (263,507 )
Net loss per share - basic and diluted                                                   $       (10.68 )     $           (7.71 )    $          (7.07 )
Weighted-average number of common shares used in computing net loss per
share - basic and diluted                                                                        52,032                  43,535             37,284
Other comprehensive income (loss):
   Other comprehensive income (loss), net of tax expense of $0.4,
   $0.0 and $0.6 million for the years ended December 31, 2018,
   2017 and 2016, respectively                                                                      578                  (3,056 )            1,142
      Total other comprehensive income (loss)                                                       578                  (3,056 )            1,142
Comprehensive loss                                                                       $     (555,047 )     $        (338,699 )    $    (262,365 )
                                            See accompanying notes to consolidated financial statements.


                                                                           F-4
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 155 of 426 PageID #: 3128

                                                                   bluebird bio, Inc.
                                                    Consolidated Statements of Stockholders’ Equity
                                                                    (in thousands)
                                                                                                         Accumulated
                                                                                        Additional          other                               Total
                                                                 Common stock            paid-in        comprehensive     Accumulated      stockholders'
                                                               Shares   Amount           capital             loss            deficit           equity
Balances at December 31, 2015                                   36,894    $     369     $ 1,166,585     $      (2,291 )   $   (314,167 )   $    850,496
Vesting of restricted stock units                                  113            1              (1 )               -                -                -
Issuance of common stock upon public offering, net
of issuance costs of $15,269                                     3,289           33         234,698                 -                -          234,731
Exercise of stock options                                          377            4           6,141                 -                -            6,145
Purchase of common stock under ESPP                                 18            -             677                 -                -              677
Stock-based compensation                                             -            -          39,756                 -                -           39,756
Unrealized gain on available-for-sale securities, net
of tax                                                               -            -               -             1,142                -            1,142
Net loss                                                             -            -               -                 -         (263,507 )       (263,507 )
Balances at December 31, 2016                                   40,691    $     407     $ 1,447,856     $      (1,149 )   $   (577,674 )   $    869,440
Retroactive adjustment to beginning accumulated
deficit and additional paid-in capital resulting
from adoption of ASU 2016-09                                         -            -             491                 -             (491 )               -
Vesting of restricted stock units                                   88            1              (1 )               -                -                 -
Issuance of common stock upon public offering, net
of issuance costs of $53,487                                     7,625           76       1,006,494                 -                -         1,006,570
Exercise of stock options                                          981           10          31,676                 -                -            31,686
Purchase of common stock under ESPP                                 21            -           1,153                 -                -             1,153
Stock-based compensation                                             -            -          53,282                 -                -            53,282
Other comprehensive loss                                             -            -               -            (3,056 )              -            (3,056 )
Net loss                                                             -            -               -                 -         (335,643 )        (335,643 )
Balances at December 31, 2017                                   49,406    $     494     $ 2,540,951     $      (4,205 )   $   (913,808 )   $   1,623,432
Adjustment to beginning accumulated deficit from
adoption of ASU 2014-09                                              -            -               -                 -          (29,375 )         (29,375 )
Vesting of restricted stock units                                  152            2              (2 )               -                -                 -
Issuance of common stock upon public offering, net
of issuance costs of $34,588                                     4,169           42         649,326                 -                -           649,368
Issuance of common stock to Regeneron                              420            4          54,480                 -                -            54,484
Exercise of stock options                                          575            5          29,763                 -                -            29,768
Purchase of common stock under ESPP                                 16            -           1,604                 -                -             1,604
Stock-based compensation                                             -            -         110,836                 -                -           110,836
Other comprehensive loss                                             -            -               -               578                -               578
Net loss                                                             -            -               -                 -         (555,625 )        (555,625 )
Balances at December 31, 2018                                   54,738    $     547     $ 3,386,958     $      (3,627 )   $ (1,498,808 )   $   1,885,070
                                             See accompanying notes to consolidated financial statements.

                                                                          F-5
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 156 of 426 PageID #: 3129

                                                                 bluebird bio, Inc.
                                                      Consolidated Statements of Cash Flows
                                                                  (in thousands)
                                                                                                            Year ended December 31,
                                                                                              2018                   2017                 2016
Cash flows from operating activities:
 Net loss                                                                             $         (555,625 )     $        (335,643 )    $     (263,507 )
 Adjustments to reconcile net loss to net cash used in operating
 activities:
      Change in fair value of contingent consideration                                             2,999                  (2,189 )                2,675
      Depreciation and amortization                                                               17,158                  13,538                  9,648
      Stock-based compensation expense                                                           110,836                  53,282                 39,756
      Unrealized gain on equity securities                                                        (2,154 )                     -                      -
      Other non-cash items                                                                        (5,880 )                 3,153                  2,825
   Changes in operating assets and liabilities:
      Prepaid expenses and other assets                                                          (24,288 )               (20,092 )           (14,318 )
      Accounts payable                                                                             3,614                     526               6,658
      Accrued expenses and other liabilities                                                      37,832                   5,848              22,051
      Deferred revenue                                                                           (41,872 )                 1,024               4,565
      Collaboration research advancement                                                          43,954                       -                   -
         Net cash used in operating activities                                                  (413,426 )              (280,553 )          (189,647 )
Cash flows from investing activities:
 Purchase of property, plant and equipment, including assets under
 financing lease obligation                                                                       (55,737 )              (62,242 )           (28,029 )
 Purchases of marketable securities                                                            (1,517,982 )             (686,204 )          (348,225 )
 Proceeds from maturities of marketable securities                                                894,284                431,816             443,364
         Net cash (used in) provided by investing activities                                     (679,435 )             (316,630 )            67,110
Cash flows from financing activities:
 Cash paid for contingent purchase price consideration                                                 -                  (1,074 )            (2,025 )
 Reimbursement of assets under financing lease obligation                                          3,098                  38,021               1,663
 Payments on financing lease obligation                                                           (1,017 )                  (574 )                 -
 Proceeds from public offering of common stock, net of issuance costs                            649,368               1,006,570             234,962
 Proceeds from exercise of stock options and ESPP contributions                                   31,759                  33,231               6,934
 Proceeds from issuance of common stock to Regeneron                                              54,484                       -                   -
         Net cash provided by financing activities                                               737,692               1,076,174             241,534
(Decrease) increase in cash, cash equivalents and restricted cash                               (355,169 )               478,991             118,997
Cash, cash equivalents and restricted cash at beginning of year                                  772,268                 293,277             174,280
Cash, cash equivalents and restricted cash at end of year                             $          417,099       $         772,268      $      293,277
Supplemental cash flow disclosures:
 Cash paid for interest in connection with financing lease obligation                  $           15,494      $          11,411      $               -
Supplemental cash flow disclosures from investing and financing
activities:
 Assets acquired under financing lease obligation                                      $                -      $           3,271      $          48,034
 Purchases of property, plant and equipment included in accounts
 payable and accrued expenses                                                          $            7,449      $           2,566      $           6,363
 Tenant improvements under financing lease included in tenant
 improvements receivable                                                               $               14      $           3,112      $           8,542
                                             See accompanying notes to consolidated financial statements.

                                                                        F-6
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 157 of 426 PageID #: 3130

                                                                       bluebird bio, Inc.

                                                        Notes to Consolidated Financial Statements
                                                  For the Years Ended December 31, 2018, 2017 and 2016
1. Description of the business
    bluebird bio, Inc. (the “Company” or “bluebird”) was incorporated in Delaware on April 16, 1992, and is headquartered in Cambridge, Massachusetts.
The Company researches, develops, manufactures and plans to commercialize gene therapies for severe genetic diseases and cancer. Since its inception,
the Company has devoted substantially all of its resources to its research and development efforts relating to its product candidates, including activities
to manufacture product candidates, conduct clinical studies of its product candidates, perform preclinical research to identify new product candidates
and provide general and administrative support for these operations.

   The Company’s clinical programs in severe genetic diseases include its LentiGlobin® product candidate to treat transfusion-dependent β-thalassemia,
or TDT, and to treat sickle cell disease, or SCD, and its Lenti-DT M product candidate to treat cerebral adrenoleukodystrophy, or CALD, a rare hereditary
neurological disorder. In the second half of 2018, the Company filed a marketing authorization application with the EMA for the LentiGlobin product
candidate for the treatment of adult and adolescent patients with TDT and non- β 0 /β0 genotypes. If the application is approved, the Company expects to
begin commercializing and generating product revenues in the second half of 2019. The Company’s programs in oncology are focused on developing
novel T cell-based immunotherapies, including chimeric antigen receptor (CAR) and T cell receptor (TCR) T cell therapies. bb2121 and bb21217, which are
product candidates in oncology under the Company’s collaboration arrangement with Celgene Corporation (“Celgene”), are CAR T cell product
candidates for the treatment of multiple myeloma. Refer to Note 10, “Collaborative arrangements” for further discussion of the Company’s collaboration
with Celgene.

    As of December 31, 2018, the Company had cash, cash equivalents and marketable securities of $1.9 billion. Although the Company has incurred
recurring losses and expects to continue to incur losses for the foreseeable future, the Company expects its cash, cash equivalents and marketable
securities will be sufficient to fund current planned operations for at least the next twelve months.
2. Summary of significant accounting policies and basis of presentation
Basis of presentation
    The accompanying consolidated financial statements have been prepared by the Company in accordance with accounting principles generally
accepted in the United States (“GAAP”) as found in the Accounting Standards Codification (“ASC”) and Accounting Standards Updates (“ASUs”) of
the Financial Accounting Standards Board (“FASB”). Any reference in these notes to applicable guidance is meant to refer to the authoritative United
States GAAP as found in the ASC and ASUs of the FASB.

   Certain items in the prior year’s consolidated financial statements have been reclassified to conform to the current presentation. As a result, no
subtotals in the prior year consolidated financial statements were impacted.

   Amounts reported are computed based on thousands, except percentages, per share amounts, and as otherwise noted. As a result, certain totals may
not sum due to rounding.


Principles of consolidation
   The accompanying consolidated financial statements include the accounts of the Company and its wholly-owned subsidiaries. All intercompany
balances and transactions have been eliminated in consolidation.

    The Company continually assesses whether it is the primary beneficiary of a variable interest entity as changes to existing relationships or future
transactions may result in consolidation or deconsolidation of one or more collaborators or partners. In determining whether it is the primary beneficiary
of an entity in which the Company has a variable interest, management applies a qualitative approach that determines whether the Company has both (1)
the power to direct the economically significant activities of the entity and (2) the obligation to absorb losses of, or the right to receive benefits from, the
entity that could potentially be significant to that entity.

                                                                              F-7
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 158 of 426 PageID #: 3131


Use of estimates
    The preparation of financial statements in conformity with GAAP requires management to make estimates and assumptions that affect the reported
amounts in the financial statements and accompanying notes. Actual results could materially differ from those estimates. Management considers many
factors in selecting appropriate financial accounting policies and controls, and in developing the estimates and assumptions that are used in the
preparation of these financial statements. Management must apply significant judgment in this process. In addition, other factors may affect estimates,
including: expected business and operational changes, sensitivity and volatility associated with the assumptions used in developing estimates, and
whether historical trends are expected to be representative of future trends. The estimation process often may yield a range of potentially reasonable
estimates of the ultimate future outcomes and management must select an amount that falls within that range of reasonable estimates. This process may
result in actual results differing materially from those estimated amounts used in the preparation of the financial statements.

    Estimates and judgments are used in the following areas, among others: fair value estimates used to assess potential impairment of long-lived assets,
including goodwill and intangible assets, financing lease obligations, contingent consideration, stock-based compensation expense, accrued expenses,
and income taxes. In addition, estimates and judgments are used in the Company’s accounting for its revenue-generating arrangements, in particular as it
relates to determining the standalone selling price of performance obligations, evaluating whether an option to acquire additional goods and services
represents a material right, estimating the total transaction price, including estimating variable consideration and the probability of achieving future
potential development and regulatory milestones, and the period of performance over which revenue may be recognized.


Foreign currency translation
    The financial statements of the Company’s subsidiaries with functional currencies other than the U.S. dollar are translated into U.S. dollars using
period-end exchange rates for assets and liabilities, historical exchange rates for stockholders’ equity and weighted average exchange rates for operating
results. Translation gains and losses are included in accumulated other comprehensive income (loss) in stockholders’ equity. Foreign currency
transaction gains and losses are included in other expense, net in the results of operations.


Segment information
   The Company operates in a single segment, focusing on the development of potentially transformative gene therapies for severe genetic diseases
and cancer. Consistent with its operational structure, its chief operating decision maker manages and allocates resources at a global, consolidated level.
Therefore, results of our operations are reported on a consolidated basis for purposes of segment reporting. All material long-lived assets of the
Company reside in the United States.


Cash and cash equivalents
   The Company considers all highly liquid investments purchased with original final maturities of 90 days or less from the date of purchase to be cash
equivalents. Cash and cash equivalents comprise marketable securities with maturities of less than 90 days when purchased. Cash equivalents are
reported at fair value.


Marketable securities
    The Company classifies marketable securities with a remaining maturity when purchased of greater than three months as available-for-sale.
Marketable securities with a remaining maturity date greater than one year are classified as non-current. The Company’s marketable securities are
maintained by investment managers and consist of U.S. Treasury securities, U.S. government agency securities, equity securities, certificates of deposit,
and money market accounts. Debt securities are carried at fair value with the unrealized gains and losses included in other comprehensive income (loss)
as a component of stockholders’ equity until realized. Any premium or discount arising at purchase is amortized and/or accreted to interest income and/or
expense over the life of the instrument. Equity securities with readily determinable fair values are also carried at fair value with unrealized gains and
losses included in other income (expense), net. Realized gains and losses on both debt and equity securities are determined using the specific
identification method and are included in other income (expense), net.

   The Company classifies equity securities with readily determinable fair values, which would be available for use in its current operations, as current
assets even though the Company may not dispose of such marketable securities within the next 12 months.

   If any adjustment to fair value reflects a decline in value of the investment, the Company considers all available evidence to evaluate the extent to
which the decline is “other-than-temporary” and, if so, marks the investment to market through a charge to the Company’s statement of operations and
comprehensive loss.

                                                                            F-8
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 159 of 426 PageID #: 3132


Concentrations of credit risk and off-balance sheet risk
   Financial instruments that subject the Company to credit risk primarily consist of cash and cash equivalents and available-for-sale securities. The
Company maintains its cash and cash equivalent balances with high-quality financial institutions and, consequently, the Company believes that such
funds are subject to minimal credit risk. The Company’s marketable securities primarily consist of U.S. Treasury securities, U.S. government agency
securities and certificates of deposit, and potentially subject the Company to concentrations of credit risk. The Company has adopted an investment
policy that limits the amounts the Company may invest in any one type of investment and requires all investments held by the Company to be at least
AA+/Aa1 rated, thereby reducing credit risk exposure.


Fair value of financial instruments
   The Company has certain financial assets and liabilities recorded at fair value which have been classified as Level 1, 2 or 3 within the fair value
hierarchy as described in the accounting standards for fair value measurements
   Level 1-Fair values are determined utilizing quoted prices (unadjusted) in active markets for identical assets or liabilities that the Company has the
   ability to access at the measurement date.
   Level 2-Fair values are determined utilizing quoted prices for identical or similar assets or liabilities in active markets or other market observable inputs
   such as interest rates, yield curves and foreign currency spot rates.
   Level 3-Prices or valuations that require inputs that are both significant to the fair value measurement and unobservable.

    To the extent that valuation is based on models or inputs that are less observable or unobservable in the market, the determination of fair value
requires more judgment. Accordingly, the degree of judgment exercised by the Company in determining fair value is greatest for instruments categorized
in Level 3. A financial instrument’s level within the fair value hierarchy is based on the lowest level of any input that is significant to the fair value
measurement.

   Items measured at fair value on a recurring basis include marketable securities (see Note 3, “Marketable securities” and Note 4, “Fair value
measurements”) and contingent consideration (see Note 4, “Fair value measurements”). The carrying amounts of accounts payable and accrued
expenses approximate their fair values due to their short-term nature.


Business combinations
    Business combinations are accounted for using the acquisition method of accounting. Using this method, the tangible and intangible assets acquired
and the liabilities assumed are recorded as of the acquisition date at their respective fair values. The Company evaluates a business as an integrated set
of activities and assets that is capable of being managed for the purpose of providing a return in the form of dividends, lower costs or other economic
benefits and consists of inputs and processes that provide or have the ability to provide outputs. In an acquisition of a business, the excess of the fair
value of the consideration transferred over the fair value of the net assets acquired is recorded as goodwill. In an acquisition of net assets that does not
constitute a business, no goodwill is recognized.

  The consolidated financial statements include the results of operations of an acquired business after the completion of the acquisition. See Note 4,
“Fair value measurements,” for additional information.


Goodwill
    Goodwill represents the excess of the purchase price over the fair value of the net assets acquired when accounted for using the acquisition method
of accounting for business combinations. Goodwill is not amortized but is evaluated for impairment within the Company’s single reporting unit on an
annual basis, during the fourth quarter, or more frequently if an event occurs or circumstances change that would more-likely-than-not reduce the fair
value of the Company’s reporting unit below its carrying amount. The Company has not recognized any impairment charges related to goodwill to date.


Intangible assets
   Intangible assets consist of acquired core technology with finite lives. The Company amortizes its intangible assets using the straight-line method
over their estimated economic lives and periodically reviews for impairment.

                                                                              F-9
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 160 of 426 PageID #: 3133


Contingent consideration
    Each reporting period, the Company revalues the contingent consideration obligations associated with business combinations to their fair value and
records within operating expenses increases in their fair value as contingent consideration expense and decreases in the fair value as contingent
consideration income. Changes in contingent consideration result from changes in the assumptions regarding probabilities of successful achievement of
related milestones, the estimated timing in which the milestones may be achieved, and the discount rate used to estimate the fair value of the liability.
Contingent consideration may change significantly as development of the Company’s programs in certain indications progress and additional data are
obtained, impacting the Company’s assumptions. The assumptions used in estimating fair value require significant judgment. The use of different
assumptions and judgments could result in a materially different estimate of fair value. See Note 4, “Fair value measurements,” for additional
information.


Property, plant and equipment
    Property, plant and equipment is stated at cost. Maintenance and repairs that do not improve or extend the lives of the respective assets are expensed
to operations as incurred. Depreciation and amortization is calculated using the straight-line method over the estimated useful lives of the assets, which
are as follows:
      Asset                                                                                               Estimated useful life
      Building                                                                                            40 years
      Computer equipment and software                                                                      3 years
      Furniture and fixtures                                                                              2-5 years
      Laboratory equipment                                                                                2-5 years
      Leasehold improvements                                                          Shorter of the useful life or remaining lease term
   The Company records certain costs incurred and reported by a landlord as an asset and corresponding financing lease obligation on the consolidated
balance sheets. See Note 8, “Commitments and contingencies,” for additional information.


Impairment of long-lived assets
   The Company reviews long-lived assets when events or changes in circumstances indicate the carrying value of the assets may not be recoverable.
Recoverability is measured by comparison of the book values of the assets to future net undiscounted cash flows that the assets are expected to
generate. If such assets are considered to be impaired, the impairment to be recognized is measured by the amount by which the book value of the assets
exceed their fair value, which is measured based on the projected discounted future net cash flows arising from the assets.


Financing lease obligation
    Beginning in 2015 and through construction completion in 2017, the Company recorded certain estimated construction costs incurred and reported to
the Company by the landlord for its 60 Binney Street location as an asset and corresponding financing lease obligation on the consolidated balance
sheets because it was deemed to be the owner of the building during the construction period for accounting purposes. Any costs incurred by the
Company that have been reimbursed by the landlord or that qualify for reimbursement by the landlord are recorded as an asset and financing lease
obligation. Any incremental costs incurred directly by the Company that do not qualify for reimbursement by the landlord are also capitalized. Upon
completion of the construction of the building in the first quarter of 2017, the Company evaluated the lease and determined that it did not meet the criteria
for “sale-leaseback” treatment. Accordingly, the Company is depreciating the building over 40 years and incurring interest expense in its consolidated
statement of operations and comprehensive loss related to the financing lease obligation recorded on its consolidated balance sheet. The Company
bifurcates its lease payments pursuant to the lease into (i) a portion that is allocated to the financing obligation related to the building and (ii) a portion
that is allocated to the land on which the building was constructed. The portion of the lease obligation allocated to the land is treated for accounting
purposes as an operating lease that commenced in September 2015 and is recorded on a straight-line basis over the initial lease term. See Note 8,
“Commitments and contingencies,” for additional information.

                                                                             F-10
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 161 of 426 PageID #: 3134


Revenue recognition
    Effective January 1, 2018, the Company adopted Accounting Standards Codification (“ASC”), Topic 606, Revenue from Contracts with Customers
(“Topic 606”), using the modified retrospective transition method. Under this method, the Company has recognized the cumulative effect of the adoption
as an adjustment to the opening balance of accumulated deficit in the current period consolidated balance sheet. The Company has not revised its
consolidated financial statements for prior periods. This standard applies to all contracts with customers, except for contracts that are within the scope of
other standards, such as collaboration arrangements and leases.
    Under Topic 606, an entity recognizes revenue when its customer obtains control of promised goods or services, in an amount that reflects the
consideration that the entity expects to receive in exchange for those goods or services. To determine revenue recognition for arrangements that an
entity determines are within the scope of Topic 606, the entity performs the following five steps: (i) identify the contract(s) with a customer; (ii) identify
the performance obligations in the contract; (iii) determine the transaction price, including variable consideration, if any; (iv) allocate the transaction price
to the performance obligations in the contract; and (v) recognize revenue when (or as) the entity satisfies a performance obligation. The Company only
applies the five-step model to contracts when it is probable that the entity will collect the consideration to which it is entitled in exchange for the goods
or services it transfers to the customer.

    Once a contract is determined to be within the scope of Topic 606, the Company assesses the goods or services promised within each contract and
determines those that are performance obligations. Arrangements that include rights to additional goods or services that are exercisable at a customer’s
discretion are generally considered options. The Company assesses if these options provide a material right to the customer and if so, they are
considered performance obligations. The identification of material rights requires judgments related to the determination of the value of the underlying
license relative to the option exercise price, including assumptions about technical feasibility and the probability of developing a candidate that would be
subject to the option rights. The exercise of a material right is accounted for as a contract modification for accounting purposes.

    The Company assesses whether each promised good or service is distinct for the purpose of identifying the performance obligations in the contract.
This assessment involves subjective determinations and requires management to make judgments about the individual promised goods or services and
whether such are separable from the other aspects of the contractual relationship. Promised goods and services are considered distinct provided that: (i)
the customer can benefit from the good or service either on its own or together with other resources that are readily available to the customer (that is, the
good or service is capable of being distinct) and (ii) the entity’s promise to transfer the good or service to the customer is separately identifiable from
other promises in the contract (that is, the promise to transfer the good or service is distinct within the context of the contract). In assessing whether a
promised good or service is distinct, the Company considers factors such as the research, manufacturing and commercialization capabilities of the
collaboration partner and the availability of the associated expertise in the general marketplace. The Company also considers the intended benefit of the
contract in assessing whether a promised good or service is separately identifiable from other promises in the contract. If a promised good or service is
not distinct, an entity is required to combine that good or service with other promised goods or services until it identifies a bundle of goods or services
that is distinct.

   The transaction price is then determined and allocated to the identified performance obligations in proportion to their standalone selling prices
(“SSP”) on a relative SSP basis. SSP is determined at contract inception and is not updated to reflect changes between contract inception and when the
performance obligations are satisfied. Determining the SSP for performance obligations requires significant judgment. In developing the SSP for a
performance obligation, the Company considers applicable market conditions and relevant entity-specific factors, including factors that were
contemplated in negotiating the agreement with the customer and estimated costs. The Company validates the SSP for performance obligations by
evaluating whether changes in the key assumptions used to determine the SSP will have a significant effect on the allocation of arrangement
consideration between multiple performance obligations.

    If the consideration promised in a contract includes a variable amount, the Company estimates the amount of consideration to which it will be entitled
in exchange for transferring the promised goods or services to a customer. The Company determines the amount of variable consideration by using the
expected value method or the most likely amount method. The Company includes the unconstrained amount of estimated variable consideration in the
transaction price. The amount included in the transaction price is constrained to the amount for which it is probable that a significant reversal of
cumulative revenue recognized will not occur. At the end of each subsequent reporting period, the Company re-evaluates the estimated variable
consideration included in the transaction price and any related constraint, and if necessary, adjusts its estimate of the overall transaction price. Any such
adjustments are recorded on a cumulative catch-up basis in the period of adjustment.

                                                                              F-11
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 162 of 426 PageID #: 3135


    If an arrangement includes development and regulatory milestone payments, the Company evaluates whether the milestones are considered probable
of being reached and estimates the amount to be included in the transaction price using the most likely amount method. If it is probable that a significant
revenue reversal would not occur, the associated milestone value is included in the transaction price. Milestone payments that are not within the
Company’s control or the licensee’s control, such as regulatory approvals, are generally not considered probable of being achieved until those approvals
are received.
    For arrangements with licenses of intellectual property that include sales-based royalties, including milestone payments based on the level of sales,
and the license is deemed to be the predominant item to which the royalties relate, the Company recognizes royalty revenue and sales-based milestones
at the later of (i) when the related sales occur, or (ii) when the performance obligation to which the royalty has been allocated has been satisfied.

    In determining the transaction price, the Company adjusts consideration for the effects of the time value of money if the timing of payments provides
the Company with a significant benefit of financing. The Company does not assess whether a contract has a significant financing component if the
expectation at contract inception is such that the period between payment by the licensees and the transfer of the promised goods or services to the
licensees will be one year or less. The Company assessed each of its revenue generating arrangements in order to determine whether a significant
financing component exists and concluded that a significant financing component does not exist in any of its arrangements.

   The Company then recognizes as revenue the amount of the transaction price that is allocated to the respective performance obligation when (or as)
each performance obligation is satisfied, either at a point in time or over time, and if over time recognition is based on the use of an output or input
method.


   Collaboration revenue
   To date, the Company’s collaboration revenue has been generated from its collaboration arrangements with Celgene and Regeneron Pharmaceuticals,
Inc. (“Regeneron”), as further described in Note 10, “Collaborative arrangements”.

    The Company analyzes its collaboration arrangements to assess whether they are within the scope of ASC 808, Collaborative Arrangements (“ASC
808”) to determine whether such arrangements involve joint operating activities performed by parties that are both active participants in the activities and
exposed to significant risks and rewards dependent on the commercial success of such activities. This assessment is performed throughout the life of the
arrangement based on changes in the responsibilities of all parties in the arrangement. For collaboration arrangements within the scope of ASC 808 that
contain multiple elements, the Company first determines which elements of the collaboration are deemed to be within the scope of ASC 808 and those
that are more reflective of a vendor-customer relationship and therefore within the scope of Topic 606. For elements of collaboration arrangements that
are accounted for pursuant to ASC 808, an appropriate recognition method is determined and applied consistently, generally by analogy to Topic 606.
Amounts that are owed to collaboration partners are recognized as an offset to collaboration revenues as such amounts are incurred by the collaboration
partner. Where amounts owed to a collaboration partner exceed the Company’s collaboration revenues in each quarterly period, such amounts are
classified as research and development expense. For those elements of the arrangement that are accounted for pursuant to Topic 606, the Company
applies the five-step model described above.


   License and royalty revenue
    The Company enters into out-licensing agreements that are within the scope of Topic 606. The Company does not have any material license
arrangements that contain more than one performance obligation. The terms of such out-license agreements include the license of functional intellectual
property, given the functionality of the intellectual property is not expected to change substantially as a result of the licensor’s ongoing activities, and
typically include payment of one or more of the following: non-refundable up-front license fees; development and regulatory milestone payments and
milestone payments based on the level of sales; and royalties on net sales of licensed products. Nonrefundable up-front license fees are recognized as
revenue at a point in time when the licensed intellectual property is made available for the customer’s use and benefit, which is generally at the inception
of the arrangement. Development and regulatory milestone fees, which are a type of variable consideration, are recognized as revenue to the extent that it
is probable that a significant reversal will not occur. The Company recognizes royalty revenue and sales-based milestones at the later of (i) when the
related sales occur, or (ii) when the performance obligation to which the royalty has been allocated has been satisfied.

   For a complete discussion of accounting for collaboration and other revenue-generating arrangements, see Note 10, “Collaborative arrangements”
and Note 11, “License and royalty revenue”. Additionally, see “Recent accounting pronouncements - Recently adopted” below for discussion of the
impact of adopting Topic 606, which was effective on January 1, 2018.

                                                                            F-12
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 163 of 426 PageID #: 3136

Research and development expenses
    Research and development costs are charged to expense as costs are incurred in performing research and development activities, including salaries
and benefits, facilities costs, overhead costs, clinical study and related clinical manufacturing costs, license and milestone fees, contract services and
other related costs. Research and development costs, including up-front fees and milestones paid to collaborators, are also expensed as incurred. In
circumstances where amounts have been paid in excess of costs incurred, the Company records a prepaid expense. The Company accrues costs for
clinical trial activities based upon estimates of the services received and related expenses incurred that have yet to be invoiced by the contract research
organizations, clinical study sites, laboratories, consultants, or other clinical trial vendors that perform the activities. The Company recognizes the
reimbursement associated with collaborative activities to its collaborative partners as research and development expense in the period the services are
provided.


Cost of license and royalty revenue
  Cost of license and royalty revenue represents expense associated with amounts owed to third parties as a result of revenue recognized under the
Company’s out-license arrangements.


Stock-based compensation
   The Company’s share-based compensation programs grant awards that have included stock options, restricted stock units, restricted stock awards,
and shares issued under its employee stock purchase plan. Grants are awarded to employees, and non-employees, including directors.

   The Company accounts for its stock-based compensation awards in accordance with FASB ASC Topic 718, Compensation-Stock Compensation
(“ASC 718”). ASC 718 requires all stock-based payments to employees, including grants of employee stock options and restricted stock units and
modifications to existing stock options, to be recognized in the consolidated statements of operations and comprehensive loss based on their fair values.
The Company uses the Black-Scholes option pricing model to determine the fair value of options granted.

    The Company’s stock-based awards are subject to either service or performance-based vesting conditions. Compensation expense related to awards
to employees, directors, and non-employees with service-based vesting conditions is recognized on a straight-line basis based on the grant date fair
value over the associated service period of the award, which is generally the vesting term. Compensation expense related to awards to employees and
non-employees with performance-based vesting conditions is recognized based on the grant date fair value over the requisite service period using the
accelerated attribution method to the extent achievement of the performance condition is probable.

   The Company expenses restricted stock unit awards to employees and non-employees based on the fair value of the award on a straight-line basis
over the associated service period of the award.

     The Company estimates the fair value of its option awards to employees, directors, and non-employees using the Black-Scholes option pricing model,
which requires the input of subjective assumptions, including (i) the expected stock price volatility, (ii) the calculation of expected term of the award, (iii)
the risk-free interest rate, and (iv) expected dividends. Due to the lack of complete company-specific historical and implied volatility data for the full
expected term of the stock-based awards, the Company bases its estimate of expected volatility on a representative group of publicly traded companies in
addition to its own volatility data. For these analyses, the Company selected companies with comparable characteristics to its own, including enterprise
value, risk profiles, position within the industry, and with historical share price information sufficient to meet the expected life of the stock-based awards.
The Company computes historical volatility data using the daily closing prices for the selected companies’ shares during the equivalent period of the
calculated expected term of the stock-based awards. The Company will continue to apply this process until a sufficient amount of historical information
regarding the volatility of its own stock price becomes available. The Company has estimated the expected term of its employee stock options using the
“simplified” method, whereby, the expected term equals the arithmetic average of the vesting term and the original contractual term of the option due to
its lack of sufficient historical data. The risk-free interest rates for periods within the expected term of the option are based on the U.S. Treasury securities
with a maturity date commensurate with the expected term of the associated award. The Company has never paid, and does not expect to pay, dividends
in the foreseeable future.

    As a result of the adoption of ASU 2016-09, Improvements to Employee Share-Based Payment Accounting, effective January 1, 2017, the Company
accounts for forfeitures as they occur instead of estimating forfeitures at the time of grant and revising those estimates in subsequent periods if actual
forfeitures differ from its estimates. Stock-based compensation expense recognized in the financial statements is based on awards for which performance
or service conditions are expected to be satisfied.

                                                                              F-13
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 164 of 426 PageID #: 3137


    Prior to the adoption of Accounting Standards Update (“ASU”) No. 2018-07, Compensation - Stock Compensation (Topic 718): Improvements to
Nonemployee Share-Based Payment Accounting (“ASU 2018-07”), the measurement date for non-employee awards was generally the date the services
are completed, resulting in financial reporting period adjustments to stock-based compensation during the vesting terms for changes in the fair value of
the awards. After adoption of ASU 2018-07, the measurement date for non-employee awards is the date of grant without changes in the fair value of the
award.


Interest income (expense), net
   Interest income (expense), net consists primarily of interest income earned on investments, net of amortization of premium and accretion of discount
which is partially offset by interest expense on the Company’s 60 Binney Street financing lease obligation. Interest income was approximately $30.1
million, $9.5 million, and $3.8 million for the years ended December 31, 2018, 2017, and 2016, respectively. Interest expense was $15.5 million, $11.4 million,
and $0 for the years ended December 31, 2018, 2017, and 2016, respectively. Please refer to Note 8, “Commitments and contingencies,” for further
discussion of interest expense incurred on the 60 Binney Street lease.


Other income (expense), net
   Other income (expense), net consists primarily of unrealized gains on equity securities, gains and losses on the disposal of fixed assets, realized gains
and losses on debt securities, and gains and losses on foreign currency transactions.


Net loss per share
   Basic net loss per share is calculated by dividing net loss attributable to common stockholders by the weighted average number of common shares
outstanding during the period. Diluted net income per share is calculated by dividing the net income attributable to common stockholders by the
weighted-average number of common equivalent shares outstanding for the period, including any dilutive effect from outstanding stock options,
unvested restricted stock, restricted stock units, and employee stock purchase plan stock using the treasury stock method. Given that the Company
recorded a net loss for each of the periods presented, there is no difference between basic and diluted net loss per share since the effect of common
stock equivalents would be anti-dilutive and are, therefore, excluded from the diluted net loss per share calculation.

   The Company follows the two-class method when computing net loss per share in periods when issued shares that meet the definition of
participating securities are outstanding. The two-class method determines net loss per share for each class of common and participating securities
according to dividends declared or accumulated and participation rights in undistributed earnings. The two-class method requires income available to
common stockholders for the period to be allocated between common and participating securities based upon their respective rights to received
dividends as if all income for the period had been distributed. Accordingly, in periods in which the Company reports a net loss attributable to common
stockholders when participating securities are outstanding, losses are not allocated to the participating securities.


Income taxes
    Income taxes are recorded in accordance with FASB ASC Topic 740, Income Taxes (“ASC 740”), which provides for deferred taxes using an asset and
liability approach. The Company recognizes deferred tax assets and liabilities for the expected future tax consequences of events that have been included
in the financial statements or tax returns. Deferred tax assets and liabilities are determined based on the difference between the financial statement and tax
bases of assets and liabilities using enacted tax rates in effect for the year in which the differences are expected to reverse. Valuation allowances are
provided, if based upon the weight of available evidence, it is more likely than not that some or all of the deferred tax assets will not be realized.

    The Company accounts for uncertain tax positions in accordance with the provisions of ASC 740. When uncertain tax positions exist, the Company
recognizes the tax benefit of tax positions to the extent that the benefit will more likely than not be realized. The determination as to whether the tax
benefit will more likely than not be realized is based upon the technical merits of the tax position as well as consideration of the available facts and
circumstances. The Company accrues for potential interest and penalties related to unrecognized tax benefits in income tax expense.


Comprehensive loss
   Comprehensive loss is composed of net loss and other comprehensive income (loss). Other comprehensive income (loss) consists of unrealized gains
and losses on debt securities, foreign currency translation adjustments and other items.

                                                                              F-14
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 165 of 426 PageID #: 3138


Recent accounting pronouncements
   Recently adopted
   ASU No. 2014-09, Revenue from Contracts with Customers
    In May 2014, the FASB issued ASU No. 2014-09, Revenue from Contracts with Customers, which superseded the revenue recognition requirements in
ASC 605, Revenue Recognition and created a new Topic 606, Revenue from Contracts with Customers. In 2015 and 2016, the FASB issued additional
ASUs related to Topic 606 that delayed the effective date of the guidance and clarified various aspects of the new revenue guidance. The new standard
became effective on January 1, 2018. Topic 606 allows for either a full retrospective adoption, in which the standard is applied to all periods presented in
an entity’s financial statements, or a modified retrospective approach, in which the standard is applied to the most current period presented in an entity’s
financial statements with the cumulative effect of adoption recognized as an adjustment to the opening balance of accumulated deficit in the period of
adoption. The Company adopted this new standard on January 1, 2018 using the modified retrospective approach, which has been applied consistently
to all contracts, and has elected to use the following practical expedient that is permitted under the rules of adoption:
    • For contracts that were modified prior to Topic 606 adoption, the Company has not retrospectively accounted for each contract modification in
        accordance with the contract modification guidance. Instead, the Company reflected the aggregate effect of all modifications occurring prior to
        Topic 606 adoption when identifying the satisfied and unsatisfied performance obligations, determining the transaction price and allocating the
        transaction price.

    As a result of adopting Topic 606, the Company recorded a $29.4 million adjustment to the opening balance of accumulated deficit in the first quarter
of 2018 primarily as a result of the accounting for the up-front consideration received in March 2013 in connection with the collaboration arrangement
with Celgene under ASC 605-25 versus Topic 606. Refer below for a summary of the amount by which each financial statement line item was affected by
the impact of the cumulative adjustment:
                                                                                            Impact of Topic 606 adoption on
                                                                                              consolidated balance sheet
                                                                                                 as of January 1, 2018
                                                                                                                                Balances
                                                                                                                                without
                                                                              As reported under                                adoption of
                (in thousands)                                                    Topic 606              Adjustments            Topic 606
                 Deferred revenue, current portion                          $            45,344     $         19,670    $        25,674
                 Deferred revenue, net of current portion                   $            31,468     $          9,705    $        21,763
                 Accumulated deficit                                        $          (943,183 ) $          (29,375 ) $       (913,808 )
   The amount by which each financial statement line item is affected in the current reporting period by Topic 606 as compared with the guidance that
was in effect prior to adoption is disclosed below.
                                                                                            Impact of Topic 606 adoption on
                                                                                              consolidated balance sheet
                                                                                               as of December 31, 2018
                                                                                                                                Balances
                                                                                                                                without
                                                                              As reported under                                adoption of
                (in thousands)                                                    Topic 606              Adjustments            Topic 606
                Deferred revenue, current portion                            $            18,602     $           7,772     $          10,830
                Deferred revenue, net of current portion                     $            16,338     $           3,094     $          13,244
                Accumulated deficit                                          $        (1,498,808 )   $         (10,866 )   $      (1,487,942 )
                                                                                      Impact of Topic 606 adoption on consolidated
                                                                                    statement of operations and comprehensive loss
                                                                                    for the twelve months ended December 31, 2018
                                                                                                                              Balances
                                                                                                                              without
                                                                              As reported under                              adoption of
                (in thousands, except per share data)                             Topic 606            Adjustments            Topic 606
                Collaboration revenue                                        $            52,353     $          13,917     $          38,436
                Research and development expense                             $           448,589     $          (4,592 )   $         453,181
                Net loss                                                     $          (555,625 )   $          18,509     $        (574,134 )
                Net loss per share - basic and diluted:                      $            (10.68 )   $            0.35     $           (11.03 )

                                                                           F-15
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 166 of 426 PageID #: 3139

                                                                                              Impact of Topic 606 adoption on
                                                                                           consolidated statement of cash flows
                                                                                     for the twelve months ended December 31, 2018
                                                                                                                               Balances
                                                                                                                                without
                                                                               As reported under                              adoption of
                (in thousands)                                                     Topic 606            Adjustments            Topic 606
                 Net loss                                                       $          (555,625 ) $             18,509     $        (574,134 )
                 Changes in deferred revenue                                    $           (41,872 ) $            (18,509 ) $           (23,363 )
    The most significant change above relates to the Company’s collaboration revenue, which to date has been primarily generated from its collaboration
arrangement with Celgene. Under ASC 605, the Company accounted for contract modifications to the Celgene collaboration as they occurred and the
accounting for those changes was prospective in nature. Through the application of the practical expedient discussed above in connection with the
adoption of Topic 606, the Company reflected the aggregate effect of all modifications to the Celgene collaboration when identifying the satisfied and
unsatisfied performance obligations, determining the transaction price, and allocating the transaction price. As a result, although the performance
obligations identified under Topic 606 were generally consistent with the units of account identified under ASC 605, the timing of the allocation of the
transaction price to the identified performance obligations under Topic 606 differed from the allocations of consideration under ASC 605. Accordingly,
the transaction price ultimately allocated to each performance obligation under Topic 606 differed from the amounts allocated under ASC 605.
    As a result of adopting Topic 606, the Company established a deferred revenue deferred tax asset, and an offsetting valuation allowance, of $7.9
million through its accumulated deficit given it is not more likely than not that the deferred tax asset will be realized due to historical and expected future
losses, such that there was no tax impact on the Company’s consolidated financial statements as a result of adopting Topic 606.


   ASU 2016-15, Statement of Cash Flows: Classification of Certain Cash Receipts and Cash Payments
    In August 2016, the FASB issued ASU 2016-15, Statement of Cash Flows: Classification of Certain Cash Receipts and Cash Payments (“Topic
230”). The new standard clarifies certain aspects of the statement of cash flows, including the classification of contingent consideration payments made
after a business combination and several other clarifications not currently applicable to the Company. The new standard also clarifies that an entity
should determine each separately identifiable source or use within the cash receipts and cash payments on the basis of the nature of the underlying cash
flows. In situations in which cash receipts and payments have aspects of more than one class of cash flows and cannot be separated by source or use,
the appropriate classification should depend on the activity that is likely to be the predominant source or use of cash flows for the item. The new
standard was effective for the Company on January 1, 2018. The adoption of this standard did not have a material impact on the Company’s consolidated
statements of cash flows upon adoption.


   ASU 2016-18, Statement of Cash Flows: Restricted Cash
    In November 2016, the FASB issued ASU 2016-18, Statement of Cash Flows: Restricted Cash (“ASU 2016-18”). The amendments in this update
require that amounts generally described as restricted cash and restricted cash equivalents be included within cash and cash equivalents when
reconciling the beginning-of-period and end-of-period total amounts shown on the statement of cash flows. ASU 2016-18 was effective January 1, 2018.
As a result of adopting ASU 2016-18, the Company includes its restricted cash balance in the cash, cash equivalents and restricted cash reconciliation of
operating, investing and financing activities. The following table provides a reconciliation of cash, cash equivalents, and restricted cash within the
statement of financial position that sum to the total of the same such amounts shown in the statement of cash flows:
                (in thousands)                                                                               As of December 31,
                                                                                                2018                2017              2016
                Cash and cash equivalents                                                  $      402,579      $     758,505      $    278,887
                Restricted cash included in receivables and other current assets                      364                  -               627
                Restricted cash included in restricted cash and other
                non-current assets                                                                  14,156            13,763            13,763
                Total cash, cash equivalents, and restricted cash shown in the
                statement of cash flows                                                    $      417,099      $     772,268      $    293,277

                                                                             F-16
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 167 of 426 PageID #: 3140


   ASU 2017-09, Compensation - Stock Compensation (Topic 718): Scope Modification Accounting
    In May 2017, the FASB issued ASU 2017-09, Compensation - Stock Compensation (Topic 718): Scope Modification Accounting. The new standard
is intended to reduce the diversity in practice and cost and complexity when applying the guidance in Topic 718 to a change to the terms or conditions of
a share-based payment award. The new standard was effective beginning January 1, 2018. The adoption of this standard did not have a material impact
on the Company’s financial position or results of operations upon adoption.


   ASU 2018-03, Technical Corrections and Improvements to Financial Instruments Overall (Subtopic 825-10): Recognition and Measurement of
Financial Assets and Liabilities
    In February 2018, the FASB issued ASU 2018-03, Technical Corrections and Improvements to Financial Instruments Overall (Subtopic 825-10):
Recognition and Measurement of Financial Assets and Liabilities (“ASU 2018-03”). The new standard amends the standard ASU 2016-01, Financial
Instruments Overall (Subtopic 825-10): Recognition and Measurement of Financial Assets and Financial Liabilities, which was issued by the FASB in
January 2016 and adopted by the Company effective January 1, 2018. This amendment simplifies the impairment assessment of equity investments
without readily determinable fair values by requiring a qualitative assessment to identify impairment. In addition, it requires enhanced disclosures about
investments. The Company adopted ASU 2018-03 effective July 1, 2018. The adoption of this standard did not have an impact on the Company’s
financial position or results of operations upon adoption.


   ASU 2018-07, Improvements to Nonemployee Share-Based Payment Accounting
    In June 2018, the FASB issued ASU 2018-07. The new standard simplifies the accounting for share-based payments to non-employees by aligning it
with the accounting for share-based payments to employees, with certain exceptions. The new standard will be effective beginning January 1, 2019 and
early adoption is permitted. The Company early adopted ASU 2018-07 effective July 1, 2018 using a cumulative-effect adjustment as of the date of
adoption. The impact of adopting this standard was not material.


   Not yet adopted
   ASU 2016-02, Leases and ASU 2018-11, Leases, Targeting Improvements
    In February 2016, the FASB issued ASU 2016-02, Leases, (“ASU 2016-02”), which requires a lessee to recognize assets and liabilities on the balance
sheet for most leases and changes many key definitions, including the definition of a lease. The new standard includes a short-term lease exception for
leases with a term of 12 months or less, as part of which a lessee can make an accounting policy election not to recognize lease assets and lease liabilities.
Lessees will continue to differentiate between finance leases (previously referred to as capital leases) and operating leases using classification criteria
that are substantially similar to the previous guidance.
    ASU 2016-02 will be effective beginning January 1, 2019 requiring the use of a modified retrospective transition approach applied at the beginning of
the earliest comparative period presented in the financial statements. In July 2018, the FASB issued ASU 2018-11, Leases, Targeted Improvements, (“ASU
2018-11”), which contains certain amendments to ASU 2016-02 intended to provide relief in implementing the new standard. ASU 2018-11 provides
registrants with an option to not restate comparative periods presented in the financial statements. The Company intends to elect this new transition
approach using a cumulative-effect adjustment on the effective date of the standard, for which comparative periods will be presented in accordance with
the previous guidance in ASC 840, Leases.
    The Company is currently evaluating the potential impact ASU 2016-02 may have on its financial position, results of operations, and related
footnotes. The Company expects it will elect to utilize the available package of practical expedients permitted under the transition guidance within the
new standard, which does not require the reassessment of the following: i) whether existing or expired arrangements are or contain a lease, ii) the lease
classification of existing or expired leases, and iii) whether previous initial direct costs would qualify for capitalization under the new lease standard.
Additionally, the Company expects it will make an accounting policy election to keep leases with an initial term of 12 months or less off of its balance
sheet. The Company’s assessment will include, but is not limited to, evaluating the impact that this standard has on the lease of its corporate
headquarters at 60 Binney Street in Cambridge, Massachusetts, its laboratory space in Seattle, Washington, its office space in Zug, Switzerland, its
equipment leases, and its embedded leases associated with the Company’s contract manufacturing agreements.


   ASU 2017-04, Intangibles - Goodwill and Other (Topic 350): Simplifying the Test for Goodwill Impairment
    In January 2017, the FASB issued ASU 2017-04, Intangibles - Goodwill and Other (Topic 350): Simplifying the Test for Goodwill Impairment. To
address concerns over the cost and complexity of the two-step goodwill impairment test, the amendments in this ASU remove the second step of the
test. An entity will instead apply a one-step quantitative test and record the amount of goodwill impairment as the excess of a reporting unit's carrying
amount over its fair value, not to exceed the total amount of goodwill allocated to the reporting unit. The new guidance does not amend the optional
qualitative assessment of goodwill impairment. The new standard will be effective beginning January 1, 2020 and early adoption is permitted with
measurement dates on or after January 1, 2017. The adoption of this standard is not expected to have a material impact on the Company’s financial
position or results of operations upon adoption.

                                                                            F-17
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 168 of 426 PageID #: 3141


   ASU 2017-08, Receivables - Nonrefundable Fees and Other Costs
    In April 2017, the FASB issued ASU 2017-08, Receivables - Nonrefundable Fees and Other Costs (“Subtopic 310-20”). The new standard amends
the amortization period for certain purchased callable debt securities held at a premium by shortening the amortization period for the premium to the
earliest call date. Subtopic 310-20 calls for a modified retrospective application under which a cumulative-effect adjustment will be made to retained
earnings as of the beginning of the first reporting period in which the guidance is adopted. The new standard is effective beginning January 1, 2019. The
adoption of this standard is not expected to have a material impact on the Company’s financial position or results of operations upon adoption.


   ASU 2018-02, Reclassification of Certain Tax Effects from Accumulated Other Comprehensive Income
    In February 2018, the FASB issued ASU 2018-02, Reclassification of Certain Tax Effects from Accumulated Other Comprehensive Income. The new
standard allows for a reclassification from accumulated other comprehensive income to retained earnings for stranded tax effects resulting from the Tax
Cuts and Jobs Act. The new standard will be effective beginning January 1, 2019. The adoption of this standard is not expected to have a material impact
on the Company’s financial position and results of operations upon adoption.

   ASU 2018-13, Fair Value Measurement (Topic 820): Disclosure Framework - Changes to the Disclosure Requirements for Fair Value Measurement
   In August 2018, the FASB issued ASU 2018-13, Fair Value Measurement (Topic 820): Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, (“ASU 2018-13”). The new standard removes certain disclosures, modifies certain disclosures and adds
additional disclosures related to fair value measurement. The new standard will be effective beginning January 1, 2020 and early adoption is permitted.
The Company is currently evaluating the potential impact ASU 2018-13 may have on its disclosures upon adoption.


   ASU 2018-15, Intangibles-Goodwill and Other-Internal-Use Software (Subtopic 350-40): Customer’s Accounting for Implementation Costs
Incurred in a Cloud Computing Arrangement That Is a Service Contract
    In August 2018, the FASB issued ASU 2018-15, Intangibles-Goodwill and Other-Internal-Use Software (Subtopic 350-40): Customer’s Accounting
for Implementation Costs Incurred in a Cloud Computing Arrangement That Is a Service Contract, (“ASU 2018-15”). The amendments in this update
align the requirements for capitalizing implementation costs incurred in a hosting arrangement that is a service contract with the requirements for
capitalizing implementation costs incurred to develop or obtain internal-use software (and hosting arrangements that include an internal-use software
license). The accounting for the service element of a hosting arrangement that is a service contract is not affected by the amendments in this update. The
new standard will be effective beginning January 1, 2020 and early adoption is permitted. The amendments in this update should be applied either
retrospectively or prospectively to all implementation costs incurred after the date of adoption. The Company is currently evaluating the potential impact
ASU 2018-15 may have on its financial position and results of operations upon adoption.
   ASU 2018-18, Collaborative Arrangements (Topic 808): Clarifying the Interaction between Topic 808 and Topic 606
    In November 2018, the FASB issued ASU 2018-18, Collaborative Arrangements (Topic 808): Clarifying the Interaction between Topic 808 and
Topic 606, (“ASU 2018-18”). The amendments in this update clarifies that certain transactions between collaborative arrangement participants should
be accounted for as revenue when the collaborative arrangement participant is a customer in the context of a unit of account and precludes recognizing
as revenue consideration received from a collaborative arrangement participant if the participant is not a customer. The new standard will be effective
beginning January 1, 2020 and early adoption is permitted. The Company is currently evaluating the potential impact ASU 2018-18 may have on its
financial position and results of operations upon adoption.

                                                                           F-18
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 169 of 426 PageID #: 3142


3. Marketable securities
   The following table summarizes the marketable securities held at December 31, 2018 and 2017 (in thousands):
                                                                                       Amortized          Unrealized           Unrealized
        Description                                                                    Cost / Cost          gains                losses              Fair value
        December 31, 2018
          U.S. government agency securities and treasuries                         $      1,459,649   $            963     $         (3,011 ) $        1,457,601
          Certificates of deposit                                                             9,080                  -                    -                9,080
          Equity securities                                                                  20,017              2,150                    -               22,167
            Total                                                                  $      1,488,746   $          3,113     $         (3,011 ) $        1,488,848
        December 31, 2017
          U.S. government agency securities and treasuries                         $        841,895   $                -   $         (3,579 ) $          838,316
          Certificates of deposit                                                            17,480                    1                  -               17,481
            Total                                                                  $        859,375   $                1   $         (3,579 ) $          855,797
    No available-for-sale debt securities held as of December 31, 2018 or 2017 had remaining maturities greater than three years.
4. Fair value measurements
   The following table sets forth the Company’s assets and liabilities that are measured at fair value on a recurring basis as of December 31, 2018 and
2017 (in thousands):
                                                                                                            Quoted             Significant
                                                                                                           prices in              other           Significant
                                                                                                             active            observable        unobservable
                                                                                                           markets               inputs             inputs
        Description                                                                       Total            (Level 1)            (Level 2)          (Level 3)
        December 31, 2018
          Assets:
          Cash and cash equivalents                                                $        402,579   $       348,638      $         53,941      $                -
          Marketable securities:
            U.S. government agency securities and
            treasuries                                                                    1,457,601                 -             1,457,601                       -
            Certificates of deposit                                                           9,080                 -                 9,080                       -
            Equity securities                                                                22,167            22,167                     -                       -
              Total assets                                                         $      1,891,427   $       370,805      $      1,520,622      $                -
           Liabilities:
           Contingent consideration                                                $          5,230   $                -   $                 -   $         5,230
              Total liabilities                                                    $          5,230   $                -   $                 -   $         5,230
        December 31, 2017
          Assets:
          Cash and cash equivalents                                                $        758,505   $       758,505      $                 -   $                -
          Marketable securities:
            U.S. government agency securities                                               838,316                 -              838,316                        -
            Certificates of deposit                                                          17,481                 -               17,481                        -
             Total assets                                                          $      1,614,302   $       758,505      $       855,797       $                -
           Liabilities:
           Contingent consideration                                                $          2,231   $                -   $                 -   $         2,231
              Total liabilities                                                    $          2,231   $                -   $                 -   $         2,231

Cash and cash equivalents
   The Company considers all highly liquid securities with original final maturities of 90 days or less from the date of purchase to be cash equivalents.
As of December 31, 2018, cash and cash equivalents comprise funds in cash, U.S. treasury securities, U.S. government agency securities, and money
market accounts. As of December 31, 2017, cash and cash equivalents comprise funds in cash and money market accounts.

                                                                            F-19
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 170 of 426 PageID #: 3143


Marketable securities
    The amortized cost of debt securities is adjusted for amortization of premiums and accretion of discounts to maturity. At December 31, 2018 and 2017,
the balance in the Company’s accumulated other comprehensive loss was composed primarily of activity related to the Company’s debt securities.

   The aggregate fair value of debt securities held by the Company in an unrealized loss position for less than twelve months as of December 31, 2018
and 2017 was $787.5 million and $704.1 million, respectively. As of December 31, 2018, and 2017, there were $315.3 million and $134.4 million in securities
held by the Company in an unrealized loss position for more than twelve months, respectively. The Company has the intent and ability to hold such
securities until recovery. The Company determined that there was no material change in the credit risk of the above investments. As a result, the
Company determined it did not hold any investments with an other-than-temporary impairment as of December 31, 2018 and 2017.
   The Company holds equity securities with an aggregate fair value of $22.2 million at December 31, 2018 within short-term marketable securities on its
consolidated balance sheet. The Company has recorded a $2.2 million unrealized gain during the year ended December 31, 2018 related to its equity
securities, which is included in other income (expense), net on the consolidated statements of operations and comprehensive loss.


Contingent consideration
   On June 30, 2014, the Company acquired Pregenen. In connection with the acquisition of Pregenen, the Company recorded contingent consideration
pertaining to the amounts potentially payable to Pregenen’s former equityholders. Contingent consideration is measured at fair value and is based on
significant inputs not observable in the market, which represents a Level 3 measurement within the fair value hierarchy. The valuation of contingent
consideration uses assumptions the Company believes would be made by a market participant. The Company assesses these estimates on an on-going
basis as additional data impacting the assumptions is obtained. Future changes in the fair value of contingent consideration related to updated
assumptions and estimates are recognized within the consolidated statements of operations and comprehensive loss.

    Contingent consideration may change significantly as development progresses and additional data are obtained, impacting the Company’s
assumptions regarding probabilities of successful achievement of related milestones used to estimate the fair value of the liability and the timing in which
they are expected to be achieved. In evaluating the fair value information, considerable judgment is required to interpret the market data used to develop
the estimates. The estimates of fair value may not be indicative of the amounts that could be realized in a current market exchange. Accordingly, the use
of different market assumptions and/or different valuation techniques could result in materially different fair value estimates.

   The significant unobservable inputs used in the measurement of fair value of the Company’s contingent consideration are probabilities of successful
achievement of clinical and commercial milestones, the period in which these milestones are expected to be achieved ranging from 2021 to 2028 and
discount rates ranging from 15.0% to 15.8%. Significant increases or decreases in any of these inputs would result in a significantly higher or lower fair
value measurement.

   The table below provides a roll-forward of fair value of the Company’s contingent consideration obligations which include Level 3 inputs (in
thousands):
                                                                                                      Year ended December 31,
                                                                                                       2018            2017
                        Beginning balance                                                         $         2,231   $         7,756
                           Additions                                                                            -                 -
                           Changes in fair value                                                            2,999              (525 )
                           Payments                                                                             -            (5,000 )
                        Ending balance                                                            $         5,230   $         2,231
    As of December 31, 2018 and 2017, the remaining $5.2 million, and $2.2 million, respectively, of contingent consideration obligation is reflected as a
non-current liability in the consolidated balance sheet. A $5.0 million preclinical milestone was achieved and paid to the former equityholders of Pregenen
in the year ended December 31, 2017. Please refer to Note 8, “Commitments and contingencies,” for further information.

                                                                            F-20
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 171 of 426 PageID #: 3144

5. Property, plant and equipment, net
   Property, plant and equipment, net, consists of the following (in thousands):
                                                                                                          As of December 31,
                                                                                                        2018             2017
                        Land                                                                     $          1,210 $           1,210
                        Building                                                                          180,094           164,414
                        Computer equipment and software                                                     6,365             5,134
                        Office equipment                                                                    5,584             4,478
                        Laboratory equipment                                                               35,693            24,914
                        Leasehold improvements                                                                183               116
                        Construction-in-progress                                                           46,669            15,189
                        Total property, plant and equipment                                               275,798           215,455
                        Less accumulated depreciation and amortization                                    (29,176 )         (15,849 )
                        Property, plant and equipment, net                                       $        246,622 $         199,606
   In November 2017, the Company acquired a manufacturing facility, which is in the process of construction, in Durham, North Carolina for the future
manufacture of lentiviral vector for the Company’s gene and cell therapies. Construction-in-progress as of December 31, 2018, and 2017, includes $40.4
million and $12.9 million related to the North Carolina manufacturing facility, respectively.

  As of December 31, 2018, and 2017, total property, plant and equipment includes $168.1 million, and $164.4 million, respectively, related to the
Company’s headquarters at 60 Binney Street in Cambridge, Massachusetts, of which $156.0 million was incurred by the landlord at both dates.

    Depreciation and amortization expense related to property, plant and equipment was $13.4 million, $9.8 million, and $5.9 million for the years ended
December 31, 2018, 2017, and 2016, respectively. Please refer to Note 8, “Commitments and contingencies,” for further information.
6. Restricted cash and other non-current assets
Restricted cash
   As of December 31, 2018, and 2017, the Company maintained letters of credit of $14.5 million, and $13.8 million, respectively, which are collateralized
with a bank account at a financial institution in accordance with the agreement and consisted of the following:
                                                                                                        As of            As of
                                                                                                     December 31,     December 31,
                        (in thousands)                                                                   2018             2017
                        60 Binney Street lease                                                    $         13,763   $        13,763
                        Other leases                                                                           757                 -
                        Total restricted cash                                                     $         14,520   $        13,763
   Subject to the terms of the 60 Binney Street Lease agreement and certain reduction requirements specified therein, including market capitalization
requirements, this amount may decrease by $1.5 million on the fourth, fifth and sixth anniversaries of the date the Company occupies the building.
Other non-current assets
   In August 2018, the Company entered into a license and collaboration agreement with a third-party collaborator and paid a non-refundable, non-
creditable upfront payment of $20.0 million, $14.5 million of which was recorded as prepaid research and development services and the remaining $5.5
million of which was expensed within research and development expense in the third quarter of 2018, as this payment represented an access fee for
technology that has no clear alternate future use under ASC 730-10, Research and Development. The prepaid research and development services will be
recognized over a five-year term based on the proportion of effort incurred by the third-party collaborator as a percentage of total effort expected to be
expended. The prepaid research and development services balance is included in receivables and other current assets and restricted cash and other non-
current assets in the consolidated balance sheet as of December 31, 2018.

                                                                            F-21
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 172 of 426 PageID #: 3145


7. Accrued expenses and other current liabilities
   Accrued expenses and other current liabilities consist of the following (in thousands):
                                                                                                         As of December 31,
                                                                                                       2018             2017
                        Employee compensation                                                     $        28,567    $       19,657
                        Accrued manufacturing costs                                                        21,618             8,480
                        Accrued clinical and contract research organization costs                          11,891             8,082
                        Accrued license and milestone fees                                                  7,739             4,584
                        Accrued professional fees                                                           1,830             1,402
                        Other accrued goods and services                                                   25,051            12,971
                        Financing lease obligation, current portion                                         1,424             1,051
                        Other                                                                               1,273               838
                           Total accrued expenses and other current
                           liabilities                                                            $        99,393    $       57,065

8. Commitments and contingencies
Operating lease commitments
    On June 3, 2016, the Company entered into a manufacturing agreement for the future commercial production of the Company’s Lenti-D and
LentiGlobin product candidates with a contract manufacturing organization. Under this 12 year agreement, the contract manufacturing organization will
complete the design, construction, validation and process validation of the leased suites prior to anticipated commercial launch of the product
candidates. During construction, the Company was required to pay $12.5 million upon the achievement of certain contractual milestones, and may pay up
to $8.0 million in additional contractual milestones if the Company elects its option to lease additional suites. The Company paid $5.0 million for the
achievement of the first and second contractual milestones during 2016 and paid $5.5 million for the third and fourth contractual milestones achieved
during 2017. In March 2018, $1.5 million of the possible $2.0 million related to the fifth contractual milestone was achieved and was paid in the second
quarter of 2018. Given that construction was completed in March 2018, beginning in April 2018 the Company will pay $5.1 million per year in fixed suite
fees as well as certain fixed labor, raw materials, testing and shipping costs for manufacturing services, and may pay additional suite fees if it elects its
option to reserve or lease additional suites. The Company may terminate this agreement at any time upon payment of a one-time termination fee and up to
24 months of fixed suite and labor fees. The Company concluded that this agreement contains an embedded lease as the suites are designated for the
Company’s exclusive use during the term of the agreement. The Company concluded that it is not the deemed owner during construction nor is it a
capital lease under ASC 840-10, Leases - Overall. As a result, the Company accounts for the agreement as an operating lease and expenses the rental
payments on a straight-line basis over the non-cancellable term of the embedded lease.
    On November 18, 2016, the Company entered into an agreement for future clinical and commercial production of the Company’s LentiGlobin and
Lenti-D gene therapy drug products with a contract manufacturing organization at an existing facility. The term of the agreement is five years with a three
year renewal at the mutual option of each party. Under the agreement, the Company is required to pay an up-front fee of €3.0 million, €2.0 million of which
was paid in the fourth quarter of 2016 and €1.0 million of which was paid in the third quarter of 2018, and annual maintenance and production fees of up
to €9.8 million, depending on its production needs. The Company may terminate this agreement with twelve months’ notice and a one-time termination
fee. The Company concluded that this agreement contains an embedded lease as the clean rooms are designated for the Company’s exclusive use during
the term of the agreement and determined that it is not a capital lease under ASC 840-10, Leases - Overall. As a result, the Company accounts for the
agreement as an operating lease and expenses the rental payments on a straight-line basis over the non-cancellable term of the embedded lease.

                                                                            F-22
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 173 of 426 PageID #: 3146


60 Binney Street Lease commitments
    On September 21, 2015, the Company entered into a lease agreement for office and laboratory space located in a building (the “Building”) at 60 Binney
Street, Cambridge, Massachusetts (the “60 Binney Street Lease”) to become its new corporate headquarters. Under the terms of the 60 Binney Street
Lease, starting on October 1, 2016, the Company leases approximately 253,108 square feet of office and laboratory space at $72.50 per square foot per
year, or $18.4 million per year in base rent, which is subject to scheduled annual rent increases of 1.75% plus certain operating expenses and taxes. The
Company also executed a $9.2 million letter of credit upon signing the 60 Binney Street Lease, which was required to be collateralized with a bank account
at a financial institution in accordance with the 60 Binney Street Lease agreement. This letter of credit was increased to $13.8 million during the third
quarter of 2016 as required under the terms of the lease. Subject to the terms of the lease and certain reduction requirements specified therein, including
market capitalization requirements, this amount may decrease back to $9.2 million over time. The 60 Binney Street Lease will continue until March 31,
2027. Pursuant to a work letter entered into in connection with the 60 Binney Street Lease, the landlord will contribute an aggregate of $42.4 million
toward the cost of construction and tenant improvements for the Building. The purpose of the 60 Binney Street Lease was to replace the Company’s
previously leased premises at 150 Second Street and 215 First Street in Cambridge, Massachusetts, both of which were fully exited in the first half of 2017.
The Company has the option to extend the 60 Binney Street Lease for two successive five-year terms. The Company occupied the Building beginning on
March 27, 2017.

    Because the Company is involved in the construction project, including having responsibility to pay for a portion of the costs of finish work and
mechanical, electrical, and plumbing elements of the Building, among other items, the Company is deemed for accounting purposes to be the owner of the
Building during the construction period. Accordingly, construction costs that have been incurred by the landlord directly or indirectly through
reimbursement to the Company as part of its tenant improvement allowance have been recorded as an asset in “Property, plant and equipment, net” with
a related financing obligation in “Accrued expenses and other current liabilities” and “Financing lease obligation, net of current portion” on the
Company’s consolidated balance sheets. Tenant improvement costs that are reimbursable by the landlord and have not yet been paid to the Company are
recorded in “Tenant improvements receivable” on the Company’s consolidated balance sheets. Tenant improvement costs that are not reimbursable by
the landlord are recorded in “Property, plant and equipment, net” on the Company’s consolidated balance sheets.

    The Company evaluated the 60 Binney Street Lease upon occupancy on March 27, 2017 and determined that the 60 Binney Street Lease did not meet
the criteria for “sale-leaseback” treatment. This determination was based on, among other things, the Company's continuing involvement with the
property in the form of non-recourse financing to the lessor. Accordingly, upon occupancy, the Company commenced depreciating the portion of the
building in service over a useful life of 40 years and incurred interest expense related to the financing obligation of $15.5 million, and $11.4 million, for the
years ended December 31, 2018 and 2017, respectively. The Company made $1.0 million and $0.6 million in principal payments, which are included in
operating expense, for the years ended December 31, 2018 and 2017, respectively.

    The Company bifurcates its lease payments pursuant to the 60 Binney Street Lease into (i) a portion that is allocated to the Building and (ii) a portion
that is allocated to the land on which the Building is located, which is recorded as rental expense. The Company began making lease payments pursuant
to the 60 Binney Street Lease in March 2017. The portion of the lease obligation allocated to the land is treated for accounting purposes as an operating
lease that commenced upon execution of the 60 Binney Street Lease in September 2015. During the years ended December 31, 2018, 2017 and 2016, the
Company recognized $1.9 million, $1.9 million, and $1.9 million of rental expense attributable to the land, respectively.

      As of December 31, 2018, future minimum commitments under the 60 Binney Street Lease and facility operating leases were as follows (in thousands):
                                                                                                                   Other
                                                                                              60 Binney          operating         Total lease
                  Years ended December 31,                                                   Street lease        leases (1)       commitments
                  2019                                                                   $        18,974 $         17,511 $        36,485
                  2020                                                                            19,306           18,727          38,033
                  2021                                                                            19,643           18,777          38,420
                  2022                                                                            19,987           13,332          33,319
                  2023                                                                            20,337           13,384          33,721
                  2024 and thereafter                                                             68,551           29,313          97,864
                  Total minimum lease payments                                           $       166,798 $        111,044 $       277,842
(1)    Includes the lease of the Company’s lab and office space in Seattle, Washington, office space in Zug, Switzerland and two embedded operating
       leases at contract manufacturing organizations.

                                                                              F-23
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 174 of 426 PageID #: 3147

   For the 60 Binney Street Lease, the table above sets forth the future minimum rental payments that the Company is obligated to pay, including
amounts reflected on the consolidated balance sheet as part of the balance under the caption “Accrued expenses and other current liabilities” and
“Financing lease obligation, net of current portion.” The Company commenced rental payments in April 2017.

   Rent expense is calculated on a straight-line basis over the term of the lease. Rent expense recognized under all leases, including additional rent
charges for utilities, parking, maintenance, and real estate taxes, and including rental expense attributable to the 60 Binney Street Lease land was $9.8
million, $9.0 million, and $8.3 million for the years ended December 31, 2018, 2017 and 2016, respectively.


Contingent consideration related to business combinations
    On June 30, 2014, the Company acquired Pregenen. During 2017, one milestone under the Stock Purchase Agreement was achieved, which resulted in
a $5.0 million payment to the former equityholders of Pregenen during 2017. During 2016, two milestones were achieved, which resulted in a $5.0 million
payment to the former equityholders of Pregenen. The Company may be required to make up to an additional $120.0 million in remaining future
contingent cash payments to the former equityholders of Pregenen upon the achievement of certain clinical and commercial milestones related to the
Pregenen technology, of which $20.1 million relates to clinical milestones and $99.9 million relates to commercial milestones. In accordance with
accounting guidance for business combinations, contingent consideration liabilities are required to be recognized on the consolidated balance sheets at
fair value. Estimating the fair value of contingent consideration requires the use of significant assumptions primarily relating to probabilities of
successful achievement of certain clinical and commercial milestones, the expected timing in which these milestones will be achieved and discount rates.
The use of different assumptions could result in materially different estimates of fair value. See Note 4, “Fair value measurements,” for additional
information.


Other funding commitments
    The Company is party to various agreements, principally relating to licensed technology, that require future payments relating to milestones not met
at December 31, 2018 and December 31, 2017 or royalties on future sales of specified products, which includes the collaboration agreement entered into
with Regeneron Pharmaceuticals, Inc. (“Regeneron”) during the year ended December 31, 2018. Additionally, the Company is party to various contracts
with contract research organizations and contract manufacturers that generally provide for termination on notice, with the exact amounts in the event of
termination to be based on the timing of the termination and the terms of the agreement. Please refer to Note 10, “Collaborative Arrangements,” for
further information on the collaboration agreement with Regeneron.

   Based on our development plans as of December 31, 2018, we may be obligated to make future development, regulatory and commercial milestone
payments and royalty payments on future sales of specified products associated with our collaboration and license agreements. Payments under these
agreements generally become due and payable upon achievement of such milestones or sales. When the achievement of these milestones or sales have
not occurred, such contingencies are not recorded in the Company’s financial statements and are excluded from the table below.

   The Company has various manufacturing development and license agreements to support clinical and commercial product needs. The Company
incurred $44.0 million of expense related to these agreements in 2018. The following table presents non-cancelable contractual obligations arising from
these arrangements:
                                                                                                                              Purchase
                Years ended December 31,                                                                                    commitment
                2019                                                                                                   $              69,827
                2020                                                                                                                  74,529
                2021                                                                                                                  14,358
                2022                                                                                                                  24,311
                2023                                                                                                                  25,040
                2024 and thereafter                                                                                                   25,792
                Total purchase commitments                                                                             $             233,857

                                                                            F-24
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 175 of 426 PageID #: 3148

   The Company enters into standard indemnification agreements in the ordinary course of business. Pursuant to the agreements, the Company
indemnifies, holds harmless, and agrees to reimburse the indemnified party for losses suffered or incurred by the indemnified party, generally the
Company’s business partners. The term of these indemnification agreements is generally perpetual any time after execution of the agreement. The
maximum potential amount of future payments the Company could be required to make under these indemnification agreements is unlimited. The
Company has never incurred costs to defend lawsuits or settle claims related to these indemnification agreements.

9. Common stock and preferred stock
   The Company is authorized to issue 125.0 million shares of common stock. Holders of common stock are entitled to one vote per share. Holders of
common stock are entitled to receive dividends, if and when declared by the Company’s Board of Directors, and to share ratably in the Company’s assets
legally available for distribution to the Company’s shareholders in the event of liquidation. Holders of common stock have no preemptive, subscription,
redemption or conversion rights. As of December 31, 2018, and 2017, the Company had 54.7 million and 49.4 million shares of common stock issued and
outstanding, respectively.

   In December 2016, the Company sold 3.3 million shares of common stock through an underwritten public offering at a price of $76.00 per share for
aggregate net proceeds of $234.7 million. In June 2017, the Company sold 4.4 million shares of common stock (inclusive of 0.6 million shares of common
stock sold by the Company pursuant to the full exercise of an overallotment option granted to the underwriters in connection with the offering) through
an underwritten public offering at a price of $105.00 per share for aggregate net proceeds of $436.8 million. In December 2017, the Company sold 3.2
million shares of common stock (excluding any shares sold pursuant to an overallotment option granted to the underwriters in connection with the
offering) through an underwritten public offering at a price of $185.00 per share for aggregate net proceeds of $569.8 million.

    In January 2018, the Company sold 0.3 million shares of common stock pursuant to the partial exercise of an overallotment option granted to the
underwriters in connection with the December 2017 underwritten public offering at a price of $185.00 per share for aggregate net proceeds of $48.7 million.
In July 2018, the Company sold 3.9 million shares of common stock (excluding any shares sold pursuant to an overallotment option granted to the
underwriters in connection with the offering) through an underwritten public offering at a price of $162.50 per share for aggregate net proceeds of $600.6
million. In August 2018, the Company sold 0.4 million shares of common stock to Regeneron in connection with a collaboration arrangement at a price of
$238.10 per share for aggregate net proceeds of $100.0 million, of which $45.5 million was attributed to a prepayment of joint research activities.

    The Company is authorized to issue 5.0 million shares of preferred stock in one or more series and to fix the powers, designations, preferences and
relative participating option or other rights thereof, including dividend rights, conversion rights, voting rights, redemption terms, liquidation preferences
and the number of shares constituting any series, without any further vote or action by the Company’s shareholders. As of December 31, 2018 and 2017,
the Company had no shares of preferred stock issued or outstanding.


Reserved for future issuance
   The Company has reserved for future issuance the following number of shares of common stock (in thousands):
                                                                                                     As of December 31,
                                                                                                     2018         2017
                                Options to purchase common stock                                         4,643          3,755
                                Restricted stock units                                                     931            477
                                2013 Stock Option and Incentive Plan                                     1,458          1,550
                                2013 Employee Stock Purchase Plan                                          172            188
                                                                                                         7,204          5,970
10. Collaborative arrangements
   To date, the Company’s collaboration revenue has been generated from its collaboration arrangement with Celgene, which was originally entered into
in March 2013 and was subsequently amended in June 2015, and from its collaboration arrangement with Regeneron, as further described below.

                                                                            F-25
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 176 of 426 PageID #: 3149


Celgene
   Celgene Original Collaboration Agreement
   On March 19, 2013, the Company entered into a Master Collaboration Agreement (the “Celgene Collaboration Agreement”) with Celgene to discover,
develop and commercialize potentially disease-altering gene therapies in oncology. The collaboration is focused on applying gene therapy technology to
genetically modify a patient’s own T cells, known as chimeric antigen receptor, or CAR T cells, to target and destroy cancer cells. Additionally, on March
19, 2013, the Company entered into a Platform Technology Sublicense Agreement (the “Sublicense Agreement”) with Celgene pursuant to which the
Company obtained a sublicense to certain intellectual property from Celgene, originating under Celgene’s license from Baylor College of Medicine, for
use in the collaboration.

    Under the terms of the Celgene Collaboration Agreement, the Company received a $75.0 million up-front, non-refundable cash payment. The
Company was responsible for conducting discovery, research and development activities through completion of phase 1 clinical studies, if any, during
the initial term of the Celgene Collaboration Agreement, or three years. The collaboration is governed by a joint steering committee (“JSC”) formed by an
equal number of representatives from the Company and Celgene. The JSC, among other activities, reviews the collaboration program, reviews and
evaluates product candidates and approves regulatory plans. In addition to the JSC, the Celgene Collaboration Agreement provides that the Company
and Celgene each appoint representatives to a patent committee, which is responsible for managing the intellectual property developed and used during
the collaboration.


   Celgene Amended Collaboration Agreement
    On June 3, 2015, the Company and Celgene amended and restated the Collaboration Agreement (the “Amended Celgene Collaboration Agreement”).
Under the Amended Celgene Collaboration Agreement, the parties narrowed the focus of the collaboration to exclusively work on anti- B-cell maturation
antigen (“BCMA”) product candidates for a new three-year term. In connection with the Amended Celgene Collaboration Agreement, the Company
received an up-front, one-time, non-refundable, non-creditable payment of $25.0 million to fund research and development under the collaboration. The
collaboration will continue to be governed by the JSC. Under the terms of the Amended Celgene Collaboration Agreement, for up to two product
candidates selected for development under the collaboration, the Company is responsible for conducting and funding all research and development
activities performed up through completion of the initial phase 1 clinical study of such product candidates.

   On a product candidate-by-product candidate basis, up through a specified period following enrollment of the first patient in an initial phase 1 clinical
study for such product candidate (the “Option Period”), the Company has granted Celgene an option to obtain an exclusive worldwide license to
develop and commercialize such product. Following Celgene’s license of each product candidate, the Company is entitled to elect to co-develop and co-
promote each product candidate in the U.S.


   Celgene bb2121 License Agreement
    On February 10, 2016, Celgene exercised its option to obtain an exclusive worldwide license to develop and commercialize bb2121, the first product
candidate under the Amended Celgene Collaboration Agreement, pursuant to an executed license agreement (“bb2121 License Agreement”) entered into by
the parties on February 16, 2016 and paid the associated $10.0 million option fee. Pursuant to the bb2121 License Agreement, Celgene is responsible for
development and related funding of bb2121 after the substantial completion of the phase 1 clinical trial. The Company is responsible for the manufacture of
vector and associated payload throughout development and upon Celgene’s request, commercialization, the costs of which are reimbursed by Celgene in
accordance with the terms of the Amended and Restated Co-Development, Co-Promote and Profit Share Agreement, as further described below. Celgene is
responsible for the manufacture of drug product throughout development and commercialization.
   Celgene bb2121 Co-Development, Co-Promote and Profit Share Agreement
    On March 28, 2018, the Company elected to co-develop and co-promote bb2121 within the U.S. pursuant to the execution of the Amended and Restated
Co-Development, Co-Promote and Profit Share Agreement (“bb2121 CCPS”). The responsibilities of the parties remain unchanged from those under the
bb2121 License Agreement, however, the Company will share equally in all profits and losses relating to developing, commercializing and manufacturing
bb2121 within the U.S. and has the right to participate in the development and promotion of bb2121 in the U.S. Celgene is responsible for the costs incurred
to manufacture vector and associated payload for use outside of the U.S., plus a markup. Under the bb2121 CCPS, the Company may receive up to $70.0
million in development milestone payments for the first indication to be addressed by the bb2121 product candidate, with the ability to obtain additional
milestone payments for a second indication and modified licensed products. In addition, to the extent bb2121 is commercialized, the Company is entitled to
receive tiered royalty payments ranging from the mid-single digits to low-teens based on a percentage of net sales generated outside of the U.S., subject to
certain reductions.

                                                                            F-26
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 177 of 426 PageID #: 3150


   Celgene bb21217 License Agreement
    On September 22, 2017, Celgene exercised its option to obtain an exclusive worldwide license to develop and commercialize bb21217, the second
product candidate under the Amended Celgene Collaboration Agreement, pursuant to an executed license agreement (“bb21217 License Agreement”)
entered into by the parties on September 28, 2017 and paid the Company an option fee of $15.0 million. Pursuant to the bb21217 License Agreement,
Celgene is responsible for development and related funding of bb21217 after the substantial completion of the on-going phase 1 clinical trial. The Company
is responsible for the manufacture of vector and associated payload throughout development and, upon Celgene’s request, commercialization. Expenses
incurred by the Company are fully reimbursable by Celgene at cost plus a mark-up. Throughout both development and commercialization, Celgene is
responsible for the manufacture of drug product.

    The Company currently expects it will exercise its option to co-develop and co-promote bb21217 within the U.S. The Company’s election to co-
develop and co-promote bb21217 must be made by the substantial completion of the on-going phase 1 clinical trial of bb21217. If elected, the Company
expects the responsibilities of the parties to remain largely unchanged, however, the Company expects it will share equally in all profits and losses relating to
developing, commercializing and manufacturing bb21217 within the U.S. and to have the right to participate in the development and promotion of bb21217 in
the U.S. Celgene would be responsible for the costs incurred to manufacture vector and associated payload for use outside of the U.S., plus a markup. Under
this scenario, the Company expects to receive, per product, up to $70.0 million in development milestone payments for the first indication to be addressed
by the bb21217 product candidate, with the ability to obtain additional milestone payments for a second indication and modified licensed products. In
addition, to the extent bb21217 is commercialized, the Company would be entitled to receive tiered royalty payments ranging from the mid-single digits to
low-teens based on a percentage of net sales generated outside of the U.S., subject to certain reductions.

    In the event the Company does not exercise its option to co-develop and co-promote bb21217, the Company will receive an additional fee in the
amount of $10.0 million. Under this scenario, the Company may be eligible to receive up to $10.0 million in clinical milestone payments, up to $117.0 million
in regulatory milestone payments, and up to $78.0 million in commercial milestone payments. In addition, to the extent bb21217 is commercialized, the
Company would be entitled to receive tiered royalty payments ranging from the mid-single digits to low-teens based on a percentage of net sales, subject
to certain reductions.


   Accounting Analysis - bb2121
    The Company has elected to use a practical expedient within Topic 606 that allows entities to reflect the aggregate effect of all contract modifications
when identifying the satisfied and unsatisfied performance obligations for contracts that were modified prior to Topic 606 adoption. Celgene’s option to
in-license the first product candidate, bb2121, under the arrangement was considered a material right at the time the Amended Celgene Collaboration
Agreement was executed in June 2015 given the product candidate had been formally nominated by the JSC and that substantially all investigational new
drug application, or IND, enabling activities had been completed by that time. In making this determination, the Company also considered the option
price relative to the value of the underlying license. Celgene’s exercise of this material right in February 2016 was determined to represent a contract
modification and represents the last contract modification prior to the adoption of Topic 606. As a result, the Celgene Collaboration Agreement,
Amended Celgene Collaboration Agreement, and bb2121 CCPS are combined for accounting purposes and treated as a single arrangement. As of
February 2016, Celgene’s option to license an additional product candidate under the collaboration did not represent a material right due primarily to the
significant uncertainty regarding whether any additional product candidates would be identified under the Amended Celgene Collaboration Agreement.
Therefore, the license to the Company’s second product candidate, bb21217, which was executed in September 2017, is accounted for as a separate
contract. Refer below for discussion of the bb21217 accounting analysis.

    As of the February 2016 contract modification date, the Company concluded the arrangement contained the following promised goods and services:
(i) research and development services, (ii) a license to the first product candidate, bb2121, and (iii) manufacture of vectors and associated payload for
incorporation into bb2121 through development. The Company determined that the manufacture of commercial vector represents an option to acquire
additional goods and services that is not representative of a material right. In addition, at that time Celgene had not exercised its option to purchase any
commercial vector. Accordingly, the manufacture of commercial vector is not considered to be a performance obligation at this time.

   The Company concluded that the research and development services are distinct from the other promised goods and services under the arrangement
given that Celgene can benefit from the research and development services on their own and such services are distinct within the context of the contract.
Thus, such services are considered to be a separate performance obligation. The Company concluded that the license to bb2121 is not distinct from the
vector manufacturing services because the manufacturing is essential to the use of the license. Accordingly, these two promised goods and services are
considered a single combined performance obligation.

                                                                              F-27
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 178 of 426 PageID #: 3151


   bb2121 transaction price
    The following tables summarize the total transaction price, the allocation of the total transaction price to the identified performance obligations under
the arrangement, and the amount of the transaction price unsatisfied as of December 31, 2018:
                                                                                                          bb2121 transaction
                                                                                                              price as of
                                (in thousands)                                                            December 31, 2018
                                Up-front non-refundable payment - Celgene
                                Collaboration Agreement                                               $                75,000
                                Up-front non-refundable payment - Amended
                                Celgene Collaboration Agreement                                                        25,000
                                bb2121 license fee - bb2121 License Agreement                                          10,000
                                Estimated variable consideration                                                       85,723
                                                                                                      $               195,723
                                                                                             Allocation of
                                                                                              transaction            Transaction
                                                                                                price to           price unsatisfied
                                                                                             performance                 as of
                        (in thousands)                                                        obligations         December 31, 2018
                        bb2121 research and development services                         $             38,647    $                   -
                        bb2121 license and manufacturing services                                     157,076                   50,599
                                                                                         $            195,723    $              50,599
   The estimated variable consideration of $85.7 million relates to the estimated reimbursement from Celgene for the manufacture of vectors and
associated payload through development. The total transaction price has been allocated to the performance obligations identified based on a relative SSP
basis. The Company estimated the SSP of the license after considering potential future cash flows under the license. The Company then discounted
these probability-weighted cash flows to their present value. The Company estimated the SSP of each of the research and development services and
manufacturing services to be provided based on the Company’s estimated cost of providing the services plus an applicable profit margin commensurate
with observable market data for similar services.

    All of the clinical and regulatory milestones are fully constrained. As part of its evaluation of the constraint, the Company considered numerous
factors, including the fact that achievement of the milestones is outside the control of the Company and contingent upon the future success of clinical
trials, the licensee’s efforts, or the receipt of regulatory approval. Any consideration related to sales-based milestones (including royalties) will be
recognized when the related sales occur as these amounts have been determined to relate predominantly to the license granted to Celgene and therefore
are recognized at the later of when the performance obligation is satisfied, or the related sales occur. The Company re-evaluates the transaction price,
including its estimated variable consideration included in the transaction price and all constrained amounts, at each reporting period and as uncertain
events are resolved or other changes in circumstances occur.


   bb2121 research and development services
    The Company allocated $38.6 million of the transaction price to the research and development services. The Company satisfied this performance
obligation as the research and development services were performed. The Company determined that the period of performance of the research and
development services was three years through projected initial phase 1 clinical study substantial completion, or through May 2018. The Company
recognized revenue related to research and development services performed using an input method by calculating costs incurred at each period end
relative to total costs expected to be incurred. Although the Company fully satisfied this performance obligation during the second quarter of 2018, any
changes to the total transaction price following the completion of this performance obligation in May 2018 will be allocated to the performance
obligations under the arrangement based on a relative SSP basis and therefore the allocation of any changes to the total transaction price may impact the
revenue recognized for this performance obligation in the period of change.

                                                                            F-28
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 179 of 426 PageID #: 3152

   The following table summarizes the revenue recognized related to the bb2121 research and development services for the years ended December 31,
2018, 2017, and 2016:
                                                                                              For the years ended December 31,
                 (in thousands)                                                    2018 (1)                2017 (1)            2016 (1)
                 bb2121 research and development services
                 revenue                                                     $                5,751   $              6,208   $            6,155
                                                                             $                5,751   $              6,208   $            6,155


(1)    As noted in Note 2, “Summary of significant accounting policies and basis of presentation,” the Company adopted Topic 606 effective January 1,
       2018 using the modified retrospective transition method. Therefore, amounts disclosed in the table above pertaining to prior periods are presented
       under previous accounting guidance and are therefore not comparable to the amounts recorded in the current period under Topic 606.


      bb2121 license and manufacturing services
   The Company allocated $157.1 million of the transaction price to the combined unit of accounting which consists of the license and manufacture of
vectors and associated payload for incorporation into bb2121.

   The Company accounts for its vector manufacturing services for development in the U.S. and Celgene’s U.S. development efforts within the scope of
ASC 808 given that both parties are active participants in the activities and both parties are exposed to significant risks and rewards dependent on the
commercial success of the activities. The Company recognizes collaboration revenue for its U.S. manufacturing services by analogy to Topic 606. The
portion of Celgene’s U.S. development costs that the Company is responsible for are recognized as a reduction to its collaboration revenues, or, if in
excess of such revenues in a given quarter, the excess is recorded as research and development expense.

    Revenue recognition for the combined unit of accounting commenced during the first quarter of 2017. The Company recognizes revenue associated
with the combined unit of accounting using the proportional performance method, as the Company will satisfy this performance obligation as the
manufacturing services are performed through development. In using this method, the Company estimated its development plan for bb2121, including
expected demand from Celgene, and the costs associated with the manufacture of vectors and associated payload for incorporation into bb2121. On a
quarterly basis, the Company determines the proportion of effort incurred as a percentage of total effort it expects to expend. This ratio is applied to the
transaction price, which includes variable consideration, allocated to the combined performance obligation consisting of the bb2121 license and
manufacturing services. Management has applied significant judgment in the process of developing its budget estimates and any changes to these
estimates will be recognized in the period in which they change as a cumulative catch up.
    The following table summarizes the net collaboration revenue recognized or expense incurred related to the combined performance obligation for the
license and vector manufacturing of bb2121 in the U.S. for the years ended December 31, 2018, 2017, and 2016:
                                                                                              For the years ended December 31,
                 bb2121 license and manufacturing services - U.S.
                 (in thousands)                                                    2018 (2)               2017 (2)               2016 (2)(3)
                 ASC 808 bb2121 license and manufacturing
                 revenue - U.S. (1)                                          $                6,255   $              4,905   $                 -
                 ASC 808 bb2121 license and manufacturing
                 research and development expense - U.S. (1)                 $                8,689   $              3,037   $                 -
(1)    As noted above, the calculation of collaboration revenue or research and development expense to be recognized for the Company’s combined
       performance obligation for its license and vector manufacturing of bb2121 in the U.S. is performed on a quarterly basis. The calculation is
       independent of previous activity, which may result in fluctuations between revenue and expense recognition period over period, depending on the
       varying extent of effort performed by each party during the period.
(2)    As noted in Note 2, “Summary of significant accounting policies and basis of presentation,” the Company adopted Topic 606 effective January 1,
       2018 using the modified retrospective transition method. Therefore, amounts disclosed in the table above pertaining to prior periods are presented
       under previous accounting guidance and are therefore not comparable to the amounts recorded in the current period under Topic 606.
(3)    Revenue recognition for the bb2121 license and manufacturing services for Celgene commenced in 2017 and as such there were no amounts
       recognized in the consolidated statement of operations in 2016.

                                                                            F-29
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 180 of 426 PageID #: 3153

   Revenue related to the combined unit of accounting for its non-US license and vector manufacturing services is accounted for in accordance with
Topic 606. The following table summarizes the revenue recognized related to the combined unit of accounting for the bb2121 non-US license and vector
manufacturing services for the years ended December 31, 2018, 2017, and 2016:
                                                                                              For the years ended December 31,
                bb2121 license and manufacturing services - outside of
                U.S.
                (in thousands)                                                     2018 (1)               2017 (1)            2016 (1)(2)
               ASC 606 license and manufacturing revenue
               - outside of U.S.                                              $             35,900 $              10,372 $                 -
(1) As noted in Note 2, “Summary of significant accounting policies and basis of presentation,” the Company adopted Topic 606 effective January 1,
     2018 using the modified retrospective transition method. Therefore, amounts disclosed in the table above pertaining to prior periods are presented
     under previous accounting guidance and are therefore not comparable to the amounts recorded in the current period under Topic 606.
(2) Revenue recognition for the bb2121 license and manufacturing services for Celgene commenced in 2017 and as such there were no amounts
     recognized in the consolidated statement of operations in 2016.
   As of December 31, 2018, the aggregate amount of the transaction price allocated to the combined performance obligation, which consists of the
bb2121 license and manufacturing services, that is unsatisfied, or partially unsatisfied, is $50.6 million, which the Company expects to recognize as
revenue as manufacturing services are provided through the remaining development period which is estimated to be through 2020. As of December 31,
2018, the Company had $23.0 million of deferred revenue associated with the combined performance obligation consisting of the bb2121 license and
manufacturing services.


   Accounting Analysis - bb21217
    On September 22, 2017, Celgene exercised its option to obtain an exclusive worldwide license to develop and commercialize bb21217, the second
optioned product candidate, pursuant to the bb21217 License Agreement entered into by the parties on September 28, 2017. The bb21217 License
Agreement is considered a separate contract for accounting purposes as the option to obtain an exclusive worldwide license to develop and
commercialize bb21217, or any other product candidate, was not considered a material right to Celgene at the time the practical expedient was applied.
The Company made this evaluation after considering the significant uncertainty at that time regarding whether any additional product candidates would
be identified under the Amended Celgene Collaboration Agreement. In particular, the Company considered that bb21217 had not been formally
nominated as a product candidate under the collaboration at that time, primarily due to a lack of pre-clinical data as well as uncertainty surrounding the
ability to successfully complete various IND-enabling activities.

    At contract inception, the Company concluded that the arrangement contained the following promised goods and services: (i) research and
development services, (ii) a license to the second product candidate, bb21217, and (iii) manufacture of vectors and associated payload for incorporation
into bb21217 through development. The Company determined that the manufacture of commercial vector represents an option to acquire additional
goods and services that is not representative of a material right. In addition, at this time Celgene has not exercised its option to purchase any commercial
vector. Accordingly, the manufacture of commercial vector is not considered to be a performance obligation at this time.

    The Company concluded that the research and development services are distinct from the other promised goods and services under the arrangement
given that Celgene can benefit from the research and development services on their own and such services are distinct within the context of the contract.
Thus, such services are considered to be a separate performance obligation. Similar to bb2121, the Company concluded that the license to bb21217 is not
distinct from the vector manufacturing services because the manufacturing is essential to the use of the license. Accordingly, these two promised goods
and services are considered a single combined performance obligation.


   bb21217 transaction price
    The following tables summarize the total transaction price, the allocation of the total transaction price to the identified performance obligations under
the arrangement, and the amount of the transaction price unsatisfied as of December 31, 2018:
                                                                                                                bb21217 transaction price
                (in thousands)                                                                                   as of December 31, 2018
                bb21217 license fee - bb21217 License Agreement                                             $                         15,000
                Estimated variable consideration                                                                                      26,687
                                                                                                            $                         41,687

                                                                            F-30
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 181 of 426 PageID #: 3154

                                                                                          Allocation of transaction    Transaction price
                                                                                            price to performance        unsatisfied as of
                 (in thousands)                                                                  obligations           December 31, 2018
                 bb21217 research and development services                               $                    5,444   $             1,839
                 bb21217 license and manufacturing services                                                  36,243                36,243
                                                                                         $                   41,687   $            38,082
    The estimated variable consideration of $26.7 million relates to reimbursement from Celgene for the manufacturing services during development. The
total transaction price has been allocated to the performance obligations identified based on a relative SSP basis. The Company estimated the SSP of the
license after considering potential future cash flows under the license. The Company then discounted these probability-weighted cash flows to their
present value. The Company estimated the SSP of each of the research and development services and manufacturing services to be provided based on
the Company’s estimated cost of providing the services plus an applicable profit margin commensurate with observable market data for similar services.

    All of the clinical and regulatory milestones are fully constrained. As part of its evaluation of the constraint, the Company considered numerous
factors, including the fact that achievement of the milestones is outside the control of the Company and contingent upon the future success of its clinical
trials, the licensee’s efforts, or the receipt of regulatory approval. Any consideration related to sales-based milestones (including royalties) will be
recognized when the related sales occur as these amounts have been determined to relate predominantly to the license granted to Celgene and therefore
are recognized at the later of when the performance obligation is satisfied, or the related sales occur. The Company re-evaluates the transaction price,
including its estimated variable consideration included in the transaction price and all constrained amounts, each reporting period and as uncertain
events are resolved or other changes in circumstances occur.


      bb21217 research and development services
    The Company allocated $5.4 million of the transaction price to the research and development services. The Company will satisfy this performance
obligation as the research and development services are performed. The Company determined that the period of performance of the research and
development services was two years through projected initial phase 1 clinical study substantial completion, or through September 2019. The Company
recognizes revenue related to research and development services performed using an input method by calculating costs incurred at each period end
relative to total costs expected to be incurred.
    The following table summarizes the revenue recognized related to the bb21217 research and development services for the years ended December 31,
2018, 2017, and 2016
                                                                                            For the years ended December 31,
                 (in thousands)                                                        2018 (1)              2017 (1)        2016 (1)(2)
                 bb21217 research and development services                     $                 2,884   $            721    $             -
                 revenue
                                                                               $                 2,884 $               721 $              -
(1)    As noted in Note 2, “Summary of significant accounting policies and basis of presentation,” the Company adopted Topic 606 effective January 1,
       2018 using the modified retrospective transition method. Therefore, amounts disclosed in the table above pertaining to prior periods are presented
       under previous accounting guidance and are therefore not comparable to the amounts recorded in the current period under Topic 606.
(2)    Celgene in-licensed bb21217 in September 2017 and as such there were no amounts recognized in the consolidated statement of operations in 2016.

                                                                            F-31
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 182 of 426 PageID #: 3155

   As of December 31, 2018, the aggregate amount of the transaction price allocated to the bb21217 research and development services performance
obligation that are unsatisfied, or partially unsatisfied, and deferred is $1.8 million, which the Company expects to recognize through September 2019 as
research and development services are performed.


   bb21217 license and manufacturing services
    The Company will satisfy its performance obligation related to the manufacture of vectors and associated payload for incorporation into bb21217
through development as the bb21217 manufacturing services are performed. As of December 31, 2018, the manufacturing services for bb21217 had not
yet commenced. Therefore, no amounts have been recognized for the combined performance obligation in the consolidate statement of operations for the
years ended December 31, 2018, 2017, and 2016.

   The aggregate amount of the transaction price allocated to the combined performance obligation, which consists of the bb21217 license and
manufacturing services, is $36.2 million. The Company does not expect that recognition will begin in the next twelve months and has therefore classified
deferred revenue associated with the combined performance obligation as deferred revenue, net of current portion on its consolidated balance sheet. The
Company had $9.8 million of remaining deferred revenue as of December 31, 2018 associated with the combined performance obligation consisting of the
bb21217 license and manufacturing services.


   Contract assets and liabilities - bb2121 and bb21217
    The Company receives payments from its collaborative partners based on billing schedules established in each contract. Up-front payments and fees
are recorded as deferred revenue upon receipt or when due until such time as the Company satisfies its performance obligations under these
arrangements. A contract asset is a conditional right to consideration in exchange for goods or services that the Company has transferred to a customer.
Amounts are recorded as accounts receivable when the Company’s right to consideration is unconditional.
    The following table presents changes in the balances of the Company’s Celgene receivables and contract liabilities during the twelve months ended
December 31, 2018:
                                                                           Balance at                                         Balance at
                                                                          beginning of                                          end of
                                                                          period under                                       period under
                (in thousands)                                              Topic 606          Additions      Deductions       Topic 606
                Receivables                                           $             4,635 $          8,570 $       (6,677 ) $       6,528
                Contract liabilities:
                    Payable included in accrued expenses              $                 - $          8,031 $       (8,031 ) $           -
                    Deferred revenue                                  $            76,812 $              - $ (41,873 ) $           34,939
    The change in the receivables balance for the year ended December 31, 2018 is primarily driven by cash collected from Celgene for the amounts owed
to the Company for the satisfaction of vector manufacturing services performed under the collaboration to date. As of December 31, 2018, the Company
has a receivable given that the Company’s U.S. development costs incurred in the fourth quarter of 2018 for which Celgene is responsible are in excess of
Celgene’s U.S. development costs for which the Company is responsible.
    The decrease in deferred revenue during the year ended December 31, 2018 is primarily driven by amounts recognized for the combined performance
obligation consisting of the bb2121 license and manufacturing services. During the year ended December 31, 2018, $41.9 million of the deferred revenue
balance at the beginning of the period was released from deferred revenue, of which $32.1 million was recognized as collaboration revenue and $9.8
million was recorded as contra-research and development expense.

Regeneron
Regeneron Collaboration Agreement
    On August 3, 2018, the Company entered into a Collaboration Agreement (the “Regeneron Collaboration Agreement”) with Regeneron pursuant to
which the parties will apply their respective technology platforms to the discovery, development, and commercialization of novel immune cell therapies
for cancer. On August 24, 2018, following the completion of required regulatory reviews, the Regeneron Collaboration Agreement became effective.
Under the terms of the agreement, the parties will leverage Regeneron’s proprietary platform technologies for the discovery and characterization of fully
human antibodies, as well as T cell receptors directed against tumor-specific proteins and peptides and the Company will contribute its field-leading
expertise in gene therapy.

                                                                           F-32
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 183 of 426 PageID #: 3156


    In accordance with the Regeneron Collaboration Agreement, the parties jointly selected six initial targets and intend to equally share the costs of
research up to the point of submitting an IND application for a potential gene therapy product directed to a particular target. Additional targets may be
selected during the five-year research collaboration term as agreed to by the parties.

    Regeneron will accrue a certain number of option rights exercisable against targets as the parties reach certain milestones under the terms of the
agreement. Upon the acceptance of an IND for the first product candidate directed to a target, Regeneron will have the right to exercise an option for co-
development/co-commercialization of product candidates directed to such target on a worldwide or applicable opt-in territory basis, with certain
exceptions. Where Regeneron chooses to opt-in, the parties will share equally in the costs of development and commercialization, and will share equally
in any profits or losses therefrom in applicable opt-in territories. Outside of the applicable opt-in territories, the target becomes a licensed target and
Regeneron would be eligible to receive, with respect to any resulting product, milestone payments of up to $130.0 million per product and royalties on net
sales outside of the applicable opt-in territories at a rate ranging from the mid-single digits to low-double digits. Where Regeneron does not exercise its
option, or does not have an option to a target, the target would also become a licensed target.

   Either party may terminate a given research program directed to a particular target for convenience, and the other party may elect to continue such
research program at its expense, receiving applicable cross-licenses. The terminating party will receive licensed product royalties and milestone payments
on the potential applicable gene therapy products. Where the Company terminates a given research program for convenience, and Regeneron elects to
continue such research program, the parties will enter into a transitional services agreement. Under certain conditions, following its opt-in, Regeneron
may terminate a given collaboration program and the Company may elect to continue the development and commercialization of the applicable potential
gene therapy products as licensed products.


Regeneron Share Purchase Agreement
   A Share Purchase Agreement (“SPA”) was entered into by the parties on August 3, 2018. On August 24, 2018, the closing date of the transaction, the
Company issued Regeneron 0.4 million shares of the Company’s common stock, subject to certain restrictions, for $238.10 per share, or $100.0 million in
the aggregate. The purchase price represents $63.0 million worth of common stock plus a $37.0 million premium, which represents a collaboration research
advancement, or credit to be applied to Regeneron’s initial 50 percent funding obligation for collaboration research, after which the collaborators will
continue to fund ongoing research equally. The collaboration research advancement only applies to pre-IND research activities and is not refundable or
creditable against post-IND research activities for any programs where Regeneron exercises their opt-in rights.


Accounting analysis - Regeneron
    At the commencement of the arrangement, two units of accounting were identified, which are the issuance of 0.4 million of the Company’s common
shares and joint research activities during the five year research collaboration term. The Company determined the total transaction price to be $100.0
million, which comprises $54.5 million attributed to the equity sold to Regeneron and $45.5 million attributed to the joint research activities. In determining
the fair value of the common stock at closing, the Company considered the closing price of the common stock on the closing date of the transaction and
included a lack of marketability discount because Regeneron received shares subject to certain restrictions.

    The Company analyzed the joint research activities to assess whether they fall within the scope of ASC 808, and will reassess this throughout the life
of the arrangement based on changes in the roles and responsibilities of the parties. Based on the terms of the arrangement as outlined above, for the
collaboration research performed prior to submission of an IND application for a potential gene therapy product, both parties are deemed to be active
participants in the collaboration. Both parties are performing research and development activities and will share equally in these costs through IND.
Additionally, Regeneron and the Company are exposed to significant risks and rewards dependent on the commercial success of any product candidates
that may result from the collaboration. As such, the collaboration arrangement is deemed to be within the scope of ASC 808.
    The $45.5 million attributed to the joint research activities includes the $37.0 million creditable against amounts owed to the Company by Regeneron.
The collaboration research advancement will be reduced over time for amounts due to the Company by Regeneron as a result of the parties agreeing to
share in the costs of collaboration research equally. The remainder of the amount attributed to the joint research activities will be recognized over the
five-year research collaboration term.
    Consistent with its collaboration accounting policy, the Company will recognize collaboration revenue or research and development expense related
to the joint research activities in future periods depending on the amounts incurred by each party in a given reporting period. That is, if the Company’s
research costs incurred exceed those research costs incurred by Regeneron in a given quarter, the Company will record collaboration revenue and reduce
the original $37.0 million advance by the amount due from Regeneron until such advancement is fully utilized, after which the Company would record an
amount due from Regeneron. If Regeneron’s research costs incurred exceed those research costs incurred by the Company in a given quarter, the
Company will record research and development expense and record a liability for the amount due to Regeneron.

                                                                             F-33
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 184 of 426 PageID #: 3157

    The Company recognized approximately $1.6 million of collaboration revenue under the Regeneron Collaboration Agreement during the year ended
December 31, 2018. The Regeneron Collaboration Agreement was entered into in 2018 and as such there was no revenue recognized in 2017 or 2016.
    The Company had $44.0 million remaining collaboration research advancement as of December 31, 2018, $10.6 million of which is classified as short
term.


11. License and Royalty Revenue
Novartis Pharma AG
    On April 26, 2017, the Company entered into a worldwide license agreement with Novartis. Under the terms of the agreement, Novartis non-
exclusively licensed certain patent rights related to lentiviral vector technology to develop and commercialize CAR T cell therapies for oncology,
including Kymriah (formerly known as CTL019), Novartis’s anti-CD19 CAR T therapy. At contract inception, financial terms of the agreement included a
$7.5 million payment upon execution, $7.5 million of potential future milestone payments associated with regulatory approvals, and $1.1 million of
payments for each subsequently licensed product, as well as low single digit royalty payments on net sales of covered products. In August 2017,
Novartis received FDA approval for Kymriah and paid the Company $2.5 million as a result of the achievement of a related milestone.

   Given this arrangement is within the scope of Topic 606, the Company assessed this arrangement in accordance with Topic 606 upon transition. The
Company identified only one performance obligation, consisting of the license, which was satisfied at contract inception. Accordingly, the
nonrefundable license fee of $7.5 million was recognized as revenue upon contract execution in the second quarter of 2017 and a $2.5 million regulatory
milestone was recognized as revenue upon milestone achievement, also in the second quarter of 2017, given there were no other unsatisfied performance
obligations in the arrangement. This accounting conclusion was unchanged from its historical treatment under ASC 605. Regulatory approvals are not
within the Company’s control or the licensee’s control and are generally not considered probable of being achieved until those approvals are received.
As such, these milestones are constrained until such time as regulatory approvals are received. Because the single performance obligation was
previously satisfied, all regulatory milestones will be recognized as revenue in full in the period in which the associated milestone is achieved.

    The Company began recognizing royalty revenue from sales of Kymriah in the fourth quarter of 2017. As the license was deemed to be the
predominant item to which the royalties relate, the Company recognizes royalties from the sales of Kymriah when the related sales occur. For the year
ended December 31, 2018, the Company recognized royalty revenue of $2.2 million. During the year ended December 31, 2017, the Company recognized
license revenue of $10.0 million in connection with this arrangement, as there were no other undelivered elements in the arrangement. The Company also
recognized $0.1 million of royalty revenue in connection with this arrangement.

   The associated cost of license and royalty revenue for the year ended December 31, 2018 was $0.9 million. For the year ended December 31, 2017, the
cost of license and royalty revenue was $1.4 million.

   As noted in Note 2, “Summary of significant accounting policies and basis of presentation,” the Company adopted Topic 606 effective January 1,
2018 using the modified retrospective transition method. Therefore, amounts disclosed pertaining to prior periods are presented under previous
accounting guidance.


Orchard Therapeutics Limited (assigned by GlaxoSmithKline Intellectual Property Development Limited)
    On April 28, 2017, the Company entered into a worldwide license agreement with GlaxoSmithKline Intellectual Property Development Limited (“GSK”).
Under the terms of the agreement, GSK non-exclusively licensed certain patent rights related to lentiviral vector technology to develop and commercialize
gene therapies for Wiscott-Aldrich syndrome and metachromatic leukodystrophy, two rare genetic diseases. Financial terms of the agreement include a
nonrefundable upfront payment of $3.0 million as well as $1.3 million of potential milestone payments for each marketing authorization for each indication
in any country as well as low single digit royalties on net sales of covered products. This license agreement was assigned by GSK to Orchard
Therapeutics Limited, effective as of April 11, 2018.

                                                                           F-34
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 185 of 426 PageID #: 3158


    Given this arrangement is within the scope of Topic 606, the Company assessed this arrangement in accordance with Topic 606 upon transition and
concluded that at the date of contract inception, only one performance obligation, consisting of the license which was satisfied at contract inception,
was identified. Accordingly, the entire nonrefundable license fee of $3.0 million was recognized as revenue upon contract execution in the second quarter
of 2017 given there were no other unsatisfied performance obligations in the arrangement. This accounting conclusion was unchanged from its historical
treatment under ASC 605. Regulatory approvals are not within the Company’s control or the licensee’s control and are generally not considered probable
of being achieved until those approvals are received. As such, these milestones are constrained until such time as regulatory approvals are received.
During the year ended December 31, 2017, the Company recognized revenue of $3.0 million upon delivery of the license, as there were no other
undelivered elements in the arrangements. There was no revenue recognized under this arrangement in the year ended December 31, 2018. Because the
single performance obligation was previously satisfied, all regulatory milestones will be recognized as revenue in full in the period in which the
associated milestone is achieved.

    For the year ended December 31, 2017 the cost of license and royalty revenue was $0.1 million. Given there was no revenue recognized under this
arrangement in the year ended December 31, 2018, there was no associated cost of license and royalty revenue.

   As noted in Note 2, “Summary of significant accounting policies and basis of presentation,” the Company adopted Topic 606 effective January 1,
2018 using the modified retrospective transition method. Therefore, amounts disclosed pertaining to prior periods are presented under previous
accounting guidance.
12. Intangible assets
    The Company’s intangible assets consist entirely of developed technology, obtained through its acquisition of Pregenen, a privately-held
biotechnology company. As a result, the Company obtained gene editing and cell signaling technology with a broad range of potential therapeutic
applications. The Company considered the intangible asset acquired to be developed technology, as at the date of the acquisition it could be used the
way it was intended to be used in certain ongoing research and development activities. The gene editing platform intangible asset is being amortized to
research and development expense over its expected useful life of approximately eight years from the date of the acquisition.

    Amortization expense for the gene editing platform intangible asset was $3.8 million for each of the years ended December 31, 2018, 2017 and 2016,
respectively, and accumulated amortization as of December 31, 2018 and 2017 was $16.9 million and $13.2 million, respectively. The intangible asset will
continue to be amortized on a straight-line basis over its remaining useful life of 3.5 years.
13. Stock-based compensation
   On June 3, 2013, the Company’s board of directors adopted its 2013 Stock Option and Incentive Plan (“2013 Plan”), which was subsequently
approved by its stockholders and became effective upon the closing of the Company’s IPO on June 24, 2013. The 2013 Plan replaces the 2010 Stock
Option and Grant Plan (“2010 Plan”).

   The 2013 Plan allows for the granting of incentive stock options, non-qualified stock options, restricted stock units and restricted stock awards to the
Company’s employees, members of the board of directors, and consultants of the Company. The Company initially reserved 955,000 shares of its common
stock for the issuance of awards under the 2013 Plan. The 2013 Plan provides that the number of shares reserved and available for issuance under the
2013 Plan will automatically increase each January 1, beginning on January 1, 2014, by four percent of the outstanding number of shares of common stock
on the immediately preceding December 31 or such lesser number of shares as determined by the Company’s compensation committee. In January 2018
and January 2019, the number of common stock available for issuance under the 2013 Plan was increased by approximately 2.0 million and 2.2 million
shares, respectively, as a result of this automatic increase provision.

   Any options or awards outstanding under the Company’s previous stock option plans, including both the 2010 Plan and the Second Amended and
Restated 2002 Employee, Director and Consultant Stock Plan (“2002 Plan”), at the time of adoption of the 2013 Plan remain outstanding and effective. The
shares of common stock underlying any awards that are forfeited, canceled, repurchased, expire or are otherwise terminated (other than by exercise)
under the 2002 Plan and 2010 Plan are added to the shares of common stock available for issuance under the 2013 Plan. As of December 31, 2018, the total
number of common stock that may be issued under all plans is 1.5 million.

   The Company does not currently hold any treasury shares. Upon stock option exercise, the Company issues new shares and delivers them to the
participant.

                                                                           F-35
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 186 of 426 PageID #: 3159


Stock-based compensation expense
   The Company recognized stock-based compensation expense totaling $110.8 million, $53.3 million, and $39.8 million during the years ended December
31, 2018, 2017 and 2016, respectively. Stock-based compensation expense recognized by award type is as follows (in thousands):
                                                                                   Year ended December 31,
                                                                2018                        2017                         2016
                Stock options                         $                 83,449     $                 42,262    $                 33,966
                Restricted stock units                                  26,628                       10,495                       5,374
                Employee stock purchase plan                               759                          525                         416
                                                      $                110,836     $                 53,282    $                 39,756
    Stock-based compensation expense by classification included within the consolidated statements of operations and comprehensive loss was as
follows (in thousands):
                                                                                  Year ended December 31,
                                                                2018                       2017                          2016
                Research and development              $                    54,422    $                26,633     $                  19,690
                General and administrative                                 56,414                     26,649                        20,066
                                                         $                110,836    $                53,282     $                  39,756
    In February 2018, the Company issued restricted stock units with service and performance conditions to employees, approximately 0.2 million of
which are outstanding as of December 31, 2018 and none of which vested during the year ended December 31, 2018. Vesting of these awards is
contingent on the occurrence of a certain regulatory milestone event and fulfillment of any remaining service condition. As a result, the related
compensation cost will be first recognized as expense if and when achievement of the regulatory milestone is considered probable. These awards were
modified in the second quarter of 2018 as a result of the adoption of a broad-based employee plan. The Company did not recognize any expense during
the year ended December 31, 2018 related to these awards and may recognize up to $37.9 million in stock-based compensation expense related to these
awards upon achievement of the performance condition and subject to the service based condition.

   As of December 31, 2018, there was $199.8 million, $76.4 million and $0.1 million of unrecognized compensation expense related to unvested stock
options, restricted stock units, exclusive of those with service and performance conditions described above, and the employee stock purchase plan,
respectively, that is expected to be recognized over a weighted-average period of 2.8, 2.9, and 0.1 years.


Stock options
   The fair value of each option issued to employees was estimated at the date of grant using the Black-Scholes option pricing model with the following
weighted-average assumptions:
                                                                                 Year ended December 31,
                                                              2018                        2017                          2016
                Expected volatility                                     75.5 %                       78.1 %                       74.3 %
                Expected term (in years)                                 6.0                          6.0                          6.0
                Risk-free interest rate                                  2.7 %                        2.1 %                        1.5 %
                Expected dividend yield                                  0.0 %                        0.0 %                        0.0 %

                                                                          F-36
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 187 of 426 PageID #: 3160


      The following table summarizes the stock option activity under the Company’s equity awards plans:
                                                                                                                               Weighted-      Aggregate
                                                                                                        Weighted-                average       intrinsic
                                                                                      Shares             average               contractual     value (a)
                                                                                        (in           exercise price               life           (in
                                                                                    thousands)          per share               (in years)    thousands)
          Outstanding at December 31, 2017                                                  3,755     $             67.91
             Granted                                                                        1,602     $            185.45
             Exercised                                                                       (575 )   $             51.82
             Canceled or forfeited                                                           (139 )   $            130.93
          Outstanding at December 31, 2018                                                  4,643     $            108.56               7.5   $   110,812
          Exercisable at December 31, 2018                                                  2,200     $             64.80               6.1   $   90,785
          Vested and expected to vest at December 31, 2018                                   4,641 $          108.53                7.5 $ 110,593
(a)    The aggregate intrinsic value is calculated as the difference between the exercise price of the underlying options and the fair value of the common
       stock for the options that were in the money at December 31, 2018.

   The weighted-average fair values of options granted during 2018, 2017 and 2016 was $125.12, $62.03, and $34.22, respectively. The intrinsic value of
options exercised during the years ended December 31, 2018, 2017, and 2016, was $73.1 million, $91.0 million and $15.3 million, respectively.


Restricted stock units
      The following table summarizes the restricted stock unit activity under the Company’s equity award plans (shares in thousands):
                                                                                                                         Weighted-average
                                                                                                                            grant date
                                                                                             Shares                         fair value
                         Unvested balance at December 31, 2017                                             477       $               80.72
                           Granted                                                                         673                      192.90
                           Vested                                                                         (152 )                     86.60
                           Forfeited                                                                       (67 )                    149.02
                         Unvested balance at December 31, 2018                                             931       $              155.99
   The intrinsic value of restricted stock units vested during the years ended December 31, 2018, 2017, and 2016 was $25.5 million, $8.1 million and $5.3
million, respectively.


Employee Stock Purchase Plan
    On June 3, 2013, the Company’s board of directors adopted its 2013 Employee Stock Purchase Plan (“2013 ESPP”), which was subsequently approved
by its stockholders and became effective upon the closing of the Company’s IPO on June 24, 2013. The 2013 ESPP authorizes the initial issuance of up to
a total of 0.2 million shares of the Company’s common stock to participating employees. During the years ended December 31, 2018 and 2017, 16,026 and
20,773 shares of common stock were issued under the 2013 ESPP, respectively.
14. 401(k) Savings plan
    In 1997, the Company established a defined-contribution savings plan under Section 401(k) of the Internal Revenue Code (“the 401(k) Plan”). The
401(k) Plan covers all employees who meet defined minimum age and service requirements, and allows participants to defer a portion of their annual
compensation on a pretax basis. In March 2019, the Company expects to make contributions of approximately $2.4 million related to employee
contributions made during 2018. In March 2018, the Company made $1.5 million of contributions related to employee contributions made during 2017. The
match contribution is included in accrued expenses and other current liabilities as of December 31, 2018 and 2017. Expense related to the 401(k) Plan
totaled $2.4 million, $1.5 million, $1.0 million for the years ended December 31, 2018, 2017, and 2016, respectively.

                                                                             F-37
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 188 of 426 PageID #: 3161

15. Income taxes
   The components of loss before income taxes were as follows (in thousands):
                                                                                                     Year ended December 31,
                                                                                            2018              2017                2016
               U.S.                                                                   $      (440,473 ) $      (266,236 ) $        (210,188 )
               Foreign                                                                       (114,965 )         (69,197 )           (53,931 )
               Total                                                                  $      (555,438 ) $      (335,433 ) $        (264,119 )
   The provision for (benefit from) income taxes were as follows (in thousands):
                                                                                                     Year ended December 31,
                                                                                            2018              2017                2016
               Current:
                  Federal                                                             $              -    $           -      $              -
                  State                                                                            324              115                     -
                  Foreign                                                                          222               95                     -
               Deferred:
                  Federal                                                                          (307 )             -                  (588 )
                  State                                                                             (52 )             -                   (24 )
                  Foreign                                                                             -               -                     -
               Total income tax expense (benefit)                                     $             187 $           210      $           (612 )
   A reconciliation of income tax provision (benefit) computed at the statutory federal income tax rate to the Company’s effective income tax rate
(provision) benefit as reflected in the financial statements is as follows:
                                                                                                   Year ended December 31,
                                                                                          2018              2017                 2016
                 Federal income tax expense at statutory rate                                 21.0 %              34.0 %            34.0 %
                 State income tax, net of federal benefit                                      5.1 %               4.3 %             3.3 %
                 Permanent differences                                                         0.9 %               2.7 %            (5.3 %)
                 Research and development credit                                               6.5 %              12.8 %            15.0 %
                 Foreign differential                                                         (4.4 %)             (6.9 %)           (7.0 %)
                 Federal tax rate change                                                       0.1 %             (31.6 %)            0.0 %
                 Other                                                                        (0.1 %)             (0.8 %)            0.0 %
                 Change in valuation allowance                                               (29.1 %)            (14.6 %)          (39.9 %)
                 Effective income tax rate (expense) benefit                                   0.0 %              (0.1 %)            0.1 %
    For the years ended December 31, 2018, 2017 and 2016, the Company recognized an income tax (expense) benefit of $(0.2) million or 0.0%, $(0.2) million
or (0.1)%, and $0.6 million or 0.1%, respectively. The Company did not recognize any significant tax expense for the years ended December 31, 2018, 2017,
or 2016 as the Company was subject to a full valuation allowance.

                                                                           F-38
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 189 of 426 PageID #: 3162


   Deferred taxes are recognized for temporary differences between the basis of assets and liabilities for financial statement and income tax purposes.
The significant components of the Company’s deferred tax assets and liabilities are composed of the following (in thousands):
                                                                                                         Year ended December 31,
                                                                                                         2018             2017
                        Deferred tax assets:
                           U.S. net operating loss carryforwards (federal and state)                $        298,701 $           194,160
                           Tax credit carryforwards (federal and state)                                      167,517             131,289
                           Capitalized license fees and research and development expenses                     18,083              13,629
                           60 Binney Street lease                                                             42,059              42,025
                           Deferred revenue                                                                   21,442              12,795
                           Stock-based compensation                                                           31,858              19,519
                           Accruals and other                                                                  8,886               6,262
                        Total deferred tax assets                                                            588,546             419,679
                        Intangible assets                                                                     (3,579 )            (4,567 )
                        Fixed assets                                                                         (41,472 )           (42,062 )
                        Less valuation allowance                                                            (543,495 )          (373,050 )
                        Net deferred taxes                                                          $              - $                 -
    A valuation allowance is recorded against deferred tax assets if it is more likely than not that some or all of the deferred tax assets will not be realized.
Due to the uncertainty surrounding the realization of the favorable tax attributes in future tax returns, the Company has recorded a full valuation
allowance against the Company’s otherwise recognizable net deferred tax assets. The valuation allowance increased on a net basis by approximately
$170.4 million during the year ended December 31, 2018 due primarily to net operating losses, tax credit carryforwards, and stock-based compensation.

    As of December 31, 2018, 2017 and 2016, the Company had U.S. federal net operating loss carryforwards of approximately $1,096.7 million, $716.1
million, and $466.8 million, respectively, which may be available to offset future income tax liabilities. Of the amount as of December 31, 2018, $386.0
million will carryforward indefinitely while $710.7 million will expire at various dates through 2037. As of December 31, 2018, 2017 and 2016, the Company
also had U.S. state net operating loss carryforwards of approximately $1,082.1 million, $692.9 million, and $456.8 million, respectively, which may be
available to offset future income tax liabilities and expire at various dates through 2038. At December 31, 2016, $195.4 million and $195.4 million of federal
and state net operating losses, respectively, related to excess equity based compensation tax deductions, the benefits for which will be recorded to
additional paid-in capital when recognized through a reduction of cash taxes paid. As a result of adopting FASB ASU 2016-09 in the first quarter of 2017,
the Company recorded a cumulative-effect adjustment to retained earnings of $76.7 million to record a net deferred tax asset relative to these tax attribute
carryforwards. The deferred tax asset was offset by a corresponding adjustment to the valuation allowance.

   As of December 31, 2018, 2017 and 2016, the Company had federal research and development and orphan drug tax credit carryforwards of
approximately $156.2 million, $124.1 million, and $83.2 million, respectively, available to reduce future tax liabilities which expire at various dates through
2038. As of December 31, 2018, 2017 and 2016, the Company had state credit carryforwards of approximately $14.3 million, $9.1 million, and $6.0 million,
respectively, available to reduce future tax liabilities which expire at various dates through 2033.

    Under the provisions of the Internal Revenue Code, the net operating loss and tax credit carryforwards are subject to review and possible adjustment
by the Internal Revenue Service and state tax authorities. Net operating loss and tax credit carryforwards may become subject to an annual limitation in
the event of certain cumulative changes in the ownership interest of significant shareholders over a three-year period in excess of 50 percent, as defined
under Sections 382 and 383 of the Internal Revenue Code, respectively, as well as similar state provisions. This could limit the amount of tax attributes
that can be utilized annually to offset future taxable income or tax liabilities. The amount of the annual limitation is determined based on the value of the
Company immediately prior to the ownership change. Subsequent ownership changes may further affect the limitation in future years. The Company has
completed several financings since its inception which it believes has resulted in a change in control as defined by Sections 382 and 383 of the Internal
Revenue Code.

    During the fourth quarter of 2018, the Company completed an analysis of prior year estimates of U.S. research and development and orphan drug tax
credits for the years 2013 through 2017. The analysis resulted in an immaterial adjustment to our income tax benefit, which was offset by an adjustment to
the valuation allowance.

                                                                               F-39
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 190 of 426 PageID #: 3163


    The Company or one of its subsidiaries files income tax returns in the United States, and various state and foreign jurisdictions. The federal, state and
foreign income tax returns are generally subject to tax examinations for the tax years ended December 31, 2015 through December 31, 2017. To the extent
the Company has tax attribute carryforwards, the tax years in which the attribute was generated may still be adjusted upon examination by the Internal
Revenue Service, state or foreign tax authorities to the extent utilized in a future period.

   A reconciliation of the beginning and ending amount of unrecognized tax benefits is as follows:
                                                                                                                          Unrecognized tax
                (in thousands)                                                                                                benefits
                Balance as of December 31, 2016                                                                       $                      -
                   Increases for tax positions related to current period                                                                     -
                   Increases for tax positions related to prior periods                                                                      -
                Balance as of December 31, 2017                                                                                              -
                    Increases for tax positions related to current period                                                             3,370
                    Increases for tax positions related to prior periods                                                              8,725
                 Balance as of December 31, 2018                                                                                     12,095
    The unrecognized tax benefits at December 31, 2018, if recognized, would not affect the Company’s effective tax rate due to its full valuation
allowance position. The Company does not anticipate that the amount of existing unrecognized tax benefits will significantly increase or decrease within
the next 12 months. The Company has elected to include interest and penalties related to uncertain tax positions as a component of its provision for
income taxes. For the years ended December 31, 2018, 2017 and 2016, the Company’s accrued interest and penalties related to uncertain tax positions were
not material.
    On December 22, 2017, the Tax Cuts and Jobs Act (“TCJA”) was enacted. This law substantially amended the Internal Revenue Code and among
other things, permanently reduced the U.S. corporate income tax rate from 35% to 21%. On December 22, 2017, the SEC staff issued Staff Accounting
Bulletin No. 118, Income Tax Accounting Implications of the Tax Cuts and Jobs Act (“SAB 118”), which allows the recording of provisional amounts
during a measurement period not to extend beyond one year of the enactment date. In accordance with SAB 118, there were no material adjustments
recorded and the accounting for these changes has been completed as of December 31, 2018.
16. Net loss per share
   The following common stock equivalents were excluded from the calculation of diluted net loss per share for the periods indicated because including
them would have had an anti-dilutive effect (in thousands):
                                                                                                      Year ended December 31,
                                                                                              2018              2017               2016
                Outstanding stock options                                                         4,643             3,755             3,735
                Restricted stock units                                                              931               477               263
                ESPP shares                                                                          10                 9                11
                                                                                                  5,584             4,241             4,009

                                                                            F-40
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 191 of 426 PageID #: 3164

17. Selected quarterly financial data (unaudited)
   The following table contains quarterly financial information for 2018 and 2017. The Company believes that the following information reflects all normal
recurring adjustments necessary for a fair presentation of the information for the periods presented. The operating results for any quarter are not
necessarily indicative of results for any future period.
                                                                                                                        2018
                                                                                       First           Second          Third         Fourth
                                                                                      quarter          quarter        quarter        quarter               Total
                                                                                                        (in thousands, except per share data)
Total revenues                                                                    $     15,957     $      7,851      $     11,528     $     19,243     $     54,579
Total operating expenses                                                               132,586          156,465           161,347          176,204          626,602
Loss from operations                                                                  (116,629 )       (148,614 )        (149,819 )       (156,961 )       (572,023 )
Net loss                                                                              (115,126 )       (145,996 )        (145,480 )       (149,023 )       (555,625 )
Net loss per share applicable to common stockholders - basic and
diluted                                                                           $      (2.31 )   $       (2.91 )   $      (2.73 )   $      (2.72 )   $     (10.68 )
                                                                                                                        2017
                                                                                       First           Second          Third         Fourth
                                                                                      quarter          quarter        quarter        quarter               Total
                                                                                                        (in thousands, except per share data)
Total revenues                                                                    $      6,832     $     16,716      $      7,711     $      4,168     $     35,427
Total operating expenses                                                                76,745           84,538            85,369          120,940          367,592
Loss from operations                                                                   (69,913 )        (67,822 )         (77,658 )       (116,772 )       (332,165 )
Net loss                                                                               (68,712 )        (70,898 )         (78,805 )       (117,228 )       (335,643 )
Net loss per share applicable to common stockholders - basic and
diluted                                                                           $      (1.68 )   $       (1.73 )   $      (1.73 )   $      (2.52 )   $      (7.71 )


                                                                           F-41
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 192 of 426 PageID #: 3165

                                                                    Exhibit Index
                                                                                                      Incorporated by Reference
  Exhibit
  Number     Exhibit Title                                                            Form     File no.        Exhibit               Filing Date
    2.1     Stock Purchase Agreement by and between the Registrant and                8-K     001-35966          2.1                June 30, 2014
            Precision Genome Engineering, Inc.
    3.1     Amended and Restated Certificate of Incorporation of the                  8-K     001-35966          3.1                June 24, 2013
            Registrant
    3.2     Amended and Restated By-laws of the Registrant                            8-K     001-35966          3.2                June 24, 2013
    3.3     Amendment No. 1 to Amended and Restated By-laws of the                    8-K     001-35966          3.1              February 11, 2016
            Registrant
    4.1     Specimen Common Stock Certificate                                         S-1/A   333-188605         4.1                June 4, 2013
    4.2     Amended and Restated Investors’ Rights Agreement, dated as of July         S-1    333-188605         4.5                May 14, 2013
            23, 2012, by and among the Registrant and the Investors listed therein.
    4.3     Amendment to Amended and Restated Investors’ Rights                       10-Q    001-35966          4.6              August 12, 2014
            Agreement, dated as of July 8, 2014, by and among the Registrant
            and the Investors listed therein.
   10.1#    Second Amended and Restated 2002 Employee, Director and                    S-1    333-188605         10.1               May 14, 2013
            Consultant Plan, as amended, and forms of award agreement
            thereunder
   10.2#    2010 Stock Option and Grant Plan, as amended, and forms of award           S-1    333-188605         10.2               May 14, 2013
            agreement thereunder
   10.3#    2013 Stock Option and Incentive Plan and forms of award agreement         S-1/A   333-188605         10.3               June 4, 2013
            thereunder
   10.4     Form of Indemnification Agreement between the Registrant and               S-1    333-188605         10.4               May 14, 2013
            each of its Executive Officers and Directors
   10.5†    Patent License Agreement, dated December 11, 1996, by and                  S-1    333-188605         10.6               May 14, 2013
            between the Registrant (formerly known as Genetix Pharmaceuticals
            Inc., successor-in-interest to Innogene Pharmaceuticals Inc.) and
            Massachusetts Institute of Technology, as amended
   10.6†    Fourth Amendment to Patent License Agreement, dated October 28,           10-K    001-35966          10.7             February 22, 2017
            2016, by and between the Registrant and Massachusetts Institute
            of Technology
   10.7†    Patent and Know-How License Agreement No. 07554F30, dated May              S-1    333-188605         10.7               May 14, 2013
            14, 2009, by and between the Registrant (formerly known as Genetix
            Pharmaceuticals Inc.) and INSERM-TRANSFERT, as amended
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 193 of 426 PageID #: 3166


                                                                                                  Incorporated by Reference
  Exhibit
  Number     Exhibit Title                                                        Form      File no.       Exhibit               Filing Date
   10.8†    License Agreement, dated September 13, 2011, by and between the        S-1    333-188605         10.8               May 14, 2013
            Registrant and Institut Pasteur, as amended
   10.9†    Amendment No. 3 to License Agreement, dated September 10, 2013,       10-Q    001-35966          10.2         November 14, 2013
            by and between the Registrant and Institut Pasteur
  10.10†    Amendment No. 4 to License Agreement, dated April 1, 2015, by         10-Q    001-35966         10.10               May 6, 2015
            and between the Registrant and Institut Pasteur
  10.11†    License Agreement, dated December 7, 2011, by and between the         S-1     333-188605         10.9               May 14, 2013
            Registrant and Research Development Foundation
  10.12†    Novation Agreement, dated April 2, 2012, by and between the           S-1     333-188605        10.10               May 14, 2013
            Registrant and The Board of Trustees of the Leland Stanford Junior
            University
  10.13†    Master Collaboration Agreement by and between the Registrant          S-1     333-188605        10.11               May 14, 2013
            and Celgene Corporation, dated March 19, 2013
  10.14†    Amended and Restated Master Collaboration Agreement by and            10-Q    001-35966         10.14              August 7, 2015
            between the Registrant and Celgene Corporation, dated June 3, 2015
   10.15    Amendment No. 1 to Amended and Restated Master Collaboration          10-Q    001-35966         10.15               May 4, 2016
            Agreement by and between the Registrant and Celgene
            Corporation, dated February 17, 2016
   10.16    Amendment No. 2 to Amended and Restated Master Collaboration          10-Q    001-35966         10.17             November 1, 2017
            Agreement by and between the Registrant and Celgene
            Corporation, dated September 28, 2017
  10.17†    Amended and Restated License Agreement by and between the            10-Q/A   001-35966         10.16             November 2, 2016
            Registrant and Celgene Corporation, dated February 16, 2016
  10.18†    Amended and Restated License Agreement by and between the             10-Q    001-35966         10.19             November 1, 2017
            Registrant and Celgene Corporation, dated September 28, 2017
  10.19†    Amended and Restated Co-Development, Co-Promote and Profit            10-Q    001-35966         10.20               May 2, 2018
            Share Agreement by and between the Registrant and Celgene
            Corporation and Celgene European Investment Company LLC,
            dated March 26, 2018
  10.20†    License Agreement by and between the Registrant and Biogen Idec      10-Q/A   001-35966         10.17             November 2, 2016
            MA Inc., dated August 13, 2014
  10.21†    Letter Agreement by and between the Registrant and Biogen MA          10-Q    001-35966         10.21             November 1, 2017
            Inc., dated September 29, 2017
  10.22†    Exclusive Patent License Agreement by and between the Registrant     10-Q/A   001-35966         10.18             November 2, 2016
            and the National Institutes of Health, dated August 31, 2015
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 194 of 426 PageID #: 3167


                                                                                                   Incorporated by Reference
  Exhibit
  Number     Exhibit Title                                                     Form     File no.            Exhibit               Filing Date
   10.23†   License Agreement, dated December 23, 2015, by and between the      -           -                  -                Filed herewith
            Registrant and SIRION Biotech GmbH
  10.24†    Toll Manufacturing and Service Agreement, dated November 18,         -         -                   -                Filed herewith
            2016, by and between the Registrant and APCETH Biopharma
            GmbH
  10.25†    Clinical and Commercial Supply Agreement - Viral Vector Product,     -         -                   -                Filed herewith
            dated November 27, 2017, by and between the Registrant and SAFC
            Carlsbad, Inc.
  10.26#    Amended and Restated Employment Agreement by and between           S-1/A   333-188605            10.12               June 4, 2013
            the Registrant and Nick Leschly
  10.27#    Amended and Restated Employment Agreement by and between           S-1/A   333-188605            10.13               June 4, 2013
            the Registrant and Jeffrey T. Walsh
  10.28#    Amended and Restated Employment Agreement by and between           S-1/A   333-188605            10.15               June 4, 2013
            the Registrant and David M. Davidson, M.D.
  10.29#    Employment Agreement, dated February 3, 2014, by and between       10-Q    001-35966             10.18               May 13, 2014
            the Registrant and Jason F. Cole
  10.30#    Amendment to Employment Agreement, dated March 7, 2016, by         10-Q    001-35966             10.25               May 4, 2016
            and between the Registrant and Jason F. Cole
  10.31#    Amendment No. 2 to Employment Agreement, dated November 3,         10-K    001-35966             10.27             February 22, 2017
            2016, by and between the Registrant and Jason F. Cole
  10.32#    Employment Agreement, dated May 30, 2015, by and between the       10-Q    001-35966             10.21              August 7, 2015
            Registrant and Philip D. Gregory
  10.33#    Amendment to Employment Agreement, dated November 3, 2016,         10-K    001-35966             10.31             February 22, 2017
            by and between the Registrant and Philip D. Gregory
  10.34#    2013 Employee Stock Purchase Plan                                  S-1/A   333-188605            10.17               June 4, 2013
  10.35#    First Amendment of the Bluebird Bio, Inc. 2013 Employee Stock      10-K     001-35966            10.38             February 21, 2018
            Purchase Plan
  10.36#    Offer Letter, dated November 16, 2017, by and between the          10-K    001-35966             10.39             February 21, 2018
            Registrant and Kory Wentworth
  10.37#    Executive Cash Incentive Bonus Plan                                S-1     333-188605            10.18               May 14, 2013
  10.38#    Employment Agreement, dated December 18, 2018, by and between      8-K      001-35966             10.1             February 11, 2019
            the Registrant and William (“Chip”) Baird
  10.39†    Lease, dated September 21, 2015, by and between the Registrant     10-Q    001-35966             10.30             November 5, 2015
            and ARE-MA Region No. 40 LLC
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 195 of 426 PageID #: 3168


                                                                                                                Incorporated by Reference
    Exhibit
    Number       Exhibit Title                                                            Form          File no.          Exhibit             Filing Date
     10.40      First Amendment to Lease, dated June 21, 2016, by and between the         10-Q         001-35966           10.37             August 3, 2016
                Registrant and ARE-MA Region No. 40 LLC
     10.41      Second Amendment to Lease, dated November 14, 2016, by and                10-K         001-35966            10.44           February 22, 2017
                between the Registrant and ARE-MA Region No. 40 LLC
     21.1       Subsidiaries of the Registrant                                              -               -                 -               Filed herewith
     23.1       Consent of Ernst & Young LLP                                                -               -                 -               Filed herewith
     31.1       Certification of Principal Executive Officer pursuant to Rule 13a-          -               -                 -               Filed herewith
                14(a) or Rule 15d-14(a) of the Securities Exchange Act of 1934, as
                adopted pursuant to Section 302 of the Sarbanes-Oxley Act of 2002.
     31.2       Certification of Principal Financial Officer pursuant to Rule 13a-14(a)     -               -                 -               Filed herewith
                or Rule 15d-14(a) of the Securities Exchange Act of 1934, as adopted
                pursuant to Section 302 of the Sarbanes-Oxley Act of 2002.
     32.1       Certification of Principal Executive Officer and Principal Financial        -               -                 -            Furnished herewith
                Officer pursuant to 18 U.S.C. Section 1350, as adopted pursuant to
                Section 906 of the Sarbanes-Oxley Act of 2002.
      101       The following materials from the Company’s Annual Report on                 -               -                 -               Filed herewith
                Form 10-K for the year ended December 31, 2018, formatted in XBRL
                (eXtensible Business Reporting Language): (i) Consolidated
                Balance Sheets, (ii) Consolidated Statements of Operations and
                Comprehensive Loss, (iii) Consolidated Statements of Cash Flows
                and (iv) Notes to Consolidated Financial Statements.

†    Portions of this exhibit (indicated by asterisks) have been omitted pursuant to a request for confidential treatment and this exhibit has been
     submitted separately to the SEC.
#    Indicates a management contract or any compensatory plan, contract or arrangement.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 196 of 426 PageID #: 3169

                                                                      SIGNATURES

    Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on
its behalf by the undersigned, thereunto duly authorized.
                                                                                            bluebird bio, Inc.
                                                                                            By:     /s/ Nick Leschly
                                                                                                    Nick Leschly
                                                                                                    President, Chief Executive Officer and Director

                                                      SIGNATURES AND POWER OF ATTORNEY

   We, the undersigned directors and officers of bluebird bio, Inc. (the “Company”), hereby severally constitute and appoint Nick Leschly and Jeffrey
Walsh, and each of them singly, our true and lawful attorneys, with full power to them, and to each of them singly, to sign for us and in our names in the
capacities indicated below, any and all amendments to this Annual Report on Form 10-K, and to file or cause to be filed the same, with all exhibits thereto
and other documents in connection therewith, with the Securities and Exchange Commission, granting unto said attorneys, and each of them, full power
and authority to do and perform each and every act and thing requisite and necessary to be done in connection therewith, as fully to all intents and
purposes as each of us might or could do in person, and hereby ratifying and confirming all that said attorneys, and each of them, or their substitute or
substitutes, shall do or cause to be done by virtue of this Power of Attorney.

   Pursuant to the requirements of the Securities Exchange Act of 1934, this report has been signed below by the following persons on behalf of the
registrant and in the capacities and on the dates indicated.
                    Name                                                         Title                                                  Date
                  /s/ Nick Leschly              President, Chief Executive Officer and Director                                  February 21, 2019
                    Nick Leschly                (Principal Executive Officer and Duly Authorized Officer)
                 /s/ Jeffrey Walsh              Chief Strategy Officer                                                           February 21, 2019
                   Jeffrey Walsh                (Principal Financial Officer and Duly Authorized Officer)
               /s/ Kory Wentworth               Vice President, Finance and Treasurer                                            February 21, 2019
                 Kory Wentworth                 (Principal Accounting Officer)
                /s/ Daniel S. Lynch             Director                                                                         February 21, 2019
                  Daniel S. Lynch
         /s/ John O. Agwunobi, M.D.             Director                                                                         February 21, 2019
            John O. Agwunobi, M.D.
           /s/ Wendy L. Dixon, Ph.D.            Director                                                                         February 21, 2019
             Wendy L. Dixon, Ph.D.
        /s/ Mary Lynne Hedley, Ph.D.            Director                                                                         February 21, 2019
          Mary Lynne Hedley, Ph.D.
            /s/ James Mandell, M.D.             Director                                                                         February 21, 2019
              James Mandell, M.D.
        /s/ Douglas A. Melton, Ph.D.            Director                                                                         February 21, 2019
           Douglas A. Melton, Ph.D.
         /s/ David P. Schenkein, M.D.           Director                                                                         February 21, 2019
            David P. Schenkein, M.D.
                 /s/ Mark Vachon                Director                                                                         February 21, 2019
                    Mark Vachon
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 197 of 426 PageID #: 3170




             EXHIBIT I
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 198 of 426 PageID #: 3171




 0ÿ189233ÿÿ192526392ÿ 9
                                                                                                                                                                 ÿ
  9ÿ9ÿ ÿ! " #ÿ$  ÿÿ% ÿ&"  ÿ'9(ÿ)99ÿ9ÿ*"+,
                                     -"ÿ%9
                ./01ÿ3//456ÿ7/ÿ897ÿ6:;;/<ÿ/<ÿ=>8:?:7@ÿ7A>7ÿB:??ÿC765<D7A5<ÿ;?95;:6Eÿ;:/FCÿ8>4>;:?:7:5Cÿ7/ÿG><9=>87965ÿ46/E987Cÿ=/6ÿ8?:<:8>?ÿE505?/4G5<7ÿ><Eÿ8/GG568:>?ÿC944?@
 HIJKLMNOPQÿJSTTUÿVÿNWLXIJQÿYUHUZZ[KW\MYP\\ÿ]MLP^ZZJS_Uÿ``Qÿ`abcZZÿdefgdh_iÿdhjQÿMklUÿ[YSTiSmnÿKoWP^ÿpjiSqÿSkkjfklgiÿprgÿjslhSe
 jtgkhkuÿjvÿhpTÿw_TpÿxrjeeqÿjxkgiÿySkfvSlpf_hkuÿvSlhehpqÿhkÿNf_rSyQÿYUHUQÿprSpÿxheeÿt_jiflgÿegkphzh_Seÿzglpj_ÿvj_ÿprgÿljytSkq{TÿhkzgTphuSphjkSe
 ugkgÿSkiÿlgeeÿprg_SthgTQÿhklefihkunÿdd`b`bÿSkiÿdd`b`b|ÿvj_ÿprgÿp_gSpygkpÿjvÿyfephtegÿyqgejySÿSkiÿtjpgkphSeeqÿogkphOejdhk}ÿvj_ÿprgÿp_gSpygkp
 jvÿp_SkTvfThjkZigtgkigkpÿ~ZprSeSTTgyhSÿ[N^ÿSkiÿThlegÿlgeeÿihTgSTgU
 OjzUÿLjqÿHjjtg_Qÿ\gl_gpS_qÿjvÿHjyyg_lgÿjkqÿHjtgeSkiÿSkiÿejlSeÿtSphgkpÿSizjlSpgTÿxheeÿjhkÿlrhgvÿdefgdh_iÿYhlÿogTlreqÿhkÿSÿ_hddjkÿlfpphku
 lg_gyjkqÿSpÿprgÿb`QaaaZTmfS_gZvjjpÿvSlhehpqUÿHf__gkpeqQÿdefgdh_iÿgytejqTÿStt_jhySpgeqÿaÿTlhgkphTpTQÿgkuhkgg_TQÿySkfvSlpf_hkuÿSki
 jtg_SphjkTÿtg_TjkkgeÿSpÿprgÿvSlhehpqÿSkiÿhTÿjkÿp_Slÿpjÿu_jxÿpjÿStt_jhySpgeqÿ|aÿgytejqggTÿdqÿprgÿgkiÿjvÿ`abcU
 Ipÿdefgdh_iÿdhjQÿxgÿzhgxÿgzg_qÿSTtglpÿjvÿjf_ÿtSprÿpjÿrgethkuÿtSphgkpTÿSTÿdjprÿSÿt_hzhegugÿSkiÿSÿ_gTtjkThdhehpqUÿrhTÿhklefigTÿprgÿgtg_phTgÿprSp
 xg{zgÿtjf_giÿhkpjÿprgÿljkTp_flphjkÿSkiÿjtg_Sphjkÿjvÿjf_ÿySkfvSlpf_hkuÿvSlhehpqQÿdglSfTgÿhpÿhTÿSÿl_flhSeÿTpgtÿpjxS_iÿjf_ÿyhTThjkÿjvÿd_hkuhkuÿS
 kgxÿugkg_Sphjkÿjvÿp_gSpygkpTÿpjÿtgjtegÿehzhkuÿxhprÿTgzg_gÿugkgphlÿihTgSTgTÿSkiÿlSklg_QÿTShiÿogTlreqUÿf_ÿpgSyTÿhkÿYj_prÿHS_jehkSÿSki
 Sl_jTTÿprgÿuejdgÿS_gÿxj_hkuÿpjÿigehzg_ÿp_gSpygkpTÿprSpÿxheeÿySgÿSÿdhuÿihg_gklgÿvj_ÿSÿejpÿjvÿtSphgkpTÿSkiÿvSyhehgTUÿrhTÿhTÿxrSpÿi_hzgTÿjf_
 Sydhphjkÿpjÿd_hkuÿvjf_ÿugkgÿprg_SthgTÿvj_xS_iÿhkÿprgÿkgpÿvgxÿqgS_TU
 Yj_prÿHS_jehkSÿhTÿt_jfiÿpjÿd_hkuÿdefgdh_iÿdhj{TÿlfpphkuZgiugÿxj_ÿpjÿNf_rSyQÿOjzg_kj_ÿHjjtg_ÿTShiUÿdefgdh_iÿhTÿigzgejthkuÿp_gSpygkpTÿvj_
 igzSTpSphkuÿihTgSTgTÿprSpÿljfeiÿlrSkugÿprgÿljf_TgÿjvÿygihlhkgUÿIkiQÿxhprÿprgÿ_hSkueg{TÿrhureqZTheegiÿxj_vj_lgQÿhpÿxheeÿljkphkfgÿpjÿdgÿS
 egSig_ÿhkÿprgÿdhjpglrÿwgeiU
 defgdh_iÿdhjÿtf_lrSTgiÿprgÿvSlhehpqÿhkÿYjzgydg_ÿ`ab|UÿklgÿljytegpgiQÿprgÿljytSkqÿxheeÿrSzgÿhkzgTpgiÿyj_gÿprSkÿaÿyheehjkÿdfheihkuÿS
 xj_eiÿleSTTÿThpgÿgmfhttgiÿxhprÿyfephtegÿySkfvSlpf_hkuÿTfhpgTÿlStSdegÿjvÿt_jiflhkuÿegkphzh_Seÿzglpj_ÿ[o^UÿrgÿvSlhehpqÿSeTjÿhklefigT
 xS_grjfTgÿSkiÿmfSehpqÿljkp_jeÿpgTphkuÿeSdj_Spj_hgTUÿrgÿvSlhehpqÿljkTp_flphjkÿhTÿTfdTpSkphSeeqÿljytegpgÿSkiÿgmfhtygkpÿmfSehwlSphjkÿhT
 fkig_xSqUÿMkhphSeeqQÿdefgdh_iÿdhjÿgtglpTÿprgÿvSlhehpqÿpjÿt_jiflgÿlehkhlSeÿSkiÿljyyg_lhSeÿTftteqÿjvÿegkphzh_Seÿzglpj_QÿxrhlrÿhTÿSÿl_hphlSe
 ljytjkgkpÿjvÿprgÿljytSkq{TÿugkgÿSkiÿlgeeÿprg_SthgTUÿrgÿvSlhehpqÿhTÿeS_ugÿgkjfurÿpjÿSlljyyjiSpgÿThukhwlSkpÿvfpf_gÿgtSkThjkQÿhklefihkuÿprg
 tjTThdhehpqÿjvÿySkfvSlpf_hkuÿljyyg_lhSeÿi_fuÿt_jiflpU
 rgÿujSeÿjvÿugkgÿprg_StqÿhTÿpjÿlrSkugÿj_ÿ_gteSlgÿvSfepqÿugkgTÿxhprÿvfklphjkSeÿjkgTÿhkÿj_ig_ÿpjÿt_gzgkpQÿp_gSpÿj_ÿlf_gÿSÿihTgSTgUÿglpj_TÿS_g
 TgeglpgiÿtS_pTÿjvÿzh_fTgTÿprSpÿrSzgÿdggkÿugkgphlSeeqÿyjihwgiÿTjÿprgqÿlSkÿigehzg_ÿkgxÿugkgTÿhkpjÿlgeeTÿxhprjfpÿlSfThkuÿSkÿhkvglphjfTÿihTgSTgU
 _hj_ÿpjÿugkgÿprg_Stqÿp_gSpygkpQÿljthgTÿjvÿvfklphjkSeÿugkgTÿS_gÿSiigiÿpjÿSÿzglpj_ÿÿprgÿigehzg_qÿTqTpgyÿÿhkÿSÿeSdj_Spj_qÿTgpphkuUÿrgÿzglpj_Q
 xhprÿljthgTÿjvÿprgÿvfklphjkSeÿugkgQÿhTÿSiigiÿpjÿdejjiÿTpgyÿlgeeTÿljeeglpgiÿv_jyÿprgÿtSphgkpUÿrgÿlgeeTÿprSpÿkjxÿrSzgÿvfklphjkSeÿljthgTÿjvÿprg
 ugkgÿS_gÿ_gvg__giÿpjÿSTÿugkgZyjihwgiÿlgeeTU
 MkÿSiihphjkÿpjÿprgÿNf_rSyÿvSlhehpqQÿdefgdh_iÿdhjÿSeTjÿrSTÿyfephZqgS_ÿSu_ggygkpTÿxhprÿpr_ggÿySkfvSlpf_hkuÿtS_pkg_TÿhkÿprgÿWkhpgiÿ\pSpgTÿSki
 Pf_jtgnÿK_Syyg_ÿKhjÿ[HSyd_hiugQÿJSTTU^QÿYjzSTgtÿ[OjTTgehgTQÿKgeuhfy^ÿSkiÿJheehtj_g\huySQÿprgÿohvgÿ\lhgklgÿdfThkgTTÿjvÿJg_lÿOSI
 [HS_eTdSiQÿHSehvU^UÿPSlrÿjvÿprgTgÿtS_pkg_TÿhTÿljeeSdj_Sphkuÿxhprÿdefgdh_iÿdhjÿjkÿt_jiflphjkÿjvÿegkphzh_Seÿzglpj_ÿSl_jTTÿSeeÿt_ju_SyTUÿdefgdh_iÿdhj
 SeTjÿtS_pkg_TÿxhprÿojkSÿ[XjfTpjkQÿgST^ÿSkiÿStlgprÿKhjtrS_ySÿ[JfkhlrQÿOg_ySkq^ÿpjÿt_jiflgÿi_fuÿt_jiflpÿvj_ÿogkphZNÿSkiÿogkphOejdhkU
 defgdh_iÿxheeÿ_glghzgÿSkÿPljkjyhlÿNgzgejtygkpÿIxS_iÿv_jyÿYHKhjpglrÿftjkÿyggphkuÿjdÿl_gSphjkÿpS_ugpTÿhkÿYj_prÿHS_jehkSÿSkiÿxheeÿSeTj
 _glghzgÿehvgZTlhgklgTZTtglhwlÿgytejqggÿp_ShkhkuÿTfttj_pÿpr_jfurÿprgÿYj_prÿHS_jehkSÿHjyyfkhpqÿHjeegugÿ\qTpgy{TÿHfTpjyhgiÿ_Shkhku
 _ju_SyU
 ;/97ÿ;?95;:6Eÿ;:/ÿ<81
 defgdh_iÿdhjÿhTÿthjkgg_hkuÿugkgÿprg_Stqÿxhprÿtf_tjTgUÿ_jyÿjf_ÿHSyd_hiugQÿJSTTUQÿrgSimfS_pg_TQÿxg{_gÿigzgejthkuÿugkgÿprg_SthgTÿvj_ÿTgzg_g
 ugkgphlÿihTgSTgTÿSkiÿlSklg_QÿxhprÿprgÿujSeÿprSpÿtgjtegÿvSlhkuÿtjpgkphSeeqÿvSpSeÿljkihphjkTÿxhprÿehyhpgiÿp_gSpygkpÿjtphjkTÿlSkÿehzgÿprgh_ÿehzgT
 vfeeqUÿKgqjkiÿjf_ÿeSdTQÿxg{_gÿxj_hkuÿpjÿtjThphzgeqÿihT_ftpÿprgÿrgSeprlS_gÿTqTpgyÿpjÿl_gSpgÿSllgTTQÿp_SkTtS_gklqÿSkiÿgiflSphjkÿTjÿprSpÿugkg
 prg_StqÿlSkÿdgljygÿSzSheSdegÿpjÿSeeÿprjTgÿxrjÿlSkÿdgkgwpU
 defgdh_iÿdhjÿhTÿSÿrfySkÿljytSkqÿtjxg_giÿdqÿrfySkÿTpj_hgTUÿ]g{_gÿtfpphkuÿjf_ÿlS_gÿSkiÿgtg_phTgÿpjÿxj_ÿSl_jTTÿSÿTtglp_fyÿjvÿihTj_ig_Tÿdq
 _gTgS_lrhkuÿlg_gd_SeÿSi_gkjegfjiqTp_jtrqQÿThlegÿlgeeÿihTgSTgQÿp_SkTvfThjkZigtgkigkpÿ~ZprSeSTTgyhSÿSkiÿyfephtegÿyqgejySÿfThkuÿpr_ggÿugkg
 prg_StqÿpglrkjejuhgTnÿugkgÿSiihphjkQÿlgeeÿprg_StqÿSkiÿ[yguSIoZgkSdegi^ÿugkgÿgihphkuU
 defgdh_iÿdhjÿrSTÿSiihphjkSeÿkgTpTÿhkÿ\gSppegQÿ]STrUÿNf_rSyQÿYUHUÿSkiÿfuQÿ\xhpg_eSkiUÿj_ÿyj_gÿhkvj_ySphjkQÿzhThpÿ 99+U
 jeejxÿdefgdh_iÿdhjÿjkÿTjlhSeÿygihSnÿ 99Qÿ9 Qÿ(+ÿSkiÿ& U
 /6B>6E//:<Dÿ7>75G5<7C
  ¡¢ÿ¤¥¦¥§¢¥ÿ¨©ª«§¡ª¢ÿ¬­©¤®§¤¯°¦©©±¡ª²ÿ¢«§«¥³¥ª«¢´ÿ®¡« ¡ªÿ« ¥ÿ³¥§ª¡ª²ÿ©­ÿ« ¥ÿµ¤¡¶§«¥ÿ·¥¨¸¤¡«¡¥¢ÿ¹¡«¡²§«¡©ªÿº¥­©¤³ÿ»¨«ÿ©­ÿ¼½½¾¿ÿ¡ª¨¦¸¯¡ª²
 ¢«§«¥³¥ª«¢ÿ¤¥²§¤¯¡ª²ÿ« ¥ÿ¨©ª¢«¤¸¨«¡©ªÿ§ª¯ÿ³§ª¸­§¨«¸¤¡ª²ÿ¨§À§¨¡«Áÿ©­ÿ« ¥ÿÂ©³À§ªÁÃ¢ÿ­§¨¡¦¡«Á¿ÿ§ª¯ÿ« ¥ÿ§¯¶§ª¨¥³¥ª«ÿ©­¿ÿ§ª¯ÿ§ª«¡¨¡À§«¥¯
 ¯¥¶¥¦©À³¥ª«ÿ§ª¯ÿ¨©³³¥¤¨¡§¦¡Ä§«¡©ªÿÀ¦§ª¢ÿ­©¤¿ÿ« ¥ÿÂ©³À§ªÁÃ¢ÿÀ¤©¯¸¨«ÿ¨§ª¯¡¯§«¥¢Åÿ»ªÁÿ­©¤®§¤¯°¦©©±¡ª²ÿ¢«§«¥³¥ª«¢ÿ§¤¥ÿÆ§¢¥¯ÿ©ªÿ³§ª§²¥³¥ª«Ã¢
 ¨¸¤¤¥ª«ÿ¥ÇÀ¥¨«§«¡©ª¢ÿ©­ÿ­¸«¸¤¥ÿ¥¶¥ª«¢ÿ§ª¯ÿ§¤¥ÿ¢¸ÆÈ¥¨«ÿ«©ÿ§ÿª¸³Æ¥¤ÿ©­ÿ¤¡¢±¢ÿ§ª¯ÿ¸ª¨¥¤«§¡ª«¡¥¢ÿ« §«ÿ¨©¸¦¯ÿ¨§¸¢¥ÿ§¨«¸§¦ÿ¤¥¢¸¦«¢ÿ«©ÿ¯¡­­¥¤
 ³§«¥¤¡§¦¦Áÿ§ª¯ÿ§¯¶¥¤¢¥¦Áÿ­¤©³ÿ« ©¢¥ÿ¢¥«ÿ­©¤« ÿ¡ªÿ©¤ÿ¡³À¦¡¥¯ÿÆÁÿ¢¸¨ ÿ­©¤®§¤¯°¦©©±¡ª²ÿ¢«§«¥³¥ª«¢Åÿ ¥¢¥ÿ¤¡¢±¢ÿ§ª¯ÿ¸ª¨¥¤«§¡ª«¡¥¢ÿ¡ª¨¦¸¯¥¿ÿÆ¸«ÿ§¤¥
 ª©«¦¡³¡«¥¯ «© « ¥ ¤¡¢± « §«« ¥ ³§ª¸­§¨«¸¤¡ª² ­§¨¡¦¡«Á ®¡¦¦ª©«Æ¥ ¨©³À¦¥«¥¯ §ª¯ É¸§¦¡­¡¥¯ «© ³§ª¸­§¨«¸¤¥ ¦¥ª«¡¶¡¤§¦¶¥¨«©¤©¤¯¤¸² À¤©¯¸¨«©ª
 012ÿ4565
Case     278ÿ219ÿ2 7ÿ 5 ÿ2 2ÿ2 7ÿ602
       1:21-cv-01478-RGA                    50ÿ5452ÿ5442-1
                                         Document           4ÿ012ÿ7ÿ1647278ÿ03/11/22
                                                                      Filed    08ÿ45578ÿ21ÿPage
                                                                                                602199
                                                                                                          7ÿ47025
                                                                                                               of5426
                                                                                                                   4ÿ721PageID
                                                                                                                            ÿ1 ÿ8 ÿ 182ÿ10
                                                                                                                                       #: 3172
  2 7ÿ25674507 ÿ7ÿ025527ÿ1 ÿ2ÿ44ÿ2 7ÿ 5 ÿ2 2ÿ7ÿ 7ÿ047ÿ21ÿ 7 44ÿ17 27ÿÿ602 50ÿ5452ÿ1 ÿ45054ÿ1 ÿ1667 54
   4ÿ2 7ÿ 5 ÿ2 2ÿ2 7ÿ 745650 ÿ1 5257ÿ75ÿ08ÿ 72ÿ 7 42 ÿ 16ÿ1 ÿ 51 ÿ08ÿ10150ÿ45054ÿ2 54 ÿ1ÿ1 ÿ 182ÿ085827
  544ÿ012ÿ102507ÿ1 ÿ7ÿ 77278ÿ50ÿ1 ÿ10150ÿ1 ÿ40078ÿ45054ÿ2 54 ÿ 5 ÿ2 2ÿ2 7ÿ 702ÿ1 ÿ40078ÿ45054ÿ2 54 ÿ1ÿ1 ÿ 182
  085827 ÿ544ÿ7ÿ50 55702ÿ21ÿ 1 2ÿ2 7ÿ 7421 ÿ 65 510 ÿ1 ÿ21ÿ 1 2ÿ6 7250ÿ 14ÿ50ÿ2 7ÿÿ08ÿÿ08ÿ2 7ÿ 5 ÿ2 2
  1 ÿ 182ÿ085827 ÿ544ÿ012ÿ7ÿ 7 44ÿ87741789ÿ 178ÿ1 ÿ1667 54578ÿ1 ÿÿ85  510ÿ1ÿ12 7 ÿ 5 ÿ08ÿ07 250257 9ÿ08
  12 7 ÿ561 202ÿ21 9ÿ0ÿ1ÿ 5 ÿ148ÿ 7ÿ1 ÿ24ÿ 7 42 ÿ21ÿ857 ÿ 16ÿ2 1 7ÿ1025078ÿ50ÿ2 7ÿ1  8 411 50ÿ 2276702 9ÿ 77ÿ2 7
   72510ÿ70252478ÿ!"5 ÿ21 #ÿ50ÿ1 ÿ61 2ÿ 7702ÿ1 6ÿ$% &ÿ ÿ744ÿ ÿ85  510 ÿ1ÿ1270254ÿ 5 9ÿ07 250257 ÿ08ÿ12 7 ÿ561 202
  21 ÿ50ÿ1 ÿ  7702ÿ5450 ÿ52 ÿ2 7ÿ7 5257 ÿ08ÿ( 07ÿ)1665 510ÿ*44ÿ501 62510ÿ50ÿ2 5 ÿ 7 ÿ 747 7ÿ5 ÿ ÿ1ÿ2 7ÿ827ÿ1ÿ2 7
   747 79ÿ08ÿ475 8ÿ51ÿ087 2 7 ÿ01ÿ82ÿ21ÿ827ÿ2 5 ÿ501 62510ÿ047 ÿ 75 78ÿÿ4


  +,-.ÿ01234-ÿ5-30,16ÿ16ÿ720,6-00.,3-8419:ÿ;<<=>?@@AAABCD>EFG>>AEHGBIJK@FGA>@;JKG@LMNOMPLLMMQMRO@GF@
  S1234-:ÿ7T2-7,3Uÿ7,1VÿW648
  7T2-7,3Uÿ7,1ÿ
  W65-0X130:ÿ
  YT,Z[7-X\ÿ],6^_[6`Vÿabcdeÿfcghidjbÿ
  G=EFk=lFmnCoDGCEHpCEJBIJK
  q-U,[:ÿ
  r-66ÿS6sU-3Vÿabcdeÿggihtuicÿ
  v>FwpGHnCoDGCEHpCEJBIJK
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 200 of 426 PageID #: 3173




             EXHIBIT J
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 201 of 426 PageID #: 3174




                                                  UNITED STATES
                                      SECURITIES AND EXCHANGE COMMISSION
                                                                          Washington, DC 20549
                                                        ___________________________________________________________________________

                                                                               FORM 10-K
                                                        ___________________________________________________________________________
(Mark One)
    ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                  For the fiscal year ended December 31, 2020
                                                                                       OR
      TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                       For the transition period from to
                                                                     Commission File Number: 001-35966
                                                        ___________________________________________________________________________


                                                                   bluebird bio, Inc.
                                                          (Exact Name of Registrant as Specified in Its Charter
                                                        ___________________________________________________________________________

                                    Delaware                                                                                            XX-XXXXXXX
                            (State or Other Jurisdiction of                                                                             (IRS Employer
                           Incorporation or Organization)                                                                             Identification No.)
                            60 Binney Street
                         Cambridge, Massachusetts                                                                                          02142
                       (Address of Principal Executive Offices)                                                                           (Zip Code)

                                                                                    (339) 499-9300
                                                                  (Registrant’s Telephone Number, Including Area Code)
                                                        ___________________________________________________________________________


Securities registered pursuant to Section 12(b) of the Act:


                      Title of each class                                           Trading Symbol(s)                         Name of each exchange on which registered
             Common Stock, $0.01 par value per share                                      BLUE                                   The NASDAQ Stock Market LLC

Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒ No ¨
Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ¨ No ☒
Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the
preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the
past 90 days. Yes ☒ No ¨
Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation
S-T (§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ¨
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, smaller reporting company, or an emerging
growth company. See the definitions of “large accelerated filer”, “accelerated filer”, “smaller reporting company”, and “emerging growth company” in Rule 12b-2 of
the Exchange Act.
Large accelerated filer                                                      ☒           Accelerated filer
Non-accelerated filer                                                                    Smaller reporting company
                                                                                         Emerging growth company
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐
Indicate by check mark whether the registrant has filed a report on and attested to its management's assessment of the effectiveness of its internal control over
financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit
report. ☒
Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes ☐ No ☒
The aggregate market value of common stock held by non-affiliates of the registrant based on the closing price of the registrant’s common stock as reported on the
Nasdaq Global Select Market on June 30, 2020, the last business day of the registrant’s most recently completed second quarter, was $4,040,592,242.
As of February 18, 2021, there were 67,141,044 shares of the registrant’s common stock, par value $0.01 per share, outstanding.
                                                       DOCUMENTS INCORPORATED BY REFERENCE
Portions of the registrant’s definitive Proxy Statement relating to its 2021 Annual Meeting of Stockholders are incorporated by reference into Part III of this
Annual Report on Form 10-K where indicated. Such Proxy Statement will be filed with the U.S. Securities and Exchange Commission within 120 days after the end
of the fiscal year to which this report relates.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 202 of 426 PageID #: 3175

Table of Contents




                                                                 Table of Contents
                                                                                                                                   Page
PART I.
Item 1.             Business                                                                                                          1
Item 1A.            Risk Factors                                                                                                     38
Item 1B.            Unresolved Staff Comments                                                                                        72
Item 2.             Properties                                                                                                       72
Item 3.             Legal Proceedings                                                                                                72
Item 4.             Mine Safety Disclosures                                                                                          72
PART II.
Item 5.             Market for Registrant’s Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities     73
Item 6.             Selected Financial Data                                                                                          74
Item 7.             Management’s Discussion and Analysis of Financial Condition and Results of Operations                            75
Item 7A.            Quantitative and Qualitative Disclosures About Market Risks                                                      95
Item 8.             Financial Statements and Supplementary Data                                                                      95
Item 9.             Changes in and Disagreements with Accountants on Accounting and Financial Disclosure                             95
Item 9A.            Controls and Procedures                                                                                          95
Item 9B.            Other Information                                                                                                98
PART III.
Item 10.            Directors, Executive Officers and Corporate Governance                                                           99
Item 11.            Executive Compensation                                                                                           99
Item 12.            Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters                   99
Item 13.            Certain Relationships and Related Transactions and Director Independence                                         99
Item 14.            Principal Accountant Fees and Services                                                                           99
PART IV.
Item 15.            Exhibits and Financial Statement Schedules                                                                      100
Item 16.            Form 10-K Summary                                                                                               100
Signatures
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 203 of 426 PageID #: 3176

Table of Contents




                                                        FORWARD-LOOKING STATEMENTS

This Annual Report on Form 10-K contains forward-looking statements that involve risks and uncertainties, as well as assumptions that, if they
never materialize or prove incorrect, could cause our results to differ materially from those expressed or implied by such forward-looking statements.
We make such forward-looking statements pursuant to the safe harbor provisions of the Private Securities Litigation Reform Act of 1995 and other
federal securities laws. All statements other than statements of historical facts contained in this Annual Report on Form 10-K are forward-looking
statements. In some cases, you can identify forward-looking statements by words such as “anticipate,” “believe,” “contemplate,” “continue,”
“could,” “estimate,” “expect,” “intend,” “may,” “plan,” “potential,” “predict,” “project,” “seek,” “should,” “target,” “would,” or the negative of
these words or other comparable terminology. These forward-looking statements include, but are not limited to, statements about:
•the initiation, timing, progress and results of our preclinical and clinical studies, and our research and development programs;
•our ability to advance product candidates into, and successfully complete, clinical studies;
•our ability to advance our viral vector and drug product manufacturing capabilities, and to ensure adequate supply of our viral vectors and drug
products;
•the timing or likelihood of regulatory filings and approvals for our product candidates;
•the timing or success of commercialization of our approved product, and any future approved products;
•our ability to obtain adequate pricing and reimbursement of our approved product, and any future approved products;
•the implementation of our business model, strategic plans for our business, product candidates and technology;
•the scope of protection we are able to establish and maintain for intellectual property rights covering our approved product, product candidates
and technology;
•estimates of our expenses, future revenues, capital requirements and our needs for additional financing;
•the potential benefits of strategic collaboration agreements and our ability to enter into strategic arrangements;
•our ability to maintain and establish collaborations and licenses;
•developments relating to our competitors and our industry;
•the impact of the COVID-19 pandemic;
•the timing and results of our investigation into the cause of recent safety events in our HGB-206 clinical study, and whether there is a relationship
with the use of our lentiviral vector in the manufacture of LentiGlobin for SCD;
•the timing, effects, costs, and benefits, including the tax treatment of the planned separation of our portfolio of products and programs into two
independent, publicly-traded companies; and
•other risks and uncertainties, including those listed under Part I, Item 1A. Risk Factors.

Any forward-looking statements in this Annual Report on Form 10-K reflect our current views with respect to future events or to our future
financial performance and involve known and unknown risks, uncertainties and other factors that may cause our actual results, performance or
achievements to be materially different from any future results, performance or achievements expressed or implied by these forward-looking
statements. Factors that may cause actual results to differ materially from current expectations include, among other things, those listed under Part
I, Item 1A. Risk Factors and elsewhere in this Annual Report on Form 10-K. Given these uncertainties, you should not place undue reliance on
these forward-looking statements. Except as required by law, we assume no obligation to update or revise these forward-looking statements for any
reason, even if new information becomes available in the future.

This Annual Report on Form 10-K also contains estimates, projections and other information concerning our industry, our business, and the
markets for certain diseases, including data regarding the estimated size of those markets, and the incidence and prevalence of certain medical
conditions. Information that is based on estimates, forecasts, projections, market research or similar methodologies is inherently subject to
uncertainties and actual events or circumstances may differ materially from events and circumstances reflected in this information. Unless otherwise
expressly stated, we obtained this industry, business, market and other data from reports, research surveys, studies and similar data prepared by
market research firms and other third parties, industry, medical and general publications, government data and similar sources.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 204 of 426 PageID #: 3177

Table of Contents




                                     Summary of the Material and Other Risks Associated with Our Business

Below is a summary of the material risks to our business, operations and the investment in our common stock. This summary does not address all
of the risks that we face. Risks and uncertainties not presently known to us or that we presently deem less significant may also impair our
business operations. Additional discussion of the risks summarized in this risk factor summary, and other risks that we face, can be found below
under the heading “Risk Factors” and should be carefully considered, together with other information in this Annual Report on Form 10-K in
its entirety before making investment decisions regarding our common stock.


•The EMA has paused the renewal procedure for ZYNTEGLO's conditional marketing authorization while the EMA's pharmacovigilance risk
assessment committee reviews the risk-benefit assessment for ZYNTEGLO and determines whether any additional pharmacovigilance measures are
necessary, and we have no assurance as to what the EMA may require, or the timing, if ever, of when ZYNTEGLO may return to the market in
Europe.
•The FDA has placed our HGB-206 and HGB-210 clinical studies of LentiGlobin for SCD on clinical hold, and we have no assurance as to what the
FDA may require, or the timing, if ever, of when the clinical hold may be lifted.
•We have limited experience as a commercial company and the marketing and sale of ZYNTEGLO or future products may be unsuccessful or less
successful than anticipated.
•The commercial success of ZYNTEGLO, and of any future products, will depend upon the degree of market acceptance by physicians, patients,
third-party payers and others in the medical community. If we fail to obtain sufficient pricing or reimbursement approval for ZYNTEGLO or any
future products, our revenues may be adversely affected and our business may suffer.
•If the market opportunities for our product or any future products are smaller than we believe they are, and if we are not able to successfully
identify patients and achieve significant market share, our revenues may be adversely affected and our business may suffer.
•We rely on a complex supply chain for ZYNTEGLO and our product candidates. The manufacture and delivery of our lentiviral vector and drug
products present significant challenges for us, and we may not be able to produce our vector and drug products at the quality, quantities, locations
or timing needed to support commercialization and clinical programs. In addition, we may encounter challenges with engaging or coordinating with
qualified treatment centers needed to support commercialization.
•We cannot predict when or if we will obtain marketing approval to commercialize our product candidates, and the marketing approval of our
product and any future products may ultimately be for more narrow indications than we expect.
•We face intense competition and rapid technological change and the possibility that our competitors may develop therapies that are more
advanced or effective than ours, which may adversely affect our financial condition and our ability to successfully commercialize our product and
any future products. If our competitors obtain orphan drug exclusivity for products that regulatory authorities determine constitute the same drug
and treat the same indications as our product or any future products, we may not be able to have competing products approved by the applicable
regulatory authority for a significant period of time.
•We may not be successful in our efforts to identify or discover additional product candidates.
•We are dependent on BMS for the successful development and commercialization of ide-cel and bb21217. If BMS does not devote sufficient
resources to the development of ide-cel and bb21217, is unsuccessful in its efforts, or chooses to terminate its agreements with us, our business
will be materially harmed.
•We have incurred significant losses since our inception and anticipate that we will continue to incur significant losses for the foreseeable future.
•From time to time, we will need to raise additional funding, which may not be available on acceptable terms, or at all. Failure to obtain this
necessary capital when needed may force us to delay, limit or terminate our product development efforts or other operations.
•Our business may be materially and adversely affected by the ongoing COVID-19 pandemic. The COVID-19 pandemic has had, and will likely
continue to have, an impact on various aspects of our business and that of third parties on which we rely. The extent to which the COVID-19
pandemic impacts our business will depend in part on future developments, which are uncertain and unpredictable in nature.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 205 of 426 PageID #: 3178

Table of Contents




                                                                        PART I


Item 1. Business
Overview
We are a biotechnology company committed to researching, developing, and commercializing potentially transformative gene therapies for severe
genetic diseases and cancer. We have built an integrated product platform with broad therapeutic potential in a variety of indications based on our
lentiviral gene addition platform, gene editing and cancer immunotherapy capabilities. We believe that gene therapy for severe genetic diseases has
the potential to change the way patients living with these diseases are treated by addressing the underlying genetic defect that is the cause of their
disease, rather than offering treatments that only address their symptoms. Our programs in severe genetic disease include betibeglogene
autotemcel (beti-cel; formerly LentiGlobin gene therapy for β-thalassemia); LentiGlobin gene therapy for sickle cell disease, or SCD; and
elivaldogene autotemcel (eli-cel; formerly Lenti-D gene therapy for cerebral adrenoleukodystrophy, or CALD). Our programs in oncology are
focused on developing novel T cell-based immunotherapies, including chimeric antigen receptor (CAR) and T cell receptor (TCR) T cell therapies.
Idecabtagene vicleucel, or ide-cel, and bb21217 are CAR-T cell product candidates for the treatment of multiple myeloma and partnered under our
collaboration arrangement with Bristol-Myers Squibb, or BMS.
In January 2021, we announced our intent to separate our severe genetic disease and oncology programs into two separate, independent publicly
traded companies, bluebird bio, Inc. and a new company, which we refer to as Oncology NewCo in this annual report on Form 10-K. bluebird bio,
Inc. intends to retain focus on our severe genetic disease programs and Oncology NewCo is expected to focus on our oncology programs. The
transaction is expected to be completed in late 2021 and is anticipated to be tax-free, subject to receipt of a favorable Internal Revenue Service, or
IRS, ruling.
In June 2019, we received conditional marketing approval from the European Commission for beti-cel as a treatment for patients 12 years and older
with transfusion-dependent β-thalassemia, or TDT, who do not have a β0 /β0 genotype, for whom hematopoietic stem cell, or HSC, transplantation is
appropriate, but a human leukocyte antigen-matched, or HLA, related HSC donor is not available. We have begun commercializing beti-cel as
ZYNTEGLO in the European Union, or EU, however in February 2021 we temporarily suspended marketing of ZYNTEGLO in light of a suspected
unexpected serious adverse reaction, or SUSAR, of acute myeloid leukemia, and a SUSAR of myelodysplastic syndrome in our HGB-206 study of
LentiGlobin gene therapy for SCD which is manufactured using the same vector as ZYNTEGLO. Additionally, the European Medicines Agency, or
EMA, has paused the renewal procedure for ZYNTEGLO's conditional marketing authorization while the EMA's pharmacovigilance risk assessment
committee reviews the risk-benefit assessment for ZYNTEGLO and determines whether any additional pharmacovigilance measures are necessary.
We are engaged in discussions with the U.S. Food and Drug Administration, or FDA, for regulatory approval of beti-cel in the United States
regarding our proposed development plans for beti-cel as a treatment for patients with TDT. Contingent upon successful resolution of the FDA's
concerns arising out of the safety events in our SCD program, we currently expect to complete our biologics license application, or BLA,
submission for beti-cel in mid-2021 for the treatment of all patients with TDT across all genotypes. We are engaged with the European Medicines
Agency, or EMA, in discussions regarding our proposed development plans for ZYNTEGLO in patients with TDT and β0 /β0 genotypes and
patients with TDT who are less than 12 years of age.
Based on our prior discussions with the FDA, we believe that we may be able to seek accelerated approval for LentiGlobin for SCD in the United
States on the basis of clinical data from Group C of our HGB-206 clinical study, with our HGB-210 clinical study providing confirmatory data for full
approval. However, in light of a SUSAR of acute myeloid leukemia and a SUSAR of myelodysplastic syndrome in our HGB-206 clinical study
reported to us in February 2021, the FDA has placed our clinical studies of LentiGlobin for SCD on clinical hold. We are investigating these events
and plan to continue to work closely with the FDA in their review of these events. In addition, we are also engaged with the EMA in discussions
regarding our proposed development plans for LentiGlobin for SCD in Europe.
In October 2020, the EMA accepted our Marketing Authorization Application, or MAA, in the EU for eli-cel for the treatment of patients with
CALD. Based on our discussions with the FDA, we believe that we may be able to seek approval from the FDA for eli-cel for the treatment of
patients with CALD on the basis of our clinical data from our ongoing Starbeam study, safety data from our ongoing ALD-104 study, and the
completed ALD-103 observational study. We currently expect to submit the BLA for eli-cel for the treatment of patients with CALD to the FDA in
mid-2021.
In collaboration with BMS, we are developing the ide-cel and bb21217 product candidates as treatments for multiple myeloma. We are co-
developing and co-promoting ide-cel in the United States with BMS and we have exclusively licensed to BMS the development and
commercialization rights for ide-cel outside of the United States. In September 2020, the FDA accepted for Priority Review the BLA submitted by
BMS for ide-cel as a treatment for relapsed and refractory multiple myeloma. We have exclusively licensed the development and commercialization
rights for the bb21217 product candidate to BMS, with an option for us to elect to co-develop and co-promote bb21217 within the United States. In
addition, we are independently pursuing next-generation BCMA-targeting CAR-T approaches for treating multiple myeloma.



                                                                           1
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 206 of 426 PageID #: 3179

Table of Contents




Our other programs in oncology include programs to discover and develop T cell product candidates to treat other hematologic and solid tumor
malignancies, including: non-Hodgkin's lymphoma, acute myeloid leukemia, MAGE-A4 positive solid tumors, and Merkel cell carcinoma.


Our Platform
Our platform is based on lentiviral vectors which are used to introduce a functional copy of a gene to the patient’s own isolated HSCs, in the case
of our programs in severe genetic diseases, or the patient’s own isolated white blood cells which include T cells, in the case of our programs in
oncology. Allogeneic hematopoietic stem cell transplant, or allogeneic HSCT, is an existing approach of treating a patient using HSCs contributed
by a donor other than the patient that contain the properly functioning copy of the gene whose mutation has caused the underlying disease.
However, this approach has significant limitations in the treatment of severe genetic diseases, including difficulties in finding appropriate HLA-
matched donors and carries the risk of transplant-related rejection, graft-versus-host disease, or GVHD, and death. Our approach is intended to
address the significant limitations of allogeneic HSCT while utilizing existing stem cell transplant infrastructure and processes. Also, because our
approach has the potential to drive sustained expression of the functional protein encoded by the gene insert after a single administration, we
believe the value proposition offered by our product candidates for patients, families, health care providers and payers would be significant.


Our Programs in Severe Genetic Disease
Betibeglogene autotemcel
We are developing and commercializing beti-cel as a one-time treatment for transfusion-dependent β-thalassemia, a rare genetic disease caused by a
mutation in the β-globin gene resulting in the production of defective red blood cells. The disease is characterized by severe anemia, and the
ineffective production of red blood cells can lead to a range of multi-systemic complications, including but not limited to splenomegaly, marrow
expansion, bone deformities, and iron overload in major organs (as a result of blood transfusions needed to treat the disease). Our approach
involves using a lentiviral vector to insert the normal β-globin gene with a single amino acid substitution into the patient’s own HSCs ex vivo, to
enable formation of normal red blood cells, or RBCs, in patients. Beti-cel refers to the TDT patients' own cells that have undergone our ex vivo
manufacturing process resulting in genetically modified HSCs.
In June 2019, the European Commission granted conditional marketing authorization for beti-cel, marketed as ZYNTEGLO gene therapy, for the
treatment of patients 12 years and older with TDT who do not have a β0 /β0 genotype, for whom HSCT is appropriate but an HLA-matched related
HSC donor is not available. In February 2021, we temporarily suspended marketing of ZYNTEGLO and the EMA has paused the renewal procedure
for ZYNTEGLO's conditional marketing authorization while the EMA's pharmacovigilance risk assessment committee reviews the risk-benefit
assessment for ZYNTEGLO and determines whether any additional pharmacovigilance measures are necessary. In addition, the FDA has placed a
clinical hold on our HGB-207 and HGB-212 clinical studies. Patient dosing is complete in each of these two studies, and there is no plan to enroll or
treat additional patients in these studies. No cases of hematologic malignancy have been reported in any patient who has received treatment with
beti-cel, however it is manufactured using the same BB305 lentiviral vector used in LentiGlobin gene therapy for SCD.
In the fourth quarter of 2019, we initiated a rolling submission of a BLA in the United States for beti-cel as a treatment of patients with TDT across
all ages and all genotypes, which will be based on data from the Northstar study, the Northstar-2 study, and the Northstar-3 study. Contingent
upon successful resolution of the FDA's concerns arising out of the safety events in our SCD program, we currently expect to complete our BLA
submission for beti-cel in mid-2021. In addition, we believe the data from our Northstar-3 study, together with data from our Northstar study and
Northstar-2 study and HGB-205 study, could be sufficient to form the basis for a MAA variation submission in the EU, for the treatment of patients
with TDT and β0 /β0 genotypes and patients with TDT who are less than 12 years of age.
Beti-cel has been granted Orphan Drug status by the FDA and EMA for β-thalassemia and was granted Fast-Track designation by the FDA for the
treatment of β-thalassemia major. The FDA has granted Breakthrough Therapy designation to beti-cel for the treatment of transfusion-dependent
patients with β-thalassemia major, and rare pediatric disease designation for the treatment of TDT. We participated in the EMA’s Adaptive
Pathways program (formerly referred to as Adaptive Licensing), which is part of the EMA’s effort to improve timely access for patients to new
medicines. In addition, the EMA has granted Priority Medicines (PRIME) eligibility for beti-cel.
We are conducting the following clinical studies to evaluate the efficacy and safety of beti-cel in the treatment of patients with TDT:
•The Northstar-2 study (HGB-207) is an ongoing single-dose, open-label, non-randomized, international, multi-site phase 3 clinical study to evaluate
the safety and efficacy of beti-cel to treat patients with TDT and non-β0 /β0



                                                                           2
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 207 of 426 PageID #: 3180

Table of Contents




genotypes. Twenty-three patients have been enrolled in the study, consisting of 15 adolescent and adult patients between 12 and 50 years of age at
enrollment, and eight pediatric patients less than 12 years of age at enrollment. Age at enrollment ranged from four to 34 years old. To be enrolled,
patients with TDT and non-β0 /β0 genotypes must have received at least 100 mL/kg/year of RBCs or at least eight transfusions per year for the past
two years. All patients must be eligible for allogeneic HSCT, but without a matched family HSCT donor. The primary endpoint of this study is the
proportion of treated patients who achieve transfusion independence, defined as weighted average hemoglobin levels ≥9.0 g/dL without any RBC
transfusions for a continuous period of at least 12 months at any time during the study after treatment. The secondary endpoints of this study are
to quantify gene transfer efficiency and expression, and to measure the effects of treatment with beti-cel on transfusion requirements and clinical
events. Safety evaluations to be performed during the study include success and kinetics of platelet and neutrophil engraftment, incidence of
transplant-related mortality post-treatment, overall survival, detection of vector-derived replication-competent lentivirus in any patient and
characterization of events of clonal dominance or leukemia. Each patient will remain on study for approximately 24 months post-treatment and then
will be enrolled in a long-term follow-up protocol that will assess safety and efficacy beyond the study protocol’s follow-up period.
•The Northstar-3 study (HGB-212) is an ongoing single-dose, open-label, non-randomized, international, multi-site phase 3 clinical study to evaluate
the efficacy and safety of beti-cel to treat patients with TDT who have either a β0 /β0 , β0 /IVS-I-110, or IVS-I-110/IVS-I-110 genotypes. As of March 3,
2020, 15 patients have been treated, and median age at enrollment was 15 years of age (ranging from four to 33 years). To be eligible, patients must
have received at least 100 mL/kg/year of RBCs or at least eight transfusions per year for the past two years. All patients must be clinically stable
and eligible to undergo HSCT, as well as having been treated and followed for at least the last two years in a specialized center that maintained
detailed medical records, including transfusion history. The primary endpoint of this study is the proportion of treated patients who meet the
definition of “transfusion independence.” The secondary endpoints of this study are to measure the proportion of patients who meet the definition
of “transfusion reduction,” which is defined as demonstration of reduction in volume of RBC transfusion requirements (in mL/kg) in the post-
treatment time period of months 12 to 24 compared to the average annual transfusion requirement in the 24 months prior to enrollment, to quantify
gene transfer efficiency and expression, and to measure the effects of treatment with beti-cel on transfusion requirements post-treatment and
clinical events. Each patient will remain on study for approximately 24 months post-treatment and then will be enrolled in a long-term follow-up
protocol that will assess safety and efficacy beyond the study protocol’s follow-up period.
In June 2020, we presented the following updated clinical data from our Northstar-2 and Northstar-3 studies at the 25th European Hematology
Association (EHA) Annual Congress. All data presented at the EHA Annual Congress and summarized below are as of the data cut-off date of
March 3, 2020:
•Efficacy results from Northstar-2 study (HGB-207):
◦All 23 patients enrolled in the study had been treated, with a median follow up period of 19.4 months.
◦Of the 19 patients with sufficient follow-up duration to be evaluable for the primary endpoint of transfusion independence, 89 percent of patients
(17 out of 19) had achieved transfusion independence, with median weighted average total hemoglobin levels of 11.9 g/dL (ranging from 9.4 to 12.9
g/dL) over a median of 19.4 months of follow-up to date (ranging from 12.3 to 31.4 months). The 17 patients reaching transfusion independence
previously required a median of 17.5 transfusions per year (ranging from 11.5 to 37 transfusions per year).
◦Improved iron levels, as measured by serum ferritin and hepcidin levels (proteins involved in iron storage and homeostasis), were observed and
trends toward improved iron management were seen. Over half of patients stopped iron chelation therapy, which is needed to reduce excess iron
caused by chronic blood transfusions. Seven out of 23 patients began using phlebotomy for iron reduction.
•Efficacy results from Northstar-3 study (HGB-212):
◦Fifteen patients (nine β0 /β0 , three β0 /β+IVS1-110, three homozygous IVS-I-110 mutation) had been treated, with a median follow up period of 14.4
months (ranging from 1.1 to 24.0 months).
◦Six of eight evaluable patients achieved transfusion independence, with median weighted average total Hb levels of 11.5 g/dL (ranging from 9.5 to
13.5 g/dL), and continued to maintain transfusion independence for a median duration of 13.6 months (ranging from 12.2 to 21.2 months) as of the
data cutoff.
◦Eighty-five percent of patients (11 out of 13) with at least seven months of follow-up had not received a transfusion in more than seven months at
time of data cutoff. These eleven patients previously required a median of 18.5 transfusions per year (ranging from 11.0 to 39.5 transfusions per
year). In these patients, gene therapy-derived HbAT87Q supported total Hb levels ranging from 8.8 to 14.0 g/dL at last visit.



                                                                           3
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 208 of 426 PageID #: 3181

Table of Contents




•Safety results from Northstar-2 (HGB-207) and Northstar-3 (HGB-212) studies: Non-serious adverse events (AEs) observed during the HGB-207
and HGB-212 trials that were considered related or possibly related to beti-cel were tachycardia, abdominal pain, pain in extremities, leukopenia,
neutropenia and thrombocytopenia. One serious adverse event of thrombocytopenia was considered possibly related to beti-cel. In HGB-207,
serious events post-infusion in more than two patients included three events of veno-occlusive liver disease and two events of thrombocytopenia.
In HGB-212, serious events post-infusion in more than two patients included two events of pyrexia. Additional adverse events observed in clinical
studies were consistent with the known side effects of HSC collection and bone marrow ablation with busulfan, including serious adverse events of
veno-occlusive disease. In both Phase 3 studies, there have been no deaths, no graft failure, no cases of vector-mediated replication competent
lentivirus or clonal dominance, no leukemia and no lymphoma as of the data cut-off date.
In addition, we have conducted the following clinical studies of beti-cel:
•The Northstar study (HGB-204) is a completed, single-dose, open-label, non-randomized, multi-site phase 1/2 clinical study in the United States,
Australia and Thailand to evaluate the safety and efficacy of beti-cel in increasing hemoglobin production and eliminating or reducing transfusion
dependence following treatment. This study was completed in February 2018, and patients in this study were enrolled in a long-term follow-up
protocol to assess safety and efficacy beyond the Northstar study follow-up period. Eighteen adults and adolescents were treated in the study. To
be eligible for enrollment in this study, patients were between 12 and 35 years of age with a diagnosis of TDT and received at least 100 mL/kg/year
of RBCs or at least eight transfusions per year in each of the two years preceding enrollment. The patients were also medically eligible for
allogeneic HSCT. Efficacy was evaluated primarily by the production of ≥2.0 g/dL of hemoglobin A containing βA-T87Q-globin for the six-month
period between 18 and 24 months post-treatment. Exploratory efficacy endpoints included RBC transfusion requirements per month and per year,
post-treatment. Safety evaluations performed during the study include success and kinetics of HSC engraftment, incidence of transplant-related
mortality post-treatment, overall survival, detection of vector-derived replication-competent lentivirus in any patient and characterization of events
of insertional mutagenesis leading to clonal dominance or leukemia. Subjects were monitored by regular screening. Each patient remained on study
for approximately 24 months from time of consent and then were enrolled in a long-term follow-up protocol that is assessing safety and efficacy
beyond the study protocol’s follow-up period.
•The HGB-205 study is a completed, single-dose, open-label, non-randomized, phase 1/2 clinical study at a single site in France to examine the
safety and efficacy of beti-cel in four patients with TDT and of LentiGlobin for SCD in three patients with SCD. Patients were required to be
between five and 35 years of age with a diagnosis of TDT or SCD at the time of enrollment. To be enrolled, patients with TDT must have received at
least 100 mL/kg/year of RBCs per year for the past two years. Those with SCD must have failed to achieve clinical benefit from treatment with
hydroxyurea and have an additional poor prognostic risk factor (e.g., recurrent vaso-occlusive crises, or VOCs, or acute chest sydrome, or ACS).
All patients must have been eligible for allogeneic HSCT, but without a matched sibling allogeneic HSCT donor. The primary objective of our HGB-
205 study was to determine the safety, tolerability and success of engraftment of beti-cel/ LentiGlobin for SCD. The secondary objectives of the
study were to quantify gene transfer efficiency and expression, and to measure the effects of treatment with beti-cel/ LentiGlobin for SCD on
disease-specific biological parameters and clinical events. In the case of patients with TDT and SCD, this meant the volume of RBC transfusions,
and for patients with SCD, it also meant the number of VOCs and ACS in each patient, compared with the two-year period prior to treatment. Safety
evaluations to be performed during the study include success and kinetics of HSC engraftment, incidence of transplant-related mortality post-
treatment, overall survival, detection of vector-derived replication-competent lentivirus in any patient and characterization of events of clonal
dominance or leukemia/ lymphoma.
As described above, patients participating in and completing the two years of follow up in either of the Phase 1/2 studies (HGB-204 and HGB-205)
or the Phase 3 studies (HGB-207 and HGB-212) were invited to enroll in the 13-year long-term follow-up study LTF-303. In December 2020, we
presented updated clinical data from LTF-303 study at the ASH Annual Meeting. All data presented at the ASH Annual Meeting and summarized
below are as of the data cut-off date as of March 3, 2020:
◦Thirty-two patients were enrolled in LTF-303 (22 treated in Phase 1/2 studies, ten treated in Phase 3 studies) with a median post-infusion follow-up
of 49.1 months (ranging from 23.3 to 71.8 months). Of the 32 patients enrolled in LTF-303, transfusion independence was achieved in 64 percent of
patients (14 out of 22) treated in Phase 1/2 and in 90 percent of patients (nine out of ten) treated in Phase 3. All patients who achieved transfusion
independence remained free from transfusions. The median duration of ongoing transfusion independence was 39.4 months (ranging from 19.4 to
69.4 months). Weighted average Hb in patients who achieved transfusion independence in the Phase 1/2 studies was 10.4 g/dL (ranging from 9.4 to
13.3 g/dL) and 12.5 g/dL (ranging from 11.9 to 13.5 g/dL) in patients who achieved transfusion independence in the Phase 3 studies.



                                                                             4
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 209 of 426 PageID #: 3182

Table of Contents




◦Median gene therapy-derived hemoglobin (HbAT87Q) in all patients treated in the Phase 1/2 studies was stable over time: with a median of 6.4 g/dL
(ranging from 0.5 to 10.1 g/dL) in 22 patients at Month 24, a median of 6.7 g/dL (ranging from 0.4 to 10.1 g/dL) in 22 patients at Month 36, a median
of 6.6 g/dL (ranging from 0.5 to 10.7 g/dL) in 22 patients at Month 48, and a median of 7.1 g/dL (ranging from 2.8 to 11.2 g/dL) in ten patients at
Month 60. Median HbAT87Q at Month 24 in all ten patients treated in the Phase 3 studies was 9.5 g/dL (ranging from 0.9 to 12.4 g/dL).
◦Following an initial increase in liver iron concentration (LIC) after infusion, LIC in patients who achieved transfusion independence decreased,
particularly in patients with a high iron burden at baseline. Two patients with severe iron burden (LIC >15 mg/g) and the five patients with
significant iron burden (LIC ≥7 - 15 mg/g) at baseline had a median reduction of 59% and 38%, respectively, from baseline to Month 48.
◦Prior to beti-cel infusion, all patients were on iron chelation, which is needed to reduce excess iron caused by chronic blood transfusions. Fifteen
of the 23 patients (65%) who achieved transfusion independence following treatment with beti-cel discontinued iron chelation. Seven of the 23
(30%) were able to receive phlebotomy (blood removal), which is a preferred method for iron reduction.
◦No cases of death, graft-versus-host disease, and replication-competent lentivirus, clonal dominance or leukemia/ lymphoma were observed as of
data cut-off. No drug-related adverse events were reported >2 years post-infusion. Serious adverse events during LTF-303 unrelated to beti-cel
included gonadotropic insufficiency, ectopic pregnancy, gall bladder wall thickening/polyp, bacteremia, neutropenia and major depression (with
one case of each).

LentiGlobin for Sickle Cell Disease
We are developing LentiGlobin for SCD as a one-time treatment for patients with SCD, a hereditary blood disorder resulting from a mutation in the
β-globin gene that causes polymerization of hemoglobin proteins, resulting in abnormal red blood cell function. The disease is characterized by
hemolytic anemia, vaso-occlusive events (or VOEs, repeated acute painful episodes of vaso-occlusion due to sickle cell crises, acute chest
syndrome, priapism, or chronic organ damage), cumulative damage to multiple organs, infections, stroke, overall poor quality of life and early death
in a large subset of patients. As in our approach with beti-cel in TDT, our approach in SCD involves the ex vivo insertion of the normal β-globin
gene with the T87Q amino acid substitution using a lentiviral vector into the patient’s own HSCs to enable formation of normally functioning
hemoglobin A and normal RBCs in patients. In LentiGlobin for SCD, T87Q serves as a distinct biomarker used to quantify expression levels of the
functional β-globin protein in patients with SCD, while also providing anti-sickling properties. We refer to the cells that have undergone our ex vivo
manufacturing process resulting in genetically modified HSCs as LentiGlobin for SCD.
Based on our prior discussions with the FDA, we believe that we may be able to seek accelerated approval for LentiGlobin for SCD in the United
States on the basis of clinical data from Group C of our HGB-206 clinical study, with our HGB-210 clinical study providing confirmatory data for full
approval. However, in light of a SUSAR of acute myeloid leukemia and a SUSAR of myelodysplastic syndrome in our HGB-206 clinical study
reported to us in February 2021, the FDA has placed our clinical studies of LentiGlobin for SCD on clinical hold. We are investigating these events
and plan to continue to work closely with the FDA in their review of these events. In addition, we are also engaged with the EMA in discussions
regarding our proposed development plans for LentiGlobin for SCD in Europe. LentiGlobin for SCD has been granted Orphan Drug status by the
FDA and EMA and Fast-Track designation by the FDA for the treatment of certain patients with SCD. The FDA has also granted Regenerative
Medicine Advanced Therapy, or RMAT, designation to LentiGlobin for SCD.
We are conducting, or have conducted, the following clinical studies to evaluate the safety and efficacy of LentiGlobin for SCD in the treatment of
patients with SCD:
•The HGB-206 study is a single-dose, open-label, non-randomized, multi-site phase 1/2 clinical study in the United States to evaluate the safety and
efficacy of LentiGlobin for SCD. Approximately fifty adult and adolescent patients are enrolled in the study. Patients must be at least twelve years
of age with a diagnosis of sickle cell disease, with β S/βS, βS/β+ or βS/β0 genotype. The sickle cell disease must be severe, as defined by recurrent
severe VOEs, and patients must have failed to achieve clinical benefit from treatment with hydroxyurea. We refer to the 32 patients treated under the
amended study protocol utilizing HSCs from peripheral blood after mobilization with plerixafor as patients in “Group C.” The primary efficacy
endpoint for this study is complete resolution of severe VOEs, between six and 18 months post-treatment, and the secondary efficacy endpoint for
this study is globin response based on βA-T87Q expression and total hemoglobin. Safety endpoints include monitoring for laboratory parameters
and frequency and severity of adverse events; the success and kinetics of HSC engraftment; the incidence of treatment related mortality and
overall survival; the detection of vector-derived replication-competent lentivirus in any patient; and the characterization of events of insertional
mutagenesis leading to clonal dominance or leukemia. Each patient will remain on study for approximately 24 months post-treatment and then will
be enrolled in a long-term follow-up protocol that will assess safety and efficacy beyond the study protocol’s follow-up period.



                                                                          5
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 210 of 426 PageID #: 3183

Table of Contents




In December 2020, we presented updated clinical data from our HGB-206 study at the ASH Annual Meeting. All data presented at the ASH Annual
Meeting and summarized below are as of the data cut-off date as of August 20, 2020:
◦A total of 32 patients were treated with LentiGlobin for SCD gene therapy in Group C of HGB-206 and had up to 30.9 months of follow-up with a
median of 13.0 months (ranging from 1.1 to 30.9 months).
◦In the 22 patients with six or more months of follow-up whose hemoglobin fractions were available, median levels of gene therapy-derived anti-
sickling hemoglobin, HbAT87Q, were maintained with HbAT87Q contributing at least 40% of total hemoglobin at Month 6. Total hemoglobin and
HbAT87Q ranged from 9.6 to 15.1 g/dL and 2.7 to 8.9 g/dL, respectively.
◦At Month 6, the production of HbAT87Q was associated with a reduction in the proportion of HbS in total hemoglobin; median HbS was 50% and
remained less than 60% at all follow-up timepoints. All patients in Group C were able to stop regular blood transfusions by three months post-
treatment and remain off transfusions as of the data cut-off.
◦Nineteen patients treated in Group C had a history of severe VOEs, defined as at least four severe VOEs in the 24 months prior to informed consent
(annualized rate of severe VOE ranging from 2.0 to10.5 events) and at least six months follow-up after treatment with LentiGlobin for SCD. There
have been no reports of severe VOEs in these Group C patients following treatment with LentiGlobin for SCD. In addition, all 19 patients had a
complete resolution of VOEs after Month 6.
◦The safety data from Group C patients in HGB-206 remain generally consistent with the known side effects of HSC collection and myeloablative
single-agent busulfan conditioning, as well as underlying SCD. One non-serious, Grade 2 adverse event (AE) of febrile neutropenia was considered
related to LentiGlobin for SCD. There were no serious AEs related to LentiGlobin for SCD. One patient with significant baseline SCD-related and
cardiopulmonary disease died 20 months post-treatment; the treating physician and an independent monitoring committee agreed his death was
unlikely related to LentiGlobin for SCD and that SCD-related cardiac and pulmonary disease contributed.
•HGB-210 is a single-dose, open-label, non-randomized, multi-site, international phase 3 clinical study to evaluate the efficacy and safety of
LentiGlobin for SCD in the treatment of patients with SCD and a history of vaso-occlusive events, or VOEs, with a target enrollment of 35 pediatric,
adolescent and adult patients. Patients must be at least two years of age at enrollment with a diagnosis of sickle cell disease, with βS/βS, βS/β+ or βS/
β 0 genotype. The sickle cell disease must be severe, as defined by recurrent severe VOEs, and patients must have failed to achieve clinical benefit
from treatment with hydroxyurea. The patients must also be eligible for HSCT. The primary efficacy endpoint for this study is globin response
based on βA-T87Q expression and total hemoglobin, and the secondary efficacy endpoint for this study is 75% reduction in annualized severe VOEs.
Safety endpoints include monitoring for laboratory parameters and frequency and severity of adverse events; the success and kinetics of HSC
engraftment; the incidence of treatment related mortality and overall survival; the detection of vector-derived replication-competent lentivirus in
any patient; and the characterization of events of insertional mutagenesis leading to clonal dominance or leukemia. Each patient will remain on
study for approximately 24 months post-treatment and then will be enrolled in a long-term follow-up protocol that will assess safety and efficacy
beyond the study protocol’s follow-up period.
•HGB-205 is a completed single-center phase 1/2 study in France of patients with SCD which also enrolled patients with TDT.

Elivaldogene autotemcel
We are developing eli-cel as a one-time treatment for CALD, the most severe form of adrenololeukodystrophy, a rare X-linked metabolic disorder
caused by mutations in the ABCD1 gene, which results in accumulation of very long-chain fatty acids in plasma and tissues, leading to a range of
clinical outcomes. CALD involves a progressive destruction of myelin, the protective sheath of the nerve cells in the brain that are responsible for
thinking and muscle control. Symptoms of CALD usually occur in early childhood and progress rapidly if untreated, leading to severe loss of
neurological function and eventual death in most patients. Our approach involves the ex vivo insertion of a functional copy of the ABCD1 gene via
a lentiviral vector into the patient’s own HSCs. Following engraftment, we expect the transduced HSCs to differentiate into other cell types,
including macrophages and cerebral microglia, which produce functional ALDP. We believe that the functional ALDP can then enable the local
degradation of VLCFAs in the brain, which in turn can stabilize the disease by preventing further cerebral inflammation and demyelination that are
characteristics of CALD.
In October 2020, the EMA accepted our Marketing Authorization Application in the EU for eli-cel for the treatment of patients with CALD. Based
on our discussions with the FDA, we believe that we may be able to seek approval for eli-cel for the treatment of patients with CALD on the basis
of safety and efficacy data from our ongoing Starbeam study, safety data from our ongoing ALD-104 study, and the completed ALD-103
observational study. For the assessment of efficacy, we expect that the clinical results of the Starbeam study will be compared to a clinically
meaningful benchmark based on the medical literature



                                                                            6
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 211 of 426 PageID #: 3184

Table of Contents




and data collected in ALD-101, a retrospective analysis that assessed the natural history of CALD, as well as outcomes of patients with CALD who
had received allogeneic HSCT. For the assessment of safety, we expect that the clinical results of the Starbeam study will be compared to data
collected from the ALD-103 study, a multinational, multi-site, prospective and retrospective observational study designed to evaluate outcomes of
allogeneic HSCT in patients with CALD. We currently expect to submit the BLA for eli-cel for the treatment of patients with CALD in mid-2021. Eli-
cel has been granted Orphan Drug status by the FDA and EMA for adrenoleukodystrophy. The FDA has granted Breakthrough Therapy
designation and the EMA has granted PRIME eligibility to eli-cel.
We are conducting the following studies to evaluate the safety and efficacy of eli-cel in the treatment of patients with CALD:
• The Starbeam study (ALD-102) is a single-dose, open-label, non-randomized, international, multi-site phase 2/3 study to evaluate the safety and
efficacy of eli-cel in males with CALD ≤ 17 years of age. Thirty-two patients have been enrolled in this study. Key inclusion criteria included: male
and, at time of enrollment, ≤ 17 years of age and with a neurologic function score (NFS) of ≤ 1, with active CALD as defined by elevated very long
chain fatty acids (VLCFA) levels, and brain magnetic resonance imaging (MRI) demonstrating Loes score between 0.5 and ≤ 9 (inclusive) and
evidence of gadolinium enhancement (GdE+). Patients with a willing, unaffected 10/10 HLA-matched sibling HSC donor were excluded from the
study. The primary efficacy endpoint of the study is the proportion of patients who are alive and free of six major functional disabilities, or MFD, at
24 months post-treatment. MFDs were defined as loss of communication, complete loss of voluntary movement, cortical blindness, tube feeding,
wheelchair dependence, and total incontinence. These six MFDs were selected as they are considered to have the most significant impact on the
ability of patients with CALD to function independently, representing unambiguous and profound neurologic degeneration. Secondary and
exploratory endpoints included monitoring over time of the following: NFS, a 25-point scale used to evaluate the severity of gross neurologic
dysfunction by scoring 15 neurological abnormalities across multiple domains; Loes score, a 34-pont scale designed to objectively measure the
extent of demyelination and atrophy in CALD patients, based on brain magnetic resonance imagining, or MRI, studies; and gadolinium
enhancement status, associated with inflammation and disruption of the blood brain barrier on brain MRI.
The primary safety endpoint is the proportion of patients who experience either ≥ Grade 2 acute GVHD or chronic GVHD by 2 years post-treatment.
Some additional safety evaluations include the following: success and kinetics of HSC engraftment, incidence of transplant-related mortality;
detection of vector-derived replication-competent lentivirus; and characterization and quantification of events related to the location of insertion of
the functional ABCD1 gene in target cells. Patients will be followed for 24 months post-treatment under this protocol. In accordance with applicable
guidance from the FDA and EMA, we will be monitoring patients in a separate long-term follow up protocol (LTF-304) to evaluate safety for up to
15 years, and will also monitor efficacy endpoints to demonstrate a sustained treatment effect.
In August 2020, we presented updated clinical data at the 46th Annual Meeting of the European Society for Blood and Marrow Transplantation
(EBMT). All data presented and summarized below are as of January 2020, except as otherwise indicated:
◦The data reflect a total patient population of 32 patients in the study, with a median follow-up time of 30.0 months and a range of 9.1 to 70.7
months. Of the 32 patients who have received eli-cel, 20 had completed ALD-102 and were enrolled in LTF-304, while nine continued to be followed
in ALD-102 not having reached 24 months post-treatment, and three were no longer on-study. Of the three patients who are no longer on the study,
two withdrew from the study at investigator discretion, and one experienced rapid disease progression early in the study, resulting in MFDs and
death.
◦Of the 23 patients who have or would have reached 24 months of follow-up and completed the study, 87 percent (20 out of 23) have met the
primary endpoint and continue to be alive and MFD-free in LTF-304. Fourteen patients have at least four years of follow-up, including ten patients
who have reached at least their Year 5 follow-up visit. The nine patients from ALD-102 that have not reached Month 24 have shown no evidence of
MFDs.
◦Of the 32 patients who have received eli-cel, 31 had stable NFS (NFS ≤ 4, without a change of >3 from baseline) and 24 patients maintained an NFS
of 0 following treatment.
◦As of the data cut-off date, no acute or chronic GvHD have been reported post- treatment and there have been no reports of graft failure or graft
rejection. The treatment regimen, comprising mobilization/apheresis, conditioning, and eli-cel infusion, had a safety and tolerability profile primarily
reflective of the known effects of mobilization/apheresis and conditioning. In ALD-102, as previously reported, three adverse events were
considered possibly related to eli-cel and include one serious adverse event (Grade 3 BK viral cystitis),



                                                                           7
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 212 of 426 PageID #: 3185

Table of Contents




and two non-serious adverse events (Grade 1 vomiting). All three adverse events resolved using standard measures.
◦There have been no cases of replication competent lentivirus or insertional oncogenesis as of the data-cutoff date. Integration site analysis was
conducted to determine the pattern of proviral integration post-eli-cel treatment and assess whether dominant or expanding clones were present. In
one patient, now enrolled in LTF-304 for long-term follow up, a case of benign clonal expansion was observed with three separate integrations in
the DNA of the cell at ACER3, RFX3, and MECOM. As of the patient’s Month 62 visit in March 2020, the patient remained clinically stable. Bone
marrow analyses showed no dysplasia (abnormal cell growth) or molecular abnormalities.
•The ALD-104 study is an open-label, non-randomized, international, multi-site phase 3 study to evaluate the safety and efficacy of eli-cel in males
with CALD ≤ 17 years of age after myeloablative conditioning using busulfan and fludarabine, a different chemotherapy conditioning regimen than
what is used in ALD-102 (busulfan and cyclophosphamide). Target enrollment in ALD-104 is 35 patients. Key inclusion criteria included: male and,
at time of enrollment, ≤ 17 years of age and with a neurolgoci function score (NFS) of ≤ 1, with active CALD as defined by elevated very long chain
fatty acids (VLCFA) levels, and brain magnetic resonance imaging (MRI) demonstrating Loes score between 0.5 and ≤ 9 (inclusive) and evidence of
gadolinium enhancement (GdE+). The primary efficacy endpoint of the study is the proportion of patients who are alive and free of six MFDs at 24
months post-treatment. Secondary and exploratory endpoints included monitoring over time of the following: NFS, Loes score, and gadolinium
enhancement status, associated with inflammation and disruption of the blood brain barrier on brain MRIThe primary safety endpoint is the
proportion of patients with neutrophil engraftment after eli-cel infusion (time frame: 42 days post drug-product infusion).
In August 2020, we presented updated clinical data at the 46th Annual Meeting of the European Society for Blood and Marrow Transplantation
(EBMT). All data presented and summarized below are as of February 2020:
◦13 patients were on study with a median of 6.1 months of follow-up (ranging from 2.2 to 10.3 months). All 13 patients achieved neutrophil
engraftment and 12 out of 13 evaluable patients had platelet engraftment (platelet engraftment pending in one patient as of data cut date).
◦No events of acute or chronic GvHD had been reported and there have been no reports of graft failure, graft rejection, cases of insertional
oncogenesis, or replication competent lentivirus.
◦The treatment regimen, comprising mobilization/apheresis, conditioning, and eli-cel infusion had a safety and tolerability profile primarily reflective
of the known effects of mobilization/apheresis and conditioning. Two adverse events of pancytopenia were considered possibly related to eli-cel.
These two ongoing adverse events were deemed as suspected unexpected serious adverse reactions by the principal investigator and were
diagnosed approximately two months post-eli-cel treatment in two patients (one Grade 2 and one Grade 3). An additional serious adverse event was
ongoing as of February 2020, a Grade 3 transverse myelitis that was diagnosed in the presence of viral infection (adenovirus and
rhinovirus/enterovirus positivity) approximately six months after eli-cel treatment and deemed unrelated to eli-cel.
•The ALD-103 study is a completed observational prospective/ partially retrospective data collection study of 59 patients with CALD ≤17 years of
age who received allogeneic HSCT. This study was designed to collect efficacy and safety outcomes data in patients who had undergone
allogeneic HSCT in a period that is contemporaneous with the Starbeam study. The study measured CALD disease-related outcomes in four patient
cohorts: early disease 1 (N=21; Loes ≤4 and NFS ≤1); early disease 2 (N=9; Loes >4 to 9 and NFS ≤1); all early disease (N=30; Loes ≤9 and NFS ≤1);
and advanced disease (N=10; Loes >9 or NFS >1). Transplant-related outcomes were assessed by donor stem cell source, by donor match, and by
conditioning regimen. We anticipate that eli-cel safety and efficacy will be evaluated by the FDA and EMA in light of the data collected in the
Starbeam study in conjunction with our retrospective observational ALD-101 study and our retrospective and prospective observational ALD-103
study, as well as safety results from our ongoing ALD-104 study.

Strategic collaborations in severe genetic disease
We have formed and intend to seek other opportunities to form strategic collaborations with third parties who can augment our industry-leading
gene therapy platform and expertise, and to access the substantial funding and other resources required to develop and commercialize gene therapy
products. To date, we have focused on forging a limited number of significant strategic collaborations with leading pharmaceutical companies and
academic research centers where both parties contribute expertise to enable the discovery and development of potential product candidates.
Currently, our strategic collaborations in severe genetic disease include those with:



                                                                           8
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 213 of 426 PageID #: 3186

Table of Contents




•Magenta Therapeutics, Inc., to evaluate the utility of MGTA-145 in combination with plerixafor for mobilization and collection of stem cells in
adults and adolescents with SCD, through a proof-of-concept clinical trial;
•Novo Nordisk A/S, to jointly develop next-generation in vivo genome editing treatments for genetic diseases, including hemophilia; and
•Forty Seven, Inc., a subsidiary of Gilead Sciences, Inc., to pursue clinical proof-of-concept for an antibody-based conditioning regimen in
combination with our ex vivo lentiviral gene therapy platform.

Manufacturing in severe genetic disease
We have entered into multi-year agreements with external manufacturing partners in the United States and Europe to support our clinical and
commercial programs in severe genetic disease. We have multi-year agreements with SAFC Carlsbad, Inc., or SAFC (a subsidiary of
MilliporeSigma), and Thermo Fisher Scientific, Inc. (previously Novasep) in the production of lentiviral vector. In addition, we have entered into
multi-year agreements with Lonza Houston, Inc. and Minaris Regenerative Medicine, or Minaris, to produce drug product. Currently to support the
commercialization of beti-cel in Europe, SAFC is our sole manufacturer of lentiviral vector, and Minaris is our sole manufacturer of drug product. In
our manufacturing agreement with SAFC, we are required to provide rolling forecasts for products on a quarterly basis, a portion of which will be
considered a binding, firm order, subject to a purchase commitment. In our manufacturing agreement with Minaris, we reserve production capacity
for the manufacture of our drug product. In addition, we rely on specialized third-party testing organizations to confirm the quality of vector and
drug product prior to their use in clinical trials and in the commercial context.
We believe our team of technical personnel has extensive manufacturing, analytical and quality experience as well as strong project management
discipline to effectively oversee these contract manufacturing activities, and to compile manufacturing and quality information for our regulatory
submissions and commercialization efforts. For the treatment of patients with our drug product in the commercial setting, we are partnering with
participating apheresis centers, which we refer to as qualified treatment centers, to be centers for collection of HSCs from the patient and for
infusion of drug product to the patient.

Commercial operations
We are commercializing ZYNTEGLO in the European Union and the United Kingdom, following our receipt of conditional marketing approval by the
European Commission in June 2019. In February 2021, we temporarily suspended marketing of ZYNTEGLO and the EMA has paused the renewal
procedure for ZYNTEGLO's conditional marketing authorization while the EMA's pharmacovigilance risk assessment committee reviews the risk-
benefit assessment for ZYNTEGLO and determines whether any additional pharmacovigilance measures are necessary. As we transition into a
commercial-stage company, we have established commercial operations in Europe, and have begun to build commercial operations in the United
States, with a goal of delivering our gene therapies, if and once approved, to patients through qualified treatment centers. In the course of
preparing to treat our first commercial patients, we have established commercial capabilities across the European Union, and in the United States
and United Kingdom by adding employees with broad experience in quality assurance and compliance, medical education, marketing, supply chain,
sales, public policy, patient services, market access and product reimbursement. Our commercialization activities include active engagement with
stakeholders across the healthcare system, including those with public and private payers, patient advocates and organizations, professional
societies, and healthcare providers, to explore new payment models that we hope will enable access for more patients. Ultimately, we intend to
leverage our commercial infrastructure to support the potential for multiple product launches sequentially across multiple geographies. For many
territories and countries, we may also elect to utilize strategic collaborators, including distributors, or contract field-based teams to assist in the
commercialization of our product and potential future products.
While we have largely established the appropriate quality systems, compliance policies, systems and procedures, as well as internal systems and
infrastructure necessary for supporting our complex supply chain and commercialization activities, we expect that we may make additional targeted
investments as we continue our efforts in adding sites to our network of qualified treatment centers, establishing patient-focused programs,
educating healthcare professionals, and securing reimbursement.
The timing and conduct of our commercialization activities will be dependent upon regulatory interactions, marketing approvals received for our
product and potential future products, and on agreements we have made or may make in the future with strategic collaborators.

Our Programs in Oncology
We are pursuing multiple programs that leverage the unique properties of lentiviral vectors to target T cells as a therapy for various cancers. This
represents a direct application of our expertise in gene therapy and our capabilities, know-how and patents associated with lentiviral gene therapy
and gene editing for ex vivo applications. Our oncology programs use a customized



                                                                           9
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 214 of 426 PageID #: 3187

Table of Contents




lentiviral vector to alter T cells, rather than HSCs, so that the T cells can recognize specific proteins or protein fragments on the surface of cancer
cells in order to kill these diseased cells. T cells that have been genetically-engineered ex vivo to make CAR or TCRs are designed to help a
patient’s immune system overcome survival mechanisms employed by cancer cells. CAR T cell technology directs T cells to recognize cancer cells
based on expression of specific cell surface antigens, whereas TCR T cell technology provides the T cells with a specific T cell receptor that
recognizes protein fragments derived from either intracellular or extracellular proteins which are displayed on the tumor cell surface. The genetically-
engineered T cells are designed to supplement a patient’s immune system and may be further engineered to overcome immune evasion mechanisms
employed by cancer cells. For instance, we are exploring applications of our CAR and TCR T cell technologies in combination with novel proteins
based on synthetic biology. These technologies may potentially allow our future T cell-based product candidates to detect the tumor
microenvironment or to be regulated by small molecules. In addition, using our gene editing technology, we potentially have a number of additional
options to manipulate the genome of the cancer patient’s T cells to further increase the specificity of the anti-tumor activity and to potentially make
these cells even more potent. All of the gene-editing technologies currently being explored by the pharmaceutical industry, including zinc finger
nucleases, CRISPR/Cas9, and TALENs, share common features of a DNA binding domain and a DNA cleavage domain. They differ in specificity,
size, ease of delivery and as naturally occurring versus engineered nucleases. Our gene editing platform is based on homing endonucleases and
megaTALs, based on a naturally-occurring class of DNA cleaving enzymes that function as monomeric proteins able to bind DNA in a sequence-
specific manner and cleave their target site. We believe there are multiple advantages of homing endonucleases and megaTALs compared to other
gene editing technologies, most notably: they are highly specific and efficient in cutting DNA and their compact size simplifies delivery to
therapeutically relevant cell types. We are using our gene editing platform, along with collaborations with multiple academic institutions, to
potentially discover and develop next-generation gene therapy and oncology product candidates.
Our programs in oncology include ide-cel and bb21217 in multiple myeloma, which we are developing in collaboration with BMS, and preclinical
programs to discover and develop T cell product candidates to treat other hematologic and solid tumor malignancies, including: non-Hodgkin's
lymphoma, acute myeloid leukemia (in collaboration with Seattle Children's Research Institute), MAGE-A4 positive solid tumors (in collaboration
with Regeneron), and Merkel cell carcinoma (in collaboration with Fred Hutchinson Cancer Research Center). We are also independently
researching and developing other CAR T cell product candidates against a variety of cancer targets, including next-generation anti-BCMA CAR-T
cell products for the treatment of multiple myeloma.

Ide-cel and bb21217
In collaboration with BMS, we are developing ide-cel and bb21217, with the goal of filing for regulatory approval for the treatment of multiple
myeloma on a global basis. Ide-cel and bb21217 both bind to BCMA, a cell surface protein expressed on normal plasma cells, some mature B cells,
and on malignant multiple myeloma cells, but not on other cells. Ide-cel and bb21217 arose from our multi-year collaboration with Celgene
Corporation, or Celgene, which was acquired by BMS in November 2019. We co-develop and co-commercialize ide-cel in the United States with
BMS, in which we share equally in costs and any profits. BMS has the exclusive license to develop and commercialize ide-cel outside of the United
States. BMS has the exclusive worldwide license to develop and commercialize bb21217, and we retain an option to co-develop and co-
commercialize this product candidate in the United States. The terms of our arrangements with BMS are described more fully below under
“Strategic collaborations in oncology-Our strategic alliance with BMS.”
In September 2020, the FDA accepted for Priority Review the BLA submitted by BMS for ide-cel as a treatment for relapsed and refractory multiple
myeloma. The FDA and EMA have granted Orphan Drug status to both ide-cel and bb21217 for the treatment of patients with relapsed and
refractory multiple myeloma. The FDA has granted Breakthrough Therapy designation and the EMA has granted PRIME eligibility to ide-cel for
relapsed and refractory multiple myeloma.
For the development of ide-cel, BMS is conducting, or is planning to conduct, the following clinical studies in multiple myeloma:
•The KarMMa study, a pivotal open-label, single arm, multicenter, phase 2 study evaluating the safety and efficacy of ide-cel in adult patients with
relapsed and refractory multiple myeloma in North America and Europe. All enrolled patients had received at least three prior regimens, including an
immunomodulatory (IMiD) agent, a proteasome inhibitor (PI) and an anti-CD38 antibody, and all were refractory to their last regimen, defined as
progression during or within 60 days of their last therapy. Ninety-four percent of patients were refractory to an anti-CD38 antibody and 84%
percent were triple refractory (refractory to an IMiD agent, PI and anti-CD38 antibody).
The primary endpoint of the study is overall response rate (ORR) as assessed by an independent review committee (IRC) according to the
International Myeloma Working Group (IMWG) criteria. Complete response rate (CR) is the key secondary endpoint. Other efficacy endpoints
include time to response, duration of response (DoR), progression-free survival (PFS), overall survival and minimal residual disease (MRD)
evaluated by next-generation sequencing assay. The study enrolled 140 patients, of whom 128 patients were treated with ide-cel across the target
dose levels of



                                                                          10
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 215 of 426 PageID #: 3188

Table of Contents




150-450 x 106 CAR+ T cells after receiving lymphodepleting chemotherapy. In May 2020, we and BMS presented the results at the American Society
of Clinical Oncology 2020 Virtual Scientific Program, as summarized below:
◦128 patients were treated with ide-cel across target dose levels of 150 to 450 x 106 CAR+ T cells. Patients had a median of six prior regimens; 84%
were refractory to all three classes of commonly used treatments including an IMiD, a PI and an anti-CD38 antibody, and 94% were refractory to
anti-CD38 antibodies. Median duration of follow-up was 13.3 months.
◦Results for the primary endpoint (ORR) and key secondary endpoint (CR), as well as median duration of response (DoR) and median progression-
free survival (PFS) across the target dose levels and at each of the three target doses explored in the study were as follows:

CAR+ T cell dose level                         150 x 106             300 x 106              450 x 106            150-450 x 106
N                                                  4                    70                     54                     128

Measures:
Overall response rate, n (%)                    2 (50)                48 (69)                44 (82)                94 (73)
Complete response (CR)/ Stringent               1 (25)                20 (29)                21 (39)                42 (33)
CR, n (%)
Median DoR, months                                †                     9.9                   11.3                   10.7
Median DoR by best response                       †                     ††                     ††                    19.0
(CR/sCR), months
Median PFS, months                                2.8                   5.8                   12.1                    8.8
Median PFS by best response                        †                    ††                     ††                    20.2
(CR/sCR), months
†Not reported due to small n
††Data not reported
◦The overall response rate (ORR) was 73% across all dose levels, including 33% of patients who had a complete response (CR) or stringent CR
(sCR). Median duration of response (DoR) was 10.7 months, with 19.0 month median DoR for patients who had a CR or sCR. Median progression-
free survival (PFS) was 8.8 months, with 20.2 month median PFS for patients who had a CR or sCR. All patients who had CR or sCR and were
evaluable for minimal residual disease (MRD), were MRD-negative. Clinically meaningful benefit was consistently observed across subgroups, and
nearly all subgroups had an ORR of 50% or greater, including older and high-risk patients. The overall survival (OS) data continue to mature, with
an estimated median OS of 19.4 months across all dose levels and 78% of patients alive at 12 months. Results support a favorable benefit-risk
profile for ide-cel across the target dose levels of 150 to 450 × 106 CAR+ T cells.
◦The most frequently reported adverse events were cytopenia and cytokine release syndrome (CRS). Cytopenias were common and not dose
related. Overall, CRS of any grade was reported in 84% (107/128) of patients. Grade 3 or higher CRS occurred in <6% (7/128) of patients, with one
fatal CRS event. Investigator identified neurotoxicity events (iiNT) were reported in 18% (23/128) of patients, including Grade 3 iiNT reported in 3%
(4/128) of patients. There were no Grade 4 or Grade 5 iiNT events reported.
• The CRB-401 study, a single-dose, open-label, non-randomized, multi-site phase 1 dose escalation/ dose expansion clinical study in the United
States to examine the safety and efficacy of ide-cel in up to 67 patients with relapsed and refractory multiple myeloma. In order to be eligible for
CRB-401, patients must have received three prior regimens, including a proteasome inhibitor (PI; bortezomib or carfilzomib) and an
immunomodulatory agent (IMiD; lenalidomide or pomalidomide), or be “double-refractory” to both a proteasome inhibitor and an
immunomodulatory agent. In the expansion cohort, patients must have received at least a PI, an IMiD and daratumumab, and be refractory to their
last line of therapy. Patients receive one cycle of lymphodepletion with cyclophosphamide and fludarabine prior to infusion of the bb2121 drug
product.
The primary endpoint of the study is the incidence of adverse events and abnormal laboratory test results, including dose-limiting toxicities. The
study also seeks to assess disease-specific response including: complete response (CR), very good partial response (VGPR), and partial response
(PR) according to the International Myeloma Working Group Uniform Response Criteria for Multiple Myeloma. The study also seeks to determine
the maximally tolerated dose and recommended dose for further clinical trials. Each patient is followed for up to 60 months post-treatment, and then
is enrolled in a long-term follow-up protocol that will assess safety and efficacy beyond the 60-month period.



                                                                          11
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 216 of 426 PageID #: 3189

Table of Contents




In December 2020, we presented updated results from the CRB-401 study at the ASH Annual Meeting as summarized below:
◦62 patients were treated with ide-cel across dose levels of 50, 150, 450, or 800 × 106 CAR positive T cells. Among the 62 patients treated with ide-
cel in this study, the overall response rate (ORR) was 76%, including 24 patients (39%) who achieved a complete response (CR). The median
duration of response (DoR) was 10.3 months. Median PFS was 8.8 months and median OS was 34.2 months, with a median follow-up of 14.7 months.
◦Safety remained consistent with previously reported results from CRB-401. Among all infused patients , the most frequent adverse events were
neutropenia (92%), cytokine release syndrome (CRS; 76%), anemia (76%), and thrombocytopenia (74%). The most frequent Grade 3/4 adverse
events were neutropenia (89%), leukopenia (61%), anemia (57%), and thrombocytopenia (57%). Most CRS events were Grade 1 or 2. Four patients
(7%) had Grade 3 CRS; there were no Grade 4 or 5 CRS events reported.
•the KarMMa-2 study, an open-label, multi-cohort, multi-center phase 2 study of patients with relapsed and refractory multiple myeloma and in
high-risk multiple myeloma.
•the KarMMa-3 study, an open-label, randomized, multi-center, phase 3 study comparing the efficacy and safety of ide-cel versus standard triplet
regimens in patients with relapsed and refractory multiple myeloma.
•the KarMMa-4 study, an open label, single-arm, multi-center, phase 1 study intended to determine the optimal target dose and safety of ide-cel in
patients with high-risk newly-diagnosed multiple myeloma.
For the development of the bb21217 product candidate, we are conducting the CRB-402 study, a single-dose, open label, single-arm, multi-center,
phase 1 dose escalation/ dose expansion clinical study in the United States to examine the safety and efficacy of our bb21217 product candidate in
up to 74 patients with relapsed and refractory multiple myeloma. In order to be eligible for CRB-402, patients must have received three prior
regimens, including a proteasome inhibitor (PI: bortezomib or carfilzomib) and immunomodulatory agent (IMiD: lenalidomide or pomalidomide), or
be “double-refractory” to both a proteasome inhibitor and an immunomodulatory agent. In the expansion cohort, patients must have received at
least a PI, and IMiD and daratumumab, and be refractory to their last line of therapy. Patients receive one cycle of lymphodepletion with
cyclophosphamide and fludarabine prior to infusion of the bb21217 drug product.
The primary endpoint of the study is the incidence of adverse events and abnormal laboratory test results, including dose-limiting toxicities. The
study also seeks to assess disease-specific response including: complete response (CR), very good partial response (VGPR), and partial response
(PR) according to the International Myeloma Working Group Uniform Response Criteria for Multiple Myeloma. The study also seeks to determine
the maximally tolerated dose and recommended dose for further clinical trials. Each patient will be followed for up to 60 months post-treatment, and
then will be enrolled in a long-term follow-up protocol that will assess safety and efficacy beyond the 60-month period.
In December 2020, we presented updated clinical data from the CRB-402 study at the ASH Annual Meeting. All data presented at the ASH Annual
Meeting and summarized here are as of the data cut-off date of September 1, 2020. Sixty-nine patients received treatment as of the data cut-off.
Patients had a median of six prior lines of therapy and 78 percent of patients received at least one prior autologous stem cell transplant.

          CAR+ T cell dose level                     150 x 106 (n=12)      300 x 106 (n=14)       450 x 106 (n=43)    150-450 x 106 (n=69)

          Median follow-up (min, max), months           20 (4, 35)             11 (3, 21)            4 (<1, 17)            6 (<1, 35)
          Tumor repsonse, n/N(%)
          ORR                                           10/12 (83)             6/14 (43)             24/33 (73)            40/59 (68)
          sCR/CR                                          5 (42)                 2 (14)               10 (30)               17 (29)
          VGPR                                            5 (42)                 3 (21)                7 (21)               15 (25)
          PR                                                 0                   1 (7)                 7 (21)                8 (14)
          Median time to first response
          (min,max), months
          ≥PR                                            1 (1, 2)               1 (1, 1)              1 (1, 2)              1 (1, 2)
          ≥CR                                            6 (1, 24)             12 (6, 18)             1 (1, 13)             2 (1, 24)




                                                                         12
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 217 of 426 PageID #: 3190

Table of Contents




CAR-T cell persistence was observed in 27 of 30 patients with ongoing response and evaluable at three months, 20 of 23 patients with ongoing
response and evaluable at six months, six of eleven patients with ongoing response and evaluable at twelve months, three of six patients with
ongoing response and evaluable at 18 months, and two of two patients with ongoing response and evaluable at 24 months.
The adverse events observed with bb21217 were consistent with known toxicities of BCMA CAR T-cell therapies, with low rates of Grade ≥3 CRS
and neurotoxicity. Of the 69 patients, 48 patients developed bb21217-related CRS: 45 with Grade 1/2, one with Grade 3, and two with Grade 5 (death).
Eleven of 69 (16%) patients developed neurotoxicity; eight Grade 1/2, two Grade 3 (one with vertigo/dizziness and one with encephalopathy), and
one Grade 4 (encephalopathy). One additional death occurred from infection within 6 months in the absence of MM progression. Cytopenias were
common and not dose related. Grade ≥3 infections were reported in 26 % of patients (18 of 69).

Strategic collaborations in oncology
We have formed and intend to seek other opportunities to form strategic collaborations with third parties who can augment our T cell
immunotherapy, lentiviral vector and gene-editing expertise, and to access the substantial funding and other resources required to develop and
commercialize T cell immunotherapy products. To date, we have focused on forging a limited number of significant strategic collaborations with
leading pharmaceutical companies and academic research centers where both parties contribute expertise to enable the discovery and development
of potential product candidates. Currently, our strategic collaborations in oncology include relationships with:
•BMS, in the development of ide-cel and bb21217 product candidates in multiple myeloma;
•Regeneron, in the discovery, development, and commercialization of novel cell therapies for cancer;
•Medigene AG, to discover TCR product candidates in the field of cancer; and
•Gritstone Oncology, Inc., to validate targets and discover TCR product candidates in the field of cancer.
We also have academic collaborations at various stages or research and preclinical development at the Seattle Children's Research Institute,
University of North Carolina, and the Fred Hutchinson Cancer Research Center.

Our collaboration with BMS
In March 2013, we began a strategic collaboration with Celgene, now BMS, to discover, develop and commercialize chimeric antigen receptor-
modified T cells, or CAR T cells, as potentially disease-altering gene therapies in oncology, which was amended and restated in June 2015, and
amended again in February 2016 and in September 2017. The multi-year research and development collaboration focused on applying our expertise
in gene therapy technology to CAR T cell-based therapies, to target and destroy cancer cells. The research collaboration term ended in June 2018,
with ide-cel and bb21217 product candidates arising from the collaboration.
In February 2016, BMS exercised its option with respect to the ide-cel product candidate, and we exclusively licensed to BMS the worldwide rights
to develop and commercialize the ide-cel product candidate, while retaining an option to co-develop and co-promote the ide-cel product candidate
in the United States. In connection with its exercise of its option to obtain an exclusive license, BMS paid to us an option fee in the amount of $10.0
million. In March 2018, we exercised our option to co-develop and co-promote the ide-cel product candidate in the United States. Under the terms of
the co-development and co-promotion agreement that we have with BMS for the development and commercialization of ide-cel, we share equally in
all costs relating to developing, commercializing and manufacturing the product candidate within the United States and we would share equally in
the United States profits. In 2019, BMS paid us a $10.0 million clinical milestone payment.
In September 2017, BMS exercised its option with respect to the bb21217 product candidate, and we exclusively licensed to BMS the worldwide
rights to develop and commercialize the bb21217 product candidate, while retaining an option to co-develop and co-promote the bb21217 product
candidate in the United States on terms substantially similar to the co-development and co-promotion arrangement for the ide-cel product
candidate. In connection with its exercise of its option to obtain an exclusive license, BMS paid to us an option fee in the amount of $15.0 million.
Under the terms of the license agreement with BMS for the exclusive rights to the development and commercialization of bb21217, we are and will be
responsible for conducting and funding all research and development activities performed up through completion of the CRB-402 study. In 2019,
the protocol was amended to enroll additional patients and BMS has agreed to reimburse us a specified amount for the additional patients.
In May 2020, we amended the co-development and co-promotion agreement with respect to ide-cel and the license agreement with respect to
bb21217. Under these amended agreements, BMS was relieved of its obligations to pay us future ex-U.S. milestones and royalties on ex-U.S. sales
for each of ide-cel and bb21217 in exchange for an up-front, non-refundable, non-creditable payment of $200.0 million. In connection with these
amendments, BMS assumed the contract manufacturing



                                                                          13
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 218 of 426 PageID #: 3191

Table of Contents




agreements relating to ide-cel adherent lentiviral vector. Over time, BMS is assuming responsibility for manufacturing ide-cel suspension lentiviral
vector outside of the U.S., with bluebird responsible for manufacturing ide-cel suspension lentiviral vector in the United States. In addition, under
these amended agreements, the parties are released from future exclusivity related to BCMA-directed T cell therapies. In addition, if we do not
exercise our option to co-develop and co-promote the bb21217 product candidate in the United States, we are also eligible to receive up to $10.0
million in clinical milestone payments, up to $67.5 million in regulatory milestone payments and up to $45.0 million in commercial milestone
payments, as well as a percentage of net sales as a royalty in a range from the mid-single digits to low-teens. The royalties payable to us are subject
to certain reductions, including for any royalty payments required to be made by BMS to acquire patent rights, with an aggregate minimum floor.
BMS will assume certain development obligations and must report on their progress in achieving these milestones on a quarterly basis.
Our collaboration with BMS is governed by a joint governance committee, or JGC, formed by representatives from us and BMS. The JGC, among
other activities, reviews and approves development and commercialization plans and budgets for activities in the United States. Either party may
terminate the agreements upon written notice to the other party in the event of the other party’s uncured material breach. BMS may terminate the
agreement for any reason upon prior written notice to us. If the agreements are terminated, rights to product candidates in development at the time
of such termination will be allocated to the parties through a mechanism included in the agreements. In addition, if BMS has the right to terminate
any co-development and co-promotion agreement or license agreement for our breach, BMS may elect to continue such agreement however, any
amounts payable by BMS to us under such agreement will be reduced.

Manufacturing in Oncology
In November 2017, we purchased a partially completed manufacturing facility located in Durham, North Carolina for $11.5 million. We acquired this
125,000 square foot facility to provide manufacturing capacity for our lentiviral vectors in support of our current and planned gene and cell therapy
product candidates. In March of 2019, we announced the official opening of this facility, of which a portion has been placed into service and the
remainder is in the process of construction. We currently expect that it will begin to produce lentiviral vector in 2021 in support of our oncology
programs, including for ide-cel commercialization, if and when approval is obtained. In addition, we have entered into multi-year agreements with
external manufacturing partners in the United States and Europe to support our various preclinical and clinical programs in oncology.

Intellectual property
We strive to protect and enhance the proprietary technology, inventions, and improvements that are commercially important to the development of
our business, including seeking, maintaining, and defending patent rights, whether developed internally or licensed from third parties. We also rely
on trade secrets relating to our proprietary technology platform and on know-how, continuing technological innovation and in-licensing
opportunities to develop, strengthen and maintain our proprietary position in the field of gene therapy that may be important for the development
of our business. We additionally rely on regulatory protection afforded through orphan drug designations, data exclusivity, market exclusivity, and
patent term extensions where available.
Our commercial success may depend in part on our ability to obtain and maintain patent and other proprietary protection for commercially important
technology, inventions and know-how related to our business; defend and enforce our patents; preserve the confidentiality of our trade secrets;
and operate without infringing the valid enforceable patents and proprietary rights of third parties. Our ability to stop third parties from making,
using, selling, offering to sell or importing our products may depend on the extent to which we have rights under valid and enforceable patents or
trade secrets that cover these activities. With respect to both licensed and company-owned intellectual property, we cannot be sure that patents
will be granted with respect to any of our pending patent applications or with respect to any patent applications filed by us in the future, nor can
we be sure that any of our existing patents or any patents that may be granted to us in the future will be commercially useful in protecting our
commercial products and methods of manufacturing the same.
We have developed or in-licensed numerous patents and patent applications and possess substantial know-how and trade secrets relating to the
development and commercialization of gene therapy products. Our proprietary intellectual property, including patent and non-patent intellectual
property, is generally directed to, for example, certain genes, transgenes, methods of transferring genetic material into cells, genetically modified
cells, processes to manufacture our lentivirus-based product candidates and other proprietary technologies and processes related to our lead
product development candidates. As of January 31, 2021, our patent portfolio includes the following:
•approximately 182 patents or patent applications that we own or have exclusively in-licensed from third parties related to lentiviral vectors and
vector systems;
•approximately 40 patents or patent applications that we have non-exclusively in-licensed from third parties related to lentiviral vectors and vector
systems;



                                                                          14
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 219 of 426 PageID #: 3192

Table of Contents




•approximately 97 patents or patent applications that we own or have exclusively in-licensed from third parties, including 13 that are co-owned with
MIT, related to vector manufacturing or production;
•approximately 194 patents or patent applications that we own or have exclusively or co-exclusively in-licensed from third parties related to
therapeutic cellular product candidates;
•approximately 465 patents or patent applications that we own or have exclusively in-licensed or optioned from third parties related to oncology
product candidates, including CAR T cell vector systems and manufacturing, T cell manufacturing, and therapeutic T cells;
•approximately 201 patents or patent applications that we own or have exclusively or co-exclusively in-licensed from third parties related to gene
editing compositions and methods; and
•approximately 43 patent applications that we have non-exclusively in-licensed from third parties related to gene editing compositions and methods.
Our objective is to continue to expand our portfolio of patents and patent applications in order to protect our gene therapy product candidates
manufacturing processes. Examples of the products and technology areas covered by our intellectual property portfolio are described below. See
also “-License agreements.” From time to time, we also evaluate opportunities to sublicense our portfolio of patents and patent applications that we
own or exclusively license, and we may enter into such licenses from time to time.

Beti-cel and LentiGlobin for SCD
The beti-cel and LentiGlobin for SCD programs include the following patent portfolios described below.
•Pasteur Institute. The Pasteur patent portfolio contains patent applications directed to FLAP/cPPT elements and lentiviral vectors utilized to
produce beti-cel and LentiGlobin for SCD. As of January 31, 2021, we had an exclusive license to two issued U.S. patents. We expect the issued
composition of matter patents to expire in 2022 and 2023 in the United States (excluding possible patent term extensions).
•RDF. The in-licensed patent portfolio from Research Development Foundation, or RDF, in part, contains patents and patent applications directed
to aspects of our lentiviral vectors that may be utilized to produce beti-cel and LentiGlobin for SCD. As of January 31, 2021, we had an exclusive
license (from RDF) to eight issued U.S. patents and two pending U.S. patent applications related to our lentiviral vector platform. Corresponding
foreign patents and patent applications related to our lentiviral vector platform include pending applications or issued patents in Canada, Europe,
and Israel. We expect the issued composition of matter patents to expire from 2021-2027 in the United States, and in 2022 in the rest of the world
(excluding possible patent term extensions). Further, we expect composition of matter patents, if issued from the pending patent applications and if
the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire from 2021-2022 (excluding possible patent term
extensions). We expect any other patents and patent applications in this portfolio other than composition of matter patents, if issued, and if the
appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2021-2022 (worldwide, excluding possible patent term
extensions).
•MIT/bluebird bio. This co-owned patent portfolio contains patents and patent applications directed to certain specific compositions of matter for
lentiviral β-globin expression vectors. As of January 31, 2021, we co-owned four issued U.S. patents and one pending U.S. patent application, as
well as corresponding foreign patents issued in Europe and Hong Kong. We expect the issued composition of matter patents to expire in 2023
(excluding possible patent term extensions). Further, we expect composition of matter patents, if issued from the pending patent applications and if
the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2023 (excluding possible patent term extensions). We
expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
governmental fees are paid, to expire in 2023 (worldwide, excluding possible patent term extensions). We note that we have an exclusive license to
MIT’s interest in this co-owned intellectual property.
•Children’s Medical Center Corporation (CMCC)/bluebird bio. This co-owned patent portfolio contains patent applications directed to certain
specific compositions of matter for treating β-thalassemia and SCD. As of January 31, 2021, we co-owned one pending U.S. patent application, as
well as nine corresponding foreign patent applications. We expect any composition of matter or methods patents, if issued from the pending patent
applications, and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2038 (worldwide, excluding
possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2038 (worldwide, excluding possible patent term extensions). We
note that we have an option to exclusively license CMCC’s interest in this co-owned intellectual property.



                                                                          15
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 220 of 426 PageID #: 3193

Table of Contents




Our β-thalassemia and SCD research programs also include in-licensed patents and patent applications that are directed to certain specific
compositions of matter and methods for treating β-thalassemia/SCD. As of January 31, 2021, we had an exclusive license to two issued U.S. patents
and one pending U.S. patent application and as well as 25 corresponding foreign patents and 15 pending corresponding foreign applications. We
expect the issued composition of matter patents to expire in 2035 in the United States and in the rest of the world (excluding possible patent term
extensions). Further, we expect any composition of matter or method patents, if issued from the pending patent applications, if applicable, and if the
appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2035 (worldwide, excluding possible patent term
extensions). We expect any other patents in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental
fees are paid, to expire from 2035 (worldwide, excluding possible patent term extensions). In addition, as of January 31, 2021, we had a non-exclusive
license to five issued U.S. patents, three pending corresponding foreign patent applications and 32 issued foreign patents. We expect the issued
composition of matter and method patents to expire in 2029 in the United States and in the rest of the world (excluding possible patent term
extensions). We expect any composition of matter or method patents, if issued from the pending patent applications, if applicable, and if the
appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2029 (worldwide, excluding possible patent term
extensions). We expect any other patents in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental
fees are paid, to expire in 2029 (worldwide, excluding possible patent term extensions.

Eli-cel
The eli-cel program includes the following patent portfolios described below.
•Pasteur Institute. The in-licensed Pasteur patent portfolio contains the patents and patent applications described above directed towards aspects
of our lentiviral vectors utilized to produce eli-cel.
•RDF. The in-licensed RDF patent portfolio contains the patents and patent applications described above directed towards aspects of our lentiviral
vectors utilized to produce eli-cel.
•bluebird bio. The bluebird bio patent portfolio contains patents and patent applications directed to compositions of matter for eli-cel vectors and
compositions and methods of using the vectors and compositions in cell-based gene therapy of adrenoleukodystrophy or adrenomyeloneuropathy.
As of January 31, 2021, we owned three U.S. patents and 26 issued foreign patents. We expect the issued composition of matter patents for eli-cel
vectors to expire in 2032 (excluding possible patent term extensions). Further, we expect composition of matter or method patents, if issued from the
pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2032 (worldwide,
excluding possible patent term extensions). We expect any other patents in this portfolio, if issued, and if the appropriate maintenance, renewal,
annuity, or other governmental fees are paid, to expire in 2032 (worldwide, excluding possible patent term extensions).

Ide-cel, bb21217, and independent multiple myeloma program
The multiple myeloma programs include the following patent portfolios described below.
•Pasteur Institute. The in-licensed Pasteur patent portfolio contains patents and patent applications described above that are directed towards
aspects of our lentiviral vectors utilized to produce our product candidates for multiple myeloma.
•RDF. The in-licensed RDF patent portfolio contains the patents and patent applications described above directed towards aspects of our lentiviral
vectors utilized to produce our product candidates for multiple myeloma. In addition, the RDF portfolio contains additional patent applications
directed to aspects of our oncology program. As of January 31, 2021, we had an exclusive license (from RDF) to five issued patents related to our
oncology platform. We expect the issued patents to expire from 2021-2022 (excluding possible patent term extensions). Further, we expect
composition of matter or methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or
other governmental fees are paid, to expire from 2021-2022 (excluding possible patent term extensions). We expect any other patents and patent
applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from
2021-2022 (worldwide, excluding possible patent term extensions).
•Biogen. The in-licensed patent portfolio from Biogen Inc., formerly Biogen Idec MA Inc. and referred to herein as Biogen, contains patents and
patent applications directed towards aspects of T cell-based products that target BCMA. As of January 31, 2021, we had a co-exclusive license to
five issued U.S. patents and one pending U.S. patent application and one pending corresponding foreign application and 49 issued corresponding
foreign patents related to bb2121. We expect the issued patents to expire from 2024-2032 (excluding possible patent term extensions). Further, we
expect composition of matter or methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal,
annuity or other governmental fees are paid, to expire from 2024-2030 (excluding



                                                                          16
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 221 of 426 PageID #: 3194

Table of Contents




possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2024-2030 (worldwide, excluding possible patent term extensions).
•NIH. The in-licensed patent portfolio from NIH contains patents and patent applications directed towards aspects of T cell-based products that
target BCMA. As of January 31, 2021, we had an exclusive license to 13 issued U.S. patents, 3 pending U.S. patent applications and 20
corresponding foreign patent applications and 19 issued corresponding foreign patents related to ide-cel. We expect the issued composition of
matter patents to expire from 2033-2034 (excluding possible patent term extensions). We expect any other composition of matter and methods
patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to
expire in 2033 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the
appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2033 (worldwide, excluding possible patent term
extensions).
•bluebird bio. The bluebird bio patent portfolio contains patents and patent applications directed to certain specific compositions of matter for
generating CAR T cells. As of January 31, 2021, we owned seven issued U.S. patents, ten pending U.S. patent applications, 104 corresponding
foreign patent applications, 181 foreign patents and one pending PCT application. We expect the issued composition of matter and methods
patents to expire in 2035 (excluding possible patent term extensions). We expect any composition of matter or methods patents, if issued from a
corresponding nonprovisional application or national stage application, or corresponding foreign applications, if applicable, and if the appropriate
maintenance, renewal, annuity or other governmental fees are paid, to expire from 2035-2040 (worldwide, excluding possible patent term extensions).
We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
governmental fees are paid, to expire from 2035-2040 (worldwide, excluding possible patent term extensions).

Lentiviral platform (e.g., vectors, manufacturing, and cell therapy products)
The lentiviral platform, which is potentially applicable across our programs in severe genetic disease and oncology, includes the following patent
portfolios described below.
•Pasteur Institute. The Pasteur patent portfolio contains the patents and patent applications described above.
•RDF. The in-licensed RDF patent portfolio contains the patents and patent applications described above.
•SIRION. The in-licensed patent portfolio from SIRION Biotech GmbH, or SIRION, contains patents and patent applications directed to methods of
manufacturing ex vivo gene therapy products with a lentiviral vector. As of January 31, 2021, we had an exclusive license to two issued U.S.
patents, one pending U.S. patent application and two corresponding foreign patent applications and issued corresponding foreign patents in
Europe, Israel, and Japan. We expect the issued method patents to expire in 2033 (excluding possible patent term extensions). We expect any other
composition of matter and methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or
other governmental fees are paid, to expire in 2033 (excluding possible patent term extensions). We expect any other patents and patent applications
in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2033 (worldwide,
excluding possible patent term extensions).
•bluebird bio. Another component of the bluebird bio patent portfolio includes the vector manufacturing platform and is potentially applicable
across our severe genetic disease and oncology programs. This portion of the portfolio contains patents and patent applications directed to
improved methods for transfection and transduction of therapeutic cells. As of January 31, 2021, we owned three issued U.S. patents, four pending
U.S. patent applications and 40 corresponding foreign patent applications and 55 issued corresponding foreign patents. We expect the issued
method patents to expire in 2032 (excluding possible patent term extensions). We expect composition of matter and method patents, if issued from
the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire from 2032-2038
(excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2032-2038 (worldwide, excluding possible patent term extensions).

Oncology platform (e.g., vectors, manufacturing, and T cell-based products)
Our T cell-based oncology platform and oncology research program, which is applicable to our multiple myeloma programs and other potential
programs in cancer, includes the following patent portfolios described below.
•Pasteur Institute. The Pasteur patent portfolio contains the patents and patent applications described above.



                                                                           17
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 222 of 426 PageID #: 3195

Table of Contents




•RDF. The in-licensed RDF patent portfolio described above contains patents and patent applications that are also applicable to our oncology
platform. In addition, the RDF portfolio contains additional patent applications directed to aspects of our oncology program. As of January 31,
2021, we had an exclusive license (from RDF) to five issued patents related to our oncology platform. We expect the issued patents to expire from
2021-2022 (excluding possible patent term extensions). Further, we expect composition of matter or methods patents, if issued from the pending
patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire from 2021-2022 (excluding
possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2021-2022 (worldwide, excluding possible patent term extensions).
•bluebird bio. One aspect of the bluebird bio patent portfolio contains patent applications directed to certain specific compositions of matter for
generating CAR T cells directed against various cancers and improved CAR T cell compositions. As of January 31, 2021, we owned three issued
U.S. patents, 13 pending U.S. patent applications and 74 corresponding foreign patent applications and three foreign patents; six families of
pending U.S. provisional applications; and nine pending PCT applications. We expect the issued composition of matter patent to expire in 2034
(excluding possible patent term extensions). We expect any composition of matter or methods patents, if issued from a corresponding
nonprovisional application or national stage application, or corresponding foreign applications, if applicable, and if the appropriate maintenance,
renewal, annuity or other governmental fees are paid, to expire from 2034-2041 (worldwide, excluding possible patent term extensions). We expect
any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental
fees are paid, to expire from 2034-2041 (worldwide, excluding possible patent term extensions).
•T Cell Manufacturing Methods License. We have in-licensed patents and patent applications that are directed to certain specific methods for
generating CAR T cells. As of January 31, 2021, we had a nonexclusive license to two issued U.S. patents, one pending U.S. patent application, and
30 corresponding issued foreign patents. We expect the issued method patents to expire in 2026 (excluding possible patent term extensions).
Further, we expect methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other
governmental fees are paid, to expire in 2026 (excluding possible patent term extensions). We expect any other patents and patent applications in
this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2026 (worldwide,
excluding possible patent term extensions).
•T Cell Immunotherapy Product Candidate Licenses. We have in-licensed patents and patent applications that are directed to certain specific
compositions of matter for generating CAR T cells directed against various cancers and related methods of treatment. As of January 31, 2021, we
have an exclusive license to one issued U.S. patent and ten corresponding foreign patents and co-own a pending US application and seven
corresponding foreign patent applications to a particular target antigen. We expect the issued composition of matter patent to expire in 2025
(excluding possible patent term extensions). We expect any composition of matter or methods patents, if issued from a corresponding
nonprovisional application or foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental fees
are paid, to expire in 2036 (worldwide, excluding possible patent term extensions). We expect any other patents and patent applications in this
portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2036 (worldwide, excluding
possible patent term extensions). In addition, as of January 31, 2021, we have an exclusive license to three families of U.S. non-provisional
applications and corresponding PCT applications directed to compositions and methods for treating cancers that express particular target antigens.
We expect any composition of matter or method of use patents, if issued from a corresponding nonprovisional application or corresponding foreign
applications, if applicable, and if the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2039 (worldwide,
excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate
maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2039 (worldwide, excluding possible patent term extensions). Also
as of January 31, 2021, we co-own a PCT application directed to compositions and methods for treating cancers that express a particular antigen.
We expect any composition of matter or methods patents, if issued from a corresponding nonprovisional applications or foreign applications, if
applicable, and if the appropriate, renewal, annuity or other governmental fees are paid, to expire in 2040 (worldwide, excluding possible patent term
extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or
other governmental fees are paid, to expire in 2040 (worldwide, excluding possible patent term extensions). Also as of January 31, 2021, we co-own
three families of PCT applications directed to compositions and methods for treating cancers that express a particular antigen. We expect any
composition of matter or methods patents, if issued from a corresponding nonprovisional application or foreign applications, if applicable, and if
the appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire in 2040 (worldwide, excluding possible patent term
extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity,



                                                                          18
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 223 of 426 PageID #: 3196

Table of Contents




or other governmental fees are paid, to expire from 2040 (worldwide, excluding possible patent term extensions). Also as of January 31, 2021, we
have an option to exclusively license two U.S. patent applications and 7 corresponding foreign patent applications that are directed to
compositions and methods for treating cancers that express a particular antigen. We expect any composition of matter or methods patents, if issued
from corresponding nonprovisional applications or foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other
governmental fees are paid, to expire from 2037-2039 (worldwide, excluding possible patent term extensions). We expect any other patents and
patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire
from 2037-2039 (worldwide, excluding possible patent term extensions).

Gene editing platform (e.g., homing endonucleases, chimeric endonucleases, megaTALs, genetically modified cells)
The gene editing platform includes the following patent portfolios described below.
•Pasteur Institute. The Pasteur patent portfolio described above may contain patents and patent applications that are potentially applicable to our
gene editing platform.
•RDF. The in-licensed RDF patent portfolio described above may contain patents and patent applications that are potentially applicable to our gene
editing platform.
•Gene Editing License. We in-licensed patent portfolios that contain patents and patent applications directed to aspects of our gene editing
platform to produce genome modifying enzymes and genetically modified cells that are potentially applicable to our β-thalassemia, SCD, oncology
and other programs. As of January 31, 2021, we had an exclusive/co-exclusive license to seven issued U.S. patents and one pending U.S. patent
application and 27 corresponding foreign patents and three corresponding patent applications related to our gene editing platform. We expect the
issued composition of matter patents to expire in 2030 (excluding possible patent term extensions). Further, we expect composition of matter or
methods patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees
are paid, to expire in 2030 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2030 (worldwide, excluding possible
patent term extensions). In addition, as of January 31, 2021, we had an exclusive license to two issued U.S. patents and six corresponding foreign
patents related to our gene editing platform. We expect the issued composition of matter patent to expire from 2027-2031 in the United States
(excluding possible patent term extensions) and in 2027 in the rest of the world.
•Academic Gene Editing Licenses. We in-licensed patent portfolios from multiple academic medical centers, each portfolio containing patents and
patent applications directed to aspects of our gene editing platform to produce genome modifying enzymes and genetically modified cells that are
potentially applicable to our β-thalassemia, SCD, oncology and other programs. As of January 31, 2021, we had an exclusive license to four issued
U.S. patents and three pending U.S. patent applications and 15 corresponding foreign patents and two corresponding patent applications related to
our gene editing platform. We expect the issued patent to expire in 2027 (excluding possible patent term extensions) in the U.S. and from 2027-3032
in the rest of the world. We expect composition of matter or method patents, if issued from the pending patent applications and if the appropriate
maintenance, renewal, annuity or other governmental fees are paid, to expire from 2027-2032 (excluding possible patent term extensions). We expect
any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental
fees are paid, to expire from 2027-2032 (worldwide, excluding possible patent term extensions). As of January 31, 2021, we also had a non-exclusive
license to one issued U.S. patent and one pending U.S. patent application related to our gene editing platform. We expect the issued composition of
matter patent to expire in 2035 (excluding possible patent term extensions). We expect any other composition of matter or methods patents, if issued
from corresponding nonprovisional applications or foreign applications, if applicable, and if the appropriate maintenance, renewal, annuity or other
governmental fees are paid, to expire in 2035 (worldwide, excluding possible patent term extensions). We expect any other patents and patent
applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire from 2035
(worldwide, excluding possible patent term extensions). In addition, as of January 31, 2021, we had an exclusive license to one issued U.S. patent,
and 20 corresponding issued foreign patents and 7 corresponding foreign patent applications related to our gene editing platform. We expect the
issued composition of matter patents to expire in 2033 (excluding possible patent term extensions). We expect other composition of matter or
method patents, if issued from the pending patent applications and if the appropriate maintenance, renewal, annuity or other governmental fees are
paid, to expire from 2033 (excluding possible patent term extensions). We expect any other patents and patent applications in this portfolio, if
issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees are paid, to expire in 2033 (worldwide, excluding possible
patent term extensions). As of January 31, 2021, we also had a non-exclusive license



                                                                           19
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 224 of 426 PageID #: 3197

Table of Contents




to two issued U.S. patents, one pending U.S. application, 25 corresponding foreign patent applications, and 13 corresponding foreign patents
related to our gene editing platform. We expect the issued composition of matter patents to expire in 2033 (excluding possible patent term
extensions). Further, we expect composition of matter or method patents, if issued from the pending patent applications and if the appropriate
maintenance, renewal, annuity or other governmental fees are paid, to expire from 2033 (excluding possible patent term extensions). We expect any
other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees
are paid, to expire in 2033 (worldwide, excluding possible patent term extensions).
•bluebird bio. One aspect of the bluebird bio patent portfolio contains patent applications that are potentially applicable to certain aspects of our
gene editing platform to produce genome modifying enzymes and genetically modified cells that are potentially applicable to our oncology and
other programs. As of January 31, 2021, we owned 11 patent families that include one issued U.S. patent, 14 pending U.S. patent applications and 58
corresponding foreign patent applications related to our gene editing platform. We expect any composition of matter or methods patents, if issued
from a corresponding nonprovisional application or national stage application, or corresponding foreign applications, if applicable, and if the
appropriate maintenance, renewal, annuity or other governmental fees are paid, to expire from 2037-2038 (worldwide, excluding possible patent term
extensions). We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or
other governmental fees are paid, to expire from 2037-2038 (worldwide, excluding possible patent term extensions). As of January 31, 2021, we
owned three PCT applications related to our gene editing platform. We expect any composition of matter or methods patents, if issued from a
corresponding nonprovisional application or national stage application, or corresponding foreign applications, if applicable, and if the appropriate
maintenance, renewal, annuity or other governmental fees are paid, to expire from 2038-2039 (worldwide, excluding possible patent term extensions).
We expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
governmental fees are paid, to expire from 2038-2039 (worldwide, excluding possible patent term extensions). As of January 31, 2021, we also owned
one provisional application related to our gene editing platform. We expect any composition of matter or methods patents, if issued from a
corresponding nonprovisional application or national stage application, or corresponding foreign applications, if applicable, and if the appropriate
maintenance, renewal, annuity or other governmental fees are paid, to expire in 2041 (worldwide, excluding possible patent term extensions). We
expect any other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other
governmental fees are paid, to expire in 2041 (worldwide, excluding possible patent term extensions). As of January 31, 2021, we co-owned (with
Cellectis SA) two issued U.S. patents, two corresponding foreign patent applications, and 17 corresponding foreign patents related to our gene
editing platform. We expect composition of matter or method patents, if issued from the pending patent applications and if the appropriate
maintenance, renewal, annuity or other governmental fees are paid, to expire in 2034 (excluding possible patent term extensions). We expect the
other patents and patent applications in this portfolio, if issued, and if the appropriate maintenance, renewal, annuity, or other governmental fees
are paid, to expire in 2034 (worldwide, excluding possible patent term extensions).
The term of individual patents depends upon the legal term of the patents in the countries in which they are obtained. In most countries in which
we file, the patent term is 20 years from the date of filing the non-provisional application. In the United States, a patent’s term may be lengthened by
patent term adjustment, which compensates a patentee for administrative delays by the U.S. Patent and Trademark Office in granting a patent, or
may be shortened if a patent is terminally disclaimed over an earlier-filed patent.
The term of a patent that covers an FDA-approved drug may also be eligible for patent term extension, which permits patent term restoration of a
U.S. patent as compensation for the patent term lost during the FDA regulatory review process. The Hatch-Waxman Act permits a patent term
extension of up to five years beyond the expiration of the patent. The length of the patent term extension is related to the length of time the drug is
under regulatory review. A patent term extension cannot extend the remaining term of a patent beyond a total of 14 years from the date of product
approval and only one patent applicable to an approved drug may be extended. Moreover, a patent can only be extended once, and thus, if a single
patent is applicable to multiple products, it can only be extended based on one product. Similar provisions are available in Europe and other foreign
jurisdictions to extend the term of a patent that covers an approved drug. When possible, depending upon the length of clinical trials and other
factors involved in the filing of a BLA, we expect to apply for patent term extensions for patents covering our product candidates and their methods
of use.
We may rely, in some circumstances, on trade secrets to protect our technology. However, trade secrets can be difficult to protect. We seek to
protect our proprietary technology and processes, in part, by entering into confidentiality agreements with our employees, consultants, scientific
advisors and third parties. We also seek to preserve the integrity and confidentiality of our data and trade secrets by maintaining physical security
of our premises and physical and electronic security of our information technology systems. While we have confidence in these individuals,
organizations and systems, agreements or security measures may be breached, and we may not have adequate remedies for any breach. In addition,
our trade secrets may



                                                                          20
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 225 of 426 PageID #: 3198

Table of Contents




otherwise become known or be independently discovered by competitors. To the extent that our consultants or collaborators use intellectual
property owned by others in their work for us, disputes may arise as to the rights in related or resulting know-how and inventions.


License agreements
Inserm-Transfert
In May 2009, we entered into an exclusive license with Inserm-Transfert, which is a wholly-owned subsidiary of Institut national de la santé et de la
recherche médicale, for use of certain patents and know-how related to the ABCD1 gene and corresponding protein, for use in the field of human
ALD therapy. Inserm-Transfert is referred to herein as Inserm. The last patent in the Inserm licensed patent portfolio expired in February of 2016.
Inserm retains the right to practice the intellectual property licensed under the agreement for educational, clinical and preclinical studies purposes.
Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include eli-cel, we will be obligated
to pay Inserm a percentage of net sales as a royalty for the longer of the life of any patents covering the product or 10 years from first commercial
sale. This royalty is in the low single digits. The royalties payable to Inserm are subject to reduction for any third-party payments required to be
made, with a minimum floor in the low single digits.
We are required to use all commercially reasonable efforts to develop licensed products and introduce them into the commercial market as soon as
practical, consistent with our reasonable business practices and judgment in compliance with an agreed upon development plan. We have assumed
certain development, regulatory and commercial milestone obligations and must report on our progress in achieving these milestones on an annual
basis.
We may unilaterally terminate the license agreement at any time. Either party may terminate the agreement in the event of the other party’s material
breach which remains uncured after 60 days of receiving written notice of such breach or in the event the other party becomes the subject of a
voluntary or involuntary petition in bankruptcy and such petition is not dismissed with prejudice within 120 days after filing. In addition, Inserm
may terminate the license agreement in the event that we cannot prove within 60 days of written notice from Inserm that we have been diligent in
developing the licensed products and introducing them into the commercial market.
Absent early termination, the agreement will automatically terminate upon the expiration of all issued patents and filed patent applications within
the patent rights covered by the agreement or 10 years from the date of first commercial sale of a licensed product, whichever is later. The license
grant ceases in connection with any such termination. The longest lived patent rights licensed to us under the agreement expired in 2016.

Institut Pasteur
We have entered into a license with Institut Pasteur for certain patents relating to the use of DNA sequences, lentiviral vectors and recombinant
cells in the field of ex vivo gene therapy and CAR T cell-based therapy in a range of indications, excluding vaccinations. This agreement was
amended twice in 2012, again in 2013 and most recently in 2015. The Institut Pasteur licensed patent portfolio includes two U.S. patents. The issued
patents have statutory expiration dates in 2022 and 2023. The license is exclusive for products containing human and non-human lentiviral vectors.
Institut Pasteur retains the right, on behalf of itself, its licensees and research partners, to conduct research using the licensed intellectual property.
We have the right to grant sublicenses outright to third parties under the agreement. For the first sublicense including a product targeting β-
hemoglobinopathies (including β-thalassemia and SCD) or ALD (including CALD and adrenomyeloneuropathy), we must pay Institut Pasteur an
additional payment of €3.0 million. If we receive any income (cash or non-cash) in connection with sublicenses for products targeting indications
other than β-hemoglobinopathies (including β-thalassemia and SCD) or ALD (including CALD and adrenomyeloneuropathy ), we must pay Institut
Pasteur a percentage of such income varying from low single digits if the sublicense also includes licenses to intellectual property controlled by us,
and a percentage of sublicense income in the mid-range double digits if the sublicense does not include licenses to intellectual property controlled
by us.
Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include beti-cel, LentiGlobin for
SCD, eli-cel, ide-cel and bb21217, we will be obligated to pay Institut Pasteur a percentage of net sales as a royalty. This royalty varies depending
on the indication of the product but in any event is in the low single digits. In addition, starting in 2016 we must make under this agreement an
annual maintenance payment which is creditable against royalty payments on a year-by-year basis. If the combined royalties we would be required
to pay to Institut Pasteur and third parties is higher than a pre-specified percentage, we may ask Institut Pasteur to re-negotiate our royalty rates
under this relationship.



                                                                            21
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 226 of 426 PageID #: 3199

Table of Contents




We are required to use all reasonable commercial efforts (as compared to a company of similar size and scope) to develop and commercialize one or
more products in the license field and to obtain any necessary governmental approvals in respect of, and market the products in license field, if any.
Additionally, we have assumed certain development and regulatory milestone obligations. We must report on our progress towards achieving these
milestones on an annual basis. We may unilaterally terminate the license agreement at any time by sending Institut Pasteur 90 days prior written
notice. Either party may terminate the license in the event of the other party’s substantial breach which remains uncured after 60 days of receiving
written notice of such breach. Institut Pasteur may also terminate the agreement in the event bankruptcy proceedings are opened against us and
not dismissed within 60 days.
Absent early termination, the agreement will automatically terminate upon the expiration of the last licensed patents or five years after first market
authorization of the first product, whichever occurs later. In the event the agreement is terminated, while the license grant would cease, we would
retain the right to manufacture, import, use and sell licensed products for a certain period of time post-termination. In addition, our ownership stake
in certain jointly made improvements covered by the licensed patents would survive termination of the agreement. The longest lived patent rights
licensed to us under the agreement are currently expected to expire in 2023.

Stanford University
In July 2002, we entered into a non-exclusive license agreement with the Board of Trustees of the Leland Stanford Junior University, referred to
herein as Stanford, which we amended and restated in April 2012. Under this agreement, we are granted a license to use the HEK293T cell line for
any commercial or non-commercial use for research, nonclinical and clinical development purpose and human and animal gene therapy products.
We have the right to grant sublicenses outright to third parties under the agreement. For each such sublicense we grant, we must pay Stanford a
fee (unless the sublicense is to a collaborating partner, contract manufacturer or contract research organization).
Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include beti-cel, LentiGlobin for
SCD, eli-cel, ide-cel and bb21217, we will be obligated to pay Stanford a percentage of net sales as a royalty. This royalty varies with net sales but in
any event is in the low single digits and is reduced for each third-party license that requires payments by us with respect to a licensed product,
provided that the royalty to Stanford is not less than a specified percentage which is less than one percent. Since April 2013, we have been paying
Stanford an annual maintenance fee, which will be creditable against our royalty payments.
We may unilaterally terminate the agreement by giving Stanford 30 days’ written notice. Stanford may also terminate the license agreement if after
30 days of providing notice we are delinquent on any report or payment, are not using commercially reasonable efforts to develop, manufacture
and/or commercialize one or more licensed products, are in material breach of any provision or provide any false report. Termination of this
agreement may require us to utilize different cell types for vector manufacturing, which could lead to delays.
Absent early termination, the license will expire in April 2037. We may elect to extend the term for an additional 25 years so long as we have a
commercial product on the market at that time and we are in material compliance with the license agreement.

Massachusetts Institute of Technology
In December 1996, we entered into an exclusive license with the Massachusetts Institute of Technology, referred to herein as MIT, for use of certain
patents in any field. This license agreement was amended in December 2003, May 2004 and June 2011. The licensed patent portfolio includes at
least 13 U.S. and foreign patents and patent applications. Any patents within this portfolio that have issued or may yet issue would have a
statutory expiration date from in 2023. This license also has been amended to include a case jointly owned by MIT and us wherein we received the
exclusive license to MIT’s rights in this case. MIT retains the right to practice the intellectual property licensed under the agreement for
noncommercial research purposes.
We have the right to grant sublicenses outright to third parties under the agreement. In the event we sublicense the patent rights, we must pay MIT
a percentage of all payments we receive from by the sublicensee. This percentage varies from mid-single digits to low double digits.
Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include beti-cel and LentiGlobin
for SCD, we will be obligated to pay MIT a percentage of net sales by us or our sublicensees as a royalty. This royalty is in the low single digits
and is reduced for royalties payable to third parties, provided that the royalty to MIT is not less than a specified percentage that is less than one-
percent. In addition, we make under this agreement an annual maintenance payment which may be credited against the royalty payments.



                                                                           22
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 227 of 426 PageID #: 3200

Table of Contents




We are required to use diligent efforts to market licensed products and to continue active, diligent development and marketing efforts for licensed
products during the term of the agreement. We have assumed certain milestones with respect to raising capital investment and regulatory progress.
We must report on our progress on achieving these milestones on an annual basis.
We may unilaterally terminate the license agreement upon six months’ notice to MIT. MIT may terminate the agreement if we cease to carry on our
business, or in the event of our material breach which remains uncured after 90 days of receiving written notice of such breach (30 days in the case
of nonpayment). In the event the agreement is terminated, while the license grant would cease, we would retain a right to complete manufacture of
any licensed products in process and sell then-existing inventory. In addition, MIT would grant our sublicensees a direct license following such
termination. With respect to jointly owned intellectual property, any termination would allow MIT to grant licenses to any third-party to such
intellectual property, without our approval, unless a sublicensee was already in place, in which case, MIT would grant our sublicensees a direct
license.

Research Development Foundation
In December 2011, we entered into an exclusive license with RDF to use certain patents that involve lentiviral vectors. The RDF licensed patent
portfolio includes at least 31 U.S. and foreign patents and patent applications. Any patents within this portfolio that have issued or may yet issue
would have an expected statutory expiration date between 2021 and 2027. RDF retains the right, on behalf of itself and other nonprofit academic
research institutions, to practice and use the licensed patents for any academic, non-clinical research and educational purposes. We have the right
to grant sublicenses outright to third parties under the agreement.
Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include beti-cel, LentiGlobin for
SCD, eli-cel, ide-cel and bb21217 , we are obligated to pay RDF a percentage of net sales as a royalty. This royalty is in the low single digits and is
reduced by half if during the following ten years from the first marketing approval the last valid claim within the licensed patent that covers the
licensed product expires or ends.
We are required to use commercially reasonable and diligent efforts for a company of our size and resources to develop or commercialize one or
more licensed products, including our first licensed product by 2016 and a second licensed product by 2018. These diligence efforts include
minimum annual royalty payments to RDF, which are creditable against earned royalties otherwise due to RDF, and payments upon regulatory
milestones.
RDF may terminate the agreement in the event of our material breach which remains uncured after 90 days of receiving written notice of such breach
(30 days in the case of nonpayment) or in the event we become bankrupt, our business or assets or property are placed in the hands of a receiver,
assignee or trustee, we institute or suffer to be instituted any procedure in bankruptcy court for reorganization or rearrangement of our financial
affairs, make a general assignment for the benefit of creditors, or if we or an affiliate or a sublicensee institutes any procedure challenging the
validity or patentability of any patent or patent application within the licensed patents, the agreement will immediately terminate.
Absent early termination, the agreement will continue until its expiration upon the later of there being no more valid claims within the licensed
patents or the expiration of our royalty obligations on licensed products that are subject to an earned royalty, if such earned royalty is based on the
minimum 10-year royalty period described above. In the event the agreement is terminated, while the license grant would cease, RDF will grant our
sublicensees a direct license. The longest lived patent rights licensed to us under the agreement are in one U.S. patent currently expected to expire
in 2027.

Biogen
In August 2014, we entered into a license agreement with Biogen, pursuant to which we co-exclusively licensed certain patents and patent
applications directed towards aspects of T cell-based products that target BCMA. Any patents within this portfolio that have issued or may yet
issue would have an expected statutory expiration date between 2024 and 2032. Biogen retains the right to practice and use the licensed patents in
the licensed field and territory. We have the right to grant sublicenses to third parties, subject to certain conditions. Upon commercialization of our
products covered by the in-licensed intellectual property, which we expect would include ide-cel and bb21217, we will be obligated to pay Biogen a
percentage of net sales as a royalty in the low single digits. We are required to use commercially reasonable efforts to research and develop one or
more licensed products in the license field during the term of the agreement. Additionally, we have assumed certain development and regulatory
milestone obligations and must report on our progress in achieving those milestones on a periodic basis. We may be obligated to pay up to $24.0
million in the aggregate for each licensed product upon the achievement of these milestones. We may unilaterally terminate the license agreement at
any time with prior written notice to Biogen. Either party may terminate the license in the event of the other party’s material breach upon notice and
an opportunity for the breaching party to cure. Either party may also terminate the agreement in the event bankruptcy proceedings are opened
against the other party and are not dismissed within a specified period of time. Absent early termination, the agreement will automatically



                                                                           23
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 228 of 426 PageID #: 3201

Table of Contents




terminate upon the expiration of all patent rights covered by the agreement or ten years from the date of first commercial sale of a licensed product,
whichever is later. The longest lived patent rights licensed to us under the Agreement are in a U.S. patent, currently expected to expire in 2032.

NIH
In August 2015, we entered into a license agreement with the NIH, pursuant to which we exclusively licensed certain patents and patent
applications directed towards aspects of T cell-based products that target BCMA. Any patents within this portfolio that have issued or may yet
issue would have an expected statutory expiration date in 2033-2034. NIH retains the right to practice the intellectual property licensed under the
agreement on behalf of the government of the United States. We have the right to grant sublicenses to third parties, subject to certain conditions.
For each such sublicense we grant we must pay the NIH a fee. Upon commercialization of our products covered by the in-licensed intellectual
property, which we expect would include ide-cel and bb21217, we will be obligated to pay the NIH a percentage of net sales as a royalty in the low
single digits. We are required to use commercially reasonable efforts to research and develop one or more licensed products in the license field
during the term of the agreement. Additionally, we have assumed certain development and regulatory milestone obligations and must report on our
progress in achieving those milestones on a periodic basis. We may be obligated to pay up to $9.7 million in the aggregate for a licensed product
upon the achievement of these milestones. We may unilaterally terminate the license agreement at any time with prior written notice to the NIH. The
NIH may terminate the license in the event of our material breach upon notice and following an opportunity for us to cure the material breach. The
NIH may also terminate the agreement in the event bankruptcy proceedings are opened against us and are not dismissed within a specified period
of time. Absent early termination, the agreement will automatically terminate upon the expiration of the patent rights covered by the agreement. The
longest lived patent rights licensed to us under the Agreement are currently expected to expire in 2034.

SIRION
In December 2015, we entered into a license agreement with SIRION, pursuant to which we exclusively licensed certain patents and patent
applications directed towards aspects of manufacturing gene therapy products. Any patents within this portfolio that have issued or may yet issue
would have an expected statutory expiration date in 2033. We have the right to grant sublicenses to third parties, subject to certain conditions.
Upon commercialization of our products covered by the in-licensed intellectual property, which we expect would include beti-cel and LentiGlobin
for SCD, we will be obligated to pay SIRION a percentage of net sales as a royalty in the low single digits. We are required to use commercially
reasonable efforts to research and develop one or more licensed products in the license field during the term of the agreement, and we must report
on our progress in achieving those milestones on a periodic basis. We may be obligated to pay up to $13.4 million in the aggregate upon the
achievement of certain development and regulatory milestones. We may unilaterally terminate the license agreement at any time with prior written
notice to SIRION. SIRION may terminate the license in the event of our material breach upon notice and following an opportunity for us to cure the
material breach. SIRION may also terminate the agreement in the event bankruptcy proceedings are opened against us and are not dismissed within
a specified period of time. Absent early termination, the agreement will automatically terminate upon the expiration of the patent rights covered by
the agreement. The longest lived patent rights licensed to us under the Agreement are currently expected to expire in 2033.

Orchard Therapeutics Limited
In April 2017, we entered into a license agreement with GlaxoSmithKline Intellectual Property Development Limited, or GSK, pursuant to which GSK
non-exclusively licensed certain of our patent rights related to lentiviral vector technology to develop and commercialize gene therapies for
Wiscott-Aldrich syndrome and metachromatic leukodystrophy, two rare genetic diseases. Effective April 2018, this license agreement was assigned
by GSK to Orchard Therapeutics Limited, or Orchard. Financial terms of the agreement included an upfront payment to us as well as potential
development and regulatory milestone payments and low single digit royalties on net sales of covered products.

Competition
The biotechnology and pharmaceutical industries are characterized by intense and rapidly changing competition to develop new technologies and
proprietary products. Not only must we compete with other companies that are focused on gene therapy products but any products that we may
commercialize will have to compete with existing therapies and new therapies that may become available in the future. Many of our competitors,
either alone or with their strategic partners, have substantially greater financial, technical and human resources than we do and significantly greater
experience in the discovery and development of product candidates, obtaining FDA and other regulatory approvals of treatments and the
commercialization of those treatments. Accordingly, our competitors may be more successful than us in obtaining approval for treatments and
achieving widespread market acceptance. Our competitors’ treatments may be more effective, or more effectively marketed and sold, than any



                                                                          24
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 229 of 426 PageID #: 3202

Table of Contents




treatment we may commercialize and may render our treatments obsolete or non-competitive before we can recover the expenses of developing and
commercializing any of our treatments.
These competitors also compete with us in recruiting and retaining qualified scientific and management personnel and establishing clinical study
sites and patient registration for clinical studies, as well as in acquiring technologies complementary to, or necessary for, our programs. Smaller or
early-stage companies may also prove to be significant competitors, particularly through collaborative arrangements with large and established
companies.
We anticipate that we will face intense and increasing competition as new drugs enter the market and advanced technologies become available. We
expect any treatments that we develop and commercialize to compete on the basis of, among other things, efficacy, safety, convenience of
administration and delivery, price, the level of generic competition and the availability of reimbursement from government and other third-party
payers.
Our commercial opportunity could be reduced or eliminated if our competitors develop and commercialize products that are safer, more effective,
have fewer or less severe side effects, are more convenient or are less expensive than any products that we may develop. Our competitors also may
obtain FDA or other regulatory approval for their products more rapidly than we may obtain approval for ours, which could result in our
competitors establishing a strong market position before we are able to enter the market. In addition, our ability to compete may be affected in many
cases by insurers or other third-party payers seeking to encourage the use of generic products. If our therapeutic product candidates are approved,
we expect that they will be priced at a significant premium over competitive generic products. Depending on how successful these competitive
efforts are, it is possible they may increase the barriers to adoption and success for our product candidates, and our preclinical T cell-based cancer
immunotherapy product candidates. These efforts include the following:
β-thalassemia - The current standard of care for the treatment of β-thalassemia in the developed world is chronic blood transfusions to address the
patient’s anemia. In addition, such patients often receive iron chelation therapy to help manage the iron overload associated with their chronic
blood transfusions. Novartis and Chiesi, who provide the leading iron chelation therapies, are seeking to develop improvements to their product
profile and accessibility. A number of different approaches are under investigation that seek to improve the current standard of care treatment
options, including a protein that aims to improve red blood cell production and small molecule that aims to improve red blood cell metabolism.
Reblozyl (luspatercept), a subcutaneously-delivered protein therapeutic marketed by Acceleron Pharma, Inc. and BMS that targets molecules in the
TGF-β superfamily, has been approved in the United States for the treatment of anemia in adult patients with beta thalassemia who require regular
red blood cell (RBC) transfusions, and was recently approved in the EU for the treatment of adult patients with transfusion-dependent anaemia
associated with beta-thalassemia. Additionally, Agios has announced that mitapivat, an oral pyruvate kinase receptor activator, will be entering
phase 3 evaluations in 2H 2021. Some patients with β-thalassemia receive HSCT treatment, particularly if a sufficiently well-matched source of
donor cells is identified. In addition, there are a number of academic and industry-sponsored research and development programs to improve the
outcomes of allogeneic HSCT, or the tolerability and safety of haploidentical HSCT, while increasing the availability of suitable donors. There are
also several different groups developing gene therapy options for β-thalassemia. These include: CRISPR Therapeutics AG (in collaboration with
Vertex Pharmaceuticals Incorporated) is conducting an ongoing phase 1/2 study for its CTX-001, which leverages the CRISPR/Cas9 gene editing
platform to disrupt the BCL11A erythroid enhancer; Sangamo BioSciences Inc. (in collaboration with Bioverativ Inc., a Sanofi company) is
investigating ST-400, using a zinc finger nuclease-mediated gene-editing approach currently in an ongoing phase 1/2 study; and the San Raffaele
Telethon Institute for Gene Therapy (in collaboration with Orchard Therapeutics) is currently investigating its gene therapy in a phase 2 study of
adults and pediatric patients with transfusion dependent β-thalassemia (TDT), though Orchard Therapeutics has announced that this program has
been deprioritized as of May 2020.

Sickle cell disease - The current standard of care for the treatment of SCD in the developed world is chronic blood transfusions or hydroxyurea (a
generic drug). In addition, patients treated with chronic blood transfusions often receive iron chelation therapy to help manage the iron overload.
We are aware of ongoing studies that continue to evaluate the efficacy and safety of hydroxyurea in various populations. In addition, a limited
number of patients with SCD receive allogeneic HSCT treatment, particularly if a sufficiently well-matched source of donor cells is identified. There
are a number of academic and industry-sponsored research and development programs to improve the tolerability and safety of allogeneic HSCT
with less well-matched sources of donor cells, while increasing the availability of suitable donors. Emmaus Life Sciences, Inc. received FDA
approval for and have launched Endari (L-glutamine) for the treatment of SCD. In addition to the FDA approved hemoglobin S (HbS) polymerization
inhibitor (voxelotor, Global Blood Therapeutics, Inc.) and the FDA / EMA approved antibody to p-selectin (crizanlizumab, Novartis), a number of
different therapeutic approaches for the chronic treatment of SCD are under investigation targeting the various aspects of SCD pathophysiology,
including: Pyruvate Kinase-R (PKR) activator, FT-4202, in a phase 1 study supported by Forma Therapeutics, a PDE9 inhibitor, IMR-687, in a phase
2 study supported by IMARA Inc., a pyruvate kinase receptor activator, mitapivat, in a phase 1 study supported by Agios Pharmaceuticals, Inc..
There are also several different groups developing gene therapy options for Sickle Cell Disease. These include: CRISPR Therapeutics AG’s (in
collaboration with Vertex Pharmaceuticals Incorporated) ongoing phase 1/2 study for its CTX-001, which leverages the CRISPR/Cas9 gene editing
platform to disrupt the BCL11A erythroid enhancer, Aruvant Sciences, Inc.’s



                                                                           25
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 230 of 426 PageID #: 3203

Table of Contents




ongoing phase 1/2 study for its ARU-1801, which leverages a lentiviral vector encoding γ-globin,, Editas Medicine, Inc.’s ongoing phase 1/2 study
for its EDIT-301, which leverages the CRISPR/Cas12a gene editing platform to target the HBG1/2 promoter to upregulate HbF, and Graphite Bio’s
ongoing phase 1/2 study for its GPH101, which leverages a gene correction platform (CRISPR / homology directed repair (HDR)) to restore normal
hemoglobin production . There are several other groups developing gene therapy approaches for SCD in early phases of development, including
Beam Therapeutics, CSL Behring, Intellia Therapeutics, Inc. (in collaboration with Novartis), and Children’s Hospital of Philadelphia (CHOP).
CALD - The current standard of care for the treatment of CALD is allogeneic HSCT. We understand that various academic centers around the world
are seeking to develop improvements to allogeneic HSCT, such as Magenta Therapeutic, Inc.’s cord blood expansion technology which is currently
being investigated in a phase 2 clinical trial for the treatment of inherited metabolic disorders, including adrenoleukodystrophy. Other possible
treatments being investigated include Orpheris, Inc.’s OP-101, Minoryx Therapeutics’ MIN-102 (leriglitazone), and Viking Therapeutics’ VK0214.
Multiple Myeloma - The current standard of care for relapsed and refractory multiple myeloma includes IMIDs (e.g., thalidomide, lenalidomide,
pomalidomide), proteasome inhibitors (e.g., bortezomib, carfilzomib, ixazomib), monoclonal antibodies (e.g., daratumamab, elotuzumab), cytotoxic
agents, and HSCT. There are several groups developing autologous T cell therapies for relapsed and refractory multiple myeloma that use a similar
autologous ex vivo approach, but a different target antigen, BCMA single-chain variable fragment or, we believe, cell processing techniques. These
programs include: an anti-BCMA CAR T cell therapy that is in a phase 1b/2 study in the United States (Nanjing Legend in collaboration with
Janssen Biotech); an anti-BCMA CAR T cell therapy that is in phase 1 study (Poseida Therapeutics, Inc.); an anti-BCMA CAR T cell therapy in
clinical development (phase 1/2) sponsored by BMS following the completion of its acquisition of Juno Therapeutics, Inc and an anti-BCMA CAR
T cell therapy that is in phase I study (Innovent Biologics Inc). In addition to these autologous T cell-based approaches, Allogene Therapeutics,
Inc., Poseida, and CRISPR Therapeutics have disclosed preclinical programs for allogeneic BCMA CAR T cell therapies. There are also therapies
using other modalities being developed by several groups, including multiple bispecific T cell engagers, including programs currently in clinical
studies supported by Amgen Inc., Regeneron, Janssen Research and Development, LLC, BMS, as well as a specific antibody therapy currently in a
phase 1 study supported by Pfizer, Inc., and an antibody drug conjugate therapy supported by GSK that underwent a BLA submission, and those
being developed in preclinical programs.
T cell-based immunotherapies in oncology - Hundreds of academic laboratories, biotechnology and pharmaceutical companies are researching
and developing T cell-based immunotherapies in oncology, in addition to the multiple myeloma programs described above. These include and are
not limited to Novartis AG, Adaptimmune Inc., Bristol-Myers Squibb Inc., Gilead Sciences, Inc., Pfizer Inc., Amgen, Inc., Sanofi and Takeda among
others. Many of the T cell-based immunotherapy programs being developed by these companies are in phase 1/2 clinical trials for multiple
indications. Cancer therapies in other modalities, such as bispecific antibodies, antibody-drug conjugates, and dendritic cell vaccines, as well as
combinatorial approaches are also in development across a wide range of targets.


Government regulation
In the United States, biological products, including gene therapy products, are subject to regulation under the Federal Food, Drug, and Cosmetic
Act, or FD&C Act, and the Public Health Service Act, or PHS Act, and other federal, state, local and foreign statutes and regulations. Both the
FD&C Act and the PHS Act and their corresponding regulations govern, among other things, the testing, manufacturing, safety, efficacy, labeling,
packaging, storage, record keeping, distribution, reporting, advertising and other promotional practices involving biological products. FDA
approval must be obtained before clinical testing of biological products, and each clinical study protocol for a gene therapy product is reviewed by
the FDA. FDA approval also must be obtained before marketing of biological products. The process of obtaining regulatory approvals and the
subsequent compliance with appropriate federal, state, local and foreign statutes and regulations require the expenditure of substantial time and
financial resources and we may not be able to obtain the required regulatory approvals.
Within the FDA, the Center for Biologics Evaluation and Research, or the CBER, regulates gene therapy products. The CBER works closely with
the NIH. The FDA and the NIH have published guidance documents with respect to the development and submission of gene therapy protocols.
The FDA also has published guidance documents related to, among other things, gene therapy products in general, their preclinical assessment,
observing subjects involved in gene therapy studies for delayed adverse events, potency testing, and chemistry, manufacturing and control
information in gene therapy INDs.
Ethical, social and legal concerns about gene therapy, genetic testing and genetic research could result in additional regulations restricting or
prohibiting the processes we may use. Federal and state agencies, congressional committees and foreign governments have expressed interest in
further regulating biotechnology. More restrictive regulations or claims that our products are unsafe or pose a hazard could prevent us from
successfully commercializing our product or any future products. New government requirements may be established that could delay or prevent
regulatory approval of our product candidates under development. It is impossible to predict whether legislative changes will be enacted,
regulations, policies or guidance changed, or interpretations by agencies or courts changed, or what the impact of such changes, if any, may be.



                                                                         26
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 231 of 426 PageID #: 3204

Table of Contents




U.S. biological products development process
The process required by the FDA before a biological product may be marketed in the United States generally involves the following:
•completion of nonclinical laboratory tests and animal studies according to good laboratory practices, or GLPs, and applicable requirements for the
humane use of laboratory animals or other applicable regulations;
•submission to the FDA of an application for an IND, which must become effective before human clinical studies may begin;
•performance of adequate and well-controlled human clinical studies according to the FDA’s regulations commonly referred to as good clinical
practices, or GCPs, and any additional requirements for the protection of human research subjects and their health information, to establish the
safety and efficacy of the proposed biological product for its intended use;
•submission to the FDA of a Biologics License Application, or BLA, for marketing approval that includes substantive evidence of safety, purity,
and potency from results of nonclinical testing and clinical studies;
•satisfactory completion of an FDA inspection of the manufacturing facility or facilities where the biological product is produced to assess
compliance with GMP, to assure that the facilities, methods and controls are adequate to preserve the biological product’s identity, strength, quality
and purity and, if applicable, the FDA’s current good tissue practices, or GTPs, for the use of human cellular and tissue products;
•potential FDA audit of the nonclinical and clinical study sites that generated the data in support of the BLA; and
•FDA review and approval, or licensure, of the BLA.
Before testing any biological product candidate, including a gene therapy product, in humans, the product candidate enters the preclinical testing
stage. Preclinical tests, also referred to as nonclinical studies, include laboratory evaluations of product chemistry, toxicity and formulation, as well
as animal studies to assess the potential safety and activity of the product candidate. The conduct of the preclinical tests must comply with federal
regulations and requirements including GLPs.
Where a gene therapy study is conducted at, or sponsored by, institutions receiving NIH funding for recombinant DNA research, prior to the
submission of an IND to the FDA, in the past, a protocol and related documentation was submitted to and the study was registered with the NIH
Office of Biotechnology Activities, or OBA, pursuant to the NIH Guidelines for Research Involving Recombinant DNA Molecules, or NIH
Guidelines. Pursuant to the current NIH Guidelines, research involving recombinant or synthetic nucleic acid molecules must be approved by an
institutional biosafety committee, or IBC, a local institutional committee that reviews and oversees basic and clinical research conducted at that
institution. The IBC assesses the safety of the research and identifies any potential risk to public health or the environment. Compliance with the
NIH Guidelines is mandatory for investigators at institutions receiving NIH funds for research involving recombinant DNA, however many
companies and other institutions not otherwise subject to the NIH Guidelines voluntarily follow them. Such trials remain subject to FDA and other
clinical trial regulations, and only after FDA, IBC, and other relevant approvals are in place can these protocols proceed.
The clinical study sponsor must submit the results of the preclinical tests, together with manufacturing information, analytical data, any available
clinical data or literature and a proposed clinical protocol, to the FDA as part of the IND. Some preclinical testing may continue even after the IND is
submitted. The IND automatically becomes effective 30 days after receipt by the FDA, unless the FDA places the clinical study on a clinical hold
within that 30-day time period. In such a case, the IND sponsor and the FDA must resolve any outstanding concerns before the clinical study can
begin. The FDA may also impose clinical holds on a biological product candidate at any time before or during clinical studies due to safety
concerns or non-compliance. If the FDA imposes a clinical hold, studies may not recommence without FDA authorization and then only under terms
authorized by the FDA. Accordingly, we cannot be sure that submission of an IND will result in the FDA allowing clinical studies to begin, or that,
once begun, issues will not arise that suspend or terminate such studies.
Clinical studies involve the administration of the biological product candidate to healthy volunteers or patients under the supervision of qualified
investigators, generally physicians not employed by or under the study sponsor’s control. Clinical studies are conducted under protocols
detailing, among other things, the objectives of the clinical study, dosing procedures, subject selection and exclusion criteria, and the parameters to
be used to monitor subject safety, including stopping rules that assure a clinical study will be stopped if certain adverse events should occur. Each
protocol and any amendments to the protocol must be submitted to the FDA as part of the IND. Clinical studies must be conducted and monitored
in accordance with the FDA’s regulations comprising the GCP requirements, including the requirement that all research subjects provide informed
consent. Further, each clinical study must be reviewed and approved by an IRB at or servicing each institution at which the clinical study will be
conducted. An IRB is charged with protecting the welfare and rights of study participants and considers such items as whether the risks to
individuals participating in the clinical studies are minimized and are reasonable in



                                                                           27
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 232 of 426 PageID #: 3205

Table of Contents




relation to anticipated benefits. The IRB also approves the form and content of the informed consent that must be signed by each clinical study
subject or his or her legal representative and must monitor the clinical study until completed.
Human clinical studies are typically conducted in three sequential phases that may overlap or be combined:
•phase 1. The biological product is initially introduced into healthy human subjects and tested for safety. In the case of some products for severe or
life-threatening diseases, especially when the product may be too inherently toxic to ethically administer to healthy volunteers, the initial human
testing is often conducted in patients.
•phase 2. The biological product is evaluated in a limited patient population to identify possible adverse effects and safety risks, to preliminarily
evaluate the efficacy of the product for specific targeted diseases and to determine dosage tolerance, optimal dosage and dosing schedule.
•phase 3. Clinical studies are undertaken to further evaluate dosage, clinical efficacy, potency, and safety in an expanded patient population at
geographically dispersed clinical study sites. These clinical studies are intended to establish the overall risk/benefit ratio of the product and
provide an adequate basis for product labeling.
Post-approval clinical studies, sometimes referred to as phase 4 clinical studies, may be conducted after initial marketing approval. These clinical
studies are used to gain additional experience from the treatment of patients in the intended therapeutic indication, particularly for long-term safety
follow-up. The FDA recommends that sponsors observe subjects for potential gene therapy-related delayed adverse events for a 15-year period,
including a minimum of five years of annual examinations followed by ten years of annual queries, either in person or by questionnaire, of study
subjects.
During all phases of clinical development, regulatory agencies require extensive monitoring and auditing of all clinical activities, clinical data, and
clinical study investigators. Annual progress reports detailing the results of the clinical studies must be submitted to the FDA. Written IND safety
reports must be promptly submitted to the FDA, the NIH and the investigators for serious and unexpected adverse events, any findings from other
studies, tests in laboratory animals or in vitro testing that suggest a significant risk for human subjects, or any clinically important increase in the
rate of a serious suspected adverse reaction over that listed in the protocol or investigator brochure. The sponsor must submit an IND safety report
within 15 calendar days after the sponsor determines that the information qualifies for reporting. The sponsor also must notify the FDA of any
unexpected fatal or life-threatening suspected adverse reaction within seven calendar days after the sponsor’s initial receipt of the information.
Phase 1, phase 2 and phase 3 clinical studies may not be completed successfully within any specified period, if at all. The FDA or the sponsor or its
data safety monitoring board may suspend a clinical study at any time on various grounds, including a finding that the research subjects or
patients are being exposed to an unacceptable health risk. Similarly, an IRB can suspend or terminate approval of a clinical study at its institution if
the clinical study is not being conducted in accordance with the IRB’s requirements or if the biological product has been associated with
unexpected serious harm to patients.
Human gene therapy products are a new category of therapeutics. Because this is a relatively new and expanding area of novel therapeutic
interventions, there can be no assurance as to the length of the study period, the number of patients the FDA will require to be enrolled in the
studies in order to establish the safety, efficacy, purity and potency of human gene therapy products, or that the data generated in these studies
will be acceptable to the FDA to support marketing approval. The NIH has a publicly accessible database, the Genetic Modification Clinical
Research Information System which includes information on gene transfer studies and serves as an electronic tool to facilitate the reporting and
analysis of adverse events on these studies.
Concurrent with clinical studies, companies usually complete additional animal studies and must also develop additional information about the
physical characteristics of the biological product as well as finalize a process for manufacturing the product in commercial quantities in accordance
with GMP requirements. To help reduce the risk of the introduction of adventitious agents with use of biological products, the PHS Act emphasizes
the importance of manufacturing control for products whose attributes cannot be precisely defined. The manufacturing process must be capable of
consistently producing quality batches of the product candidate and, among other things, the sponsor must develop methods for testing the
identity, strength, quality, potency and purity of the final biological product. Additionally, appropriate packaging must be selected and tested and
stability studies must be conducted to demonstrate that the biological product candidate does not undergo unacceptable deterioration over its
shelf life.

U.S. review and approval processes
After the completion of clinical studies of a biological product, FDA approval of a BLA must be obtained before commercial marketing of the
biological product. The BLA must include results of product development, laboratory and animal studies, human studies, information on the
manufacture and composition of the product, proposed labeling and other relevant information. In addition, under the Pediatric Research Equity
Act, or PREA, as amended, a BLA or supplement to a BLA must contain data to assess the safety and effectiveness of the biological product for
the claimed indications in all relevant pediatric subpopulations and to support dosing and administration for each pediatric subpopulation for
which the product is safe and



                                                                           28
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 233 of 426 PageID #: 3206

Table of Contents




effective. The FDA may grant deferrals for submission of data or full or partial waivers. Unless otherwise required by regulation, PREA does not
apply to any biological product for an indication for which orphan designation has been granted. The testing and approval processes require
substantial time and effort and there can be no assurance that the FDA will accept the BLA for filing and, even if filed, that any approval will be
granted on a timely basis, if at all.
Within 60 days following submission of the application, the FDA reviews a BLA submitted to determine if it is substantially complete before the
agency accepts it for filing. The FDA may refuse to file any BLA that it deems incomplete or not properly reviewable at the time of submission and
may request additional information. In this event, the BLA must be resubmitted with the additional information. The resubmitted application also is
subject to review before the FDA accepts it for filing. Once the submission is accepted for filing, the FDA begins an in-depth substantive review of
the BLA. The FDA reviews the BLA to determine, among other things, whether the proposed product is safe and potent, or effective, for its
intended use, and has an acceptable purity profile, and whether the product is being manufactured in accordance with GMP to assure and preserve
the product’s identity, safety, strength, quality, potency and purity. The FDA may refer applications for novel biological products or biological
products that present difficult questions of safety or efficacy to an advisory committee, typically a panel that includes clinicians and other experts,
for review, evaluation and a recommendation as to whether the application should be approved and under what conditions. The FDA is not bound
by the recommendations of an advisory committee, but it considers such recommendations carefully when making decisions. During the biological
product approval process, the FDA also will determine whether a Risk Evaluation and Mitigation Strategy, or REMS, is necessary to assure the safe
use of the biological product. If the FDA concludes a REMS is needed, the sponsor of the BLA must submit a proposed REMS; the FDA will not
approve the BLA without a REMS, if required.
Before approving a BLA, the FDA will inspect the facilities at which the product is manufactured. The FDA will not approve the product unless it
determines that the manufacturing processes and facilities are in compliance with GMP requirements and adequate to assure consistent production
of the product within required specifications. For a gene therapy product, the FDA also will not approve the product if the manufacturer is not in
compliance with the GTPs. These are FDA regulations that govern the methods used in, and the facilities and controls used for, the manufacture of
human cells, tissues, and cellular and tissue based products, or HCT/Ps, which are human cells or tissue intended for implantation, transplant,
infusion, or transfer into a human recipient. The primary intent of the GTP requirements is to ensure that cell and tissue based products are
manufactured in a manner designed to prevent the introduction, transmission and spread of communicable disease. FDA regulations also require
tissue establishments to register and list their HCT/Ps with the FDA and, when applicable, to evaluate donors through screening and testing.
Additionally, before approving a BLA, the FDA will typically inspect one or more clinical sites to assure that the clinical studies were conducted in
compliance with IND study requirements and GCP requirements. To assure GMP, GTP and GCP compliance, an applicant must incur significant
expenditure of time, money and effort in the areas of training, record keeping, production, and quality control.
Notwithstanding the submission of relevant data and information, the FDA may ultimately decide that the BLA does not satisfy its regulatory
criteria for approval and deny approval. Data obtained from clinical studies are not always conclusive and the FDA may interpret data differently
than we interpret the same data. If the agency decides not to approve the BLA in its present form, the FDA will issue a complete response letter that
usually describes all of the specific deficiencies in the BLA identified by the FDA. The deficiencies identified may be minor, for example, requiring
labeling changes, or major, for example, requiring additional clinical studies. Additionally, the complete response letter may include recommended
actions that the applicant might take to place the application in a condition for approval. If a complete response letter is issued, the applicant may
either resubmit the BLA, addressing all of the deficiencies identified in the letter, withdraw the application, or request a hearing.
If a product receives regulatory approval, the approval may be significantly limited to specific diseases and dosages or the indications for use may
otherwise be limited, which could restrict the commercial value of the product. Further, the FDA may require that certain contraindications, warnings
or precautions be included in the product labeling. The FDA may impose restrictions and conditions on product distribution, prescribing, or
dispensing in the form of a risk management plan, or otherwise limit the scope of any approval. In addition, the FDA may require post marketing
clinical studies, sometimes referred to as phase 4 clinical studies, designed to further assess a biological product’s safety and effectiveness, and
testing and surveillance programs to monitor the safety of approved products that have been commercialized.
One of the performance goals agreed to by the FDA under the PDUFA is to review 90% of standard BLAs in 10 months and 90% of priority BLAs in
six months, whereupon a review decision is to be made. The FDA does not always meet its PDUFA goal dates for standard and priority BLAs and
its review goals are subject to change from time to time. The review process and the PDUFA goal date may be extended by three months if the FDA
requests or the BLA sponsor otherwise provides additional information or clarification regarding information already provided in the submission
within the last three months before the PDUFA goal date.

Orphan drug designation



                                                                          29
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 234 of 426 PageID #: 3207

Table of Contents




Under the Orphan Drug Act, the FDA may grant orphan designation to a drug or biological product intended to treat a rare disease or condition,
which is generally a disease or condition that affects fewer than 200,000 individuals in the United States, or more than 200,000 individuals in the
United States and for which there is no reasonable expectation that the cost of developing and making a drug or biological product available in the
United States for this type of disease or condition will be recovered from sales of the product. Orphan product designation must be requested
before submitting an NDA or BLA. After the FDA grants orphan product designation, the identity of the therapeutic agent and its potential orphan
use are disclosed publicly by the FDA. Orphan product designation does not convey any advantage in or shorten the duration of the regulatory
review and approval process.
If a product that has orphan designation subsequently receives the first FDA approval for the disease or condition for which it has such
designation, the product is entitled to orphan product exclusivity, which means that the FDA may not approve any other applications to market the
same drug or biological product for the same indication for seven years, except in limited circumstances, such as a showing of clinical superiority to
the product with orphan exclusivity. Competitors, however, may receive approval of different products for the indication for which the orphan
product has exclusivity or obtain approval for the same product but for a different indication for which the orphan product has exclusivity. Orphan
product exclusivity also could block the approval of one of our products for seven years if a competitor obtains approval of the same biological
product as defined by the FDA or if our product candidate is determined to be contained within the competitor’s product for the same indication or
disease. If a drug or biological product designated as an orphan product receives marketing approval for an indication broader than what is
designated, it may not be entitled to orphan product exclusivity. Orphan drug status in the European Union has similar, but not identical, benefits.

Expedited development and review programs
The FDA has a Fast Track program that is intended to expedite or facilitate the process for reviewing new drugs and biological products that meet
certain criteria. Specifically, new drugs and biological products are eligible for Fast Track designation if they are intended to treat a serious or life-
threatening condition and demonstrate the potential to address unmet medical needs for the condition. Fast Track designation applies to the
combination of the product and the specific indication for which it is being studied. The sponsor of a new drug or biologic may request the FDA to
designate the drug or biologic as a Fast Track product at any time during the clinical development of the product. Unique to a Fast Track product,
the FDA may consider for review sections of the marketing application on a rolling basis before the complete application is submitted, if the
sponsor provides a schedule for the submission of the sections of the application, the FDA agrees to accept sections of the application and
determines that the schedule is acceptable, and the sponsor pays any required user fees upon submission of the first section of the application.
Any product submitted to the FDA for marketing, including under a Fast Track program, may be eligible for other types of FDA programs intended
to expedite development and review, such as priority review and accelerated approval. Under the Breakthrough Therapy program, products
intended to treat a serious or life-threatening disease or condition may be eligible for the benefits of the Fast Track program when preliminary
clinical evidence demonstrates that such product may have substantial improvement on one or more clinically significant endpoints over existing
therapies. Additionally, FDA will seek to ensure the sponsor of a breakthrough therapy product receives timely advice and interactive
communications to help the sponsor design and conduct a development program as efficiently as possible. Any product is eligible for priority
review if it has the potential to provide safe and effective therapy where no satisfactory alternative therapy exists or a significant improvement in
the treatment, diagnosis or prevention of a disease compared to marketed products. The FDA will attempt to direct additional resources to the
evaluation of an application for a new drug or biological product designated for priority review in an effort to facilitate the review. Additionally, a
product may be eligible for accelerated approval. Drug or biological products studied for their safety and effectiveness in treating serious or life-
threatening illnesses and that provide meaningful therapeutic benefit over existing treatments may receive accelerated approval, which means that
they may be approved on the basis of adequate and well-controlled clinical studies establishing that the product has an effect on a surrogate
endpoint that is reasonably likely to predict a clinical benefit, or on the basis of an effect on a clinical endpoint other than survival or irreversible
morbidity. As a condition of approval, the FDA may require that a sponsor of a drug or biological product receiving accelerated approval perform
adequate and well-controlled post-marketing clinical studies. In addition, the FDA currently requires as a condition for accelerated approval pre-
approval of promotional materials, which could adversely impact the timing of the commercial launch of the product. Fast Track designation,
Breakthrough Therapy designation, priority review and accelerated approval do not change the standards for approval but may expedite the
development or approval process.

Regenerative medicine advanced therapies designation
As part of the 21st Century Cures Act, Congress amended the FD&C Act to facilitate an efficient development program for, and expedite review of
regenerative medicine advanced therapies, which include cell and gene therapies, therapeutic tissue engineering products, human cell and tissue
products, and combination products using any such therapies or products. Regenerative medicine advanced therapies do not include those human
cells, tissues, and cellular and tissue based



                                                                            30
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 235 of 426 PageID #: 3208

Table of Contents




products regulated solely under section 361 of the Public Health Service Act and 21 CFR Part 1271. This program is intended to facilitate efficient
development and expedite review of regenerative medicine therapies, which are intended to treat, modify, reverse, or cure a serious or life-
threatening disease or condition and qualify for RMAT designation. A drug sponsor may request that FDA designate a drug as a RMAT
concurrently with or at any time after submission of an IND. FDA has 60 calendar days to determine whether the drug meets the criteria, including
whether there is preliminary clinical evidence indicating that the drug has the potential to address unmet medical needs for a serious or life-
threatening disease or condition. A BLA for a regenerative medicine therapy that has received RMAT designation may be eligible for priority review
or accelerated approval through use of surrogate or intermediate endpoints reasonably likely to predict long-term clinical benefit, or reliance upon
data obtained from a meaningful number of sites. Benefits of RMAT designation also include early interactions with FDA to discuss any potential
surrogate or intermediate endpoint to be used to support accelerated approval. A regenerative medicine therapy with RMAT designation that is
granted accelerated approval and is subject to post-approval requirements may fulfill such requirements through the submission of clinical
evidence from clinical studies, patient registries, or other sources of real world evidence, such as electronic health records; the collection of larger
confirmatory data sets; or post-approval monitoring of all patients treated with such therapy prior to its approval.

Post-approval requirements
Maintaining compliance with applicable federal, state, and local statutes and regulations requires the expenditure of substantial time and financial
resources. Rigorous and extensive FDA regulation of biological products continues after approval, particularly with respect to GMP. We will rely,
and expect to continue to rely, on third parties for the production of clinical and commercial quantities of ZYNTEGLO and any future products that
we may commercialize. Manufacturers of our products are required to comply with applicable requirements in the GMP regulations, including
quality control and quality assurance and maintenance of records and documentation. Other post-approval requirements applicable to biological
products, include reporting of GMP deviations that may affect the identity, potency, purity and overall safety of a distributed product, record-
keeping requirements, reporting of adverse effects, reporting updated safety and efficacy information, and complying with electronic record and
signature requirements. After a BLA is approved, the product also may be subject to official lot release. As part of the manufacturing process, the
manufacturer is required to perform certain tests on each lot of the product before it is released for distribution. If the product is subject to official
release by the FDA, the manufacturer submits samples of each lot of product to the FDA together with a release protocol showing a summary of the
history of manufacture of the lot and the results of all of the manufacturer’s tests performed on the lot. The FDA also may perform certain
confirmatory tests on lots of some products, such as viral vaccines, before releasing the lots for distribution by the manufacturer. In addition, the
FDA conducts laboratory research related to the regulatory standards on the safety, purity, potency, and effectiveness of biological products.
Biological product manufacturers and other entities involved in the manufacture and distribution of approved biological products are required to
register their establishments with the FDA and certain state agencies, and are subject to periodic unannounced inspections by the FDA and certain
state agencies for compliance with GMPs and other laws. Accordingly, manufacturers must continue to expend time, money, and effort in the area of
production and quality control to maintain GMP compliance. Discovery of problems with a product after approval may result in restrictions on a
product, manufacturer, or holder of an approved BLA, including withdrawal of the product from the market. In addition, changes to the
manufacturing process or facility generally require prior FDA approval before being implemented and other types of changes to the approved
product, such as adding new indications and additional labeling claims, are also subject to further FDA review and approval. In addition, companies
that manufacture or distribute drug or biological products or that hold approved BLAs must comply with other regulatory requirements, including
submitting annual reports, reporting information about adverse drug experiences, and maintaining certain records. Newly discovered or developed
safety or effectiveness data may require changes to a drug’s approved labeling, including the addition of new warnings and contraindications, and
also may require the implementation of other risk management measures, including a REMS or the conduct of post-marketing studies to assess a
newly-discovered safety issue.
We also must comply with the FDA’s and other jursidictions’ advertising and promotion requirements, such as those related to direct-to-consumer
advertising and advertising to healthcare professionals, the prohibition on promoting products for uses or in patient populations that are not
described in the product’s approved labeling (known as “off-label use”), industry-sponsored scientific and educational activities, and promotional
activities involving the internet. Discovery of previously unknown problems or the failure to comply with the applicable regulatory requirements
may result in restrictions on the marketing of a product or withdrawal of the product from the market as well as possible civil or criminal sanctions.
Failure to comply with the applicable U.S. requirements at any time during the product development process, approval process or after approval,
may subject an applicant or manufacturer to administrative or judicial civil or criminal sanctions and adverse publicity. Consequences could include
refusal to approve pending applications, withdrawal of an approval, clinical hold, warning or untitled letters, product recalls, product seizures, total
or partial suspension of production or distribution, injunctions, fines, refusals of government contracts, mandated corrective advertising or
communications with healthcare



                                                                           31
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 236 of 426 PageID #: 3209

Table of Contents




professionals, debarment, restitution, disgorgement of profits, or civil or criminal penalties. Any agency or judicial enforcement action could have a
material adverse effect on us.

U.S. patent term restoration and marketing exclusivity
Depending upon the timing, duration and specifics of the FDA approval of the use of our product candidates, some of our U.S. patents may be
eligible for limited patent term extension under the Drug Price Competition and Patent Term Restoration Act of 1984, commonly referred to as the
Hatch-Waxman Amendments. The Hatch-Waxman Amendments permit a patent restoration term of up to five years as compensation for patent term
lost during product development and the FDA regulatory review process. However, patent term restoration cannot extend the remaining term of a
patent beyond a total of 14 years from the product’s approval date. The patent term restoration period is generally one-half the time between the
effective date of an IND and the submission date of a BLA plus the time between the submission date of a BLA and the approval of that
application. Only one patent applicable to an approved biological product is eligible for the extension and the application for the extension must be
submitted prior to the expiration of the patent. The U.S. PTO, in consultation with the FDA, reviews and approves the application for any patent
term extension or restoration. In the future, we may intend to apply for restoration of patent term for one of our currently owned or licensed patents
to add patent life beyond its current expiration date, depending on the expected length of the clinical studies and other factors involved in the filing
of the relevant BLA.
A biological product can obtain pediatric market exclusivity in the United States. Pediatric exclusivity, if granted, adds six months to existing
exclusivity periods and patent terms. This six-month exclusivity, which runs from the end of other exclusivity protection or patent term, may be
granted based on the voluntary completion of a pediatric study in accordance with an FDA-issued “Written Request” for such a study.
The Patient Protection and Affordable Care Act, or Affordable Care Act, signed into law on March 23, 2010, includes a subtitle called the Biologics
Price Competition and Innovation Act of 2009 which created an abbreviated approval pathway for biological products shown to be similar to, or
interchangeable with, an FDA-licensed reference biological product. This amendment to the PHS Act attempts to minimize duplicative testing.
Biosimilarity, which requires that there be no clinically meaningful differences between the biological product and the reference product in terms of
safety, purity, and potency, can be shown through analytical studies, animal studies, and a clinical study or studies. Interchangeability requires that
a product is biosimilar to the reference product and the product must demonstrate that it can be expected to produce the same clinical results as the
reference product and, for products administered multiple times, the biologic and the reference biologic may be switched after one has been
previously administered without increasing safety risks or risks of diminished efficacy relative to exclusive use of the reference biologic. However,
complexities associated with the larger, and often more complex, structure of biological products, as well as the process by which such products are
manufactured, pose significant hurdles to implementation that are still being worked out by the FDA.
A reference biologic is granted twelve years of exclusivity from the time of first licensure of the reference product. The first biologic product
submitted under the abbreviated approval pathway that is determined to be interchangeable with the reference product has exclusivity against
other biologics submitting under the abbreviated approval pathway for the lesser of (i) one year after the first commercial marketing, (ii) 18 months
after approval if there is no legal challenge, (iii) 18 months after the resolution in the applicant’s favor of a lawsuit challenging the biologics’ patents
if an application has been submitted, or (iv) 42 months after the application has been approved if a lawsuit is ongoing within the 42-month period.

Healthcare and Privacy Laws
In addition to restrictions on marketing of pharmaceutical products, several other types of state/ federal laws and trade association membership
codes of conduct have been applied to restrict certain marketing practices in the pharmaceutical industry in recent years. These laws include Anti-
Kickback and false claims statutes. The U.S. federal healthcare program Anti-Kickback statute prohibits, among other things, knowingly and
willfully offering, paying, soliciting or receiving remuneration, directly or indirectly, in cash or in kind, to induce or in return for purchasing, leasing,
ordering or arranging for or recommending the purchase, lease or order of any healthcare item or service reimbursable, in whole or in part, under
Medicare, Medicaid or other federally financed healthcare programs. This statute has been interpreted to apply to arrangements between
pharmaceutical manufacturers on one hand and prescribers, purchasers, and formulary managers on the other. A person or entity need not have
actual knowledge of the federal Anti-Kickback Statute or specific intent to violate it in order to have committed a violation. Violations are subject to
civil and criminal fines and penalties for each violation, plus up to three times the remuneration involved, imprisonment, and exclusion from
government healthcare programs. Although there are a number of statutory exemptions and regulatory safe harbors protecting certain common
activities from prosecution, the exemptions and safe harbors are drawn narrowly and practices that involve remuneration to those who prescribe,
purchase, or recommend pharmaceutical and biological products, including certain discounts, or engaging healthcare professionals or patients as
speakers or consultants, may be subject to scrutiny if they do not fit squarely within the exemption or safe harbor.



                                                                             32
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 237 of 426 PageID #: 3210

Table of Contents




Our practices may not in all cases meet all of the criteria for safe harbor protection from anti-kickback liability. Moreover, there are no safe harbors
for many common practices, such as educational and research grants or patient assistance programs.
The U.S. federal civil False Claims Act prohibits, among other things, any person from knowingly presenting, or causing to be presented, a false or
fraudulent claim for payment of government funds, or knowingly making, using, or causing to be made or used, a false record or statement material
to an obligation to pay money to the government or knowingly concealing or knowingly and improperly avoiding, decreasing, or concealing an
obligation to pay money to the federal government. Manufacturers can be held liable under the False Claims Act even when they do not submit
claims directly to government payers if they are deemed to “cause” the submission of false or fraudulent claims. The False Claims Act also permits
a private individual acting as a “whistleblower” to bring actions on behalf of the federal government alleging violations of the False Claims Act and
to share in any monetary recovery. In recent years, several pharmaceutical and other healthcare companies have faced enforcement actions under
the federal False Claims Act for, among other things, allegedly submitting false or misleading pricing information to government health care
programs and providing free product to customers with the expectation that the customers would bill federal programs for the product. Other
companies have faced enforcement actions for causing false claims to be submitted because of the company’s marketing the product for
unapproved, and thus non-reimbursable, uses. Federal enforcement agencies also have showed increased interest in pharmaceutical companies’
product and patient assistance programs, including reimbursement and co-pay support services, and a number of investigations into these
programs have resulted in significant civil and criminal settlements. In addition, the Affordable Care Act amended federal law to provide that the
government may assert that a claim including items or services resulting from a violation of the federal Anti-Kickback statute constitutes a false or
fraudulent claim for purposes of the federal civil False Claims Act. Criminal prosecution is possible for making or presenting a false or fictitious or
fraudulent claim to the federal government.
The Health Insurance Portability and Accountability Act of 1996, or HIPAA, also created several new federal crimes, including healthcare fraud and
false statements relating to healthcare matters. The healthcare fraud statute prohibits knowingly and willfully executing a scheme to defraud any
healthcare benefit program, including private third-party payers. The false statements statute prohibits knowingly and willfully falsifying,
concealing or covering up a material fact or making any materially false, fictitious or fraudulent statement in connection with the delivery of or
payment for healthcare benefits, items or services. Similar to the federal Anti-Kickback Statute, a person or entity does not need to have actual
knowledge of the statute or specific intent to violate it in order to have committed a violation.
The U.S. federal Physician Payment Sunshine Act, being implemented as the Open Payments Program, requires certain manufacturers of drugs,
devices, biologics and medical supplies to engage in extensive tracking of payments and other transfers of value to prescribers and teaching
hospitals, including physician ownership and investment interests, and public reporting of such data. Effective January 1, 2022, these reporting
obligations will extend to include transfers of value made to certain non-physician providers such as physician assistants and nurse practitioners.
Pharmaceutical and biological manufacturers with products for which payment is available under Medicare, Medicaid or the State Children’s Health
Insurance Program are required to track such payments, and must submit a report on or before the 90th day of each calendar year disclosing
reportable payments made in the previous calendar year. A number of other countries, states and municipalities have also implemented additional
payment tracking and reporting requirements, which if not done correctly may result in additional penalties.
In addition, the U.S. Foreign Corrupt Practices Act, or the FCPA, prohibits corporations and individuals from engaging in certain activities to obtain
or retain business or to influence a person working in an official capacity. It is illegal to pay, offer to pay or authorize the payment of anything of
value to any official of another country, government staff member, political party or political candidate in an attempt to obtain or retain business or
to otherwise influence a person working in that capacity. In many other countries, healthcare professionals who prescribe pharmaceuticals are
employed by government entities, and the purchasers of pharmaceuticals are government entities. Our dealings with these prescribers and
purchasers may be subject to the FCPA.
Other countries, including a number of EU member states, have laws of similar application, including anti-bribery or anti-corruption laws such as the
UK Bribery Act. The UK Bribery Act prohibits giving, offering, or promising bribes to any person, as well as requesting, agreeing to receive, or
accepting bribes from any person. Under the UK Bribery Act, a company that carries on a business or part of a business in the United Kingdom
may be held liable for bribes given, offered or promised to any person in any country by employees or other persons associated with the company
in order to obtain or retain business or a business advantage for the company. Liability under the UK Bribery Act is strict, but a defense of having
in place adequate procedures designed to prevent bribery is available.
HIPAA, as amended by the Health Information Technology for Economic and Clinical Health Act of 2009, or HITECH and their respective
implementing regulations, including the Final Omnibus Rule published in January 2013, impose requirements on certain covered healthcare
providers, health plans, and healthcare clearinghouses as well as their respective business associates that perform services for them that involve
the use, or disclosure of, individually identifiable health information, relating to the privacy, security and transmission of individually identifiable
health information. HITECH also created new tiers of civil monetary penalties, amended HIPAA to make civil and criminal penalties directly
applicable to



                                                                            33
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 238 of 426 PageID #: 3211

Table of Contents




business associates, and gave state attorneys general new authority to file civil actions for damages or injunctions in federal courts to enforce the
federal HIPAA laws and seek attorneys’ fees and costs associated with pursuing federal civil actions. In California the California Consumer
Protection Act (“CCPA”), which went into effect on January 1, 2020, establishes a new privacy framework for covered businesses by creating an
expanded definition of personal information, establishing new data privacy rights for consumers in the State of California, imposing special rules on
the collection of consumer data from minors, and creating a new and potentially severe statutory damages framework for violations of the CCPA
and for businesses that fail to implement reasonable security procedures and practices to prevent data breaches. While clinical trial data and
information governed by HIPAA are currently exempt from the current version of the CCPA, other personal information may be applicable and
possible changes to the CCPA may broaden its scope.
The majority of states also have statutes or regulations similar to the federal anti-kickback and false claims laws, which apply to items and services
reimbursed under Medicaid and other state programs, or, in several states, apply regardless of the payer. Several states now require pharmaceutical
companies to report expenses relating to the marketing and promotion of pharmaceutical products in those states and to report gifts and payments
to individual health care providers in those states. Some of these states also prohibit certain marketing-related activities including the provision of
gifts, meals, or other items to certain health care providers. In addition, some state laws require pharmaceutical companies to comply with the
pharmaceutical industry’s voluntary compliance guidelines and the relevant compliance guidance promulgated by the federal government in
addition to requiring manufacturers to report information related to payments to physicians and other healthcare providers, marketing expenditures,
and drug pricing information. Certain state and local laws require the registration of pharmaceutical sales representatives. State and foreign laws,
including for example the European Union General Data Protection Regulation, also govern the privacy and security of health information in some
circumstances, many of which differ from each other in significant ways and often are not preempted by HIPAA, thus complicating compliance
efforts.
Because of the breadth of these various healthcare and privacy laws, it is possible that some of our business activities could be subject to
challenge under one or more of such laws. Such a challenge could have material adverse effects on our business, financial condition and results of
operations. In the event governmental authorities conclude that our business practices do not comply with current or future statutes, regulations or
case law involving applicable fraud and abuse or other healthcare and privacy laws and regulations, they may impose sanctions under these laws,
which are potentially significant and may include civil monetary penalties, damages, exclusion of an entity or individual from participation in
government health care programs, criminal fines and imprisonment, as well as the potential curtailment or restructuring of our operations. Even if we
are not determined to have violated these laws, government investigations into these issues typically require the expenditure of significant
resources and generate negative publicity, which could harm our financial condition and divert the attention of our management from operating our
business.

Government regulation outside of the United States
In addition to regulations in the United States, we will be subject to a variety of regulations in other jurisdictions governing, among other things,
clinical studies and any commercial sales and distribution of our products. Because biologically sourced raw materials are subject to unique
contamination risks, their use may be restricted in some countries.
Whether or not we obtain FDA approval for a product, we must obtain the requisite approvals from regulatory authorities in foreign countries prior
to the commencement of clinical studies or marketing of the product in those countries. Certain countries outside of the United States have a similar
process that requires the submission of a clinical trial application, or CTA, much like the IND prior to the commencement of human clinical studies.
In the European Union, for example, a CTA must be submitted for each clinical trial to each country’s national health authority and an independent
ethics committee, much like the FDA and the IRB, respectively. Once the CTA is approved in accordance with a country’s requirements, the
corresponding clinical study may proceed.
The requirements and process governing the conduct of clinical studies, product licensing, pricing and reimbursement vary from country to
country. In all cases, the clinical studies are conducted in accordance with GCP and the applicable regulatory requirements and the ethical principles
that have their origin in the Declaration of Helsinki.
To obtain regulatory approval of an investigational product under European Union regulatory systems, we must submit a marketing authorization
application. The application used to file the BLA in the United States is similar to that required in the European Union, with the exception of, among
other things, region-specific document requirements. The EMA has established the Adaptive Pathways pilot program intended to expedite or
facilitate either an initial approval of a medicinal product in a well-defined patient subgroup with a high medical need and subsequent iterative
expansion of the indication to a larger patient population, or an early regulatory approval (e.g., conditional approval), which is prospectively
planned, and where uncertainty is reduced through the collection of post-approval data on a medicinal product’s use in patients. The approach
builds in regulatory processes already in place within the existing EU legal framework.



                                                                          34
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 239 of 426 PageID #: 3212

Table of Contents




The European Union also provides opportunities for market exclusivity. For example, in the European Union, upon receiving marketing
authorization, innovative medicinal products generally receive eight years of data exclusivity and an additional two years of market exclusivity. If
granted, data exclusivity prevents regulatory authorities in the European Union from referencing the innovator’s data to assess a generic or
biosimilar application during such eight-year period starting from the date of grant of the innovative medicinal product's marketing authorization.
During the additional two-year period of market exclusivity, a generic or biosimilar marketing authorization application can be submitted, and the
innovator’s data may be referenced, but no generic or biosimilar product can be marketed until the expiration of the market exclusivity (and the
grant of the relevant generic or biosimilar marketing authorization). However, there is no guarantee that a product will be considered by the
European Union’s regulatory authorities to be an innovative medicinal product, and products may not qualify for data exclusivity. Products
receiving orphan designation in the European Union and being granted a marketing authorization for an orphan medicinal product can receive ten
years of market exclusivity, during which time no similar medicinal product for the same indication may be placed on the market. An orphan product
can also obtain an additional two years of market exclusivity in the European Union where the application for a marketing authorization includes the
results of all studies conducted in accordance with an agreed pediatric investigation plan for pediatric studies. No extension to any supplementary
protection certificate can be granted on the basis of pediatric studies for orphan indications.
The criteria for designating an “orphan medicinal product” in the European Union are similar in principle to those in the United States. Under
Article 3 of Regulation (EC) 141/2000, a medicinal product may be designated as orphan if (1) it is intended for the diagnosis, prevention or
treatment of a life-threatening or chronically debilitating condition; (2) either (a) such condition affects no more than five in 10,000 persons in the
European Union when the application is made, or (b) the product, without the benefits derived from orphan status, would not generate sufficient
return in the European Union to justify investment; and (3) there exists no satisfactory method of diagnosis, prevention or treatment of such
condition authorized for marketing in the European Union, or if such a method exists, the product will be of significant benefit to those affected by
the condition, as defined in Regulation (EC) 847/2000. Orphan medicinal products are eligible for financial incentives such as reduction of fees or
fee waivers and are, upon grant of a marketing authorization, entitled to ten years of market exclusivity for the approved therapeutic indication. The
application for orphan drug designation must be submitted before the application for marketing authorization. The applicant will receive a fee
reduction for the marketing authorization application if the orphan drug designation has been granted, but not if the designation is still pending at
the time the marketing authorization is submitted. Orphan drug designation itself does not convey any advantage in, or shorten the duration of, the
regulatory review and approval process.
The 10-year market exclusivity may be reduced to six years if, at the end of the fifth year, it is established that the product no longer meets the
criteria for orphan designation, for example, if the product is sufficiently profitable not to justify maintenance of market exclusivity. Additionally,
marketing authorization may be granted to a similar product for the same indication at any time if:
•The second applicant can establish that its product, although similar, is safer, more effective or otherwise clinically superior;
•The applicant consents to a second orphan medicinal product application; or
•The applicant cannot supply enough orphan medicinal product.
In the EU, the advertising and promotion of our products will also be subject to EU member states’ laws concerning promotion of medicinal
products, interactions with physicians, misleading and comparative advertising and unfair commercial practices, as well as other EU member state
legislation that may apply to the advertising and promotion of medicinal products. These laws require that promotional materials and advertising in
relation to medicinal products comply with the product’s approved labeling. The off-label promotion of medicinal products is prohibited in the EU.
The applicable laws at the EU level and in the individual EU member states also prohibit the direct-to-consumer advertising of prescription-only
medicinal products. Violations of the rules governing the promotion of medicinal products in the EU could be penalized by administrative measures,
fines and imprisonment. These laws may further limit or restrict communications concerning the advertising and promotion of our products to the
general public and may also impose limitations on our promotional activities with healthcare professionals.
Failure to comply with the EU member state laws implementing the Community Code on medicinal products, and EU rules governing the promotion
of medicinal products, interactions with physicians, misleading and comparative advertising and unfair commercial practices, with the EU member
state laws that apply to the promotion of medicinal products, statutory health insurance, bribery and anti-corruption or with other applicable
regulatory requirements can result in enforcement action by the EU member state authorities (or in addition, in some member states, enforcement
action from industry bodies or legal action from competitors), which may include any of the following: fines, imprisonment, orders forfeiting
products or prohibiting or suspending their supply to the market, or requiring the manufacturer to issue public warnings, or to conduct a product
recall.



                                                                            35
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 240 of 426 PageID #: 3213

Table of Contents




The national laws of certain EU member states require payments made to physicians to be publicly disclosed. Moreover, the European Federation
of Pharmaceutical Industries and Associations, or EFPIA, Code on disclosure of transfers of value from pharmaceutical companies to healthcare
professionals and healthcare organizations imposes a general obligation on members of the EFPIA or related national industry bodies to disclose
transfers of value to healthcare professionals. In addition, agreements with physicians must often be the subject of prior notification and approval
by the physician’s employer, his/her competent professional organization, and/or the competent authorities of the individual EU member states.
These requirements are provided in the national laws, industry codes, or professional codes of conduct, applicable in the EU member states.
For other countries outside of the EU, such as countries in Eastern Europe, Central and South America or Asia, the requirements governing the
conduct of clinical trials, product licensing, pricing and reimbursement vary from country to country. This act could have implications for our
interactions with physicians in and outside the UK. In all cases, again, the clinical trials are conducted in accordance with GCP, applicable
regulatory requirements, and ethical principles that have their origin in the Declaration of Helsinki.
If we fail to comply with applicable foreign regulatory requirements, we may be subject to, among other things, warning letters or untitled letters,
injunctions, civil, administrative, or criminal penalties, monetary fines or imprisonment, suspension or withdrawal of regulatory approvals,
suspension of ongoing clinical studies, refusal to approve pending applications or supplements to applications filed by us, suspension or the
imposition of restrictions on operations, product recalls, the refusal to permit the import or export of our products or the seizure or detention of
products.


Pricing, Coverage and Reimbursement
Significant uncertainty exists as to the coverage and reimbursement status of any drug products for which we obtain regulatory approval. In the
United States, sales of any products for which we may receive regulatory approval for commercial sale will depend in part on the availability of
reimbursement from third-party payers, including governments. In the United States, no uniform policy of coverage and reimbursement for drug
products exists among third-party payers. Therefore, coverage and reimbursement for drug products can differ significantly from payer to payer.
Third-party payers can include government healthcare systems, managed care providers, private health insurers and other organizations. The
process for determining whether a payer will provide coverage for a drug product may be separate from the process for setting the price or
reimbursement rate that the payer will pay for the drug product. Third-party payers may limit coverage to specific drug products on an approved
list, or formulary, which might not include all of the FDA-approved drugs for a particular indication. Third-party payers may provide coverage, but
place stringent limitations on such coverage, such as requiring alternative treatments to be tried first. These third-party payers are increasingly
challenging the price and examining the medical necessity and cost-effectiveness of medical products and services, in addition to their safety,
efficacy, and overall value. In addition, significant uncertainty exists as to the reimbursement status of newly approved healthcare products. We
may need to conduct expensive pharmacoeconomic studies in order to demonstrate the medical necessity and cost-effectiveness of our products,
in addition to incurring the costs required to obtain FDA approvals. Our product candidates may not be considered medically reasonable or
necessary or cost-effective. Even if a drug product is covered, a payer’s decision to provide coverage for a drug product does not imply that an
adequate reimbursement rate will be approved. Adequate third-party reimbursement may not be available to enable us to maintain price levels
sufficient to realize an appropriate return on our investment in product development.
Federal, state and local governments in the United States and foreign governments continue to consider legislation to limit the growth of healthcare
costs, including the cost of prescription drugs. Specifically, there have been several recent U.S. Congressional inquiries and proposed federal and
state legislation designed to, among other things, bring more transparency to drug pricing, reduce the cost of prescription drugs under Medicare,
review the relationship between pricing and manufacturer patient programs, and reform government program reimbursement methodologies for
drugs. On January 2, 2013, the American Taxpayer Relief Act of 2012 was signed into law, which, among other things, further reduced Medicare
payments to several types of providers and increased the statute of limitations period for the government to recover overpayments to providers
from three to five years. Future legislation could limit payments for pharmaceuticals such as the drug candidates that we are developing.
Different pricing and reimbursement schemes exist in other countries. In the EU, governments influence the price of drug products through their
pricing and reimbursement rules and control of national health care systems that fund a large part of the cost of those products to consumers. Some
jurisdictions operate systems under which products may be marketed only after a reimbursement price has been agreed. To obtain reimbursement or
pricing approval, some of these countries may require the completion of studies or analyses of clinical trials that compare the cost-effectiveness of
a particular product candidate to currently available therapies. Other member states allow companies to set their own prices for medicines, but exert
cost controls in other ways, including but not limited to, placing revenue caps on product sales, providing reimbursement for only a subset of
eligible patients, mandating price negotiations after a set period of time, or mandating that prices not exceed an average basket of prices in other
countries. The downward pressure on health care costs in general, particularly treatments, has become very intense. As a result, increasingly high
barriers are being erected to the entry of new products. In addition, European



                                                                          36
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 241 of 426 PageID #: 3214

Table of Contents




governments may periodically review and decrease prices based on factors, including but not limited to, years-on-market, price in other countries,
competitive entry, new clinical data, lack of supporting clinical data, or other factors.
The marketability of any products for which we receive regulatory approval for commercial sale may suffer if the government and third-party payers
fail to provide adequate coverage and reimbursement. In addition, the emphasis on managed care in the United States has increased and we expect
will continue to exert downward pressure on pharmaceutical pricing. Coverage policies, third-party reimbursement rates and pharmaceutical pricing
regulations may change at any time. Even if favorable coverage and reimbursement status is attained for one or more products for which we receive
regulatory approval, less favorable coverage policies and reimbursement rates may be implemented in the future.
We have proposed novel payment models, including outcomes-based arrangements with payments over time, to assist with realizing the value and
sharing the risk of a potential one-time treatment, such as for ZYNTEGLO. While we are engaged in discussions with potential payers, there is no
assurance that these payment models will be widely adopted by payers. Even with these payment models, there may be substantial resistance to
the cost of our products by payers and the public generally. These payment models may not be sufficient for payers to grant coverage, and if we
are unable to obtain adequate coverage for our products, the adoption of our products and access for patients may be limited. In addition, to the
extent reimbursement for our products is subject to outcomes-based arrangements, our future revenues from product sales will be more at risk.
These factors could affect our ability to successfully commercialize our products and adversely impact our business, financial condition, results of
operations and prospects.


COVID-19
Beginning in late 2019, the outbreak of a novel strain of coronavirus (COVID-19) has evolved into a global pandemic. As a result, we continue to
experience disruptions and increased risk in our operations and those of third parties upon whom we rely, which may materially and adversely affect
our business. These include disruptions and risks related to the conduct of our clinical trials, manufacturing, and commercialization efforts, as
policies at various clinical sites and federal, state, local and foreign laws, rules and regulations continue to evolve, including quarantines, travel
restrictions, and direction of healthcare resources toward pandemic response efforts. We continue to evaluate the impact of the COVID-19 global
pandemic on patients, healthcare providers and our employees, as well as our operations and the operations of our business partners and
healthcare communities. In response to the COVID-19 pandemic, we have implemented policies at our locations to mitigate the risk of exposure to
COVID-19 by our personnel, including restrictions on the number of staff in any given research and development laboratory or manufacturing
facility, a work-from-home policy applicable to the majority of our personnel, and a phased approach to bringing personnel back to our locations
over time. Given the importance of supporting our patients, we are diligently working with our suppliers, healthcare providers and partners to
provide patients with access to ZYNTEGLO, while taking into account regulatory, institutional, and government guidance, policies and protocols.
Further, we are working with our clinical study sites to understand the duration and scope of the impact on enrollment, develop protocols to help
mitigate the impact of the COVID-19 pandemic, and other activities for our ongoing clinical studies. Refer to Management’s Discussion and
Analysis of Financial Condition and Results of Operations (Part II, Item 7 of this Form 10-K) for further discussion regarding the impact of COVID-
19 on our fiscal year 2020 financial results.
The extent to which the COVID-19 pandemic impacts our business going forward will depend on numerous evolving factors we cannot reliably
predict, including the duration and scope of the pandemic; governmental, business, and individuals' actions in response to the pandemic; and the
impact on economic activity including the possibility of recession or financial market instability. Refer to Risk Factors (Part I, Item 1A of this Form
10-K) for a discussion of these factors and other risks.


Human capital
As of January 31, 2021, we had 1,213 full-time employees, 223 of whom have Ph.D., M.D. or Pharm.D. degrees. Of these full-time employees, 750
employees are engaged in research and development activities and 463 employees are engaged in commercial, finance, legal, business development,
human resources, information technology, facilities and other general administrative functions. We have no collective bargaining agreements with
our employees and we have not experienced any work stoppages. We consider our relations with our employees to be good.

Compensation and benefits programs
Our compensation programs are designed to align our employees' interests with the drivers of growth and stockholder returns by supporting the
Company's achievement of its primary business goals. The Company's goal is to attract and retain employees whose talents, expertise, leadership,
and contributions are expected to sustain growth and drive long-term stockholder value. Consequently, we provide employee wages that are
competitive within our industry, and we engage a nationally-recognized outside compensation and benefits consulting firm to independently
evaluate the effectiveness of our compensation and benefit programs and to provide benchmarking against our peers within the industry. We seek
to align our



                                                                           37
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 242 of 426 PageID #: 3215

Table of Contents




employees' interests with those of stockholders by linking annual changes in compensation to overall Company performance, as well as each
individual’s contribution to the results achieved. The emphasis on overall Company performance is intended to align the employee’s financial
interests with the interests of shareholders. We are also committed to providing comprehensive benefit options and it is our intention to offer
benefits that will allow our employees and their families to live healthier and more secure lives. All employees are eligible for medical, dental, and
vision insurance, paid and unpaid leaves, employee stock purchase plan, 401(k) plan, and group life and disability coverage.

Employee development and training
The development, recruitment and retention of our employees is a critical success factor for our company. To ensure we provide a meaningful
experience for our employees, we regularly measure organizational culture and engagement to build on the competencies that are important for our
future success. We have a robust talent and succession planning process and have established programs to support the talent pipeline for critical
roles throughout our organization, to help us identify, foster, and retain high performing employees. To empower our employees to realize their
potential at bluebird, we provide a range of development programs, opportunities and resources they need to be successful, including leveraging
formal leadership training and coaching to improve performance and retention, increase our organizational learning and support the promotion of
our current employees.

Diversity
We are committed to taking action to help address racial injustice and inequality. With significant input from employees and leaders at bluebird, our
senior leadership team and board of directors has developed a set of commitments to help improve representation and culture of inclusion by
pledging to accomplish the following by 2025:
•Double our Black, Indigenous, and Latino employee population;
•Balance our executive leadership and board of directors to ensure 50% representation of women and people of color; and
•Sustain 100% pay equity and increase representation of women and people of color across all levels.

Corporate Information
We were incorporated in Delaware in April 1992 under the name Genetix Pharmaceuticals, Inc., and subsequently changed our name to bluebird bio,
Inc. in September 2010. Our mailing address and executive offices are located at 60 Binney Street, Cambridge, Massachusetts and our telephone
number at that address is (339) 499-9300. We maintain an Internet website at the following address: www.bluebirdbio.com. The information on our
website is not incorporated by reference in this annual report on Form 10-K or in any other filings we make with the Securities and Exchange
Commission, or SEC.
We make available on or through our website certain reports and amendments to those reports that we file with or furnish to the SEC in accordance
with the Securities Exchange Act of 1934, as amended. These include our annual reports on Form 10-K, our quarterly reports on Form 10-Q, and our
current reports on Form 8-K, and amendments to those reports filed or furnished pursuant to Section 13(a) or 15(d) of the Exchange Act. We make
this information available on or through our website free of charge as soon as reasonably practicable after we electronically file the information
with, or furnish it to, the SEC.

Item 1A. Risk Factors
An investment in shares of our common stock involves a high degree of risk. You should carefully consider the following information about these
risks, together with the other information appearing elsewhere in this Annual Report on Form 10-K, including our financial statements and
related notes hereto, before deciding to invest in our common stock. The occurrence of any of the following risks could have a material adverse
effect on our business, financial condition, results of operations and future growth prospects. In these circumstances, the market price of our
common stock could decline, and you may lose all or part of your investment.
Our business may be materially and adversely affected by the ongoing COVID-19 pandemic. The COVID-19 pandemic has had, and will likely
continue to have, an impact on various aspects of our business and that of third parties on which we rely. The extent to which the COVID-19
pandemic impacts our business will depend in part on future developments, which are uncertain and unpredictable in nature.
In December 2019, a novel strain of coronavirus (COVID-19) was reported and in March 2020, the World Health Organization characterized COVID-
19 as a pandemic. The COVID-19 pandemic, which has continued to spread, and the related adverse public health developments, including orders
to shelter-in-place, travel restrictions, and the imposition of additional requirements on businesses, have adversely affected workforces,
organizations, healthcare communities, economies,



                                                                           38
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 243 of 426 PageID #: 3216

Table of Contents




and financial markets globally, leading to an economic downturn and increased market volatility. It has also disrupted the normal operations of
businesses across industries, including ours. As a result of the COVID-19 pandemic, we are experiencing disruptions in our operations and
business, and those of third parties upon whom we rely. For instance, we are experiencing disruptions in the conduct of our clinical trials,
manufacturing and commercialization efforts, including the treatment of patients in the commercial context. We cannot reasonably assess or predict
at this time the full extent of the negative impact that the COVID-19 pandemic and related effects may have on our business, financial condition,
results of operations and cash flows. We expect to continue experiencing these disruptions in our operations and those of our third parties for an
unknown period of time, as the trajectory of the COVID-19 pandemic remains uncertain and continues to evolve in the United States and globally.
These impacts, which may materially and adversely affect our business, include the following:
•We are conducting a number of clinical studies across our programs in geographies which are affected by the COVID-19 pandemic. The COVID-19
pandemic has had, and will likely continue to have, an impact on various aspects of our clinical studies. Policies at various clinical sites and federal,
state, local and foreign laws, rules and regulations are continuing to evolve, including through the implementation of quarantines and travel
restrictions, and direction of healthcare resources toward pandemic response efforts. For instance, the availability of intensive care unit beds and
related healthcare resources available to support activities unrelated to COVID-19 response have fluctuated with the incidence of severe cases of
COVID-19 in the surrounding communities, and we anticipate that the availability of healthcare resources will continue to fluctuate and may become
significantly constrained, with variability across geographies. The COVID-19 pandemic has disrupted the conduct of our ongoing clinical studies,
with the result of slower patient enrollment and treatment as well as delays in post-treatment patient follow-up visits, the impact of which has varied
by clinical study, with the most significant impacts being on our ongoing HGB-210 study for LentiGlobin for SCD. It is possible that these delays
may impact the timing of our regulatory submissions. It is unknown how long these disruptions could continue. Moreover, we are commercializing
ZYNTEGLO in Europe, and our ability to generate meaningful product revenue may be delayed. In addition to the constraints on healthcare
systems and resources described above, which are also applicable in the commercial treatment context, we may experience decreased patient
demand for our approved product during this period of disruption and increased uncertainty because potential patients may choose not to undergo
treatment, or to delay treatment, with ZYNTEGLO.
•We currently rely on third parties to manufacture, perform quality testing, and ship our lentiviral vectors and drug products for our clinical studies
and support commercialization efforts. The third parties in our supply chain are subject to restrictions in operations arising from the COVID-19
pandemic, and in addition, a number of these third parties have experienced operational disruptions, which have affected activities necessary for
our research, development, and commercialization efforts. These restrictions and disruptions in operations have also given rise to staffing
shortages from time to time, which may result in production slowdowns and/or disruptions in delivery systems, potentially interrupting our supply
chain and limiting our ability to manufacture our lentiviral vectors and drug products for our clinical studies and for commercial use. At this time, it
is unknown how long these disruptions may continue, or the full extent of their impacts.
•Health regulatory agencies globally may experience disruptions in their operations as a result of the COVID-19 pandemic. The FDA and
comparable foreign regulatory agencies may have slower response times or lack resources to continue to monitor our clinical studies or to engage
in other activities related to review of regulatory submissions in drug development. As a result, review, inspection, and other timelines may be
materially delayed for an unknown period of time. Any de-prioritization of our clinical studies or delay in regulatory review resulting from such
disruptions could materially affect the development of our product candidates. In addition, we have been engaging in reimbursement discussions
with governmental health programs as part of our commercial preparation activities. It is not clear to what extent shifting priorities of the local health
authorities and healthcare systems due to the COVID-19 pandemic will impact our ability to achieve market access and reimbursement for
ZYNTEGLO across Europe.
•We have implemented policies at our locations to mitigate the risk of exposure to COVID-19 by our personnel, including restrictions on the number
of staff in any given research and development laboratory or manufacturing facility, a work-from-home policy applicable to the majority of our
personnel, and a phased approach to bringing personnel back to our locations over time. Our increased reliance on personnel working from home
may negatively impact productivity, or disrupt, delay, or otherwise adversely impact our business. In addition, this could increase our cyber
security risk, create data accessibility concerns, and make us more susceptible to communication disruptions, any of which could adversely impact
our business operations or delay necessary interactions with local and federal regulators, ethics committees, manufacturing sites, research or
clinical study sites and other important agencies and contractors. Furthermore, since the onset of the COVID-19 pandemic, our employees and
contractors conducting research and development activities have been limited in the activities that they may conduct, and will continue to be
subject to policies restricting access to our laboratories for an extended period of time. As a result, this could delay timely completion of preclinical
activities, including completing Investigational New Drug-enabling studies or our



                                                                           39
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 244 of 426 PageID #: 3217

Table of Contents




ability to select future development candidates, and initiation of additional clinical trials for our development programs.
•The trading prices for our shares of common stock and other biopharmaceutical companies have been highly volatile as a result of the economic
volatility and uncertainty caused by the COVID-19 pandemic. As a result, we may face difficulties raising capital through sales of shares of our
common stock or such sales may be on unfavorable terms. In addition, a recession, depression or other sustained adverse market event resulting
from the spread of the COVID-19 pandemic will materially and adversely affect our business, the value of our common stock, and our ability to
operate under our operating plan and execute our strategy. Our business and operating plan have already been impacted by the COVID-19
pandemic, the associated governmental restrictions, and the resulting economic conditions, leading us to reduce and defer costs, adjust our
priorities, timelines and expectations, and implement a revised operating plan in the first half of 2020 with the intention that it would enable us to
advance our corporate strategy and pipeline during this period of uncertainty.
The extent of the impacts described above will depend on numerous evolving factors that we may not be able to accurately predict, including:
•the duration, severity, and scope of the pandemic in the United States and globally;
•the effectiveness of governmental, business and individuals’ protocols and actions that have been and continue to be taken in response to the
pandemic;
•the impact of the pandemic on economic activity and actions taken in response;
•the effect on patients, healthcare providers and business partners;
•demand for our products, including as a result of reduced patient visits to healthcare providers, travel restrictions, social distancing, quarantines
and other containment measures;
•uncertainty as to when we will be able to resume normal clinical study enrollment and patient treatment activities, particularly at clinical study sites
and qualified treatment centers located in highly impacted geographies as a result of disruptions at these sites;
•the ability to obtain or deliver sufficient and timely supplies, given the disruptions to the production capabilities of our manufacturers and
suppliers, particularly with respect to the priority given to the development, regulatory approval, and manufacture of COVID-19 vaccines;
•our access to the debt and equity markets on satisfactory terms, or at all;
•disruptions in regulatory oversight and actions, as a result of significant and unexpected resources expended to address the COVID-19 by
regulators and industry professionals; and
•any closures of our and our partners’ offices, operations and facilities.
The ultimate impact of the COVID-19 pandemic on our business operations is highly uncertain and subject to change and will depend on future
developments which are difficult to predict, including the duration of the pandemic, the ultimate geographic spread of the disease, additional or
modified government actions, new information that will emerge concerning the severity and impact of COVID-19 and other actions taken to contain
or address its impact in the short and long term, among others. We do not yet know the full extent of potential delays or impacts on our business,
our commercialization efforts, our clinical studies, our research programs, healthcare systems or the global economy, and if the ultimate impact of
the COVID-19 pandemic and the resulting uncertain economic and healthcare environment is more severe than we anticipated, we may not be able
to execute on our current operating plan or on our strategy. If the duration of the COVID-19 pandemic and the associated period of business and
social restrictions and economic uncertainty is longer than we anticipated, our cash, cash equivalents, and marketable securities may not be
sufficient to fund the activities under our operating plan for the time period that we anticipated, and we may be required to revise our operating plan
further. To the extent the COVID-19 pandemic adversely affects our business and financial results, it may also have the effect of heightening many
of the other risks described in this “Risk Factors” section.

Risks related to commercialization
We have limited experience as a commercial company and the marketing and sale of ZYNTEGLO or future products may be unsuccessful or
less successful than anticipated.
We have limited experience as a commercial company. Consequently, there is limited information about our ability to overcome many of the risks
and uncertainties encountered by companies commercializing products in the biopharmaceutical



                                                                             40
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 245 of 426 PageID #: 3218

Table of Contents




industry. We also have several programs in late-stage clinical development. To execute our business plan, in addition to successfully marketing and
selling ZYNTEGLO and any future products, we will need to successfully:

•gain regulatory acceptance for the development and commercialization of the product candidates in our pipeline;
•obtain adequate pricing and reimbursement for ZYNTEGLO and any future products in each of the jurisdictions in which we plan to commercialize
approved products;

•establish and maintain, in the geographies where we hope to treat patients, relationships with qualified treatment centers who will be treating the
patients who receive ZYNTEGLO and any future products;
•manage our spending as costs and expenses increase due to clinical trials, marketing approvals, and commercialization, including for any extension
of marketing approval of ZYNTEGLO, and for any future products; and

•develop and maintain successful strategic alliances.
If we are not successful in accomplishing these objectives, we may not be able to develop product candidates, commercialize ZYNTEGLO or any
future products, raise capital, expand our business, or continue our operations.

The commercial success of ZYNTEGLO, and of any future products, will depend upon the degree of market acceptance by physicians, patients,
third-party payers and others in the medical community.
The commercial success of ZYNTEGLO and of any future products will depend in part on the medical community, patients, and third-party or
governmental payers accepting gene therapy products in general, and ZYNTEGLO and any future products in particular, as medically useful, cost-
effective, and safe. ZYNTEGLO and any other products that we may bring to the market may not gain market acceptance by physicians, patients,
third-party payers and others in the medical community. If these products do not achieve an adequate level of acceptance, we may not generate
significant product revenue and may not become profitable. The degree of market acceptance of ZYNTEGLO and of any future products will
depend on a number of factors, including:

•the potential efficacy and potential advantages over alternative treatments;
•the prevalence and severity of any side effects, including any limitations or warnings contained in a product’s approved labeling;
•the prevalence and severity of any side effects resulting from the chemotherapy and myeloablative treatments associated with the procedure by
which our product and any future products are administered;

•relative convenience and ease of administration;
•the willingness of the target patient population to try new therapies and of physicians to prescribe these therapies;
•the strength of marketing and distribution support and timing of market introduction of competitive products;
•the pricing of our product and of any future products;
•publicity concerning our product, any future products, or competing products and treatments; and
•sufficient third-party insurance coverage or reimbursement.
Even if a potential product displays a favorable efficacy and safety profile in preclinical and clinical studies, market acceptance of the product will
not be known until after it is launched. Our efforts to educate the medical community and payers on the benefits of our products may require
significant resources and may never be successful. Our efforts to educate the marketplace may require more resources than are required by the
conventional technologies marketed by our competitors. Any of these factors may cause ZYNTEGLO, or any future products, to be unsuccessful
or less successful than anticipated.

If the market opportunities for our product or any future products are smaller than we believe they are, and if we are not able to successfully
identify patients and achieve significant market share, our revenues may be adversely affected and our business may suffer.
We focus our research and product development on treatments for severe genetic diseases and cancer. Our projections of both the number of
people who have these diseases, as well as the subset of people with these diseases who have the potential to benefit from treatment with our
product or any future products, are based on estimates. These estimates have been derived from a variety of sources, including scientific literature,
surveys of clinics, patient foundations, or market research, and may prove to



                                                                           41
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 246 of 426 PageID #: 3219

Table of Contents




be incorrect. Further, new studies may change the estimated incidence or prevalence of these diseases. The number of patients may turn out to be
lower or more difficult to identify than expected. Additionally, the potentially addressable patient population for our product and any future
products may be limited or may not be amenable to treatment with our products. For instance, in our HGB-206 clinical study of LentiGlobin for SCD,
we have received notice of safety events of acute myeloid leukemia and of myelodysplastic syndrome. If these safety events are shown to be
related to the use of our lentiviral vector in the manufacture of the gene therapy or the use of myeloablative regimens prior to treatment, the market
opportunity for our gene therapies may be negatively impacted even if our gene therapies ultimately receive marketing approval.
Even if we obtain significant market share for a product within an approved indication, because the potential target populations for our product and
for the product candidates in our pipeline are small, we may never achieve profitability without obtaining marketing approval for additional
indications. For instance, we received conditional marketing approval in Europe of ZYNTEGLO for the treatment of adult and adolescent patients
with TDT who do not have a β0/β0 genotype. We do not have any assurance of whether or when ZYNTEGLO may be commercially available to
pediatric patients less than 12 years of age, or to patients with all genotypes of TDT, or in markets outside of Europe. In the field of cancer, the FDA
often approves new therapies initially only for use in patients with relapsed or refractory advanced disease. We expect to initially seek approval of
our T cell-based product candidates in cancer in this context. Subsequently, for those products that prove to be sufficiently beneficial, if any, we
would expect to seek approval in earlier lines of treatment and potentially as a first line therapy, but there is no guarantee that our product
candidates, even if approved, would be approved for earlier lines of therapy, and, prior to any such approvals, we may have to conduct additional
clinical trials. For example, BMS has submitted a BLA seeking approval from the FDA for ide-cel as a treatment for relapsed and refractory multiple
myeloma. BMS is conducting the KarMMa-2, KarMMa-3, and KarMMa-4 studies with the intention to generate data to support marketing
approvals for earlier lines of therapy in multiple myeloma, but there is no assurance that such studies will be successful or be sufficient.
Any of these factors may negatively affect our ability to generate revenues from sales of our product and any future products and our ability to
achieve and maintain profitability and, as a consequence, our business may suffer.

We rely on a complex supply chain for ZYNTEGLO and our product candidates. The manufacture and delivery of our lentiviral vector and
drug products present significant challenges for us, and we may not be able to produce our vector and drug products at the quality, quantities,
locations or timing needed to support commercialization and our clinical programs. In addition, we may encounter challenges with engaging
or coordinating with qualified treatment centers needed to support commercialization.
In order to commercialize ZYNTEGLO and any future products, we will need to develop, contract for, or otherwise arrange for the necessary
manufacturing capabilities. We currently rely on third parties to manufacture the vector and the drug product in the commercial setting and for any
clinical trials that we initiate. Currently, SAFC is the sole manufacturer of the lentiviral vector and Minaris Regenerative Medicine is the sole
manufacturer of the drug product to support commercialization of ZYNTEGLO in Europe. Although we intend to eventually rely on a mix of internal
and third-party manufacturers to support our commercialization efforts, we are still in the process of completing construction and qualification of
our internal capacity and we have not secured commercial-scale manufacturing capacity in all of the regions where we intend to commercialize
ZYNTEGLO or our late-stage product candidates, if they receive marketing approval. By building our own internal manufacturing facility, we have
incurred substantial expenditures and expect to incur significant additional expenditures in the future. In addition, there are many risks inherent in
the construction of a new facility that could result in delays and additional costs, including the need to obtain access to necessary equipment and
third-party technology, if any. Also, we have had to, and will continue to, hire and train qualified employees to staff our manufacturing facility. We
may not be able to timely or successfully build out our internal capacity or negotiate binding agreements with third-party manufacturers at
commercially reasonable terms. If we fail to secure adequate capacity to manufacture our drug products or lentiviral vectors used in the
manufacture of our drug products, we may be unable to execute on our development and commercialization plans on the timing that we expect.
The manufacture of our lentiviral vector and drug product is complex and requires significant expertise. Even with the relevant experience and
expertise, manufacturers of cell therapy products often encounter difficulties in production, particularly in scaling out and validating initial
production, managing the transition from clinical manufacturing to manufacturing in the commercial setting, and ensuring that the product meets
required specifications. These problems include difficulties with production costs and yields, quality control, including stability of the product,
quality assurance testing, operator error, shortages of qualified personnel, as well as compliance with strictly enforced federal, state and foreign
regulations. We cannot make any assurances that these problems will not occur in the future, or that we will be able to resolve or address in a timely
manner or with available funds problems that occur. Because of the complexity of manufacturing our product and product candidates, transitioning
production of either lentiviral vector or drug products to backup or second source manufacturing, or to internal manufacturing capacity, requires a
lengthy technology transfer process and may require additional significant financial expenditures. Furthermore, our cost of goods development is
at an early stage. The actual cost to manufacture our lentiviral



                                                                          42
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 247 of 426 PageID #: 3220

Table of Contents




vector and drug product could be greater than we expect and could materially and adversely affect the commercial viability of our product and any
future products. If we or such third-party manufacturers are unable to produce the necessary quantities of lentiviral vector and our drug product, or
in compliance with GMP or other pertinent regulatory requirements, and within our planned time frame and cost parameters, the development and
commercialization of our product and any future products may be materially harmed. Furthermore, if we or our third-party manufacturers are unable
to produce our lentiviral vectors or our drug product in quantities, in accordance with regulatory requirements, including quality requirements, or
within the time frames that we need to support our development and commercialization activities, it may result in delays in our plans or increased
capital expenditures.
In addition, any significant disruption in our supplier relationships could harm our business. We source key materials from third parties, either
directly through agreements with suppliers or indirectly through our manufacturers who have agreements with suppliers. There are a small number
of suppliers for certain key materials that are used to manufacture our product and product candidates. Such suppliers may not sell these key
materials to us or to our manufacturers at the times we need them or on commercially reasonable terms. We do not have any control over the
process or timing of the acquisition of these key materials by our manufacturers. Moreover, we currently do not have agreements for the commercial
supply for all of these key materials.
Additionally, since the HSCs and T cells used as starting material for our drug product have a limited window of stability following procurement
from a patient, we must establish transduction facilities in the regions where we wish to commercialize our product and any future products.
Currently, we rely on third-party contract manufacturers in the United States and Europe to produce drug product for commercialization and for our
clinical studies. Since a portion of our target patient populations will be outside the United States and Europe, we will need to establish additional
transduction facilities that can replicate our transduction process in order to address those patient populations. Establishment of such facilities
may be financially impractical or impeded by technical, quality, or regulatory issues related to these new sites and we may also run into technical or
scientific issues related to transfer of our transduction process or other developmental issues that we may be unable to resolve in a timely manner
or with available funds.
Our commercial strategy is to engage apheresis and transplant centers in our key launch regions as qualified treatment centers for the collection of
patient HSCs and infusion of the drug product once manufactured. To ensure that the qualified treatment centers are prepared to collect patient
HSCs and to ship them to our transduction facilities in accordance with our specifications and regulatory requirements, we train and conduct
quality assessments of each center as part of engagement. These qualified treatment centers are the first and last points on our complex supply
chain to reach patients in the commercial setting. We may not be able to engage qualified treatment centers in all of the regions in our commercial
launch strategy, or we may encounter other challenges or delays in engaging qualified treatment centers. We may fail to manage the logistics of
collecting and shipping patient material to the manufacturing site and shipping the drug product back to the patient. Logistical and shipment delays
and problems caused by us, our third-party vendors, and other factors not in our control, such as weather, could prevent or delay the delivery of
product to patients. If our qualified treatment centers fail to perform satisfactorily, we may suffer reputational, operational, and business harm. We
are required to maintain a complex chain of identity and chain of custody with respect to patient material as it moves through the manufacturing
process, from the qualified treatment center to the transduction facility, and back to the patient. Failure to maintain chain of identity and chain of
custody could result in adverse patient outcomes, loss of product or regulatory action.




                                                                          43
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 248 of 426 PageID #: 3221

Table of Contents




Although we are continuing to build out our commercial capabilities, we have no prior sales or distribution experience and limited
capabilities for marketing and market access. We expect to invest significant financial and management resources to establish these
capabilities and infrastructure to support commercial operations. If we are unable to establish these commercial capabilities and
infrastructure or to enter into agreements with third parties to market and sell our product or any future products, we may be unable to
generate sufficient revenue to sustain our business.
Although we are continuing to build out our field team as part of our commercial launch in Europe, we have no prior sales or distribution experience
and limited capabilities for marketing and market access. To successfully commercialize ZYNTEGLO and any other products that may result from
our development programs, we will need to further develop these capabilities and expand our infrastructure to support commercial operations in the
United States, Europe and other regions, either on our own or with others. Commercializing an autologous gene therapy such as ZYNTEGLO is
resource-intensive and has required, and will continue to require, substantial investment in commercial capabilities. We are competing with
companies that currently have extensive and well-funded marketing and sales operations. Without significant commercial experience as a company
or the support of a third-party to perform these functions, including marketing and sales functions, we may be unable to compete successfully
against these more established companies. Furthermore, a significant proportion of the patient populations for ZYNTEGLO and our potential
products lies outside of the United States and Europe. We may not be able to establish our global capabilities and infrastructure in a timely manner
or at all. The cost of establishing such capabilities and infrastructure may not be justifiable in light of the potential revenues generated by any
particular product and/or in any specific geographic region. We currently expect to rely heavily on third parties to launch and market ZYNTEGLO
and our potential products in certain geographies, if approved. We may enter into collaborations with third parties to utilize their mature marketing
and distribution capabilities, but we may be unable to enter into agreements on favorable terms, if at all. If our future collaborative partners do not
commit sufficient resources to commercialize ZYNTEGLO or our future products, if any, and we are unable to develop the necessary commercial and
manufacturing capabilities on our own, we may be unable to generate sufficient product revenue to sustain our business.

The insurance coverage and reimbursement status of newly-approved products is uncertain. Due to the novel nature of our technology and the
potential for our product to offer lifetime therapeutic benefit in a single administration, we face additional uncertainty related to pricing and
reimbursement for our product. Failure to obtain or maintain adequate coverage and reimbursement for any new or current product could
limit our ability to market those products and decrease our ability to generate revenue.
The availability and extent of reimbursement by governmental and private payers is essential for most patients to be able to afford expensive
treatments, such as gene therapy products. Sales of our product and any future products will depend substantially, both domestically and abroad,
on the extent to which the costs of our product and any future products will be paid by health maintenance, managed care, pharmacy benefit and
similar healthcare management organizations, or reimbursed by government health administration authorities, private health coverage insurers and
other payers. In addition, because our therapies represent new treatment approaches, the estimation of potential revenues will be complex.
There is significant uncertainty related to the insurance coverage and reimbursement of newly approved products, including gene therapies that are
potential one-time treatments. In the United States, the principal decisions about reimbursement for new medicines are typically made by the
Centers for Medicare & Medicaid Services, or CMS, an agency within the U.S. Department of Health and Human Services, or HHS, as CMS decides
whether and to what extent a new medicine will be covered and reimbursed under Medicare. Private payers tend to follow CMS to a substantial
degree. It is difficult to predict what CMS will decide with respect to reimbursement for fundamentally novel products such as ours, as there is no
body of established practices and precedents for these new products. Reimbursement agencies in Europe may be more conservative than CMS. A
number of cancer drugs have been approved for reimbursement in the United States and have not been approved for reimbursement in certain
European countries. In addition, costs or difficulties with the reimbursement experienced by the initial gene therapies to receive marketing
authorization may create an adverse environment for reimbursement of other gene therapies.
Outside the United States, certain countries, including a number of member states of the European Union, set prices and reimbursement for
pharmaceutical products, or medicinal products, as they are commonly referred to in the European Union, with limited participation from the
marketing authorization holders. We cannot be sure that such prices and reimbursement will be acceptable to us or our collaborators. If the
regulatory authorities in these foreign jurisdictions set prices or reimbursement levels that are not commercially attractive for us or our
collaborators, the revenues from sales by us or our collaborators, and the potential profitability of our product and any future products, in those
countries would be negatively affected. An increasing number of countries are taking initiatives to attempt to reduce large budget deficits by
focusing cost-cutting efforts on pharmaceuticals for their state-run health care systems. These international price control efforts have impacted all
regions of the world, but have been most drastic in the European Union. Additionally, some countries require approval of the sale price of a product
before it can be marketed. In many countries, the pricing review period begins after marketing or product licensing approval is granted. As a result,
we might obtain marketing approval for a product in a particular country, but then may experience delays in the reimbursement approval of our
product or be subject to price regulations that would delay our



                                                                          44
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 249 of 426 PageID #: 3222

Table of Contents




commercial launch of the product, possibly for lengthy time periods, which could negatively impact the revenues we are able to generate or
recognize from the sale of the product in that particular country. For instance, although we have received conditional marketing approval for
ZYNTEGLO in the European Union and the United Kingdom, we are still in the process of negotiating pricing and reimbursement approval in the
jurisdictions where we are commercializing ZYNTEGLO, and there is no assurance that the approved prices or reimbursement levels that payers will
be willing to pay will be acceptable to us.
Moreover, increasing efforts by governmental and third-party payers, in the United States and abroad, to cap or reduce healthcare costs may cause
such organizations to limit both coverage and level of reimbursement for new products approved and, as a result, they may not cover or provide
adequate payment for our product or any future products. We expect to experience pricing pressures in connection with the sale of our product and
any future products, due to the trend toward managed healthcare, the increasing influence of health maintenance organizations and additional
legislative changes. Net prices for drugs may be reduced by mandatory discounts or rebates required by government or private payers and by any
future relaxation of laws that presently restrict imports of drugs from countries where they may be sold at lower prices than in the United States.
The downward pressure on healthcare costs in general, particularly prescription drugs and surgical procedures and other treatments, has become
very intense. As a result, increasingly high barriers are being erected to the entry of new products.
Furthermore, because our target patient populations are relatively small, the pricing and reimbursement of our product and any future products
must be adequate to cover the costs to treat and support the treatment of patients. If we are unable to obtain adequate levels of reimbursement, our
ability to successfully market and sell our product and any future products will be adversely affected. Even if coverage is provided, the approved
reimbursement amount may not be high enough to allow us to establish or maintain pricing sufficient to realize a sufficient return on our
investment.
In addition, the administration of autologous drug products requires procedures for the collection of HSCs or T cells from the patient, followed by
chemotherapy and myeloablative treatments, before infusion of the engineered cell therapy product. The manner and level at which reimbursement
is provided for these services is also important. Inadequate reimbursement for such services may lead to physician resistance and adversely affect
our ability to market or sell our product.
We have proposed novel payment models, including outcomes-based arrangements with payments over time, to assist with realizing the value and
sharing the risk of a potential one-time treatment, such as ZYNTEGLO. While we are engaged in discussions with payers, there is no assurance that
there will be widespread adoption of these payment models by payers. These payment models may not be sufficient for payers to grant coverage,
and if we are unable to obtain adequate coverage for our product or any future products, the adoption of our product or any future products may
be limited, or our ability to recognize revenue from product sales may be delayed. In addition, to the extent reimbursement for our product is subject
to outcomes-based arrangements, the total payments received from product sales may vary, our cash collection of future payments and revenue
assumptions from product sales will be at risk, and the timing of revenue recognition may not correspond to the timing of cash collection. We plan
on commercializing our product candidates in the United States once approved, and will be subject to price reporting obligations set forth by CMS.
To the extent reimbursement for our product or any future products by U.S. governmental payers is subject to outcomes-based arrangements, the
increased complexity increases the risk that CMS may disagree with the assumptions and judgments that we use in our price reporting calculations,
which may result in significant fines and liability.
Collectively, these factors could affect our ability to successfully commercialize our product and any future products and generate or recognize
revenues, which would adversely impact our business, financial condition, results of operations and prospects.

Risks related to the research and development of our product candidates
We cannot predict when or if we will obtain marketing approval to commercialize our product candidates, and the marketing approval of our
product and any future products may ultimately be for more narrow indications than we expect. If our product candidates are not approved in
a timely manner or at all for any reason, our business prospects, results of operations, and financial condition would be adversely affected.
Before obtaining marketing approval from regulatory authorities for the commercialization of our product candidates, we must conduct extensive
clinical studies to demonstrate the safety, purity and potency, and efficacy, of the product candidates in humans. Clinical testing is expensive, time-
consuming and uncertain as to outcome. There is a high failure rate for drugs and biologics proceeding through clinical studies. A number of
companies in the pharmaceutical and biotechnology industries have suffered significant setbacks in later stage clinical studies even after achieving
promising results in earlier stage clinical studies. We cannot guarantee that any clinical studies will be conducted as planned or completed on
schedule, if at all. A failure of one or more clinical studies can occur at any stage of testing. Events that may prevent successful or timely
completion of clinical development include:



                                                                          45
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 250 of 426 PageID #: 3223

Table of Contents




•delays in reaching a consensus with regulatory agencies on study design;
•imposition of a clinical hold by regulatory agencies, after an inspection of our clinical study operations or study sites or due to unforeseen safety
issues;

•delays in the testing, validation, manufacturing and delivery of our product candidates to the clinical sites;
•failure to obtain sufficient cells from patients to manufacture enough drug product or achieve target cell doses;
•delays in having patients complete participation in a study or return for post-treatment follow-up;
•clinical study sites or patients dropping out of a study;
•occurrence of serious adverse events associated with the product candidate that are viewed to outweigh its potential benefits; or
•changes in regulatory requirements and guidance that require amending or submitting new clinical protocols.
Furthermore, the timing of our clinical studies depends on the speed at which we can recruit eligible patients to participate in testing our product
candidates. The conditions for which we plan to evaluate our current product candidates in severe genetic diseases are rare disorders with limited
patient pools from which to draw for clinical studies. The eligibility criteria of our clinical studies will further limit the pool of available study
participants, and the process of finding and diagnosing patients may prove costly. Patients may be unwilling to participate in our studies because
of negative publicity from adverse events in the biotechnology or gene therapy industries or for other reasons, including competitive clinical
studies for similar patient populations. We may not be able to identify, recruit and enroll a sufficient number of patients, or those with required or
desired characteristics to achieve diversity in a study, to complete our clinical studies in a timely manner. We have experienced delays in some of
our clinical studies in the past, and we may experience similar delays in the future.
Results from previous or ongoing studies are not necessarily predictive of our future clinical study results, and initial or interim results may not
continue or be confirmed upon completion of the study. There is limited data concerning long-term safety and efficacy following treatment with our
gene therapy and T cell-based product candidates. These data, or other positive data, may not continue or occur for these patients or for any future
patients in our ongoing or future clinical studies, and may not be repeated or observed in ongoing or future studies involving our product
candidates. Furthermore, our product candidates may also fail to show the desired safety and efficacy in later stages of clinical development
despite having successfully advanced through initial clinical studies. There can be no assurance that any of these studies will ultimately be
successful or support further clinical advancement or marketing approval of our product candidates. For instance, while patients with SCD who
have been treated with LentiGlobin may experience a reduction of vaso-occlusive events following successful engraftment, there can be no
assurance that they will not experience vaso-occlusive events in the future. Similarly, patients with relapsed and refractory multiple myeloma who
have been treated with ide-cel or the bb21217 product candidate may experience disease progression. We have experienced unexpected results in
the past, and we may experience unexpected results in the future. For instance, initial results from our clinical studies of ZYNTEGLO suggested that
patients with TDT who do not have a β0/β0 genotype experienced better outcomes from treatment than patients with TDT who have a β0 /β0
genotype. Consequently, we received conditional approval in the European Union initially for the treatment of patients with TDT who do not have
a β0 /β0 genotype. In order to support an application for marketing approval of ZYNTEGLO in patients with TDT who have a β0 /β0 genotype, we are
conducting the HGB-212 study, but we do not know if or when ZYNTEGLO may be commercially available to all genotypes of TDT or types of β-
thalassemia in Europe.
Even if our product candidates demonstrate safety and efficacy in clinical studies, regulatory delays or rejections may be encountered as a result of
many factors, including changes in regulatory policy during the period of product development. We may experience delays or rejections based
upon additional government regulation from future legislation or administrative action, changes in regulatory agency policy, or additional
regulatory feedback or guidance during the period of product development, clinical studies and the review process. The field of cell and gene
therapy is evolving, and as more products are reviewed by regulatory authorities, regulatory authorities may impose additional requirements that
were not previously anticipated. Regulatory agencies also may approve a treatment candidate for fewer or more limited indications than requested
or may grant approval subject to the performance of post-marketing studies. In addition, regulatory agencies may not approve the labeling claims
that are necessary or desirable for the successful commercialization of our treatment candidates. For example, the development of our product
candidates for pediatric use is an important part of our current business strategy, and if we are unable to obtain marketing approval for the desired
age ranges, our business may suffer. Furthermore, approvals by the EMA and the European Commission may not be indicative of what the FDA
may require for approval.
In general, the FDA requires the successful completion of two pivotal trials to support approval of a biologics licensing application, or BLA, but in
certain circumstances, will approve a BLA based on only one pivotal trial. Because beti-cel has



                                                                          46
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 251 of 426 PageID #: 3224

Table of Contents




been granted the FDA’s Fast Track and Breakthrough Therapy designations, we are engaged in discussions with the FDA regarding the
development plans for beti-cel to enable a submission of a BLA prior to the completion of our ongoing studies. Based on these discussions, we
believe the results from our ongoing Northstar-2 and Northstar-3 clinical studies, together with data from our Northstar study, the LTF-303 long-
term follow up protocol, and completed HGB-205 study, could be sufficient to form the basis for a BLA submission for beti-cel to treat patients with
TDT. However, it should be noted that our ability to submit and obtain approval of a BLA is ultimately an FDA review decision, which will be
dependent upon the data available at such time, and the available data may not be sufficiently robust from a safety and/or efficacy perspective to
support the submission or approval of a BLA. Depending on the outcome of these ongoing clinical studies, the FDA may require that we conduct
additional or larger pivotal trials before we can submit or obtain approval of a BLA for beti-cel for the treatment of patients with TDT. Furthermore,
we are required to submit data relating to certain release assays designed to confirm the quality, purity and strength (including potency) of beti-cel
as a condition for completing the BLA submission, which has the potential for further delaying the completion of our BLA submission, with the
potential consequence of delaying any approval and commercial launch of beti-cel in the United States. In addition, in February 2021 we temporarily
suspended marketing of ZYNTEGLO and the EMA has paused the renewal procedure for ZYNTEGLO's conditional marketing authorization while
the EMA's pharmacovigilance risk assessment committee reviews the risk-benefit assessment for ZYNTEGLO and determines whether any
additional pharmacovigilance measures are necessary, in light of safety events arising from our HGB-206 clinical study of LentiGlobin gene therapy
for SCD. We cannot make any assurances as to what the EMA may require for ZYNTEGLO to return to the market in Europe, or what the FDA may
require for approval of beti-cel in the United States.
In September 2020, we submitted a MAA to the EMA to seek approval in Europe for eli-cel for the treatment of patients with CALD. Based on our
discussions with the FDA, we believe that we may be able to seek approval for eli-cel for the treatment of patients with CALD in the United States
on the basis of safety and efficacy data from our ongoing Starbeam study, safety data from our ongoing ALD-104 study, and the completed ALD-
103 observational study. Whether eli-cel is eligible for approval will ultimately be determined at the discretion of the FDA and EMA, and will be
dependent upon the data available at such time, and the available data may not be sufficiently robust from a safety and/or efficacy perspective to
support approval. Depending on the outcome of our ongoing studies, the FDA in the United States and EMA and European Commission in the
European Union may require that we conduct additional or larger clinical trials before eli-cel is eligible for approval.
Based on our discussions with the FDA, we believe that we may be able to seek accelerated approval for our LentiGlobin for SCD product
candidate in the United States on the basis of clinical data from Group C of our ongoing HGB-206 clinical study, with our ongoing HGB-210 clinical
study providing confirmatory data for full approval. We cannot be certain that data from our HGB-206 or HGB-210 clinical studies will be sufficiently
robust from a safety and/or efficacy perspective to support either conditional approval or full approval. We are also engaged with the EMA in
discussions regarding our proposed development plans for LentiGlobin for SCD in Europe. Our development plan in the United States is contingent
upon LentiGlobin for SCD demonstrating complete resolution of severe vaso-occlusive events, with globin response as a key secondary endpoint,
and an acceptable safety profile in the study participants. Depending on the outcome of our ongoing and planned studies, the FDA may require
that we conduct additional or larger clinical trials before our LentiGlobin product candidate is eligible for approval for the treatment of patients with
SCD. In our discussions with FDA regarding the transition of manufacturing to the commercial setting from the clinical context, we are finalizing our
plans for validating our commercial manufacturing processes and for providing the FDA with the comparability data that it requires. The FDA may
not agree with these plans, or may require additional validation or comparability data as a condition for completing the BLA submission and filing.
Any of these may result in delays in our ability to submit a BLA for regulatory approval of LentiGlobin for SCD. Furthermore, in light of a SUSAR of
acute myeloid leukemia and a SUSAR of myelodysplastic syndrome in our HGB-206 clinical study reported to us in February 2021, the FDA has
placed our clinical studies of LentiGlobin for SCD on clinical hold. We are investigating these events and plan to continue to work closely with the
FDA in their review of these events, and we cannot make any assurances as to what the FDA may require to lift the clinical hold, if ever, or the
timing for us to complete our investigation as to the relationship between the use of our lentiviral vector in manufacturing and these safety events.
Taken together, these factors are likely to result in delays in our ability to submit a BLA for regulatory approval of LentiGlobin for SCD. In addition,
we are engaged with the EMA in discussions regarding our proposed development plans for LentiGlobin in SCD in Europe, and we cannot be
certain that our HGB-206 study and HGB-210 study will be sufficient to form the basis for an initial MAA submission in Europe for the treatment of
patients with SCD.
In September 2020, the FDA accepted for Priority Review the BLA submitted by BMS for ide-cel as a treatment for relapsed and refractory multiple
myeloma. There is no guarantee that the FDA will conclude that the information in the BLA will be sufficient to support approval and we may fail to
obtain regulatory approval in the United States for ide-cel. Additionally, certain factors beyond our and BMS’ control may impact the timeliness of
the regulatory reviews of our submissions or any applications for approval.
If our product candidates are ultimately not approved for any reason, our business, prospects, results of operations and financial condition would
be adversely affected.



                                                                           47
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 252 of 426 PageID #: 3225

Table of Contents




Changes in our manufacturing processes may cause delays in our clinical development and commercialization plans.
The manufacturing processes for our lentiviral vectors and our drug products are complex. We explore improvements to our manufacturing
processes on a continual basis, as we evaluate clinical and manufacturing data and based on discussions with regulatory authorities. In some
circumstances, changes in the manufacturing process may require us to perform additional comparability studies, collect additional data from
patients, submit additional regulatory filings, or comply with additional requirements, which may lead to delays in our clinical development and
commercialization plans. For instance, following the conditional approval of ZYNTEGLO by the European Commission, we continued to refine our
commercial drug product manufacturing process to narrow some of the manufacturing process parameters and to tighten the range of commercial
drug product release specifications, based on an ongoing discussion with the EMA and evolving clinical data. Implementing these changes to the
ZYNTEGLO commercial manufacturing process had the effect of delaying our ability to treat the first patient in the commercial context in Europe. In
LentiGlobin for SCD, we plan to seek regulatory approval for drug product utilizing lentiviral vector manufactured using the scalable suspension
manufacturing process, rather than the adherent manufacturing process. The FDA and EMA may not agree with our proposed plans for
demonstrating the comparability of the two processes, and may require us to conduct additional studies, collect additional data, develop additional
assays, or modify release specifications, which may delay our ability to submit a BLA or MAA for regulatory approval of LentiGlobin for SCD. Over
time, we also intend to transition the lentiviral vector manufacturing process for ZYNTEGLO in the European Union, and beti-cel in the United
States, to the suspension manufacturing process, and the timing in which we are able to make the transition will be dependent upon reaching
agreement with regulatory authorities, which may require us to conduct additional studies, collect additional data, develop additional assays, or
modify release specifications.

We face intense competition and rapid technological change and the possibility that our competitors may develop therapies that are more
advanced or effective than ours, which may adversely affect our financial condition and our ability to successfully commercialize our product
and any future products. If our competitors obtain orphan drug exclusivity for products that regulatory authorities determine constitute the
same drug and treat the same indications as our product or any future products, we may not be able to have competing products approved by
the applicable regulatory authority for a significant period of time.
We are engaged in the development of gene therapies for severe genetic diseases and cancer, and both fields are competitive and rapidly changing.
We have competitors both in the United States and internationally, including major multinational pharmaceutical companies, biotechnology
companies and universities and other research institutions. Many of our competitors have substantially greater financial, technical and other
resources, such as larger research and development staff, more experienced manufacturing capabilities, or more established commercial
infrastructure. Competition may increase further as a result of advances in the commercial applicability of technologies and greater availability of
capital for investment in these industries. Our competitors may succeed in developing, acquiring or licensing on an exclusive basis, products that
are more effective, safer, or less costly than any products that we may develop, or achieve patent protection, marketing approval, product
commercialization and market penetration earlier than us. Additionally, technologies developed by our competitors may render our potential
products uneconomical or obsolete, and we may not be successful in marketing our product candidates against competitors. For additional
information regarding our competition, see “Item 1. Business-Competition” in our Annual Report on Form 10-K.
Even if we are successful in achieving marketing approval to commercialize a product candidate faster than our competitors, we may face
competition from biosimilars due to the changing regulatory environment. In the United States, the Biologics Price Competition and Innovation Act
of 2009 created an abbreviated approval pathway for biological products that are demonstrated to be “highly similar,” or biosimilar, to or
“interchangeable” with an FDA-approved biological product. This pathway could allow competitors to reference data from biological products
already approved after 12 years from the time of approval. In Europe, the European Commission has granted marketing authorizations for several
biosimilars pursuant to a set of general and product class-specific guidelines for biosimilar approvals issued over the past few years. In Europe, a
competitor may reference data from biological products already approved, but will not be able to get on the market until 10 years after the time of
approval. This 10-year period will be extended to 11 years if, during the first eight of those 10 years, the marketing authorization holder obtains an
approval for one or more new therapeutic indications that bring significant clinical benefits compared with existing therapies. In addition,
companies may be developing biosimilars in other countries that could compete with our products. If competitors are able to obtain marketing
approval for biosimilars referencing our products, our products may become subject to competition from such biosimilars, with the attendant
competitive pressure and consequences. Expiration or successful challenge of our applicable patent rights could also trigger competition from other
products, assuming any relevant exclusivity period has expired.
In addition, although ZYNTEGLO and our product candidates have been granted orphan drug status by the FDA and EMA, there are limitations to
the exclusivity. In the United States, the exclusivity period for orphan drugs is seven years, while pediatric exclusivity adds six months to any
existing patents or exclusivity periods. In Europe, orphan drugs may be able to obtain 10 years of marketing exclusivity and up to an additional two
years on the basis of qualifying pediatric studies. However,



                                                                         48
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 253 of 426 PageID #: 3226

Table of Contents




orphan exclusivity may be reduced to six years if the drug no longer satisfies the original designation criteria. Additionally, a marketing
authorization holder may lose its orphan exclusivity if it consents to a second orphan drug application or cannot supply enough drug. Orphan drug
exclusivity also can be lost when a second applicant demonstrates its drug is “clinically superior” to the original orphan drug. Generally, if a
product with an orphan drug designation receives the first marketing approval for the indication for which it has such designation, the product is
entitled to a period of marketing exclusivity, which precludes the FDA or the European Commission from approving another marketing application
for a product that constitutes the same drug treating the same indication for that marketing exclusivity period, except in limited circumstances. If
another sponsor receives such approval before we do (regardless of our orphan drug designation), we will be precluded from receiving marketing
approval for our product for the exclusivity period for the applicable indication.
Finally, as a result of the expiration or successful challenge of our patent rights, we could face more litigation with respect to the validity and/or
scope of patents relating to our competitors’ products. The availability of our competitors’ products could limit the demand, and the price we are
able to charge, for any products that we may develop and commercialize.

We may not be successful in our efforts to identify or discover additional product candidates.
The success of our business depends primarily upon our ability to identify, develop and commercialize products based on our platform
technologies, including our gene editing technology and cancer immunotherapy capabilities. Our research programs in oncology and severe
genetic diseases may fail to identify other potential product candidates for clinical development for a number of reasons. We may be unsuccessful
in identifying potential product candidates or our potential product candidates may be shown to have harmful side effects or may have other
characteristics that may make the products unmarketable or unlikely to receive marketing approval. Research programs to identify new product
candidates require substantial technical, financial and human resources. We may focus our efforts and resources on potential programs or product
candidates that ultimately prove to be unsuccessful. If any of these events occur, we may be forced to abandon our research, development or
commercialization efforts for a program or programs, which would have a material adverse effect on our business and could potentially cause us to
cease operations.

Insertional oncogenesis is a risk of gene therapies using viral vectors. If the vectors for our product or product candidates are shown to lead to
insertional oncogenesis, we may be required to halt or delay further clinical development of our product candidates, and cease the
commercialization of our approved product, which may materially and negatively impact the commercial potential of our product and any
future products.
A significant risk in any gene therapy product using viral vectors is that the vector will insert in or near cancer-causing oncogenes leading to
uncontrolled clonal proliferation of mature cancer cells in the patient, known as insertional oncogenesis. In published studies, lentiviral vectors
have demonstrated an improved safety profile over gamma-retroviral vectors used in early gene therapy studies, which we believe is due to a
number of factors including the tendency of the lentiviral vectors to integrate within genes rather than in areas that control gene expression, as well
as their lack of strong viral enhancers. Notwithstanding the historical data regarding the potential safety improvements of lentiviral vectors, the risk
of insertional oncogenesis remains a significant concern for gene therapy and we cannot make any assurances that it will not occur in any of our
clinical studies or in the commercial setting. Insertional oncogenesis leading to leukemia or lymphoma remains a risk. For instance, clonal
predominance without a known clinical correlation has been detected in some patients treated with eli-cel including vector insertions into or near
genes previously associated with cancer in the general population. In February 2021, a SUSAR of acute myeloid leukemia and a SUSAR of
myelodysplastic syndrome in our HGB-206 clinical study resulted in the FDA placing our clinical studies of LentiGlobin for SCD and beti-cel on
clinical hold, and caused us to temporarily suspend marketing of ZYNTEGLO in the European Union. An investigation into the causes of any
safety events, including these safety events, may not be conclusive or may not be definitive in eliminating the lentiviral vector as a cause. As a
result, safety events such as leukemia, lymphoma, or myelodysplastic syndrome may result in delays or halt further advancement of our clinical
studies, and even if a product is approved, may result in the product being removed from the market or its market opportunity being significantly
reduced.
There is also the potential risk of delayed adverse events following exposure to gene therapy products due to persistent biological activity of the
genetic material or other components of products used to carry the genetic material. The FDA has stated that lentiviral vectors possess
characteristics that may pose high risks of delayed adverse events. If any such adverse events occur, further advancement of our clinical studies
could be halted or delayed, and we may be unable to continue to commercialize our approved product.
Furthermore, treatment with our gene therapy product and product candidates involve chemotherapy or myeloablative treatments, which can cause
side effects or adverse events that are unrelated to our product and product candidates but may still impact the perception of the potential benefits
of our product and any future products. For instance, myelodysplastic syndrome is a known risk of certain myeloablative regimens, and we have
previously reported that in our ongoing HGB-206 study of LentiGlobin for SCD, a patient developed myelodysplastic syndrome several years after
myeloablation and infusion with drug



                                                                           49
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 254 of 426 PageID #: 3227

Table of Contents




product, which progressed to acute myeloid leukemia, leading to the patient’s death. Other patients receiving our product or product candidates
may develop myelodysplastic syndrome or acute myeloid leukemia in the future, which may negatively impact the commercial prospects of our
product or product candidates. Additionally, our product and any future products, or procedures associated with the administration of our product
or collection of patients' cells, could potentially cause other adverse events that have not yet been predicted. The inclusion of critically ill patients
in our clinical studies may result in deaths or other adverse medical events due to other therapies or medications that such patients may be using,
or the progression of their disease. Any of these events could impair our ability to commercialize our product and any future products and the
commercial potential of our products will be materially and negatively impacted.

Patients receiving T cell-based immunotherapies, such as ide-cel and the bb21217 product candidate, may experience serious adverse events,
including neurotoxicity and cytokine release syndrome. If our product candidates are revealed to have high and unacceptable severity and/or
prevalence of side effects or unexpected characteristics, their clinical development, marketing approval, and commercial potential will be
negatively impacted, which will significantly harm our business, financial condition and prospects.
Ide-cel and the bb21217 product candidate are chimeric antigen receptor, or CAR, T cell-based immunotherapies. In previous and ongoing clinical
studies involving CAR T cell products, including those involving ide-cel and the bb21217 product candidate, patients experienced side effects such
as neurotoxicity and cytokine release syndrome. There have been life-threatening events related to severe neurotoxicity and cytokine release
syndrome, requiring intense medical intervention such as intubation or pressor support, and in several cases, resulted in death. Severe
neurotoxicity is a condition that is currently defined clinically by cerebral edema, confusion, drowsiness, speech impairment, tremors, seizures, or
other central nervous system side effects, when such side effects are serious enough to lead to intensive care. In some cases, severe neurotoxicity
was thought to be associated with the use of certain lymphodepletion regimens used prior to the administration of the CAR T cell products.
Cytokine release syndrome is a condition that is currently defined clinically by certain symptoms related to the release of cytokines, which can
include fever, chills, low blood pressure, when such side effects are serious enough to lead to intensive care with mechanical ventilation or
significant vasopressor support. The exact cause or causes of cytokine release syndrome and severe neurotoxicity in connection with treatment of
CAR T cell products is not fully understood at this time. In addition, patients have experienced other adverse events in these studies, such as a
reduction in the number of blood cells (in the form of neutropenia, thrombocytopenia, anemia or other cytopenias), febrile neutropenia, chemical
laboratory abnormalities (including elevated liver enzymes), and renal failure.
Undesirable side effects caused by ide-cel or the bb21217 product candidate, other CAR T product candidates targeting BCMA, or our other T cell-
based immunotherapy product candidates, could cause us or regulatory authorities to interrupt, delay or halt clinical studies and could result in a
more restrictive label or the delay or denial of marketing approval by the FDA or other comparable foreign regulatory authorities. In some cases,
side effects such as neurotoxicity or cytokine release syndrome have resulted in clinical holds of ongoing clinical trials and/or discontinuation of
the development of the product candidate. Results of our studies could reveal a high and unacceptable severity and prevalence of side effects or
unexpected characteristics. Treatment-related side effects could also affect patient recruitment or the ability of enrolled patients to complete the
studies or result in potential product liability claims. In addition, these side effects may not be appropriately recognized or managed by the treating
medical staff, as toxicities resulting from T cell-based immunotherapies are not normally encountered in the general patient population and by
medical personnel. Medical personnel may need additional training regarding T cell-based immunotherapy product candidates to understand their
side effects. Inadequate training in recognizing or failure to effectively manage the potential side effects of T cell-based immunotherapy product
candidates could result in patient deaths. Any of these occurrences may harm our business, financial condition and prospects significantly.

Negative public opinion and increased regulatory scrutiny of gene therapy and genetic research may damage public perception of our product
and any future products or adversely affect our ability to conduct our business or obtain and maintain marketing approvals for our product
and product candidates.
Public perception may be influenced by claims that gene therapy, including gene editing technologies, is unsafe or unethical, and research activities
and adverse events in the field, even if not ultimately attributable to us or our product or product candidates, could result in increased
governmental regulation, unfavorable public perception, challenges in recruiting patients to participate in our clinical studies, potential regulatory
delays in the testing or approval of our potential products, stricter labeling requirements for those product candidates that are approved, and a
decrease in demand for any such product. More restrictive government regulations or negative public opinion would have a negative effect on our
business or financial condition and may delay or impair the development and commercialization of our product candidates or demand for any
approved products.

Risks related to our reliance on third parties



                                                                           50
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 255 of 426 PageID #: 3228

Table of Contents



We are dependent on BMS for the successful development and commercialization of ide-cel and bb21217. If BMS does not devote sufficient
resources to the development of ide-cel and bb21217, is unsuccessful in its efforts, or chooses to terminate its agreements with us, our business
will be materially harmed.
We are co-developing and co-promoting ide-cel in the United States with BMS under our amended and restated co-development and co-promotion
agreement with BMS, or the Ide-cel CCPS. Under the Ide-cel CCPS, we and BMS share the obligation to develop and commercialize ide-cel in the
United States. In addition, we have exclusively licensed to BMS the right to develop and commercialize the bb21217 product candidate, and we
retain an option to co-develop and co-promote bb21217 in the United States under our license agreement with BMS. With respect to bb21217, we
are responsible for completing the ongoing CRB-402 study, but BMS is responsible for further clinical development and commercialization costs,
unless we choose to exercise our option to co-develop and co-promote bb21217 in the United States. If we exercise our option to co-develop and
co-promote bb21217 in the United States, we and BMS will share the obligation to develop and commercialize bb21217 in the United States.
In our partnership with BMS, BMS is obligated to use commercially reasonable efforts to develop and commercialize ide-cel and bb21217. BMS may
determine however, that it is commercially reasonable to de-prioritize or discontinue the development of ide-cel and bb21217. These decisions may
occur for many reasons, including internal business reasons (including due to the existence of other BMS programs that are potentially competitive
with ide-cel and bb21217), results from clinical trials or because of unfavorable regulatory feedback. Further, on review of the safety and efficacy
data, the FDA may impose requirements on one or both of the programs that render them commercially nonviable. In addition, under our
agreements with BMS, BMS has certain decision-making rights in determining the development and commercialization plans and activities for the
programs. We may disagree with BMS about the development strategy it employs, but we will have limited rights to impose our development
strategy on BMS. Similarly, BMS may decide to seek marketing approval for, and limit commercialization of, ide-cel or bb21217 to narrower
indications than we would pursue. More broadly, if BMS elects to discontinue the development of ide-cel or bb21217, we may be unable to advance
the product candidate ourselves.
This partnership may not be scientifically or commercially successful for us due to a number of important factors, including the following:
•BMS has wide discretion in determining the efforts and resources that it will apply to its partnership with us. The timing and amount of any
development milestones, and downstream commercial profits, milestones and royalties that we may receive under such partnership will depend on,
among other things, BMS’s efforts, allocation of resources and successful development and commercialization of ide-cel, bb21217 and other
product candidates that are the subject of its collaboration with us.
•BMS may develop and commercialize, either alone or with others, products that are similar to or competitive with ide-cel, bb21217 and other
product candidates that are the subject of its collaboration with us. For example, BMS is currently commercializing a number of its existing
products, including lenalidomide and pomalidomide, for certain patients with relapsed and refractory multiple myeloma and is also developing
orvacabtagene autoleucel, another CAR-T product candidate targeting BCMA that it obtained through its acquisition of Juno Therapeutics, Inc. in
March 2018.
•BMS may terminate its partnership with us without cause and for circumstances outside of our control, which could make it difficult for us to
attract new strategic partners or adversely affect how we are perceived in scientific and financial communities.
•BMS may develop or commercialize our product candidates in such a way as to elicit litigation that could jeopardize or invalidate our intellectual
property rights or expose us to potential liability.
•BMS may not comply with all applicable regulatory requirements, or may fail to report safety data in accordance with all applicable regulatory
requirements.
•If BMS were to breach its arrangements with us, we may need to enforce our right to terminate the agreement in legal proceedings, which could be
costly and cause delay in our ability to receive rights back to the relevant product candidates. If we were to terminate an agreement with BMS due
to BMS's breach or BMS terminated the agreement without cause, the development and commercialization of ide-cel or bb21217 product candidates
that are the subject of its collaboration with us could be delayed, curtailed or terminated because we may not have sufficient financial resources or
capabilities to continue development and commercialization of these product candidates on our own if we choose not to, or are unable to, enter into
a new collaboration for these product candidates.
BMS may enter into one or more transactions with third parties, including a merger, consolidation, reorganization, sale of substantial assets, sale of
substantial stock or other change in control, which could divert the attention of its management and adversely affect BMS’s ability to retain and
motivate key personnel who are important to the continued development of the programs under the strategic partnership with us. In addition, the
third-party to any such transaction could determine to re-



                                                                          51
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 256 of 426 PageID #: 3229

Table of Contents




prioritize BMS’s development programs such that BMS ceases to diligently pursue the development of our programs and/or cause the respective
collaboration with us to terminate.

We rely on third parties to conduct some or all aspects of our lentiviral vector production, drug product manufacturing, and testing, and these
third parties may not perform satisfactorily.
We do not independently conduct all aspects of our lentiviral vector production, drug product manufacturing, and testing. We currently rely, and
expect to continue to rely, on third parties with respect to these items, including manufacturing and testing in the commercial context.
Our reliance on these third parties for manufacturing, testing, research and development activities reduce our control over these activities but will
not relieve us of our responsibility to ensure compliance with all required regulations and study protocols. For example, for products that we
develop and commercialize on our own, we will remain responsible for ensuring that each of our IND-enabling studies and clinical studies are
conducted in accordance with the study plan and protocols, and that our lentiviral vectors and drug products are manufactured in accordance with
GMP as applied in the relevant jurisdictions.
If these third parties do not successfully carry out their contractual duties, meet expected deadlines, conduct our studies in accordance with
regulatory requirements or our stated study plans and protocols, or manufacture our lentiviral vectors and drug products in accordance with GMP,
whether due to the impacts of COVID-19 or otherwise, we will not be able to complete, or may be delayed in completing, the preclinical and clinical
studies and manufacturing process validation activities required to support future IND, MAA and BLA submissions and approval of our product
candidates, or to support commercialization of our products, if approved. Many of our agreements with these third parties contain termination
provisions that allow these third parties to terminate their relationships with us at any time. If we need to enter into alternative arrangements, our
product development and commercialization activities could be delayed.
Reliance on third-party manufacturers entails risks to which we would not be subject if we manufactured the products ourselves, including:

•the inability to negotiate manufacturing agreements with third parties under commercially reasonable terms;
•reduced control as a result of using third-party manufacturers for all aspects of manufacturing activities;
•the risk that these activities are not conducted in accordance with our study plans and protocols;
•termination or nonrenewal of manufacturing agreements with third parties in a manner or at a time that is costly or damaging to us; and
•disruptions to the operations of our third-party manufacturers or suppliers caused by conditions unrelated to our business or operations,
including the bankruptcy of the manufacturer or supplier.
We may be forced to manufacture lentiviral vector and drug product ourselves, for which we may not have the capabilities or resources, or enter
into an agreement with a different manufacturer, which we may not be able to do on reasonable terms, if at all. In some cases, the technical skills
required to manufacture our lentiviral vector or drug product candidates may be unique or proprietary to the original manufacturer, and we may
have difficulty or there may be contractual restrictions prohibiting us from, transferring such skills to a back-up or alternate supplier, or we may be
unable to transfer such skills at all. Any of these events could lead to clinical study delays or failure to obtain marketing approval, or impact our
ability to successfully commercialize our product or any future products. Some of these events could be the basis for FDA action, including
injunction, recall, seizure or total or partial suspension of production.

We and our contract manufacturers are subject to significant regulation with respect to manufacturing our product and product candidates.
The manufacturing facilities on which we rely may not continue to meet regulatory requirements and have limited capacity.
All entities involved in the preparation of therapeutics for clinical studies or commercial sale, including our existing contract manufacturers for our
product and product candidates, are subject to extensive regulation. Some components of a finished therapeutic product approved for commercial
sale or used in late-stage clinical studies must be manufactured in accordance with GMP. These regulations govern manufacturing processes and
procedures (including record keeping) and the implementation and operation of quality systems to control and assure the quality of investigational
products and products approved for sale. Poor control of production processes can lead to the introduction of adventitious agents or other
contaminants, or to inadvertent changes in the properties or stability of our product and product candidates that may not be detectable in final
product testing. We or our contract manufacturers must supply all necessary documentation in support of a BLA or MAA on a timely basis and
where required, must adhere to the FDA’s or other regulator’s good laboratory practices, or GLP, and GMP regulations enforced by the FDA or other
regulator through facilities inspection programs. Some of our contract



                                                                           52
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 257 of 426 PageID #: 3230

Table of Contents




manufacturers have not produced a commercially-approved product and therefore have not obtained the requisite FDA or other marketing
approvals to do so. Our facilities and quality systems and the facilities and quality systems of some or all of our third-party contractors must pass a
pre-approval inspection for compliance with the applicable regulations as a condition of marketing approval of our product and potential products.
In addition, the regulatory authorities may, at any time, audit or inspect a manufacturing facility involved with the preparation of our products or the
associated quality systems for compliance with the regulations applicable to the activities being conducted. If these facilities do not pass a pre-
approval plant inspection, FDA or other marketing approval of the products will not be granted.
The regulatory authorities also may, at any time following approval of a product for sale, audit the manufacturing facilities of our third-party
contractors. If any such inspection or audit identifies a failure to comply with applicable regulations or if a violation of our product specifications or
applicable regulations occurs independent of such an inspection or audit, we or the relevant regulatory authority may require remedial measures
that may be costly and/or time-consuming for us or a third-party to implement and that may include the temporary or permanent suspension of a
clinical study or commercial sales or the temporary or permanent closure of a facility. Any such remedial measures imposed upon us or third parties
with whom we contract could materially harm our business.
If we or any of our third-party manufacturers fail to maintain regulatory compliance, the FDA or other regulators can impose regulatory sanctions
including, among other things, refusal to approve a pending application for a biologic product, or revocation of a pre-existing approval. As a result,
our business, financial condition and results of operations may be materially harmed.
Additionally, if supply from one approved manufacturer is interrupted, there could be a significant disruption in commercial supply. The number of
manufacturers with the necessary manufacturing capabilities is limited. In addition, an alternative manufacturer would need to be qualified through
a BLA supplement or similar regulatory submission which could result in further delay. The regulatory agencies may also require additional studies
if a new manufacturer is relied upon for commercial production. Switching manufacturers may involve substantial costs and is likely to result in a
delay in our desired clinical and commercial timelines.
These factors could cause the delay of clinical studies, regulatory submissions, required approvals or commercialization of our product and any
future products, cause us to incur higher costs and prevent us from commercializing our products successfully. Furthermore, if our suppliers fail to
meet contractual requirements, and we are unable to secure one or more replacement suppliers capable of production at a substantially equivalent
cost, our clinical studies may be delayed or we could lose potential revenues.

We expect to rely on third parties to conduct, supervise and monitor our clinical studies, and if these third parties perform in an unsatisfactory
manner, it may harm our business.

We expect to rely on CROs and clinical study sites to ensure our clinical studies are conducted properly and on time. While we will have
agreements governing their activities, we will have limited influence over their actual performance. We will control only certain aspects of our CROs’
activities. Nevertheless, we will be responsible for ensuring that each of our clinical studies is conducted in accordance with the applicable
protocol, legal, regulatory and scientific standards, and our reliance on the CROs does not relieve us of our regulatory responsibilities.

We and our CROs are required to comply with the FDA’s and other regulatory authorities’ GCPs for conducting, recording and reporting the results
of clinical studies to assure that the data and reported results are credible and accurate and that the rights, integrity and confidentiality of clinical
study participants are protected. If we or our CROs fail to comply with applicable GCPs, the clinical data generated in our future clinical studies may
be deemed unreliable and the FDA and other regulatory authorities may require us to perform additional clinical studies before approving any
marketing applications.

If our CROs do not successfully carry out their contractual duties or obligations, fail to meet expected deadlines, or if the quality or accuracy of the
clinical data they obtain is compromised due to the failure to adhere to our clinical protocols or regulatory requirements, or for any other reasons,
our clinical studies may be extended, delayed or terminated, and we may not be able to obtain marketing approval for, or successfully commercialize
our product candidates. As a result, our financial results and the commercial prospects for our product candidates would be harmed, our costs
could increase, and our ability to generate revenues could be delayed.

Our reliance on third parties requires us to share our trade secrets, which increases the possibility that a competitor will discover them or that
our trade secrets will be misappropriated or disclosed.
Because we rely on third parties to manufacture our vectors and our drug products, and because we collaborate with various organizations and
academic institutions on the advancement of our gene therapy platform, we must, at times, share trade



                                                                           53
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 258 of 426 PageID #: 3231

Table of Contents




secrets with them. We seek to protect our proprietary technology in part by entering into confidentiality agreements and, if applicable, material
transfer agreements, collaborative research agreements, consulting agreements or other similar agreements with our collaborators, advisors,
employees and consultants prior to beginning research or disclosing proprietary information. These agreements typically limit the rights of the third
parties to use or disclose our confidential information, such as trade secrets. Despite the contractual provisions employed when working with third
parties, the need to share trade secrets and other confidential information increases the risk that such trade secrets become known by our
competitors, are inadvertently incorporated into the technology of others, or are disclosed or used in violation of these agreements. Given that our
proprietary position is based, in part, on our know-how and trade secrets, a competitor’s discovery of our trade secrets or other unauthorized use
or disclosure would impair our competitive position and may have a material adverse effect on our business.
In addition, these agreements typically restrict the ability of our collaborators, advisors, employees and consultants to publish data potentially
relating to our trade secrets. Our academic collaborators typically have rights to publish data, provided that we are notified in advance and may
delay publication for a specified time in order to secure our intellectual property rights arising from the collaboration. In other cases, publication
rights are controlled exclusively by us, although in some cases we may share these rights with other parties. We also conduct joint research and
development programs that may require us to share trade secrets under the terms of our research and development partnerships or similar
agreements. Despite our efforts to protect our trade secrets, our competitors may discover our trade secrets, either through breach of these
agreements, independent development or publication of information including our trade secrets in cases where we do not have proprietary or
otherwise protected rights at the time of publication. A competitor’s discovery of our trade secrets would impair our competitive position and have
an adverse impact on our business.

Risks related to our financial condition and capital requirements
We have incurred significant losses since our inception and anticipate that we will continue to incur significant losses for the foreseeable
future.
We have incurred net losses in each year since our inception in 1992, including net losses of $618.7 million for the year ended December 31, 2020.
As of December 31, 2020, we had an accumulated deficit of $2.90 billion. The amount of our future net losses will depend, in part, on the rate of our
future expenditures and our ability to generate revenues. We have devoted significant financial resources to research and development, including
our clinical and preclinical development activities, which we expect to continue for the foreseeable future. To date, we have financed our operations
primarily through the sale of equity securities and, to a lesser extent, through collaboration agreements and grants from governmental agencies and
charitable foundations. We do not expect to generate any product revenues until we recognize revenue from the sale of ZYNTEGLO in the
European Union for the treatment of adult and adolescent patients with TDT who do not have a β0/β0 genotype, and we do not expect to generate
meaningful product revenues until our conditional marketing approval for ZYNTEGLO is renewed. Following marketing approval, our future
revenues will depend upon the size of any markets in which our product and any future products have received approval, and our ability to achieve
sufficient market acceptance, reimbursement from third-party payers and adequate market share for our product and any future products in those
markets.
We expect to continue to incur significant expenses and increasing operating losses for the foreseeable future. We anticipate that our expenses will
increase substantially if and as we:
•continue our research and preclinical and clinical development of our product candidates, including ide-cel, which we are co-developing with
BMS;

•establish capabilities to support our commercialization efforts, including establishing a sales, marketing and distribution infrastructure in the
United States and Europe, and to commercialize ZYNTEGLO and any other products for which we may obtain marketing approval;

•obtain, build and expand manufacturing capacity, including capacity at third-party manufacturers and our own manufacturing facility;
•initiate additional research, preclinical, clinical or other programs as we seek to identify and validate additional product candidates;
•acquire or in-license other product candidates and technologies;
•maintain, protect and expand our intellectual property portfolio;
•attract and retain skilled personnel; and
•experience any delays or encounter issues with any of the above.


                                                                           54
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 259 of 426 PageID #: 3232

Table of Contents




The net losses we incur may fluctuate significantly from quarter to quarter and year to year, such that a period-to-period comparison of our results
of operations may not be a good indication of our future performance. In any particular quarter or quarters, our operating results could be below the
expectations of securities analysts or investors, which could cause our stock price to decline.

We have never generated any revenue from product sales and may never be profitable.
Our ability to generate revenues and achieve profitability depends on our ability, alone or with strategic collaboration partners, to successfully
complete the development of, and obtain the regulatory, pricing and reimbursement approvals necessary to commercialize our product and any
future products. Our ability to generate revenues from product sales depends heavily on our success in:
•completing research and preclinical and clinical development of our product candidates;
•seeking and obtaining regulatory and marketing approvals for product candidates for which we complete clinical studies;
•developing a sustainable, commercial-scale, reproducible, and transferable manufacturing process for our vectors and drug products;
•establishing and maintaining supply and manufacturing relationships with third parties that can provide adequate (in amount and quality)
products and services to support clinical development for our product candidates and commercial demand for any approved product;
•launching and commercializing any approved product, either by collaborating with a partner or, if launched independently, by establishing a field-
based team, marketing and distribution infrastructure;

•obtaining sufficient pricing and reimbursement for any approved product from private and governmental payers;
•obtaining market acceptance and adoption of any approved product and gene therapy as a viable treatment option;
•addressing any competing technological and market developments;
•negotiating favorable terms in any collaboration, licensing or other arrangements into which we may enter; and
•maintaining, protecting and expanding our portfolio of intellectual property rights, including patents, trade secrets and know-how.
We expect to continue to incur significant expenditures for the foreseeable future, and we expect these expenditures to increase as we commercialize
ZYNTEGLO in the European Union, which costs may increase with any increased competition. Our expenses could increase beyond expectations if
we are required by the FDA, the EMA, or other regulatory agencies, domestic or foreign, to perform clinical and other studies in addition to those
that we currently anticipate. Even if we are able to generate product revenues, we may not become profitable and may need to obtain additional
funding to continue operations.

From time to time, we will need to raise additional funding, which may not be available on acceptable terms, or at all. Failure to obtain this
necessary capital when needed may force us to delay, limit or terminate our product development efforts or other operations.
We are currently advancing our programs in β-thalassemia, SCD, CALD, and multiple myeloma through clinical development and other product
candidates through preclinical development. Developing and commercializing gene therapy products is expensive, and we expect our research and
development expenses and our commercialization expenses to increase substantially in connection with our ongoing activities, particularly as we
advance our product candidates and progress our commercialization efforts.
As of December 31, 2020, our cash, cash equivalents and marketable securities were $1.27 billion. In response to the ongoing COVID-19 pandemic
and the associated economic conditions, we revised our operating plan to execute on our strategy during this period of uncertainty. Based on our
current business plan, we expect our cash, cash equivalents and marketable securities will be sufficient to fund planned operations for at least the
next twelve months from the date of issuance of these financial statements. Our current business plan assumes continued rigorous prioritization
and focus on our expenses, real estate optimization, and exploration of additional sources of funding to further strengthen our financial position.
However, our operating plan may change further as a result of the COVID-19 pandemic and the surrounding economic conditions, as well as many
other factors currently unknown to us. In addition, we may seek additional funds through public or private equity or debt



                                                                          55
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 260 of 426 PageID #: 3233

Table of Contents




financings, government or other third-party funding, marketing and distribution arrangements or other collaborations, strategic alliances and
licensing arrangements or a combination of these approaches, during this period. In any event, we will require additional capital to obtain marketing
approval for, and to commercialize, our product candidates. Even if we believe we have sufficient funds for our current or future operating plans, we
may seek additional capital if market conditions are favorable or if we have specific strategic objectives.
Any additional fundraising efforts may divert our management from their day-to-day activities, which may adversely affect our ability to develop
and commercialize our approved product and product candidates. In addition, we cannot guarantee that financing will be available in sufficient
amounts or on terms acceptable to us, if at all. Moreover, the terms of any financing may adversely affect the holdings or the rights of our
stockholders and the issuance of additional securities, whether equity or debt, by us, or the possibility of such issuance, may cause the market
price of our shares to decline. The sale of additional equity or convertible securities would dilute all of our stockholders. The incurrence of
indebtedness would result in increased fixed payment obligations and we may be required to agree to certain restrictive covenants, such as
limitations on our ability to incur additional debt, limitations on our ability to acquire, sell or license intellectual property rights and other operating
restrictions that could adversely impact our ability to conduct our business. We could also be required to seek funds through arrangements with
collaborative partners or otherwise at an earlier stage than otherwise would be desirable and we may be required to relinquish rights to some of our
technologies or product candidates or otherwise agree to terms unfavorable to us, any of which may have a material adverse effect on our
business, operating results and prospects.
If we are unable to obtain funding on a timely basis, or if revenues from collaboration arrangements or product sales are less than we have
projected, we may be required to significantly curtail, delay or discontinue one or more of our research or development programs or the
commercialization of any product candidates or be unable to expand our operations or otherwise capitalize on our business opportunities, as
desired, which could materially affect our business, financial condition and results of operations.

If the estimates we make, or the assumptions on which we rely, in preparing our consolidated financial statements are incorrect, our actual
results may vary from those reflected in our projections and accruals.
Our consolidated financial statements have been prepared in accordance with accounting principles generally accepted in the United States of
America, or GAAP. The preparation of these consolidated financial statements requires us to make estimates and judgments that affect the reported
amounts of our assets, liabilities, revenues and expenses, and related disclosure of contingent assets and liabilities. We base our estimates on
historical experience and on various other assumptions that we believe to be reasonable under the circumstances. We cannot assure you, however,
that our estimates, or the assumptions underlying them, will be correct. We may be incorrect in our assumptions regarding the applicability of drug
pricing programs and rebates that may be applicable to our product or any future products, which may result in our under- or over-estimating our
anticipated product revenues especially as applicable laws and regulations governing pricing evolve over time. In addition, to the extent payment
for our product or any future products is subject to outcomes-based arrangements over time, the total payments received from product sales may
vary, our cash collection of future payments and revenue assumptions from product sales will be at risk, and the timing of revenue recognition may
not correspond to the timing of cash collection.
Further, from time to time we issue financial guidance relating to our expectations for our cash, cash equivalents, and marketable securities available
for operations, which guidance is based on estimates and the judgment of management. If, for any reason, our expenses differ materially from our
guidance or we utilize our cash more quickly than anticipated, we may have to adjust our publicly announced financial guidance. If we fail to meet,
or if we are required to change or update any element of, our publicly disclosed financial guidance or other expectations about our business, our
stock price could decline.

Our operating results may fluctuate significantly, which makes our future operating results difficult to predict and could cause our operating
results to fall below expectations or our guidance.
Our operating results are difficult to predict and will likely fluctuate from quarter to quarter and year to year. As we begin to generate product sales
of ZYNTEGLO in Europe, we expect that our product sales will be difficult to predict from period to period, given the absence of historical sales
data. This uncertainty is heightened by the unpredictable scope of the impact of the COVID-19 pandemic, which has adversely affected the
operations of third parties upon which we rely in our commercialization efforts, patient access to hospitals, physicians’ offices, clinics and other
administration sites, and global economic conditions, as well as caused a re-prioritization of healthcare services.
In addition, we have entered into licensing and collaboration agreements with other companies that include research and development funding and
milestone payments to us, and we expect that amounts earned from our collaboration agreements will continue to be an important source of our
revenues. Accordingly, our revenues will also depend on research and development funding and the achievement of development and clinical
milestones under our existing collaboration and license agreements, including, in particular, our collaborations with BMS and Regeneron, as well as
entering into potential new collaboration and



                                                                             56
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 261 of 426 PageID #: 3234

Table of Contents




license agreements. These payments may vary significantly from quarter to quarter and any such variance could cause a significant fluctuation in
our operating results from one quarter to the next.
Further, changes in our operations, such as increased development, manufacturing and clinical trial expenses in connection with our expanding
pipeline programs, or our undertaking of additional programs, or business activities, or entry into strategic transactions, including potential future
acquisitions of products, technologies or businesses may also cause significant fluctuations in our expenses.
The cumulative effects of these factors, further exacerbated by the impacts of the ongoing COVID-19 pandemic on healthcare systems and
economic conditions, will likely result in large fluctuations and unpredictability in our quarterly and annual operating results. As a result, comparing
our operating results on a period-to-period basis may not be meaningful. Investors should not rely on our past results as an indication of our future
performance. This variability and unpredictability could also result in our failing to meet the expectations of industry or financial analysts or
investors for any period. If our revenue or operating results fall below the expectations of analysts or investors or below any forecasts we may
provide to the market, or if the forecasts we provide to the market are below the expectations of analysts or investors, the price of our common
stock could decline substantially. Such a stock price decline could occur even when we have met any previously publicly stated revenue or
earnings guidance we may provide.

Risks related to our business operations
We are commercializing ZYNTEGLO outside of the United States, and therefore we will be subject to the risks of doing business outside of the
United States.
Because we are commercializing ZYNTEGLO outside of the United States, our business is subject to risks associated with doing business outside
of the United States. Accordingly, our business and financial results in the future could be adversely affected due to a variety of factors, including:

•efforts to develop an international commercial and supply chain organization may increase our expenses, divert our management’s attention from
the acquisition or development of product candidates or cause us to forgo profitable licensing opportunities in these geographies;

•requirements or limitations imposed by a specific country or region on potential qualified treatment centers or other aspects of commercialization
applicable to autologous gene therapies such as ours;
•changes in a specific country’s or region’s political and cultural climate or economic condition, including as a result of the COVID-19 pandemic;
•unexpected changes in foreign laws and regulatory requirements;
•difficulty of effective enforcement of contractual provisions in local jurisdictions;
•inadequate intellectual property protection in foreign countries;
•trade-protection measures, import or export licensing requirements such as Export Administration Regulations promulgated by the U.S.
Department of Commerce and fines, penalties or suspension or revocation of export privileges;
•the effects of applicable foreign tax structures and potentially adverse tax consequences; and
•significant adverse changes in foreign currency exchange rates, including as a result of the United Kingdom's exit from the European Union, or
Brexit.
In addition to FDA and related regulatory requirements in the United States and abroad, we are subject to extensive additional federal, state and
foreign anti-bribery regulation, which include the U.S. Foreign Corrupt Practices Act, the U.K. Bribery Act, and similar laws in other countries
outside of the United States. We have developed and implemented a corporate compliance program based on what we believe are current best
practices in the pharmaceutical industry for companies similar to ours, but we cannot guarantee that we, our employees, our consultants or our
third-party contractors are or will be in compliance with all federal, state and foreign regulations regarding bribery and corruption. Moreover, our
partners and third-party contractors located outside the United States may have inadequate compliance programs or may fail to respect the laws
and guidance of the territories in which they operate. Even if we are not determined to have violated these laws, government investigations into
these issues typically require the expenditure of significant resources and generate negative publicity, which could also have an adverse effect on
our business, financial condition and results of operations.



                                                                           57
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 262 of 426 PageID #: 3235

Table of Contents




As we evolve from a U.S.-based company primarily involved in discovery, preclinical research and clinical development into a company that
develops and commercializes multiple drugs with an international presence, we will need to expand our organization and we may experience
difficulties in managing this growth, which could disrupt our operations.
We received conditional marketing authorization for our first product in 2019 and have launched ZYNTEGLO in Europe, which we hope will be the
first of a sequence of marketing approvals and commercial launches for multiple products across multiple geographies. As we advance multiple
product candidates through late-stage clinical research and plan submissions for marketing authorizations, we are expanding our operations in the
United States and Europe. As of December 31, 2020, we had 1,201 full-time employees. As we pursue our development and commercialization
strategy, we expect to expand our full-time employee base and to hire more consultants and contractors in the United States and Europe. This
expected growth may place a strain on our administrative and operational infrastructure. As a result, our management may need to divert a
disproportionate amount of its attention away from our day-to-day activities and devote a substantial amount of time to managing these growth
activities. Our expected growth could require significant capital expenditures and may divert financial resources from other projects, such as the
development of additional product candidates. If our management is unable to effectively manage our growth, our expenses may increase more than
expected, our ability to generate and/or grow revenues could be reduced, and we may not be able to implement our business strategy. Recruiting
and retaining qualified employees, consultants and advisors for our business, including scientific and technical personnel, will be critical to our
success. Competition for skilled personnel is intense and the turnover rate can be high. We may not be able to attract and retain personnel on
acceptable terms given the competition among numerous pharmaceutical and biotechnology companies for individuals with similar skill sets. We
may not be able to effectively manage the expansion of our operations, which may result in weaknesses in our infrastructure, operational mistakes,
loss of business opportunities, loss of employees and reduced productivity among remaining employees.

Even if we receive marketing approval for a product candidate, any approved product will remain subject to regulatory scrutiny.
Even if we obtain marketing approval in a jurisdiction, regulatory authorities may still impose significant restrictions on the indicated uses or
marketing of any approved products such as ZYNTEGLO, or impose ongoing requirements for potentially costly post-approval studies, post-
market surveillance or patient or drug restrictions. For example, the FDA typically advises that patients treated with gene therapy undergo follow-
up observations for potential adverse events for a 15-year period. In February 2021, we temporarily suspended marketing of ZYNTEGLO and the
EMA has paused the renewal procedure for ZYNTEGLO's conditional marketing authorization while the EMA's pharmacovigilance risk assessment
committee reviews the risk-benefit assessment for ZYNTEGLO and determines whether any additional pharmacovigilance measures are necessary.
Additionally, the holder of an approved BLA is obligated to monitor and report adverse events and any failure of a product to meet the
specifications in the BLA. The holder of an approved BLA must also submit new or supplemental applications and obtain FDA approval for certain
changes to the approved product, product labeling or manufacturing process. Advertising and promotional materials must comply with FDA rules
and are subject to FDA review, in addition to other potentially applicable federal and state laws.
In addition, product manufacturers and their facilities are subject to payment of user fees and continual review and periodic inspections by the FDA
and other regulatory authorities for compliance with good manufacturing practices, or GMP, and adherence to commitments made in the BLA. If we
or a regulatory agency discovers previously unknown problems with a product such as adverse events of unanticipated severity or frequency, or
problems with the facility where the product is manufactured, a regulatory agency may impose restrictions relative to that product or the
manufacturing facility, including requiring recall or withdrawal of the product from the market or suspension of manufacturing.
If we fail to comply with applicable regulatory requirements following marketing approval for a product, a regulatory agency may:

•issue a warning letter asserting that we are in violation of the law;
•seek an injunction or impose civil or criminal penalties or monetary fines;
•suspend or withdraw marketing approval;
•suspend any ongoing clinical studies;
•refuse to approve a pending marketing application, such as a BLA or supplements to a BLA submitted by us;
•seize product; or
•refuse to allow us to enter into supply contracts, including government contracts.


                                                                          58
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 263 of 426 PageID #: 3236

Table of Contents




Any government investigation of alleged violations of law could require us to expend significant time and resources in response and could
generate negative publicity. The occurrence of any event or penalty described above may inhibit our ability to commercialize any approved product
and generate revenues.

We are subject, directly or indirectly, to federal and state healthcare fraud and abuse laws, false claims laws and health information privacy
and security laws. If we are unable to comply, or have not fully complied, with such laws, we could face substantial penalties, reputational
harm, and diminished profits and future earnings.
In the United States, the research, manufacturing, distribution, sale, and promotion of drugs and biologic products are subject to regulation by
various federal, state, and local authorities in addition to FDA, including CMS, other divisions of the HHS, (e.g., the Office of Inspector General),
the United States Department of Justice offices of the United States Attorney, the Federal Trade Commission and state and local governments. Our
operations are directly, or indirectly through our prescribers, customers and purchasers, subject to various federal and state fraud and abuse laws
and regulations described in more detail under "Item 1. Business--Government regulation" in our Annual Report. These include the federal Anti-
Kickback Statute, federal civil and criminal false claims laws and civil monetary penalty laws (including False Claims Laws), HIPAA, transparency
requirements created under the Affordable Care Act, as well as analogous state and foreign laws.
These laws apply to, among other things, our sales, marketing and educational programs. State and federal regulatory and enforcement agencies
continue actively to investigate violations of health care laws and regulations, and the United States Congress continues to strengthen the arsenal
of enforcement tools. Most recently, the Bipartisan Budget Act of 2018 increased the criminal and civil penalties that can be imposed for violating
certain federal health care laws, including the Anti-Kickback Statute. Enforcement agencies also continue to pursue novel theories of liability under
these laws. In particular, government agencies have recently increased regulatory scrutiny and enforcement activity with respect to programs
supported or sponsored by pharmaceutical companies, including reimbursement and co-pay support, funding of independent charitable
foundations and other programs that offer benefits for patients. Several investigations into these programs have resulted in significant civil and
criminal settlements.
Because of the breadth of these laws and the narrowness of the statutory exceptions and safe harbors available, it is possible that some of our
business activities could be subject to challenge under one or more of such laws. If our operations are found to be in violation of any of the laws
described above or any other government regulations that apply to us, we may be subject to penalties, including civil and criminal penalties,
damages, fines, exclusion from participation in government health care programs, such as Medicare and Medicaid, imprisonment and the
curtailment or restructuring of our operations, any of which could adversely affect our ability to operate our business and our results of operations.
Even if we are not determined to have violated these laws, government investigations into these issues typically require the expenditure of
significant resources and generate negative publicity, which could harm our financial condition and divert the attention of our management from
operating our business.
In addition, we may be subject to patient privacy laws by both the federal government and the states in which we conduct our business. For
example, HIPAA, as amended by the Health Information Technology for Economic and Clinical Health Act of 2009, or HITECH, and their respective
implementing regulations, imposes requirements on certain covered healthcare providers, health plans, and healthcare clearinghouses as well as
their respective business associates that perform services for them that involve the use, or disclosure of, individually identifiable health
information, relating to the privacy, security and transmission of individually identifiable health information. HITECH also created new tiers of civil
monetary penalties, amended HIPAA to make civil and criminal penalties directly applicable to business associates, and gave state attorneys
general new authority to file civil actions for damages or injunctions in federal courts to enforce the federal HIPAA laws and seek attorneys’ fees
and costs associated with pursuing federal civil actions In addition to HIPAA, as amended by HITECH, and their respective implementing
regulations, California recently enacted the California Consumer Privacy Act, or CCPA, which creates new individual privacy rights for California
consumers (as defined in the law) and places increased privacy and security obligations on entities handling personal data of consumers or
households. The CCPA will require covered companies to provide certain disclosures to consumers about its data collection, use and sharing
practices, and to provide affected California residents with ways to opt-out of certain sales or transfers of personal information. The CCPA went
into effect on January 1, 2020, and the California Attorney General will commence enforcement actions against violators beginning July 1, 2020.
While there is currently an exception for protected health information that is subject to HIPAA, as currently written, the CCPA may impact our
business activities. The California Attorney General has proposed draft regulations, which have not been finalized to date, that may further impact
our business activities if they are adopted. The uncertainty surrounding the implementation of CCPA exemplifies the vulnerability of our business
to the evolving regulatory environment related to personal data and protected health information.
In the European Union, interactions between pharmaceutical companies, healthcare professionals, and patients are also governed by strict laws,
regulations, industry self-regulation codes of conduct and physicians’ codes of professional conduct in the individual EU member states. The
provision of benefits or advantages to healthcare professionals to induce or encourage the



                                                                          59
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 264 of 426 PageID #: 3237

Table of Contents




prescription, recommendation, endorsement, purchase, supply, order or use of medicinal products is prohibited in the European Union. Also, direct-
to-consumer advertising of prescription-only medicinal products is prohibited at the European Union level and in the individual member states. In
addition, the UK Bribery Act applies to any company incorporated in or “carrying on business” in the UK, irrespective of where in the world the
alleged bribery activity occurs, which could have implications for our interactions with physicians both in and outside of the UK. Infringement of
these laws could result in substantial fines and imprisonment.
Payments made to physicians in certain European Union member states must be publicly disclosed. Moreover, agreements with physicians often
must be the subject of prior notification and approval by the physician’s employer, his or her competent professional organization and/or the
regulatory authorities of the individual European Union member states. These requirements are provided in the national laws, industry codes or
professional codes of conduct, applicable in the European Union member states. Failure to comply with these requirements could result in
reputational risk, public reprimands, administrative penalties, fines or imprisonment.
EU member states, Switzerland and other countries have also adopted data protection laws and regulations, which impose significant compliance
obligations. In the European Union, the collection and use of personal health data is currently governed by the provisions of the General Data
Protection Regulation, or the GDPR. The GDPR, together with the national legislation of the individual EU member states governing the processing
of personal data, impose strict obligations and restrictions on the ability to collect, analyze and transfer personal data, including health data from
clinical trials and adverse event reporting. In particular, these obligations and restrictions concern the consent of the individuals to whom the
personal data relates, the information provided to the individuals for the consent to be considered valid, the transfer of personal data out of the
European Economic Area, security breach notifications, the use of third-party processors in connection with the processing of the personal data,
confidentiality of the personal data, as well as substantial potential fines for breaches of the data protection obligations. Data protection authorities
from the different EU member states may interpret the GDPR and national laws differently and impose additional requirements, which add to the
complexity of processing personal data in the European Union. The GDPR also imposes strict rules on the transfer of personal data to countries
outside the European Union, including the United States, and permits data protection authorities to impose large penalties for violations of the
GDPR, including potential fines of up to €20 million or 4% of annual global revenues, whichever is greater. The GDPR also confers a private right of
action on data subjects and consumer associations to lodge complaints with supervisory authorities, seek judicial remedies, and obtain
compensation for damages resulting from violations of the GDPR. Compliance with the GDPR is a rigorous and time-intensive process that may
increase our cost of doing business or require us to change our business practices, and despite those efforts, there is a risk that we may be subject
to fines and penalties, litigation, and reputational harm in connection with any activities falling within the scope of the GDPR. Further, Brexit has
created uncertainty with regard to data protection regulation in the United Kingdom. In particular, it is unclear how data transfers to and from the
United Kingdom will be regulated.

We face potential product liability, and, if successful claims are brought against us, we may incur substantial liability and costs. If the use of
our approved product or product candidates harms patients, or is perceived to harm patients even when such harm is unrelated to our
approved product or product candidates, our marketing approvals could be revoked or otherwise negatively impacted and we could be subject
to costly and damaging product liability claims.
The use of our product candidates in clinical studies and the sale of any products for which we obtain marketing approval exposes us to the risk of
product liability claims. Product liability claims might be brought against us by patients participating in clinical trials, consumers, healthcare
providers, pharmaceutical companies or others selling or otherwise coming into contact with our product or product candidates. There is a risk that
our product or product candidates may induce adverse events. If we cannot successfully defend against product liability claims, we could incur
substantial liability and costs. In addition, regardless of merit or eventual outcome, product liability claims may result in:

•impairment of our business reputation;
•withdrawal of clinical study participants;
•costs due to related litigation;
•distraction of management’s attention from our primary business;
•substantial monetary awards to patients or other claimants;
•the inability to develop our product candidates or commercialize any approved product; and
•decreased demand for any approved product.


                                                                           60
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 265 of 426 PageID #: 3238

Table of Contents




We carry product liability insurance and we believe our product liability insurance coverage is sufficient in light of our current clinical programs and
approved product; however, we may not be able to maintain insurance coverage at commercially reasonable cost or in sufficient amounts to protect
us against losses due to liability. On occasion, large judgments have been awarded in class action lawsuits based on drugs or medical treatments
that had unanticipated adverse effects. A successful product liability claim or series of claims brought against us could cause our stock price to
decline and, if judgments exceed our insurance coverage, could adversely affect our results of operations and business.
Patients with the diseases targeted by our approved product and product candidates are often already in severe and advanced stages of disease
and have both known and unknown significant pre-existing and potentially life-threatening health risks. During the course of treatment, patients
may suffer adverse events, including death, for reasons that may be related to our approved product or product candidates. Such events could
subject us to costly litigation, require us to pay substantial amounts of money to injured patients, delay, negatively impact or end our opportunity
to receive or maintain marketing approval for any approved product, or require us to suspend or abandon our commercialization efforts. Even in a
circumstance in which we do not believe that an adverse event is related to our products the investigation into the circumstance may be time-
consuming or inconclusive. These investigations may interrupt our sales efforts, delay our marketing approval process in other countries, or impact
and limit the type of marketing approval our product candidates may receive or any approved product maintains. As a result of these factors, a
product liability claim, even if successfully defended, could have a material adverse effect on our business, financial condition or results of
operations.

Healthcare legislative reform measures may have a material adverse effect on our business and results of operations.
The United States and many foreign jurisdictions have enacted or proposed legislative and regulatory changes affecting the healthcare system that
could prevent or delay marketing approval of our product candidates or any future product candidates, restrict or regulate post-approval activities
and affect our ability to profitably sell any product for which we obtain marketing approval. Changes in regulations, statutes or the interpretation of
existing regulations could impact our business in the future by requiring, for example: (i) changes to our manufacturing arrangements; (ii) additions
or modifications to product labeling; (iii) the recall or discontinuation of our products; or (iv) additional record-keeping requirements. If any such
changes were to be imposed, they could adversely affect the operation of our business.
In the United States, there have been and continue to be a number of legislative initiatives to contain healthcare costs. For example, in March 2010,
the Patient Protection and Affordable Care Act, as amended by the Health Care and Education Reconciliation Act of 2010, or the Affordable Care
Act, was passed, which substantially changed the way health care is financed by both governmental and private insurers, and significantly impacts
the U.S. pharmaceutical industry. The Affordable Care Act, among other things, addressed a new methodology by which rebates owed by
manufacturers under the Medicaid Drug Rebate Program are calculated for drugs that are inhaled, infused, instilled, implanted or injected, increased
the minimum Medicaid rebates owed by manufacturers under the Medicaid Drug Rebate Program and extended the rebate program to individuals
enrolled in Medicaid managed care organizations, established annual fees and taxes on manufacturers of certain branded prescription drugs,
expanded the types of entities eligible for the 340B drug discount program, and a new Medicare Part D coverage gap discount program, in which
manufacturers must agree to offer 70% (increased pursuant to the Bipartisan Budget Act of 2018, effective as of 2019) point-of-sale discounts off
negotiated prices of applicable brand drugs to eligible beneficiaries during their coverage gap period, as a condition for the manufacturer’s
outpatient drugs to be covered under Medicare Part D.
Since its enactment, there have been numerous judicial, administrative, executive, and legislative challenges to certain aspects of the Affordable
Care Act, and we expect there will be additional challenges and amendments to the Affordable Care Act in the future. Various portions of the
Affordable Care Act are currently undergoing legal and constitutional challenges in the Fifth Circuit Court and the United States Supreme Court. It
is unclear whether the Affordable Care Act will be overturned, repealed, replaced, or further amended. We cannot predict what effect further
changes to the Affordable Care Act would have on our business.
In addition, other legislative changes have been proposed and adopted since the Affordable Care Act was enacted. In August 2011, President
Obama signed into law the Budget Control Act of 2011, which, among other things, created the Joint Select Committee on Deficit Reduction to
recommend to Congress proposals in spending reductions. The Joint Select Committee on Deficit Reduction did not achieve a targeted deficit
reduction, which triggered the legislation’s automatic reduction to several government programs. This includes aggregate reductions to Medicare
payments to providers of, on average, 2% per fiscal year through 2025 unless Congress takes additional action. These reductions were extended
through 2029 through subsequent legislative amendments. In January 2013, the American Taxpayer Relief Act of 2012, among other things, further
reduced Medicare payments to several providers, including hospitals and cancer treatment centers, and increased the statute of limitations period
for the government to recover overpayments to providers from three to five years.
There has been increasing legislative and enforcement interest in the United States with respect to specialty drug pricing practices. Specifically,
there have been several recent U.S. Congressional inquiries and proposed federal and state legislation



                                                                          61
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 266 of 426 PageID #: 3239

Table of Contents




designed to, among other things, bring more transparency to drug pricing, reduce the cost of prescription drugs under Medicare, review the
relationship between pricing and manufacturer patient programs, and reform government program reimbursement methodologies for drugs. At the
federal level, the Trump administration’s budget proposal for fiscal years 2019 and 2020 contain further drug price control measures that could be
enacted during the budget process or in other future legislation, including, for example, measures to permit Medicare Part D plans to negotiate the
price of certain drugs under Medicare Part B, to allow some states to negotiate drug prices under Medicaid, and to eliminate cost sharing for
generic drugs for low-income patients. At the state level, legislatures have increasingly passed legislation and implemented regulations designed to
control pharmaceutical and biological product pricing, including price or patient reimbursement constraints, discounts, restrictions on certain
product access and marketing cost disclosure and transparency measures, and, in some cases, designed to encourage importation from other
countries and bulk purchasing.
We expect that the healthcare reform measures that have been adopted and may be adopted in the future, may result in more rigorous coverage
criteria and in additional downward pressure on the price that we receive for any approved product and could seriously harm our future revenues.
Any reduction in reimbursement from Medicare or other government programs may result in a similar reduction in payments from private third-party
payers.
The delivery of healthcare in the European Union, including the establishment and operation of health services and the pricing and reimbursement
of medicines, is almost exclusively a matter for national, rather than EU, law and policy. National governments and health service providers have
different priorities and approaches to the delivery of health care and the pricing and reimbursement of products in that context. In general, however,
the healthcare budgetary constraints in most EU member states have resulted in restrictions on the pricing and reimbursement of medicines by
relevant health service providers. Coupled with ever-increasing EU and national regulatory burdens on those wishing to develop and market
products, this could prevent or delay marketing approval of our product candidates, restrict or regulate post-approval activities and affect our
ability to commercialize ZYNTEGLO and any other products for which we obtain marketing approval.
There have been, and likely will continue to be, legislative and regulatory proposals at the foreign, federal and state levels directed at broadening
the availability of healthcare and containing or lowering the cost of healthcare. The implementation of cost containment measures or other
healthcare reforms may prevent us from being able to generate revenue, attain profitability, or commercialize our product. Such reforms could have
an adverse effect on anticipated revenue from product candidates that we may successfully develop and for which we may obtain marketing
approval and may affect our overall financial condition and ability to develop product candidates.

Our computer systems, or those of our third-party collaborators, service providers, contractors or consultants, may fail or suffer security
breaches, which could result in a material disruption of our product candidates’ development programs and have a material adverse effect on
our reputation, business, financial condition or results of operations.
Our computer systems and those of our current or future third-party collaborators, service providers, contractors and consultants may fail and are
vulnerable to damage from computer viruses, unauthorized access, natural disasters, terrorism, war and telecommunication and electrical failures.
The size and complexity of our information technology systems, and those of our collaborators, service providers, contractors and consultants, and
the large amounts of information stored on those systems make those systems vulnerable to service interruptions, security breaches, or other
failures, resulting from inadvertent or intentional actions by our employees or those of third-party business partners, or from cyber-attacks by
malicious third parties. Attacks on information technology systems are increasing in their frequency, levels of persistence, sophistication and
intensity, and they are being conducted by increasingly sophisticated and organized groups and individuals with a wide range of motives and
expertise. In addition to extracting sensitive information, such attacks could include the deployment of harmful malware, ransomware, denial-of-
service attacks, social engineering and other means to affect service reliability and threaten the confidentiality, integrity and availability of
information. The prevalent use of mobile devices also increases the risk of data security incidents. If we experience a material system failure,
accident or security breach that causes interruptions in our operations or the operations of third-party collaborators, service providers, contractors
and consultants, it could result in significant reputational, financial, legal, regulatory, business or operational harm. For example, the loss of clinical
trial data for our product candidates could result in delays in our marketing approval efforts and significantly increase our costs to recover or
reproduce the data. To the extent that any disruption or security breach results in a loss of or damage to our data or applications or other data or
applications relating to our technology or product candidates, or inappropriate disclosure of confidential or proprietary information, we could incur
liabilities and the further development of our product candidates could be delayed. In addition, we rely on third-party service providers for
management of the manufacture and delivery of drug product to patients in the commercial context, including for chain of identity and chain of
custody. We also rely on third-party service providers for aspects of our internal control over financial reporting and such service providers may
experience a material system failure or fail to carry out their obligations in other respects, which may impact our ability to produce accurate and
timely financial statements, thus harming our operating results, our ability to operate our business, and our investors’ view of us. In addition, our
liability insurance may not be sufficient in type or amount to cover us against claims related to material failures, security breaches, cyberattacks and
other related breaches.



                                                                            62
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 267 of 426 PageID #: 3240

Table of Contents




Any failure or perceived failure by us or any third-party collaborators, service providers, contractors or consultants to comply with our privacy,
confidentiality, data security or similar obligations to third parties, or any data security incidents or other security breaches that result in the
unauthorized access, release or transfer of sensitive information, including personally identifiable information, may result in governmental
investigations, enforcement actions, regulatory fines, litigation or public statements against us. These events could cause third parties to lose trust
in us or could result in claims by third parties asserting that we have breached our privacy, confidentiality, data security or similar obligations, any
of which could have a material adverse effect on our reputation, business, financial condition or results of operations. Moreover, data security
incidents and other security breaches can be difficult to detect, and any delay in identifying them may lead to increased harm. While we have
implemented data security measures intended to protect our information technology systems and infrastructure, there can be no assurance that
such measures will successfully prevent service interruptions or data security incidents.

Risks related to the proposed separation of our business
The proposed separation of our business into two independent, publicly traded companies is subject to various risks and uncertainties and may
not be completed on the terms or timeline currently contemplated, if at all, and will involve significant time, effort and expense, which could
harm our business, results of operations and financial condition.
In January 2021, we announced our intent to separate our oncology programs from our severe genetic disease programs, resulting in two
independent, publicly traded companies, bluebird bio and a new company, or Oncology NewCo. Following the separation, bluebird bio is expected
to focus on the development and commercialization of therapies in β-thalassemia, cerebral adrenoleukodystrophy and sickle cell disease in the
United States and Europe. Oncology NewCo is expected to focus on the investigational BCMA directed CAR T cell therapy, ide-cel, in multiple
myeloma and continued development of investigational bb21217 product candidate, as well as research and development efforts in our oncology
pipeline.
The separation is expected to be completed by the end of 2021, subject to receipt of a favorable IRS ruling and the satisfaction of certain
conditions. Unexpected developments, including adverse market conditions or tax consequences or delays or difficulties effecting the proposed
separation, could delay, prevent or otherwise adversely impact the anticipated benefits from the proposed separation. Consummation of the
separation also will require final approval from our board of directors. We may not complete the separation on the terms or on the timeline that we
announced, or may, for any or no reason and at any time until the proposed separation is complete, abandon the separation or modify or change its
terms. Any of the foregoing may result in our not achieving the operational, financial, strategic and other benefits we anticipate realizing as a result
of the separation, and in each case, our business, results of operations and financial condition could be adversely affected.
We will incur significant expenses in connection with the proposed separation, and such costs and expenses may be greater than we anticipate. In
addition, completion of the separation will require a significant amount of management time and effort, which may disrupt our business or otherwise
divert management’s attention from other aspects of our business, including strategic initiatives, discovery, development and commercialization
efforts and relationships with our partners and other third parties. Any of the foregoing could adversely affect our business, results of operations
and financial condition.

We may fail to realize some or all of the anticipated benefits of the proposed separation.
Even if the separation is completed, the anticipated operational, financial, strategic and other benefits of the separation may not be achieved. The
combined value of the common stock of the two publicly-traded companies may not be equal to or greater than what the value of our common stock
would have been had the separation not occurred. The combined value of the common stock of the two companies could be lower than anticipated
for a variety of reasons, including the failure of either company to operate and compete effectively as an independent company. The common stock
price of each company may experience periods of extreme volatility. In addition, the two independent companies will be smaller and less diversified,
with a narrower business focus, and may be more vulnerable to changing market conditions. The separation also presents a number of significant
risks to our internal processes, including the failure to maintain an adequate control environment due to changes to our infrastructure technology
systems and financial reporting processes.

If the distribution of shares of the Oncology Newco, together with certain related transactions, does not qualify as a transaction that is
generally tax-free for U.S. federal income tax purposes, our stockholders and we could be subject to significant tax liabilities.
In connection with the distribution of shares in of Oncology Newco, we may seek a private letter ruling from the IRS (the "IRS Ruling") and an
opinion from our tax advisor (the "Tax Opinion") to the effect that, among other things, the distribution of shares in Oncology Newco, together with
certain related transactions, will generally qualify as tax-free for U.S. federal income tax purposes under Sections 368(a)(1)(D) and 355 of the U.S.
Internal Revenue Code of 1986, as amended (the “Code”). The IRS Ruling and the Tax Opinion will rely on certain facts, assumptions,
representations, and undertakings from us and Oncology Newco, including those regarding the past and future conduct of the companies'
respective businesses and other matters. Notwithstanding the IRS Ruling and the Tax Opinion, the IRS could determine that the distribution or any
such related



                                                                           63
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 268 of 426 PageID #: 3241

Table of Contents




transaction is taxable if it determines that any of these facts, assumptions, representations or undertakings are not correct or have been violated, or
that the distribution should be taxable for other reasons, including if the IRS were to disagree with the conclusions in the Tax Opinion. The Tax
Opinion will not be binding on the IRS or the courts. Accordingly, the IRS or the courts may challenge the conclusions stated in the Tax Opinion
and such challenge could prevail.
If the distribution were determined to be taxable for U.S. federal income tax purposes, our stockholders that receive shares of Oncology Newco in
the distribution would be treated as having received a distribution of property in an amount equal to the fair value of such Oncology Newco shares
on the distribution date and could incur significant income tax liabilities. Such distribution would be taxable to our stockholders as a dividend to the
extent of our current and accumulated earnings and profits. Any amount that exceeded our current and accumulated earnings and profits would be
treated first as a non-taxable return of capital to the extent of the relevant stockholder’s tax basis in its shares of stock, with any remaining amount
being taxed as capital gain. We would recognize a taxable gain in an amount equal to the excess, if any, of the fair market value of the shares of
Oncology Newco common stock held by us on the distribution date over our tax basis in such shares.

Risks related to our intellectual property
If we are unable to obtain or protect intellectual property rights related to our product candidates, we may not be able to compete effectively in
our markets.
We rely upon a combination of patents, trade secret protection and confidentiality agreements to protect the intellectual property related to our
product candidates. The strength of patents in the biotechnology and pharmaceutical field involves complex legal and scientific questions and can
be uncertain. The patent applications that we own or in-license may fail to result in issued patents with claims that cover our product candidates in
the United States or in other foreign countries. There is no assurance that all of the potentially relevant prior art relating to our patents and patent
applications has been found, which can invalidate a patent or prevent a patent from issuing from a pending patent application. Even if patents do
successfully issue and even if such patents cover our product candidates, third parties may challenge their validity, enforceability or scope, which
may result in such patents being narrowed or invalidated. Furthermore, even if they are unchallenged, our patents and patent applications may not
adequately protect our intellectual property, provide exclusivity for our product candidates or prevent others from designing around our claims.
Any of these outcomes could impair our ability to prevent competition from third parties, which may have an adverse impact on our business.
If the patent applications we hold or have in-licensed with respect to our programs or product candidates fail to issue, if their breadth or strength of
protection is threatened, or if they fail to provide meaningful exclusivity for our product candidates, it could dissuade companies from collaborating
with us to develop product candidates, and threaten our ability to commercialize, future products. Several patent applications covering our product
candidates have been filed recently. We cannot offer any assurances about which, if any, patents will issue, the breadth of any such patent or
whether any issued patents will be found invalid and unenforceable or will be threatened by third parties. Any successful opposition to these
patents or any other patents owned by or licensed to us could deprive us of rights necessary for the successful commercialization of any product
candidates that we may develop. Further, if we encounter delays in regulatory approvals, the period of time during which we could market a product
candidate under patent protection could be reduced. Since patent applications in the United States and most other countries are confidential for a
period of time after filing, and some remain so until issued, we cannot be certain that we were the first to file any patent application related to a
product candidate. Furthermore, if third parties have filed such patent applications, an interference proceeding in the United States can be initiated
by a third-party to determine who was the first to invent any of the subject matter covered by the patent claims of our applications. In addition,
patents have a limited lifespan. In the United States, the natural expiration of a patent is generally 20 years after it is filed. Various extensions may be
available however the life of a patent, and the protection it affords, is limited. Even if patents covering our product candidates are obtained, once
the patent life has expired for a product, we may be open to competition from generic medications.
In addition to the protection afforded by patents, we rely on trade secret protection and confidentiality agreements to protect proprietary know-
how that is not patentable or that we elect not to patent, processes for which patents are difficult to enforce and any other elements of our product
candidate discovery and development processes that involve proprietary know-how, and information or technology that is not covered by patents.
However, trade secrets can be difficult to protect. We seek to protect our proprietary technology and processes, in part, by entering into
confidentiality agreements with our employees, consultants, scientific advisors and contractors. We also seek to preserve the integrity and
confidentiality of our data and trade secrets by maintaining physical security of our premises and physical and electronic security of our
information technology systems. While we have confidence in these individuals, organizations and systems, agreements or security measures may
be breached, and we may not have adequate remedies for any breach. In addition, our trade secrets may otherwise become known or be
independently discovered by competitors.
Although we expect all of our employees and consultants to assign their inventions to us, and all of our employees, consultants, advisors and any
third parties who have access to our proprietary know-how, information or technology to enter into confidentiality agreements, we cannot provide
any assurances that all such agreements have been duly executed or that our



                                                                            64
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 269 of 426 PageID #: 3242

Table of Contents




trade secrets and other confidential proprietary information will not be disclosed or that competitors will not otherwise gain access to our trade
secrets or independently develop substantially equivalent information and techniques. Misappropriation or unauthorized disclosure of our trade
secrets could impair our competitive position and may have a material adverse effect on our business. Additionally, if the steps taken to maintain
our trade secrets are deemed inadequate, we may have insufficient recourse against third parties for misappropriating the trade secret. In addition,
others may independently discover our trade secrets and proprietary information. For example, the FDA, as part of its Transparency Initiative, is
currently considering whether to make additional information publicly available on a routine basis, including information that we may consider to be
trade secrets or other proprietary information, and it is not clear at the present time how the FDA’s disclosure policies may change in the future, if at
all.
Further, the laws of some foreign countries do not protect proprietary rights to the same extent or in the same manner as the laws of the United
States. As a result, we may encounter significant problems in protecting and defending our intellectual property both in the United States and
abroad. If we are unable to prevent material disclosure of the non-patented intellectual property related to our technologies to third parties, and
there is no guarantee that we will have any such enforceable trade secret protection, we may not be able to establish or maintain a competitive
advantage in our market, which could materially adversely affect our business, results of operations and financial condition.

Third-party claims of intellectual property infringement may prevent or delay our development and commercialization efforts.
Our commercial success depends in part on our avoiding infringement of the patents and proprietary rights of third parties. There is a substantial
amount of litigation, both within and outside the United States, involving patent and other intellectual property rights in the biotechnology and
pharmaceutical industries, including patent infringement lawsuits, interferences, oppositions, ex parte reexaminations, post-grant review, and inter
partes review proceedings before the U.S. Patent and Trademark Office, or U.S. PTO, and corresponding foreign patent offices. Numerous U.S. and
foreign issued patents and pending patent applications, which are owned by third parties, exist in the fields in which we are pursuing development
candidates. As the biotechnology and pharmaceutical industries expand and more patents are issued, the risk increases that our product
candidates may be subject to claims of infringement of the patent rights of third parties.
Third parties may assert that we are employing their proprietary technology without authorization. There may be third-party patents or patent
applications with claims to materials, formulations, methods of manufacture or methods for treatment related to the use or manufacture of our
product candidates. Because patent applications can take many years to issue, there may be currently pending patent applications which may later
result in issued patents that our product candidates may infringe. In addition, third parties may obtain patents in the future and claim that use of
our technologies infringes upon these patents. If any third-party patents were held by a court of competent jurisdiction to cover the manufacturing
process of any of our product candidates, any molecules formed during the manufacturing process or any final product itself, the holders of any
such patents may be able to block our ability to commercialize such product candidate unless we obtained a license under the applicable patents, or
until such patents expire. Similarly, if any third-party patents were held by a court of competent jurisdiction to cover aspects of our formulations,
processes for manufacture or methods of use, including combination therapy, the holders of any such patents may be able to block our ability to
develop and commercialize the applicable product candidate unless we obtained a license or until such patent expires. In either case, such a license
may not be available on commercially reasonable terms or at all.
Parties making claims against us may obtain injunctive or other equitable relief, which could effectively block our ability to further develop and
commercialize one or more of our product candidates. Defense of these claims, regardless of their merit, would involve substantial litigation expense
and would be a substantial diversion of employee resources from our business. In the event of a successful claim of infringement against us, we
may have to pay substantial damages, including treble damages and attorneys’ fees for willful infringement, pay royalties, redesign our infringing
products or obtain one or more licenses from third parties, which may be impossible or require substantial time and monetary expenditure.

We may not be successful in obtaining or maintaining necessary rights to gene therapy product components and processes for our development
pipeline through acquisitions and in-licenses.
Presently we have rights to the intellectual property, through licenses from third parties and under patents that we own, to develop our product
candidates and commercialize our approved product. Because our programs may involve additional product candidates that may require the use of
proprietary rights held by third parties, the growth of our business will likely depend in part on our ability to acquire, in-license or use these
proprietary rights. In addition, our product candidates may require specific formulations to work effectively and efficiently and these rights may be
held by others. We may be unable to acquire or in-license any compositions, methods of use, processes or other third-party intellectual property
rights from third parties that we identify. The licensing and acquisition of third-party intellectual property rights is a competitive area, and a number
of more established companies are also pursuing strategies to license or acquire third-party intellectual property rights



                                                                           65
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 270 of 426 PageID #: 3243

Table of Contents




that we may consider attractive. These established companies may have a competitive advantage over us due to their size, cash resources and
greater clinical development and commercialization capabilities.
For example, we sometimes collaborate with U.S. and foreign academic institutions to accelerate our preclinical research or development under
written agreements with these institutions. Typically, these institutions provide us with an option to negotiate a license to any of the institution’s
rights in technology resulting from the collaboration. Regardless of such right of first negotiation for intellectual property, we may be unable to
negotiate a license within the specified time frame or under terms that are acceptable to us. If we are unable to do so, the institution may offer the
intellectual property rights to other parties, potentially blocking our ability to pursue our program.
In addition, companies that perceive us to be a competitor may be unwilling to assign or license rights to us. We also may be unable to license or
acquire third-party intellectual property rights on terms that would allow us to make an appropriate return on our investment. If we are unable to
successfully obtain rights to required third-party intellectual property rights, our business, financial condition and prospects for growth could
suffer.

If we fail to comply with our obligations in the agreements under which we license intellectual property rights from third parties or otherwise
experience disruptions to our business relationships with our licensors, we could lose license rights that are important to our business.
We are a party to a number of intellectual property license agreements that are important to our business and expect to enter into additional license
agreements in the future. Our existing license agreements impose, and we expect that future license agreements will impose, various diligence,
milestone payment, royalty and other obligations on us. If we fail to comply with our obligations under these agreements, or we are subject to a
bankruptcy, the licensor may have the right to terminate the license, in which event we would not be able to market products covered by the
license.
We may need to obtain licenses from third parties to advance the development of our product candidates or allow commercialization of our
approved product, and we have done so from time to time. We may fail to obtain any of these licenses at a reasonable cost or on reasonable terms,
if at all. In that event, we may be required to expend significant time and resources to develop or license replacement technology. If we are unable to
do so, we may be unable to develop or commercialize the affected product candidates, which could harm our business significantly. We cannot
provide any assurances that third-party patents do not exist which might be enforced against our current product candidates, approved product, or
future products, resulting in either an injunction prohibiting our sales, or, with respect to our sales, an obligation on our part to pay royalties and/or
other forms of compensation to third parties.
In many cases, patent prosecution of our licensed technology is controlled solely by the licensor. If our licensors fail to obtain and maintain patent
or other protection for the proprietary intellectual property we license from them, we could lose our rights to the intellectual property or our
exclusivity with respect to those rights, and our competitors could market competing products using the intellectual property. In certain cases, we
control the prosecution of patents resulting from licensed technology. In the event we breach any of our obligations related to such prosecution,
we may incur significant liability to our licensing partners. Licensing of intellectual property is of critical importance to our business and involves
complex legal, business and scientific issues and is complicated by the rapid pace of scientific discovery in our industry. Disputes may arise
regarding intellectual property subject to a licensing agreement, including:

•the scope of rights granted under the license agreement and other interpretation-related issues;
•the extent to which our technology and processes infringe on intellectual property of the licensor that is not subject to the licensing agreement;
•the sublicensing of patent and other rights under our collaborative development relationships;
•our diligence obligations under the license agreement and what activities satisfy those diligence obligations;
•the ownership of inventions and know-how resulting from the joint creation or use of intellectual property by our licensors and us and our
partners; and

•the priority of invention of patented technology.
If disputes over intellectual property that we have licensed prevent or impair our ability to maintain our current licensing arrangements on
acceptable terms, we may be unable to successfully develop and commercialize the affected approved product or product candidates.



                                                                           66
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 271 of 426 PageID #: 3244

Table of Contents




We may be involved in lawsuits to protect or enforce our patents or the patents of our licensors, which could be expensive, time-consuming and
unsuccessful.
Competitors may infringe our patents or the patents of our licensors. To counter infringement or unauthorized use, we may be required to file
infringement claims, which can be expensive and time-consuming. In addition, in an infringement proceeding, a court may decide that a patent of
ours or our licensors is not valid, is unenforceable and/or is not infringed, or may refuse to stop the other party from using the technology at issue
on the grounds that our patents do not cover the technology in question. In patent litigation in the United States, defendant counterclaims alleging
invalidity and/or unenforceability are commonplace. Grounds for a validity challenge could be an alleged failure to meet any of several statutory
requirements, including patent eligible subject matter, lack of novelty, obviousness or non-enablement. Grounds for an unenforceability assertion
could be an allegation that someone connected with prosecution of the patent withheld relevant information from the U.S. PTO, or made a
misleading statement, during prosecution. Third parties may also raise similar claims before administrative bodies in the United States or abroad,
even outside the context of litigation. Such mechanisms include re-examination, post grant review, and equivalent proceedings in foreign
jurisdictions (e.g., opposition proceedings). Such proceedings could result in revocation or amendment to our patents in such a way that they no
longer cover our product candidates. The outcome following legal assertions of invalidity and unenforceability is unpredictable. With respect to
the validity question, for example, we cannot be certain that there is no invalidating prior art, of which we and the patent examiner were unaware
during prosecution. If a defendant were to prevail on a legal assertion of invalidity and/or unenforceability, we would lose at least part, and perhaps
all, of the patent protection on our approved product and/or product candidates. Such a loss of patent protection would have a material adverse
impact on our business.
Interference proceedings provoked by third parties or brought by us may be necessary to determine the priority of inventions with respect to our
patents or patent applications or those of our licensors. An unfavorable outcome could require us to cease using the related technology or to
attempt to license rights to it from the prevailing party. Our business could be harmed if the prevailing party does not offer us a license on
commercially reasonable terms. Our defense of litigation or interference proceedings may fail and, even if successful, may result in substantial costs
and distract our management and other employees. We may not be able to prevent, alone or with our licensors, misappropriation of our intellectual
property rights, particularly in countries where the laws may not protect those rights as fully as in the United States.
Furthermore, because of the substantial amount of discovery required in connection with intellectual property litigation, there is a risk that some of
our confidential information could be compromised by disclosure during this type of litigation. There could also be public announcements of the
results of hearings, motions or other interim proceedings or developments. If securities analysts or investors perceive these results to be negative,
it could have a material adverse effect on the price of our common stock.

We may be subject to claims that our employees, consultants or independent contractors have wrongfully used or disclosed confidential
information of third parties or that our employees have wrongfully used or disclosed alleged trade secrets of their former employers.
We employ individuals who were previously employed at universities or other biotechnology or pharmaceutical companies, including our
competitors or potential competitors. Although we try to ensure that our employees, consultants and independent contractors do not use the
proprietary information or know-how of others in their work for us, we may be subject to claims that we or our employees, consultants or
independent contractors have inadvertently or otherwise used or disclosed intellectual property, including trade secrets or other proprietary
information, of any of our employee’s former employer or other third parties. Litigation may be necessary to defend against these claims. If we fail in
defending any such claims, in addition to paying monetary damages, we may lose valuable intellectual property rights or personnel, which could
adversely impact our business. Even if we are successful in defending against such claims, litigation could result in substantial costs and be a
distraction to management and other employees.

We may be subject to claims challenging the inventorship or ownership of our patents and other intellectual property.
We may also be subject to claims that former employees, collaborators or other third parties have an ownership interest in our patents or other
intellectual property. We have had in the past, and we may also have in the future, ownership disputes arising, for example, from conflicting
obligations of consultants or others who are involved in developing our product candidates. Litigation may be necessary to defend against these
and other claims challenging inventorship or ownership. If we fail in defending any such claims, in addition to paying monetary damages, we may
lose valuable intellectual property rights, such as exclusive ownership of, or right to use, valuable intellectual property. Such an outcome could
have a material adverse effect on our business. Even if we are successful in defending against such claims, litigation could result in substantial
costs and be a distraction to management and other employees.



                                                                          67
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 272 of 426 PageID #: 3245

Table of Contents




Obtaining and maintaining our patent protection depends on compliance with various procedural, document submission, fee payment and
other requirements imposed by governmental patent agencies, and our patent protection could be reduced or eliminated for non-compliance
with these requirements.
Periodic maintenance fees, renewal fees, annuity fees and various other governmental fees on patents and/or applications will be due to be paid to
the U.S. PTO and various governmental patent agencies outside of the United States in several stages over the lifetime of the patents and/or
applications. We have systems in place to remind us to pay these fees, and we employ an outside firm and rely on our outside counsel to pay these
fees due to non-U.S. patent agencies. The U.S. PTO and various non-U.S. governmental patent agencies require compliance with a number of
procedural, documentary, fee payment and other similar provisions during the patent application process. We employ reputable law firms and other
professionals to help us comply, and in many cases, an inadvertent lapse can be cured by payment of a late fee or by other means in accordance
with the applicable rules. However, there are situations in which non-compliance can result in abandonment or lapse of the patent or patent
application, resulting in partial or complete loss of patent rights in the relevant jurisdiction. In such an event, our competitors might be able to enter
the market and this circumstance would have a material adverse effect on our business.

Changes in U.S. patent law could diminish the value of patents in general, thereby impairing our ability to protect our products.
As is the case with other biotechnology companies, our success is heavily dependent on intellectual property, particularly patents. Obtaining and
enforcing patents in the biotechnology industry involve both technological and legal complexity, and is therefore costly, time-consuming and
inherently uncertain. In addition, the United States has recently enacted and is currently implementing wide-ranging patent reform legislation.
Recent U.S. Supreme Court rulings have narrowed the scope of patent protection available in certain circumstances and weakened the rights of
patent owners in certain situations. In addition to increasing uncertainty with regard to our ability to obtain patents in the future, this combination
of events has created uncertainty with respect to the value of patents, once obtained. Depending on decisions by the U.S. Congress, the federal
courts, and the U.S. PTO, the laws and regulations governing patents could change in unpredictable ways that would weaken our ability to obtain
new patents or to enforce our existing patents and patents that we might obtain in the future.

We may not be able to protect our intellectual property rights throughout the world.
Filing, prosecuting and defending patents on product candidates in all countries throughout the world would be prohibitively expensive, and our
intellectual property rights in some countries outside the United States can be less extensive than those in the United States. In addition, the laws
of some foreign countries do not protect intellectual property rights to the same extent as federal and state laws in the United States. Consequently,
we may not be able to prevent third parties from practicing our inventions in all countries outside the United States, or from selling or importing
products made using our inventions in and into the United States or other jurisdictions. Competitors may use our technologies in jurisdictions
where we have not obtained patent protection to develop their own products and further, may export otherwise infringing products to territories
where we have patent protection, but enforcement is not as strong as that in the United States. These products may compete with our products and
our patents or other intellectual property rights may not be effective or sufficient to prevent them from competing.
Many companies have encountered significant problems in protecting and defending intellectual property rights in foreign jurisdictions. The legal
systems of certain countries, particularly certain developing countries, do not favor the enforcement of patents, trade secrets and other intellectual
property protection, particularly those relating to biotechnology products, which could make it difficult for us to stop the infringement of our
patents or marketing of competing products in violation of our proprietary rights generally. Proceedings to enforce our patent rights in foreign
jurisdictions could result in substantial costs and divert our efforts and attention from other aspects of our business, could put our patents at risk
of being invalidated or interpreted narrowly and our patent applications at risk of not issuing and could provoke third parties to assert claims
against us. We may not prevail in any lawsuits that we initiate and the damages or other remedies awarded, if any, may not be commercially
meaningful. Accordingly, our efforts to enforce our intellectual property rights around the world may be inadequate to obtain a significant
commercial advantage from the intellectual property that we develop or license.

Risks related to ownership of our common stock
The market price of our common stock may be highly volatile, and you may not be able to resell your shares at or above the price at which you
purchase them.
Companies trading in the stock market in general, and The NASDAQ Global Select Market in particular, have experienced extreme price and volume
fluctuations that have often been unrelated or disproportionate to the operating performance of these companies. Broad market and biotechnology
and pharmaceutical industry factors may negatively affect the market price of our common stock, regardless of our actual operating performance.



                                                                            68
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 273 of 426 PageID #: 3246

Table of Contents




The market price of our common stock has been volatile in the past, and may continue to be volatile for the foreseable future. Our stock price could
be subject to wide fluctuations in response to a variety of factors, including the following:
•adverse results or delays in preclinical or clinical studies;
•reports of adverse events in our product, product candidates or other gene therapy products, or in clinical studies of such products;
•inability to obtain additional funding;
•any delay in filing an IND, MAA or BLA for any of our product candidates, and any adverse development or perceived adverse development with
respect to the regulatory authority's review of that IND, MAA or BLA;

•failure to successfully manage the commercial launch of ZYNTEGLO, or our product candidates following marketing approval, including failure to
manage our supply chain operations in the coordination and delivery of drug product to patients at qualified treatment centers;
•failure to obtain sufficient pricing and reimbursement for ZYNTEGLO or our product candidates from private and governmental payers;
•failure to obtain market acceptance and adoption of ZYNTEGLO or any other potential product following marketing approval;
•developments concerning the proposed separation of our programs into two independent, publicly-traded companies;
•failure to maintain our existing strategic collaborations or enter into new collaborations;
•failure by us or our licensors and strategic collaboration partners to prosecute, maintain or enforce our intellectual property rights;
•changes in laws or regulations applicable to future products;
•inability to obtain adequate product supply for ZYNTEGLO or our product candidates or the inability to do so at acceptable prices;
•adverse regulatory decisions;
•introduction of new products, services or technologies by our competitors;
•failure to meet or exceed financial projections we may provide to the public;
•failure to meet or exceed the financial projections of the investment community;
•the perception of the pharmaceutical industry by the public, legislatures, regulators and the investment community;
•announcements of significant acquisitions, strategic partnerships, joint ventures or capital commitments by us, our strategic collaboration partner
or our competitors;
•disputes or other developments relating to proprietary rights, including patents, litigation matters and our ability to obtain patent protection for
our technologies;
•additions or departures of key scientific or management personnel;
•significant lawsuits, including patent or stockholder litigation;
•changes in the market valuations of similar companies;
•sales of our common stock by us or our stockholders in the future; and
•trading volume of our common stock.


                                                                           69
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 274 of 426 PageID #: 3247

Table of Contents




Actual or potential sales of our common stock by our employees, including our executive officers, pursuant to pre-arranged stock trading
plans could cause our stock price to fall or prevent it from increasing for numerous reasons, and actual or potential sales by such persons
could be viewed negatively by other investors.
In accordance with the guidelines specified under Rule 10b5-1 of the Securities Exchange Act of 1934, as amended, and our policies regarding stock
transactions, a number of our employees, including executive officers and members of our board of directors, have adopted and may continue to
adopt stock trading plans pursuant to which they have arranged to sell shares of our common stock from time to time in the future. Generally, sales
under such plans by our executive officers and directors require public filings. Actual or potential sales of our common stock by such persons
could cause the price of our common stock to fall or prevent it from increasing for numerous reasons.

Future sales and issuances of our common stock or rights to purchase common stock, including pursuant to our equity incentive plans, could
result in additional dilution of the percentage ownership of our stockholders and could cause our stock price to fall.
Additional capital will be needed in the future to continue our planned operations. To the extent we raise additional capital by issuing equity
securities, our stockholders may experience substantial dilution. We may sell common stock, convertible securities or other equity securities in one
or more transactions at prices and in a manner we determine from time to time. If we sell common stock, convertible securities or other equity
securities in more than one transaction, investors may be materially diluted by subsequent sales. These sales may also result in material dilution to
our existing stockholders, and new investors could gain rights superior to our existing stockholders.
Pursuant to our 2013 Stock Option and Incentive Plan, or the 2013 Plan, our management is authorized to grant stock options and other equity-
based awards to our employees, directors and consultants. The number of shares available for future grant under the 2013 Plan automatically
increases each year by up to 4% of all shares of our capital stock outstanding as of December 31 of the prior calendar year, subject to the ability of
our board of directors or compensation committee to take action to reduce the size of the increase in any given year. Currently, we plan to register
the increased number of shares available for issuance under the 2013 Plan each year. If our board of directors or compensation committee elects to
increase the number of shares available for future grant by the maximum amount each year, our stockholders may experience additional dilution,
which could cause our stock price to fall. We also have an Employee Stock Purchase Plan and any shares of common stock purchased pursuant to
that plan will also cause dilution.

We are subject to securities class action litigation, which may result in substantial costs and a diversion of management's attention and
resources, which could harm our business.
In the past, securities class action litigation has often been brought against a company following a decline in the market price of its securities, and
on February 12, 2021, a class action complaint was filed in the United States District Court for the Eastern District of New York, Leung v. bluebird
bio, Inc., et. al., Case No. 1:21-cv-00777, by a purported stockholder against us and certain of our officers, and we may face additional securities
class action litigation in the future. This risk is especially relevant for us because biotechnology and pharmaceutical companies have experienced
significant stock price volatility in recent years, and we expect to experience continued stock price volatility. Defending against the current litigation
and any future litigation could result in substantial costs and a diversion of management’s attention and resources, which could harm our business.

Our ability to use our net operating loss carryforwards and certain other tax attributes may be limited.
Under Section 382 of the Internal Revenue Code of 1986, as amended, if a corporation undergoes an “ownership change,” generally defined as a
greater than 50% change (by value) in its equity ownership over a three-year period, the corporation’s ability to use its pre-change net operating
loss carryforwards, or NOLs, and other pre-change tax attributes (such as research tax credits) to offset its post-change income may be limited. We
have completed several financings since our inception and prior to our initial public offering in 2013, which we believe have resulted in a change in
control as defined by IRC Section 382. We completed a study through September 2019 confirming no ownership changes have occurred since our
initial public offering in 2013. We may also experience ownership changes in the future as a result of subsequent shifts in our stock ownership. As a
result, if we earn net taxable income, our ability to use our pre-change net operating loss carryforwards to offset U.S. federal taxable income may be
subject to limitations, which could potentially result in increased future tax liability to us. In addition, at the state level, there may be periods during
which the use of NOLs is suspended or otherwise limited, which could accelerate or permanently increase state taxes owed.



                                                                            70
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 275 of 426 PageID #: 3248

Table of Contents




We do not intend to pay cash dividends on our common stock so any returns will be limited to the value of our stock.
We have never declared or paid any cash dividends on our common stock. We currently anticipate that we will retain future earnings for the
development, operation and expansion of our business and do not anticipate declaring or paying any cash dividends for the foreseeable future.
Any return to stockholders will therefore be limited to the appreciation of their stock.

Provisions in our amended and restated certificate of incorporation and by-laws, as well as provisions of Delaware law, could make it more
difficult for a third-party to acquire us or increase the cost of acquiring us, even if doing so would benefit our stockholders or remove our
current management.
Our amended and restated certificate of incorporation, amended and restated by-laws and Delaware law contain provisions that may have the effect
of delaying or preventing a change in control of us or changes in our management. Our amended and restated certificate of incorporation and by-
laws, include provisions that:
•authorize “blank check” preferred stock, which could be issued by our board of directors without stockholder approval and may contain voting,
liquidation, dividend and other rights superior to our common stock;
•create a classified board of directors whose members serve staggered three-year terms;
•specify that special meetings of our stockholders can be called only by our board of directors, the chairperson of our board of directors, our chief
executive officer or our president;
•prohibit stockholder action by written consent;
•establish an advance notice procedure for stockholder approvals to be brought before an annual meeting of our stockholders, including proposed
nominations of persons for election to our board of directors;

•provide that our directors may be removed only for cause;
•provide that vacancies on our board of directors may be filled only by a majority of directors then in office, even though less than a quorum;
•specify that no stockholder is permitted to cumulate votes at any election of directors;
•expressly authorize our board of directors to modify, alter or repeal our amended and restated by-laws; and
•require supermajority votes of the holders of our common stock to amend specified provisions of our amended and restated certificate of
incorporation and amended and restated by-laws.
These provisions, alone or together, could delay or prevent hostile takeovers and changes in control or changes in our management.
In addition, because we are incorporated in Delaware, we are governed by the provisions of Section 203 of the Delaware General Corporation Law,
which limits the ability of stockholders owning in excess of 15% of our outstanding voting stock to merge or combine with us.
Any provision of our amended and restated certificate of incorporation or amended and restated by-laws or Delaware law that has the effect of
delaying or deterring a change in control could limit the opportunity for our stockholders to receive a premium for their shares of our common
stock, and could also affect the price that some investors are willing to pay for our common stock.

Changes in tax law could adversely affect our business and financial condition.
The rules dealing with U.S. federal, state, and local income taxation are constantly under review by persons involved in the legislative process and
by the Internal Revenue Service and the U.S. Treasury Department. Changes to tax laws (which changes may have retroactive application) could
adversely affect us or holders of our common stock. In recent years, many such changes have been made and changes are likely to continue to
occur in the future. For example, on March 27, 2020, President Trump signed into law the “Coronavirus Aid, Relief, and Economic Security Act” or
the CARES Act, which included certain changes in tax law intended to stimulate the U.S. economy in light of the COVID-19 pandemic, including
temporary beneficial changes to the treatment of net operating losses, interest deductibility limitations and payroll tax matters. On December 27,
2020, President Trump signed into law the “Consolidated Appropriations Act”, which included additional stimulus relief for the COVID-19 pandemic
in the form of modifications to the refundable employee retention credit under the CARES Act and credit extenders, and spending bill for the 2021
fiscal year. Future changes in tax laws could have a material adverse effect on our



                                                                          71
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 276 of 426 PageID #: 3249

Table of Contents




business, cash flow, financial condition or results of operations. We urge investors to consult with their legal and tax advisers regarding the
implications of potential changes in tax laws on an investment in our common stock.


Item 1B. Unresolved Staff Comments
Not applicable.


Item 2. Properties
Below is a summary of our material owned and leased properties as of December 31, 2020:

Massachusetts
Our corporate headquarters encompasses approximately 253,108 square feet of office and laboratory space and is located at 60 Binney Street,
Cambridge, Massachusetts. The lease commenced on October 1, 2016 and will continue until March 31, 2027. We have the option to extend the 60
Binney Street lease for two successive five-year terms.
In April 2019, we entered into a sublease agreement for approximately 267,278 square feet of office space located at 50 Binney Street, Cambridge,
Massachusetts. The lease will commence when the space is available for use, which is anticipated to be in the first half of 2022, and is expected to
terminate on December 31, 2030.

Washington
We lease office and laboratory space in Seattle, Washington, totaling approximately 58,314 square feet. The lease commenced on January 1, 2019
and will continue through April 2028. We have the option to extend the lease for one five-year term.

North Carolina
In November 2017, we purchased a 125,000 square foot manufacturing facility located in Durham, North Carolina to provide manufacturing capacity
for lentiviral vector in support of our current and planned gene and cell therapies.

Switzerland
Our European headquarters encompasses 1,136 square meters of office space and is located in Zug, Switzerland. The lease for our European
headquarters commenced on January 1, 2019 and will continue for 60 months with the option to renew for 2 successive 60 month terms.

We believe that our existing facilities are adequate for our current needs.

Item 3. Legal Proceedings
In the ordinary course of business, we are from time to time involved in lawsuits, claims, investigations, proceedings, and threats of litigation
relating to intellectual property, commercial arrangements, employment and other matters. While the outcome of these proceedings and claims
cannot be predicted with certainty, as of December 31, 2020, we were not party to any legal or arbitration proceedings that may have, or have had in
the recent past, significant effects on our financial position or profitability. We believe no governmental proceedings are pending or, to our
knowledge, contemplated against us. We are not a party to any material proceedings in which any director, member of senior management or
affiliate of ours is either a party adverse to us or our subsidiaries or has a material interest adverse to us or our subsidiaries.
On February 12, 2021, a class action complaint was filed in the United States District Court for the Eastern District of New York, Leung v. bluebird
bio, Inc., et. al., Case No. 1:21-cv-00777, by a purported stockholder against us and certain of our officers. The complaint alleges violations of
Section 10(b) of the Securities Exchange Act and Rule 10b-5 promulgated thereunder against all defendants and violations of Section 20(a) of the
Exchange Act against the officers and seeks unspecified damages. The allegations relate to our disclosure on November 4, 2020 that we were
adjusting the expected timing of submission of a BLA to the FDA for LentiGlobin for sickle cell disease to late 2022.

Item 4. Mine Safety Disclosures
Not applicable.



                                                                              72
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 277 of 426 PageID #: 3250

Table of Contents



PART II


Item 5. Market for Registrant’s Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities
Our common stock has been traded on the Nasdaq Global Select Market under the symbol “BLUE.” On February 18, 2021, the last reported sale
price for our common stock on the Nasdaq Global Select Market was $26.95 per share.


Stock Performance Graph
The graph set forth below compares the cumulative total stockholder return on our common stock between December 31, 2015 and December 31,
2020, with the cumulative total return of (a) the Nasdaq Biotechnology Index and (b) the Nasdaq Composite Index, over the same period. This graph
assumes the investment of $100 on December 31, 2015 of our common stock, the Nasdaq Biotechnology Index and the Nasdaq Composite Index
and assumes the reinvestment of dividends, if any.

The comparisons shown in the graph below are based upon historical data. We caution that the stock price performance shown in the graph below
is not necessarily indicative of, nor is it intended to forecast, the potential future performance of our common stock.




Holders
As of February 18, 2021, there were approximately 9 holders of record of our common stock. The actual number of stockholders is greater than this
number of record holders, and includes stockholders who are beneficial owners, but whose shares are held in street name by brokers and other
nominees. This number of holders of record also does not include stockholders whose shares may be held in trust by other entities.

Dividends
We have not paid any cash dividends on our common stock since inception and do not anticipate paying cash dividends in the foreseeable future.



                                                                        73
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 278 of 426 PageID #: 3251

Table of Contents




Securities Authorized for Issuance Under Equity Compensation Plans
Information about our equity compensation plans is incorporated herein by reference to Item 12 of Part III of this Annual Report on Form 10-K.

Item 6. Reserved




                                                                        74
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 279 of 426 PageID #: 3252

Table of Contents




Item 7. Management’s Discussion and Analysis of Financial Condition and Results of Operations
The following information should be read in conjunction with the consolidated financial statements and related notes thereto included in this
Annual Report on Form 10-K.

In addition to historical information, this report contains forward-looking statements that involve risks and uncertainties which may cause our
actual results to differ materially from plans and results discussed in forward-looking statements. We encourage you to review the risks and
uncertainties discussed in the sections entitled Item 1A. “Risk Factors” and “Forward-Looking Statements” included at the beginning of this
Annual Report on Form 10-K. The risks and uncertainties can cause actual results to differ significantly from those forecast in forward-looking
statements or implied in historical results and trends.

We caution readers not to place undue reliance on any forward-looking statements made by us, which speak only as of the date they are made.
We disclaim any obligation, except as specifically required by law and the rules of the SEC, to publicly update or revise any such statements to
reflect any change in our expectations or in events, conditions or circumstances on which any such statements may be based, or that may affect
the likelihood that actual results will differ from those set forth in the forward-looking statements.


Overview
We are a biotechnology company committed to researching, developing, and commercializing potentially transformative gene therapies for severe
genetic diseases and cancer. We have built an integrated product platform with broad therapeutic potential in a variety of indications based on our
lentiviral gene addition platform, gene editing and cancer immunotherapy capabilities. Our severe genetic disease ("SGD") programs include beti-
cel, LentiGlobin for SCD gene therapy, and eli-cel. Our programs in oncology are focused on developing novel T cell-based immunotherapies,
including CAR and TCR T cell therapies. bb2121 (idecabtagene vicleucel, or ide-cel), and bb21217 are CAR-T cell product candidates for the
treatment of multiple myeloma and partnered under our collaboration arrangement with BMS.

We are commercializing beti-cel as ZYNTEGLO in the EU and began to treat patients in the commercial context in the first quarter of 2021. However,
in February 2021 we temporarily suspended marketing of ZYNTEGLO in light of safety events in the HGB-206 clinical study of LentiGlobin for SCD,
which is manufactured using the same vector as ZYNTEGLO. Additionally, the EMA has paused the renewal procedure for ZYNTEGLO's
conditional marketing authorization while the EMA's pharmacovigilance risk assessment committee reviews the risk-benefit assessment for
ZYNTEGLO and determines whether any additional pharmacovigilance measures are necessary. We are engaged with the EMA in discussions
regarding our proposed development plans for beti-cel as a treatment for patients with TDT who are less than 12 years of age and for patients who
have a β0 /β0 genotype. We are engaged with the FDA in discussions regarding our proposed development plans for beti-cel as a treatment for
patients with TDT. Contingent upon successful resolution of the FDA's concerns arising out of the safety events in our SCD program, we currently
expect to complete our BLA submission for beti-cel in mid-2021 for the treatment of patients with TDT across all genotypes, including non-β0 /β0
and β0 /β0 genotypes, and patients with TDT who are less than 12 years of age.
Based on our prior discussions with the FDA, we believe that we may be able to seek accelerated approval for LentiGlobin for SCD in the United
States on the basis of clinical data from Group C of our HGB-206 clinical study, with our HGB-210 clinical study providing confirmatory data for full
approval. However, in light of a SUSAR of acute myeloid leukemia and a SUSAR of myelodysplastic syndrome in our HGB-206 clinical study, the
FDA has placed our clinical studies of LentiGlobin for SCD on clinical hold. We are investigating these events and plan to continue to work closely
with the FDA in their review of these events. In addition, we are also engaged with the EMA in discussions regarding our proposed development
plans for LentiGlobin for SCD in Europe.

In October 2020, the EMA accepted our Marketing Authorization Application in the EU for eli-cel for the treatment of patients with CALD. Based
on our discussions with the FDA, we believe that we may be able to seek approval for eli-cel for the treatment of patients with CALD on the basis
of our clinical data from our ongoing Starbeam study, safety data from our ongoing ALD-104 study, and the completed ALD-103 observational
study. We currently expect to submit the BLA for eli-cel for the treatment of patients with CALD in mid-2021.

In collaboration with BMS, we are developing ide-cel and the bb21217 product candidates as treatments for multiple myeloma. We are co-
developing and co-promoting ide-cel in the United States with BMS and we have exclusively licensed to BMS the development and
commercialization rights for ide-cel outside of the United States. In September 2020, the FDA accepted for Priority Review the BLA submitted by
BMS for ide-cel as a treatment for relapsed and refractory multiple myeloma. We have exclusively licensed the development and commercialization
rights for the bb21217 product candidate to BMS, with an option for us to elect to co-develop and co-promote bb21217 within the United States. In
addition, we are



                                                                         75
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 280 of 426 PageID #: 3253

Table of Contents




independently pursuing next-generation BCMA-targeting CAR-T approaches for treating multiple myeloma. Our other programs in oncology
include preclinical programs to discover and develop T cell product candidates to treat other hematologic and solid tumor malignancies, including:
non-Hodgkin's lymphoma, acute myeloid leukemia, MAGE-A4 positive solid tumors, and Merkel cell carcinoma.

Since our inception in 1992, we have devoted substantially all of our resources to our development efforts relating to our product candidates,
including activities to manufacture product candidates in compliance with good manufacturing practices, or GMP, to conduct clinical studies of our
product candidates, to provide selling, general and administrative support for these operations and to protect our intellectual property. We have
not generated any revenue from product sales. We have funded our operations primarily through the sale of common stock in our public offerings,
private placements of preferred stock and warrants and through collaborations.

As of December 31, 2020, we had cash, cash equivalents and marketable securities of approximately $1.27 billion. We have never been profitable
and have incurred net losses in each year since inception. Our net losses were $618.7 million for the year ended December 31, 2020 and our
accumulated deficit was $2.90 billion as of December 31, 2020. Substantially all of our net losses resulted from costs incurred in connection with our
research and development programs and from selling, general and administrative costs associated with our operations. We expect to continue to
incur significant expenses and operating losses for at least the next several years. We expect our expenses will increase substantially in connection
with our ongoing and planned activities, as we:
•conduct clinical studies for our clinical programs in β-thalassemia, SCD, and ALD, fund our share of the costs of clinical studies for our program in
multiple myeloma in collaboration with BMS, and advance our preclinical programs into clinical development;
•increase research and development-related activities for the discovery and development of product candidates in severe genetic diseases and
oncology;
•manufacture clinical study materials and establish the infrastructure necessary to support and develop large-scale manufacturing capabilities to
support commercialization of our product and any future products;
•seek regulatory approval for our product candidates;
•add personnel to support our product development and commercialization efforts;
•increase activities related to the commercialization of ZYNTEGLO in multiple markets in Europe, the potential commercial launch of beti-cel in the
United States, and the potential commercial launches of additional late-stage product candidates in the United States and Europe; and
•incur costs related to the separation of our portfolio of programs and products in severe genetic disease and oncology into two separate,
independent publicly traded companies.

As we seek to obtain regulatory approval for our product candidates and begin to commercialize ZYNTEGLO, we expect to incur significant
commercialization expenses as we prepare for and begin product sales, marketing, commercial manufacturing, and distribution. Accordingly, until
we generate significant revenues from product sales, we will seek to fund our operations through public or private equity or debt financings,
strategic collaborations, or other sources. However, we may be unable to raise additional funds or enter into such other arrangements when needed
on favorable terms or at all. Our failure to raise capital or enter into such other arrangements as and when needed would have a negative impact on
our financial condition and our ability to develop our products.

Because of the numerous risks and uncertainties associated with product development and commercialization, we are unable to predict the timing or
amount of increased expenses or when or if we will be able to achieve or maintain profitability. Even if we are able to generate revenues from the
sale of our products, we may not become profitable. If we fail to become profitable or are unable to sustain profitability on a continuing basis, then
we may be unable to continue our operations at planned levels and be forced to reduce our operations.

Business update
Beginning in late 2019, the outbreak of a novel strain of coronavirus (COVID-19) has evolved into a global pandemic. As a result, we continue to
experience disruptions and increased risk in our operations and those of third parties upon whom we rely, which may materially and adversely affect
our business. These include disruptions and risks related to the conduct of our clinical trials, manufacturing, and commercialization efforts, as
policies at various clinical sites and federal, state, local and foreign laws, rules and regulations continue to evolve, including quarantines, travel
restrictions, and direction of healthcare resources toward pandemic response efforts. The COVID-19 pandemic has impacted the timing of patient
treatment in the



                                                                          76
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 281 of 426 PageID #: 3254

Table of Contents




commercial context, and the timing of our ongoing clinical studies, with the result of slower patient enrollment and treatment in our clinical studies
and delays in post-treatment follow up visits, the impact of which has varied by clinical study and by program. It has also affected our activities
with and operations at our third-party manufacturers. It is unknown how long these disruptions could continue. In addition, we expect the COVID-
19 pandemic to delay our ability to achieve market access and reimbursement for ZYNTEGLO in Europe due to shifting priorities of the local
authorities and healthcare system. As a result of the demands upon healthcare regulatory authorities, review, inspection, and other activities related
to review of regulatory submissions in drug development may be impacted, and may result in delays for an unknown period of time.

We continue to evaluate the impact of the COVID-19 global pandemic on patients, healthcare providers and our employees, as well as our
operations and the operations of our business partners and healthcare communities. In response to the COVID-19 pandemic, we have implemented
policies at our locations to mitigate the risk of exposure to COVID-19 by our personnel, including restrictions on the number of staff in any given
research and development laboratory or manufacturing facility, a work-from-home policy applicable to the majority of our personnel, and a phased
approach to bringing personnel back to our locations over time. Given the importance of supporting our patients, we are diligently working with our
suppliers, healthcare providers and partners to provide patients with access to ZYNTEGLO, while taking into account regulatory, institutional, and
government guidance, policies and protocols. Further, we are working with our clinical study sites to understand the duration and scope of the
impact on enrollment, develop protocols to help mitigate the impact of the COVID-19 pandemic, and other activities for our ongoing clinical studies.
However, the ultimate impact of the COVID-19 pandemic on our business operations is highly uncertain and subject to change and will depend on
future developments which are difficult to predict.

We expect our cash, cash equivalents and marketable securities of $1.27 billion as of December 31, 2020, will be sufficient to fund planned
operations for at least the next twelve months from the date of issuance of these financial statements, though we may pursue additional cash
resources through public or private equity or debt financings or by establishing additional collaborations with other companies.

In January 2021, we announced our intent to separate our severe genetic disease and oncology programs into two separate, independent publicly
traded companies, bluebird bio, Inc. and a new company, which we refer to as Oncology NewCo in this annual report on Form 10-K. bluebird bio,
Inc. intends to retain focus on our severe genetic disease programs and Oncology NewCo is expected to focus on our oncology programs. The
transaction is expected to be completed in late 2021 and is anticipated to be tax-free, subject to receipt of a favorable IRS ruling.


Financial operations overview
Revenue
To date, we have not generated any revenues from the sale of products. Our revenues have been derived from collaboration arrangements, out-
licensing arrangements, research fees, and grant revenues.

To date, revenue recognized under our collaborative arrangements has been primarily generated from our collaboration arrangement with BMS. The
terms of the arrangement with respect to ide-cel contain multiple promised goods or services, which include at inception: (i) research and
development services, (ii) a license to ide-cel, and (iii) manufacture of vectors and associated payload for incorporation into ide-cel under the
license. As of September 2017, the collaboration also included the following promised goods or services with respect to bb21217: (i) research and
development services, (ii) a license to bb21217, and (iii) manufacture of vectors and associated payload for incorporation into bb21217 under the
license. We entered into an agreement with BMS to co-develop and co-promote ide-cel in March 2018, which was subsequently amended in May
2020, in which both parties will share equally in U.S. costs and profits. Revenue from our collaborative arrangements is recognized as the
underlying performance obligations are satisfied.

We analyze our collaboration arrangements to assess whether they are within the scope of ASC 808, Collaborative Arrangements (“ASC 808”) to
determine whether such arrangements involve joint operating activities performed by parties that are both active participants in the activities and
exposed to significant risks and rewards dependent on the commercial success of such activities. This assessment is performed throughout the life
of the arrangement based on changes in the responsibilities of all parties in the arrangement. For collaboration arrangements within the scope of
ASC 808, we first determine which elements of the collaboration are deemed to be within the scope of ASC 808 and those that are more reflective of
a vendor-customer relationship and therefore within the scope of ASC 606, Revenue from Contracts with Customers (“Topic 606” or "ASC 606").
For elements of collaboration arrangements that are accounted for pursuant to ASC 808, an appropriate recognition method is determined and
applied consistently, generally by analogy to Topic 606. Amounts that are owed to collaboration partners are recognized as an offset to
collaborative arrangement revenues as such amounts are incurred by the



                                                                         77
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 282 of 426 PageID #: 3255

Table of Contents




collaboration partner. Where amounts owed to a collaboration partner exceed our collaborative arrangement revenues in a quarterly period, such
amounts in excess are classified as research and development expense. For those elements of the arrangement that are accounted for pursuant to
Topic 606, we apply the five-step model prescribed in Topic 606.

Effective January 1, 2020, we adopted Accounting Standards Update ("ASU") No. 2018-18, Collaborative Arrangements (Topic 808): Clarifying
the Interaction between Topic 808 and Topic 606 ("ASU 2018-18") on a retrospective basis. As a result, prior periods are presented in accordance
with the new standard. Prior to the adoption of ASU 2018-18, we presented all revenue recognized under our collaborative arrangements as
collaboration revenue on our consolidated statement of operations and comprehensive loss. However, as we recognize revenue under our
collaborative arrangements both within and outside the scope of Topic 606, we have revised our presentation of revenue on our consolidated
statement of operations and comprehensive loss as follows: service revenue includes revenue from collaborative partners recognized within the
scope of Topic 606 and collaborative arrangement revenue includes only revenue from collaborative partners recognized outside the scope of Topic
606.

Nonrefundable license fees are recognized as revenue upon delivery of the license provided there are no unsatisfied performance obligations in the
arrangement. License revenue has historically been generated from out-license agreements, under which we may also recognize revenue from
potential future milestone payments and royalties.

For arrangements with licenses of intellectual property that include sales-based royalties, including milestone payments based on the level of sales,
and the license is deemed to be the predominant item to which the royalties relate, we recognize revenue at the later of (i) when the related sales
occur, or (ii) when the performance obligation to which the royalty has been allocated has been satisfied.

Research and development expenses
Research and development expenses consist primarily of costs incurred for the development of our product candidates, which include:
•employee-related expenses, including salaries, benefits, travel and stock-based compensation expense;
•expenses incurred under agreements with clinical research organizations (“CROs”) and clinical sites that conduct our clinical studies;
•costs of acquiring, developing, and manufacturing inventory;
•reimbursable costs to our partners for collaborative activities;
•facilities, depreciation, and other expenses, which include direct and allocated expenses for rent and maintenance of facilities, information
technology, insurance, and other supplies in support of research and development activities;
•costs associated with our research platform and preclinical activities;
•milestones and upfront license payments;
•costs associated with our regulatory, quality assurance and quality control operations; and
•amortization of certain intangible assets.

Research and development costs are expensed as incurred. Costs for certain development activities are recognized based on an evaluation of the
progress to completion of specific tasks using information and data provided to us by our vendors and our clinical sites. We cannot determine with
certainty the duration and completion costs of the current or future clinical studies of our product candidates or if, when, or to what extent we will
generate revenues from the commercialization and sale of any of our product candidates that obtain regulatory approval. We may not succeed in
achieving regulatory approval for all of our product candidates. The duration, costs, and timing of clinical studies and development of our product
candidates will depend on a variety of factors, any of which could mean a significant change in the costs and timing associated with the
development of our product candidates including:
•the scope, rate of progress, and expense of our ongoing as well as any additional clinical studies and other research and development activities we
undertake;
•future clinical study results;
•uncertainties in clinical study enrollment rates;



                                                                           78
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 283 of 426 PageID #: 3256

Table of Contents




•new manufacturing processes or protocols that we may choose to or be required to implement in the manufacture of our lentiviral vector or drug
product;
•regulatory feedback on requirements for regulatory approval, as well as changing standards for regulatory approval; and
•the timing and receipt of any regulatory approvals.
We plan to increase our research and development expenses for the foreseeable future as we continue to advance the development of beti-cel, eli-
cel, and LentiGlobin for SCD, conduct research and development activities in severe genetic diseases and oncology, fund our share of the costs of
development of ide-cel and bb21217 (if we exercise our option to co-develop and co-commercialize this product candidate) in collaboration with
BMS, and continue the research and discovery of product candidates using our gene editing technology platform. Our research and development
expenses include expenses associated with the following activities:
•Northstar-2 Study (HGB-207) - a multi-site, international phase 3 study to examine the safety and efficacy of beti-cel in the treatment of patients
with TDT and a non-β0/β0 genotype.
•Northstar-3 Study (HGB-212) - a multi-site, international phase 3 study to examine the safety and efficacy of beti-cel in the treatment of patients
with TDT and a β0/β0 genotype or an IVS-I-110 mutation.
•HGB-206 study - a multi-site phase 1/2 study in the United States to study the safety and efficacy of LentiGlobin in the treatment of patients with
SCD.
•HGB-210 study - our multi-site, international phase 3 study of LentiGlobin in patients with SCD and a history of vaso-occlusive events.
•Starbeam Study (ALD-102) - a multi-site, international phase 2/3 study to examine the safety and efficacy of eli-cel in the treatment of patients with
CALD.
•ALD-104 study - our multi-site, international phase 3 study to examine the safety and efficacy of eli-cel after myeloablative conditioning using
busulfan and fludarabine in the treatment of patients with CALD.
•CRB-401 study - an open label, single-arm, multi-center, phase 1 study to examine the safety and efficacy of ide-cel in the treatment of patients with
relapsed and refractory multiple myeloma.
•KarMMA study - an open label, single-arm, multi-center phase 2 study to examine the efficacy and safety of ide-cel in the treatment of patients
with relapsed and refractory multiple myeloma.
•KarMMa-2 study - a multi-cohort, open-label, multicenter phase 2 study to examine the safety and efficacy of ide-cel in the treatment of patients
with relapsed and refractory multiple myeloma and in high-risk multiple myeloma.
•KarMMa-3 study - a multicenter, randomized, open-label phase 3 study comparing the efficacy and safety of ide-cel versus standard triplet
regimens in patients with relapsed and refractory multiple myeloma.
•KarMMa-4 study -, a multi-cohort, open-label, multicenter phase 1 study intended to determine the optimal target dose and safety of ide-cel in
subjects with newly-diagnosed multiple myeloma.
•CRB-402 study - an open label, single-arm, multicenter, phase 1 study to examine the safety and efficacy of the bb21217 product candidate in the
treatment of patients with relapsed and refractory multiple myeloma.
•We will continue to incur costs related to the manufacture of clinical study materials in support of our clinical studies.

We expect that the timing of investment in our ongoing clinical studies will reflect COVID-19 related delays in these studies.

Our direct research and development expenses consist principally of external costs, such as fees paid to investigators, consultants, central
laboratories and CROs in connection with our clinical studies, and costs related to acquiring and manufacturing clinical study materials. We allocate
salary and benefit costs directly related to specific programs. We do not allocate personnel-related discretionary bonus or stock-based
compensation costs, laboratory and related expenses, certain license and other collaboration costs, depreciation or other indirect costs that are
deployed across multiple projects under development and, as such, the costs are separately classified as other research and development expenses
in the table below:



                                                                           79
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 284 of 426 PageID #: 3257

Table of Contents




                                                                                                                     Year ended December 31,
                                                                                                          2020                  2019                   2018
                                                                                                                           (in thousands)
beti-cel(1)                                                                                       $            66,141 $               73,896 $               92,193
LentiGlobin for SCD                                                                                            58,862                 50,796                 32,865
eli-cel                                                                                                        48,028                 40,352                 38,244
ide-cel                                                                                                       105,240                121,182                 75,667
bb21217                                                                                                        23,511                 19,827                 15,624
Preclinical programs                                                                                           45,888                 49,700                 50,115
    Total direct research and development expense                                                             347,670                355,753                304,708
Employee- and contractor-related expenses                                                                      63,840                 52,617                 35,697
Stock-based compensation expense                                                                               72,239                 80,139                 54,422
Laboratory and related expenses(2)                                                                             16,689                 12,208                  8,311
License and other collaboration expenses(2)                                                                    15,285                  7,021                  9,876
Facility expenses                                                                                              67,464                 67,274                 32,158
Other expenses                                                                                                  4,769                  7,401                  3,417
    Total other research and development expenses                                                             240,286                226,660                143,881
Total research and development expense                                                            $           587,956 $              582,413 $              448,589

(1)Following our receipt of conditional approval for the marketing authorization of ZYNTEGLO by the European Commission in June 2019, all manufacturing costs
associated with the production of LentiGlobin for use in the commercial sale of ZYNTEGLO in the European Union will be evaluated for capitalization as inventory on
our consolidated balance sheets.

(2)Prior to 2020, costs within these categories were disclosed as "platform-related expenses."


Selling, general and administrative expenses
Selling, general and administrative expenses consist primarily of salaries and related costs for personnel, including stock-based compensation and
travel expenses for our employees in executive, operational, finance, legal, business development, commercial, information technology, and human
resource functions. Other selling, general and administrative expenses include facility-related costs, professional fees for accounting, tax, legal and
consulting services, directors’ fees and expenses associated with obtaining and maintaining patents.

We anticipate that our selling, general and administrative expenses, including payroll and sales and marketing expenses, will continue to increase in
the future relative to current levels as we execute on our commercial launch plans in Europe for ZYNTEGLO, and perform commercial readiness
activities in the United States for our product candidates.

Cost of royalty and other revenue
Cost of royalty and other revenue represents expense associated with amounts owed to third-party licensors as a result of revenue recognized
under our out-license arrangements.

Change in fair value of contingent consideration
On June 30, 2014, we acquired Precision Genome Engineering, Inc., or Pregenen. The agreement provided for up to $135.0 million in future
contingent cash payments by us upon the achievement of certain preclinical, clinical and commercial milestones related to the Pregenen
technology.

As of December 31, 2020, there are $120.0 million in future contingent cash payments, of which $20.1 million relates to clinical milestones and $99.9
million relates to commercial milestones. We estimate future contingent cash payments have a fair value of $1.5 million as of December 31, 2020,
which are classified within other non-current liabilities on our consolidated balance sheet.



                                                                                    80
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 285 of 426 PageID #: 3258

Table of Contents




Interest income, net
For the years ended December 31, 2020 and 2019, interest income, net consists primarily of interest income earned on investments. For the year
ended December 31, 2018, interest income, net consisted primarily of interest income earned on investments and interest expense on the financing
lease obligation for our headquarters at 60 Binney Street in Cambridge, Massachusetts. Upon adoption of ASU 2016-02, Leases (Topic 842) (“ASU
2016-02” or “ASC 842”) on January 1, 2019, we de-recognized the financing lease obligation and, as a result, no longer recognize interest expense
associated with the financing lease obligation.

Other (expense) income, net
Other (expense) income, net consists primarily of gains and losses on equity securities held by us, gains and losses on disposal of fixed assets, and
gains and losses on foreign currency transactions.

Critical accounting policies and significant judgments and estimates
Our management’s discussion and analysis of our financial condition and results of operations are based on our financial statements, which have
been prepared in accordance with generally accepted accounting principles in the U.S. The preparation of these financial statements requires us to
make estimates and judgments that affect the reported amounts of assets, liabilities, and expenses and the disclosure of contingent assets and
liabilities in our financial statements. On an ongoing basis, we evaluate our estimates and judgments, including expected business and operational
changes, sensitivity and volatility associated with the assumptions used in developing estimates, and whether historical trends are expected to be
representative of future trends. We base our estimates on historical experience, known trends and events and various other factors that are
believed to be reasonable under the circumstances, the results of which form the basis for making judgments about the carrying values of assets
and liabilities that are not readily apparent from other sources. Actual results may differ from these estimates under different assumptions or
conditions. In making estimates and judgments, management employs critical accounting policies.

While our significant accounting policies are described in more detail in the notes to our financial statements appearing elsewhere in this annual
report, we believe the following accounting policies to be most critical to the judgments and estimates used in the preparation of our financial
statements.

Revenue recognition
Revenue recognition
Under Topic 606, Revenue from Contracts with Customers, an entity recognizes revenue when its customer obtains control of promised goods or
services, in an amount that reflects the consideration that the entity expects to receive in exchange for those goods or services. To determine
revenue recognition for arrangements that an entity determines are within the scope of Topic 606, the entity performs the following five steps: (i)
identify the contract(s) with a customer; (ii) identify the performance obligations in the contract; (iii) determine the transaction price, including
variable consideration, if any; (iv) allocate the transaction price to the performance obligations in the contract; and (v) recognize revenue when (or
as) the entity satisfies a performance obligation. We only apply the five-step model to contracts when it is probable that the entity will collect the
consideration to which it is entitled in exchange for the goods or services it transfers to the customer.

Once a contract is determined to be within the scope of Topic 606, we assess the goods or services promised within each contract and determine
those that are performance obligations. Arrangements that include rights to additional goods or services that are exercisable at a customer’s
discretion are generally considered options. We assess if these options provide a material right to the customer and if so, they are considered
performance obligations. The identification of material rights requires judgments related to the determination of the value of the underlying license
relative to the option exercise price, including assumptions about technical feasibility and the probability of developing a candidate that would be
subject to the option rights. The exercise of a material right is accounted for as a contract modification for accounting purposes.

We assess whether each promised good or service is distinct for the purpose of identifying the performance obligations in the contract. This
assessment involves subjective determinations and requires management to make judgments about the individual promised goods or services and
whether such are separable from the other aspects of the contractual relationship. Promised goods and services are considered distinct provided
that: (i) the customer can benefit from the good or service either on its own or together with other resources that are readily available to the
customer (that is, the good or service is capable of being distinct) and (ii) the entity’s promise to transfer the good or service to the customer is
separately identifiable from other promises in the contract (that is, the promise to transfer the good or service is distinct within the context of the
contract). In assessing whether a promised good or service is distinct, we consider factors such as the research, manufacturing and



                                                                           81
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 286 of 426 PageID #: 3259

Table of Contents




commercialization capabilities of the collaboration partner and the availability of the associated expertise in the general marketplace. We also
consider the intended benefit of the contract in assessing whether a promised good or service is separately identifiable from other promises in the
contract. If a promised good or service is not distinct, an entity is required to combine that good or service with other promised goods or services
until it identifies a bundle of goods or services that is distinct.

The transaction price is then determined and allocated to the identified performance obligations in proportion to their standalone selling prices
(“SSP”) on a relative SSP basis. SSP is determined at contract inception and is not updated to reflect changes between contract inception and when
the performance obligations are satisfied. Determining the SSP for performance obligations requires significant judgment. In developing the SSP for
a performance obligation, we consider applicable market conditions and relevant entity-specific factors, including factors that were contemplated in
negotiating the agreement with the customer and estimated costs. We validate the SSP for performance obligations by evaluating whether changes
in the key assumptions used to determine the SSP will have a significant effect on the allocation of arrangement consideration between multiple
performance obligations.

If the consideration promised in a contract includes a variable amount, we estimate the amount of consideration to which we will be entitled in
exchange for transferring the promised goods or services to a customer. We determine the amount of variable consideration by using the expected
value method or the most likely amount method. We include the unconstrained amount of estimated variable consideration in the transaction price.
The amount included in the transaction price is constrained to the amount for which it is probable that a significant reversal of cumulative revenue
recognized will not occur. At the end of each subsequent reporting period, we re-evaluate the estimated variable consideration included in the
transaction price and any related constraint, and if necessary, adjust our estimate of the overall transaction price. Any such adjustments are
recorded on a cumulative catch-up basis in the period of adjustment.

If an arrangement includes development and regulatory milestone payments, we evaluate whether the milestones are considered probable of being
reached and estimate the amount to be included in the transaction price using the most likely amount method. If it is probable that a significant
revenue reversal would not occur, the associated milestone value is included in the transaction price. Milestone payments that are not within our
control or the licensee’s control, such as regulatory approvals, are generally not considered probable of being achieved until those approvals are
received.

For arrangements with licenses of intellectual property that include sales-based royalties, including milestone payments based on the level of sales,
and the license is deemed to be the predominant item to which the royalties relate, we recognize royalty revenue and sales-based milestones at the
later of (i) when the related sales occur, or (ii) when the performance obligation to which the royalty has been allocated has been satisfied.

In determining the transaction price, we adjust consideration for the effects of the time value of money if the timing of payments provides us with a
significant benefit of financing. We do not assess whether a contract has a significant financing component if the expectation at contract inception
is such that the period between payment by the licensees and the transfer of the promised goods or services to the licensees will be one year or
less. We assessed each of our revenue generating arrangements in order to determine whether a significant financing component exists and
concluded that a significant financing component does not exist in any of our arrangements.

We then recognize as revenue the amount of the transaction price that is allocated to the respective performance obligation when (or as) each
performance obligation is satisfied, either at a point in time or over time, and if over time recognition is based on the use of an output or input
method.

We recognize revenue within the following financial statement captions:

Service revenue
To date, our service revenue has primarily been generated from the elements of our collaboration arrangement with BMS that are accounted for
pursuant to Topic 606, using the five-step model described above. As discussed further below, we analyze our collaboration arrangement to assess
whether they are within the scope of ASC 808, Collaborative Arrangements (“ASC 808”) or Topic 606. For the elements of the arrangement which
are more reflective of a vendor-customer relationship and therefore within the scope of Topic 606, we record the related revenue as service revenue
on the consolidated statement of operations and comprehensive loss. Refer below for additional discussion around our policy for recognizing
collaborative arrangement revenue and the determination of whether elements of a collaboration arrangement are within the scope of ASC 808 or
Topic 606.



                                                                           82
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 287 of 426 PageID #: 3260

Table of Contents




Collaborative arrangement revenue
To date, collaborative arrangement revenue has been primarily generated from our collaboration arrangements with BMS and Regeneron
Pharmaceuticals, Inc. ("Regeneron"), as further described in Note 11, Collaborative arrangements in the notes to consolidated financial
statements.

We analyze our collaboration arrangements to assess whether they are within the scope of ASC 808 to determine whether such arrangements
involve joint operating activities performed by parties that are both active participants in the activities and exposed to significant risks and rewards
dependent on the commercial success of such activities. This assessment is performed throughout the life of the arrangement based on changes in
the responsibilities of all parties in the arrangement. For collaboration arrangements within the scope of ASC 808 that contain multiple elements, we
first determine which elements of the collaboration are deemed to be within the scope of ASC 808 and those that are more reflective of a vendor-
customer relationship and therefore within the scope of Topic 606 (refer above for further discussion of the Company's policy for recognizing
service revenue). For elements of collaboration arrangements that are accounted for pursuant to ASC 808, an appropriate recognition method is
determined and applied consistently, generally by analogy to Topic 606. Amounts that are owed to collaboration partners are recognized as an
offset to collaborative arrangement revenues as such amounts are incurred by the collaboration partner. Where amounts owed to a collaboration
partner exceed our collaborative arrangement revenues in each quarterly period, such amounts are classified as research and development expense.

The recognition of service revenue and collaborative arrangement revenue (expense) require management judgment due to the fact that the terms of
our collaboration arrangements are complicated and the nature of the collaborative activities change over time. This process includes the
identification of costs that we incur that relate to each particular collaboration arrangement, evaluating the nature of these costs (for example,
whether the costs relate to a particular geography or territory or whether the costs relate to clinical or commercial activities), and applying the terms
of the respective collaborative arrangement to determine the portion of such costs that are the responsibility of the collaboration partner, which in
certain circumstances requires significant judgment.

Leases
Effective January 1, 2019, we adopted ASU 2016-02, Leases (Topic 842), (“ASU 2016-02” or “ASC 842”), using the required modified retrospective
approach and utilizing the effective date as the date of initial application. As a result, prior periods are presented in accordance with the previous
guidance in ASC 840, Leases (“ASC 840”).

At the inception of an arrangement, we determine whether the arrangement is or contains a lease based on the unique facts and circumstances
present in the arrangement. Leases with a term greater than one year are recognized on the balance sheet as right-of-use assets and short-term and
long-term lease liabilities, as applicable. We do not have material financing leases.

Operating lease liabilities and their corresponding right-of-use assets are initially recorded based on the present value of lease payments over the
expected remaining lease term. Certain adjustments to the right-of-use asset may be required for items such as incentives received. The interest rate
implicit in lease contracts is typically not readily determinable. As a result, we utilize our incremental borrowing rate to discount lease payments,
which reflects the fixed rate at which we could borrow on a collateralized basis the amount of the lease payments in the same currency, for a similar
term, in a similar economic environment. To estimate our incremental borrowing rate, a credit rating applicable to us is estimated using a synthetic
credit rating analysis since we do not currently have a rating agency-based credit rating. Prospectively, we will adjust the right-of-use assets for
straight-line rent expense or any incentives received and remeasure the lease liability at the net present value using the same incremental borrowing
rate that was in effect as of the lease commencement or transition date.

We have elected not to recognize leases with an original term of one year or less on the balance sheet. We typically only includes an initial lease
term in our assessment of a lease arrangement. Options to renew a lease are not included in our assessment unless there is reasonable certainty that
we will renew.

Assumptions that we made at the commencement date are re-evaluated upon occurrence of certain events, including a lease modification. A lease
modification results in a separate contract when the modification grants the lessee an additional right of use not included in the original lease and
when lease payments increase commensurate with the standalone price for the additional right of use. When a lease modification results in a
separate contract, it is accounted for in the same manner as a new lease.



                                                                           83
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 288 of 426 PageID #: 3261

Table of Contents




ASC 842 transition practical expedients and application of transition provisions to leases at the transition date

We elected the following practical expedients, which must be elected as a package and applied consistently to all of our leases at the transition date
(including those for which we are a lessee or a lessor): i) we did not reassess whether any expired or existing contracts are or contain leases; ii) we
did not reassess the lease classification for any expired or existing leases (that is, all existing leases that were classified as operating leases in
accordance with ASC 840 are classified as operating leases, and all existing leases that were classified as capital leases in accordance with ASC 840
are classified as finance leases); and iii) we did not reassess initial direct costs for any existing leases.

For leases that existed prior to the date of initial application of ASC 842 (which were previously classified as operating leases), a lessee may elect to
use either the total lease term measured at lease inception under ASC 840 or the remaining lease term as of the date of initial application of ASC 842
in determining the period for which to measure its incremental borrowing rate. In transition to ASC 842, we utilized the remaining lease term of its
leases in determining the appropriate incremental borrowing rates.

Application of ASC 842 policy elections to leases post adoption

We have made certain policy elections to apply to our leases executed post adoption, or subsequent to January 1, 2019, as further described below.

In accordance with ASC 842, components of a lease should be split into three categories: lease components, non-lease components, and non-
components. The fixed and in-substance fixed contract consideration (including any consideration related to non-components) must be allocated
based on the respective relative fair values to the lease components and non-lease components.

Entities may elect not to separate lease and non-lease components. Rather, entities would account for each lease component and related non-lease
component together as a single lease component. We have elected to account for lease and non-lease components together as a single lease
component for all underlying assets and allocate all of the contract consideration to the lease component only.

ASC 842 allows for the use of judgment in determining whether the assumed lease term is for a major part of the remaining economic life of the
underlying asset and whether the present value of lease payments represents substantially all of the fair value of the underlying asset. We apply
the bright line thresholds referenced in ASC 842-10-55-2 to assist in evaluating leases for appropriate classification. The aforementioned bright lines
are applied consistently to our entire portfolio of leases.

Accrued research and development expenses
As part of the process of preparing our financial statements, we are required to estimate our accrued expenses. This process involves reviewing
open contracts and purchase orders, communicating with our personnel to identify services that have been performed on our behalf and estimating
the level of service performed and the associated cost incurred for the service when we have not yet been invoiced or otherwise notified of the
actual cost. The majority of our service providers invoice us monthly in arrears for services performed or when contractual milestones are met. We
make estimates of our accrued expenses as of each balance sheet date in our financial statements based on facts and circumstances known to us at
that time.

We recognize expenses related to clinical studies based on our estimates of the services received and efforts expended pursuant to contracts with
multiple CROs that conduct and manage clinical studies on our behalf. The financial terms of these agreements are subject to negotiation, vary from
contract to contract and may result in uneven payment flows. There may be instances in which payments made to our vendors will exceed the level
of services provided and result in a prepayment of the clinical expense. Payments under some of these contracts depend on factors such as the
successful enrollment of subjects and the completion of clinical study milestones. In accruing service fees, we estimate the time period over which
services will be performed and the level of effort to be expended in each period and adjust accordingly.

Other examples of estimated accrued research and development expenses include fees paid to:
•investigative sites in connection with clinical studies;
•vendors in connection with preclinical development activities; and
•vendors related to the development, manufacturing, and distribution of clinical trial materials.



                                                                           84
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 289 of 426 PageID #: 3262

Table of Contents




Stock-based compensation
We issue stock-based awards to employees and non-employees, generally in the form of stock options and restricted stock units. We account for
our stock-based awards in accordance with FASB ASC Topic 718, Compensation-Stock Compensation, or ASC 718. ASC 718 requires all stock-
based payments to employees, including grants of employee stock options and modifications to existing stock options, to be recognized in the
consolidated statements of operations and comprehensive loss based on their fair values. Prior to the adoption of Accounting Standards Update
(“ASU”) No. 2018-07, Compensation - Stock Compensation (Topic 718): Improvements to Nonemployee Share-Based Payment Accounting (“ASU
2018-07”), the measurement date for non-employee awards was generally the date the services are completed, resulting in financial reporting period
adjustments to stock-based compensation during the vesting terms for changes in the fair value of the awards. After the adoption of ASU 2018-07,
the measurement date for non-employee awards is the date of grant without changes in the fair value of the award. Stock-based compensation
costs for non-employees are recognized as expense over the vesting period on a straight-line basis.

Our stock-based awards are subject to either service or performance-based vesting conditions. Compensation expense related to awards to
employees, non-employees, and directors, with service-based vesting conditions is recognized on a straight-line basis based on the grant date fair
value over the associated service period of the award, which is generally the vesting term. Compensation expense related to awards to employees
and non-employees with performance-based vesting conditions is recognized based on the grant date fair value over the requisite service period
using the accelerated attribution method to the extent achievement of the performance condition is probable. We estimate the probability that
certain performance criteria will be met and do not recognize compensation expense until it is probable that the performance-based vesting
condition will be achieved.

We estimate the fair value of our stock-based awards to employees, non-employees, and directors, using the Black-Scholes option pricing model,
which requires the input of subjective assumptions, including (i) the expected volatility of our stock, (ii) the expected term of the award, (iii) the risk-
free interest rate, and (iv) expected dividends. Effective January 1, 2020, we eliminated the use of a representative peer group and use only our own
historical volatility data in our estimate of expected volatility given that there is now a sufficient amount of historical information regarding the
volatility of our own stock price. We estimate the expected life of our employee stock options using the “simplified” method, whereby, the expected
life equals the average of the vesting term and the original contractual term of the option. The risk-free interest rates for periods within the expected
life of the option were based on the U.S. Treasury yield curve in effect during the period the options were granted.

Recent accounting pronouncements
See Note 2, Summary of significant accounting policies and basis of presentation, in the notes to consolidated financial statements for a
description of recent accounting pronouncements applicable to our business.




                                                                            85
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 290 of 426 PageID #: 3263

Table of Contents




Results of Operations
Comparison of the years ended December 31, 2020 and 2019:

                                                                                                 Year ended December 31,
                                                                                                 2020                2019               Change
                                                                                                                (in thousands)
Revenue:
   Service revenue                                                                        $          114,064 $            30,729 $             83,335
   Collaborative arrangement revenue                                                                 115,594               5,740              109,854
   Royalty and other revenue                                                                          21,076               8,205               12,871
      Total revenues                                                                                 250,734              44,674              206,060
Operating expenses:
   Research and development                                                                          587,956              582,413                 5,543
   Selling, general and administrative                                                               286,896              271,362                15,534
   Cost of royalty and other revenue                                                                    5,396               2,978                 2,418
   Change in fair value of contingent consideration                                                   (6,468)               2,747               (9,215)
      Total operating expenses                                                                       873,780              859,500                14,280
      Loss from operations                                                                         (623,046)            (814,826)              191,780
Interest income, net                                                                                   11,539              34,761             (23,222)
Other expense, net                                                                                    (6,502)            (10,088)                 3,586
      Loss before income taxes                                                                     (618,009)            (790,153)              172,144
Income tax (expense) benefit                                                                            (686)                 545               (1,231)
      Net loss                                                                            $        (618,695) $          (789,608) $            170,913

Revenue. Total revenue was $250.7 million for the year ended December 31, 2020, compared to $44.7 million for the year ended December 31, 2019.
The increase of $206.1 million was primarily attributable to a cumulative catch-up adjustment to revenue recorded in connection with the May 2020
BMS contract modification, as well as an increase in royalty and other revenue primarily attributable to revenue recognized under an out-license
agreement with Juno Therapeutics, Inc.

Research and development expenses. Research and development expenses were $588.0 million for the year ended December 31, 2020, compared to
$582.4 million for the year ended December 31, 2019. The increase of $5.5 million was primarily attributable to the following:
•$12.8 million of increased collaboration research funding costs, primarily due to an increase in collaboration costs incurred by BMS as a result of
BMS assuming the contract manufacturing agreements relating to ide-cel adherent lentiviral vector under the May 2020 contract modification;
•$8.2 million of increased net employee compensation, benefit, and other headcount related expenses, which is primarily driven by an increase in
headcount in the quality and manufacturing organizations to support overall growth and includes a $7.9 million decrease in stock-based
compensation expense due to the recognition of expense on performance-based restricted stock units that vested in June 2019. Refer to Note 14,
Stock-based compensation, in the notes to consolidated financial statements for discussion of stock-based compensation expense recognized on
the performance-based restricted stock units;
•$7.0 million of increased license and milestone fees primarily due to a sublicense fee upon execution of the May 2020 BMS contract modification;
and
•$5.3 million of increased consulting fees primarily related to the quality and manufacturing organizations.

These increased costs were partially offset by:
•$17.6 million of decreased material production and other platform costs, primarily due to BMS assuming the contract manufacturing agreements
relating to ide-cel adherent lentiviral vector under the May 2020 contract modification;
•$7.0 million of decreased value-added taxes; and
•$2.1 million of decreased medical research costs.



                                                                          86
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 291 of 426 PageID #: 3264

Table of Contents




Selling, general and administrative expenses. Selling, general and administrative expenses were $286.9 million for the year ended December 31,
2020, compared to $271.4 million for the year ended December 31, 2019. The increase of $15.5 million was primarily due to the following:
•$14.7 million of increased employee compensation, benefit, and other headcount related expenses, which is primarily driven by an increase in
headcount in the information technology and human resource organizations to support overall growth, including an increase of $3.9 million in
stock-based compensation expense; and
•$10.6 million of increased information technology and facility-related costs primarily due to increased investment in software applications and
technology.

These increased costs were partially offset by:
•$6.8 million of decreased costs related to commercial readiness activities due to delays in commercial launch activities during 2020 as a result of the
COVID-19 pandemic; and
•$2.3 million of decreased consulting fees primarily related to commercial strategy and product marketing.

Cost of royalty and other revenue. Cost of royalty and other revenue was $5.4 million for the year ended December 31, 2020, compared to $3.0
million for the year ended December 31, 2019. The increase is attributable to increased royalty revenue in the same periods.

Change in fair value of contingent consideration. The change in fair value of contingent consideration was primarily due to the change in
significant unobservable inputs used in the fair value measurement of contingent consideration, including the probabilities of successful
achievement of clinical and commercial milestones and discount rates.

Interest income, net. The decrease in interest income, net was primarily related to decreased interest income earned on investments due to an
overall decrease in interest rates.

Other expense, net. The decrease in other expense, net was primarily related to changes in fair value on equity securities.

Comparison of the years ended December 31, 2019 and 2018:
                                                                                                 Year ended December 31,
                                                                                                 2019                2018                 Change
                                                                                                                (in thousands)
Revenue:
   Service revenue                                                                        $            30,729 $             44,533 $           (13,804)
   Collaborative arrangement revenue                                                                    5,740                7,820              (2,080)
   Royalty and other revenue                                                                            8,205                2,226                5,979
      Total revenues                                                                                   44,674               54,579              (9,905)
Operating expenses:
   Research and development                                                                           582,413              448,589              133,824
   Selling, general and administrative                                                                271,362              174,129               97,233
   Cost of royalty and other revenue                                                                    2,978                  885                2,093
   Change in fair value of contingent consideration                                                     2,747                2,999                (252)
      Total operating expenses                                                                        859,500              626,602              232,898
      Loss from operations                                                                          (814,826)            (572,023)            (242,803)
Interest income, net                                                                                   34,761               14,624               20,137
Other (expense) income, net                                                                          (10,088)                1,961             (12,049)
      Loss before income taxes                                                                      (790,153)            (555,438)            (234,715)
Income tax benefit (expense)                                                                              545                (187)                  732
      Net loss                                                                            $         (789,608) $          (555,625) $          (233,983)

Revenue. Total revenue was $44.7 million for the year ended December 31, 2019, compared to $54.6 million for the year ended December 31, 2018.
The decrease of $9.9 million was primarily attributable to a decrease in service revenue recognized for the ide-cel license and manufacturing services
under our agreement with BMS. This decrease was partially offset by an



                                                                           87
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 292 of 426 PageID #: 3265

Table of Contents




increase in royalty and other revenue and an increase in collaborative arrangement revenue under our agreement with Regeneron.

Research and development expenses. Research and development expenses were $582.4 million for the year ended December 31, 2019, compared to
$448.6 million for the year ended December 31, 2018. The increase of $133.8 million was primarily attributable to the following:
•$66.1 million of increased employee compensation, benefit, and other headcount related expenses, which is primarily driven by an increase in
research and development headcount to support overall growth, including an increase of $25.7 million in stock-based compensation expense. Refer
to Note 14, Stock-based compensation, in the notes to consolidated financial statements for discussion of stock-based compensation expense
recognized on the performance-based restricted stock units;
•$34.8 million of increased IT and facility related costs, which includes the impact of adopting ASU 2016-02;
•$26.3 million of increased collaboration research funding costs;
•$13.1 million of increased laboratory expenses, material production, and other platform costs;
•$9.7 million of increased research consulting and medical research costs; and
•$3.6 million of increased clinical trial costs.

These increased costs were partially offset by $20.6 million of decreased license and milestone fees.

Selling, general and administrative expenses. Selling, general and administrative expenses were $271.4 million for the year ended December 31,
2019, compared to $174.1 million for the year ended December 31, 2018. The increase of approximately $97.2 million was primarily due to the
following:
•$65.3 million of increased employee compensation, benefit, and other headcount related expenses, which is primarily driven by an increase in
selling, general, and administrative headcount to support overall growth, including an increase of $24.1 million in stock-based compensation
expense. Refer to Note 14, Stock-based compensation, in the notes to consolidated financial statements for discussion of stock-based
compensation expense recognized on the performance-based restricted stock units;
•$18.4 million of increased costs related to commercial-readiness activities; and
•$13.2 million of increased consulting fees.

Cost of royalty and other revenue. Cost of royalty and other revenue was $3.0 million for the year ended December 31, 2019, compared to $0.9
million for the year ended December 31, 2018. The increase is attributable to increased royalty revenue in the same periods.

Change in fair value of contingent consideration. The change in fair value of contingent consideration was primarily due to the change in
significant unobservable inputs used in the fair value measurement of contingent consideration, including the probabilities of successful
achievement of clinical and commercial milestones and discount rates.

Interest income, net. The change in interest income, net was primarily related to increased interest income earned on investments, as well as a
decrease in interest expense incurred due to the de-recognition of the financing lease obligation associated with our corporate headquarters at 60
Binney Street related to the adoption of ASU 2016-02 on January 1, 2019.

Other (expense) income, net. The change in other (expense) income, net was primarily related to changes in fair value on equity securities.


Liquidity and Capital Resources

As of December 31, 2020, we had cash, cash equivalents and marketable securities of approximately $1.27 billion. We expect our cash, cash
equivalents and marketable securities will be sufficient to fund planned operations for at least the next twelve months from the date of issuance of
these financial statements, though we may pursue additional cash resources through public or private equity or debt financings or by establishing
additional collaborations with other companies. Cash in excess of immediate requirements is invested in accordance with our investment policy,
primarily with a view to liquidity and capital preservation. As of December 31, 2020, our funds are primarily held in U.S. government agency
securities and treasuries, equity securities, corporate bonds, commercial paper, and money market accounts.



                                                                          88
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 293 of 426 PageID #: 3266

Table of Contents




We have incurred losses and cumulative negative cash flows from operations since our inception in April 1992, and as of December 31, 2020, we
had an accumulated deficit of $2.90 billion. We expect that our research and development and selling, general and administrative expenses will
continue to increase and, as a result, we will need additional capital to fund our operations, which we may raise through public or private equity or
debt financings, strategic collaborations, or other sources. The likelihood of our long-term success must be considered in light of the expenses,
difficulties, and potential delays to be encountered in the development and commercialization of new pharmaceutical products, competitive factors
in the marketplace and the complex regulatory environment in which we operate. We may never achieve significant revenue or profitable operations.

We have funded our operations principally from the sale of common stock in public offerings and through our collaborations with BMS and
Regeneron as outlined below:
•In January 2018, we sold 0.3 million shares of common stock pursuant to the partial exercise of an overallotment option granted to the underwriters
in connection with the December 2017 underwritten public offering at a price of $185.00 per share for aggregate net proceeds of $48.7 million.
•In July 2018, we sold 3.9 million shares of common stock through an underwritten public offering at a price of $162.50 per share for aggregate net
proceeds to us of $600.6 million.
•In August 2018, we sold 0.4 million shares of common stock to Regeneron in connection with our collaboration arrangement at a price of $238.10
per share for aggregate net proceeds to us of $100.0 million, of which $45.5 million was attributed to a prepayment of joint research activities. See
Note 11, Collaborative arrangements, in the notes to consolidated financial statements for more information.
•In May 2020, we entered into the First Amendment to the Amended and Restated Co-Development, Co-Promote and Profit Share Agreement (as
amended, the “Amended Ide-cel CCPS”) and the Second Amended and Restated bb21217 License Agreement (“Amended bb21217 License
Agreement”) with BMS pursuant to which BMS modified its obligations to pay us for future ex-U.S. milestones and royalties on commercial sales
by making a one-time up-front payment of $200.0 million. See Note 11, Collaborative arrangements, in the notes to consolidated financial
statements for more information.
•In May 2020, we sold 10.5 million shares of common stock (inclusive of shares sold pursuant to an option granted to the underwriters in
connection with the offering) through an underwritten public offering at a price of $55.00 per share for aggregate net proceeds of $541.5 million.

Sources of Liquidity
Cash Flows
The following table summarizes our cash flow activity:
                                                                                                            Year ended December 31,
                                                                                                 2020                  2019                2018
                                                                                                                  (in thousands)
Net cash used in operating activities                                                     $         (470,351) $          (564,384) $          (413,426)
Net cash provided by (used in) investing activities                                                  (84,345)              507,807            (679,435)
Net cash provided by financing activities                                                             546,715               21,187              737,692
   Decrease in cash, cash equivalents and restricted cash                                 $            (7,981) $          (35,390) $          (355,169)

Operating Activities. The net cash used in operating activities was $470.4 million for the year ended December 31, 2020 and primarily consisted of a
net loss of $618.7 million adjusted for non-cash items including stock-based compensation of $156.6 million and depreciation and amortization of
$19.4 million, as well as the change in our net working capital.

The net cash used in operating activities was $564.4 million for the year ended December 31, 2019 and primarily consisted of a net loss of $789.6
million adjusted for non-cash items including stock-based compensation of $160.6 million and depreciation and amortization of $17.4 million, as well
as the change in our net working capital.

The net cash used in operating activities was $413.4 million for the year ended December 31, 2018 and primarily consisted of a net loss of $555.6
million adjusted for non-cash items including stock-based compensation of $110.8 million and depreciation and amortization of $17.2 million, as well
as the change in our net working capital.



                                                                          89
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 294 of 426 PageID #: 3267

Table of Contents




Investing Activities. Net cash used in investing activities for the year ended December 31, 2020 was $84.3 million and was primarily due to the
purchase of $1.00 billion of marketable securities and the purchase of $29.0 million of property, plant and equipment offset by proceeds from the
maturities of available-for-sale marketable securities of $918.3 million.

Net cash provided by investing activities for the year ended December 31, 2019 was $507.8 million and was primarily due to proceeds from the
maturities of available-for-sale marketable securities of $1.34 billion offset by the purchase of $756.6 million of marketable securities and the
purchase of $71.0 million of property, plant and equipment.

Net cash used in investing activities for the year ended December 31, 2018 was $679.4 million and was primarily due to the purchase of $1.52 billion
of marketable securities and the purchase of $55.7 million of property, plant and equipment offset by proceeds from the maturities of available-for-
sale marketable securities of $894.3 million.

Financing Activities: Net cash provided by financing activities for the year ended December 31, 2020 was $546.7 million and was primarily due to
net cash proceeds from our May 2020 common stock offering, as well as employee option exercises and ESPP contributions.

Net cash provided by financing activities for the year ended December 31, 2019 was $21.2 million and was primarily due to net cash proceeds from
employee option exercises and ESPP contributions.

Net cash provided by financing activities for the year ended December 31, 2018 was $737.7 million and was primarily due to net cash proceeds from
our January 2018 and July 2018 common stock offerings, as well as our issuance of common stock to Regeneron and employee option exercises and
ESPP contributions.

Contractual Obligations and Commitments
Lease commitments
60 Binney Street lease
In September 2015, we entered into a lease agreement for office and laboratory space located at 60 Binney Street, Cambridge, Massachusetts. Under
the terms of the lease, starting on October 1, 2016, we leased approximately 253,108 square feet of office and laboratory space at $72.50 per square
foot per year, or $18.4 million per year in base rent, which is subject to scheduled annual rent increases of 1.75% plus certain operating expenses
and taxes. The Company currently maintains a $13.8 million collateralized letter of credit and, subject to the terms of the lease and certain reduction
requirements specified therein, including market capitalization requirements, this amount may decrease to $9.2 million over time. The lease will
continue until March 31, 2027. Pursuant to a work letter entered into in connection with the lease, the landlord contributed an aggregate of $42.4
million toward the cost of construction and tenant improvements for the building.

50 Binney Street sublease
In April 2019, we entered into a sublease agreement for office space located at 50 Binney Street in Cambridge, Massachusetts (the “50 Binney Street
Sublease”) to supplement our corporate headquarters located at 60 Binney Street in Cambridge, Massachusetts. Under the terms of the 50 Binney
Street Sublease, we will lease 267,278 square feet of office space for $99.95 per square foot, or $26.7 million per year in base rent subject to certain
operating expenses, taxes and annual rent increases of approximately 3%. The lease will commence when the space is available for use, which is
anticipated to be in the first half of 2022, which reflects the sublessor's exercise of its option to postpone the commencement date of the sublease,
and end on December 31, 2030, unless other conditions specified in the 50 Binney Street Sublease occur. Upon signing the 50 Binney Street
Sublease, we executed a $40.1 million cash-collateralized letter of credit, which may be reduced in the future subject to the terms of the 50 Binney
Street Sublease and certain reduction requirements specified therein. The $40.1 million of cash collateralizing the letter of credit is classified as
restricted cash and other non-current assets on our consolidated balance sheets. Payments will commence at the earlier of (i) the date which is 90
days following the commencement date and (ii) the date we take occupancy of all or any portion of the premises. In connection with the execution
of the 50 Binney Street Sublease, we also entered into a Purchase Agreement for furniture and equipment (the “Furniture Purchase Agreement”)
located on the premises upon lease commencement. Upon execution of the Furniture Purchase Agreement, we made an upfront payment of $7.5
million, all of which was recorded within restricted cash and other non-current assets on our consolidated balance sheets as of December 31, 2020.



                                                                          90
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 295 of 426 PageID #: 3268

Table of Contents




Seattle, Washington leases
In July 2018, we entered into a lease agreement for office and laboratory space located in a portion of a building in Seattle, Washington. The lease
was amended in October 2018 to increase the total rentable space to approximately 36,126 square feet at $54.00 per square foot in base rent per year,
which is subject to scheduled annual rent increases of 2.5% plus certain operating expenses and taxes. The lease commenced on January 1, 2019
and the lease term will continue through January 31, 2027. The Company moved into the facility in June 2019. The lease allowed for a tenant
improvement allowance of up to $215.00 per square foot, or approximately $8.0 million. We utilized the $8.0 million tenant improvement allowance
and it has been fully reimbursed by the landlord as of December 31, 2020.

In September 2019, we entered into a second amendment to the lease (the “Second Amendment”). The Second Amendment added approximately
22,188 square feet to the existing space and extended the lease term of the entire premises by 16 months, or until April 2028. Fixed monthly rent for
the expanded space will be incurred at a rate of $62.80 per square foot per year beginning in January 2021, subject to annual increases of 2.5%. The
Second Amendment includes a five-year option to extend the term. In September 2020, the Company entered into a sublease agreement for the
22,188 square feet added under the Second Amendment at a fixed monthly rent of $62.80 per square foot per year beginning in January 2021, subject
to annual increases of 2.5%. The sublease term will continue through April 2028.


Embedded leases
In June 2016, we entered into a manufacturing agreement for the future commercial production of our beti-cel and eli-cel drug products with a
contract manufacturing organization. Under this 12-year agreement, the contract manufacturing organization will complete the design, construction,
validation and process validation of the leased suites prior to anticipated commercial launch of the product candidates. During construction, we
paid $12.0 million upon the achievement of certain contractual milestones. We paid $5.0 million for the achievement of the first and second
contractual milestones during 2016 and paid $5.5 million for the third and fourth contractual milestones achieved during 2017. In March 2018, $1.5
million of the possible $2.0 million related to the fifth contractual milestone was achieved and was paid in the second quarter of 2018. Given that
construction was completed in March 2018, beginning in April 2018 we will pay $5.1 million per year in fixed suite fees as well as certain fixed labor,
raw materials, testing and shipping costs for manufacturing services.

We may terminate this agreement at any time upon payment of a one-time termination fee and up to 24 months of fixed suite and labor fees. We
concluded that this agreement contains an embedded lease as the suites are designated for our exclusive use during the term of the agreement. We
concluded that we are not the deemed owner during construction nor is it a capital lease under ASC 840-10, Leases - Overall. As a result, in prior
periods we accounted for the agreement as an operating lease under ASC 840 and recognized straight-line rent expense over the non-cancellable
term of the embedded lease. As part of our adoption of ASC 842, effective January 1, 2019, we carried forward the existing lease classification under
ASC 840. Additionally, we recorded a right-of-use asset and lease liability for this operating lease on the effective date and are recognizing rent
expense on a straight-line basis throughout the remaining term of the embedded lease.

In November 2016, we entered into an agreement for clinical and commercial production of our ZYNTEGLO, LentiGlobin for SCD, and eli-cel drug
products with a contract manufacturing organization at an existing facility. We concluded that this agreement contains an embedded operating
lease as the clean rooms are designated for our exclusive use during the term of the agreement. The term of the agreement is five years with
subsequent three-year renewals at the mutual option of each party. As a result, we recorded a right-of-use asset and lease liability for this operating
lease on the effective date of ASC 842, and are recognizing rent expense on a straight-line basis throughout the estimated remaining term of the
embedded lease. In March 2020, we amended this agreement with the contract manufacturing organization, resulting in a lease modification. Under
the terms of the amended arrangement, we may be required to pay annual maintenance and production fees of up to €16.5 million, depending on its
production needs, and may terminate this agreement with twelve months’ notice and a one-time termination fee. The amendment also provides for
an option to reserve an additional clean room for a one-time option fee plus annual maintenance fees. As a result, we increased the right-of-use
asset and lease liability related to this embedded operating lease during the first quarter of 2020.

In July 2020, we entered into an agreement reserving manufacturing capacity with a contract manufacturing organization. We concluded that this
agreement contains an embedded lease as a controlled environment room at the facility is designated for our exclusive use during the term of the
agreement, with the option to sublease the space if we provide notice that we will not utilize it for a specified duration of time. Under the terms of
the agreement, we will be required to pay up to $5.4 million per year in maintenance fees in addition to the cost of any services provided and may
terminate this agreement with eighteen months' notice. The term of the agreement is five years, with the option to extend, and is expected to
commence in the first half of 2021.



                                                                           91
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 296 of 426 PageID #: 3269

Table of Contents




Contingent Consideration Related to Business Combinations

In connection with the Pregenen acquisition, we agreed to make contingent cash payments to the former equityholders of Pregenen. In accordance
with accounting guidance for business combinations, these contingent cash payments are recorded as contingent consideration liabilities on our
consolidated balance sheets at fair value. During the second quarter of 2017, a $5.0 million preclinical milestone was achieved, which resulted in a
$5.0 million payment to the former equityholders of Pregenen during the third quarter of 2017. The aggregate remaining undiscounted amount of
contingent consideration potentially payable is $120.0 million. As of December 31, 2020, and 2019, $1.5 million and $8.0 million, respectively, is
reflected as a non-current liability in the consolidated balance sheet, which represents the fair value of our contingent consideration obligations as
of this date.


Contingent Milestone and Royalty Payments
We also have obligations to make future payments to third parties that become due and payable on the achievement of certain development,
regulatory and commercial milestones (such as the start of a clinical trial, filing of a BLA, approval by the FDA or product launch). We do not
recognize these commitments in our financial statements until they become payable or have been paid.

Based on our development plans as of December 31, 2020, we may be obligated to make future development, regulatory and commercial milestone
payments and royalty payments on future sales of specified products associated with our collaboration and license agreements. Payments under
these agreements generally become due and payable upon achievement of such milestones or sales. Because the achievement of these milestones
or sales had not occurred as of December 31, 2020, such contingencies have not been recorded in our financial statements. Amounts related to
contingent milestone payments and sales-based royalties are not yet considered contractual obligations as they are contingent upon success.
•Under a license agreement with Inserm-Transfert pursuant to which we license certain patents and know-how for use in adrenoleukodystrophy
therapy, we will be required to make payments based upon development, regulatory and commercial milestones for any products covered by the in-
licensed intellectual property. The maximum aggregate payments we may be obligated to pay for each of these milestone categories per product is
€0.3, €0.2 and €1.6 million, respectively. We will also be required to pay a royalty on net sales of products covered by the in-licensed intellectual
property in the low single digits. The royalty is subject to reduction for any third-party payments required to be made, with a minimum floor in the
low single digits.

•Under a license agreement with Institut Pasteur pursuant to which we license certain patents for use in ex vivo gene therapy, we will be required to
make payments per product covered by the in-licensed intellectual property upon the achievement of development and regulatory milestones,
depending on the indication and the method of treatment. The maximum aggregate payments we may be obligated to pay for each of these
milestone categories per product is €1.5 and €2.0 million, respectively. We will also be required to pay a royalty on net sales of products covered by
the in-licensed intellectual property in the low single digits, which varies slightly depending on the indication of the product. We have the right to
sublicense our rights under this agreement, and we will be required to pay a percentage of such license income varying from the low single digits to
mid-range double digits depending on the nature of the sublicense and stage of development. We are required to make an annual maintenance
payment, which is creditable against royalty payments on a year-by-year basis. On April 1, 2015, we amended this license agreement with Institut
Pasteur, which resulted in a payment of €3.0 million that was paid during the second quarter of 2015. During the year ended December 31, 2020 we
paid Institut Pasteur €7.3 million in connection with amounts owed to us by sublicensees.

•Under a license agreement with the Board of Trustees of the Leland Stanford Junior University, or Stanford, pursuant to which we license the
HEK293T cell line for use in gene therapy products, we are required to pay a royalty on net sales of products covered by the in-licensed intellectual
property in the low single digits that varies with net sales. The royalty is reduced for each third-party license that requires payments by us with
respect to a licensed product, provided that the royalty to Stanford is not less than a specified percentage that is less than one percent. We have
been paying Stanford an annual maintenance fee, which will be creditable against our royalty payments.

•Under a license agreement with the Massachusetts Institute of Technology, or MIT, pursuant to which we license various patents, we will be
required to make a payment of $0.1 million based upon a regulatory filing milestone. We will also be required to pay a royalty on net sales of
products covered by the in-licensed intellectual property by us or our sublicensees. The royalty is in the low single digits and is reduced for
royalties payable to third parties, provided that the royalty to MIT is not less than a specified percentage that is less than one percent. We have the
right to sublicense our rights under this agreement, and we will be required to pay a percentage of such license income varying



                                                                          92
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 297 of 426 PageID #: 3270

Table of Contents




from the mid-single digits to low double digits. We are required to pay MIT an annual maintenance fee based on net sales of licensed products,
which is creditable against our royalty payments.

•Under a license agreement with Research Development Foundation pursuant to which we license patents that involve lentiviral vectors, we will be
required to make payments of $1.0 million based upon a regulatory milestone for each product covered by the in-licensed intellectual property. We
will also be required to pay a royalty on net sales of products covered by the in-licensed intellectual property in the low single digits, which is
reduced by half if during the ten years following first marketing approval the last valid claim within the licensed patent that covers the licensed
product expires or ends.

•Under a license agreement with Biogen Inc., pursuant to which we license certain patents and patent applications related to our ide-cel and
bb21217 product candidates, we will be required to make certain payments related to certain development milestone obligations and must report on
our progress in achieving these milestones on a periodic basis. We may be obligated to pay up to $23.0 million in the aggregate for each licensed
product upon the achievement of remaining milestones. Upon commercialization of our products covered by the in-licensed intellectual property,
we will be obligated to pay a percentage of net sales as a royalty in the low single digits.

•Under a license agreement with the National Institutes of Health, or NIH, pursuant to which we license certain patent applications related to our
ide-cel and bb21217 product candidates, we have agreed to certain development and regulatory milestone obligations and must report on our
progress in achieving these milestones on a periodic basis. We may be obligated to pay up to $9.7 million in the aggregate for a licensed product
upon the achievement of these milestones. Upon commercialization of our products covered by the in-licensed intellectual property, we will be
obligated to pay NIH a percentage of net sales as a royalty in the low single digits. The royalties payable under this license agreement are subject
to reduction for any third-party payments required to be made, with a minimum floor in the low single digits. During the year ended December 31,
2020 we paid NIH $1.0 million upon milestones reached for a product covered by in-licensed intellectual property.

•Under a license agreement with SIRION Biotech GmbH, or Sirion, pursuant to which we license certain patents directed to manufacturing related to
our LentiGlobin product candidate, we will be required to make certain payments related to certain development milestone obligations and must
report on our progress in achieving these milestones on a periodic basis. We may be obligated to pay up to $13.4 million in the aggregate for each
product covered by the in-licensed intellectual property. Upon commercialization of our products covered by the in-licensed intellectual property,
we will be obligated to pay Sirion a percentage of net sales as a royalty in the low single digits. The royalties payable under this license agreement
are subject to reduction for any third-party payments required to be made, with a minimum floor in the low single digits.


Other Funding Commitments
We enter into contracts in the normal course of business with CROs for preclinical research studies and clinical trials, research supplies and other
services and products for operating purposes. We have also entered into multi-year agreements with manufacturing partners in the United States
and Europe (Brammer Bio, now part of Thermo Fisher Scientific, Inc., Novasep, now part of Thermo Fisher Scientific, Inc., and SAFC Carlsbad, Inc.,
or SAFC, a subsidiary of MilliporeSigma), which are partnering with us on production of lentiviral vector across all of our programs. In addition, we
have entered into multi-year agreements with Lonza Houston, Inc. and apceth Biopharma, or apceth, to produce drug product for Lenti-D,
LentiGlobin and bb21217. Currently, SAFC is the sole manufacturer of the lentiviral vector and apceth is the sole manufacturer of the drug product
to support commercialization of ZYNTEGLO in Europe for the treatment of TDT. In our manufacturing agreement with SAFC, we are required to
provide rolling forecasts for products on a quarterly basis, a portion of which will be considered a binding, firm order, subject to a purchase
commitment. In our manufacturing agreement with apceth, we reserve production capacity for the manufacture of our drug product. BMS
manufactures drug product for ide-cel. Our total non-cancelable contractual obligations arising from these manufacturing agreements is $96.5
million, with $83.9 million of these obligations due within the next twelve months. We believe our team of technical personnel has extensive
manufacturing, analytical and quality experience as well as strong project management discipline to effectively oversee these contract
manufacturing and testing activities, and to compile manufacturing and quality information for our regulatory submissions and potential commercial
launch. We are engaging with apheresis and infusion centers, which we refer to as qualified treatment centers, that will be the centers for collection
of HSCs from the patient and for infusion of drug product to the patient. For the treatment of patients with our drug product in the commercial
setting, we are entering into agreements with participating qualified treatment centers in the jurisdictions where we plan to commercialize our
products. These contracts generally provide for termination on notice. Wherever contracts include stipulated commitment payments, we have
included such payments in the table of contractual obligations and commitments.



                                                                          93
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 298 of 426 PageID #: 3271

Table of Contents




Off-Balance Sheet Arrangements

As of December 31, 2020, we did not have any off-balance sheet arrangements as defined in the rules and regulations of the SEC.



                                                                       94
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 299 of 426 PageID #: 3272

Table of Contents




Item 7A. Quantitative and Qualitative Disclosures About Market Risks

We are exposed to market risk related to changes in interest rates. As of December 31, 2020 and 2019, we had cash, cash equivalents and marketable
securities of $1.27 billion and $1.24 billion, respectively, primarily invested in U.S. Treasury securities, U.S. government agency securities, equity
securities, corporate bonds, commercial paper and money market accounts. Our primary exposure to market risk is interest rate sensitivity, which is
affected by changes in the general level of U.S. interest rates, particularly because our investments are in short-term securities. Our available for
sale securities are subject to interest rate risk and will fall in value if market interest rates increase. If market interest rates were to increase
immediately and uniformly by 100 basis points, or one percentage point, from levels at December 31, 2020, the net fair value of our interest-sensitive
marketable securities would have resulted in a hypothetical decline of $4.4 million.

Item 8. Financial Statements and Supplementary Data
The financial statements required to be filed pursuant to this Item 8 are appended to this report. An index of those financial statements is found in
Item 15.

Item 9. Changes in and Disagreements with Accountants on Accounting and Financial Disclosure
None.


Item 9A. Controls and Procedures

Evaluation of Disclosure Controls and Procedures
Our management, with the participation of our principal executive officer and principal financial officer, has evaluated the effectiveness of our
disclosure controls and procedures (as defined in Rules 13(a)- 15(e) and 15(d)- 15(e) under the Securities Exchange Act of 1934, as amended (the
“Exchange Act”)), as of the end of the period covered by this Annual Report on Form 10-K. Based on such evaluation, our principal executive
officer and principal financial officer have concluded that as of such date, our disclosure controls and procedures were effective.

Management’s Annual Report on Internal Control Over Financial Reporting
Our management is responsible for establishing and maintaining adequate internal control over financial reporting. Internal control over financial
reporting is defined in Rules 13(a)-15(f) and 15(d)-15(f) promulgated under the Exchange Act as a process designed by, or under the supervision of,
our principal executive and principal financial officers and effected by our board of directors, management and other personnel, to provide
reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
with generally accepted accounting principles and includes those policies and procedures that:

•Pertain to the maintenance of records that in reasonable detail accurately and fairly reflect the transactions and dispositions of our assets;

•Provide reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in accordance with
generally accepted accounting principles, and that our receipts and expenditures are being made only in accordance with authorizations of our
management and directors; and

•Provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use or disposition of our assets that could
have a material effect on the financial statements.

Under the supervision and with the participation of management, including our principal executive and financial officers, we assessed our internal
control over financial reporting as of December 31, 2020, based on criteria for effective internal control over financial reporting established in
Internal Control - Integrated Framework (2013), issued by the Committee of Sponsoring Organizations of the Treadway Commission (COSO). Our
management’s assessment of the effectiveness of our internal control over financial reporting included testing and evaluating the design and
operating effectiveness of our internal controls. In our management’s opinion, we have maintained effective internal control over financial reporting
as of December 31, 2020, based on criteria established in the COSO 2013 framework.

The effectiveness of our internal control over financial reporting as of December 31, 2020 has been audited by Ernst & Young LLP, an independent
registered public accounting firm, as stated in their report which is included herein.



                                                                          95
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 300 of 426 PageID #: 3273

Table of Contents




Inherent Limitations of Internal Controls
Our management, including our Chief Executive Officer and Chief Financial Officer, does not expect that our disclosure controls and procedures or
our internal controls will prevent all errors and all fraud. A control system, no matter how well conceived and operated, can provide only
reasonable, not absolute, assurance that the objectives of the control system are met. Because of the inherent limitations in all control systems, no
evaluation of controls can provide absolute assurance that all control issues and instances of fraud, if any, within our company have been
detected. These inherent limitations include the realities that judgments in decision-making can be faulty, and that breakdowns can occur because
of a simple error or mistake. Additionally, controls can be circumvented by the individual acts of some persons, by collusion of two or more people,
or by management override of the control. The design of any system of controls also is based in part upon certain assumptions about the likelihood
of future events, and there can be no assurance that any design will succeed in achieving its stated goals under all potential future conditions.
Over time, controls may become inadequate because of changes in conditions, or the degree of compliance with the policies or procedures may
deteriorate. Projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of
changes in conditions, or that the degree of compliance with the policies or procedures may deteriorate. Because of the inherent limitations in a
cost-effective control system, misstatements due to error or fraud may occur and not be detected.

Changes in Internal Control over Financial Reporting
There have been no changes in our internal control over financial reporting, as such term is defined in Rules 13(a)-15(f) and 15(d)-15(f) promulgated
under the Securities Exchange Act of 1934, during the fourth quarter of 2020 that have materially affected, or are reasonably likely to materially
affect, our internal control over financial reporting.



                                                                         96
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 301 of 426 PageID #: 3274

Table of Contents




                                              Report of Independent Registered Public Accounting Firm
To the Stockholders and the Board of Directors of bluebird bio, Inc.
Opinion on Internal Control over Financial Reporting
We have audited bluebird bio, Inc.’s internal control over financial reporting as of December 31, 2020, based on criteria established in Internal
Control-Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission (2013 framework) (the COSO
criteria). In our opinion, bluebird bio, Inc. (the Company) maintained, in all material respects, effective internal control over financial reporting as of
December 31, 2020, based on the COSO criteria.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB), the
consolidated balance sheets of the Company as of December 31, 2020 and 2019, the related consolidated statements of operations and
comprehensive loss, stockholders’ equity and cash flows for each of the three years in the period ended December 31, 2020, and the related notes
and our report dated February 23, 2021 expressed an unqualified opinion thereon.


Basis for Opinion
The Company’s management is responsible for maintaining effective internal control over financial reporting and for its assessment of the
effectiveness of internal control over financial reporting included in the accompanying Management’s Annual Report on Internal Control Over
Financial Reporting. Our responsibility is to express an opinion on the Company’s internal control over financial reporting based on our audit. We
are a public accounting firm registered with the PCAOB and are required to be independent with respect to the Company in accordance with the
U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.

We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to obtain
reasonable assurance about whether effective internal control over financial reporting was maintained in all material respects.

Our audit included obtaining an understanding of internal control over financial reporting, assessing the risk that a material weakness exists, testing
and evaluating the design and operating effectiveness of internal control based on the assessed risk, and performing such other procedures as we
considered necessary in the circumstances. We believe that our audit provides a reasonable basis for our opinion.


Definition and Limitations of Internal Control Over Financial Reporting
A company’s internal control over financial reporting is a process designed to provide reasonable assurance regarding the reliability of financial
reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting principles. A
company’s internal control over financial reporting includes those policies and procedures that (1) pertain to the maintenance of records that, in
reasonable detail, accurately and fairly reflect the transactions and dispositions of the assets of the company; (2) provide reasonable assurance
that transactions are recorded as necessary to permit preparation of financial statements in accordance with generally accepted accounting
principles, and that receipts and expenditures of the company are being made only in accordance with authorizations of management and directors
of the company; and (3) provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or disposition of
the company’s assets that could have a material effect on the financial statements.

Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also, projections of any
evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of changes in conditions, or that
the degree of compliance with the policies or procedures may deteriorate.

/s/ Ernst & Young LLP

Boston, Massachusetts
February 23, 2021



                                                                             97
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 302 of 426 PageID #: 3275

Table of Contents




Item 9B. Other Information
Our policy governing transactions in our securities by our directors, officers, and employees permits our officers, directors and certain other
persons to enter into trading plans complying with Rule 10b5-1 under the Securities Exchange Act of 1934, as amended. We have been advised that
certain of our officers (including Jason Cole (Chief Operating and Legal Officer) and David Davidson (Chief Medical Officer)) have entered into
trading plans covering periods after the date of this annual report on Form 10-K in accordance with Rule 10b5-1 and our policy governing
transactions in our securities. Generally, under these trading plans, the individual relinquishes control over the transactions once the trading plan is
put into place. Accordingly, sales under these plans may occur at any time, including possibly before, simultaneously with, or immediately after
significant events involving our company. We do not undertake to report Rule 10b5-1 trading plans that may be adopted by any officers or
directors in the future, or to report any modifications or termination of any publicly announced trading plan, except to the extent required by law.



                                                                          98
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 303 of 426 PageID #: 3276

Table of Contents



                                                                    PART III


Item 10. Directors, Executive Officers and Corporate Governance
Incorporated by reference from the information in our Proxy Statement for our 2021 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.


Item 11. Executive Compensation
Incorporated by reference from the information in our Proxy Statement for our 2021 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.


Item 12. Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters
Incorporated by reference from the information in our Proxy Statement for our 2021 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.

Item 13. Certain Relationships and Related Transactions and Director Independence
Incorporated by reference from the information in our Proxy Statement for our 2021 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.


Item 14. Principal Accountant Fees and Services
Incorporated by reference from the information in our Proxy Statement for our 2021 Annual Meeting of Stockholders, which we will file with the SEC
within 120 days of the end of the fiscal year to which this Annual Report on Form 10-K relates.



                                                                       99
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 304 of 426 PageID #: 3277

Table of Contents




                                                                      PART IV

Item 15. Exhibits and Financial Statement Schedules
(a)(1) Financial Statements.

The response to this portion of Item 15 is set forth under Item 8 above.
(a)(2) Financial Statement Schedules.

All schedules have been omitted because they are not required or because the required information is given in the Consolidated Financial
Statements or Notes thereto set forth under Item 8 above.
(a)(3) Exhibits.

See the Exhibit Index immediately before the signature page of this Annual Report on Form 10-K. The exhibits listed in the Exhibit Index are filed or
incorporated by reference as part of this Annual Report on Form 10-K.


Item 16. Form 10-K Summary
Not applicable.



                                                                           100
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 305 of 426 PageID #: 3278

Table of Contents



                                                              bluebird bio, Inc.

                                                  Index to Consolidated Financial Statements
                                                                                               Pages

Report of Independent Registered Public Accounting Firm                                                 F-2

Consolidated Balance Sheets                                                                             F-6

Consolidated Statements of Operations and Comprehensive Loss                                            F-7

Consolidated Statements of Stockholders’ Equity                                                         F-8

Consolidated Statements of Cash Flows                                                                   F-9

Notes to Consolidated Financial Statements                                                             F-10




                                                                     F-1
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 306 of 426 PageID #: 3279

Table of Contents




                                            Report of Independent Registered Public Accounting Firm
To the Stockholders and the Board of Directors of bluebird bio, Inc.

Opinion on the Financial Statements
We have audited the accompanying consolidated balance sheets of bluebird bio, Inc. (the Company) as of December 31, 2020 and 2019, the related
consolidated statements of operations and comprehensive loss, stockholders’ equity and cash flows for each of the three years in the period ended
December 31, 2020, and the related notes (collectively referred to as the “consolidated financial statements”). In our opinion, the consolidated
financial statements present fairly, in all material respects, the financial position of the Company at December 31, 2020 and 2019, and the results of
its operations and its cash flows for each of the three years in the period ended December 31, 2020, in conformity with U.S. generally accepted
accounting principles.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB), the
Company's internal control over financial reporting as of December 31, 2020, based on criteria established in Internal Control-Integrated Framework
issued by the Committee of Sponsoring Organizations of the Treadway Commission (2013 framework) and our report dated February 23, 2021
expressed an unqualified opinion thereon.


Adoption of ASU No. 2016-02
As discussed in Note 2 to the consolidated financial statements, the Company changed its method of accounting for leases in 2019 due to the
adoption of Accounting Standards Update (ASU) No. 2016-02, Leases (Topic 842), and the related amendments.

Basis for Opinion
These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion on the Company’s
financial statements based on our audits. We are a public accounting firm registered with the PCAOB and are required to be independent with
respect to the Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange
Commission and the PCAOB.

We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to obtain
reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud. Our audits included
performing procedures to assess the risks of material misstatement of the financial statements, whether due to error or fraud, and performing
procedures that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and disclosures in
the financial statements. Our audits also included evaluating the accounting principles used and significant estimates made by management, as well
as evaluating the overall presentation of the financial statements. We believe that our audits provide a reasonable basis for our opinion.

Critical Audit Matters
The critical audit matters communicated below are matters arising from the current period audit of the financial statements that were communicated
or required to be communicated to the audit committee and that: (1) relate to accounts or disclosures that are material to the financial statements
and (2) involved our especially challenging, subjective or complex judgments. The communication of critical audit matters does not alter in any way
our opinion on the consolidated financial statements, taken as a whole, and we are not, by communicating the critical audit matters below, providing
separate opinions on the critical audit matters or on the accounts or disclosures to which they relate.




                                                                         F-2
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 307 of 426 PageID #: 3280

Table of Contents




                     Amendment to the Bristol-Myers Squibb Collaboration Agreement
Description of the   As discussed in Note 11 to the consolidated financial statements, the Company and Bristol-Myers Squibb (BMS) entered
Matter               into the First Amendment to the Amended and Restated Co-Development, Co-Promote and Profit Share Agreement for
                     Idecabtagene vicleucel (ide-cel) and the Second Amended and Restated License Agreement for bb21217 (collectively with
                     the First Amendment to the Amended and Restated Co-Development, Co-Promote and Profit Share Agreement for
                     Idecabtagene vicleucel, the “Amendments”). The Amendments reduced the scope of the Company's ongoing performance
                     obligations for vector manufacturing services through development for both ide-cel and bb21217 and resolved the
                     uncertainty associated with certain previously constrained variable consideration included in the prior agreements. The
                     Company allocated the $200.0 million up-front payment received in connection with the Amendments to the remaining
                     performance obligations pursuant to the variable consideration allocation exception.

                     Auditing management’s application of the contract modification guidance under ASC 606, Revenue from contracts with
                     customers to the Amendments was especially challenging due to the complicated contractual terms of the prior agreements
                     and the Amendments and the information necessary to determine the nature and extent of changes to previously identified
                     performance obligations was obtained from multiple sources. In addition, auditing management’s evaluation that the up-
                     front payment received in connection with the Amendments (i) related specifically to the Company's satisfaction of each of
                     its remaining performance obligations and (ii) was representative of the amount of consideration the Company expected to
                     be entitled to in exchange for satisfying the respective performance obligations, and thus was subject to the variable
                     consideration allocation exception, required significant judgment.
How We Addressed     We obtained an understanding, evaluated the design and tested the operating effectiveness of internal controls that
the Matter in Our    addressed the information used in and the identified risks related to the Company’s process for accounting for amendments
Audit                to its collaboration agreements.

                     To test the Company’s application of the contract modification guidance under ASC 606 to the Amendments and assess the
                     application of the variable consideration allocation exception, our procedures included, among others, inspecting the
                     Amendments, obtaining information from the Company’s personnel that oversee the collaboration activities and participated
                     in the negotiations of the Amendments, understanding the nature of and basis for determining the up-front consideration
                     received in connection with the Amendments and inspecting the associated model used to determine the amount of
                     consideration to be received, and evaluating the application of the variable consideration allocation exception based on the
                     nature of the previously constrained variable consideration and the performance obligations remaining to be satisfied.




                                                                      F-3
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 308 of 426 PageID #: 3281

Table of Contents




                     Bristol-Myers Squibb Ide-cel Co-Development, Co-Promote and Profit Share Agreement
Description of the   As discussed in Notes 2 and 11 to the consolidated financial statements, the Company recognizes amounts received
Matter               pursuant to collaboration arrangements in which both parties are active participants in the activities and exposed to
                     significant risks and rewards dependent on the commercial success of those activities as collaborative arrangement revenue,
                     with an offset for amounts owed to the collaboration partner. Where amounts owed to a collaboration partner exceed the
                     Company’s collaborative arrangement revenue from the collaboration partner in a quarterly period, such amounts are
                     classified as research and development expense. The process of recognizing collaborative arrangement revenue (expense)
                     for the BMS Ide-cel Co-Development, Co-Promote and Profit Share Agreement includes the identification of costs incurred
                     by the Company that relate to the collaboration arrangement, evaluating the nature of such costs, and applying the terms of
                     the collaborative arrangement to determine the portion of such costs that are the responsibility of BMS. The process also
                     includes an assessment of the costs incurred and reported by BMS, as well as the determination of the appropriate financial
                     statement presentation in each quarterly reporting period. The Company recorded collaborative arrangement revenue for the
                     BMS Ide-cel Co-Development, Co-Promote and Profit Share Agreement of $108.2 million, net of collaborative partner
                     amounts, and collaborative arrangement expense (included as a component of research and development expense) of $41.6
                     million, net of collaborative arrangement revenue, for the year ended December 31, 2020.

                     Auditing collaborative arrangement revenue (expense) for the BMS Ide-cel Co-Development, Co-Promote and Profit Share
                     Agreement is especially complex due to the fact that the contractual terms of the arrangement are complicated, the
                     information necessary to determine collaborative arrangement revenue (expense) is accumulated from multiple sources and,
                     in certain circumstances, the determination of (i) whether amounts incurred are eligible to be included in the determination of
                     collaborative arrangement revenue (expense) or (ii) the portion of costs incurred that are the responsibility of BMS requires
                     judgment.
How We Addressed     We obtained an understanding, evaluated the design and tested the operating effectiveness of internal controls that
the Matter in Our    addressed the information used in and the identified risks related to the Company’s process for recording collaborative
Audit                arrangement revenue (expense) for the BMS Ide-cel Co-Development, Co-Promote and Profit Share Agreement.

                     To test the Company’s collaborative arrangement revenue (expense) for the BMS Ide-cel Co-Development, Co-Promote and
                     Profit Share Agreement, our procedures included, among others, inspecting the Company’s collaboration agreement,
                     comparing the Company’s computations of collaborative arrangement revenue (expense) to the contractual terms of its
                     collaboration arrangement, testing the accuracy and completeness of the underlying data used in the computation of
                     collaborative arrangement revenue (expense), and evaluating the costs included in the computation of collaborative
                     arrangement revenue (expense) based on the nature of the costs and the relevant contractual terms. We also obtained
                     information directly from the Company’s collaboration partner regarding the costs incurred by the collaboration partner
                     during the period and agreed those amounts to the Company’s computation of collaborative arrangement revenue (expense)
                     for the BMS Ide-cel Co-Development, Co-Promote and Profit Share Agreement.
                     Accrued Clinical and Contract Research Organization Costs and Manufacturing Costs
Description of the   As discussed in Notes 2 and 7 to the consolidated financial statements, the Company records costs for clinical trial
Matter               activities and manufacturing activities based upon estimates of costs incurred through the balance sheet date that have yet
                     to be invoiced by the contract research organizations, clinical study sites, laboratories, consultants, contract manufacturing
                     organizations or other vendors. The Company's accruals for clinical and contract research organization costs and
                     manufacturing costs totaled $46.3 million at December 31, 2020.

                     Auditing the Company’s accruals for clinical and contract research organization costs and manufacturing costs is especially
                     complex due to the fact that information necessary to estimate the accruals is accumulated from multiple sources. In
                     addition, in certain circumstances, the determination of the nature and level of services that have been received during the
                     reporting period requires judgment because the timing and pattern of vendor invoicing does not correspond to the level of
                     services provided and there may be delays in invoicing from clinical study sites and other vendors.




                                                                       F-4
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 309 of 426 PageID #: 3282

Table of Contents




How We Addressed        We obtained an understanding, evaluated the design and tested the operating effectiveness of internal controls that
the Matter in Our       addressed the information used in and the identified risks related to the Company’s process for recording accrued clinical
Audit                   and contract research organization costs and manufacturing costs.

                        To test the completeness and valuation of the accruals for clinical and contract research organization costs and
                        manufacturing costs, we performed audit procedures that included, among others, reading certain contracts with contract
                        research organizations, contract manufacturing organizations, and clinical study sites to evaluate financial and certain other
                        contractual terms, and testing the accuracy and completeness of the underlying data used in the accrual computations. We
                        also compared the progress of clinical trials and the progress of manufacturing completed through the balance sheet date
                        with information provided by the Company’s operations personnel that oversee the clinical trials and manufacturing
                        activities. Additionally, we obtained information directly from certain clinical study sites and contract manufacturing
                        organizations which indicated the progress of clinical trials and the progress of manufacturing completed through the
                        balance sheet date and compared that to the Company’s accrual computations.




/s/ Ernst & Young LLP

We have served as the Company’s auditor since 2012.
Boston, Massachusetts
February 23, 2021



                                                                         F-5
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 310 of 426 PageID #: 3283

Table of Contents



                                                                bluebird bio, Inc.

                                                           Consolidated Balance Sheets
                                                     (in thousands, except per share amounts)
                                                                                                                As of December 31,
                                                                                                              2020             2019
Assets
Current assets:
   Cash and cash equivalents                                                                              $      317,705 $        327,214
   Marketable securities                                                                                         833,546          779,246
   Prepaid expenses                                                                                               37,472           32,888
   Receivables and other current assets                                                                           26,814           12,826
      Total current assets                                                                                     1,215,537        1,152,174
Marketable securities                                                                                            122,891          131,506
Property, plant and equipment, net                                                                               162,831          151,176
Intangible assets, net                                                                                            10,041           14,326
Goodwill                                                                                                          13,128           13,128
Operating lease right-of-use assets                                                                              184,019          185,885
Restricted cash and other non-current assets                                                                      72,805           79,229
      Total assets                                                                                        $    1,781,252 $      1,727,424
Liabilities and Stockholders' Equity
Current liabilities:
   Accounts payable                                                                                       $       21,602 $        42,995
   Accrued expenses and other current liabilities                                                                145,406         141,556
   Operating lease liability, current portion                                                                     25,024          20,175
   Deferred revenue, current portion                                                                               2,320           8,474
   Collaboration research advancement, current portion                                                             9,236          10,380
      Total current liabilities                                                                                  203,588         223,580
Deferred revenue, net of current portion                                                                          25,762           9,791
Collaboration research advancement, net of current portion                                                        21,581          27,834
Operating lease liability, net of current portion                                                                167,997         170,812
Other non-current liabilities                                                                                      7,268          10,414
      Total liabilities                                                                                   $      426,196 $       442,431
Commitments and contingencies Note 9
Stockholders' equity:
Preferred stock, $0.01 par value, 5,000 shares authorized; 0 shares issued and
outstanding at December 31, 2020 and December 31, 2019                                                    $            - $               -
Common stock, $0.01 par value, 125,000 shares authorized; 66,432 and 55,368 shares
issued and outstanding at December 31, 2020 and December 31, 2019, respectively                                        665             554
   Additional paid-in capital                                                                                   4,260,443       3,568,184
   Accumulated other comprehensive loss                                                                            (5,505)         (1,893)
   Accumulated deficit                                                                                        (2,900,547)     (2,281,852)
      Total stockholders' equity                                                                                1,355,056       1,284,993
      Total liabilities and stockholders' equity                                                          $     1,781,252 $     1,727,424

                                           See accompanying notes to consolidated financial statements.



                                                                       F-6
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 311 of 426 PageID #: 3284

Table of Contents



                                                              bluebird bio, Inc.
                                        Consolidated Statements of Operations and Comprehensive Loss
                                                   (in thousands, except per share amounts)
                                                                                                        Year ended December 31,
                                                                                              2020               2019             2018
Revenue:
   Service revenue                                                                      $        114,064 $           30,729 $        44,533
   Collaborative arrangement revenue                                                             115,594              5,740           7,820
   Royalty and other revenue                                                                      21,076              8,205           2,226
      Total revenues                                                                             250,734             44,674          54,579
Operating expenses:
   Research and development                                                                      587,956            582,413          448,589
   Selling, general and administrative                                                           286,896            271,362          174,129
   Cost of royalty and other revenue                                                                5,396             2,978              885
   Change in fair value of contingent consideration                                               (6,468)             2,747            2,999
      Total operating expenses                                                                   873,780            859,500          626,602
      Loss from operations                                                                     (623,046)          (814,826)        (572,023)
Interest income, net                                                                               11,539            34,761           14,624
Other (expense) income, net                                                                       (6,502)          (10,088)            1,961
      Loss before income taxes                                                                 (618,009)          (790,153)        (555,438)
Income tax (expense) benefit                                                                        (686)               545            (187)
      Net loss                                                                          $      (618,695) $        (789,608) $      (555,625)
Net loss per share - basic and diluted                                                  $            (9.95) $       (14.31) $        (10.68)
Weighted-average number of common shares used in computing net loss per
share - basic and diluted                                                                         62,178             55,191          52,032
Other comprehensive (loss) income:
Other comprehensive (loss) income, net of tax benefit (expense) of
$0.0 million, $(1.2) million and $(0.4) million for the years ended
December 31, 2020, 2019 and 2018, respectively                                                   (3,612)              1,734              578
      Total other comprehensive (loss) income                                                    (3,612)              1,734              578
Comprehensive loss                                                                      $      (622,307) $        (787,874) $      (555,047)

                                         See accompanying notes to consolidated financial statements.



                                                                     F-7
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 312 of 426 PageID #: 3285

Table of Contents



                                                                bluebird bio, Inc.
                                            Consolidated Statements of Stockholders’ Equity
                                                            (in thousands)
                                                      Common stock                                       Accumulated
                                                                                     Additional             other                                  Total
                                                                                      paid-in           comprehensive       Accumulated       stockholders'
                                             Shares              Amount               capital                loss              deficit            equity
Balances at December 31, 2017                    49,406 $                 494 $        2,540,951 $             (4,205) $       (913,808) $        1,623,432
Adjustment to beginning
accumulated deficit from adoption
of ASU 2014-09                                           -                   -                      -                   -        (29,375)           (29,375)
  Vesting of restricted stock units                    152                   2                    (2)                   -               -                  -
Issuance of common stock upon
public offering, net of issuance
costs of $34,588                                  4,169                   42             649,326                        -                 -         649,368
  Issuance of common stock to
  Regeneron                                            420                   4             54,480                       -                 -           54,484
  Exercise of stock options                            575                   5             29,763                       -                 -           29,768
  Purchase of common stock under
  ESPP                                               16                     -              1,604                     -                  -             1,604
  Stock-based compensation                            -                     -            110,836                     -                  -           110,836
  Other comprehensive income                          -                     -                  -                   578                  -               578
  Net loss                                            -                     -                  -                     -          (555,625)         (555,625)
Balances at December 31, 2018                    54,738 $                 547 $        3,386,958 $             (3,627) $      (1,498,808) $       1,885,070
Adjustment to beginning
accumulated deficit from adoption
of ASU 2016-02                                           -                   -                   -                      -           6,564              6,564
 Vesting of restricted stock units                     251                   3                 (3)                      -               -                  -
 Exercise of stock options                             354                   4             17,834                       -               -             17,838
 Purchase of common stock under
 ESPP                                                25                     -              2,766                     -                  -             2,766
 Stock-based compensation                             -                     -            160,629                     -                  -           160,629
 Other comprehensive income                           -                     -                  -                 1,734                  -             1,734
 Net loss                                             -                     -                  -                     -          (789,608)         (789,608)
Balances at December 31, 2019                    55,368 $                 554 $        3,568,184 $             (1,893) $      (2,281,852) $       1,284,993
Issuance of common stock upon
public offering, net of issuance
costs of $33,645                                 10,455                   105            541,431                        -                 -         541,536
  Vesting of restricted stock units                 434                     4                 (4)                       -                 -               -
  Exercise of stock options                          95                     1              1,846                        -                 -           1,847
  Purchase of common stock under
  ESPP                                               80                     1              3,774                     -                  -              3,775
  Stock-based compensation                            -                     -            145,212                     -                  -           145,212
  Other comprehensive loss                            -                     -                  -               (3,612)                  -            (3,612)
  Net loss                                            -                     -                  -                     -          (618,695)         (618,695)
Balances at December 31, 2020                    66,432 $                 665 $        4,260,443 $             (5,505) $      (2,900,547) $       1,355,056

                                      See accompanying notes to consolidated financial statements.



                                                                       F-8
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 313 of 426 PageID #: 3286

Table of Contents



                                                                            bluebird bio, Inc.

                                                               Consolidated Statements of Cash Flows
                                                                           (in thousands)
                                                                                                                Year ended December 31,
                                                                                                       2020              2019              2018
Cash flows from operating activities:
  Net loss                                                                                        $     (618,695)    $    (789,608)    $    (555,625)
Adjustments to reconcile net loss to net cash used in operating
activities:
        Change in fair value of contingent consideration                                                   (6,468)             2,747             2,999
        Depreciation and amortization                                                                       19,356            17,434            17,158
        Stock-based compensation expense                                                                  156,631           160,629           110,836
        Unrealized loss (gain) on equity securities                                                          7,217             9,297           (2,154)
        Other non-cash items                                                                                   458          (11,000)           (5,880)
   Changes in operating assets and liabilities:
        Prepaid expenses and other assets                                                                (10,089)          (13,913)          (24,288)
        Operating lease right-of-use assets                                                                21,281            22,496                 -
        Accounts payable                                                                                 (20,100)            23,600             3,614
        Accrued expenses and other liabilities                                                            (4,982)            46,291            37,832
        Operating lease liabilities                                                                      (17,380)           (9,944)                 -
        Deferred revenue                                                                                    9,817          (16,674)          (41,872)
        Collaboration research advancement                                                                (7,397)           (5,739)            43,954
         Net cash used in operating activities                                                          (470,351)         (564,384)         (413,426)
Cash flows from investing activities:
Purchase of property, plant and equipment                                                                 (28,986)         (71,028)           (55,737)
  Purchases of marketable securities                                                                   (1,003,525)        (756,570)        (1,517,982)
  Sales of marketable securities                                                                            29,878                 -                 -
  Proceeds from maturities of marketable securities                                                        918,288        1,340,629            894,284
  Purchase of intangible assets                                                                                  -           (5,224)                 -
         Net cash provided by (used in) investing activities                                              (84,345)          507,807          (679,435)
Cash flows from financing activities:
  Reimbursement of assets under financing lease obligation                                                       -                -              3,098
  Payments on financing lease obligation                                                                         -                -            (1,017)
  Proceeds from public offering of common stock, net of issuance costs                                    541,536                 -           649,368
  Proceeds from exercise of stock options and ESPP contributions                                             5,179           21,187             31,759
  Proceeds from issuance of common stock to Regeneron                                                            -                -             54,484
         Net cash provided by financing activities                                                        546,715            21,187           737,692
Decrease in cash, cash equivalents and restricted cash                                                     (7,981)         (35,390)         (355,169)
Cash, cash equivalents and restricted cash at beginning of year                                           381,709           417,099           772,268
Cash, cash equivalents and restricted cash at end of year                                         $       373,728 $         381,709 $         417,099
Reconciliation of cash, cash equivalents and restricted cash:
Cash and cash equivalents                                                                         $       317,705    $      327,214    $      402,579
Restricted cash included in receivables and other current assets                                  $         1,500    $            -    $          364
Restricted cash included in restricted cash and other non-current assets                          $        54,523    $       54,495    $       14,156
        Total cash, cash equivalents and restricted cash                                          $       373,728    $      381,709    $      417,099
Supplemental cash flow disclosures:
Purchases of property, plant and equipment included in accounts
payable and accrued expenses                                                                      $         2,854    $        5,286    $        7,449
 Right-of-use assets obtained in exchange for operating lease liabilities                         $        19,414    $       23,939    $            -
 Cash paid during the period for interest                                                         $             -    $            -    $       15,494
 Cash paid during the period for income taxes                                                     $           361    $          637    $          358

                                                 See accompanying notes to consolidated financial statements.



                                                                                   F-9
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 314 of 426 PageID #: 3287

Table of Contents



                                                                  bluebird bio, Inc.

                                                    Notes to Consolidated Financial Statements
                                              For the Years Ended December 31, 2020, 2019 and 2018

1. Description of the business
bluebird bio, Inc. (the “Company” or “bluebird”) was incorporated in Delaware on April 16, 1992, and is headquartered in Cambridge,
Massachusetts. The Company is a biotechnology company committed to researching, developing and commercializing potentially transformative
gene therapies for severe genetic diseases and cancer. Since its inception, the Company has devoted substantially all of its resources to its
research and development efforts relating to its product candidates, including activities to manufacture product candidates, conduct clinical
studies of its product candidates, perform preclinical research to identify new product candidates and provide selling, general and administrative
support for these operations, including commercial-readiness activities.

The Company’s programs in severe genetic diseases include betibeglogene autotemcel (beti-cel; formerly LentiGlobin for β-thalassemia gene
therapy) as a treatment for transfusion-dependent β-thalassemia, or TDT; its LentiGlobin® product candidate as a treatment for sickle cell disease,
or SCD; and elivaldogene autotemcel (eli-cel; formerly Lenti-D gene therapy) as a treatment for cerebral adrenoleukodystrophy, or CALD. The
Company’s programs in oncology are focused on developing novel T cell-based immunotherapies, including chimeric antigen receptor (CAR) and T
cell receptor (TCR) T cell therapies. Idecabtagene vicleucel, or ide-cel, and bb21217 are product candidates in oncology under the Company’s
collaboration arrangement with Bristol-Myers Squibb ("BMS"). ide-cel and bb21217 are CAR T cell product candidates for the treatment of multiple
myeloma. Please refer to Note 11, Collaborative arrangements, for further discussion of the Company’s collaboration with BMS.

In June 2019, the Company received conditional marketing authorization from the European Commission for beti-cel as a treatment of patients 12
years and older with TDT who do not have a β0 /β0 genotype, for whom hematopoietic stem cell (HSC) transplantation is appropriate but a human
leukocyte-matched related HSC donor is not available. beti-cel is being marketed as ZYNTEGLO™ in the European Union. Since receiving
conditional marketing authorization for ZYNTEGLO, the Company has continued to advance its commercial readiness activities. Through December
31, 2020, the Company had not generated any revenue from product sales. In February 2021 the Company temporarily suspended marketing of
ZYNTEGLO in light of safety events in the HGB-206 study of LentiGlobin gene therapy for SCD which is manufactured using the same vector as
ZYNTEGLO. Additionally, the European Medicines Agency, or EMA, has paused the renewal procedure for ZYNTEGLO's conditional marketing
authorization while the EMA's pharmacovigilance risk assessment committee reviews the risk-benefit assessment for ZYNTEGLO and determines
whether any additional pharmacovigilance measures are necessary.

In January 2021, the Company announced its intent to separate its severe genetic disease and oncology programs into two separate, independent
publicly traded companies, bluebird bio, Inc. and a new company, referred to as Oncology NewCo in these consolidated financial statements.
bluebird bio, Inc. intends to retain focus on its severe genetic disease programs and Oncology NewCo is expected to focus on the Company's
oncology programs. The transaction is expected to be completed in late 2021 and is anticipated to be tax-free, subject to receipt of a favorable
Internal Revenue Service (“IRS”) ruling.

In accordance with Accounting Standards Codification (“ASC”) 205-40, Going Concern, the Company evaluated whether there are conditions and
events, considered in the aggregate, that raise substantial doubt about its ability to continue as a going concern within one year after the date that
the consolidated financial statements are issued. The Company has incurred losses since inception and to date has financed its operations
primarily through the sale of equity securities and, to a lesser extent, through collaboration agreements and grants from governmental agencies and
charitable foundations. As of December 31, 2020, the Company had an accumulated deficit of $2.90 billion. During the year ended December 31,
2020, the Company incurred a loss of $618.7 million and used $470.4 million of cash in operations. The Company expects to continue to generate
operating losses and negative operating cash flows for the next few years and will need additional funding to support its planned operating
activities through profitability. The transition to profitability is dependent upon the successful development, approval, and commercialization of the
Company’s products and product candidates and the achievement of a level of revenues adequate to support its cost structure.

As of December 31, 2020, the Company had cash, cash equivalents and marketable securities of $1.27 billion. The Company expects its cash, cash
equivalents and marketable securities will be sufficient to fund current planned operations for at least the next twelve months from the date of
issuance of these financial statements, though it may pursue additional cash resources through public or private equity or debt financings or by
establishing additional collaborations with other companies. Management's expectations with respect to its ability to fund current planned
operations is based on estimates that are subject to



                                                                        F-10
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 315 of 426 PageID #: 3288

Table of Contents




risks and uncertainties. If actual results are different from management's estimates, the Company may need to seek additional strategic or financing
opportunities sooner than would otherwise be expected. However, there is no guarantee that any of these strategic or financing opportunities will
be executed or executed on favorable terms, and some could be dilutive to existing stockholders. If the Company is unable to obtain additional
funding on a timely basis, it may be forced to significantly curtail, delay, or discontinue one or more of its planned research or development
programs or be unable to expand its operations or otherwise capitalize on its commercialization of its product and product candidates.


2. Summary of significant accounting policies and basis of presentation

Basis of presentation
The accompanying consolidated financial statements have been prepared by the Company in accordance with accounting principles generally
accepted in the United States (“GAAP”) as found in the ASC and Accounting Standards Updates (“ASUs”) of the Financial Accounting Standards
Board (“FASB”). Any reference in these notes to applicable guidance is meant to refer to the authoritative United States GAAP as found in the
ASC and ASUs of the FASB.

Certain items in the prior year’s consolidated financial statements have been reclassified to conform to the current presentation. No subtotals in the
prior year consolidated financial statements were impacted by these reclassifications.

Amounts reported are computed based on thousands, except percentages, per share amounts or as otherwise noted. As a result, certain totals may
not sum due to rounding.

Principles of consolidation
The accompanying consolidated financial statements include the accounts of the Company and its wholly-owned subsidiaries. All intercompany
balances and transactions have been eliminated in consolidation.

The Company continually assesses whether it is the primary beneficiary of a variable interest entity as changes to existing relationships or future
transactions may result in consolidation or deconsolidation of one or more collaborators or partners. In determining whether it is the primary
beneficiary of an entity in which the Company has a variable interest, management applies a qualitative approach that determines whether the
Company has both (1) the power to direct the economically significant activities of the entity and (2) the obligation to absorb losses of, or the right
to receive benefits from, the entity that could potentially be significant to that entity.

Use of estimates
The preparation of financial statements in conformity with GAAP requires management to make estimates and assumptions that affect the reported
amounts in the financial statements and accompanying notes. Actual results could materially differ from those estimates. Management considers
many factors in selecting appropriate financial accounting policies and controls, and in developing the estimates and assumptions that are used in
the preparation of these financial statements. Management must apply significant judgment in this process. In addition, other factors may affect
estimates, including: expected business and operational changes, sensitivity and volatility associated with the assumptions used in developing
estimates, and whether historical trends are expected to be representative of future trends. The estimation process often may yield a range of
potentially reasonable estimates of the ultimate future outcomes and management must select an amount that falls within that range of reasonable
estimates. This process may result in actual results differing materially from those estimated amounts used in the preparation of the financial
statements.

Estimates and judgments are used in the following areas, among others: future undiscounted cash flows and subsequent fair value estimates used
to assess potential and measure any impairment of long-lived assets, including goodwill and intangible assets, and the measurement of right-of-use
assets and lease liabilities, contingent consideration, stock-based compensation expense, accrued expenses, income taxes, and the assessment of
the Company's ability to fund its operations for at least the next twelve months from the date of issuance of these financial statements. In addition,
estimates and judgments are used in the Company’s accounting for its revenue-generating arrangements, in particular as it relates to determining
the standalone selling price of performance obligations, evaluating whether an option to acquire additional goods and services represents a
material right, estimating the total transaction price, including estimating variable consideration and the probability of achieving future potential
development and regulatory milestones, assessing the period of performance over which revenue may be recognized, and accounting for
modifications to revenue-generating arrangements.



                                                                         F-11
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 316 of 426 PageID #: 3289

Table of Contents




Foreign currency translation
The financial statements of the Company’s subsidiaries with functional currencies other than the U.S. dollar are translated into U.S. dollars using
period-end exchange rates for assets and liabilities, historical exchange rates for stockholders’ equity and weighted average exchange rates for
operating results. Translation gains and losses are included in accumulated other comprehensive income (loss) in stockholders’ equity. Foreign
currency transaction gains and losses are included in other income (expense), net in the results of operations.

Segment information
The Company operates in a single segment, focusing on researching, developing and commercializing potentially transformative gene therapies for
severe genetic diseases and cancer. Consistent with its operational structure, its chief operating decision maker manages and allocates resources at
a global, consolidated level. Therefore, results of the Company's operations are reported on a consolidated basis for purposes of segment
reporting. All material long-lived assets of the Company reside in the United States.

Cash and cash equivalents
The Company considers all highly liquid investments purchased with original final maturities of 90 days or less from the date of purchase to be
cash equivalents. Cash equivalents comprise marketable securities with maturities of less than 90 days when purchased. Cash equivalents are
reported at fair value.

Marketable securities
The Company classifies marketable securities with a remaining maturity when purchased of greater than three months as available-for-sale.
Marketable securities with a remaining maturity date greater than one year are classified as non-current assets. The Company’s marketable
securities are maintained by investment managers and consist of U.S. government agency securities and treasuries, equity securities, corporate
bonds, and commercial paper. Debt securities are carried at fair value with the unrealized gains and losses included in other comprehensive income
(loss) as a component of stockholders’ equity until realized. Any premium arising at purchase is amortized to the earliest call date and any discount
arising at purchase is accreted to maturity. Amortization and accretion of premiums and discounts are recorded in interest income, net. Equity
securities with readily determinable fair values are also carried at fair value with unrealized gains and losses included in other (expense) income, net.
Realized gains and losses on both debt and equity securities are determined using the specific identification method and are included in other
(expense) income, net.

The Company classifies equity securities with readily determinable fair values, which would be available for use in its current operations, as current
assets even though the Company may not dispose of such marketable securities within the next 12 months. Equity securities are included in the
balance of marketable securities on the Company's consolidated balance sheet.

Effective January 1, 2020, the Company adopted ASU 2016-13, Financial Instruments - Credit Losses (Topic 326): Measurement of Credit Losses
on Financial Statements (“ASU 2016-13” or “ASC 326”), using the effective date method. As the Company had never recorded any other-than-
temporary-impairment adjustments to its available-for-sale debt securities prior to the effective date, no transition provisions are applicable to the
Company.

The Company assesses its available-for-sale debt securities under the available-for-sale debt security impairment model in ASC 326 as of each
reporting date in order to determine if a portion of any decline in fair value below carrying value recognized on its available-for-sale debt securities
is the result of a credit loss. The Company records credit losses in the consolidated statements of operations and comprehensive loss as credit loss
expense within other (expense) income, net, which is limited to the difference between the fair value and the amortized cost of the security. To date,
the Company has not recorded any credit losses on its available-for-sale debt securities.

Accrued interest receivable related to the Company's available-for-sale debt securities is presented within receivables and other current assets on
the Company's consolidated balance sheets. The Company has elected the practical expedient available to exclude accrued interest receivable from
both the fair value and the amortized cost basis of available-for-sale debt securities for the purposes of identifying and measuring any impairment.
The Company writes off accrued interest receivable once it has determined that the asset is not realizable. Any write offs of accrued interest
receivable are recorded by reversing interest income, recognizing credit loss expense, or a combination of both. To date, the Company has not
written off any accrued interest receivables associated with its marketable securities.



                                                                          F-12
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 317 of 426 PageID #: 3290

Table of Contents




Concentrations of credit risk and off-balance sheet risk
Financial instruments that subject the Company to credit risk primarily consist of cash and cash equivalents and available-for-sale securities. The
Company maintains its cash and cash equivalent balances with high-quality financial institutions and, consequently, the Company believes that
such funds are subject to minimal credit risk. The Company’s marketable securities primarily consist of U.S. Treasury securities, U.S. government
agency securities, certificates of deposit, corporate bonds, and commercial paper, and potentially subject the Company to concentrations of credit
risk. The Company has adopted an investment policy that limits the amounts the Company may invest in any one type of investment and requires
all investments held by the Company to be at least AA+/Aa1 rated, thereby reducing credit risk exposure.

Fair value of financial instruments
The Company has certain financial assets and liabilities recorded at fair value which have been classified as Level 1, 2 or 3 within the fair value
hierarchy as described in the accounting standards for fair value measurements:

Level 1-Fair values are determined utilizing quoted prices (unadjusted) in active markets for identical assets or liabilities that the Company has the
ability to access at the measurement date.
Level 2-Fair values are determined utilizing quoted prices for identical or similar assets or liabilities in active markets or other market observable
inputs such as interest rates, yield curves and foreign currency spot rates.
Level 3-Prices or valuations that require inputs that are both significant to the fair value measurement and unobservable.

To the extent that valuation is based on models or inputs that are less observable or unobservable in the market, the determination of fair value
requires more judgment. Accordingly, the degree of judgment exercised by the Company in determining fair value is greatest for instruments
categorized in Level 3. A financial instrument’s level within the fair value hierarchy is based on the lowest level of any input that is significant to the
fair value measurement.

Items measured at fair value on a recurring basis include marketable securities (see Note 3, Marketable securities, and Note 4, Fair value
measurements) and contingent consideration (see Note 4, Fair value measurements). The carrying amounts of accounts payable and accrued
expenses approximate their fair values due to their short-term nature.

Business combinations
Business combinations are accounted for using the acquisition method of accounting. Using this method, the tangible and intangible assets
acquired and the liabilities assumed are recorded as of the acquisition date at their respective fair values. The Company evaluates a business as an
integrated set of activities and assets that is capable of being managed for the purpose of providing a return in the form of dividends, lower costs
or other economic benefits and consists of inputs and processes that provide or have the ability to provide outputs. In an acquisition of a
business, the excess of the fair value of the consideration transferred over the fair value of the net assets acquired is recorded as goodwill. In an
acquisition of net assets that does not constitute a business, no goodwill is recognized.

The consolidated financial statements include the results of operations of an acquired business after the completion of the acquisition. See Note 4,
Fair value measurements, for additional information.

Goodwill
Goodwill represents the excess of the purchase price over the fair value of the net assets acquired when accounted for using the acquisition
method of accounting for business combinations. Goodwill is not amortized but is evaluated for impairment within the Company’s single reporting
unit on an annual basis, during the fourth quarter, or more frequently if an event occurs or circumstances change that would more-likely-than-not
reduce the fair value of the Company’s reporting unit below its carrying amount. During the fourth quarter of 2019, the Company early adopted ASC
2017-04, Intangibles-Goodwill and Other (Topic 350): Simplifying the Test for Goodwill Impairment ("ASU 2017-04"), which removes the second
step of the goodwill impairment test. Under this ASU, the Company performs a one-step quantitative test and records the amount of goodwill
impairment, if any, as the excess of a reporting unit's carrying amount over its fair value, not to exceed the total amount of goodwill allocated to the
reporting unit. The Company has not recognized any impairment charges related to goodwill to date.



                                                                           F-13
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 318 of 426 PageID #: 3291

Table of Contents




Intangible assets, net
Intangible assets, net consist of acquired core technology and in-licensed rights with finite lives, net of accumulated amortization. The Company
amortizes its intangible assets using the straight-line method over their estimated economic lives and periodically reviews for impairment. The
Company has not recognized any impairment charges related to intangible assets to date.

Contingent consideration
Each reporting period, the Company revalues the contingent consideration obligations associated with business combinations to their fair value
and records within operating expenses increases in their fair value as contingent consideration expense and decreases in the fair value as
contingent consideration income. Changes in contingent consideration result from changes in the assumptions regarding probabilities of
successful achievement of related milestones, the estimated timing in which the milestones may be achieved, and the discount rate used to estimate
the fair value of the liability. Contingent consideration may change significantly as development of the Company’s programs in certain indications
progress and additional data are obtained, impacting the Company’s assumptions. The assumptions used in estimating fair value require significant
judgment. The use of different assumptions and judgments could result in a materially different estimate of fair value. See Note 4, Fair value
measurements, for additional information.

Property, plant and equipment
Property, plant and equipment is stated at cost. Maintenance and repairs that do not improve or extend the lives of the respective assets are
expensed to operations as incurred. Depreciation and amortization is calculated using the straight-line method over the estimated useful lives of the
assets, which are as follows:


Asset                                                                                                  Estimated useful life
Building                                                                                                     40 years
Computer equipment and software                                                                               3 years
Furniture and fixtures                                                                                       2-5 years
Laboratory equipment                                                                                         2-5 years
Leasehold improvements                                                                   Shorter of the useful life or remaining lease term

Prior to the adoption of ASU 2016-02, Leases (Topic 842) (“ASU 2016-02” or “ASC 842”), on January 1, 2019 (discussed further below), the
Company recorded certain costs incurred and reported by a landlord as a building asset and corresponding financing lease obligation on the
consolidated balance sheets. See Note 8, Leases, for additional information.

Impairment of long-lived assets
The Company reviews long-lived assets when events or changes in circumstances indicate the carrying value of the assets may not be recoverable.
Recoverability is measured by comparison of the book values of the assets to future net undiscounted cash flows that the assets are expected to
generate. If such assets are considered to be impaired, the impairment to be recognized is measured by the amount by which the book value of the
assets exceed their fair value, which is measured based on the projected discounted future net cash flows arising from the assets.

Leases
Effective January 1, 2019, the Company adopted ASC 842 using the required modified retrospective approach and utilizing the effective date as its
date of initial application. As a result, amounts for the year ended December 31, 2018 are presented in accordance with the previous guidance in
ASC 840, Leases (“ASC 840”).

At the inception of an arrangement, the Company determines whether the arrangement is or contains a lease based on the unique facts and
circumstances present in the arrangement. Leases with a term greater than one year are recognized on the balance sheet as right-of-use assets and
current and non-current lease liabilities, as applicable. The Company does not have material financing leases.

Operating lease liabilities and their corresponding right-of-use assets are initially recorded based on the present value of lease payments over the
expected remaining lease term. Certain adjustments to the right-of-use asset may be required for items



                                                                         F-14
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 319 of 426 PageID #: 3292

Table of Contents




such as incentives received. The interest rate implicit in lease contracts is typically not readily determinable. As a result, the Company utilizes its
incremental borrowing rate to discount lease payments, which reflects the fixed rate at which the Company could borrow on a collateralized basis
the amount of the lease payments in the same currency, for a similar term, in a similar economic environment. To estimate its incremental borrowing
rate, a credit rating applicable to the Company is estimated using a synthetic credit rating analysis since the Company does not currently have a
rating agency-based credit rating. Prospectively, the Company will adjust the right-of-use assets for straight-line rent expense or any incentives
received and remeasure the lease liability at the net present value using the same incremental borrowing rate that was in effect as of the lease
commencement or transition date.

The Company has elected not to recognize leases with an original term of one year or less on the balance sheet. The Company typically only
includes an initial lease term in its assessment of a lease arrangement. Options to renew a lease are not included in the Company’s assessment
unless there is reasonable certainty that the Company will renew.

Assumptions made by the Company at the commencement date are re-evaluated upon occurrence of certain events, including a lease modification.
A lease modification results in a separate contract when the modification grants the lessee an additional right of use not included in the original
lease and when lease payments increase commensurate with the standalone price for the additional right of use. When a lease modification results
in a separate contract, it is accounted for in the same manner as a new lease.

ASC 842 transition practical expedients and application of transition provisions to leases at the transition date

The Company elected the following practical expedients, which must be elected as a package and applied consistently to all of its leases at the
transition date (including those for which the entity is a lessee or a lessor): (i) the Company did not reassess whether any expired or existing
contracts are or contain leases; (ii) the Company did not reassess the lease classification for any expired or existing leases (that is, all existing leases
that were classified as operating leases in accordance with ASC 840 are classified as operating leases, and all existing leases that were classified as
capital leases in accordance with ASC 840 are classified as finance leases); and (iii) the Company did not reassess initial direct costs for any
existing leases.

For leases that existed prior to the date of initial application of ASC 842 (which were previously classified as operating leases), a lessee may elect to
use either the total lease term measured at lease inception under ASC 840 or the remaining lease term as of the date of initial application of ASC 842
in determining the period for which to measure its incremental borrowing rate. In transition to ASC 842, the Company utilized the remaining lease
term of its leases in determining the appropriate incremental borrowing rates.

Application of ASC 842 policy elections to leases post adoption

The Company has made certain policy elections to apply to its leases executed post adoption, or subsequent to January 1, 2019, as further
described below.

In accordance with ASC 842, components of a lease should be split into three categories: lease components, non-lease components, and non-
components. The fixed and in-substance fixed contract consideration (including any consideration related to non-components) must be allocated
based on the respective relative fair values to the lease components and non-lease components.

Entities may elect not to separate lease and non-lease components. Rather, entities would account for each lease component and related non-lease
component together as a single lease component. The Company has elected to account for lease and non-lease components together as a single
lease component for all underlying assets and allocate all of the contract consideration to the lease component only.

ASC 842 allows for the use of judgment in determining whether the assumed lease term is for a major part of the remaining economic life of the
underlying asset and whether the present value of lease payments represents substantially all of the fair value of the underlying asset. The
Company applies the bright line thresholds referenced in ASC 842-10-55-2 to assist in evaluating leases for appropriate classification. The
aforementioned bright lines are applied consistently to the Company’s entire portfolio of leases.



                                                                           F-15
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 320 of 426 PageID #: 3293

Table of Contents




Revenue recognition

Under ASC Topic 606, Revenue from Contracts with Customers (“Topic 606”), an entity recognizes revenue when its customer obtains control of
promised goods or services, in an amount that reflects the consideration that the entity expects to receive in exchange for those goods or services.
To determine revenue recognition for arrangements that an entity determines are within the scope of Topic 606, the entity performs the following
five steps: (i) identify the contract(s) with a customer; (ii) identify the performance obligations in the contract; (iii) determine the transaction price,
including variable consideration, if any; (iv) allocate the transaction price to the performance obligations in the contract; and (v) recognize revenue
when (or as) the entity satisfies a performance obligation. The Company only applies the five-step model to contracts when it is probable that the
entity will collect the consideration to which it is entitled in exchange for the goods or services it transfers to the customer.

Once a contract is determined to be within the scope of Topic 606, the Company assesses the goods or services promised within each contract and
determines those that are performance obligations. Arrangements that include rights to additional goods or services that are exercisable at a
customer’s discretion are generally considered options. The Company assesses if these options provide a material right to the customer and if so,
they are considered performance obligations. The identification of material rights requires judgments related to the determination of the value of the
underlying good or service relative to the option exercise price. The exercise of a material right is accounted for as a contract modification for
accounting purposes.

The Company assesses whether each promised good or service is distinct for the purpose of identifying the performance obligations in the
contract. This assessment involves subjective determinations and requires management to make judgments about the individual promised goods or
services and whether such are separable from the other aspects of the contractual relationship. Promised goods and services are considered
distinct provided that: (i) the customer can benefit from the good or service either on its own or together with other resources that are readily
available to the customer (that is, the good or service is capable of being distinct) and (ii) the entity’s promise to transfer the good or service to the
customer is separately identifiable from other promises in the contract (that is, the promise to transfer the good or service is distinct within the
context of the contract). In assessing whether a promised good or service is distinct, the Company considers factors such as the research,
manufacturing and commercialization capabilities of the collaboration partner and the availability of the associated expertise in the general
marketplace. The Company also considers the intended benefit of the contract in assessing whether a promised good or service is separately
identifiable from other promises in the contract. If a promised good or service is not distinct, an entity is required to combine that good or service
with other promised goods or services until it identifies a bundle of goods or services that is distinct.

The transaction price is then determined and allocated to the identified performance obligations in proportion to their standalone selling prices
(“SSP”) on a relative SSP basis. SSP is determined at contract inception and is not updated to reflect changes between contract inception and when
the performance obligations are satisfied. Determining the SSP for performance obligations requires significant judgment. In developing the SSP for
a performance obligation, the Company considers applicable market conditions and relevant entity-specific factors, including factors that were
contemplated in negotiating the agreement with the customer and estimated costs. The Company validates the SSP for performance obligations by
evaluating whether changes in the key assumptions used to determine the SSP will have a significant effect on the allocation of arrangement
consideration between multiple performance obligations.

If the consideration promised in a contract includes a variable amount, the Company estimates the amount of consideration to which it will be
entitled in exchange for transferring the promised goods or services to a customer. The Company determines the amount of variable consideration
by using the expected value method or the most likely amount method. The Company includes the unconstrained amount of estimated variable
consideration in the transaction price. The amount included in the transaction price is constrained to the amount for which it is probable that a
significant reversal of cumulative revenue recognized will not occur. At the end of each subsequent reporting period, the Company re-evaluates the
estimated variable consideration included in the transaction price and any related constraint, and if necessary, adjusts its estimate of the overall
transaction price. Any such adjustments are recorded on a cumulative catch-up basis in the period of adjustment.

If an arrangement includes development and regulatory milestone payments, the Company evaluates whether the milestones are considered
probable of being reached and estimates the amount to be included in the transaction price using the most likely amount method. If it is probable
that a significant revenue reversal would not occur, the associated milestone value is included in the transaction price. Milestone payments that are
not within the Company’s control or the licensee’s control, such as regulatory approvals, are generally not considered probable of being achieved
until those approvals are received.

For arrangements with licenses of intellectual property that include sales-based royalties, including milestone payments based on the level of sales,
and the license is deemed to be the predominant item to which the royalties relate, the Company



                                                                           F-16
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 321 of 426 PageID #: 3294

Table of Contents




recognizes royalty revenue and sales-based milestones at the later of (i) when the related sales occur, or (ii) when the performance obligation to
which the royalty has been allocated has been satisfied.

In determining the transaction price, the Company adjusts consideration for the effects of the time value of money if the timing of payments
provides the Company with a significant benefit of financing. The Company does not assess whether a contract has a significant financing
component if the expectation at contract inception is such that the period between payment by the licensees and the transfer of the promised
goods or services to the licensees will be one year or less. The Company assessed each of its revenue generating arrangements in order to
determine whether a significant financing component exists and concluded that a significant financing component does not exist in any of its
arrangements.

The Company then recognizes as revenue the amount of the transaction price that is allocated to the respective performance obligation when (or
as) each performance obligation is satisfied, either at a point in time or over time, and if over time recognition is based on the use of an output or
input method.

The Company recognizes revenue within the following financial statement captions:

Service revenue
To date, the Company’s service revenue has primarily been generated from the elements of its collaboration arrangement with BMS that are
accounted for pursuant to Topic 606, using the five-step model described above. As discussed further below, the Company analyzes its
collaboration arrangements to assess whether they are within the scope of ASC 808, Collaborative Arrangements (“ASC 808”) or Topic 606. For
the elements of a collaboration arrangement which are more reflective of a vendor-customer relationship and therefore within the scope of Topic
606, the Company records the related revenue as service revenue on the consolidated statement of operations and comprehensive loss. Refer below
for additional discussion around the Company’s policy for recognizing collaborative arrangement revenue and the determination of whether
elements of a collaboration arrangement are within the scope of ASC 808 or Topic 606.


Collaborative arrangement revenue
To date, the Company’s collaborative arrangement revenue has been generated from its collaboration arrangements with BMS and Regeneron
Pharmaceuticals, Inc. (“Regeneron”), as further described in Note 11, Collaborative arrangements.

The Company analyzes its collaboration arrangements to assess whether they are within the scope of ASC 808, which includes determining
whether such arrangements involve joint operating activities performed by parties that are both active participants in the activities and exposed to
significant risks and rewards dependent on the commercial success of such activities. This assessment is performed throughout the life of the
arrangement based on changes in the responsibilities of all parties in the arrangement. For collaboration arrangements within the scope of ASC 808
that contain multiple elements, the Company first determines which elements of the collaboration are deemed to be within the scope of ASC 808 and
those that are more reflective of a vendor-customer relationship and therefore within the scope of Topic 606 (refer above for further discussion of
the Company's policy for recognizing service revenue). For elements of collaboration arrangements that are accounted for pursuant to ASC 808, an
appropriate recognition method is determined and applied consistently, generally by analogy to Topic 606. Amounts that are owed to collaboration
partners are recognized as an offset to collaborative arrangement revenues as such amounts are incurred by the collaboration partner. Where
amounts owed to a collaboration partner exceed the Company’s collaborative arrangement revenues in each quarterly period, such amounts are
classified as research and development expense.

Prior to the adoption of ASU No. 2018-18, Collaborative Arrangements (Topic 808): Clarifying the Interaction between Topic 808 and Topic 606
(“ASU 2018-18”) on January 1, 2020, the Company presented all revenue recognized under its collaborative arrangements as collaboration revenue
on its consolidated statements of operations and comprehensive loss. However, as the Company recognizes revenue under its collaborative
arrangements both within and outside the scope of Topic 606, the Company has revised its presentation of revenue on its consolidated statements
of operations and comprehensive loss as follows: service revenue includes revenue from collaborative partners recognized within the scope of
Topic 606 and collaborative arrangement revenue includes revenue from collaborative partners recognized outside the scope of Topic 606. The
disaggregation of revenue recognized under Topic 606 and outside of Topic 606 had previously otherwise been disclosed in the notes to
consolidated financial statements.



                                                                          F-17
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 322 of 426 PageID #: 3295

Table of Contents




Royalty and other revenue
The Company enters into out-licensing agreements that are within the scope of Topic 606. The Company does not have any material license
arrangements that contain more than one performance obligation. The terms of such out-license agreements include the license of functional
intellectual property, given the functionality of the intellectual property is not expected to change substantially as a result of the licensor’s ongoing
activities, and typically include payment of one or more of the following: non-refundable up-front license fees; development and regulatory
milestone payments and milestone payments based on the level of sales; and royalties on net sales of licensed products. Nonrefundable up-front
license fees are recognized as revenue at a point in time when the licensed intellectual property is made available for the customer’s use and benefit,
which is generally at the inception of the arrangement. Development and regulatory milestone fees, which are a type of variable consideration, are
recognized as revenue to the extent that it is probable that a significant reversal will not occur. The Company recognizes royalty revenue and sales-
based milestones at the later of (i) when the related sales occur, or (ii) when the performance obligation to which the royalty has been allocated has
been satisfied.

For a complete discussion of accounting for collaboration and other revenue-generating arrangements, see Note 11, Collaborative arrangements,
and Note 12, Royalty and other revenue.

Research and development expenses
Research and development costs are charged to expense as costs are incurred in performing research and development activities, including salaries
and benefits, facilities costs, overhead costs, clinical study and related clinical manufacturing costs, license and milestone fees, contract services,
manufacturing costs for pre-launch inventory that did not qualify for capitalization, and other related costs. Up-front fees and milestones paid to
third parties in connection with technologies which have not reached technological feasibility and do not have an alternative future use are
expensed as research and development expense as incurred. In circumstances where amounts have been paid in excess of costs incurred, the
Company records a prepaid expense. The Company accrues costs for clinical trial activities based upon estimates of the services received and
related expenses incurred that have yet to be invoiced by the contract research organizations, clinical study sites, laboratories, consultants, or
other clinical trial vendors that perform the activities. Where amounts owed to a collaboration partner exceed the Company’s collaborative
arrangement revenues in each quarterly period, such amounts are classified as research and development expense.

Cost of royalty and other revenue
Cost of royalty and other revenue represents expense associated with amounts owed to third parties as a result of revenue recognized under the
Company’s out-license arrangements.

Stock-based compensation
The Company’s share-based compensation programs grant awards that have included stock options, restricted stock units, restricted stock awards,
and shares issued under its employee stock purchase plan. Grants are awarded to employees and non-employees, including the Company's board
of directors.

The Company accounts for its stock-based compensation awards in accordance with FASB ASC Topic 718, Compensation-Stock Compensation
(“ASC 718”). ASC 718 requires all stock-based payments, including grants of stock options and restricted stock units and modifications to existing
stock options, to be recognized in the consolidated statements of operations and comprehensive loss based on their fair values.

The Company’s stock-based awards are subject to either service or performance-based vesting conditions. Compensation expense related to
awards with service-based vesting conditions is recognized on a straight-line basis based on the grant date fair value over the associated service
period of the award, which is generally the vesting term. Compensation expense related to awards with performance-based vesting conditions is
recognized based on the grant date fair value over the requisite service period using the accelerated attribution method to the extent achievement of
the performance condition is probable.

The Company estimates the fair value of its option awards using the Black-Scholes option pricing model, which requires the input of subjective
assumptions, including (i) the expected stock price volatility, (ii) the calculation of expected term of the award, (iii) the risk-free interest rate, and (iv)
expected dividends. Effective January 1, 2020, the Company eliminated the use of a representative peer group and uses only its own historical
volatility data in its estimate of expected volatility given that there is now a sufficient amount of historical information regarding the volatility of its
own stock price. The Company has estimated the expected term of its employee stock options using the “simplified” method, whereby, the expected
term equals the



                                                                             F-18
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 323 of 426 PageID #: 3296

Table of Contents




arithmetic average of the vesting term and the original contractual term of the option due to its lack of sufficient historical data. The risk-free
interest rates for periods within the expected term of the option are based on the U.S. Treasury securities with a maturity date commensurate with
the expected term of the associated award. The Company has never paid, and does not expect to pay, dividends in the foreseeable future.

The Company accounts for forfeitures as they occur. Stock-based compensation expense recognized in the financial statements is based on awards
for which performance or service conditions are expected to be satisfied.

Prior to the adoption of ASU No. 2018-07 on July 1, 2018, Compensation - Stock Compensation (Topic 718): Improvements to Nonemployee Share-
Based Payment Accounting (“ASU 2018-07”), the measurement date for non-employee awards was generally the date the services are completed,
resulting in financial reporting period adjustments to stock-based compensation during the vesting terms for changes in the fair value of the
awards. After adoption of ASU 2018-07 on July 1, 2018, the measurement date for non-employee awards is the date of grant without changes in the
fair value of the award.

Interest income, net
Interest income, net consists primarily of interest income earned on investments, net of amortization of premium and accretion of discount. Interest
income was approximately $11.5 million, $34.8 million, and $30.1 million for the years ended December 31, 2020, 2019, and 2018, respectively. Interest
expense was $0.0 million, $0.0 million, and $15.5 million for the years ended December 31, 2020, 2019, and 2018, respectively. Please refer to Note 8,
Leases, for further discussion of interest expense incurred on the 60 Binney Street lease.

Other (expense) income, net
Other (expense) income, net consists primarily of gains and losses on equity securities held by the Company, gains and losses on disposal of
assets, and gains and losses on foreign currency.

Net loss per share
Basic net loss per share is calculated by dividing net loss attributable to common stockholders by the weighted average number of common shares
outstanding during the period. Diluted net income per share is calculated by dividing the net income attributable to common stockholders by the
weighted-average number of common equivalent shares outstanding for the period, including any dilutive effect from outstanding stock options,
unvested restricted stock, restricted stock units, and employee stock purchase plan stock using the treasury stock method. Given that the
Company recorded a net loss for each of the periods presented, there is no difference between basic and diluted net loss per share since the effect
of common stock equivalents would be anti-dilutive and are, therefore, excluded from the diluted net loss per share calculation.

The Company follows the two-class method when computing net loss per share in periods when issued shares that meet the definition of
participating securities are outstanding. The two-class method determines net loss per share for each class of common and participating securities
according to dividends declared or accumulated and participation rights in undistributed earnings. The two-class method requires income available
to common stockholders for the period to be allocated between common and participating securities based upon their respective rights to received
dividends as if all income for the period had been distributed. Accordingly, in periods in which the Company reports a net loss attributable to
common stockholders when participating securities are outstanding, losses are not allocated to the participating securities.

Income taxes
Income taxes are recorded in accordance with FASB ASC Topic 740, Income Taxes (“ASC 740”), which provides for deferred taxes using an asset
and liability approach. The Company recognizes deferred tax assets and liabilities for the expected future tax consequences of events that have
been included in the financial statements or tax returns. Deferred tax assets and liabilities are determined based on the difference between the
financial statement and tax bases of assets and liabilities using enacted tax rates in effect for the year in which the differences are expected to
reverse. Valuation allowances are provided, if based upon the weight of available evidence, it is more likely than not that some or all of the deferred
tax assets will not be realized.

The Company accounts for uncertain tax positions in accordance with the provisions of ASC 740. When uncertain tax positions exist, the Company
recognizes the tax benefit of tax positions to the extent that the benefit will more likely than not be realized. The determination as to whether the tax
benefit will more likely than not be realized is based upon the technical merits



                                                                          F-19
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 324 of 426 PageID #: 3297

Table of Contents




of the tax position as well as consideration of the available facts and circumstances. The Company accrues for potential interest and penalties
related to unrecognized tax benefits in income tax expense.

Comprehensive loss
Comprehensive loss is composed of net loss and other comprehensive income (loss). Other comprehensive income (loss) consists of unrealized
gains and losses on debt securities, foreign currency translation adjustments and other items.

Recent accounting pronouncements

ASU No. 2016-13, Financial Instruments - Credit Losses (Topic 326): Measurement of Credit Losses on Financial Statements, ASU No. 2019-5
Financial Instruments - Credit Losses (Topic 326): Targeted Transition Relief, ASU No. 2019-11, Codification Improvements to Topic 326,
Financial Instruments - Credit Losses
In June 2016, the FASB issued ASU 2016-13, Financial Instruments - Credit Losses (Topic 326): Measurement of Credit Losses on Financial
Statements. The new standard, as amended, requires that expected credit losses relating to financial assets measured on an amortized cost basis
and available-for-sale debt securities be recorded through an allowance for credit losses. It also limits the amount of credit losses to be recognized
for available-for-sale debt securities to the amount by which carrying value exceeds fair value and also requires the reversal of previously
recognized credit losses if fair value increases. The targeted transition relief standard allows filers an option to irrevocably elect the fair value
option of ASC 825-10, Financial Instruments-Overall, applied on an instrument-by-instrument basis for eligible instruments. The Company
adopted this standard on January 1, 2020 on a prospective basis and the adoption did not have a material impact on its financial position and
results of operations.


ASU No. 2018-13, Fair Value Measurement (Topic 820): Disclosure Framework - Changes to the Disclosure Requirements for Fair Value
Measurement
In August 2018, the FASB issued ASU 2018-13, Fair Value Measurement (Topic 820): Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement. The new standard removes certain disclosures, modifies certain disclosures, and adds additional
disclosures related to fair value measurement. The Company adopted this standard on January 1, 2020, and it did not have a material impact on its
financial position and results of operations upon adoption.

ASU No. 2018-15, Intangibles-Goodwill and Other - Internal-Use Software (Subtopic 350-40): Customer’s Accounting for Implementation Costs
Incurred in a Cloud Computing Arrangement That Is a Service Contract
In August 2018, the FASB issued ASU 2018-15, Intangibles-Goodwill and Other-Internal-Use Software (Subtopic 350-40): Customer’s
Accounting for Implementation Costs Incurred in a Cloud Computing Arrangement That Is a Service Contract. The amendments in this update
align the requirements for capitalizing implementation costs incurred in a hosting arrangement that is a service contract with the requirements for
capitalizing implementation costs incurred to develop or obtain internal-use software (and hosting arrangements that include an internal-use
software license). The accounting for the service element of a hosting arrangement that is a service contract is not affected by the amendments in
this update. The Company adopted this standard on a prospective basis as of January 1, 2020, and it did not have a material impact on its financial
position and results of operations upon adoption.

ASU No. 2018-18, Collaborative Arrangements (Topic 808): Clarifying the Interaction between Topic 808 and Topic 606
In November 2018, the FASB issued ASU 2018-18, Collaborative Arrangements (Topic 808): Clarifying the Interaction between Topic 808 and
Topic 606, (“ASU 2018-18”). The amendments in this update clarify that certain transactions between collaborative arrangement participants
should be accounted for as revenue under ASC 606, Revenue from Contracts with Customers (“Topic 606” or “ASC 606”) when the counter party is
a customer in the context of a unit of account. ASU 2018-18 also precludes companies from presenting transactions with collaborative partners that
are outside the scope of Topic 606 together with revenue within the scope of Topic 606. The Company adopted this standard on a retrospective
basis on January 1, 2020. As a result, revenue for prior periods are presented in accordance with the new standard.

Prior to the adoption of ASU 2018-18, the Company presented all revenue recognized under its collaborative arrangements as collaboration revenue
on its consolidated statements of operations and comprehensive loss. However, as the Company recognizes revenue under its collaborative
arrangements both within and outside the scope of Topic 606, the Company has revised its presentation of revenue on its consolidated statements
of operations and comprehensive loss as follows: service revenue includes revenue from collaborative partners recognized within the scope of
Topic 606 and collaborative arrangement revenue includes revenue from collaborative partners recognized outside the scope of Topic 606. The
disaggregation of revenue



                                                                         F-20
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 325 of 426 PageID #: 3298

Table of Contents




recognized under Topic 606 and outside of Topic 606 had previously otherwise been disclosed in the notes to consolidated financial statements.


ASU No. 2019-4, Codification Improvements to Topic 326, Financial Instruments - Credit Losses, Topic 815, Derivatives and Hedging, and Topic
825, Financial Instruments
In April 2019, the FASB issued ASU 2019-4, Codification Improvements to Topic 326, Financial Instruments - Credit Losses, Topic 815,
Derivatives and Hedging, and Topic 825, Financial Instruments. This update provides clarifications for three topics related to financial
instruments accounting, some of which apply to the Company. The Company adopted this standard on January 1, 2020 on a prospective basis, and
it did not have a material impact on its financial position and results of operations upon adoption.

Not yet adopted

ASU No. 2019-12, Income Taxes (Topic 740): Simplifying the Accounting for Income Taxes
In December 2019, the FASB issued ASU 2019-12, Income Taxes (Topic 740): Simplifying the Accounting for Income Taxes (“ASU 2019-12”), which
is intended to simplify the accounting for income taxes. ASU 2019-12 removes certain exceptions to the general principles in Topic 740 and also
clarifies and amends existing guidance to improve consistent application. The new standard will be effective beginning January 1, 2021. The
adoption of ASU 2019-12 is not expected to have a material impact on the Company's financial position or results of operations upon adoption.

ASU No. 2020-06, Debt-Debt with Conversion and Other Options (Subtopic 470-20) and Derivatives and Hedging-Contracts in Entity’s Own
Equity (Subtopic 815-40): Accounting for Convertible Instruments and Contracts in an Entity’s Own Equity
In August 2020, the FASB issued ASU 2020-06, Debt-Debt with Conversion and Other Options (Subtopic 470-20) and Derivatives and Hedging-
Contracts in Entity’s Own Equity (Subtopic 815-40): Accounting for Convertible Instruments and Contracts in an Entity’s Own Equity (“ASU
2020-06”). ASU 2020-06 simplifies the complexity associated with applying U.S. GAAP for certain financial instruments with characteristics of
liabilities and equity. More specifically, the amendments focus on the guidance for convertible instruments and derivative scope exception for
contracts in an entity's own equity. The Company will early adopt the new standard, effective January 1, 2021. The adoption of ASU 2020-06 is not
expected to have an impact on the Company's financial position or results of operations upon adoption.

ASU No. 2020-08, Codification Improvements to Subtopic 310-20, Receivables - Nonrefundable Fees and Other Costs
In October 2020, the FASB issued ASU 2020-08, Codification Improvements to Subtopic 310-20, Receivables - Nonrefundable Fees and Other
Costs (“ASU 2020-08”) to provide further clarification and update the previously issued guidance in ASU 2017-08, Receivables - Nonrefundable
Fees and Other Costs (Subtopic 310-20: Premium Amortization on Purchased Callable Debt Securities) (“ASU 2017-08”). ASU 2017-08
shortened the amortization period for certain callable debt securities purchased at a premium by requiring that the premium be amortized to the
earliest call date. ASU 2020-08 requires that at each reporting period, to the extent that the amortized cost of an individual callable debt security
exceeds the amount repayable by the issuer at the next call date, the excess premium shall be amortized to the next call date. The new standard will
be effective beginning January 1, 2021. The adoption of ASU 2020-08 is not expected to have a material impact on the Company's financial position
or results of operations upon adoption.


ASU No. 2020-10, Codification Improvements
In October 2020, the FASB issued ASU 2020-10, Codification Improvements ("ASU 2020-10"). The amendments in this ASU represent changes to
clarify the ASC, correct unintended application of the guidance, or make minor improvements to the ASC that are not expected to have a significant
effect on current accounting practice or create a significant administrative cost to most entities. This new standard will be effective beginning
January 1, 2021. The adoption of ASU 2020-10 is not expected to have a material impact on the Company's financial position or results of operations
upon adoption.

3. Marketable securities
The following table summarizes the marketable securities held at December 31, 2020 and 2019 (in thousands):



                                                                        F-21
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 326 of 426 PageID #: 3299

Table of Contents



                                                                                Amortized cost /    Unrealized       Unrealized
                                                                                     cost             gains            losses              Fair value
December 31, 2020
  U.S. government agency securities and treasuries                              $       675,043 $            302 $             (74) $           675,271
  Corporate bonds                                                                       197,171              432               (40)             197,563
  Commercial paper                                                                       77,949                1                  -              77,950
  Equity securities                                                                      20,017                -           (14,364)               5,653
   Total                                                                        $       970,180 $            735 $         (14,478) $           956,437
December 31, 2019
  U.S. government agency securities and treasuries                              $       633,970 $          2,014 $                (48) $        635,936
  Certificates of deposit                                                                   960                -                     -              960
  Corporate bonds                                                                       185,827              824                  (43)          186,608
  Commercial paper                                                                       74,378                -                     -           74,378
  Equity securities                                                                      20,017                -               (7,147)           12,870
    Total                                                                       $       915,152 $          2,838 $             (7,238) $        910,752

No available-for-sale debt securities held as of December 31, 2020 or 2019 had remaining maturities greater than five years.



                                                                         F-22
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 327 of 426 PageID #: 3300

Table of Contents




4. Fair value measurements
The following table sets forth the Company’s assets and liabilities that are measured at fair value on a recurring basis as of December 31, 2020 and
2019 (in thousands):
                                                                                                       Quoted           Significant
                                                                                                      prices in            other             Significant
                                                                                                        active          observable          unobservable
                                                                                                      markets             inputs               inputs
                                                                                    Total             (Level 1)          (Level 2)            (Level 3)
December 31, 2020
  Assets:
  Cash and cash equivalents                                                     $      317,705 $          317,705 $                   - $                  -
  Marketable securities:
U.S. government agency securities and treasuries                                       675,271                  -            675,271                       -
    Corporate bonds                                                                    197,563                  -            197,563                       -
    Commercial paper                                                                    77,950                  -             77,950                       -
    Equity securities                                                                    5,653              5,653                  -                       -
      Total assets                                                              $    1,274,142 $          323,358 $          950,784 $                     -
   Liabilities:
   Contingent consideration                                                     $           1,509 $               - $                 - $           1,509
     Total liabilities                                                          $           1,509 $               - $                 - $           1,509
December 31, 2019
  Assets:
  Cash and cash equivalents                                                     $      327,214 $           311,245 $           15,969 $                    -
  Marketable securities:
   U.S. government agency securities and treasuries                                    635,936                   -           635,936                       -
   Certificates of deposit                                                                 960                   -               960                       -
   Corporate bonds                                                                     186,608                   -           186,608                       -
   Commercial paper                                                                     74,378                   -            74,378
   Equity securities                                                                    12,870              12,870                  -                      -
      Total assets                                                              $    1,237,966 $           324,115 $         913,851 $                     -
   Liabilities:
   Contingent consideration                                                     $           7,977 $               - $                 - $           7,977
      Total liabilities                                                         $           7,977 $               - $                 - $           7,977


Cash and cash equivalents
The Company considers all highly liquid securities with original final maturities of 90 days or less from the date of purchase to be cash equivalents.
As of December 31, 2020, cash and cash equivalents comprise funds in cash and money market accounts. As of December 31, 2019, cash and cash
equivalents comprise funds in cash, money market accounts, and commercial paper.

Marketable securities
Marketable securities classified as Level 2 within the valuation hierarchy generally consist of certificates of deposit, U.S. government agency
securities and treasuries, corporate bonds, and commercial paper. The Company estimates the fair values of these marketable securities by taking
into consideration valuations obtained from third-party pricing sources. These pricing sources utilize industry standard valuation models, including
both income and market-based approaches, for which all significant inputs are observable, either directly or indirectly, to estimate fair value. These
inputs include market pricing based on real-time trade data for the same or similar securities, issuer credit spreads, benchmark yields, and other
observable inputs. The Company validates the prices provided by its third-party pricing sources by understanding the models used, obtaining
market values from other pricing sources and analyzing pricing data in certain instances.



                                                                         F-23
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 328 of 426 PageID #: 3301

Table of Contents




The amortized cost of available-for-sale debt securities is adjusted for amortization of premiums and accretion of discounts to the earliest call date
for premiums or to maturity for discounts. At December 31, 2020 and 2019, the balance in the Company’s accumulated other comprehensive loss
was composed primarily of activity related to the Company’s available-for-sale debt securities. There were no material realized gains or losses
recognized on the sale or maturity of available-for-sale securities during the year ended December 31, 2020 or 2019.

Accrued interest receivable on the Company's available-for-sale debt securities totaled $3.1 million and $3.6 million as of December 31, 2020 and
2019, respectively. No accrued interest receivable was written off during the twelve months ended December 31, 2020 or 2019.

The following table summarizes available-for-sale debt securities in a continuous unrealized loss position for less than and greater than twelve
months, and for which an allowance for credit losses has not been recorded at December 31, 2020 and 2019 (in thousands):

                                                       Less than 12 months                12 months or greater                         Total
                                                                    Unrealized                         Unrealized                              Unrealized
Description                                         Fair value        losses           Fair value        losses           Fair value             losses
December 31, 2020
  U.S. government agency securities
  and treasuries                                $       211,384 $             (74) $              - $               - $       211,384 $                (74)
  Corporate bonds                                        76,598               (40)            1,205                 -          77,803                  (40)
    Total                                       $       287,982 $            (114) $          1,205 $               - $       289,187 $               (114)
December 31, 2019
  U.S. government agency securities
  and treasuries                                $         13,234 $             (3) $        79,618 $            (45) $         92,852 $                (48)
  Corporate bonds                                         53,983              (43)               -                 -           53,983                  (43)
      Total                                     $         67,217 $            (46) $        79,618 $            (45) $        146,835 $                (91)

The Company determined that there was no material change in the credit risk of the above investments during the twelve months ended December
31, 2020. As such, an allowance for credit losses was not recognized. As of December 31, 2020, the Company does not intend to sell such securities
and it is not more likely than not that the Company will be required to sell the securities before recovery of their amortized cost bases.

The Company holds equity securities with an aggregate fair value of $5.7 million and $12.9 million at December 31, 2020 and 2019, respectively
within current marketable securities on its consolidated balance sheet. The Company recorded unrealized losses of $7.2 million and $9.3 million and
an unrealized gain of $2.2 million during the years ended December 31, 2020, 2019, and 2018 respectively, related to its equity securities, which are
included in other (expense) income, net on the consolidated statements of operations and comprehensive loss. In January 2021, the Company sold
a portion of its equity securities for proceeds of $31.3 million. The fair value of the remaining equity securities held as of the trade date is $7.3
million.

Contingent consideration
In connection with its prior acquisition of Precision Genome Engineering, Inc. (“Pregenen”), the Company may be required to pay future
consideration that is contingent upon the achievement of specified development, regulatory approvals or sales-based milestone events. Contingent
consideration is measured at fair value and is based on significant inputs not observable in the market, which represents a Level 3 measurement
within the fair value hierarchy. The valuation of contingent consideration uses assumptions the Company believes would be made by a market
participant. The Company assesses these estimates on an on-going basis as additional data impacting the assumptions is obtained. Future changes
in the fair value of contingent consideration related to updated assumptions and estimates are recognized within the consolidated statements of
operations and comprehensive loss. In the absence of new information related to the probability of milestone achievement, changes in fair value
will reflect changing discount rates and the passage of time. Contingent consideration is included in accrued expenses and other current liabilities
and other non-current liabilities on the consolidated balance sheets.

Please refer to Note 9, Commitments and contingencies, for further information.



                                                                          F-24
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 329 of 426 PageID #: 3302

Table of Contents




5. Property, plant and equipment, net
Property, plant and equipment, net, consists of the following (in thousands):
                                                                                                                         As of December 31,
                                                                                                                      2020               2019
Land                                                                                                           $             1,210 $              1,210
Building                                                                                                                    15,745               15,664
Computer equipment and software                                                                                              6,950                6,947
Office equipment                                                                                                             7,665                7,599
Laboratory equipment                                                                                                        55,521               44,560
Leasehold improvements                                                                                                      34,286               33,788
Construction-in-progress                                                                                                    92,514               77,981
Total property, plant and equipment                                                                                        213,891              187,749
Less accumulated depreciation and amortization                                                                            (51,060)             (36,573)
Property, plant and equipment, net                                                                             $           162,831 $            151,176

Depreciation and amortization expense related to property, plant and equipment was $15.1 million, $13.4 million, and $13.4 million for the years ended
December 31, 2020, 2019, and 2018, respectively.

North Carolina manufacturing facility
In November 2017, the Company acquired a manufacturing facility in Durham, North Carolina for the future manufacture of lentiviral vector for the
Company’s gene therapies. As of December 31, 2020, a portion of the facility has been placed into service and the remainder of the facility is still in
process of construction and qualification, which is required for the facility to be ready for its intended use. Construction-in-progress as of
December 31, 2020, and 2019, includes $91.1 million and $74.2 million, respectively, related to the North Carolina manufacturing facility.

6. Restricted cash
As of both December 31, 2020 and 2019, the Company maintained letters of credit of $54.5 million, which are collateralized with bank accounts at
financial institutions in accordance with the agreements. Total restricted cash as of December 31, 2020 and 2019 consisted of the following (in
thousands):
                                                                                                                         As of December 31,
                                                                                                                      2020               2019
60 Binney Street lease                                                                                         $            13,763 $             13,763
50 Binney Street sublease                                                                                                   40,072               40,072
Other                                                                                                                        2,188                  660
Total restricted cash                                                                                          $            56,023 $             54,495

Refer to Note 8, Leases, for further information on the Company's letters of credit.

7. Accrued expenses and other current liabilities
Accrued expenses and other current liabilities consist of the following (in thousands):



                                                                          F-25
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 330 of 426 PageID #: 3303

Table of Contents



                                                                                                                          As of December 31,
                                                                                                                       2020               2019
Employee compensation                                                                                           $           55,802 $             44,679
Manufacturing costs                                                                                                         22,571               23,126
Clinical and contract research organization costs                                                                           23,766               16,799
Collaboration research costs                                                                                                20,004               27,142
Property, plant, and equipment                                                                                                 789                2,354
License and milestone fees                                                                                                     278                  300
Professional fees                                                                                                            1,541                1,827
Other                                                                                                                       20,655               25,329
Total accrued expenses and other current liabilities                                                            $          145,406 $            141,556


8. Leases
The Company leases certain office and laboratory space. Additionally, the Company has embedded leases at contract manufacturing organizations.

60 Binney Street lease
In September, 2015, the Company entered into a lease agreement for office and laboratory space located in a building (the “Building”) at 60 Binney
Street, Cambridge, Massachusetts (the “60 Binney Street Lease”), which is now the Company’s corporate headquarters. Under the terms of the 60
Binney Street Lease, starting on October 1, 2016, the Company leases approximately 253,108 square feet of office and laboratory space at $72.50 per
square foot per year, or $18.4 million per year in base rent, which is subject to scheduled annual rent increases of 1.75% plus certain operating
expenses and taxes. The Company currently maintains a $13.8 million collateralized letter of credit and, subject to the terms of the lease and certain
reduction requirements specified therein, including market capitalization requirements, this amount may decrease to $9.2 million over time. The $13.8
million of cash collateralizing the letter of credit is classified as restricted cash and other non-current assets on the Company's consolidated balance
sheets. Pursuant to a work letter entered into in connection with the 60 Binney Street Lease, the landlord contributed an aggregate of $42.4 million
toward the cost of construction and tenant improvements for the Building.

The Company occupied the Building beginning on March 27, 2017 and the 60 Binney Street Lease will continue until March 31, 2027. The Company
has the option to extend the 60 Binney Street Lease for two successive five-year terms. In applying the ASC 842 transition guidance, the Company
classified this lease as an operating lease and recorded a right-of-use asset and lease liability on the effective date. The Company is recognizing
rent expense on a straight-line basis throughout the remaining term of the lease.

50 Binney Street sublease
In April 2019, the Company entered into a sublease agreement for office space located at 50 Binney Street in Cambridge, Massachusetts (the “50
Binney Street Sublease”) to supplement the Company’s corporate headquarters located at 60 Binney Street in Cambridge, Massachusetts. Under
the terms of the 50 Binney Street Sublease, the Company will lease 267,278 square feet of office space for $99.95 per square foot, or $26.7 million per
year in base rent subject to certain operating expenses, taxes and annual rent increases of approximately 3%. The lease will commence when the
space is available for use by the Company, which is anticipated to be in the first half of 2022, which reflects the sublessor's exercise of its option to
postpone the commencement date of the sublease, and end on December 31, 2030, unless other conditions specified in the 50 Binney Street
Sublease occur. Upon signing the 50 Binney Street Sublease, the Company executed a $40.1 million cash-collateralized letter of credit, which may be
reduced in the future subject to the terms of the 50 Binney Street Sublease and certain reduction requirements specified therein. The $40.1 million of
cash collateralizing the letter of credit is classified as restricted cash and other non-current assets on the Company’s consolidated balance sheets.
Payments will commence at the earlier of (i) the date which is 90 days following the commencement date and (ii) the date the Company takes
occupancy of all or any portion of the premises. In connection with the execution of the 50 Binney Street Sublease, the Company also entered into a
Purchase Agreement for furniture and equipment (the “Furniture Purchase Agreement”) located on the premises upon lease commencement. Upon
execution of the Furniture Purchase Agreement, the Company made an upfront payment of $7.5 million, all of which was recorded within restricted
cash and other non-current assets on the Company’s consolidated balance sheets as



                                                                          F-26
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 331 of 426 PageID #: 3304

Table of Contents




of December 31, 2020. The Company will assess the lease classification of the 50 Binney Street Sublease and commence recognition of the
associated rent expense upon lease commencement.

Seattle, Washington leases
In July 2018, the Company entered into a lease agreement for office and laboratory space located in a portion of a building in Seattle, Washington.
The lease was amended in October 2018 to increase the total rentable space to approximately 36,126 square feet at $54.00 per square foot in base
rent per year, which is subject to scheduled annual rent increases of 2.5% plus certain operating expenses and taxes. The lease commenced on
January 1, 2019 and the lease term will continue through January 31, 2027 ("the Initial Term"). The Company moved into the facility in June 2019.
The Company determined the classification of this lease to be an operating lease and recorded a right-of-use asset and lease liability at lease
commencement.

In September 2019, the Company entered into a second amendment to the lease (the “Second Amendment”). The Second Amendment added
approximately 22,188 square feet to the existing space and extended the lease term of the entire premises by 16 months, or until April 2028. Fixed
monthly rent for the expanded space will be incurred at a rate of $62.80 per square foot per year beginning in January 2021, subject to annual
increases of 2.5%. The Second Amendment includes a five-year option to extend the term.

Upon the execution of the Second Amendment, which was deemed to be a lease modification, the Company re-evaluated the assumptions made at
the original lease commencement date. The Company determined the Second Amendment consists of two separate contracts under ASC 842. One
contract is related to a new right-of-use for the expanded 22,188 square feet of space, which is to be accounted for as a new lease, and the other is
related to the modification of term for the original 36,126 square feet of space. The Company recorded an additional right-of-use asset and lease
liability upon lease commencement of the expanded space. In September 2020, the Company entered into a sublease agreement for the 22,188 square
feet added under the Second Amendment at a fixed monthly rent of $62.80 per square foot per year beginning in January 2021, subject to annual
increases of 2.5%. The sublease term will continue through April 2028. The Company is recognizing rent expense on a straight-line basis through
the remaining extended term of the respective leases. The head lease and the sublease will be accounted for as two separate contracts with the
income from the sublease presented separately from the lease expense on the head lease.

Embedded leases
In June 2016, the Company entered into a manufacturing agreement for the future commercial production of the Company’s beti-cel and eli-cel drug
products with a contract manufacturing organization. Under this 12-year agreement, the contract manufacturing organization will complete the
design, construction, validation and process validation of the leased suites prior to anticipated commercial launch of the product candidates.
During construction, the Company paid $12.0 million upon the achievement of certain contractual milestones. Construction was completed in
March 2018 and beginning in April 2018, the Company pays $5.1 million per year, subject to annual inflationary adjustments, in fixed suite fees, as
well as certain fixed labor, raw materials, testing and shipping costs for manufacturing services. The Company may terminate this agreement at any
time upon payment of a one-time termination fee and up to 24 months of fixed suite and labor fees. The Company concluded in prior periods that
this agreement contained an embedded lease as the suites are designated for the Company’s exclusive use during the term of the agreement. The
Company recorded a right-of-use asset and lease liability for this operating lease on the effective date of ASC 842 and is recognizing rent expense
on a straight-line basis throughout the remaining term of the embedded lease.

In November 2016, the Company entered into an agreement for clinical and commercial production of the Company’s ZYNTEGLO, LentiGlobin for
SCD, and eli-cel drug products with a contract manufacturing organization at an existing facility. The Company concluded that this agreement
contains an embedded operating lease as the clean rooms are designated for the Company’s exclusive use during the term of the agreement. The
term of the agreement is five years with subsequent three-year renewals at the mutual option of each party. As a result, the Company recorded a
right-of-use asset and lease liability for this operating lease on the effective date of ASC 842, and is recognizing rent expense on a straight-line
basis throughout the estimated remaining term of the embedded lease. In March 2020, the Company amended its agreement with the contract
manufacturing organization, resulting in a lease modification. Under the terms of the amended arrangement, the Company may be required to pay
annual maintenance and production fees of up to €16.5 million, depending on its production needs, and may terminate this agreement with twelve
months’ notice and a one-time termination fee. The amendment also provides for an option to reserve an additional clean room for a one-time option
fee plus annual maintenance fees. As a result, the Company increased the right-of-use asset and lease liability related to this embedded operating
lease during the first quarter of 2020.

In July 2020, the Company entered into an agreement reserving manufacturing capacity with a contract manufacturing organization. The Company
concluded that this agreement contains an embedded lease as a controlled environment room at the



                                                                         F-27
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 332 of 426 PageID #: 3305

Table of Contents




facility is designated for the Company's exclusive use during the term of the agreement, with the option to sublease the space if the Company
provides notice that it will not utilize it for a specified duration of time. Under the terms of the agreement, the Company will be required to pay up to
$5.4 million per year in maintenance fees in addition to the cost of any services provided and may terminate this agreement with eighteen months'
notice. The term of the agreement is five years, with the option to extend, and is expected to commence in the first half of 2021. The Company
intends to assess the lease classification of the embedded lease and commence recognition of the associated rent expense upon lease
commencement.

Summary of all lease costs recognized under ASC 842
The following table contains a summary of the lease costs recognized under ASC 842 and other information pertaining to the Company’s operating
leases for the years ended December 31, 2020 and 2019 (in thousands):

                                                                                                                              For the year ended December 31,
                                                                                                                                 2020                    2019
Lease cost (1)
Operating lease cost                                                                                                    $            35,049     $            35,346
Total lease cost                                                                                                        $            35,049     $            35,346


Other information
Operating cash flows used for operating leases                                                                          $             32,097   $             31,026
Weighted average remaining lease term                                                                                                6.4 years              7.4 years
Weighted average discount rate                                                                                                          6.35%                  6.70%

(1)   Short-term lease costs and variable lease costs incurred by the Company for the twelve months ended December 31, 2020 and 2019 were immaterial.

Rent expense is calculated on a straight-line basis over the term of the lease. Rent expense recognized under all leases, including additional charges
for utilities, parking, maintenance, and real estate taxes, was $47.7 million, $45.3 million, and $9.8 million for the years ended December 31, 2020, 2019
and 2018, respectively. Note that the Company adopted ASC 842 effective January 1, 2019 using the required modified retrospective approach and
utilizing the effective date as its date of initial application. Therefore, amounts disclosed pertaining to the year ended December 31, 2018 are
presented under previous accounting guidance and are therefore not comparable to the amounts recorded during the years ended December 31,
2020 and 2019 under ASC 842.

As of December 31, 2020, future minimum commitments under ASC 842 under the Company’s operating leases were as follows (in thousands):

                                                                                                                                                         As of
Maturity of lease liabilities                                                                                                                       December 31, 2020
2021                                                                                                                                                $          36,430
2022                                                                                                                                                           36,899
2023                                                                                                                                                           37,387
2024                                                                                                                                                           37,398
2025                                                                                                                                                           32,082
2026 and thereafter                                                                                                                                            56,095
Total lease payments                                                                                                                                          236,291
Less: imputed interest                                                                                                                                       (43,270)
Total operating lease liabilities                                                                                                                   $         193,021


The above table excludes legally binding minimum lease payments for leases executed but not yet commenced as of December 31, 2020.



                                                                                   F-28
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 333 of 426 PageID #: 3306

Table of Contents




9. Commitments and contingencies
Lease commitments
The Company leases certain office and laboratory space and has embedded leases at contract manufacturing organizations. Refer to Note 8, Leases,
for further information on the terms of these lease agreements.

Contingent consideration related to business combinations
On June 30, 2014, the Company acquired Pregenen. The Company may be required to make up to an additional $120.0 million in remaining future
contingent cash payments to the former equityholders of Pregenen upon the achievement of certain clinical and commercial milestones related to
the Pregenen technology, of which $20.1 million relates to clinical milestones and $99.9 million relates to commercial milestones. In accordance with
accounting guidance for business combinations, contingent consideration liabilities are required to be recognized on the consolidated balance
sheets at fair value. Estimating the fair value of contingent consideration requires the use of significant assumptions primarily relating to
probabilities of successful achievement of certain clinical and commercial milestones, the expected timing in which these milestones will be
achieved and discount rates. The use of different assumptions could result in materially different estimates of fair value.

Other funding commitments
The Company is party to various agreements, principally relating to licensed technology, that require future payments relating to milestones that
may be met in subsequent periods or royalties on future sales of specified products, which includes the collaboration agreement entered into with
Regeneron in August 2018. Please refer to Note 11, Collaborative arrangements, for further information on the collaboration agreement with
Regeneron.

Additionally, the Company is party to various contracts with contract research organizations and contract manufacturers that generally provide for
termination on notice, with the exact amounts in the event of termination to be based on the timing of the termination and the terms of the
agreement.

Based on our development plans as of December 31, 2020, the Company may be obligated to make future development, regulatory and commercial
milestone payments and royalty payments on future sales of specified products associated with the Company's collaboration and license
agreements. Payments under these agreements generally become due and payable upon achievement of such milestones or sales. When the
achievement of these milestones or sales have not occurred, such contingencies are not recorded in the Company’s financial statements. As further
discussed in Note 11, Collaborative arrangements, BMS assumed responsibility for amounts due to licensors as a result of any future ex-U.S. sales
of ide-cel and bb21217.

The Company has various manufacturing development and license agreements to support clinical and commercial product needs. The following
table presents non-cancelable contractual obligations arising from these arrangements:


                                                                                                                                         Purchase
Years ended December 31,                                                                                                               commitment
2021                                                                                                                               $           83,885
2022                                                                                                                                           12,611
2023                                                                                                                                                -
2024                                                                                                                                                -
2025                                                                                                                                                -
2026 and thereafter                                                                                                                                 -
Total purchase commitments                                                                                                         $           96,496


Litigation
From time to time, the Company is party to various claims and complaints arising in the ordinary course of business, including securities class
action litigation. The Company enters into standard indemnification agreements in the ordinary course of business. Pursuant to the agreements, the
Company indemnifies, holds harmless, and agrees to reimburse the indemnified party for losses suffered or incurred by the indemnified party,
generally the Company’s business partners. The term of these indemnification agreements is generally perpetual any time after execution of the
agreement. The maximum potential amount of future payments the Company could be required to make under these indemnification agreements is
unlimited. Management



                                                                         F-29
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 334 of 426 PageID #: 3307

Table of Contents




does not believe that any ultimate liability resulting from any of these claims will have a material adverse effect on its results of operations, financial
position, or liquidity. However, management cannot give any assurance regarding the ultimate outcome of any claims, and their resolution could be
material to operating results for any particular period.

The Company also indemnifies each of its directors and officers for certain events or occurrences, subject to certain limits, while the officer or
director is or was serving at the Company's request in such capacity, as permitted under Delaware law and in accordance with its certificate of
incorporation and by-laws. The term of the indemnification period lasts as long as a director may be subject to any proceeding arising out of acts or
omissions of such director or officer in such capacity. The maximum amount of potential future indemnification is unlimited; however, the Company
currently holds director and officer liability insurance. This insurance allows the transfer of risk associated with the Company's exposure and may
enable it to recover a portion of any future amounts paid. The Company believes that the fair value of these indemnification obligations is minimal.
Accordingly, it has not recognized any liabilities relating to these obligations.

10. Common stock and preferred stock
The Company is authorized to issue 125.0 million shares of common stock. Holders of common stock are entitled to one vote per share. Holders of
common stock are entitled to receive dividends, if and when declared by the Company’s board of directors, and to share ratably in the Company’s
assets legally available for distribution to the Company’s shareholders in the event of liquidation. Holders of common stock have no preemptive,
subscription, redemption or conversion rights. As of December 31, 2020, and 2019, the Company had 66.4 million and 55.4 million shares of common
stock issued and outstanding, respectively.

In January 2018, the Company sold 0.3 million shares of common stock pursuant to the partial exercise of an overallotment option granted to the
underwriters in connection with the December 2017 underwritten public offering at a price of $185.00 per share for aggregate net proceeds of $48.7
million. In July 2018, the Company sold 3.9 million shares of common stock (excluding any shares sold pursuant to an overallotment option granted
to the underwriters in connection with the offering) through an underwritten public offering at a price of $162.50 per share for aggregate net
proceeds of $600.6 million. In August 2018, the Company sold 0.4 million shares of common stock to Regeneron in connection with a collaboration
arrangement at a price of $238.10 per share for aggregate net proceeds of $100.0 million, of which $45.5 million was attributed to a prepayment of
joint research activities.

In May 2020, the Company sold 10.5 million shares of common stock (inclusive of shares sold pursuant to an option granted to the underwriters in
connection with the offering) through an underwritten public offering at a price of $55.00 per share for aggregate net proceeds of $541.5 million.

The Company is authorized to issue 5.0 million shares of preferred stock in one or more series and to fix the powers, designations, preferences and
relative participating option or other rights thereof, including dividend rights, conversion rights, voting rights, redemption terms, liquidation
preferences and the number of shares constituting any series, without any further vote or action by the Company’s shareholders. As of December
31, 2020 and 2019, the Company had no shares of preferred stock issued or outstanding.

Reserved for future issuance
The Company has reserved for future issuance the following number of shares of common stock (in thousands):
                                                                                                                            As of December 31,
                                                                                                                         2020               2019
Options to purchase common stock                                                                                               6,262                 5,483
Restricted stock units                                                                                                         1,495                 1,127
2013 Stock Option and Incentive Plan                                                                                           2,545                 2,007
2013 Employee Stock Purchase Plan                                                                                                 67                   147
                                                                                                                              10,369                 8,764




                                                                           F-30
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 335 of 426 PageID #: 3308

Table of Contents




11. Collaborative arrangements
To date, the Company’s service and collaborative arrangement revenue has been primarily generated from its collaboration arrangements with BMS,
formerly Celgene Corporation ("Celgene") prior to its acquisition by BMS in November 2019, and Regeneron, each as further described below.


Bristol-Myers Squibb

BMS Original Collaboration Agreement
In March 2013, the Company entered into a Master Collaboration Agreement (the “BMS Collaboration Agreement”) with Celgene (now BMS
following its acquisition of Celgene in November 2019) to discover, develop and commercialize potentially disease-altering gene therapies in
oncology. The collaboration is focused on applying gene therapy technology to genetically modify a patient’s own T cells, known as chimeric
antigen receptor, or CAR T cells, to target and destroy cancer cells. Additionally, in March 2013, the Company entered into a Platform Technology
Sublicense Agreement (the “Sublicense Agreement”) with BMS pursuant to which the Company obtained a sublicense to certain intellectual
property from BMS, originating under BMS’s license from Baylor College of Medicine, for use in the collaboration.

Under the terms of the BMS Collaboration Agreement, the Company received an up-front, non-refundable, non-creditable payment of $75.0 million.
The Company was responsible for conducting discovery, research and development activities through completion of phase 1 clinical studies, if any,
during the initial term of the BMS Collaboration Agreement, or three years.

BMS Amended Collaboration Agreement
In June 2015, the Company and BMS amended and restated the BMS Collaboration Agreement (the “Amended BMS Collaboration Agreement”).
Under the Amended BMS Collaboration Agreement, the parties narrowed the focus of the collaboration to exclusively work on anti-B-cell
maturation antigen (“BCMA”) product candidates for a new three-year term. In connection with the Amended BMS Collaboration Agreement, the
Company received an up-front, one-time, non-refundable, non-creditable payment of $25.0 million to fund research and development under the
collaboration. Under the terms of the Amended BMS Collaboration Agreement, for up to two product candidates selected for development under
the collaboration, the Company was responsible for conducting and funding all research and development activities performed up through
completion of the initial phase 1 clinical study of such product candidates.

On a product candidate-by-product candidate basis, up through a specified period following enrollment of the first patient in an initial phase 1
clinical study for such product candidate, the Company had granted BMS an option to obtain an exclusive worldwide license to develop and
commercialize such product. Following BMS’s license of each product candidate, the Company is entitled to elect to co-develop and co-promote
each product candidate in the U.S.

BMS Ide-cel License Agreement
In February 2016, BMS exercised its option to obtain an exclusive worldwide license to develop and commercialize ide-cel, the first product
candidate under the Amended BMS Collaboration Agreement, pursuant to an executed license agreement (“Ide-cel License Agreement”) entered
into by the parties in February 2016 and paid to the Company the associated $10.0 million option fee. Pursuant to the Ide-cel License Agreement,
BMS was responsible for development and related funding of ide-cel after the substantial completion of the phase 1 clinical trial. The Company was
responsible for the manufacture of vector and associated payload throughout development and upon BMS’s request, throughout
commercialization, the costs of which were reimbursable by BMS in accordance with the terms of the Amended and Restated Co-Development, Co-
Promote and Profit Share Agreement, as further described below. BMS was responsible for the manufacture of drug product throughout
development and commercialization. Under the Ide-cel License Agreement, the Company was eligible to receive U.S. milestones of up to $85.0
million for the first indication to be addressed by ide-cel and royalties for U.S. sales of ide-cel. Additionally, the Company was eligible to receive ex-
U.S. milestones of up to $55.0 million and royalties for ex-U.S. sales of ide-cel.

BMS Ide-cel Co-Development, Co-Promote and Profit Share Agreement
In March 2018, the Company elected to co-develop and co-promote ide-cel within the U.S. pursuant to the execution of the Amended and Restated
Co-Development, Co-Promote and Profit Share Agreement (“Ide-cel CCPS”), which replaced the Ide-cel License Agreement. As a result of executing
the Ide-cel CCPS, the responsibilities of the parties remain unchanged from



                                                                           F-31
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 336 of 426 PageID #: 3309

Table of Contents




those under the Ide-cel License Agreement, however, the Company will share equally in all profits and losses relating to developing,
commercializing and manufacturing ide-cel within the U.S. and has the right to participate in the development and promotion of ide-cel in the U.S.
BMS is responsible for the costs incurred to manufacture vector and associated payload for use outside of the U.S., plus a markup. As a result of
electing to co-develop and co-promote ide-cel within the U.S., the milestones and royalties payable under the Ide-cel License Agreement were
adjusted. Under the Ide-cel CCPS, the Company was eligible to receive a $10.0 million milestone related to the development of ide-cel in the U.S.
and, for the first indication to be addressed by ide-cel, ex-U.S. regulatory and commercial milestones of up to $60.0 million. Under the Ide-cel CCPS,
the $10.0 million development milestone was achieved in the second quarter of 2019 and subsequently paid by BMS.

In May 2020, the First Amendment to the Amended and Restated Co-Development, Co-Promote and Profit Share Agreement (as amended, the
"Amended Ide-cel CCPS") was executed, which amended the Ide-cel CCPS. Under the Amended Ide-cel CCPS, the parties will continue to share
equally in all profits and losses related to developing, commercializing and manufacturing ide-cel within the U.S. Under the Amended Ide-cel CCPS
and the Amended bb21217 License Agreement, described further below, BMS was relieved of its obligations to pay the Company for future ex-U.S.
milestones and royalties on ex-U.S. sales for each of ide-cel and bb21217 in exchange for an up-front, non-refundable, non-creditable payment of
$200.0 million, which represents the aggregate of the probability-weighted, net present value of the future ex-U.S. milestones and royalties on ex-
U.S. sales for each of ide-cel and bb21217. In connection with these amendments, BMS assumed the contract manufacturing agreements related to
ide-cel adherent lentiviral vector. Over time, BMS is assuming responsibility for manufacturing ide-cel suspension lentivrial vector outside of the
U.S., with bluebird responsible for manufacturing ide-cel suspension lentiviral vector in the U.S. In addition, under the Amended Ide-cel CCPS and
the Amended bb21217 License Agreement, described further below, the parties are released from future exclusivity related to BCMA-directed T cell
therapies. There are no remaining milestones or royalties under the Amended Ide-cel CCPS.

BMS bb21217 License Agreement
In September 2017, BMS exercised its option to obtain an exclusive worldwide license to develop and commercialize bb21217, the second product
candidate under the Amended BMS Collaboration Agreement, pursuant to an executed license agreement (“bb21217 License Agreement”) entered
into by the parties in September 2017 and paid the Company an option fee of $15.0 million. Pursuant to the bb21217 License Agreement, BMS is
responsible for development and related funding of bb21217 after the substantial completion of the ongoing phase 1 clinical trial. In 2019, the
parties amended the protocol for the ongoing phase 1 clinical trial to enroll additional patients for which the Company will be reimbursed based
upon an agreed-upon amount per patient. Under the bb21217 License Agreement, the Company is eligible to receive U.S. milestones of up to $85.0
million for the first indication to be addressed by bb21217 and royalties for U.S. sales of bb21217. Additionally, the Company was eligible to receive
ex-U.S. milestones of up to $55.0 million and royalties for ex-U.S. sales of bb21217.

In May 2020, the Second Amended and Restated License Agreement ("Amended bb21217 License Agreement") was executed, which replaced the
bb21217 License Agreement. Under the Amended bb21217 License Agreement, over time, BMS is assuming responsibility for manufacturing
suspension lentiviral vector outside of the U.S., with bluebird responsible for manufacturing suspension lentiviral vector in the U.S. Under the
Amended bb21217 License Agreement, expenses incurred by the Company associated with these activities are fully reimbursable by BMS at cost
plus a mark-up. Throughout both development and commercialization, BMS is responsible for the manufacture of drug product. There are no
remaining milestones and royalties related to the ex-U.S. development or commercialization of bb21217 following execution of the Amended bb21217
License Agreement.

The Company currently expects it will exercise its option to co-develop and co-promote bb21217 within the U.S. The Company’s election to co-
develop and co-promote bb21217 must be made by the substantial completion of the on-going phase 1 clinical trial of bb21217. If elected, the
Company expects the responsibilities of the parties to remain largely unchanged, however, the Company expects it will share equally in all profits
and losses relating to developing, commercializing and manufacturing bb21217 within the U.S. and to have the right to participate in the
development and promotion of bb21217 in the U.S. Under this scenario, the U.S. milestones and royalties payable under the Amended bb21217
License Agreement would be adjusted and the Company would be eligible to receive a $10.0 million development milestone payment related to the
development of bb21217 within the U.S. The Company would not be eligible for royalties on U.S. sales of bb21217 under this scenario.

In the event the Company does not exercise its option to co-develop and co-promote bb21217, the Company will receive an additional fee in the
amount of $10.0 million. Under this scenario, there would be no change to the U.S. milestones and royalties for U.S. sales of bb21217, as previously
described above, for which the Company would be eligible to receive.



                                                                         F-32
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 337 of 426 PageID #: 3310

Table of Contents




Accounting Analysis - Amended Ide-cel CCPS and Amended bb21217 License Agreement

In accordance with the Company’s accounting policies related to variable consideration, as further described in Note 2, Summary of Significant
Accounting Policies and Basis of Presentation, if an arrangement includes variable consideration, including milestone payments, the Company
evaluates whether the milestones are considered probable of being achieved and estimates the amount to be included in the transaction price of an
arrangement. If it is probable that a significant revenue reversal would not occur, the associated milestone value is included in the transaction price.
Milestone payments that are not within the Company’s control, such as regulatory approvals, are generally not considered probable of being
achieved until those approvals are received. The Company recognizes royalty revenue and sales-based milestones at the later of (i) when the
related sales occur, or (ii) when the performance obligation to which the royalty has been allocated has been satisfied.

Prior to the May 2020 amendments, the Company had constrained all variable consideration related to the remaining ex-U.S. milestones and
royalties for ex-U.S. sales under the Ide-cel CCPS and bb21217 License Agreement. As a result of the May 2020 amendments, the uncertainty
associated with the previously constrained variable consideration for future ex-U.S. milestones and royalties on ex-U.S. sales for each of ide-cel and
bb21217 was resolved in exchange for an up-front, non-refundable, non-creditable payment of $200.0 million.

While the Ide-cel CCPS and bb21217 License Agreement were historically accounted for as separate contracts, the May 2020 amendments to each
agreement were negotiated as a package with a single commercial objective and, as such, the Amended Ide-cel CCPS and Amended bb21217
License Agreement were combined for accounting purposes and treated as a single arrangement.

At the time of the May 2020 amendments, there was one remaining performance obligation under each of the Ide-cel CCPS and bb21217 License
Agreement, neither of which were fully satisfied: a combined performance obligation of the ide-cel license and ide-cel vector manufacturing through
development; and a combined performance obligation of the bb21217 license and bb21217 vector manufacturing through development. Subsequent
to the May 2020 amendments, the Company concluded the two performance obligations are distinct from each other as BMS can benefit from each
license and associated manufacturing services separately and the respective licenses and manufacturing services do not modify one another and
are not interdependent. Accordingly, the Company will continue to account for each performance obligation separately.

The Company allocated the $200.0 million up-front payment received in connection with the May 2020 amendments to the remaining performance
obligations described above based on the general allocation principles of Topic 606. In applying these principles, the Company considered the
$200.0 million up-front payment is representative of previously constrained variable consideration that has been changed and the related
uncertainties resolved by the May 2020 amendments. Moreover, the Company considered that a portion of the $200.0 million was specifically
attributable to each remaining performance obligation as the amount represents the aggregate of the probability-weighted, net present value of the
future ex-U.S. milestones and royalties on ex-U.S. sales for each of ide-cel and bb21217 and that each respective portion therefore (i) relates
specifically to the Company's satisfaction of each of its remaining performance obligations and (ii) is representative of the amount of consideration
the Company expects to be entitled to in exchange for satisfying the respective performance obligations. As such, the Company concluded that the
portion of the $200.0 million up-front payment specifically attributable to each of ide-cel and bb21217 should be allocated to each respective
performance obligation pursuant to the variable consideration allocation exception.

The Amended Ide-cel CCPS and Amended bb21217 License Agreement represent a contract modification to an existing contract under Topic 606
given the May 2020 amendments resulted in a reduction in scope of the Company's responsibilities under each performance obligation described
above. Specifically, the May 2020 amendments reduced the scope of the Company's obligation to provide ex-U.S. vector manufacturing services
through development for both ide-cel and bb21217 as those activities will transition to BMS over time. In addition, the May 2020 amendments
resulted in a change in the overall transaction price under the arrangement. The May 2020 amendments did not include any additional promised
goods and services.

The remaining goods and services to be provided in order to fully satisfy each performance obligation described above are not distinct from those
previously provided with respect to each performance obligation. Therefore, for each performance obligation, the remaining goods and services are
part of a single performance obligation that is partially satisfied at the date of the contract modification. Accordingly, the effect that the contract
modification had on the transaction price and the measure of progress toward complete satisfaction of each respective performance obligation has
been recognized on a cumulative catch-up basis. The accounting for any previously satisfied performance obligations as of the contract
modification date are not affected by the modification.



                                                                          F-33
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 338 of 426 PageID #: 3311

Table of Contents




Ide-cel transaction price
The following tables summarize the total transaction price, the allocation of the total transaction price to the identified performance obligations
under the arrangement (including those performance obligations that were completed as of the May 2020 contract modification date), and the
amount of the transaction price unsatisfied as of December 31, 2020 (in thousands):
                                                                                                                                   Ide-cel transaction
                                                                                                                                  price as of December
                                                                                                                                         31, 2020
Upfront non-refundable payments received prior to May 2020 contract modification (1)                                              $               120,000
Allocated portion of the upfront non-refundable payment received in connection with the Amended Ide-cel CCPS and
bb21217 License Agreement (2)                                                                                                                     184,029
Estimated variable consideration (3)                                                                                                               83,900
                                                                                                                                  $               387,929

(1) Composed of all up-front payments and option fee and milestone payments received under the BMS Collaboration Agreement, Amended BMS
Collaboration Agreement, Ide-cel License Agreement, and Ide-cel CCPS. This consideration was allocated to the performance obligations under the
Ide-cel CCPS based on a relative standalone selling price (“SSP”) basis. The Company estimated the SSP of the ide-cel license after considering
potential future cash flows under the license. The Company then discounted these probability-weighted cash flows to their present value. The
Company estimated the SSP of each of the ide-cel research and development services and ide-cel manufacturing services to be provided based on
the Company’s estimated cost of providing the services plus an applicable profit margin commensurate with observable market data for similar
services.
(2) This represents the portion of the $200.0 million up-front payment received under the Amended Ide-cel CCPS and Amended bb21217 License
Agreement which was allocated to ide-cel.
(3) Estimated variable consideration represents the estimated reimbursement from BMS for the manufacture of vectors and associated payload
through development.

                                                                                                              Allocation of
                                                                                                               transaction
                                                                                                                 price to             Transaction price
                                                                                                              performance              unsatisfied as of
                                                                                                               obligations            December 31, 2020
Ide-cel research and development services                                                                 $              40,912 $                       -
Ide-cel license and manufacturing services                                                                              347,017                     1,082
                                                                                                          $             387,929 $                   1,082

Ide-cel research and development services
The Company allocated $40.9 million of the transaction price to the research and development services. The Company satisfied this performance
obligation as the research and development services were performed. The Company determined that the period of performance of the research and
development services was through projected initial phase 1 clinical study substantial completion, or through May 2018. The research and
development performance obligation was satisfied prior to the May 2020 amendments and, as a result, the accounting for this previously satisfied
performance obligation was not affected by the modification. The Company recognized no revenue related to ide-cel research and development
services for the year ended December 31, 2020. The Company recognized $2.3 million and $5.8 million related to ide-cel research and development
services for the year ended December 31, 2019 and 2018, respectively.


Ide-cel license and manufacturing services
The Company allocated $347.0 million of the transaction price to the combined unit of accounting which consists of the license and manufacture of
vectors and associated payload for incorporation into ide-cel.

The Company accounts for its vector manufacturing services for development in the U.S. and BMS’s U.S. development efforts within the scope of
ASC 808 given that both parties are active participants in the activities and both parties are exposed to significant risks and rewards dependent on
the commercial success of the activities. The Company recognizes collaboration revenue for its U.S. manufacturing services by analogy to Topic
606. The portion of BMS’s U.S. development costs that the Company is responsible for are recognized as a reduction to its collaboration revenues,
or, if in excess of such revenues in a given quarter, the excess is recorded as research and development expense.



                                                                          F-34
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 339 of 426 PageID #: 3312

Table of Contents




The Company recognizes revenue associated with the combined performance obligation using the proportional performance method, as the
Company will satisfy this performance obligation as the manufacturing services are performed through development. In using this method, the
Company estimated its development plan for ide-cel, including expected demand from BMS, and the costs associated with the manufacture of
vectors and associated payload for incorporation into ide-cel. On a quarterly basis, the Company determines the proportion of effort incurred as a
percentage of total effort it expects to expend. This ratio is applied to the transaction price, which includes variable consideration, allocated to the
combined performance obligation consisting of the ide-cel license and manufacturing services. Management has applied significant judgment in the
process of developing its budget estimates and any changes to these estimates will be recognized in the period in which they change as a
cumulative catch-up.

The following table summarizes the net collaboration revenue recognized or expense incurred for the joint ide-cel development efforts in the U.S.
under ASC 808, including revenue or expense related to the combined performance obligation for the license and vector manufacturing of ide-cel in
the U.S. for the years ended December 31, 2020, 2019, and 2018 (in thousands):
                                                                                                                    For the years ended December 31,
                                                                                                            2020                   2019              2018
ASC 808 ide-cel license and manufacturing revenue - U.S. (1)                                        $            108,196 $                     - $                6,255
ASC 808 ide-cel research and development expense - U.S. (1)                                         $             41,599 $                32,415 $                8,689
(1)Asnoted above, the calculation of collaboration revenue or research and development expense to be recognized for joint ide-cel development efforts in the U.S. is
performed on a quarterly basis. The calculation is independent of previous activity, which may result in fluctuations between revenue and expense recognition period over
period, depending on the varying extent of effort performed by each party during the period.

Revenue related to the combined unit of accounting for the non-US license and vector manufacturing services is accounted for in accordance with
Topic 606. The following table summarizes the revenue recognized related to the combined unit of accounting for the ide-cel ex-U.S. license and
vector manufacturing services for the years ended December 31, 2020, 2019, and 2018 (in thousands):
                                                                                                                    For the years ended December 31
                                                                                                            2020                  2019              2018
ASC 606 ide-cel license and manufacturing revenue - ex-U.S.                                         $              99,053 $               25,522 $               35,900



As of December 31, 2020, the aggregate amount of the transaction price allocated to the combined performance obligation, which consists of the
ide-cel license and manufacturing services, that is unsatisfied, or partially unsatisfied, is $1.1 million, which the Company expects to recognize as
revenue as manufacturing services are provided through the remaining development period. As of December 31, 2020 and 2019, the Company had
$0.8 million and $8.5 million, respectively, of deferred revenue associated with the combined performance obligation consisting of the ide-cel license
and manufacturing services.


bb21217 transaction price
The following tables summarize the total transaction price, the allocation of the total transaction price to the identified performance obligations
under the arrangement (including those performance obligations that were completed as of the May 2020 contract modification date), and the
amount of the transaction price unsatisfied as of December 31, 2020 (in thousands):
                                                                                                                                                 bb21217 transaction
                                                                                                                                                 price as of December
(in thousands)                                                                                                                                          31, 2020
Upfront non-refundable payments received prior to May 2020 contract modification (1)                                                            $                15,000
Allocated portion of the up-front non-refundable payment received in connection with the Amended Ide-cel CCPS and
bb21217 License Agreement (2)                                                                                                                                    15,971
Estimated variable consideration (3)                                                                                                                              1,803
                                                                                                                                                $                32,774


(1) Composed of the up-front non-refundable payment received under the bb21217 License Agreement. This consideration was allocated to the
performance obligations under the bb21217 License Agreement based on a relative SSP basis. The Company estimated the SSP of the bb21217
license after considering potential future cash flows under the license. The



                                                                                  F-35
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 340 of 426 PageID #: 3313

Table of Contents



Company then discounted these probability-weighted cash flows to their present value. The Company estimated the SSP of each of the bb21217
research and development services and bb21217 manufacturing services to be provided based on the Company’s estimated cost of providing the
services plus an applicable profit margin commensurate with observable market data for similar services.
(2) This represents the portion of the $200.0 million up-front payment received under the Amended Ide-cel CCPS and Amended bb21217 License
Agreement which was allocated to bb21217.
(3) Estimated variable consideration represents the estimated reimbursement from BMS for the manufacture of vectors and associated payload
through development.

                                                                                                             Allocation of
                                                                                                              transaction          Transaction price
                                                                                                         price to performance       unsatisfied as of
                                                                                                              obligations          December 31, 2020
bb21217 research and development services                                                                $               5,444 $                    -
bb21217 license and manufacturing services                                                                              27,330                 27,330
                                                                                                         $              32,774 $               27,330

All of the remaining development, regulatory, and commercial milestones under the Amended bb21217 License Agreement are related to U.S.
development, regulatory and commercialization activities and are fully constrained and are therefore excluded from the transaction price. As part of
its evaluation of the constraint, the Company considered numerous factors, including the fact that achievement of the milestones is outside the
control of the Company and contingent upon the future success of its clinical trials, the licensee’s efforts, or the receipt of regulatory approval.
Any consideration related to U.S. sales-based milestones (including royalties) will be recognized when the related sales occur as these amounts
have been determined to relate predominantly to the license granted to BMS and therefore are recognized at the later of when the performance
obligation is satisfied, or the related sales occur.

The Company re-evaluates the transaction price, including its estimated variable consideration included in the transaction price and all constrained
amounts, each reporting period and as uncertain events are resolved or other changes in circumstances occur.


bb21217 research and development services
The Company satisfied this performance obligation as the research and development services were performed. The Company determined that the
period of performance of the research and development services was two years through projected substantial completion of the initial phase 1
clinical study, or through September 2019. The research and development performance obligation was satisfied prior to the May 2020 amendments,
and as a result, the accounting for this previously satisfied performance obligation was not affected by the modification. As part of performing its
initial obligation to complete a phase 1 trial as originally contemplated, the Company recognized no revenue for the year ended December 31, 2020
and revenue of $2.2 million and $2.9 million for the years ended December 31, 2019 and 2018, respectively.

The agreement to expand the bb21217 phase 1 trial that occurred in 2019 was previously treated as a separate contract for accounting purposes,
because the trial expansion was for the addition of a promised good or service that is distinct and the associated consideration reflected the
standalone selling price of the additional promised good or service. This contract was not affected by the May 2020 amendments and, accordingly,
the accounting for this agreement was not impacted by the May 2020 amendments. The transaction price associated with these additional patients
consists of variable consideration and is based upon an agreed-upon amount per patient which will be recognized as revenue as the patients are
treated. The Company began fulfilling the performance obligation in the fourth quarter of 2019 and it was satisfied in the fourth quarter of 2020. In
connection with treating additional patients in the phase 1 trial, the Company recognized revenue of $12.4 million, $0.4 million, and $0.0 million for
the years ended December 31, 2020, 2019, and 2018, respectively.


bb21217 license and manufacturing services
The Company will satisfy its performance obligation related to the manufacture of vectors and associated payload for incorporation into bb21217
through development as the bb21217 manufacturing services are performed. As of December 31, 2020, the manufacturing services for bb21217 had
not yet commenced. Therefore, no amounts have been recognized for the combined performance obligation in the consolidated statements of
operations and comprehensive loss for the years ended December 31, 2020, 2019, and 2018.



                                                                         F-36
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 341 of 426 PageID #: 3314

Table of Contents




The aggregate amount of the transaction price allocated to the combined performance obligation, which consists of the bb21217 license and
manufacturing services, is $27.3 million. The Company does not expect that recognition will begin in the next twelve months and has therefore
classified deferred revenue associated with the combined performance obligation as deferred revenue, net of current portion on its consolidated
balance sheet. The Company had $25.8 million and $9.8 million of remaining deferred revenue as of December 31, 2020 and 2019, respectively,
associated with the combined performance obligation consisting of the bb21217 license and manufacturing services.

Contract assets and liabilities - ide-cel and bb21217
The Company receives payments from its collaborative partners based on billing schedules established in each contract. Up-front payments and
fees are recorded as deferred revenue upon receipt or when due until such time as the Company satisfies its performance obligations under these
arrangements. A contract asset is a conditional right to consideration in exchange for goods or services that the Company has transferred to a
customer. Amounts are recorded as accounts receivable when the Company’s right to consideration is unconditional.

The following table presents changes in the balances of the Company’s BMS receivables and contract liabilities during the twelve months ended
December 31, 2020 (in thousands):
                                                                       Balance at                                                     Balance at
                                                                    December 31, 2019         Additions          Deductions        December 31, 2020
Receivables                                                         $              400 $             12,400 $           (12,400) $               400
Contract liabilities:
  Deferred revenue                                                  $            18,265 $           200,000 $          (191,683) $             26,582

The change in the receivables balance for the year ended December 31, 2020 is primarily driven by amounts owed to the Company for bb21217
research and development services provided during the period (expanded phase 1 clinical trial), offset by amounts collected from BMS in the
period.

The increase in deferred revenue during the year ended December 31, 2020 is primarily driven by the $200.0 million consideration received in
connection with the May 2020 amendments, offset by revenue recognized in the year-to-date period related to the combined unit of accounting for
ide-cel license and vector manufacturing services. A total of $191.7 million was released from deferred revenue during the year-to-date period, of
which $169.2 million is related to a cumulative catch-up adjustment to revenue recorded in connection with the May 2020 contract modification
described further above. As of December 31, 2019, the Company had $8.5 million of deferred revenue associated with the combined performance
obligation consisting of the ide-cel license and manufacturing services, of which $8.2 million was released during the year ended December 31, 2020.

Regeneron

Regeneron Collaboration Agreement
In August 2018, the Company entered into a Collaboration Agreement (the “Regeneron Collaboration Agreement”) with Regeneron pursuant to
which the parties will apply their respective technology platforms to the discovery, development, and commercialization of novel immune cell
therapies for cancer. In August 2018, following the completion of required regulatory reviews, the Regeneron Collaboration Agreement became
effective. Under the terms of the agreement, the parties will leverage Regeneron’s proprietary platform technologies for the discovery and
characterization of fully human antibodies, as well as T cell receptors directed against tumor-specific proteins and peptides and the Company will
contribute its field-leading expertise in gene therapy.

In accordance with the Regeneron Collaboration Agreement, the parties jointly selected six initial targets and intend to equally share the costs of
research up to the point of submitting an IND application for a potential gene therapy product directed to a particular target. Additional targets may
be selected to add to or replace any of the initial targets during the five-year research collaboration term as agreed to by the parties.

Regeneron will accrue a certain number of option rights exercisable against targets as the parties reach certain milestones under the terms of the
agreement. Upon the acceptance of an IND for the first product candidate directed to a target, Regeneron will have the right to exercise an option
for co-development/co-commercialization of product candidates directed to such target



                                                                        F-37
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 342 of 426 PageID #: 3315

Table of Contents




on a worldwide or applicable opt-in territory basis, with certain exceptions. Where Regeneron chooses to opt-in, the parties will share equally in the
costs of development and commercialization, and will share equally in any profits or losses therefrom in applicable opt-in territories. Outside of the
applicable opt-in territories, the target becomes a licensed target and Regeneron would be eligible to receive, with respect to any resulting product,
milestone payments of up to $130.0 million per product and royalties on net sales outside of the applicable opt-in territories at a rate ranging from
the mid-single digits to low-double digits. A target would also become a licensed target in the event Regeneron does not have an option to such
target, or Regeneron does not exercise its option with respect to such target.

Either party may terminate a given research program directed to a particular target for convenience, and the other party may elect to continue such
research program at its expense, receiving applicable cross-licenses. The terminating party will receive licensed product royalties and milestone
payments on the potential applicable gene therapy products. Where the Company terminates a given research program for convenience, and
Regeneron elects to continue such research program, the parties will enter into a transitional services agreement. Under certain conditions,
following its opt-in, Regeneron may terminate a given collaboration program and the Company may elect to continue the development and
commercialization of the applicable potential gene therapy products as licensed products.

Regeneron Share Purchase Agreement
A Share Purchase Agreement (“SPA”) was entered into by the parties in August 2018. In August 2018, on the closing date of the transaction, the
Company issued Regeneron 0.4 million shares of the Company’s common stock, subject to certain restrictions, for $238.10 per share, or $100.0
million in the aggregate. The purchase price represents $63.0 million worth of common stock plus a $37.0 million premium, which represents a
collaboration research advancement, or credit to be applied to Regeneron’s initial 50 percent funding obligation for collaboration research, after
which the collaborators will continue to fund ongoing research equally. The collaboration research advancement only applies to pre-IND research
activities and is not refundable or creditable against post-IND research activities for any programs where Regeneron exercises their opt-in rights.

Accounting analysis - Regeneron
At the commencement of the arrangement, two units of accounting were identified, which are the issuance of 0.4 million shares of the Company’s
common stock and joint research activities during the five year research collaboration term. The Company determined the total transaction price to
be $100.0 million, which comprises $54.5 million attributed to the equity sold to Regeneron and $45.5 million attributed to the joint research
activities. In determining the fair value of the common stock at closing, the Company considered the closing price of the common stock on the
closing date of the transaction and included a lack of marketability discount because Regeneron received shares subject to certain restrictions.

The Company analyzed the joint research activities to assess whether they fall within the scope of ASC 808, and will reassess this throughout the
life of the arrangement based on changes in the roles and responsibilities of the parties. Based on the terms of the arrangement as outlined above,
for the collaboration research performed prior to submission of an IND application for a potential gene therapy product, both parties are deemed to
be active participants in the collaboration. Both parties are performing research and development activities and will share equally in these costs
through IND. Additionally, Regeneron and the Company are exposed to significant risks and rewards dependent on the commercial success of any
product candidates that may result from the collaboration. As such, the collaboration arrangement is deemed to be within the scope of ASC 808.

The $45.5 million attributed to the joint research activities includes the $37.0 million creditable against amounts owed to the Company by
Regeneron. The collaboration research advancement will be reduced over time for amounts due to the Company by Regeneron as a result of the
parties agreeing to share in the costs of collaboration research equally. The remainder of the amount attributed to the joint research activities will be
recognized over the five-year research collaboration term.

Consistent with its collaboration accounting policy, the Company will recognize collaboration revenue or research and development expense related
to the joint research activities in future periods depending on the amounts incurred by each party in a given reporting period. That is, if the
Company’s research costs incurred exceed those research costs incurred by Regeneron in a given quarter, the Company will record collaboration
revenue and reduce the original $37.0 million advance by the amount due from Regeneron until such advancement is fully utilized, after which the
Company would record an amount due from Regeneron. If Regeneron’s research costs incurred exceed those research costs incurred by the
Company in a given quarter, the Company will record research and development expense and record a liability for the amount due to Regeneron. As
of December 31, 2020 and 2019, the Company has $30.8 million and $38.2 million, respectively, of the amount attributed to the joint research
activities remaining to be recognized which is classified as collaboration research advancement, current portion and collaboration research
advancement, net of current portion on the consolidated balance sheet.



                                                                          F-38
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 343 of 426 PageID #: 3316

Table of Contents




The Company recognized $7.4 million and $5.7 million of collaboration revenue from the Regeneron Collaboration Agreement during the years
ended December 31, 2020 and 2019, respectively.

12. Royalty and other revenue
Novartis Pharma AG
In April 2017, the Company entered into a worldwide license agreement with Novartis. Under the terms of the agreement, Novartis non-exclusively
licensed certain patent rights related to lentiviral vector technology to develop and commercialize CAR T cell therapies for oncology, including
Kymriah (formerly known as CTL19), Novartis’s anti-CD19 CAR T therapy. At contract inception, financial terms of the agreement included a $7.5
million payment upon execution, $7.5 million of potential future milestone payments associated with regulatory approvals, and $1.1 million of
payments for each subsequently licensed product, as well as low single digit royalty payments on net sales of covered products. In August 2017,
Novartis received FDA approval for Kymriah and paid the Company $2.5 million as a result of the achievement of a related milestone.

Under Topic 606, the Company identified only one performance obligation, consisting of the license, which was satisfied at contract inception.
Accordingly, the nonrefundable license fee of $7.5 million was recognized as revenue upon contract execution in the second quarter of 2017 and a
$2.5 million regulatory milestone was recognized as revenue upon milestone achievement, also in the second quarter of 2017, given there were no
other unsatisfied performance obligations in the arrangement. Regulatory approvals are not within the Company’s control or the licensee’s control
and are generally not considered probable of being achieved until those approvals are received. As such, these milestones are constrained until
such time as regulatory approvals are received. Because the single performance obligation was previously satisfied, all regulatory milestones will be
recognized as revenue in full in the period in which the associated milestone is achieved.

The Company began recognizing royalty revenue from sales of Kymriah in the fourth quarter of 2017. As the license was deemed to be the
predominant item to which the royalties relate, the Company recognizes royalties from the sales of Kymriah when the related sales occur. For the
years ended December 31, 2020, 2019, and 2018, the Company recognized royalty and other revenue of $21.1 million, $8.2 million, and $2.2 million,
respectively. For the years ended December 31, 2020, 2019, and 2018, the Company recognized cost of royalty and other revenue of $5.4 million, $3.0
million, and $0.9 million, respectively.

In December 2020, the Company received notice of termination from Novartis for the license agreement described above. This termination will be
effective in March 2021, at which point in time Novartis will no longer be required to pay the Company royalty or other payments on net sales of
Kymriah or any future products.


Orchard Therapeutics Limited (assigned by GlaxoSmithKline Intellectual Property Development Limited)
In April 2017, the Company entered into a worldwide license agreement with GlaxoSmithKline Intellectual Property Development Limited (“GSK”).
Under the terms of the agreement, GSK non-exclusively licensed certain patent rights related to lentiviral vector technology to develop and
commercialize gene therapies for Wiscott-Aldrich syndrome and metachromatic leukodystrophy, two rare genetic diseases. Financial terms of the
agreement include a nonrefundable upfront payment of $3.0 million as well as $1.3 million of potential milestone payments related to each marketing
authorization for each indication in any country as well as low single digit royalties on net sales of covered products. This license agreement was
assigned by GSK to Orchard Therapeutics Limited, effective in April 2018.

Under Topic 606, the Company identified only one performance obligation, consisting of the license, which was satisfied at contract inception.
Accordingly, the entire nonrefundable license fee of $3.0 million was recognized as revenue upon contract execution in the second quarter of 2017
given there were no other unsatisfied performance obligations in the arrangement. Regulatory approvals are not within the Company’s control or
the licensee’s control and are generally not considered probable of being achieved until those approvals are received. As such, these milestones
are constrained until such time as after regulatory approvals are received. There was no revenue recognized under this arrangement in the years
ended December 31, 2020, 2019, or 2018. Because the single performance obligation was previously satisfied, all regulatory milestones will be
recognized as revenue in full in the period in which the associated milestone is achieved.

Given there was no revenue recognized under this arrangement in the years ended December 31, 2020, 2019, or 2018, there was no associated cost
of royalty and other revenue.

13. Intangible assets

Intangible assets, net of accumulated amortization, are summarized as follows (in thousands):



                                                                        F-39
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 344 of 426 PageID #: 3317

Table of Contents




                                                          As of December 31,                                        As of December 31,
                                                                 2020                                                      2019
                                                             Accumulated                                               Accumulated
                                              Cost           amortization            Net                Cost           amortization             Net
Developed technology                    $          30,100 $         (24,456) $              5,644 $         30,100 $          (20,694) $               9,406
In-licensed rights                                  5,224              (827)                4,397            5,224               (304)                 4,920
Total                                   $          35,324 $         (25,283) $             10,041 $         35,324 $          (20,998) $              14,326

Amortization expense for intangible assets was $4.3 million, $4.1 million, and $3.8 million for each of the years ended December 31, 2020, 2019 and
2018, respectively.

Developed technology
The Company's developed technology was obtained through its acquisition of Pregenen, a privately-held biotechnology company in 2014. The
Company obtained gene editing and cell signaling technology with a broad range of potential therapeutic applications. The Company considered
the intangible asset acquired to be developed technology, as at the date of the acquisition it could be used the way it was intended to be used in
certain ongoing research and development activities. The gene editing platform intangible asset is being amortized on a straight-line basis over its
expected useful life of approximately eight years from the date of the acquisition. Please refer to Note 4, Fair value measurements, and Note 9,
Commitments and contingencies, for further information.

In-licensed rights
In-licensed rights consist of capitalized milestone payments made to third parties upon receiving regulatory approval of ZYNTEGLO in the EU. The
in-licensed rights are being amortized on a straight-line basis over the remaining life of the related patents of approximately ten years, as the life of
the related patents reflects the expected time period that the Company will benefit from the in-licensed rights.

The following table summarizes the estimated future amortization for intangible assets for the next five years and thereafter (in thousands):
                                                                                                                                          As of December
                                                                                                                                              31, 2020
2021                                                                                                                                  $                4,285
2022                                                                                                                                                   2,404
2023                                                                                                                                                     522
2024                                                                                                                                                     522
2025                                                                                                                                                     522
2026 and thereafter                                                                                                                                    1,786
Total                                                                                                                                 $               10,041



14. Stock-based compensation
In June 2013, the Company’s board of directors adopted its 2013 Stock Option and Incentive Plan (“2013 Plan”), which was subsequently approved
by its stockholders and became effective upon the closing of the Company’s IPO. The 2013 Plan replaces the 2010 Stock Option and Grant Plan
(“2010 Plan”).

The 2013 Plan allows for the granting of incentive stock options, non-qualified stock options, restricted stock units and restricted stock awards to
the Company’s employees, members of the board of directors, and consultants of the Company. The Company initially reserved 1.0 million shares of
its common stock for the issuance of awards under the 2013 Plan. The 2013 Plan provides that the number of shares reserved and available for
issuance under the 2013 Plan will automatically increase each January 1, beginning on January 1, 2014, by four percent of the outstanding number
of shares of common stock on the immediately preceding December 31 or such lesser number of shares as determined by the Company’s
compensation committee. In January 2020 and January 2021, the number of common stock available for issuance under the 2013 Plan was increased
by approximately 2.2 million and 2.7 million shares, respectively, as a result of this automatic increase provision.



                                                                          F-40
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 345 of 426 PageID #: 3318

Table of Contents




Any options or awards outstanding under the Company’s previous stock option plans, including both the 2010 Plan and the Second Amended and
Restated 2002 Employee, Director and Consultant Stock Plan (“2002 Plan”), at the time of adoption of the 2013 Plan remain outstanding and
effective. The shares of common stock underlying any awards that are forfeited, canceled, repurchased, expired or are otherwise terminated (other
than by exercise) under the 2002 Plan and 2010 Plan are added to the shares of common stock available for issuance under the 2013 Plan. As of
December 31, 2020, the total number of common stock that may be issued under all plans is 2.6 million.

The Company does not currently hold any treasury shares. Upon stock option exercise, the Company issues new shares and delivers them to the
participant.

Stock-based compensation expense
The Company recognized stock-based compensation expense totaling $156.6 million, $160.6 million, and $110.8 million during the years ended
December 31, 2020, 2019 and 2018, respectively. Stock-based compensation expense recognized by award type is as follows (in thousands):
                                                                                                                Year Ended December 31,
                                                                                                   2020                  2019             2018
Stock options                                                                               $            93,977 $            95,668 $         83,449
Restricted stock units                                                                                   49,326              63,580           26,628
Employee stock purchase plan and other                                                                   13,328               1,381              759
                                                                                            $           156,631 $           160,629 $        110,836

Stock-based compensation expense by classification included within the consolidated statements of operations and comprehensive loss was as
follows (in thousands):
                                                                                                                Year Ended December 31,
                                                                                                   2020                  2019             2018
Research and development                                                                    $            72,239 $            80,139 $         54,422
Selling, general and administrative                                                                      84,392              80,490           56,414
                                                                                            $           156,631 $           160,629 $        110,836

In February 2018, the Company issued restricted stock units with service and performance conditions to employees, less than 0.1 million of which
are outstanding as of December 31, 2020. Vesting of these awards is contingent on the occurrence of a certain regulatory milestone event which was
achieved in June 2019 and fulfillment of any remaining service condition. The Company began recognizing expense for these awards in the second
quarter of 2019 when achievement of the regulatory milestone was deemed probable. The Company recognized $20.1 million of expense related to
these awards in the second quarter of 2019 and will continue to recognize stock-based compensation expense related to these awards through June
2021 when the final tranche of the awards vest.

As of December 31, 2020, the Company had $146.0 million, $89.3 million and $0.4 million of unrecognized compensation expense related to unvested
stock options, restricted stock units (exclusive of those with service and performance conditions that have not yet been achieved) and the
employee stock purchase plan, respectively, that is expected to be recognized over a weighted-average period of 2.1 years, 2.4 years, and 0.3 years,
respectively.

Stock options
The fair value of each option issued to employees was estimated at the date of grant using the Black-Scholes option pricing model with the
following weighted-average assumptions:
                                                                                                           Year Ended December 31,
                                                                                                2020                2019                  2018
Expected volatility                                                                                    69.5%                70.7%                75.5%
Expected term (in years)                                                                                  6.0                  6.0                  6.0
Risk-free interest rate                                                                                 1.4%                 2.3%                 2.7%
Expected dividend yield                                                                                 0.0%                 0.0%                 0.0%

The following table summarizes the stock option activity under the Company’s equity awards plans:



                                                                        F-41
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 346 of 426 PageID #: 3319

Table of Contents



                                                                                                                      Weighted-
                                                                                                     Weighted-          average            Aggregate
                                                                                                      average         contractual           intrinsic
                                                                                 Shares            exercise price         life              value (a)
                                                                             (in thousands)          per share         (in years)        (in thousands)
Outstanding at December 31, 2019                                                       5,483   $            116.30
  Granted                                                                              1,585   $             69.40
  Exercised                                                                             (95)   $             19.43
  Canceled or forfeited                                                                (711)   $            124.00
Outstanding at December 31, 2020                                                       6,262 $              105.02               7.0 $            15,716
Exercisable at December 31, 2020                                                       3,669 $              107.11               5.8 $            15,659
Vested and expected to vest at December 31, 2020                                       6,262 $              105.02               7.0 $            15,716

(a)The aggregate intrinsic value is calculated as the difference between the exercise price of the underlying options and the fair value of the
common stock for the options that were in the money at December 31, 2020.

The weighted-average fair values of options granted during 2020, 2019 and 2018 was $43.24, $83.44, and $125.12, respectively. The intrinsic value of
options exercised during the years ended December 31, 2020, 2019, and 2018, was $4.0 million, $29.0 million and $73.1 million, respectively.

Restricted stock units
The following table summarizes the restricted stock unit activity under the Company’s equity award plans:
                                                                                                                                          Weighted-
                                                                                                                                           average
                                                                                                                         Shares           grant date
                                                                                                                     (in thousands)       fair value
Unvested balance at December 31, 2019                                                                                          1,127 $            146.10
  Granted                                                                                                                      1,018               70.18
  Vested                                                                                                                       (433)              130.10
  Forfeited                                                                                                                    (217)              123.32
Unvested balance at December 31, 2020                                                                                          1,495 $            102.34

The intrinsic value of restricted stock units vested during the years ended December 31, 2020, 2019, and 2018 was $30.9 million, $28.4 million and
$25.5 million, respectively.

Employee Stock Purchase Plan
In June 2013, the Company’s board of directors adopted its 2013 Employee Stock Purchase Plan (“2013 ESPP”), which was subsequently approved
by its stockholders and became effective upon the closing of the Company’s IPO. The 2013 ESPP authorizes the initial issuance of up to a total of
0.2 million shares of the Company’s common stock to participating employees. During each of the years ended December 31, 2020 and 2019, less
than 0.1 million shares of common stock were issued under the 2013 ESPP, respectively.

15. 401(k) Savings plan
In 1997, the Company established a defined-contribution savings plan under Section 401(k) of the Internal Revenue Code (“the 401(k) Plan”). The
401(k) Plan covers all employees who meet defined minimum age and service requirements, and allows participants to defer a portion of their annual
compensation on a pretax basis. In March 2021, the Company expects to make matching contributions of approximately $5.2 million related to
employee contributions made during 2020. In March 2020, the Company made $4.6 million of matching contributions related to employee
contributions made during 2019. The match contribution is included in accrued expenses and other current liabilities as of December 31, 2020 and
2019. Expense related to the 401(k) Plan totaled $5.2 million, $4.6 million, $2.4 million for the years ended December 31, 2020, 2019, and 2018,
respectively.


16. Income taxes
The components of loss before income taxes were as follows (in thousands):



                                                                         F-42
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 347 of 426 PageID #: 3320

Table of Contents



                                                                                                             Year ended December 31,
                                                                                                 2020                 2019               2018
U.S.                                                                                       $          (489,091) $       (649,172) $        (440,473)
Foreign                                                                                               (128,918)         (140,981)          (114,965)
Total                                                                                      $          (618,009) $       (790,153) $        (555,438)

The provision for (benefit from) income taxes were as follows (in thousands):
                                                                                                            Year ended December 31,
                                                                                                2020                 2019               2018
Current:
  Federal                                                                              $                   - $                - $                  -
  State                                                                                                    2                  7                  324
  Foreign                                                                                                684                612                  222
Deferred:
  Federal                                                                                                  -               (966)                (307)
  State                                                                                                    -               (198)                 (52)
  Foreign                                                                                                  -                   -                    -
Total income tax expense (benefit)                                                     $                 686 $             (545) $                187

A reconciliation of income tax expense (benefit) computed at the statutory federal income tax rate to the Company’s effective income tax rate as
reflected in the financial statements is as follows:
                                                                                                           Year ended December 31,
                                                                                               2020                 2019                2018
Federal income tax expense at statutory rate                                                        21.0%                  21.0%                 21.0%
State income tax, net of federal benefit                                                             3.1%                   3.7%                  5.1%
Permanent differences                                                                              (0.6)%                 (0.8)%                (0.7)%
Stock-based compensation                                                                           (2.4)%                 (0.7)%                  1.6%
Research and development credit                                                                      6.0%                   5.4%                  6.5%
Foreign differential                                                                               (4.6)%                 (3.7)%                (4.4)%
Federal tax rate change                                                                                -%                     -%                  0.1%
Other                                                                                              (0.3)%                   0.8%                (0.1)%
Change in valuation allowance                                                                     (22.3)%                (25.6)%               (29.1)%
Effective income tax rate (expense) benefit                                                        (0.1)%                   0.1%                    -%

For the years ended December 31, 2020, 2019 and 2018, the Company recognized an income tax expense (benefit) of $0.7 million or (0.1)%, $(0.5)
million or 0.1%, and $0.2 million or 0.0%, respectively. The Company did not recognize any significant tax expense for the years ended December 31,
2020, 2019, or 2018 as the Company was subject to a full valuation allowance.

Deferred taxes are recognized for temporary differences between the basis of assets and liabilities for financial statement and income tax purposes.
The significant components of the Company’s deferred tax assets and liabilities are composed of the following (in thousands):



                                                                        F-43
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 348 of 426 PageID #: 3321

Table of Contents



                                                                                                                        Year ended December 31,
                                                                                                                        2020              2019
Deferred tax assets:
   U.S. net operating loss carryforwards (federal and state)                                                     $           546,098 $            439,839
   Tax credit carryforwards (federal and state)                                                                              246,742              213,810
   Capitalized license fees and research and development expenses                                                              14,402               16,295
   Deferred revenue                                                                                                            15,644               15,119
   Stock-based compensation                                                                                                    51,828               46,111
   Lease liabilities                                                                                                           48,680               52,631
   Accruals and other                                                                                                          14,536               15,432
Total deferred tax assets                                                                                                    937,930              799,237
Intangible assets                                                                                                             (1,499)              (2,518)
Right-of-use assets                                                                                                         (45,976)             (49,480)
Fixed assets                                                                                                                  (7,576)              (2,670)
Less valuation allowance                                                                                                   (882,879)            (744,569)
Net deferred taxes                                                                                               $                  - $                  -

A valuation allowance is recorded against deferred tax assets if it is more likely than not that some or all of the deferred tax assets will not be
realized. Due to the uncertainty surrounding the realization of the favorable tax attributes in future tax returns, the Company has recorded a full
valuation allowance against the Company’s otherwise recognizable net deferred tax assets. The valuation allowance increased on a net basis by
approximately $138.3 million during the year ended December 31, 2020 due primarily to net operating losses, tax credit carryforwards, and stock-
based compensation. Effective January 1, 2019, the Company adopted ASU 2016-02, which resulted in the de-recognition of the 60 Binney Street
lease and related fixed assets and the recognition of lease liabilities and right-of-use assets. The Company adjusted its deferred tax balances as a
result of the adoption.

As of December 31, 2020, 2019 and 2018, the Company had U.S. federal net operating loss carryforwards of approximately $2.03 billion, $1.62 billion,
and $1.10 billion, respectively, which may be available to offset future income tax liabilities. Of the amount as of December 31, 2020, $1.32 billion will
carryforward indefinitely while $711.0 million will expire at various dates through 2037. As of December 31, 2020, 2019 and 2018, the Company also
had U.S. state net operating loss carryforwards of approximately $1.89 billion, $1.56 billion, and $1.08 billion, respectively, which may be available to
offset future income tax liabilities and expire at various dates through 2039.

As of December 31, 2020, 2019 and 2018, the Company had federal research and development and orphan drug tax credit carryforwards of
approximately $235.3 million, $203.1 million, and $156.2 million, respectively, available to reduce future tax liabilities which expire at various dates
through 2039. As of December 31, 2020, 2019 and 2018, the Company had state credit carryforwards of approximately $14.5 million, $13.6 million, and
$14.3 million, respectively, available to reduce future tax liabilities which expire at various dates through 2034. During the fourth quarter of 2018, the
Company completed an analysis of prior year estimates of U.S. research and development and orphan drug tax credits for the years 2013 through
2017. The analysis resulted in an immaterial adjustment to the Company's income tax benefit, which was offset by an adjustment to the valuation
allowance. An analysis of the U.S. research and development and orphan drug credits has not yet been completed for 2018, 2019, or 2020.

In March 2020, the Coronavirus Aid, Relief and Economic Security Act (“CARES Act”) was enacted. This law temporarily suspends and adjusts
certain law changes enacted in the Tax Cuts and Jobs Act in 2017. In December 2020, the Consolidated Appropriations Act was enacted. This law
modified the employee retention credit under the CARES Act and created credit extenders for certain credits. The Company has concluded that the
provisions in the CARES Act and Consolidated Appropriations Act have an immaterial impact on the Company’s income tax expense due to its
cumulative losses and full valuation allowance position.

Under the provisions of the Internal Revenue Code, the net operating loss and tax credit carryforwards are subject to review and possible
adjustment by the Internal Revenue Service and state tax authorities. Net operating loss and tax credit carryforwards may become subject to an
annual limitation in the event of certain cumulative changes in the ownership interest of significant shareholders over a three-year period in excess
of 50 percent, as defined under Sections 382 and 383 of the Internal Revenue Code, respectively, as well as similar state provisions. This could limit
the amount of tax attributes that can be



                                                                           F-44
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 349 of 426 PageID #: 3322

Table of Contents




utilized annually to offset future taxable income or tax liabilities. The amount of the annual limitation is determined based on the value of the
Company immediately prior to the ownership change. Subsequent ownership changes may further affect the limitation in future years. The
Company has completed several financings since its inception and prior to its initial public offering in 2013, which it believes has resulted in a
change in control as defined by Sections 382 and 383 of the Internal Revenue Code. The Company completed a study through September 2019
confirming no ownership changes have occurred since the Company's initial public offering in 2013; any ownership shifts occurring after
September 2019 could result in an ownership change under Section 382.

The Company files Federal income tax returns in the United States, and various state and foreign jurisdictions. The federal, state and foreign income
tax returns are generally subject to tax examinations for the tax years ended December 31, 2017 through December 31, 2019. To the extent the
Company has tax attribute carryforwards, the tax years in which the attribute was generated may still be adjusted upon examination by the Internal
Revenue Service, or state or foreign tax authorities to the extent utilized in a future period.

A reconciliation of the beginning and ending amount of unrecognized tax benefits is as follows (in thousands):
                                                                                                                                    Unrecognized tax
                                                                                                                                        benefits
Balance as of December 31, 2018                                                                                                     $             12,095
  Increases (decreases) for tax positions related to current period                                                                                3,554
  Increases (decreases) for tax positions related to prior periods                                                                                   296
Balance as of December 31, 2019                                                                                                                   15,945
  Increases (decreases) for tax positions related to current period                                                                                3,149
  Increases (decreases) for tax positions related to prior periods                                                                                 (100)
Balance as of December 31, 2020                                                                                                                   18,994

The unrecognized tax benefits at December 31, 2020, if recognized, would not affect the Company’s effective tax rate due to its full valuation
allowance position. The Company does not anticipate that the amount of existing unrecognized tax benefits will significantly increase or decrease
within the next 12 months. The Company has elected to include interest and penalties related to uncertain tax positions as a component of its
provision for income taxes. For the years ended December 31, 2020, 2019 and 2018, the Company’s accrued interest and penalties related to
uncertain tax positions were not material.


17. Net loss per share
The following common stock equivalents were excluded from the calculation of diluted net loss per share for the periods indicated because
including them would have had an anti-dilutive effect (in thousands):
                                                                                                         Year ended December 31, 2020,
                                                                                                 2020                2019                  2018
Outstanding stock options                                                                               6,262               5,483                  4,643
Restricted stock units                                                                                  1,495               1,127                    931
ESPP shares and other                                                                                     326                  19                     10
                                                                                                        8,083               6,629                  5,584




                                                                         F-45
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 350 of 426 PageID #: 3323

Table of Contents




18. Selected quarterly financial data (unaudited)
The following table contains quarterly financial information for 2020 and 2019. The Company believes that the following information reflects all
normal recurring adjustments necessary for a fair presentation of the information for the periods presented. The operating results for any quarter
are not necessarily indicative of results for any future period.
                                                                                                    2020
                                                              First             Second              Third             Fourth
                                                             quarter            quarter            quarter            quarter             Total
                                                                                    (in thousands, except per share data)
Total revenues                                          $          21,863 $          198,890 $           19,273 $           10,708 $          250,734
Total operating expenses                                          225,288            224,835            208,967            214,690            873,780
Loss from operations                                            (203,425)           (25,945)          (189,694)          (203,982)          (623,046)
Net loss                                                        (202,611)           (21,465)          (194,745)          (199,874)          (618,695)
Net loss per share applicable to common
stockholders - basic and diluted                        $          (3.64) $           (0.36) $           (2.94) $           (3.01) $              (9.95)


                                                                                                    2019
                                                              First             Second              Third             Fourth
                                                             quarter            quarter            quarter            quarter             Total
                                                                                    (in thousands, except per share data)
Total revenues                                          $          12,471 $           13,296 $            8,910 $            9,997 $           44,674
Total operating expenses                                          183,645            215,998            219,326            240,531            859,500
Loss from operations                                            (171,174)          (202,702)          (210,416)          (230,534)          (814,826)
Net loss                                                        (164,446)          (195,782)          (206,033)          (223,347)          (789,608)
Net loss per share applicable to common
stockholders - basic and diluted                        $          (2.99) $           (3.55) $           (3.73) $           (4.04) $          (14.31)


19. Subsequent events
In January 2021, the Company announced its intent to separate its severe genetic disease and oncology programs into two separate, independent
publicly traded companies, bluebird bio, Inc. and a new company, referred to as Oncology NewCo in these consolidated financial statements.
bluebird bio, Inc. intends to retain focus on its severe genetic disease programs and Oncology NewCo is expected to focus on the Company's
oncology programs. The transaction is expected to be completed in late 2021 and is anticipated to be tax-free, subject to receipt of a favorable IRS
ruling.



                                                                         F-46
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 351 of 426 PageID #: 3324

Table of Contents




                                                             Exhibit Index
                                                                                              Incorporated by Reference
   Exhibit
   Number                               Exhibit Title                             Form      File no.    Exhibit       Filing Date
     2.1     Stock Purchase Agreement by and between the Registrant and             8-K    001-35966      2.1        June 30, 2014
             Precision Genome Engineering, Inc.
     3.1     Amended and Restated Certificate of Incorporation of the Registrant    8-K     001-35966     3.1       June 24, 2013
     3.2     Amended and Restated By-laws of the Registrant                           -         -          -        Filed herewith
     4.1     Specimen Common Stock Certificate                                     S-1/A   333-188605     4.1        June 4, 2013
     4.2     Description of the Registrant's Securities                               -         -          -        Filed herewith
    10.1#    Second Amended and Restated 2002 Employee, Director and Consultant     S-1    333-188605    10.1       May 14, 2013
             Stock Plan, as amended, and forms of award agreement thereunder
    10.2#    2010 Stock Option and Grant Plan, as amended, and forms of award       S-1    333-188605    10.2        May 14, 2013
             agreement thereunder
    10.3#    2013 Stock Option and Incentive Plan and forms of award agreement     S-1/A   333-188605    10.3        June 4, 2013
             thereunder
     10.4    Form of Indemnification Agreement between the Registrant and each of   S-1    333-188605    10.4        May 14, 2013
             its Executive Officers and Directors
    10.5†    Patent License Agreement, dated December 11, 1996, by and between      S-1    333-188605    10.6        May 14, 2013
             the Registrant (formerly known as Genetix Pharmaceuticals Inc.,
             successor-in-interest to Innogene Pharmaceuticals, Inc.) and
             Massachusetts Institute of Technology, as amended
    10.6†    Fourth Amendment to Patent License Agreement, dated October 28,       10-K    001-35966     10.7      February 22, 2017
             2016, by and between the Registrant and Massachusetts Institute of
             Technology
    10.7†    Patent and Know-How License Agreement No. 07554F30, dated May 14,      S-1    333-188605    10.7        May 14, 2013
             2009, by and between the Registrant (formerly known as Genetix
             Pharmaceuticals Inc.) and INSERM-TRANSFERT, as amended
    10.8†    License Agreement, dated September 13, 2011, by and between the        S-1    333-188605    10.8        May 14, 2013
             Registrant and Institut Pasteur, as amended
    10.9†    Amendment No. 3 to License Agreement, dated September 10, 2013, by    10-Q    001-35966     10.2     November 14, 2013
             and between the Registrant and Institut Pasteur
   10.10†    Amendment No. 4 to License Agreement, dated April 1, 2015, by and     10-Q    001-35966     10.1        May 6, 2015
             between the Registrant and Institut Pasteur
    10.11†   License Agreement, dated December 7, 2011, by and between the          S-1    333-188605    10.9        May 14, 2013
             Registrant and Research Development Foundation
   10.12†    Novation Agreement, dated April 2, 2012, by and between the            S-1    333-188605    10.1        May 14, 2013
             Registrant and The Board of Trustees of the Leland Stanford Junior
             University
   10.13†    Master Collaboration Agreement by and between the Registrant and       S-1    333-188605    10.11       May 14, 2013
             Celgene Corporation, dated March 19, 2013
   10.14†    Amended and Restated Master Collaboration Agreement by and            10-Q    001-35966    10.14       August 7, 2015
             between the Registrant and Celgene Corporation, dated June 3, 2015
    10.15    Amendment No. 1 to Amended and Restated Master Collaboration          10-Q    001-35966    10.15        May 4, 2016
             Agreement by and between the Registrant and Celgene Corporation,
             dated February 17, 2016
    10.16    Amendment No. 2 to Amended and Restated Master Collaboration          10-Q    001-35966    10.17     November 1, 2017
             Agreement by and between the Registrant and Celgene Corporation,
             dated September 28, 2017
   10.17†    Amended and Restated License Agreement by and between the            10-Q/A   001-35966    10.16     November 2, 2016
             Registrant and Celgene Corporation, dated February 16, 2016
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 352 of 426 PageID #: 3325

Table of Contents



                                                                                                  Incorporated by Reference
   Exhibit
   Number                                 Exhibit Title                               Form      File no.    Exhibit       Filing Date
    10.18    Second Amended and Restated License Agreement by and between the          10-Q    001-35966    10.18       August 5, 2020
             Registrant and Celgene Corporation and Celgene European Investment
             Company LLC, dated May 8, 2020
   10.19†    Amended and Restated Co-Development, Co-Promote and Profit Share          10-Q    001-35966    10.20        May 2, 2018
             Agreement by and between the Registrant and Celgene Corporation and
             Celgene European Investment Company LLC, dated March 26, 2018
   10.20††   First Amendment to Amended and Restated Co-Development, Co-               10-Q    001-35966    10.20       August 5, 2020
             Promote and Profit Share Agreement by and between the Registrant and
             Celgene Corporation and Celgene European Investment Company LLC,
             dated May 8, 2020
   10.21†    License Agreement by and between the Registrant and Biogen Idec MA       10-Q/A   001-35966    10.17     November 2, 2016
             Inc., dated August 13, 2014
   10.22†    Letter Agreement by and between the Registrant and Biogen MA Inc.,        10-Q    001-35966    10.21     November 1, 2017
             dated September 29, 2017
   10.23†    Exclusive Patent License Agreement by and between the Registrant and     10-Q/A   001-35966    10.18     November 2, 2016
             the National Institutes of Health, dated August 31, 2015
   10.24†    License Agreement, dated December 23, 2015, by and between the            10-K    001-35966    10.23      February 21, 2019
             Registrant and SIRION Biotech GmbH
   10.25††   Toll Manufacturing and Service Agreement, dated November 18, 2016         10-Q    001-35966    10.24       August 1, 2019
             by and between the Registrant and APCETH Biopharma GmbH, as
             amended
   10.26††   Clinical and Commercial Supply Agreement - Viral Vector Product, dated    10-Q    001-35966    10.25       August 1, 2019
             November 27, 2017, by and between the Registrant and SAFC Carlsbad,
             Inc., as amended
   10.27††   Amendment No. 2 to Clinical and Commercial Supply Agreement Viral         8-K     001-35966     10.1      January 21, 2020
             Vector Product by and between bluebird bio (Switzerland) GmbH and
             SAFC Carlsbad, Inc.
    10.28    Amendment No. 3 to Clinical and Commercial Supply Agreement Viral          -          -           -        Filed herewith
             Vector Product by and between bluebird bio (Switzerland) GmbH and
             SAFC Carlsbad, Inc.
   10.29#    Amended and Restated Employment Agreement by and between the             S-1/A    333-188605   10.12        June 4, 2013
             Registrant and Nick Leschly
   10.30#    Amended and Restated Employment Agreement by and between the             S-1/A    333-188605   10.13        June 4, 2013
             Registrant and Jeffrey T. Walsh
   10.31#    Amended and Restated Employment Agreement by and between the             S-1/A    333-188605   10.15        June 4, 2013
             Registrant and David M. Davidson, M.D.
   10.32#    Employment Agreement, dated February 3, 2014, by and between the          10-Q    001-35966    10.18        May 13, 2014
             Registrant and Jason F. Cole
   10.33#    Amendment to Employment Agreement, dated March 7, 2016, by and            10-Q    001-35966    10.25        May 4, 2016
             between the Registrant and Jason F. Cole
   10.34#    Amendment No. 2 to Employment Agreement, dated November 3, 2016,          10-K    001-35966    10.27      February 22, 2017
             by and between the Registrant and Jason F. Cole
   10.35#    Employment Agreement, dated May 30, 2015, by and between the              10-Q    001-35966    10.21       August 7, 2015
             Registrant and Philip D. Gregory
   10.36#    Amendment to Employment Agreement, dated November 3, 2016, by             10-K    001-35966    10.31      February 22, 2017
             and between the Registrant and Philip D. Gregory
   10.37#    2013 Employee Stock Purchase Plan                                        S-1/A    333-188605   10.17        June 4, 2013
   10.38#    First Amendment of the Bluebird Bio, Inc. 2013 Employee Stock            10-K      001-35966   10.38      February 21, 2018
             Purchase Plan
   10.39#    Offer Letter, dated November 16, 2017, by and between the Registrant      10-K    001-35966    10.39      February 21, 2018
             and Kory Wentworth
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 353 of 426 PageID #: 3326

Table of Contents



                                                                                                          Incorporated by Reference
   Exhibit
   Number                                    Exhibit Title                                  Form        File no.     Exhibit        Filing Date
    10.40#     Executive Cash Incentive Bonus Plan                                           S-1 333-188605      10.18             May 14, 2013
    10.41#     Employment Agreement, dated December 18, 2018, by and between the             8-K  001-35966       10.1           February 11, 2019
               Registrant and William (“Chip”) Baird
    10.42†     Lease, dated September 21, 2015, by and between the Registrant and           10-Q  001-35966       10.3           November 5, 2015
               ARE-MA Region No. 40 LLC
    10.43      First Amendment to Lease, dated June 21, 2016, by and between the            10-Q  001-35966      10.37            August 3, 2016
               Registrant and ARE-MA Region No. 40 LLC
    10.44      Second Amendment to Lease, dated November 14, 2016, by and                   10-K  001-35966      10.44           February 22, 2017
               between the Registrant and ARE-MA Region No. 40 LLC
   10.45††     Sublease, dated April 16, 2019, by and between the Registrant and            10-Q  001-35966      10.42            August 1, 2019
               Aventis Inc.
    10.46      Amendment to Sublease, dated April 19, 2019, by and between the              10-Q  001-35966      10.43            August 1, 2019
               Registrant and Aventis Inc.
     21.1      Subsidiaries of the Registrant                                                  -      -             -              Filed herewith
     23.1      Consent of Ernst & Young LLP                                                    -      -             -              Filed herewith
     31.1      Certification of Principal Executive Officer pursuant to Rule 13a-14(a) or      -      -             -              Filed herewith
               Rule 15d-14(a) of the Securities Exchange Act of 1934, as adopted
               pursuant to Section 302 of the Sarbanes-Oxley Act of 2002.
     31.2      Certification of Principal Financial Officer pursuant to Rule 13a-14(a) or      -      -             -              Filed herewith
               Rule 15d-14(a) of the Securities Exchange Act of 1934, as adopted
               pursuant to Section 302 of the Sarbanes-Oxley Act of 2002.
     32.1      Certification of Principal Executive Officer and Principal Financial Officer    -      -             -           Furnished herewith
               pursuant to 18 U.S.C. Section 1350, as adopted pursuant to Section 906
               of the Sarbanes-Oxley Act of 2002.
   101.INS     Inline XBRL Instance Document (the instance document does not appear in the Interactive Data File
               because its XBRL tags are embedded within the Inline XBRL document)
   101.SCH     Inline XBRL Taxonomy Extension Schema Document.                                 -      -             -              Filed herewith
   101.CAL     Inline XBRL Taxonomy Extension Calculation Linkbase Document.                   -      -             -              Filed herewith
   101.DEF     Inline XBRL Taxonomy Extension Definition Linkbase Document.                    -      -             -              Filed herewith
   101.LAB     Inline XBRL Taxonomy Extension Label Linkbase Document.                         -      -             -              Filed herewith
   101.PRE     Inline XBRL Taxonomy Extension Presentation Linkbase Document.                  -      -             -              Filed herewith
     104       Cover Page Interactive Data File (formatted as Inline XBRL with                 -      -             -              Filed herewith
               applicable taxonomy extension information contained in Exhibits 101)
______________
† Portions of this exhibit (indicated by asterisks) have been omitted pursuant to a request for confidential treatment and this exhibit has been
submitted separately to the SEC.
†† Portions of this exhibit (indicated by asterisks) have been omitted in accordance with the rules of the SEC.
# Indicates a management contract or any compensatory plan, contract or arrangement.
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 354 of 426 PageID #: 3327

Table of Contents




                                                                    SIGNATURES

Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed
on its behalf by the undersigned, thereunto duly authorized.
                                                                                  bluebird bio, Inc.
                                                                                    By:    /s/ Nick Leschly
                                                                                           Nick Leschly
                                                                                           President, Chief Executive Officer and Director

                                                   SIGNATURES AND POWER OF ATTORNEY

We, the undersigned directors and officers of bluebird bio, Inc. (the “Company”), hereby severally constitute and appoint Nick Leschly and Chip
Baird, and each of them singly, our true and lawful attorneys, with full power to them, and to each of them singly, to sign for us and in our names in
the capacities indicated below, any and all amendments to this Annual Report on Form 10-K, and to file or cause to be filed the same, with all
exhibits thereto and other documents in connection therewith, with the Securities and Exchange Commission, granting unto said attorneys, and
each of them, full power and authority to do and perform each and every act and thing requisite and necessary to be done in connection therewith,
as fully to all intents and purposes as each of us might or could do in person, and hereby ratifying and confirming all that said attorneys, and each
of them, or their substitute or substitutes, shall do or cause to be done by virtue of this Power of Attorney.

Pursuant to the requirements of the Securities Exchange Act of 1934, this report has been signed below by the following persons on behalf of the
registrant and in the capacities and on the dates indicated.
                    Name                                                   Title                                                Date
             /s/ Nick Leschly                President, Chief Executive Officer and Director                             February 23, 2021
               Nick Leschly                  (Principal Executive Officer and Duly Authorized Officer)
              /s/ Chip Baird                 Chief Financial Officer                                                     February 23, 2021
                Chip Baird                   (Principal Financial Officer, Principal Accounting Officer,
                                             and Duly Authorized Officer)
            /s/ Daniel S. Lynch              Director                                                                    February 23, 2021
              Daniel S. Lynch
       /s/ John O. Agwunobi, M.D.            Director                                                                    February 23, 2021
         John O. Agwunobi, M.D.
        /s/ Wendy L. Dixon, Ph.D.            Director                                                                    February 23, 2021
          Wendy L. Dixon, Ph.D.
          /s/ Ramy Ibrahim, M.D.             Director                                                                    February 23, 2021
            Ramy Ibrahim, M.D.
        /s/ William R. Sellers, M.D.         Director                                                                    February 23, 2021
          William R. Sellers, M.D.
             /s/ Denice Torres               Director                                                                    February 23, 2021
               Denice Torres
             /s/ Mark Vachon                 Director                                                                    February 23, 2021
               Mark Vachon
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 355 of 426 PageID #: 3328




           EXHIBIT K
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 356 of 426 PageID #: 3329




Document title:                  collaborations

Capture URL:                     https://www.bluebirdbio.com/about-us/collaborations

Page loaded at (UTC):            Wed, 20 Oct 2021 14:44:04 GMT

Capture timestamp (UTC):         Wed, 20 Oct 2021 14:44:31 GMT

Capture tool:                    v7.12.2

Collection server IP:            54.157.181.49

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      6

Capture ID:                      cbe90a69-d903-45e6-ac15-811d4b872723

User:                            loeb-jgorruso




                        PDF REFERENCE #:            tug5NeTotzMQionyrVpBLU
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 357 of 426 PageID #: 3330




Document title: collaborations
Capture URL: https://www.bluebirdbio.com/about-us/collaborations
Capture timestamp (UTC): Wed, 20 Oct 2021 14:44:31 GMT                                             Page 1 of 5
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 358 of 426 PageID #: 3331




Document title: collaborations
Capture URL: https://www.bluebirdbio.com/about-us/collaborations
Capture timestamp (UTC): Wed, 20 Oct 2021 14:44:31 GMT                                             Page 2 of 5
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 359 of 426 PageID #: 3332




Document title: collaborations
Capture URL: https://www.bluebirdbio.com/about-us/collaborations
Capture timestamp (UTC): Wed, 20 Oct 2021 14:44:31 GMT                                             Page 3 of 5
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 360 of 426 PageID #: 3333




Document title: collaborations
Capture URL: https://www.bluebirdbio.com/about-us/collaborations
Capture timestamp (UTC): Wed, 20 Oct 2021 14:44:31 GMT                                             Page 4 of 5
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 361 of 426 PageID #: 3334




Document title: collaborations
Capture URL: https://www.bluebirdbio.com/about-us/collaborations
Capture timestamp (UTC): Wed, 20 Oct 2021 14:44:31 GMT                                             Page 5 of 5
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 362 of 426 PageID #: 3335




            EXHIBIT L
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 363 of 426 PageID #: 3336

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)

1.0    A recombinant        The following vector is a “recombinant vector”: BB305 vector.
       vector comprising

                            Exemplary support:
                            U.S. Patent No. 7,541,179 (“the ’179 Patent”) defines “recombinant lentiviral vector” as follows:
                               “The term ‘recombinant lentiviral vector’ refers to an artificially created polynucleotide vector
                               assembled from a lentiviral-vector and a plurality of additional segments as a result of human
                               intervention and manipulation.” ’179 Patent, at Col. 2: 36-40.
                            The publication by Negre et al., 2015, Preclinical Evaluation of Efficacy and Safety of an Improved
                            Lentiviral Vector for the Treatment of β-Thalassemia and Sickle Cell Disease, Current Gene Therapy,
                            Vol. 15, pp. 64-81 (hereafter, “Negre 2015”), describes the derivation of the BB305 vector from the
                            lentiviral vector HPV569:
                               “A previously published clinical trial demonstrated the benefit of autologous CD34+ cells
                               transduced with a self-inactivating lentiviral vector (HPV569) containing an engineered β-
                               globin gene (βA-T87Q-globin) in a subject with β-thalassemia major. This vector has been
                               modified to increase transduction efficacy without compromising safety. . . . This
                               comprehensive efficacy and safety data provided the basis for initiating two clinical trials
                               with this second generation vector (BB305) in Europe and in the USA in patients with β-
                               thalassemia major and sickle cell disease.
                               ...
                               LentiGlobin BB305 Lentiviral Vector Titer and In vitro Transduction Efficiency
                               We redesigned the LentiGlobin HPV569 lentiviral vector by replacing the 5' HIV U3 LTR
                               promoter/enhancer with the CMV promoter/enhancer. We also removed the 2 copies of 250
                               base pair (bp) core chicken hypersensitivity site 4 (cHS4) insulators imbedded in the SIN U3
                               LTR of LentiGlobin HPV569, which resulted in the construction of LentiGlobin BB305
                               lentiviral vector (Fig. 1A). The sequences of the integrated provirus containing the βA-T87Q-
                               globin gene expression cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 364 of 426 PageID #: 3337

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                               lentiviral vectors[,] and the internal globin promoter together with the LCR sequence driving
                               the transgene expression exclusively in the erythroid lineage, remained unchanged.”
                            Negre 2015, at 64 (abstract) and 68 (emphasis and italics added).

1.1    a nucleic acid       The following recombinant vector comprises “a nucleic acid encoding a functional globin”: BB305
       encoding a           vector.
       functional globin
       operably linked to
                            Exemplary support:
                               “The term ‘functional globin gene’ refers to a nucleotide sequence the expression of which
                               leads to a globin that does not produce a hemoglobinopathy phenotype, and which is effective
                               to provide therapeutic benefits to an individual with a defective globin gene.” ’179 Patent, at
                               col. 2:41-45.

                               “The functional globin gene may encode a wild-type globin appropriate for a mammalian
                               individual to be treated, or it may be a mutant form of globin, preferably one which provides for
                               superior properties, for example superior oxygen transport properties. The functional globin
                               gene includes both exons and introns, as well as globin promoters and splice
                               donors/acceptors. Suitably, the globin gene may encode α-globin, β-globin, or γ-globin. β-
                               globin promoters may be sued [sic] with each of the globin genes.” Id. at col. 2:45-53 (italics
                               and emphasis added).

                            As shown in Figure 1A of Negre 2015 (reproduced on the following page), the BB305 vector encodes
                            a functional globin, as it contains within it β-globin exons 1 to 3, β-globin introns 1 and 2, a β-globin
                            promoter and enhancer, and DNase I hypersensitivity sites 2, 3 and 4 (HS2, HS3, and HS4). All of
                            these features have been highlighted in yellow in Figure 1A:




                                                                2
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 365 of 426 PageID #: 3338

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)




                               “Fig. (1). In vitro evaluation of LentiGlobin lentiviral vectors. A) Diagram of the LentiGlobin
                               HPV569 and BB305 lentiviral vectors. The 3' β-globin enhancer, the 372 base pairs (bp)
                               IVS2 deletion in intron 2 (triangle), the βA-T87Q mutation (ACA [Thr] to CAG [Gln]) and
                               DNase I hypersensitive sites (HS) 2, HS3, and HS4 of the human β-globin locus control
                               region (LCR) are indicated. Safety modifications including the 400 bp deletion in the U3 of
                               the right HIV LTR, the rabbit β-globin polyA signal and the 2 x 250 bp cHS4 chromatin
                               insulators are indicated. βp, human β-globin promoter; cPPT/flap, central polypurine tract;
                               HIV LTR, human immunodeficiency type-1 virus long-terminal repeat; ppt, polypurine tract;
                               RRE, Rev-responsive element; Ψ+, packaging signal. . . . .”

                               Negre 2015, at 66 (Figure 1 and legend) (italics and emphasis added).

                            A Person of Ordinary Skill in the Art (“POSA”), reviewing the Negre 2015 publication in light of
                            general knowledge, would understand that the BB305 vector contains a nucleic acid encoding a
                            functional human β-globin gene.
1.2    a 3.2-kb nucleotide The BB305 vector meets the claim limitation of “a 3.2-kb nucleotide fragment which consists essentially
       fragment which       of three contiguous nucleotide fragments obtainable from a human β-globin locus control region
       consists essentially (LCR)”.
       of three contiguous


                                                               3
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 366 of 426 PageID #: 3339

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
       nucleotide           Exemplary support:
       fragments
                            The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously
       obtainable from a
                            achieved), in the same way (to obtain the same result) as the vectors claimed in the ’179 Patent: through
       human β-globin
                            the incorporation of fragments of the HS2, HS3 and HS4 DNase I hypersensitive sites obtained from a
       locus control
                            human β-globin control region, which fragments are larger than the previously tested minimal HS core
       region (LCR),        elements but smaller than about 3.2 kb when combined.
                            A POSA would read the information in May et al., Therapeutic haemoglobin synthesis in β-thalassemic
                            mice expressing lentivirus-encoded human β-globin, Nature, Vol 406, pp. 82-86 (July 6, 2000) )
                            (hereafter “May 2000”) and the prosecution history for US Patent Application No. 10/188221 (hereafter
                            “the ’221 Application”), and understand them as indicating that the new vectors described therein (and
                            claimed in the ’179 Patent) occupied a middle ground between the prior art vectors that contained
                            minimal LCRs and the prior art vectors that contained much larger LCRs. For example, May 2000
                            states:
                               “Incorporation of small elements spanning DNase HS2, HS3 and HS4 into viral vectors increases
                               β-globin expression in mouse erythroleukaemia (MEL) cells9,10. However, low-level expression,
                               strong position effects and transcriptional inactivation are still observed in bone marrow
                               chimaeras5,11. Studies in transgenic mice12 and deletional analyses13 support the view that
                               coordinated interaction of several genetic elements including the LCR is required for physiologic
                               β-globin gene expression12-15. We therefore thought that incorporation of large elements
                               spanning HS2, HS3 and HS416-18 in a vector might enhance β-globin expression beyond levels
                               previously achieved using arrayed minimal core elements5,9-11, and thus might diminish
                               position effects and vector silencing. The efficient transduction of large genomic fragments using
                               onco-retroviral vectors has proved to be severely curtailed by splicing and other alterations
                               affecting the stability of the recombinant genomes9,10,16. Here we report how these problems may
                               be overcome by using vectors derived from human immunodeficiency virus 1, a retrovirus that
                               has the ability to regulate packaging of unspliced viral genomes. We constructed two
                               recombinant lentiviruses carrying β-globin transcription units (Fig. 1a, b). RNS1 contains a
                               minimal LCR comprising previously tested core elements of HS2, HS3 and HS4 (ref. 9).” May
                               2000, at p. 82 (italics and emphasis added).




                                                                4
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 367 of 426 PageID #: 3340

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                            This contention is supported by multiple statements in the prosecution history of the patent application
                            that ultimately issued as the ’179 Patent (the ’221 Application). For example, the Applicants for the
                            ’221 Application stated:
                               “The nature of the invention identifies the field of the endeavor–here a recombinant vector for
                               treating hemoglobinopathies by expressing a functional globin in vivo using the claimed 3.2-kb
                               portion of a human β-globin LCR. As an aside, . . . the Examiner characterized the three
                               fragments in the LCR as ‘essential elements from the β-globin LCR.’ Applicants wish to clarify
                               this remark as it is not a term of art and is somewhat misleading. The literature describes core
                               HS sites as small fragments, and these core sequences might be considered as ‘essential’ or
                               ‘minimal’ since they are the smallest fragments that can effect globin expression. In point of
                               fact, the present invention resides in having more than these small core sequences, namely,
                               the invention resides in having the larger, specific HS-containing fragments in the vector and
                               obtaining a level of globin expression not previously possible in vivo.”
                               09/12/2007 Rule 116 Amendment and Response for the ’221 Application, at p. 13 (hereafter
                               “09/12/2007 Response”) (italics and emphasis added).
                            In fact, Applicants specifically pointed out to the United States Patent & Trademark Office
                            (“USPTO”) Examiner that prior art vectors had human β-globin LCR fragments that ranged in size
                            from very large (20 kb) to very small (1 kb):
                               “As mentioned, the human β-globin LCR is a 20-30 kb region extending upstream from the start
                               of the ε-globin gene. The region has been extensively analyzed and the scientific literature
                               reports a variety of expression studies with a 20-kb ‘minilocus,’ a 6.5-kb [‘]microlocus’ and a 1-
                               kb fragment with core DNAse I hypersensitive site[s].”
                               09/12/2007 Response, at p. 10 (internal citations omitted).
                            The Applicants distinguished their claims from the prior art by contending that, to their knowledge,
                            “no previous studies have been conducted with a 3.2-kb portion of a human β-globin LCR as claimed
                            herein.” Id.
                            Because the descriptions of the core sequences for the HS2, HS3 and HS4 regions were known in
                            the prior art, the Applicants asserted that not only should one assume the DNAse hypersensitivity-



                                                                5
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 368 of 426 PageID #: 3341

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                            spanning fragments “are at least as big as their corresponding core sequences”, but also that a
                            POSA would “know[], in fact, that they must be larger.” 09/12/2007 Declaration of Jason W.
                            Plotkin Under 37 C.F.R. §1.132 (hereafter, “Plotkin Declaration”) at ¶ 36 (italics added), as
                            submitted with 09/12/2007 Response.
                            In particular, a POSA would know that incorporation of only the “core” LCR fragments resulted in
                            vectors with low viral titers that were “highly unstable with multiple rearrangements of the transferred
                            proviral structures.” See Negre et al., 2016, Gene Therapy of the β-Hemoglobinopathies by Lentiviral
                            Transfer of the βA(T87Q)-Globin Gene, Human Gene Therapy, Vol. 27, No. 2: 148- 165, at p. 154
                            (hereafter, “Negre 2016”) (internal citations omitted). In addition, a POSA would have been aware that
                            “[r]educing the size of the LCR to minimal elements is unsatisfactory as β-globin expression levels are
                            too low.” Id. (citing references from 1992-1997); see also, May 2000, at p. 82. Accordingly, a POSA
                            would understand that the claimed vectors needed to have an HS2-HS3-HS4 LCR region that was bigger
                            than 1 kb (i.e., had more than the minimal core HS sequences).
                            In addition to setting a lower 1 kb boundary, the Applicants for the ’221 Application provided a flexible
                            upper boundary of approximately 3.2 kb for the combined HS-spanning nucleotide fragments when they
                            argued to the USPTO that:
                               “The simple fact that the combination of the three HS-spanning fragments is 3.2 kb partially (and
                               significantly) closes this aspect of the present claim, qualifies its size and thus provides the
                               boundaries for ascertaining the elements excluded by use of ‘consisting essentially of’ as the
                               transistional phrase. For example, any additional nucleotides added to the 3.2 kb fragment that
                               cause the fragment to exceed 3.2 kb, would alter a basic and novel property of the invention. As
                               Applicants have exhaustively established on the record, the combined size of the three HS-
                               spanning fragments so closely approximates 3.2 kb, that the number of additional nucleotides that
                               could be added to (or removed from) this fragment is relatively few and non-material. For
                               example, the types of non-material nucleotide changes that can be accomodated are . . . adding
                               a small linker to provide or change a restriction site, or making any other minor change to the
                               sequence that does not alter the functionality of the fragment in driving globin expression,
                               including changes at the ends of or at the junction points of the fragments. All such changes
                               are well known in the art and would be readily contemplated, accomplished and analyzed by
                               skilled artisans. However, none of these non-material changes rises to the level of the fragments



                                                                6
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 369 of 426 PageID #: 3342

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                               taught by Ryan or Antoniu. . . . Ryan shows only a 30-kb and a 22-kb recombinant nucleotide
                               fragement that contain at least HS2, HS3, and HS4. . . . . . . Antoniu show[s] only a single 5.5
                               kb nucleotide fragment that contains HS2, HS3 and HS4. Based on size, the Ryan and Antoniu
                               fragments clearly differ from the 3.2 kb fragment of Claim 1.
                               Further, based on nucleotide composition and arragement of the HS fragments (i.e., which pieces
                               of the LCR are present), neither Ryan nor Antoniu shows any fragment that combines the
                               recited HS2-, HS3- and HS4-spanning fragments in contiguity into a single 3.2-kb fragment as
                               claimed in present Claim 1. Ryan’s fragments are single, large restriction fragments from the
                               LCR encomapassing all 5 HS sites in their natural order and sequence context. Antoniu fragments
                               combine various restriction fragments which are larger and and distinct from those claimed by
                               Applicants. Merely because the three HS fragments that Applicants have identified are within the
                               sequence of the Ryan and Antoniu fragments does not mean that those references “encompass”
                               the claimed 3.2-kb fragment and thereby anticipate the present invention. The actual
                               combination must be demonstrated in these references and it is not, as evidenced by Applicants’
                               use of ‘consisting essentially of’ as the transitional phrase, along with bounding this operable
                               LCR fragment at 3.2 kb, which, therefore, serve to distinguish the claimed invention from Ryan
                               and Antoniu as well as establish the basic and novel properties of this nucleotide fragment.”
                               12/03/2008 Amendment and Response After Final Office Action for the ’221 Application, at pp.
                               9-10 (italics and emphasis added).
                            Thus, a POSA would understand, based on these comments in the prosecution history for the ’221
                            Application, that the claimed vectors in the ’179 Patent encompass vectors with LCR regions that differ
                            in size and in sequence identity from the 3.2 kb human β-globin LCR fragment identified in the Plotkin
                            Declaration, provided that these differences do not bring the LCR fragment to a size that is much greater
                            than 3.2 kb, or materially alter its function.
                               “As apparent from the reference sequence, and as known in the art, the three fragments that
                               form the 3.2-kb portion of the LCR are assembled from non-contiguous portions of the LCR.
                               In this regard, it should be recognized that these fragments can be joined in either 5’-3’ or 3’-5’
                               orientation using any of numerous techniques known to those of skill in the art to provide further
                               vector examples. Once assembled into a vector, the fragments need not be cleavable nor must
                               the entire restriction recognition site be present. For example, one skilled in the art will readilty


                                                                7
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 370 of 426 PageID #: 3343

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)
                               [sic] appreciate that the full restriction site might not be present if the fragment is blunt-ended
                               before ligation, yet it may be present if the cut site is filled before ligation.”
                               09/12/2007 Response, at p. 15 (italics and emphasis added).
                            A POSA would also readily understand that the sequence for a human gene, particularly a gene such as
                            human β-globin, will change over time as sequencing techniques and technologies improve. The
                            Applicants for the ’221 Application admitted that the “globin genes were among the first ever sequenced
                            at the nucleotide level.” 9/12/2007 Response, at p. 7. The Applicants also admitted in 2007 that “When
                            accessing NG_000007 at present, one obtains version 3, which in relevant part includes an an additional
                            approximately 9kb upstream of the version 1. Hence the numbering of the nucleotides is offset
                            between the versions, and can be further slightly offset by polymorphisms and minor variations.” Id.
                            (italics and emphasis added). This, combined with the fact that the claims of the ’179 Patent refer to
                            “a” human β-globin LCR rather than “the” human β-globin LCR, would indicate to a POSA that it is
                            the size of the HS-spanning fragments that is most important, and sequence variation in the HS-spanning
                            LCR fragment of the claimed vectors is permitted, provided that it does not substantially alter the
                            vector’s properties.

                            Figure 1A of Negre 2015 is reproduced in part below with its globin-related elements highlighted in
                            yellow.




                               “Fig. (1). In vitro evaluation of LentiGlobin lentiviral vectors. A) Diagram of the LentiGlobin
                               HPV569 and BB305 lentiviral vectors. The 3' β-globin enhancer, the 372 base pairs (bp)
                               IVS2 deletion in intron 2 (triangle), the βA-T87Q mutation (ACA [Thr] to CAG [Gln]) and
                               DNase I hypersensitive sites (HS) 2, HS3, and HS4 of the human β-globin locus control
                               region (LCR) are indicated. Safety modifications including the 400 bp deletion in the U3 of
                               the right HIV LTR, the rabbit β-globin polyA signal and the 2 x 250 bp cHS4 chromatin
                               insulators are indicated. βp, human β-globin promoter; cPPT/flap, central polypurine tract;



                                                                8
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 371 of 426 PageID #: 3344

                                                         EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)
                               HIV LTR, human immunodeficiency type-1 virus long-terminal repeat; ppt, polypurine tract;
                               RRE, Rev-responsive element; Ψ+, packaging signal. . . . .”

                               Negre 2015, at 66 (Figure 1 and legend) (italics and emphasis added).

                            Based on Figure 1A of Negre 2015, as well as their general knowledge, a POSA would readily
                            understand that the BB305 vector encodes a mutated (T87Q) human β-globin gene operably linked to
                            a 2.7 kb human β-globin LCR region.
                            A POSA would further understand that the BB305 vector, with its 2.7 kb human β-globin LCR region,
                            performs the same function as the vectors claimed in the ’179 Patent (enhancing β-globin expression
                            beyond levels previously achieved) in the same way: through the incorporation of fragments of the HS2,
                            HS3, and HS4 DNase I hypersensitive sites obtained from a human β-globin control region, which
                            fragments are larger than the previously tested minimal HS core elements but smaller than about 3.2 kb
                            when combined.
                            A POSA would also know that the BB305 vector achieves the same result as the vectors claimed in
                            the ’179 Patent – the correction of hemoglobinopathies in animal or human cells. For example, the
                            Negre 2015 publication states that the BB305 vector was able to correct a β-thalassemic phenotype
                            in mice:
                               “In conclusion, overall phenotype correction of β-thalassemic mice was observed with both
                               LentiGlobin HPV569 and BB305 lentiviral vectors with no alteration of bone marrow
                               homeostasis in the primary transplant animals. . . . Clinical trials of BB305 are underway in
                               both β-thalassemia and sickle cell disease in Europe and for β-thalassemia in the USA.
                               Preliminary clinical results showing the advantage of the new Lentiglobin BB305 lentiviral
                               vector over the previous HPV569 vector in β-thalassemia patients were reported at the 2014
                               annual meeting of the European Hematology Association and the 2014 annual meeting of the
                               American Society of Hematology . . . .”
                               Negre 2015, p. 78 (italics and emphasis added).




                                                               9
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 372 of 426 PageID #: 3345

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                            BB305 lentiviral vector (hereafter “the BB305 vector”)

1.3    the three fragments   The BB305 vector meets the claim limitation of “the three fragments being a BstXI and SnaBI HS2-
       being a BstXI and     spanning nucleotide fragment of said LCR”.
       SnaBI HS2-
       spanning
       nucleotide            Exemplary Support:
       fragment of said      The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously
       LCR,                  achieved), in the same way as the claimed vectors of the ’179 Patent: through the incorporation of
                             fragments of the HS2, HS3 and HS4 DNase I hypersensitive sites obtained from a human β-globin
                             control region, which fragments are larger than the previously tested minimal HS core elements but
                             smaller than about 3.2 kb when combined.
                             As the Applicants explained in detail during prosecution of the ’221 Application that matured into the
                             ’179 Patent, the claimed vector “comprises a 3.2-kb portion of a human β-globin locus control region
                             (LCR) consisting essentially of 3 restriction fragments. Each fragment spans a particular DNase I
                             hypersensitive site (HS) and each fragment’s end is identified by particular restriction enzyme
                             recognition sites (listed in 5’ to 3’ order).” 09/12/2007 Response, at p. 6 (italics and emphasis added).
                             The Applicants submitted the declaration of Mr. Jason Plotkin, a Research Assistant in one of the
                             inventor’s labs (Dr. Michel Sadelain), which detailed how one could “identify and map the three recited
                             restriction fragments based on the information in the specification, the scientific literature and the
                             reference sequences available as of June 29, 2001,” which is the earliest filing date of the ’221
                             Application. This declaration used the human β-globin reference DNA sequence NG000007.1
                             (hereafter, “NG7.1”). See Plotkin Declaration, ¶¶ 18 and 29.
                             A POSA can take this same β-globin sequence (NG7.1) and use commonly available vector mapping
                             software to map the HS fragments identified in Mr. Plotkin’s Declaration onto its human β-globin LCR
                             region. See Plotkin Declaration, at ¶¶ 38, 44 and 46, and the HS fragment map below:




                                                                10
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 373 of 426 PageID #: 3346

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)




                                                                                                                                    .
                            The double black line in this HS fragment map above represents a portion (9000 base pairs) of the
                            human hemoglobin gene. This 9000 bp portion of the human beta-globin gene contains within it many
                            restriction enzyme recognition sites, which are DNA sequences where a specific restriction enzyme will
                            bind and then cut the DNA. In the map above, only the sites recognized by the restriction enzymes cited
                            in the claims of the ’179 Patent are shown: (SnaBI, BstXI, HindIII, BamHI and Ban II). Note that
                            although this 9000 bp portion of DNA contains multiple restriction enzyme recognition sites, only the
                            six restriction enzyme recognition sites recited in claim 1 are highlighted in orange. The size of
                            each HS fragment is shown just beneath the blue box that marks its location within the NG7.1 sequence.
                            A close-up view of this HS fragment map, which focuses on the far right region encompassing the HS2
                            fragment, is provided below:




                                                                     .
                            The HS2 segment, represented by the blue box, is 857 base pairs in length. It is bordered by the SnaBI
                            restriction enzyme recognition site on the right, and the BstXI restriction enzyme recognition site on the
                            left.



                                                                11
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 374 of 426 PageID #: 3347

                                                         EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)

                            Based on this analysis and other publicly available information, a POSA would understand that the HS2
                            fragment in the HPV569 and BB305 vector, although identified using different restriction enzymes, is
                            nonetheless highly similar to and performing the same function as the HS2 fragment recited in the ’179
                            Patent claims.
                            For example, a POSA would understand based on publicly available information and general knowledge
                            that HS2 fragment within the HPV569 vector is approximately 644 bp in length and located between
                            SmaI and XbaI restriction enzyme sites. In addition, a POSA would also know that the sequences of
                            the HPV569 and BB305 vector are identical in the 2.7 kb β-globin LCR region. See, e.g., Negre 2015,
                            at 68 (“We redesigned the LentiGlobin HPV569 lentiviral vector by replacing the 5' HIV U3 LTR
                            promoter/enhancer with the CMV promoter/enhancer. We also removed the 2 copies of the 250 base
                            pair (bp) core chicken hypersensitivity site 4 (cHS4) insulators imbedded in the SIN U3 LTR of
                            LentiGlobin HPV569, which resulted in the construction of LentiGlobin BB305 lentiviral vector (Fig.
                            1A). The sequences of the integrated provirus containing the βA-T87Q-globin gene expression
                            cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors and the internal
                            globin promoter together with the LCR sequence driving the transgene expression exclusively in the
                            erythroid lineage, remain unchanged.”).
                            Accordingly, a POSA, using this publicly available information and general knowledge, would be able
                            to physically map the HS2 sequence for the BB305 vector onto the same human β-globin LCR region
                            described in the Plotkin Declaration. Below is such a map, with the HS sequences from the Plotkin
                            Declaration in blue, and the HS sequences from the BB305 vector in red. The HS2 fragment from the
                            BB305 vector is on the far right-hand side image.




                                                              12
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 375 of 426 PageID #: 3348

                                                         EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)




                            A close-up view of the far right side of this map (shown below) indicates that the HS2 region from the
                            BB305 vector is completely encompassed within the larger HS2 sequence that was described in the
                            Plotkin Declaration:




                                                                .




                                                              13
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 376 of 426 PageID #: 3349

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                            Thus, a POSA would understand from this analysis and their own general knowledge that the HS2
                            fragment within the BB305 vector is highly similar to the HS2 fragment as described in the Plotkin
                            Declaration because their DNA sequences significantly overlap.
                            Accordingly, a POSA would understand that the HS2 sequence within the BB305 vector is equivalent
                            to a “SnaBI and BstXI HS2-spanning nucleotide fragment of said LCR”, (e.g., the HS2 fragment
                            identified in the Plotkin Declaration), because it has the same function and performs this function in the
                            same way to produce the same result – improved transcription of the neighboring β-globin gene within
                            the vector.

1.4    a BamHI and          The BB305 vector meets the claim limitation of “a BamHI and HindIII HS3-spanning nucleotide
       HindIII HS3-         fragment of said LCR”.
       spanning
       nucleotide
       fragment of said     Exemplary Support:
       LCR                  The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously
                            achieved), in the same way as the claimed vectors of the ’179 Patent: through the incorporation of
                            fragments of the HS2, HS3 and HS4 DNase I hypersensitive sites obtained from a human β-globin
                            control region, which fragments are larger than the previously tested minimal HS core elements but
                            smaller than about 3.2 kb when combined.
                            As the Applicants explained in detail during prosecution of the ’221 Application that matured into the
                            ’179 Patent, the claimed vector “comprises a 3.2-kb portion of a human β-globin locus control region
                            (LCR) consisting essentially of 3 restriction fragments. Each fragment spans a particular DNase I
                            hypersensitive site (HS) and each fragment’s end is identified by particular restriction enzyme
                            recognition sites (listed in 5’ to 3’ order).” 09/12/2007 Response, at p. 6 (italics and emphasis added).
                            The Applicants submitted the declaration of Mr. Jason Plotkin, a Research Assistant in one of the
                            inventor’s labs (Dr. Michel Sadelain), which detailed how one could “identify and map the three recited
                            restriction fragments based on the information in the specification, the scientific literature and the
                            reference sequences available as of June 29, 2001,” which is the earliest filing date of the ’221




                                                                14
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 377 of 426 PageID #: 3350

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)
                            Application. This declaration used the human β-globin reference DNA sequence NG000007.1
                            (hereafter, “NG7.1”). See Plotkin Declaration, ¶¶ 18 and 29.
                            A POSA can take this same β-globin sequence (NG7.1) and use commonly available vector mapping
                            software to map the HS fragments identified in Mr. Plotkin’s Declaration onto its human β-globin LCR
                            region. See Plotkin Declaration, at ¶¶ 38, 44 and 46, and the HS fragment map below:




                                                                                                                                 .
                            The double black line in this HS fragment map above represents a portion (9000 base pairs) of the
                            human hemoglobin gene. This 9000 bp portion of the human beta-globin gene contains within it many
                            restriction enzyme recognition sites, which are DNA sequences where a specific restriction enzyme will
                            bind and then cut the DNA. In the map above, only the sites recognized by the restriction enzymes cited
                            in the claims of the ’179 Patent are shown: (SnaBI, BstXI, HindIII, BamHI and Ban II). Note that
                            although this 9000 bp portion of DNA contains multiple restriction enzyme recognition sites, only the
                            six restriction enzyme recognition sites recited in claim 1 are highlighted in orange. The size of
                            each HS fragment is shown just beneath the blue box that marks its location within the NG7.1 sequence.
                            A close-up view of this HS fragment map, which focuses on the middle region encompassing the HS3
                            fragment, is provided below:




                                                               15
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 378 of 426 PageID #: 3351

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)




                                                                             .
                            The HS3 segment, represented by the blue box, is 1295 base pairs in length. It is bordered by the HindIII
                            restriction enzyme site on the right and the BamHI restriction enzyme site on the left.
                            Based on this analysis and other publicly available information, a POSA would understand that the HS3
                            fragment in the HPV569 and BB305 vector, although identified using different restriction enzymes, is
                            nonetheless highly similar to and performing the same function as the HS3 fragment recited in the ’179
                            Patent claims.
                            For example, a POSA would understand based on publicly available information and general knowledge
                            that HS3 fragment within the HPV569 vector is approximately 845 bp in length and located between
                            SacI and PvuII restriction enzyme sites. In addition, a POSA would also know that the sequences of
                            the HPV569 and BB305 vector are identical in the 2.7 kb β-globin LCR region. See, e.g., Negre 2015,
                            at 68 (“We redesigned the LentiGlobin HPV569 lentiviral vector by replacing the 5' HIV U3 LTR
                            promoter/enhancer with the CMV promoter/enhancer. We also removed the 2 copies of the 250 base
                            pair (bp) core chicken hypersensitivity site 4 (cHS4) insulators imbedded in the SIN U3 LTR of
                            LentiGlobin HPV569, which resulted in the construction of LentiGlobin BB305 lentiviral vector (Fig.
                            1A). The sequences of the integrated provirus containing the βA-T87Q-globin gene expression
                            cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors and the internal
                            globin promoter together with the LCR sequence driving the transgene expression exclusively in the
                            erythroid lineage, remain unchanged.”).




                                                               16
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 379 of 426 PageID #: 3352

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)
                            Accordingly, a POSA, using this publicly available information and general knowledge, would be able
                            to physically map the HS3 sequence for the BB305 vector onto the same human β-globin LCR region
                            described in the Plotkin Declaration. Below is such a map, with the HS sequences from the Plotkin
                            Declaration in blue, and the HS sequences from the BB305 vector in red. The HS3 fragment from the
                            BB305 vector is in the middle of the image.




                            The double black line in this HS fragment map above represents a portion (9250 base pairs) of the
                            human hemoglobin gene. This 9250 bp portion of the human beta-globin gene contains within it many
                            restriction enzyme recognition sites, which are DNA sequences where a specific restriction enzyme will
                            bind and then cut the DNA. In the map above, only the sites recognized by the restriction enzymes cited
                            in the claims of the ’179 Patent (SnaBI, BstXI, HindIII, BamHI, Ban II) and in publicly available
                            information regarding the HPV569 vector (SmaI, XbaI, SacI, PvuII, StuI and SpeI) are shown.
                            A close-up view of this HS fragment map, which focuses on the middle region encompassing the HS3
                            fragment, is provided below:




                                                               17
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 380 of 426 PageID #: 3353

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)




                            Thus, a POSA would understand from this analysis and their own general knowledge that the HS3
                            fragment within the BB305 vector is highly similar to the HS3 fragment as described in the Plotkin
                            Declaration because their DNA sequences significantly overlap.
                            Accordingly, a POSA would understand that the H32 sequence within the BB305 vector is equivalent
                            to a “BamHI and HindIII HS3-spanning nucleotide fragment of said LCR”, (e.g., the HS3 fragment
                            identified in the Plotkin Declaration), because it has the same function and performs this function in the
                            same way to produce the same result – improved transcription of the neighboring β-globin gene within
                            the vector.

1.5    and a BamHI and      The BB305 vector meets the claim limitation “and a BamHI and BanII HS4-spanning nucleotide
       BanII HS4-           fragment of said LCR”.
       spanning
       nucleotide
       fragment of said     Exemplary Support:
       LCR,                 The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously
                            achieved), in the same way as the claimed vectors of the ’179 Patent: through the incorporation of
                            fragments of the HS2, HS3, and HS4 DNase I hypersensitive sites obtained from a human β-globin



                                                                18
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 381 of 426 PageID #: 3354

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                            control region, which fragments are larger than the previously tested minimal HS core elements but
                            smaller than about 3.2 kb when combined.
                            As the Applicants explained in detail during prosecution of the ’221 Application that matured into the
                            ’179 Patent, the claimed vector “comprises a 3.2-kb portion of a human β-globin locus control region
                            (LCR) consisting essentially of 3 restriction fragments. Each fragment spans a particular DNase I
                            hypersensitive site (HS) and each fragment’s end is identified by particular restriction enzyme
                            recognition sites (listed in 5’ to 3’ order).” 09/12/2007 Response, at p. 6 (italics and emphasis added).
                            The Applicants submitted the declaration of Mr. Jason Plotkin, a Research Assistant in one of the
                            inventor’s labs (Dr. Michel Sadelain), which detailed how one could “identify and map the three recited
                            restriction fragments based on the information in the specification, the scientific literature and the
                            reference sequences available as of June 29, 2001,” which is the earliest filing date of the ’221
                            Application. This declaration used the human β-globin reference DNA sequence NG000007.1
                            (hereafter, “NG7.1”). See Plotkin Declaration, ¶¶ 18 and 29.
                            A POSA can take this same β-globin sequence (NG7.1) and use commonly available vector mapping
                            software to map the HS fragments identified in Mr. Plotkin’s Declaration onto its human β-globin LCR
                            region. See Plotkin Declaration, at ¶¶ 38, 44 and 46, and the HS fragment map below:




                                                                                                                                   .
                            The double black line in this HS fragment map represents a portion (9000 base pairs) of the human
                            hemoglobin gene. This 9000 bp portion of the human beta-globin gene contains within it many
                            restriction enzyme recognition sites, which are DNA sequences where a specific restriction enzyme will
                            bind and then cut the DNA. In the map above, only the sites recognized by the restriction enzymes cited
                            in the claims of the ’179 Patent are shown: (SnaBI, BstXI, HindIII, BamHI and Ban II). Note that



                                                               19
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 382 of 426 PageID #: 3355

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)
                            although this 9000 bp portion of DNA contains multiple restriction enzyme recognition sites, only the
                            six restriction enzyme recognition sites recited in claim 1 are highlighted in orange. The size of
                            each HS fragment is shown just beneath the blue box that marks its location within the NG7.1 sequence.
                            A close-up view of this HS fragment map, which focuses on the far left region encompassing the HS4
                            fragment, is provided below:




                                                                                   .
                            The HS4 segment, represented by the blue box, is 1080 base pairs in length. It is bordered by the BanII
                            restriction enzyme site on the right and the BamHI restriction enzyme site on the left.
                            Based on this analysis and other publicly available information, a POSA would understand that the HS4
                            fragment in the HPV569 and BB305 vector, although identified using different restriction enzymes, is
                            nonetheless highly similar to and performing the same function as the HS4 fragment recited in the ’179
                            Patent claims.
                            For example, a POSA would understand based on publicly available information and general knowledge
                            that the HS4 fragment within the HPV569 vector is approximately 1153 bp in length and located
                            between StuI and SpeI restriction enzyme sites. In addition, a POSA would also know that the
                            sequences of the HPV569 and BB305 vector are identical in the 2.7 kb β-globin LCR region. See, e.g.,
                            Negre 2015, at 68 (“We redesigned the LentiGlobin HPV569 lentiviral vector by replacing the 5' HIV
                            U3 LTR promoter/enhancer with the CMV promoter/enhancer. We also removed the 2 copies of the
                            250 base pair (bp) core chicken hypersensitivity site 4 (cHS4) insulators imbedded in the SIN U3 LTR
                            of LentiGlobin HPV569, which resulted in the construction of LentiGlobin BB305 lentiviral vector
                            (Fig. 1A). The sequences of the integrated provirus containing the βA-T87Q-globin gene expression



                                                               20
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 383 of 426 PageID #: 3356

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)
                            cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors and the internal
                            globin promoter together with the LCR sequence driving the transgene expression exclusively in the
                            erythroid lineage, remain unchanged.”).
                            Accordingly, a POSA, using this publicly available information and general knowledge, would be able
                            to physically map the HS4 sequence for the BB305 vector onto the same human β-globin LCR region
                            described in the Plotkin Declaration. Below is such an HS fragment map, with the HS sequences from
                            the Plotkin Declaration in blue, and the HS sequences from the BB305 vector in red. The HS4 fragment
                            from the BB305 vector is on the far left side of the map.




                            The double black line in this HS fragment map above represents a portion (9250 base pairs) of the
                            human hemoglobin gene. This 9250 bp portion of the human beta-globin gene contains within it many
                            restriction enzyme recognition sites, which are DNA sequences where a specific restriction enzyme will
                            bind and then cut the DNA. In the map above, only the sites recognized by the restriction enzymes cited
                            in the claims of the ’179 Patent (SnaBI, BstXI, HindIII, BamHI, Ban II) and by the restriction enzymes
                            listed in publicly available information regarding the HPV569 vector (SmaI, XbaI, SacI, PvuII, StuI and
                            SpeI) are shown.
                            A close-up view of this HS fragment map, which focuses on the far left region of the map, encompassing
                            the HS4 fragment, is provided below:




                                                               21
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 384 of 426 PageID #: 3357

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)




                            Thus, a POSA would understand from this analysis and their own general knowledge that the HS4
                            fragment within the BB305 vector is highly similar to the HS4 fragment as described in the Plotkin
                            Declaration because their DNA sequences significantly overlap.
                            Accordingly, a POSA would understand that the HS4 sequence within the BB305 vector is equivalent
                            to the limitation “and a BamHI and BanII HS4-spanning nucleotide fragment of said LCR,” (e.g., the
                            HS4 fragment identified in the Plotkin Declaration), because it has the same function and performs this
                            function in the same way to produce the same result – improved transcription of the neighboring β-
                            globin gene within the vector.

1.6    said vector          The BB305 vector meets the claim limitation where “said vector providing expression of the globin in
       providing            a mammal in vivo.”
       expression of the
       globin in a
       mammal in vivo.      Exemplary support:




                                                               22
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 385 of 426 PageID #: 3358

                                                              EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                            See e.g., Ribeil et al., “Gene Therapy in a Patient with Sickle Cell Disease”, NEJM, 376(9): 848-855
                            (2017) (hereafter “Ribeil 2017”), which describes the results of gene therapy with the BB305 vector as
                            follows:
                            “We describe our first patient treated with lentiviral vector-medidated addition of an antisickling β-
                            globin gene into autologous hematopoietic stem cells. Adverse events were consistent with busulfan
                            conditioning. Fifteen months after treatment, the level of therapeutic antisickling β-globin remained
                            high (approximately 50% of β-like-globin chains) without recurrence of sickle crises and with
                            correction of the biologic hallmarks of the disease. (Funded by Bluebird Bio and others; HGB-205
                            ClinicalTrials.gov number, NCT02151526.)”
                            Ribeil 2017, at 848 (abstract).
                            “RESULTS . . .
                            Figure 1B shows production of HbAT87Q. . . . HbAT87Q levels also increased steadily (Fig. 1B) and
                            red-cell transfusions were discontinued, with the last transfusion on day 88. Levels of HbAT87Q
                            reached 5.5 g per deciliter (46%) at month 9 and continued to increase to 5.7 g per deciliter (48%) at
                            month 15, with a reciprocal decrease in HbS levels to 5.5 g per deciliter (46%) at month 9 and 5.8 g per
                            deciliter (49%) at month 15. Total hemoglobin levels were stable between 10.6 and 12.0 g per deciliter
                            after post-transplantation month 6. . . . .”
                            Id. at 850-51 (italics and emphasis added).




                                                                 23
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 386 of 426 PageID #: 3359

                                    EXHIBIT L




                                       24
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 387 of 426 PageID #: 3360

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
                            “In the current study, a high concentration of therapeutic HbAT87Q (ration of HbAT87Q to HbS,
                            approximately 1) was achieved.10,11 HbAT87Q expression appears to be sufficient to suppress
                            hemolysis, resulting in stable hemoglobin concentrations of 11 to 12 g per deciliter and major
                            improvement in all measurable sickle cell disease-specific biologic markers and blocking sickle cell
                            disease-related clinical events.20,21
                            Additional data on LentiGlobin treatment in sickle cell disease is currently being collected in HGB-206,
                            a multicenter, phase 1/2 clinical study in the United States.19 . . . Outcomes in this patient provide
                            further supportive evidence to our previously reported results of patients who underwent a similar ex
                            vivo gene therapy procedure for β-thalassemia with the same BB305 vector22,23 or the previous
                            HPV569 vector.23,24 In addition to the patient with sickle cell disease described here, under this same
                            clinical protocol, 4 patients with transfusion-dependent β-thalassemia have received LentiGlobin
                            BB305. These participants had no clinically significant complications and no longer require regular
                            transfusions.22 These findings are consistent with early results reported with 18 other patients with
                            thalassemia who received LentiGlobin BB305 in clinical study HGB-204.23 . . . .”
                            Ribeil 2017, at 854 (italics and emphasis added).

23.0   A recombinant        The BB305 vector meets the limitation of “a recombinant vector comprising”.
       vector comprising

                            Exemplary support:
                            See claim 1.0 supra.

23.1   a nucleic acid       The BB305 vector has “a nucleic acid encoding a functional globin operably linked to”.
       encoding a
       functional globin
       operably linked to   Exemplary support:
                            See claim 1.1 supra.




                                                               25
             Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 388 of 426 PageID #: 3361

                                                           EXHIBIT L


U.S. Patent No. 7,541,179                            BB305 lentiviral vector (hereafter “the BB305 vector”)

23.2   a 3.2-kb nucleotide    The BB305 vector meets the limitation of “a 3.2-kb nucleotide fragment which consists essentially of
       fragment which         three nucleotide fragments obtainable from a human β-globin LCR”.
       consists essentially
       of three nucleotide
       fragments              Exemplary support:
       obtainable from a      See claim 1.2 supra.
       human β-globin
       LCR,

23.3   the three fragments    The BB305 vector meets the limitation of “the three fragments being a BstXI and SnaBI, HS2-spanning
       being a BstXI and      nucleotide fragment of said LCR”.
       SnaBI, HS2-
       spanning
       nucleotide             Exemplary support:
       fragment of said       See claim 1.3 supra.
       LCR,

23.4   a BamHI and            The BB305 vector meets the limitation of “a BamHI and HindIII, HS3-spanning nucleotide fragment
       HindIII, HS3-          of said LCR”.
       spanning
       nucleotide
       fragment of said       Exemplary support:
       LCR,                   See claim 1.4 supra.

23.5   and a BamHI and        The BB305 vector meets the limitation of “and a BamHI and BanII, HS4-spanning nucleotide fragment
       BanII, HS4-            of said LCR”.
       spanning
       nucleotide
       fragment of said       Exemplary support:
       LCR,                   See claim 1.5 supra.




                                                                26
            Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 389 of 426 PageID #: 3362

                                                          EXHIBIT L


U.S. Patent No. 7,541,179                          BB305 lentiviral vector (hereafter “the BB305 vector”)

23.6   wherein the HS3-     The BB305 vector meets the limitation “wherein the HS3-spanning nucleotide fragment and the HS4-
       spanning             spanning nucleotide fragment are adjacent to each other and the vector further comprises 2 GATA-
       nucleotide           binding sites at the junction between the HS3-spanning and HS4-spanning nucleotide fragments”.
       fragment and the
       HS4-spanning
       nucleotide           Exemplary Support:
       fragment are         During prosecution of the ’221 patent application that matured into the ’179 Patent, the Applicants
       adjacent to each     defined “adjacent” as follows:
       other and the
       vector further          “Claim 1 as currently amended recites that the three HS fragments are contiguous. According
       comprises 2             to the Random House Dictionary, contiguous is defined as: 1. touching; in contact, or 2. in close
       GATA-binding            proximity without actually touching; near. The Random House Dictionary of the English
       sites at the            Language (Stein, Ed.) Random House, New York, 1973, p. 316. For the first meaning, the
       junction between        definition is synonymous with bordering, adjoining and abutting; for the second, the definition
       the HS3-spanning        is synonymous with adjacent. That the three fragments are contiguous is clear from Figs. 1 and
       and HS4-spanning        2. Amending the claim in this manner makes explicit a relationship that was already implicit in
       nucleotide              the subject matter as previously claimed. As discussed in the text, here and in previous
       fragments,              responses, the size sum of the three HS fragments rounds to 3.2 kb, meaning that the
                               fragments are at least adjacent and could easily be adjoined.”
                               12/03/2008 Amendment After Final Office Action in US Patent Application No. 10/188,221, at
                               p. 8 (italics and emaphasis added).
                            Based on publicly available information and their general knowledge, a POSA would understand that
                            the BB305 vector comprises at least one GATA-binding site within its LCR region, and that this at least
                            one GATA-binding site performs the same function in the same way to produce the same result as the
                            two recited GATA-binding sites located “at the junction between the HS3-spanning and HS4-spanning
                            nucleotide fragments”.

23.7   said vector          The BB305 vector meets the claim limitation of “said vector providing expression of the globin in a
       providing            mammal in vivo”.
       expression of the



                                                               27
                  Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 390 of 426 PageID #: 3363

                                                            EXHIBIT L


  U.S. Patent No. 7,541,179                           BB305 lentiviral vector (hereafter “the BB305 vector”)
             globin in a       Exemplary Support:
             mammal in vivo.
                               See claim 1.6 supra.
21314295.4




                                                                 28
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 391 of 426 PageID #: 3364




          EXHIBIT M
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 392 of 426 PageID #: 3365

                                                                  EXHIBIT M


      U.S. Patent No.                                   BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061

1.0       An isolated     At least the CD34+ hematopoietic stem cells (“CD34+ HSCs”) described in Ribeil et al. (2017), Gene Therapy in a
          mammalian       Patient with Sickle Cell Disease, NEJM, 376(9): 848-855 (hereafter, “Ribeil 2017”) meet the recited limitation of
          hematopoietic   “[a]n isolated mammalian hematopoietic progenitor cell”.
          progenitor
          cell
                          Exemplary support:
                          Ribeil 2017 specifically describes human primary CD34+ cells being isolated and then transduced with the BB305
                          vector. It states, for example:
                          “Bone marrow was obtained twice from the patient to collect sufficient stem cells for gene transfer and backup
                          (6.2 x 108 per kilogram and 5.4x108 per kilogram, respectively, of total nucleated cells obtained). Both procedures
                          were preceded by exchange transfusion, and bone marrow was obtained without clinical sequelae. Anemia was
                          the only grade 3 adverse event reported during these procedures. Bone marrow-enriched CD34+ cells were
                          transduced with the LentiGlobin BB305 vector (see the Methods section in the Supplementary Appendix).13
                          The mean vector copy numbers for the two batches of transduced cells were 1.0 and 1.2 copies per cell.”
                          Ribeil 2017, at 849 (italics and emphasis added).
                          A Person of Ordinary Skill in the Art (“POSA”) would understand, based on general knowledge, that the CD34+
                          cells isolated from the patient’s bone marrow comprised a mixture of both HSCs and of hematopoietic progenitor
                          cells (HPCs), which would have been isolated by various purification methods.
                          For example, a 2014 scientific publication by Sidney et al. teaches that:
                              “In clinical practice, CD34 expression is evaluated to ensure rapid engraftment in BM [bone marrow]
                              transplants and can also be used as a selective marker in cell sorting to enrich a population of
                              immature hematopoietic cells [46, 47]. Although sometimes assumed to be solely a stem cell marker,
                              the detection of CD34 in BM or blood samples represents a hematopoietic stem/progenitor mix, of
                              which the majority of cells are progenitor [44].”
                              Sidney et al., 2014, Concise Review: Evidence for CD34 as a Common Marker for Diverse Progenitors,
                              Stem Cells, Vol. 32: 1380-1389 at 1381 (emphasis added) (citing reference 44 - Majeti et al., 2007,
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 393 of 426 PageID #: 3366

                                                                   EXHIBIT M


      U.S. Patent No.                                    BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061
                               Identification of a hierarchy of multipotent hematopoietic progenitors in human cord blood, Cell Stem
                               Cell, Vol. 1: 635-645).

1.1       or an isolated   At least the CD34+ HSCs described in the Ribeil 2017 publication meet the recited limitation of “or an isolated
          mammalian        mammalian stem cell comprising”.
          stem cell
          comprising
                           Exemplary support:
                           See claim 1.0, supra.
                           A POSA would understand, based on the disclosures of Ribeil 2017 and general knowledge that the isolation of
                           human CD34+ cells prior to transduction with the BB305 vector (e.g., as described on page 849 of Ribeil 2017)
                           would necessarily also include the isolation of HSCs, which are a type of mammalian stem cells.

1.2       a recombinant    At least the CD34+ HSCs and hematopoietic progenitor cells (“HPCs”) described in Ribeil 2017 meet the recited
          lentiviral       limitation of comprising “a recombinant lentiviral vector” because they were transduced with the BB305 vector,
          vector           which is “a recombinant lentiviral vector”.


                           Exemplary support:
                           See claims 1.0 and 1.1, supra.
                           U.S. Patent No. 8058061 (“the ’061 Patent”) defines “recombinant lentiviral vector” as follows:
                             “As used in the specification and claims hereof, the term ‘recombinant lentiviral vector’ refers to an
                             artificially created polynucleotide vector assembled from a lentiviral-vector and a plurality of additional
                             segments as a result of human intervention and manipulation.”
                             ’061 Patent, at col. 2: 39-43.




                                                                        2
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 394 of 426 PageID #: 3367

                                                            EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   The publication by Negre et al., 2015, Preclinical Evaluation of Efficacy and Safety of an Improved Lentiviral
                   Vector for the Treatment of β-Thalassemia and Sickle Cell Disease, Current Gene Therapy, Vol. 15, pp. 64-81
                   (hereafter, “Negre 2015”), describes the derivation of the BB305 vector from the lentiviral vector HPV569:
                      “A previously published clinical trial demonstrated the benefit of autologous CD34+ cells transduced with
                      a self-inactivating lentiviral vector (HPV569) containing an engineered β-globin gene (βA-T87Q-globin) in
                      a subject with β-thalassemia major. This vector has been modified to increase transduction efficacy
                      without compromising safety. . . . This comprehensive efficacy and safety data provided the basis for
                      initiating two clinical trials with this second generation vector (BB305) in Europe and in the USA in
                      patients with β-thalassemia major and sickle cell disease.
                      ...
                      LentiGlobin BB305 Lentiviral Vector Titer and In vitro Transduction Efficiency
                      We redesigned the LentiGlobin HPV569 lentiviral vector by replacing the 5' HIV U3 LTR
                      promoter/enhancer with the CMV promoter/enhancer. We also removed the 2 copies of 250 base pair
                      (bp) core chicken hypersensitivity site 4 (cHS4) insulators imbedded in the SIN U3 LTR of LentiGlobin
                      HPV569, which resulted in the construction of LentiGlobin BB305 lentiviral vector (Fig. 1A). The
                      sequences of the integrated provirus containing the βA-T87Q-globin gene expression cassette[,] the
                      cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors[,] and the internal globin promoter
                      together with the LCR sequence driving the transgene expression exclusively in the erythroid lineage,
                      remained unchanged.”
                   Negre 2015, at 64 (abstract) and 68 (emphasis and italics added).


                   Ribeil 2017 is a scientific publication that describes the results of a clinical trial involving the LentiGlobin BB305
                   vector, which is described as a “self-inactivating lentiviral vector” that “encodes the human HBB variant βA-T87Q”
                   for use in transducing hematopoietic stem cells and hematopoietic progenitor cells so that they might produce
                   human globin protein. Ribeil 2017, at 849. Ribeil 2017 provides the following diagram demonstrating the
                   structure of the BB305 vector:




                                                                 3
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 395 of 426 PageID #: 3368

                                                                 EXHIBIT M


      U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061




                          See id. at 10 (Figure S1 in Supplementary Appendix).
                         Ribeil 2017 also describes the construction of the BB305 vector and the fact that it represents a modified version
                         of the HPV569 lentiviral vector:
                           “METHODS
                           Additional Detail on Study Conduct.
                           The original HPV569 vector and packaging plasmids were designed by Dr. Leboulch and colleagues and
                           further modified in collaboration with the study sponsor, and clinical-grade BB305 vector manufacturing
                           was performed by bluebird bio. Dr. Cavazzana is principal investigator of the study, performed pre-clinical
                           and clinical laboratory work, and oversees patient care, laboratory work and drug product manufacturing at
                           Necker Hospital. Dr. Leboulch was the study’s scientific director.”
                           Ribeil 2017, at page 4 (Supplementary Appendix, Methods section).
                         A POSA would know, based on the disclosures of Ribeil 2017 and general knowledge, plus the similarity between
                         the structures and DNA sequences of the HPV549 and BB305 vectors, that both are recombinant lentiviral
                         vectors.

1.3       which          The following recombinant vector comprises “a nucleic acid encoding a functional globin operably linked to”:
          comprises a    BB305.
          nucleic acid
          encoding a
          functional     Exemplary support:
          globin



                                                                      4
                Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 396 of 426 PageID #: 3369

                                                            EXHIBIT M


U.S. Patent No.                                   BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
    operably            “The term ‘functional globin gene’ refers to a nucleotide sequence the expression of which leads to a globin
    linked to           that does not produce a hemoglobinopathy phenotype, and which is effective to provide therapeutic benefits
                        to an individual with a defective globin gene.” ’179 Patent, at col. 2:41-45.

                        “The functional globin gene may encode a wild-type globin appropriate for a mammalian individual to be
                        treated, or it may be a mutant form of globin, preferably one which provides for superior properties, for
                        example superior oxygen transport properties. The functional globin gene includes both exons and
                        introns, as well as globin promoters and splice donors/acceptors. Suitably, the globin gene may encode α-
                        globin, β-globin, or γ-globin. β-globin promoters may be sued [sic] with each of the globin genes.” Id., at
                        col. 2:45-53 (italics and emphasis added).

                     As shown in Figure 1A of Negre 2015 (reproduced below), the BB305 vector encodes a functional globin, as it
                     contains within it β-globin exons 1 to 3, β-globin introns 1 and 2, a β-globin promoter and enhancer, and DNase I
                     hypersensitivity sites 2, 3 and 4 (HS2, HS3 and HS4). All of these features have been highlighted in yellow in
                     Figure 1A:




                        “Fig. (1). In vitro evaluation of LentiGlobin lentiviral vectors. A) Diagram of the LentiGlobin HPV569
                        and BB305 lentiviral vectors. The 3' β-globin enhancer, the 372 base pairs (bp) IVS2 deletion in intron



                                                                 5
                       Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 397 of 426 PageID #: 3370

                                                                     EXHIBIT M


       U.S. Patent No.                                     BB305 lentiviral vector (hereafter “the BB305 vector”)
         8,058,061
                                 2 (triangle), the βA-T87Q mutation (ACA [Thr] to CAG [Gln]) and DNase I hypersensitive sites (HS) 2,
                                 HS3, and HS4 of the human β-globin locus control region (LCR) are indicated. Safety modifications
                                 including the 400 bp deletion in the U3 of the right HIV LTR, the rabbit β-globin polyA signal and the 2 x
                                 250 bp cHS4 chromatin insulators are indicated. βp, human β-globin promoter; cPPT/flap, central
                                 polypurine tract; HIV LTR, human immunodeficiency type-1 virus long-terminal repeat; ppt, polypurine
                                 tract; RRE, Rev-responsive element; Ψ+, packaging signal. . . . .”

                                 Negre 2015, at 66 (Figure 1 and legend) (italics and emphasis added).

                             A POSA, reviewing the Negre 2015 publication in light of their general knowledge, would understand that the
                             BB305 vector contains a nucleic acid encoding a functional human β-globin gene.
 1.4         a 3.2-kb       The BB305 vector meets the claim limitation of “a 3.2-kb nucleotide fragment which consists essentially of three
             nucleotide     contiguous nucleotide fragments obtainable from a human β-globin locus control region (LCR)”.
             fragment
             which
             consists       Exemplary support:
             essentially of The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously achieved),
             three          in the same way (to obtain the same result) as the vectors claimed in the ’061 Patent: through the incorporation of
             contiguous     fragments of the HS2, HS3 and HS4 DNase I hypersensitive sites obtained from a human β-globin control region,
             nucleotide     which fragments are larger than the previously tested minimal HS core elements but smaller than about 3.2 kb when
             fragments      combined.
             obtainable
             from a human A POSA would read the information in May et al., Therapeutic haemoglobin synthesis in β-thalassemic mice
             β-globin locus expressing lentivirus-encoded human β-globin, Nature, Vol 406, pp. 82-86
                                                                                                  1
                                                                                                        (July 6, 2000) (hereafter “May 2000”)
                            and the prosecution history for US Patent Application No. 10/188221 , and understand them as indicating that the
                            new vectors described therein (and claimed in the ’179 Patent) occupied a middle ground between the prior art

         1
         US 8058061 claims priority to the patent application 10/188221 (“the ’221 Application”), which issued as US 7541179 (“the ‘179
Patent”). Accordingly, this claim chart includes references to the specification of the ’179 Patent and to the prosecution history of the ’221
Application, as it also sheds light on the meaning of the ’061 Patent claims.


                                                                          6
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 398 of 426 PageID #: 3371

                                                             EXHIBIT M


U.S. Patent No.                                    BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
    control region   vectors that contained minimal LCRs and the prior art vectors that contained much larger LCRs. For example, May
    (LCR),           2000 states:
                        “Incorporation of small elements spanning DNase HS2, HS3 and HS4 into viral vectors increases β-globin
                        expression in mouse erythroleukaemia (MEL) cells9,10. However, low-level expression, strong position effects
                        and transcriptional inactivation are still observed in bone marrow chimaeras5,11. Studies in transgenic mice12
                        and deletional analyses13 support the view that coordinated interaction of several genetic elements including
                        the LCR is required for physiologic β-globin gene expression12-15. We therefore thought that incorporation
                        of large elements spanning HS2, HS3 and HS416-18 in a vector might enhance β-globin expression beyond
                        levels previously achieved using arrayed minimal core elements5,9-11, and thus might diminish position
                        effects and vector silencing. The efficient transduction of large genomic fragments using onco-retroviral
                        vectors has proved to be severely curtailed by splicing and other alterations affecting the stability of the
                        recombinant genomes9,10,16. Here we report how these problems may be overcome by using vectors derived
                        from human immunodeficiency virus 1, a retrovirus that has the ability to regulate packaging of unspliced
                        viral genomes. We constructed two recombinant lentiviruses carrying β-globin transcription units (Fig.
                        1a, b). RNS1 contains a minimal LCR comprising previously tested core elements of HS2, HS3 and HS4
                        (ref. 9).” May 2000, at p. 82 (italics added).
                     This contention is supported by multiple statements in the prosecution history of the ’221 Application. For example,
                     the Applicants stated:
                        “The nature of the invention identifies the field of the endeavor - here a recombinant vector for treating
                       hemoglobinopathies by expressing a functional globin in vivo using the claimed 3.2-kb portion of a human β-
                       globin LCR. As an aside, . . . the Examiner characterized the three fragments in the LCR as ‘essential
                       elements from the β-globin LCR.’ Applicants wish to clarify this remark as it is not a term of art and is
                       somewhat misleading. The literature describes core HS sites as small fragments, and these core sequences
                       might be considered as ‘essential’ or ‘minimal’ since they are the smallest fragments that can effect globin
                       expression. In point of fact, the present invention resides in having more than these small core sequences,
                       namely, the invention resides in having the larger, specific HS-containing fragments in the vector and
                       obtaining a level of globin expression not previously possible in vivo.”




                                                                  7
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 399 of 426 PageID #: 3372

                                                           EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                     09/12/2007 Rule 116 Amendment and Response for US Patent Application No. 10/188221, at p. 13 (hereafter
                     “09/12/2007 Response”) (italics and emphasis added).
                   In fact, Applicants specifically pointed out to the United States Patent and Trademark Office (“USPTO”) Examiner
                   for the ’221 Application that prior art vectors had human β-globin LCR fragments that ranged in size from very
                   large (20 kb) to very small (1 kb):
                      “As mentioned, the human β-globin LCR is a 20-30 kb region extending upstream from the start of the ε-
                      globin gene. The region has been extensively analyzed and the scientific literature reports a variety of
                      expression studies with a 20-kb ‘minilocus,’ a 6.5-kb [‘]microlocus’ and a 1-kb fragment with core DNAse I
                      hypersensitive site[s].”
                      09/12/2007 Response, at p. 10 (internal citations omitted).
                   The Applicants distinguished their claims from the prior art by contending that, to their knowledge, “no previous
                   studies have been conducted with a 3.2-kb portion of a human β-globin LCR as claimed herein.” Id.
                   Because the descriptions of the core sequences for the HS2, HS3 and HS4 regions were known in the prior art,
                   the Applicants asserted that not only should one assume the DNAse hypersensitivity-spanning fragments “are at
                   least as big as their corresponding core sequences”, but also that a POSA would “know[], in fact, that they
                   must be larger”. 09/12/2007 Declaration of Jason W. Plotkin Under 37 C.F.R. §1.132 (hereafter, “Plotkin
                   Declaration”), at ¶ 36 (italics added), as submitted with 09/12/2007 Response.
                   In particular, a POSA would know that incorporation of only the “core” LCR fragments resulted in vectors with
                   low viral titers that were “highly unstable with multiple rearrangements of the transferred proviral structures”. See
                   Negre et al., 2016, Gene Therapy of the β-Hemoglobinopathies by Lentiviral Transfer of the βA(T87Q)-Globin
                   Gene, Human Gene Therapy, Vol. 27, No. 2, 148- 165 at 154 (hereafter, “Negre 2016”) (internal citations omitted).
                   In addition, a POSA would have been aware that “[r]educing the size of the LCR to minimal elements is
                   unsatisfactory as β-globin expression levels are too low.” Id. (citing references from 1992-1997); see also, May
                   2000, at p. 82. Accordingly, a POSA would understand that the claimed vectors needed to have an HS2-HS3-HS4
                   region that was bigger than 1 kb (i.e., had more than the minimal core HS sequences).




                                                                8
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 400 of 426 PageID #: 3373

                                                          EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   In addition to setting a lower 1 kb boundary, the Applicants for the ’221 Application provided a flexible upper
                   boundary of approximately 3.2 kb for the combined HS-spanning nucleotide fragments when they argued to the
                   USPTO that:
                     “The simple fact that the combination of the three HS-spanning fragments is 3.2 kb partially (and significantly)
                     closes this aspect of the present claim, qualifies its size and thus provides the boundaries for ascertaining
                     the elements excluded by use of ‘consisting essentially of’ as the transistional phrase. For example, any
                     additional nucleotides added to the 3.2 kb fragment that cause the fragment to exceed 3.2 kb, would alter a
                     basic and novel property of the invention. As Applicants have exhaustively established on the record, the
                     combined size of the three HS-spanning fragments so closely approximates 3.2 kb, that the number of
                     additional nucleotides that could be added to (or removed from) this fragment is relatively few and non-
                     material. For example, the types of non-material nucleotide changes that can be accomodated are . . .
                     adding a small linker to provide or change a restriction site, or making any other minor change to the
                     sequence that does not alter the functionality of the fragment in driving globin expression, including
                     changes at the ends of or at the junction points of the fragments. All such changes are well known in the
                     art and would be readily contemplated, accomplished and analyzed by skilled artisans. However, none of
                     these non-material changes rises to the level of the fragments taught by Ryan or Antoniu. . . . Ryan shows
                     only a 30-kb and a 22-kb recombinant nucleotide fragement that contain at least HS2, HS3, and HS4. . . .
                     . . . Antoniu show[s] only a single 5.5 kb nucleotide fragment that contains HS2, HS3 and HS4. Based on
                     size, the Ryan and Antoniu fragments clearly differ from the 3.2 kb fragment of Claim 1.
                     Further, based on nucleotide composition and arragement of the HS fragments (i.e., which pieces of the LCR
                     are present), neither Ryan nor Antoniu shows any fragment that combines the recited HS2-, HS3- and HS4-
                     spanning fragments in contiguity into a single 3.2-kb fragment as claimed in present Claim 1. Ryan’s
                     fragments are single, large restriction fragments from the LCR encomapassing all 5 HS sites in their natural
                     order and sequence context. Antoniu fragments combine various restriction fragments which are larger and
                     and distinct from those claimed by Applicants. Merely because the three HS fragments that Applicants have
                     identified are within the sequence of the Ryan and Antoniu fragments does not mean that those references
                     “encompass” the claimed 3.2-kb fragment and thereby anticipate the present invention. The actual
                     combination must be demonstrated in these references and it is not, as evidenced by Applicants’ use of
                     ‘consisting essentially of’ as the transitional phrase, along with bounding this operable LCR fragment at




                                                                9
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 401 of 426 PageID #: 3374

                                                             EXHIBIT M


U.S. Patent No.                                   BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                      3.2 kb, which, therefore, serve to distinguish the claimed invention from Ryan and Antoniu as well as
                      establish the basic and novel properties of this nucleotide fragment.”
                      12/03/2008 Amendment and Response After Final Office Action for the ’221 Application, at pp. 9-10 (italics
                      and emphasis added).
                   Thus, a POSA would understand, based on these comments in the prosecution history for the ’221 Application, that
                   the claimed vectors in the ’179 Patent can encompass vectors with LCR regions that differ in size and in sequence
                   identity from the 3.2 kb LCR fragment identified in the Plotkin Declaration, provided that these differences do not
                   bring the LCR fragment to a size that is much greater than 3.2 kb, or materially alter its function.
                      “As apparent from the reference sequence, and as known in the art, the three fragments that form the 3.2-kb
                      portion of the LCR are assembled from non-contiguous portions of the LCR. In this regard, it should be
                      recognized that these fragments can be joined in either 5’-3’ or 3’-5’ orientation using any of numerous
                      techniques known to those of skill in the art to provide further vector examples. Once assembled into a
                      vector, the fragments need not be cleavable nor must the entire restriction recognition site be present. For
                      example, one skilled in the art will readilty [sic] appreciate that the full restriction site might not be present if
                      the fragment is blunt-ended before ligation, yet it may be present if the cut site is filled before ligation.”
                      09/12/2007 Response, at p. 15 (italics and emphasis added).
                   A POSA would also readily understand that sequence for a human gene, particularly a gene such as human β-globin,
                   will change over time as sequencing techniques and technologies improve. Applicants admitted that the “globin
                   genes were among the first ever sequenced at the nucleotide level.” 9/12/2007 Response, at p. 7. The Applicants
                   also admitted in 2007 that “When accessing NG_000007 at present, one obtains version 3, which in relevant part
                   includes an an additional approximately 9kb upstream of the version 1. Hence the numbering of the nucleotides
                   is offset between the versions, and can be further slightly offset by polymorphisms and minor variations.” Id.
                   (italics and emphasis added). This, combined with the fact that claim 1 of the ’061 Patent recites “a” human β-
                   globin LCR rather than “the” human β-globin LCR, would indicate to a POSA that it is the size of the HS-spanning
                   fragments that is most important, and sequence variation in the HS-spanning LCR fragment of the claimed vectors
                   is permitted, provided that it does not substantially alter the vector’s properties.
                   Figure 1A of Negre 2015 is reproduced in part below with its globin-related elements highlighted in yellow.




                                                                  10
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 402 of 426 PageID #: 3375

                                                          EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061




                      “Fig. (1). In vitro evaluation of LentiGlobin lentiviral vectors. A) Diagram of the LentiGlobin HPV569
                      and BB305 lentiviral vectors. The 3' β-globin enhancer, the 372 base pairs (bp) IVS2 deletion in intron
                      2 (triangle), the βA-T87Q mutation (ACA [Thr] to CAG [Gln]) and DNase I hypersensitive sites (HS) 2,
                      HS3, and HS4 of the human β-globin locus control region (LCR) are indicated. Safety modifications
                      including the 400 bp deletion in the U3 of the right HIV LTR, the rabbit β-globin polyA signal and the 2 x
                      250 bp cHS4 chromatin insulators are indicated. βp, human β-globin promoter; cPPT/flap, central
                      polypurine tract; HIV LTR, human immunodeficiency type-1 virus long-terminal repeat; ppt, polypurine
                      tract; RRE, Rev-responsive element; Ψ+, packaging signal. . . . .”

                      Negre 2015, at 66 (Figure 1 and legend) (italics and emphasis added).

                   Based on Figure 1A of Negre 2015, as well as their general knowledge, a POSA would readily understand that the
                   BB305 vector encodes a mutated (T87Q) human β-globin gene operably linked to a 2.7 kb human β-globin LCR
                   region.
                   A POSA would further understand that the BB305 vector, with its 2.7 kb human β-globin LCR region, performs the
                   same function as the vectors claimed in the ’061 Patent (enhancing β-globin expression beyond levels previously
                   achieved) in the same way: through the incorporation of fragments of the HS2, HS3 and HS4 DNase I hypersensitive
                   sites obtained from a human β-globin control region, which fragments are larger than the previously tested minimal
                   HS core elements but smaller than about 3.2 kb when combined.
                   A POSA would also know that the BB305 vector achieves the same result as the vectors claimed in the ’061
                   Patent – the correction of hemoglobinopathies in animal or human cells. For example, the Negre 2015
                   publication states that the BB305 vector was able to correct a β-thalassemic phenotype in mice:
                      “In conclusion, overall phenotype correction of β-thalassemic mice was observed with both LentiGlobin
                      HPV569 and BB305 lentiviral vectors with no alteration of bone marrow homeostasis in the primary
                      transplant animals. . . . Clinical trials of BB305 are underway in both β-thalassemia and sickle cell disease



                                                               11
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 403 of 426 PageID #: 3376

                                                                   EXHIBIT M


      U.S. Patent No.                                   BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061
                             in Europe and for β-thalassemia in the USA. Preliminary clinical results showing the advantage of the new
                             Lentiglobin BB305 lentiviral vector over the previous HPV569 vector in β-thalassemia patients were
                             reported at the 2014 annual meeting of the European Hematology Association and the 2014 annual
                             meeting of the American Society of Hematology . . . .”
                          Negre 2015, p. 78 (italics and emphasis added).

1.5       the three       The BB305 vector meets the claim limitation of “the three fragments being a BstXI and SnaBI, HS2-spanning
          fragments       nucleotide fragment of said LCR”.
          being a BstXI
          and SnaBI,
          HS2-spanning    Exemplary Support:
          nucleotide      The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously achieved),
          fragment of     in the same way as the claimed vectors of the ’061 Patent: through the incorporation of fragments of the HS2, HS3
          said LCR,       and HS4 DNase I hypersensitive sites obtained from a human β-globin control region, which fragments are larger
                          than the previously tested minimal HS core elements but smaller than about 3.2 kb when combined.
                          As the Applicants explained in detail during prosecution of the ’221 Application that matured into the ’179 Patent,
                          the claimed vector “comprises a 3.2-kb portion of a human β-globin locus control region (LCR) consisting
                          essentially of 3 restriction fragments. Each fragment spans a particular DNase I hypersensitive site (HS) and each
                          fragment’s end is identified by particular restriction enzyme recognition sites (listed in 5’ to 3’ order).” 09/12/2007
                          Response, at p. 6 (italics and emphasis added).
                          The Applicants submitted the declaration of Mr. Jason Plotkin, a Research Assistant in one of the inventor’s labs
                          (Dr. Michel Sadelain), which detailed how one could “identify and map the three recited restriction fragments based
                          on the information in the specification, the scientific literature and the reference sequences available as of June 29,
                          2001,” which is the earliest filing date of the ’221 Application. This declaration used the human β-globin reference
                          DNA sequence NG000007.1 (hereafter, “NG7.1”). See Plotkin Declaration, ¶¶ 18 and 29.
                          A POSA can take this same β-globin reference sequence (NG7.1) and use commonly available vector mapping
                          software to map the HS fragments identified in Mr. Plotkin’s Declaration onto its human β-globin LCR region. See
                          Plotkin Declaration, at ¶¶ 38, 44 and 46, and the HS fragment map below:




                                                                        12
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 404 of 426 PageID #: 3377

                                                          EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061




                                                                                                                                   .

                   The double black line in this HS fragment map above represents a portion (9000 base pairs) of the human
                   hemoglobin gene. This 9000 bp portion of the human beta-globin gene contains within it many restriction enzyme
                   recognition sites, which are DNA sequences where a specific restriction enzyme will bind and then cut the DNA.
                   In the map above, only the sites recognized by the restriction enzymes cited in the claims of the ’061 Patent are
                   shown: (SnaBI, BstXI, HindIII, BamHI and Ban II). Note that although this 9000 bp portion of DNA contains
                   multiple restriction enzyme recognition sites, only the six restriction enzyme recognition sites recited in claim
                   1 are highlighted in orange. The size of each HS fragment is shown just beneath the blue box that marks its
                   location within the NG7.1 sequence.

                   A close-up view of this HS fragment map, which focuses on the far right region encompassing the HS2 fragment,
                   is provided below:




                                                              .



                                                              13
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 405 of 426 PageID #: 3378

                                                         EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061

                   Based on this analysis and other publicly available information, a POSA would understand that the HS2 fragment
                   in the HPV569 and BB305 vector, although identified using different restriction enzymes, is nonetheless highly
                   similar to and performing the same function as the HS2 fragment recited in the ’061 Patent claims.

                   For example, a POSA would understand based on publicly available information and general knowledge that HS2
                   fragment within the HPV569 vector is approximately 644 bp in length and located between SmaI and XbaI
                   restriction enzyme sites. In addition, a POSA would also know that the sequences of the HPV569 and BB305
                   vector are identical in the 2.7 kb β-globin LCR region. See, e.g., Negre 2015, at 68 (“We redesigned the
                   LentiGlobin HPV569 lentiviral vector by replacing the 5' HIV U3 LTR promoter/enhancer with the CMV
                   promoter/enhancer. We also removed the 2 copies of the 250 base pair (bp) core chicken hypersensitivity site 4
                   (cHS4) insulators imbedded in the SIN U3 LTR of LentiGlobin HPV569, which resulted in the construction of
                   LentiGlobin BB305 lentiviral vector (Fig. 1A). The sequences of the integrated provirus containing the βA-T87Q-
                   globin gene expression cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors and
                   the internal globin promoter together with the LCR sequence driving the transgene expression exclusively in
                   the erythroid lineage, remain unchanged.”).

                   Accordingly, a POSA, using this publicly available information and general knowledge, would be able to
                   physically map the HS2 sequence for the BB305 vector onto the same human β-globin LCR region described in
                   the Plotkin Declaration. Below is such a map, with the HS sequences from the Plotkin Declaration in blue, and
                   the HS sequences from the BB305 vector in red. The HS2 fragment from the BB305 vector is on the far right-
                   hand side image.




                                                              14
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 406 of 426 PageID #: 3379

                                                          EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061




                   A close-up view of the far right side of this map (shown on the following page) indicates that the HS2 region from
                   the BB305 vector is completely encompassed within the larger HS2 sequence that was described in the Plotkin
                   Declaration:




                                                               15
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 407 of 426 PageID #: 3380

                                                                  EXHIBIT M


      U.S. Patent No.                                   BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061




                                                              .

                          Thus, a POSA would understand from this analysis and their own general knowledge that the HS2 fragment
                          within the BB305 vector is highly similar to the HS2 fragment as described in the Plotkin Declaration because
                          their DNA sequences significantly overlap.
                          Accordingly, a POSA would understand that the HS2 sequence within the BB305 vector is equivalent to a “SnaBI
                          and BstXI HS2-spanning nucleotide fragment of said LCR”, (e.g., the HS2 fragment identified in the Plotkin
                          Declaration), because it has the same function and performs this function in the same way to produce the same result
                          – improved transcription of the neighboring β-globin gene within the vector.

1.6       a BamHI and     The BB305 vector meets the claim limitation of “a BamHI and HindIII, HS3-spanning nucleotide fragment of said
          HindIII, HS3-   LCR”.
          spanning
          nucleotide
          fragment of     Exemplary Support:
          said LCR,



                                                                      16
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 408 of 426 PageID #: 3381

                                                            EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously achieved),
                   in the same way as the claimed vectors of the ’061 Patent: through the incorporation of fragments of the HS2, HS3
                   and HS4 DNase I hypersensitive sites obtained from a human β-globin control region, which fragments are larger
                   than the previously tested minimal HS core elements but smaller than about 3.2 kb when combined.
                   As the Applicants explained in detail during prosecution of the ’221 Application that matured into the ’179 Patent,
                   the claimed vector “comprises a 3.2-kb portion of a human β-globin locus control region (LCR) consisting
                   essentially of 3 restriction fragments. Each fragment spans a particular DNase I hypersensitive site (HS) and each
                   fragment’s end is identified by particular restriction enzyme recognition sites (listed in 5’ to 3’ order).” 09/12/2007
                   Response, at p. 6 (italics and emphasis added).
                   The Applicants submitted the declaration of Mr. Jason Plotkin, a Research Assistant in one of the inventor’s labs
                   (Dr. Michel Sadelain), which detailed how one could “identify and map the three recited restriction fragments based
                   on the information in the specification, the scientific literature and the reference sequences available as of June 29,
                   2001,” which is the earliest filing date of the ’221 Application. This declaration used the human β-globin reference
                   DNA sequence NG000007.1 (hereafter, “NG7.1”). See Plotkin Declaration, ¶¶ 18 and 29.
                   A POSA can take this same β-globin sequence (NG7.1) and use commonly available vector mapping software to
                   map the HS fragments identified in Mr. Plotkin’s Declaration onto its human β-globin LCR region. See Plotkin
                   Declaration, at ¶¶ 38, 44 and 46, and the HS fragment map below:




                                                                                                                                       .
                   The double black line in this HS fragment map above represents a portion (9000 base pairs) of the human
                   hemoglobin gene. This 9000 bp portion of the human beta-globin gene contains within it many restriction enzyme
                   recognition sites, which are DNA sequences where a specific restriction enzyme will bind and then cut the DNA.



                                                                 17
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 409 of 426 PageID #: 3382

                                                           EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   In the map above, only the sites recognized by the restriction enzymes cited in the claims of the ’061 patent are
                   shown: (SnaBI, BstXI, HindIII, BamHI and Ban II). Note that although this 9000 bp portion of DNA contains
                   multiple restriction enzyme recognition sites, only the six restriction enzyme recognition sites recited in claim 1
                   are highlighted in orange. The size of each HS fragment is shown just beneath the blue box that marks its location
                   within the NG7.1 sequence.
                   A close-up view of this HS fragment map, which focuses on the middle region encompassing the HS3 fragment, is
                   provided below:




                                                                     .
                   The HS3 segment, represented by the blue box, is 1295 base pairs in length. It is bordered by the HindIII restriction
                   enzyme site on the right and the BamHI restriction enzyme site on the left.
                   Based on this analysis and other publicly available information, a POSA would understand that the HS3 fragment
                   in the HPV569 and BB305 vector, although identified using different restriction enzymes, is nonetheless highly
                   similar to and performing the same function as the HS3 fragment recited in the ’061 Patent claims.
                   For example, a POSA would understand based on publicly available information and general knowledge that HS3
                   fragment within the HPV569 vector is approximately 845 bp in length and located between SacI and PvuII restriction
                   enzyme sites. In addition, a POSA would also know that the sequences of the HPV569 and BB305 vector are
                   identical in the 2.7 kb β-globin LCR region. See, e.g., Negre 2015, at 68 (“We redesigned the LentiGlobin HPV569
                   lentiviral vector by replacing the 5' HIV U3 LTR promoter/enhancer with the CMV promoter/enhancer. We also
                   removed the 2 copies of the 250 base pair (bp) core chicken hypersensitivity site 4 (cHS4) insulators imbedded in



                                                                18
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 410 of 426 PageID #: 3383

                                                           EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   the SIN U3 LTR of LentiGlobin HPV569, which resulted in the construction of LentiGlobin BB305 lentiviral
                   vector (Fig. 1A). The sequences of the integrated provirus containing the βA-T87Q-globin gene expression
                   cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors and the internal globin
                   promoter together with the LCR sequence driving the transgene expression exclusively in the erythroid lineage,
                   remain unchanged.”).
                   Accordingly, a POSA, using this publicly available information and general knowledge, would be able to physically
                   map the HS3 sequence for the BB305 vector onto the same human β-globin LCR region described in the Plotkin
                   Declaration. Below is such a map, with the HS sequences from the Plotkin Declaration in blue, and the HS
                   sequences from the BB305 vector in red. The HS3 fragment from the BB305 vector is in the middle of the image.




                   The double black line in this HS fragment map above represents a portion (9250 base pairs) of the human
                   hemoglobin gene. This 9250 bp portion of the human beta-globin gene contains within it many restriction enzyme
                   recognition sites, which are DNA sequences where a specific restriction enzyme will bind and then cut the DNA.
                   In the map above, only the sites recognized by the restriction enzymes cited in the claims of the ’061 Patent (SnaBI,




                                                                19
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 411 of 426 PageID #: 3384

                                                           EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   BstXI, HindIII, BamHI, Ban II) and in publicly available information regarding the HPV569 vector (SmaI, XbaI,
                   SacI, PvuII, StuI and SpeI) are shown.
                   A close-up view of this HS fragment map, which focuses on the middle region encompassing the HS3 fragment, is
                   provided on the following page:




                   Thus, a POSA would understand from this analysis and their own general knowledge that the HS3 fragment within
                   the BB305 vector is highly similar to the HS3 fragment as described in the Plotkin Declaration because their DNA
                   sequences significantly overlap.
                   Accordingly, a POSA would understand that the HS3 sequence within the BB305 vector is equivalent to a “BamHI
                   and HindIII HS3-spanning nucleotide fragment of said LCR”, (e.g., the HS3 fragment identified in the Plotkin
                   Declaration), because it has the same function and performs this function in the same way to produce the same result
                   – improved transcription of the neighboring β-globin gene within the vector.




                                                               20
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 412 of 426 PageID #: 3385

                                                                  EXHIBIT M


      U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061

1.7       and a BamHI    The BB305 vector meets the claim limitation “and a BamHI and BanII, HS4-spanning nucleotide fragment of said
          and BanII,     LCR”.
          HS4-spanning
          nucleotide
          fragment of    Exemplary Support:
          said LCR,      The BB305 vector performs the same function (enhancing β-globin expression beyond levels previously achieved),
                         in the same way as the claimed vectors of the ’061 Patent: through the incorporation of fragments of the HS2, HS3
                         and HS4 DNase I hypersensitive sites obtained from a human β-globin control region, which fragments are larger
                         than the previously tested minimal HS core elements but smaller than about 3.2 kb when combined.
                         As the Applicants explained in detail during prosecution of the ’221 Application that matured into the ’179 Patent,
                         the claimed vector “comprises a 3.2-kb portion of a human β-globin locus control region (LCR) consisting
                         essentially of 3 restriction fragments. Each fragment spans a particular DNase I hypersensitive site (HS) and each
                         fragment’s end is identified by particular restriction enzyme recognition sites (listed in 5’ to 3’ order).” 09/12/2007
                         Response, at p. 6 (italics and emphasis added).
                         The Applicants submitted the declaration of Mr. Jason Plotkin, a Research Assistant in one of the inventor’s labs
                         (Dr. Michel Sadelain), which detailed how one could “identify and map the three recited restriction fragments based
                         on the information in the specification, the scientific literature and the reference sequences available as of June 29,
                         2001,” which is the earliest filing date of the ’221 Application. This declaration used the human β-globin reference
                         DNA sequence NG000007.1 (hereafter, “NG7.1”). See Plotkin Declaration, ¶¶ 18 and 29.
                         A POSA can take this same β-globin sequence (NG7.1) and use commonly available vector mapping software to
                         map the HS fragments identified in Mr. Plotkin’s Declaration onto its human β-globin LCR region. See Plotkin
                         Declaration, at ¶¶ 38, 44 and 46, and the HS fragment map below:




                                                                       21
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 413 of 426 PageID #: 3386

                                                           EXHIBIT M


U.S. Patent No.                                  BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061




                                                                                                                          .
                   The double black line in this HS fragment map represents a portion (9000 base pairs) of the human hemoglobin
                   gene. This 9000 bp portion of the human beta-globin gene contains within it many restriction enzyme recognition
                   sites, which are DNA sequences where a specific restriction enzyme will bind and then cut the DNA. In the map
                   above, only the sites recognized by the restriction enzymes cited in the claims of the ’061 Patent are shown: (SnaBI,
                   BstXI, HindIII, BamHI and Ban II). Note that although this 9000 bp portion of DNA contains multiple restriction
                   enzyme recognition sites, only the six restriction enzyme recognition sites recited in claim 1 are highlighted in
                   orange. The size of each HS fragment is shown just beneath the blue box that marks its location within the NG7.1
                   sequence.
                   A close-up view of this HS fragment map, which focuses on the far left region encompassing the HS4 fragment, is
                   provided below:




                                                                           .




                                                                22
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 414 of 426 PageID #: 3387

                                                          EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061
                   The HS4 segment, represented by the blue box, is 1080 base pairs in length. It is bordered by the BanII restriction
                   enzyme site on the right and the BamHI restriction enzyme site on the left.
                   Based on this analysis and other publicly available information, a POSA would understand that the HS4 fragment
                   in the HPV569 and BB305 vector, although identified using different restriction enzymes, is nonetheless highly
                   similar to and performing the same function as the HS4 fragment recited in the ’061 Patent claims.
                   For example, a POSA would understand based on publicly available information and general knowledge that the
                   HS4 fragment within the HPV569 vector is approximately 1153 bp in length and located between StuI and SpeI
                   restriction enzyme sites. In addition, a POSA would also know that the sequences of the HPV569 and BB305 vector
                   are identical in the 2.7 kb β-globin LCR region. See, e.g., Negre 2015, at 68 (“We redesigned the LentiGlobin
                   HPV569 lentiviral vector by replacing the 5' HIV U3 LTR promoter/enhancer with the CMV promoter/enhancer.
                   We also removed the 2 copies of the 250 base pair (bp) core chicken hypersensitivity site 4 (cHS4) insulators
                   imbedded in the SIN U3 LTR of LentiGlobin HPV569, which resulted in the construction of LentiGlobin BB305
                   lentiviral vector (Fig. 1A). The sequences of the integrated provirus containing the βA-T87Q-globin gene
                   expression cassette[,] the cPPT/cTS, RRE, and SIN U3 are identical in both lentiviral vectors and the internal
                   globin promoter together with the LCR sequence driving the transgene expression exclusively in the erythroid
                   lineage, remain unchanged.”).
                   Accordingly, a POSA, using this publicly available information and general knowledge, would be able to physically
                   map the HS4 sequence for the BB305 vector onto the same human β-globin LCR region described in the Plotkin
                   Declaration. Below is such an HS fragment map, with the HS sequences from the Plotkin Declaration in blue, and
                   the HS sequences from the BB305 vector in red. The HS4 fragment from the BB305 vector is on the far left side of
                   the map.




                                                               23
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 415 of 426 PageID #: 3388

                                                          EXHIBIT M


U.S. Patent No.                                 BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061




                   The double black line in this HS fragment map above represents a portion (9250 base pairs) of the human
                   hemoglobin gene on chromosome 11. This 9250 bp portion of the human beta-globin gene contains within it many
                   restriction enzyme recognition sites, which are DNA sequences where a specific restriction enzyme will bind and
                   then cut the DNA. In the map above, only the sites recognized by the restriction enzymes cited in the claims of the
                   ’061 Patent (SnaBI, BstXI, HindIII, BamHI, Ban II) and by the restriction enzymes listed in publicly available
                   information regarding the HPV569 vector (SmaI, XbaI, SacI, PvuII, StuI and SpeI) are shown.
                   A close-up view of this HS fragment map, which focuses on the far left region of the map, encompassing the HS4
                   fragment, is provided below:




                                                               24
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 416 of 426 PageID #: 3389

                                                                    EXHIBIT M


      U.S. Patent No.                                    BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061




                            Thus, a POSA would understand from this analysis and their own general knowledge that the HS4 fragment within
                            the BB305 vector is highly similar to the HS4 fragment as described in the Plotkin Declaration because their DNA
                            sequences significantly overlap.
                            Accordingly, a POSA would understand that the HS4 sequence within the BB305 vector is equivalent to the
                            limitation “and a BamHI and BanII HS4-spanning nucleotide fragment of said LCR,” (e.g., the HS4 fragment
                            identified in the Plotkin Declaration), because it has the same function and performs this function in the same way
                            to produce the same result – improved transcription of the neighboring β-globin gene within the vector.

1.8       said vector       The BB305 vector meets the claim limitation “said vector providing expression of the globin in a mammal in
          providing         vivo.”
          expression of
          the globin in a
          mammal in         Exemplary support:
          vivo.
                            See e.g., Ribeil 2017, which describes the results of gene therapy with the BB305 vector as follows:




                                                                        25
              Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 417 of 426 PageID #: 3390

                                                              EXHIBIT M


U.S. Patent No.                                      BB305 lentiviral vector (hereafter “the BB305 vector”)
  8,058,061

                   “We describe our first patient treated with lentiviral vector-medidated addition of an antisickling β-globin gene
                   into autologous hematopoietic stem cells. Adverse events were consistent with busulfan conditioning. Fifteen
                   months after treatment, the level of therapeutic antisickling β-globin remained high (approximately 50% of β-
                   like-globin chains) without recurrence of sickle crises and with correction of the biologic hallmarks of the
                   disease. (Funded by Bluebird Bio and others; HGB-205 ClinicalTrials.gov number, NCT02151526).”

                   Ribeil 2017, at 848 (abstract).

                   “RESULTS . . .

                   Figure 1B shows production of HbAT87Q. . . . HbAT87Q levels also increased steadily (Fig. 1B) and red-cell
                   transfusions were discontinued, with the last transfusion on day 88. Levels of HbAT87Q reached 5.5 g per
                   deciliter (46%) at month 9 and continued to increase to 5.7 g per deciliter (48%) at month 15, with a reciprocal
                   decrease in HbS levels to 5.5 g per deciliter (46%) at month 9 and 5.8 g per deciliter (49%) at month 15. Total
                   hemoglobin levels were stable between 10.6 and 12.0 g per deciliter after post-transplantation month 6. . . . .”

                   Id. at 850-51 (italics and emphasis added) (Figure 1 is reproduced on the following page).




                                                                   26
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 418 of 426 PageID #: 3391

                                    EXHIBIT M




                                       27
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 419 of 426 PageID #: 3392

                                                                    EXHIBIT M


      U.S. Patent No.                                     BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061

                           “In the current study, a high concentration of therapeutic HbAT87Q (ration of HbAT87Q to HbS, approximately 1)
                           was achieved.10,11 HbAT87Q expression appears to be sufficient to suppress hemolysis, resulting in stable
                           hemoglobin concentrations of 11 to 12 g per deciliter and major improvement in all measurable sickle cell
                           disease-specific biologic markers and blocking sickle cell disease-related clinical events.20,21
                           Additional data on LentiGlobin treatment in sickle cell disease is currently being collected in HGB-206, a
                           multicenter, phase 1/2 clinical study in the United States.19 . . . Outcomes in this patient provide further supportive
                           evidence to our previously reported results of patients who underwent a similar ex vivo gene therapy procedure
                           for β-thalassemia with the same BB305 vector22,23 or the previous HPV569 vector.23,24 In addition to the patient
                           with sickle cell disease described here, under this same clinical protocol, 4 patients with transfusion-dependent
                           β-thalassemia have received LentiGlobin BB305. These participants had no clinically significant complications
                           and no longer require regular transfusions.22 These findings are consistent with early results reported with 18
                           other patients with thalassemia who received LentiGlobin BB305 in clinical study HGB-204.23 . . . .”

                           Ribeil 2017, at 854 (italics and emphasis added).
2.0       The cell of      At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 1.
          claim 1,

                           Exemplary support:
                           See claims 1.0 to 1.8 supra.

2.1       wherein the      At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitation “wherein the mammalian
          mammalian        hematopoietic progenitor cell or the stem cell is a human cell.”
          hematopoietic
          progenitor
          cell or the      Exemplary support:
          stem cell is a   See claims 1.0, 1.1 and 1.8 supra.
          human cell.




                                                                         28
                    Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 420 of 426 PageID #: 3393

                                                                     EXHIBIT M


      U.S. Patent No.                                       BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061

5.0       The cell of     At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 1.
          claim 1,

                          Exemplary support:
                          See claims 1.0 to 1.8 supra.

5.1       wherein said   At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 1 and the limitation
          functional     “wherein said functional globin is a mutant globin.”
          globin is a
          mutant globin.
                         Exemplary support:
                          See claim 1.3 supra.
                          See also, e.g., Ribeil 2017, which describes the results of gene therapy with the BB305 vector as follows:
                          “We describe our first patient treated with lentiviral vector-medidated addition of an antisickling β-globin gene
                          into autologous hematopoietic stem cells. Adverse events were consistent with busulfan conditioning. Fifteen
                          months after treatment, the level of therapeutic antisickling β-globin remained high (approximately 50% of β-
                          like-globin chains) without recurrence of sickle crises and with correction of the biologic hallmarks of the
                          disease. (Funded by Bluebird Bio and others; HGB-205 ClinicalTrials.gov number, NCT02151526.)”
                          Ribeil 2017, at 848 (abstract).
                          In view of these and related disclosures in Ribeil 2017 and general knowledge, a POSA would readily understand
                          that the BB305 vector comprises a mutant human β-globin gene (βA-T87Q) which results in β-globin chains with
                          antisickling properties.

7.0       The cells of    At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 1.
          claim 1,

                          Exemplary support:




                                                                          29
                     Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 421 of 426 PageID #: 3394

                                                                    EXHIBIT M


      U.S. Patent No.                                      BB305 lentiviral vector (hereafter “the BB305 vector”)
        8,058,061
                           See claim 1.0 to 1.8 supra.

7.1       wherein said     At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 1 and the limitation
          functional       “wherein said functional globin is a β-globin.”
          globin is a β-
          globin.
                           Exemplary support:
                           See claim 5.1 supra.

8.0       The cell of      At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 7.
          claim 7,

                           Exemplary support:
                           See claims 7.0 and 7.1, supra.

8.1       wherein said     At least the CD34+ HSCs described in Ribeil 2017 meet the recited limitations of claim 8.0, and the limitation
          β-globin is a    “wherein said β-globin is a human β-globin.”
          human β-
          globin.
                           Exemplary support:
                           See claims 7.0 and 7.1, supra.

11.0      A method for     At least the method of making CD34+ HSCs described in Ribeil 2017 meet the limitation of “[a] method for
          making a         making a mammalian hematopoietic progenitor cell or a mammalian stem cell composition which comprises”.
          mammalian
          hematopoietic
          progenitor       Exemplary support:
          cell or a        See claims 1.0 to 1.8, supra.
          mammalian
          stem cell



                                                                         30
                  Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 422 of 426 PageID #: 3395

                                                               EXHIBIT M


  U.S. Patent No.                                    BB305 lentiviral vector (hereafter “the BB305 vector”)
    8,058,061
       composition
       which
       comprises

11.1   (a) preparing    At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation of “(a) preparing a
       a recombinant    recombinant lentiviral vector comprising” because the BB305 vector used therein was first prepared and then used
       lentiviral       to treat the human patients disclosed therein.
       vector
       comprising
                        Exemplary support:
                        See claim 1.2, supra.

11.2   a nucleic acid   At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation of “a nucleic acid
       encoding a       encoding a functional globin operably linked to” because the BB305 vector used therein meets this limitation.
       functional
       globin
       operably         Exemplary support:
       linked to        See claim 1.3, supra.

11.3   a 3.2-kb         At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation of “a 3.2-kb nucleotide
       nucleotide       fragment which consists essentially of three contiguous nucleotide fragments obtainable from a human β-globin
       fragment         locus control region (LCR),” because the BB305 vector used therein meets this limitation.
       which
       consists
       essentially of   Exemplary support:
       three            See claim 1.4, supra.
       contiguous
       nucleotide
       fragments
       obtainable



                                                                    31
                 Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 423 of 426 PageID #: 3396

                                                              EXHIBIT M


  U.S. Patent No.                                   BB305 lentiviral vector (hereafter “the BB305 vector”)
    8,058,061
       from a human
       β-globin locus
       control region
       (LCR),

11.4   the three        At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation of “the three fragments
       fragments        being a BstXI and SnaBI, HS2-spanning nucleotide fragment of said LCR,” because the BB305 vector used
       being a BstXI    therein meets this limitation.
       and SnaBI,
       HS2-spanning
       nucleotide       Exemplary support:
       fragment of      See claim 1.5, supra.
       said LCR,

11.5   a BamHI and      At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation of “a BamHI and
       HindIII, HS3-    HindIII, HS3-spanning nucleotide fragment of said LCR,” because the BB305 vector used therein meets this
       spanning         limitation.
       nucleotide
       fragment of
       said LCR,        Exemplary support:
                        See claim 1.6, supra.

11.6   and a BamHI      At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation of “a BamHI and BanII,
       and BanII,       HS4-spanning nucleotide fragment of said LCR,” because the BB305 vector used therein meets this limitation.
       HS4-spanning
       nucleotide
       fragment of      Exemplary support:
       said LCR,        See claim 1.7, supra.




                                                                   32
                  Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 424 of 426 PageID #: 3397

                                                                EXHIBIT M


  U.S. Patent No.                                      BB305 lentiviral vector (hereafter “the BB305 vector”)
    8,058,061

11.7   said vector       At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation wherein “said vector
       providing         providing expression of the globin in a mammal in vivo;” because the BB305 vector used therein meets this
       expression of     limitation.
       the globin in a
       mammal in
       vivo;             Exemplary support:
                         See claim 1.8, supra.

11.8   and (b)           At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation “and (b) obtaining
       obtaining         hematopoietic progenitor cells or stem cells from the mammalian individual,”.
       hematopoietic
       progenitor
       cells or stem     Exemplary support:
       cells from the    See claims 1.0, 1.1 and 1.8, supra.
       mammalian
       individual,

11.9   and               At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitation “and transducing the
       transducing       cells with the recombinant vector.”
       the cells with
       the
       recombinant       Exemplary support:
       vector.           See claims 1.0, 1.1. and 1.8, supra.

15.0   The method        At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitations of claim 11.
       of claim 11,

                         Exemplary support:
                         See claims 11.0 through 11.9, supra.



                                                                     33
                      Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 425 of 426 PageID #: 3398

                                                                   EXHIBIT M


     U.S. Patent No.                                     BB305 lentiviral vector (hereafter “the BB305 vector”)
       8,058,061

 15.1        wherein said   At least the method of making CD34+ HSCs described in Ribeil 2017 meets the limitations of claim 11 and the
             functional     limitation “wherein said functional globin is a human β-globin.”
             globin is a
             human β-
             globin.        Exemplary support:
                            See claims 11.0 through 11.9, supra.
21318955.4




                                                                       34
Case 1:21-cv-01478-RGA Document 42-1 Filed 03/11/22 Page 426 of 426 PageID #: 3399




                                   CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on March 11, 2022, a copy of the

  foregoing document was served, by email, on the persons listed below:


  Jack B. Blumenfeld                                 Eric W. Dittmann
  Jeremy A. Tigan                                    Max H. Yusem
  MORRIS, NICHOLS, ARSHT                             Joshua M. Bennett
  & TUNNELL LLP                                      Krystina L. Ho, Ph.D.
  1201 North Market Street                           Naveen Modi
  P.O. Box 1347                                      PAUL HASTINGS LLP
  Wilmington, DE 19899                               200 Park Avenue
  (302) 658-9200                                     New York, NY 10166
  jblumenfeld@morrisnichols.com                      ericdittmann@paulhastings.com
  jtigan@morrisnichols.com                           maxyusem@paulhastings.com
                                                     joshuabennett@paulhastings.com
  Attorneys for bluebird bio, Inc. and               krystinaho@paulhastings.com
  Third Rock Ventures, LLC                           naveenmodi@paulhastings.com

                                                     Attorneys for bluebird bio, Inc. and
                                                     Third Rock Ventures, LLC



                                                      YOUNG CONAWAY STARGATT
                                                      & TAYLOR, LLP


                                                      /s/ Anne Shea Gaza
                                                      Anne Shea Gaza (No. 4093)
                                                      Samantha G. Wilson (No. 5816)
                                                      Rodney Square
                                                      1000 North King Street
                                                      Wilmington, DE 19801
                                                      (302) 571-6600
                                                      agaza@ycst.com
                                                      swilson@ycst.com

                                                      Attorneys for Plaintiff
                                                      San Rocco Therapeutics, LLC


  28827497.1
